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                       EXHIBIT A
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                                                        JOINT TRIAL EXHIBIT LIST
                                                         UNDISPUTED EXHIBITS

           Exhibit Number                 Beg Bates                          Deposition Exhibit Number                         Name / Description
TEMP0001                                EPIC_03377344                           DX0483 Ko, Thomas               Document dated 8/9/2018 titled "Collaboration
                                                                                                                Agreement"
TEMP0002                            EPIC_GOOGLE_01419517                                                        Document dated 1/22/2019 titled "Pre-Install
                                                                                                                and License Agreement"
TEMP0003                            EPIC_GOOGLE_01419582                                                        Document dated 4/1/2019 titled "Pre-Install and
                                                                                                                License Agreement"
TEMP0004                            EPIC_GOOGLE_01419592                                                        Document dated 5/26/2020 titled "Pre-Install
                                                                                                                and License Agreement"
TEMP0005                            EPIC_GOOGLE_01419603                                                        Document dated 8/7/2019 titled "Addendum 1 to
                                                                                                                Pre-Install and License Agreement"
TEMP0006                            EPIC_GOOGLE_01419605                                                        Document dated 2019 titled "Schedule 2 to Pre-
                                                                                                                Install and License Agreement
TEMP0007                            EPIC_GOOGLE_01419607                                                        Document dated 3/1/2019 titled "Pre-Install and
                                                                                                                License Agreement"
TEMP0008                            EPIC_GOOGLE_03896207                                                        Undated document titled "Frame Referencing
                                                                                                                Agreement"
TEMP0009                            EPIC_GOOGLE_04444599                                                        Document dated 11/28/2020 titled "Amendment
                                                                                                                #1 to Pre-Install and License Agreement"

TEMP0010                            EPIC_GOOGLE_04501133                                                      Document dated 12/7/2020 titled "Amendment
                                                                                                              #1 to Letter of Intent
TEMP0011                            EPIC_GOOGLE_04880438             DX693 Randy Gelber; DX0450 Vogel, Daniel Undated spreadsheet titled "Epic Games 2019-
                                                                                                              2025 Annual Segment P&L (Overhaul & Non-
                                                                                                              GAAP)"
TEMP0012                            EPIC_GOOGLE_04880443                                                      Undated spreadsheet titled "Epic Games Inc Non-
                                                                                                              GAAP (unaudited)"
TEMP0013                            EPIC_GOOGLE_05131905                                                      Undated spreadsheet titled "Fortnite- Google
                                                                                                              Installs Week
TEMP0014                            EPIC_GOOGLE_05131908                                                      Undated spreadsheet titled "Fortnite First Seen
                                                                                                              Week"
TEMP0015                            EPIC_GOOGLE_05131909                                                      Undated spreadsheet titled "Fortnite Installer
                                                                                                              Android Week"
TEMP0016                            EPIC_GOOGLE_05131912                                                      Undated spreadsheet titled "Fortnite WAU"
TEMP0017                            EPIC_GOOGLE_05131937                                                      Expert witness raw data
TEMP0018                            EPIC_GOOGLE_05131938                                                      Expert Data
TEMP0019                            EPIC_GOOGLE_05131939                                                      Expert Data
TEMP0020                            EPIC_GOOGLE_05131940                                                      Expert Data
TEMP0021                            EPIC_GOOGLE_05131941                                                      Epic Expert Data
TEMP0022                            EPIC_GOOGLE_05140473                                                      Expert witness raw data
TEMP0023                            EPIC_GOOGLE_05285377                                                      Undated spreadsheet containing manufacturer
                                                                                                              information
TEMP0024                            EPIC_GOOGLE_05743936                      DX0692 Randy Gelber             Spreadsheet dated 12/31/2021 titled "Epic
                                                                                                              Games Non-GAAP Consolidated Financials"




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           Exhibit Number                 Beg Bates                            Deposition Exhibit Number                    Name / Description
TEMP0025                            EPIC_GOOGLE_05743938                         DX0694 Randy Gelber          Spreadsheet dated 8/24/2023 titled "Epic Games
                                                                                                              Corporate Financial Model"
TEMP0026                            EPIC_GOOGLE_05828145                             DX0539 Kreiner, Joseph   Document dated 1/15/2022 titled "Independent
                                                                                                              Developers Publishing Program on Xbox
                                                                                                              Console Title Licensing Agreement Amendment
                                                                                                              #2"
TEMP0027                            EPIC_GOOGLE_05848510                                                      Undated spreadsheet containing installer
                                                                                                              information
TEMP0028                            GOOG-PLAY-000053875                         DX883 - Sharmistha Dubey      Document dated 11/17/2020 titled "Google Play
                                                                                                              Developer Distribution Agreement"
TEMP0029                            GOOG-PLAY-000053975                                                       Google Play Developer Distribution Agreement
                                                                                                              (05/17/2017)
TEMP0030                            GOOG-PLAY-000054021                                                       Developer Distribution Agreement (11/20/2020)

TEMP0031                            GOOG-PLAY-000379096                                                       Undated spreadsheet titled "PHAs and MUWS
                                                                                                              Metrics"
TEMP0032                            GOOG-PLAY-000416245                          PX0428 Christian Cramer      Undated spreadsheet with Google revenue data


TEMP0033                            GOOG-PLAY-000416258                                                       Mobile Application Distribution Agreement
                                                                                                              (Android) (10/01/2012)


TEMP0034                            GOOG-PLAY-000416327                                                       Mobile Application Distribution Agreement
                                                                                                              (MADA) (04/01/2014)



TEMP0035                            GOOG-PLAY-000416373                                                       3PL Mobile Application Distribution Agreement
                                                                                                              (MADA) (04/01/2015)
TEMP0036                            GOOG-PLAY-000416398                                                       Mobile Application Distribution Agreement
                                                                                                              (MADA) (09/01/2015)
TEMP0037                            GOOG-PLAY-000416419                                                       Amendment Number One to Mobile Application
                                                                                                              Distribution Agreement (01/01/2014)

TEMP0038                            GOOG-PLAY-000416420                                                       Amendment One to Mobile Application
                                                                                                              Distribution Agreement (09/01/2015)
TEMP0039                            GOOG-PLAY-000416441                                                       Amendment Two to Mobile Application
                                                                                                              Distribution Agreement (09/01/2015)
TEMP0040                            GOOG-PLAY-000416442                                                       Amendment Number Two to Mobile
                                                                                                              Application Distribution Agreement
                                                                                                              (01/01/2014)
TEMP0041                            GOOG-PLAY-000416443                                                       Amendment Number Three to Mobile
                                                                                                              Application Distribution Agreement
                                                                                                              (01/01/2014)




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           Exhibit Number                Beg Bates                             Deposition Exhibit Number                 Name / Description
TEMP0042                            GOOG-PLAY-000416444                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (09/01/2016)
TEMP0043                            GOOG-PLAY-000416445                                                    Amendment Number Four to Mobile
                                                                                                           Application Distribution Agreement
                                                                                                           (01/01/2014)
TEMP0044                            GOOG-PLAY-000416446                                                    Amendment Number Five to Mobile Application
                                                                                                           Distribution Agreement (01/01/2014)

TEMP0045                            GOOG-PLAY-000416447                                                    Amendment Four to Mobile Application
                                                                                                           Distribution Agreement (09/01/2015)
TEMP0046                            GOOG-PLAY-000416453                                                    Amendment Number Six to Mobile Application
                                                                                                           Distribution Agreement (01/01/2014)

TEMP0047                            GOOG-PLAY-000416454                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (09/01/2017)
TEMP0048                            GOOG-PLAY-000416477                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2017)
TEMP0049                            GOOG-PLAY-000416537                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (12/01/2018)
TEMP0050                            GOOG-PLAY-000416562                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (10/29/2018)
TEMP0051                            GOOG-PLAY-000416588                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (MADA) (09/01/2017)

TEMP0052                            GOOG-PLAY-000416594                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) Amendment One (08/01/2017)
TEMP0053                            GOOG-PLAY-000416595                                                    Amendment No. 1 to the Mobile Application
                                                                                                           Distribution Agreement (11/05/2019)
TEMP0054                            GOOG-PLAY-000416651                                PX 0626             Google Mobile Revenue Share Agreement
                                                                                                           (02/01/2020)
TEMP0055                            GOOG-PLAY-000416708                                                    Google Mobile Revenue Share Agreement
                                                                                                           (04/01/2020)
TEMP0056                            GOOG-PLAY-000416789                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (12/01/2011)
TEMP0057                            GOOG-PLAY-000416814                                                    Spreadsheet entitled Play Only and Sideloaded
                                                                                                           Devices
TEMP0058                            GOOG-PLAY-000449883                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (06/01/2014)
TEMP0059                            GOOG-PLAY-000617360                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (01/01/2012)
TEMP0060                            GOOG-PLAY-000617393                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (06/01/2012)
TEMP0061                            GOOG-PLAY-000617419                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (01/01/2013)



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           Exhibit Number                Beg Bates                             Deposition Exhibit Number                 Name / Description
TEMP0062                            GOOG-PLAY-000617431                                                    Mobile Application Distribution Agreement
                                                                                                           (Android) (03/01/2013)
TEMP0063                            GOOG-PLAY-000617505                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (03/01/2014)
TEMP0064                            GOOG-PLAY-000617522                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (01/01/2014)
TEMP0065                            GOOG-PLAY-000617538                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (06/01/2014)
TEMP0066                            GOOG-PLAY-000617555                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (03/01/2014)
TEMP0067                            GOOG-PLAY-000617577                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (03/01/2014)
TEMP0068                            GOOG-PLAY-000617593                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (06/01/2014)
TEMP0069                            GOOG-PLAY-000617626                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (04/01/2014)
TEMP0070                            GOOG-PLAY-000617749                                                    3PL Mobile Application Distribution Agreement
                                                                                                           (MADA) (11/01/2014)
TEMP0071                            GOOG-PLAY-000617772                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (01/21/2015)
TEMP0072                            GOOG-PLAY-000617778                                                    3PL Mobile Application Distribution Agreement
                                                                                                           (MADA) (02/01/2015)
TEMP0073                            GOOG-PLAY-000617798                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (03/01/2013)
TEMP0074                            GOOG-PLAY-000617807                                                    Amendment Three to Mobile Application
                                                                                                           Distribution Agreement (05/27/2015)
TEMP0075                            GOOG-PLAY-000617814                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (06/25/2015)
TEMP0076                            GOOG-PLAY-000617820                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (06/29/2015)
TEMP0077                            GOOG-PLAY-000617841                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (07/06/2015)
TEMP0078                            GOOG-PLAY-000617842                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2015)
TEMP0079                            GOOG-PLAY-000617897                                                    Amendment Three to Mobile Application
                                                                                                           Distribution Agreement (08/11/2015)
TEMP0080                            GOOG-PLAY-000617900                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (09/23/2015)
TEMP0081                            GOOG-PLAY-000617907                                                    Amendment Five to Mobile Application
                                                                                                           Distribution Agreement (10/22/2015)
TEMP0082                            GOOG-PLAY-000617910                                                    Amendment Number Three to Mobile
                                                                                                           Application Distribution Agreement
TEMP0083                            GOOG-PLAY-000617919                                                    Amendment Three to Mobile Application
                                                                                                           Distribution Agreement



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TEMP0084                            GOOG-PLAY-000617920                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement
TEMP0085                            GOOG-PLAY-000617921                                                    Amendment Six to Mobile Application
                                                                                                           Distribution Agreement
TEMP0086                            GOOG-PLAY-000617924                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement
TEMP0087                            GOOG-PLAY-000617925                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement
TEMP0088                            GOOG-PLAY-000617926                                                    Amendment Number Four to Mobile
                                                                                                           Application Distribution Agreement
                                                                                                           (03/09/2016)
TEMP0089                            GOOG-PLAY-000617928                                                    Amendment One to Mobile Application
                                                                                                           Distribution Agreement (04/18/2016)
TEMP0090                            GOOG-PLAY-000617962                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (05/02/2016)
TEMP0091                            GOOG-PLAY-000617963                                                    Amendment Seven to Mobile Application
                                                                                                           Distribution Agreement (05/17/2016)
TEMP0092                            GOOG-PLAY-000617964                                                    Amendment Five to Mobile Application
                                                                                                           Distribution Agreement (06/20/2016)
TEMP0093                            GOOG-PLAY-000617965                                                    Amendment Five to Mobile Application
                                                                                                           Distribution Agreement (06/02/2016)
TEMP0094                            GOOG-PLAY-000617966                                                    Amendment Two to Mobile Application
                                                                                                           Distribution Agreement (06/27/2016)
TEMP0095                            GOOG-PLAY-000617995                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (08/01/2016)
TEMP0096                            GOOG-PLAY-000617996                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (07/18/2016)
TEMP0097                            GOOG-PLAY-000618017                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement(07/18/2016)
TEMP0098                            GOOG-PLAY-000618018                                                    Amendment Two to Mobile Application
                                                                                                           Distribution Agreement (09/01/2016)
TEMP0099                            GOOG-PLAY-000618062                                                    Amendment No. 1 to the Mobile Application
                                                                                                           Distribution Agreement (10/28/2016)
TEMP0100                            GOOG-PLAY-000618064                                                    Amendment Three to Mobile Application
                                                                                                           Distribution Agreement (12/16/2016)
TEMP0101                            GOOG-PLAY-000618065                                                    Amendment Six to Mobile Application
                                                                                                           Distribution Agreement (12/06/2016)
TEMP0102                            GOOG-PLAY-000618066                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (12/16/2016)
TEMP0103                            GOOG-PLAY-000618072                                                    3PL Mobile Application Distribution Agreement
                                                                                                           (MADA) (11/22/2016)
TEMP0104                            GOOG-PLAY-000618092                                                    Amendment Eight to Mobile Application
                                                                                                           Distribution Agreement (Android) (12/21/2016)




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           Exhibit Number                Beg Bates                             Deposition Exhibit Number               Name / Description
TEMP0105                            GOOG-PLAY-000618094                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (01/30/2017)
TEMP0106                            GOOG-PLAY-000618095                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (MADA) (02/21/2017)

TEMP0107                            GOOG-PLAY-000618100                                                    3PL Mobile Application Distribution Agreement
                                                                                                           (MADA) (01/24/2017)
TEMP0108                            GOOG-PLAY-000618141                                                    3PL Mobile Application Distribution Agreement
                                                                                                           (MADA)(02/21/2017)
TEMP0109                            GOOG-PLAY-000618255                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (03/31/2017)
TEMP0110                            GOOG-PLAY-000618256                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement(04/19/2017)
TEMP0111                            GOOG-PLAY-000618257                                                    Amendment Three to Mobile Application
                                                                                                           Distribution Agreement (04/18/2017)
TEMP0112                            GOOG-PLAY-000618258                                                    Amendment Nine to Mobile Application
                                                                                                           Distribution Agreement (03/15/2017)
TEMP0113                            GOOG-PLAY-000618259                                                    Amendment Seven to Mobile Application
                                                                                                           Distribution Agreement (04/02/2017)
TEMP0114                            GOOG-PLAY-000618260                                                    Amendment Four to Mobile Application
                                                                                                           Distribution Agreement (04/26/2017)
TEMP0115                            GOOG-PLAY-000618261                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (04/18/2017)
TEMP0116                            GOOG-PLAY-000618341                                PX 1052             Mobile Application Distribution Agreement
                                                                                                           (07/01/2020)
TEMP0117                            GOOG-PLAY-000618521                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/07/2017)
TEMP0118                            GOOG-PLAY-000618541                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (08/23/2017)
TEMP0119                            GOOG-PLAY-000618553                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (07/10/2017)
TEMP0120                            GOOG-PLAY-000618559                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (10/08/2017)
TEMP0121                            GOOG-PLAY-000618582                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (07/27/2017)
TEMP0122                            GOOG-PLAY-000618583                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2017)
TEMP0123                            GOOG-PLAY-000618633                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (09/01/2017)
TEMP0124                            GOOG-PLAY-000618658                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2017)
TEMP0125                            GOOG-PLAY-000618681                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2017)




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TEMP0126                            GOOG-PLAY-000618704                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/01/2017)
TEMP0127                            GOOG-PLAY-000618725                                                    Amendment Eight to Mobile Application
                                                                                                           Distribution Agreement (08/14/2017)
TEMP0128                            GOOG-PLAY-000618726                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (07/01/2017)
TEMP0129                            GOOG-PLAY-000618749                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (07/01/2017)
TEMP0130                            GOOG-PLAY-000618863                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (08/18/2017)
TEMP0131                            GOOG-PLAY-000618885                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (10/23/2017)
TEMP0132                            GOOG-PLAY-000618986                                                    Amendment Five to Mobile Application
                                                                                                           Distribution Agreement (11/17/2017)
TEMP0133                            GOOG-PLAY-000619045                                                    Amendment NIne to Mobile Application
                                                                                                           Distribution Agreement (09/29/2017)
TEMP0134                            GOOG-PLAY-000619058                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (3PL) (10/01/2017)
TEMP0135                            GOOG-PLAY-000619081                                                    Amendment Six to Mobile Application
                                                                                                           Distribution Agreement (11/20/2017)
TEMP0136                            GOOG-PLAY-000619109                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (3PL) (01/01/2018)
TEMP0137                            GOOG-PLAY-000619144                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (04/25/2018)
TEMP0138                            GOOG-PLAY-000619149                                                    Android Go Amendment to the Mobile
                                                                                                           Application Distribution Agreement
                                                                                                           (05/04/2018)
TEMP0139                            GOOG-PLAY-000619161                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (05/02/2018)
TEMP0140                            GOOG-PLAY-000619165                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (04/03/2018)
TEMP0141                            GOOG-PLAY-000619190                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (3PL) (04/01/2018)
TEMP0142                            GOOG-PLAY-000619306                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (10/01/2018)
TEMP0143                            GOOG-PLAY-000619401                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (10/29/2018)
TEMP0144                            GOOG-PLAY-000619452                                                    Amendment to Mobile Application Distribution
                                                                                                           Agreement (MADA) (11/06/2018)

TEMP0145                            GOOG-PLAY-000619484                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (10/29/2018)
TEMP0146                            GOOG-PLAY-000619514                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (12/01/2018)



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           Exhibit Number                Beg Bates                             Deposition Exhibit Number                 Name / Description
TEMP0147                            GOOG-PLAY-000619579                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (10/29/2018)
TEMP0148                            GOOG-PLAY-000619636                                                    European Mobile Application Distribution
                                                                                                           Agreement (EMADA) (10/29/2018)
TEMP0149                            GOOG-PLAY-000619866                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (06/27/2019)
TEMP0150                            GOOG-PLAY-000619896                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (08/27/2019)
TEMP0151                            GOOG-PLAY-000619897                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (07/01/2019)
TEMP0152                            GOOG-PLAY-000619949                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) (07/01/2019)
TEMP0153                            GOOG-PLAY-000620054                                                    Google Mobile Application Distribution
                                                                                                           Agreement (MADA) Amendment One
                                                                                                           (08/06/2019)
TEMP0154                            GOOG-PLAY-000620057                                                    Google Mobile Application Distribution
                                                                                                           Agreement (MADA) Amendment One
                                                                                                           (08/06/2019)
TEMP0155                            GOOG-PLAY-000620095                                                    Mobile Application Distribution Agreement
                                                                                                           (MADA) Amendment One (08/13/2019)
TEMP0156                            GOOG-PLAY-000620097                                                    Google Mobile Application Distribution
                                                                                                           Agreement (MADA) Amendment Three
                                                                                                           (08/29/2019)
TEMP0157                            GOOG-PLAY-000620098                                                    Google Mobile Application Distribution
                                                                                                           Agreement (MADA) Amendment Four
                                                                                                           (09/12/2019)
TEMP0158                            GOOG-PLAY-000620111                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (09/26/2019)
TEMP0159                            GOOG-PLAY-000620119                                                    Extention Amendment to Google Mobile
                                                                                                           Application Distribution Agreement (MADA)
                                                                                                           (11/26/2019)
TEMP0160                            GOOG-PLAY-000620120                                                    Amendment No. 1 - Google (01/03/2020)
TEMP0161                            GOOG-PLAY-000620131                                                    Google Mobile Revenue Share Agreement
                                                                                                           (03/01/2020)
TEMP0162                            GOOG-PLAY-000620210                                                    Google Mobile Revenue Share Agreement
                                                                                                           (02/15/2021)
TEMP0163                            GOOG-PLAY-000620282                                                    Google Mobile Revenue Share Agreement 2020
                                                                                                           (02/15/2021)
TEMP0164                            GOOG-PLAY-000620332                                                    Amendment to the Mobile Application
                                                                                                           Distribution Agreement (11/30/2019)
TEMP0165                            GOOG-PLAY-000620334                                                    Amendment No. 2 - Google (01/10/2020)
TEMP0166                            GOOG-PLAY-000620339                                                    Amendment No. 2 to Mobile Application
                                                                                                           Distribution Agreement (MADA) (01/02/2020)




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TEMP0167                             GOOG-PLAY-000620360                                                    Amendment to European Mobile Application
                                                                                                            Distribution Agreement (EMADA)
                                                                                                            (01/15/2020)
TEMP0168                             GOOG-PLAY-000620369                                                    Amendment to Mobile Application Distribution
                                                                                                            Agreement (MADA) (01/15/2020)

TEMP0169                             GOOG-PLAY-000620442                                                    Google Mobile Revenue Share Agreement
                                                                                                            (03/01/2020)
TEMP0170                             GOOG-PLAY-000620478                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0171                             GOOG-PLAY-000620638                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0172                             GOOG-PLAY-000620770                                                    Google Mobile Revenue Share Agreement
                                                                                                            (09/01/2020)
TEMP0173                             GOOG-PLAY-000620814                                                    Google Mobile Revenue Share Agreement for
                                                                                                            Turkey (09/01/2020)
TEMP0174                             GOOG-PLAY-000620837                                                    Amendment No. 2 to the Google Mobile
                                                                                                            Revenue Share Agreement (07/06/2020)
TEMP0175                             GOOG-PLAY-000620892                                                    Mobile Application Distribution Agreement
                                                                                                            (MADA) (10/01/2020)
TEMP0176                             GOOG-PLAY-000620966                                                    Mobile Application Distribution Agreement
                                                                                                            (MADA) (01/01/2011)
TEMP0177                             GOOG-PLAY-000621050                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (06/01/2010)
TEMP0178                             GOOG-PLAY-000621075                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (10/01/2009)
TEMP0179                             GOOG-PLAY-000621085                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (01/01/2011)
TEMP0180                             GOOG-PLAY-000621097                                                    Amendment Agreement Number One
                                                                                                            (10/08/2010)
TEMP0181                             GOOG-PLAY-000621122                                                    Mobile Application Distribution Agreement
                                                                                                            (Android)(07/01/2011)
TEMP0182                             GOOG-PLAY-000621165                                                    Amendment One to Mobile Application
                                                                                                            Distribution Agreement (03/09/2012)
TEMP0183                             GOOG-PLAY-000621177                                                    Mobile Application Distribution Agreement
                                                                                                            (Android)(06/01/2009)
TEMP0184                             GOOG-PLAY-000808375                                                    Mobile Application Distribution Agreement
                                                                                                            (MADA) (3PL) (02/15/2021)
TEMP0185                             GOOG-PLAY-000808464                                                    Undated spreadsheet titled "Play Entitlements
                                                                                                            Data by Categ"
TEMP0186                             GOOG-PLAY-000857382                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (01/01/2011)
TEMP0187                             GOOG-PLAY-000857437                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (01/01/2011)



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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                         Name / Description
TEMP0188                             GOOG-PLAY-000929031                          PX0162 Lawrence Koh               Document dated 3/9/2020 titled "Games
                                                                                                                    Velocity Program Addendum to the Google Play
                                                                                                                    Developer Distribution Agreement"
TEMP0189                             GOOG-PLAY-001089608                                                            Mobile Application Distribution Agreement
                                                                                                                    (Android) (07/01/2012)
TEMP0190                             GOOG-PLAY-001089914                                                            Amendment to European Mobile Application
                                                                                                                    Distribution Agreement (EMADA) (04/23/2019)

TEMP0191                             GOOG-PLAY-001089924                                                            Amendment No. 2 - Google (01/10/2020)
TEMP0192                             GOOG-PLAY-001089952                                                            Turkey Mobile Application Distribution
                                                                                                                    Agreement (TMADA) (03/01/2020)
TEMP0193                             GOOG-PLAY-001089978                                                            Amendment to the Mobile Application
                                                                                                                    Distribution Agreement, Europe Mobile
                                                                                                                    Application Distribution Agreement, Turkey
                                                                                                                    Mobile Application Agreement (05/15/2020)
TEMP0194                             GOOG-PLAY-001089985                                                            Amendment No. 1 to Android Go Amendment to
                                                                                                                    the Mobile Application Distribution Agreement
                                                                                                                    (MADA) and the European Mobile Application
                                                                                                                    Distribution Agreement (EMADA) (07/13/2020)

TEMP0195                             GOOG-PLAY-001089995                                                            Amendment to the Mobile Application
                                                                                                                    Distribution Agreement, Europe Mobile
                                                                                                                    Application Distribution Agreement, Turkey
                                                                                                                    Mobile Application Agreement (12/29/2020)
TEMP0196                             GOOG-PLAY-001089998                                                            Mobile Application Distribution Agreement
                                                                                                                    (Android) (07/01/2010)
TEMP0197                             GOOG-PLAY-001090102                                                            Amendment to the Mobile Application
                                                                                                                    Distribution Agreement, Europe Mobile
                                                                                                                    Application Distribution Agreement, Turkey
                                                                                                                    Mobile Application Agreement (09/01/2020)
TEMP0198                             GOOG-PLAY-001090167                                                            Android Compatability
                                                                                                                    Commitment(01/30/2012)
TEMP0199                             GOOG-PLAY-001090227                  PX0373 Michael Marchak, Ned Barnes;       Undated spreadsheet with Play Store revenue
                                                                        PX0429 Christian Cramer; PX0430 Christian   data
                                                                                         Cramer
TEMP0200                             GOOG-PLAY-001167285                                                            Document dated 6/26/2013 titled "Mobile
                                                                                                                    Application Distribution Agreement (Android)"
TEMP0201                             GOOG-PLAY-001362292                                                            Undated document titled "Android Market
                                                                                                                    Revenue Share Agreement (Android Market for
                                                                                                                    Mobile Operators)"
TEMP0202                             GOOG-PLAY-001377621                                                            Global Cooperation Agreement (06/21/2017)
TEMP0203                             GOOG-PLAY-001424478                                                            Amendment No. 2 to Global Cooperation
                                                                                                                    Agreement (08/10/2009)
TEMP0204                             GOOG-PLAY-001427091                                PX 1328                     Mobile Agreement (2/4/2011)



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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                     Name / Description
TEMP0205                             GOOG-PLAY-001467154                                                         Document dated 8/29/2012 titled "Android
                                                                                                                 Search and Google Play Revenue Share
                                                                                                                 Agreement"
TEMP0206                             GOOG-PLAY-001471037                                                         Mobile Application Distribution Agreement
                                                                                                                 (Android) (01/01/2011)
TEMP0207                             GOOG-PLAY-001477713                                                         Mobile Appication Distribution Agreement
                                                                                                                 (Android) (11/01/2009)
TEMP0208                             GOOG-PLAY-001507601                                                         App Catalog Data
TEMP0209                             GOOG-PLAY-001507602                                                         App Catalog Data Key
TEMP0210                             GOOG-PLAY-001507772                                PX 0440                  Undated spreadsheet with Android investment
                                                                                                                 data
TEMP0211                             GOOG-PLAY-001507790                                PX 1322                  Executed Document Confidential Carrier Billing
                                                                                                                 Addendum to Android Market Revenue Share
                                                                                                                 Agreement (3/12/2021)
TEMP0212                             GOOG-PLAY-001507811                                                         Document dated 7/22/2011 titled "Amendment
                                                                                                                 Number 1 to the Android Market Revenue Share
                                                                                                                 Agreement"
TEMP0213                             GOOG-PLAY-001507950                          PX1321 Jeffrey Ezell           Document dated 1/5/2010 titled "Android
                                                                                                                 Market Revenue Share Agreement (Android
                                                                                                                 Market for Mobile Operators)"
TEMP0214                             GOOG-PLAY-001507950                                PX 1321                  Android Market Revenue Share Agreement
                                                                                                                 (01/05/2010)
TEMP0215                             GOOG-PLAY-001508603                PX2914 Zhiyun Qian; PX0677 Sameer Samat; Undated spreadsheet titled "Apps by Source"
                                                                                        PX 1192
TEMP0216                             GOOG-PLAY-001547354                                                         Undated document titled "Amendment One to
                                                                                                                 the Google Co-Developed Device Strategic
                                                                                                                 Marketing Agreement"
TEMP0217                             GOOG-PLAY-001745337                                                         Document dated 6/24/2014 titled "Mobile
                                                                                                                 Application Distribution Agreement (MADA)"
TEMP0218                             GOOG-PLAY-001745388                                                         Amendment to Mobile Application Distribution
                                                                                                                 Agreement (03/17/2016)
TEMP0219                             GOOG-PLAY-001745389                                                         Amendment to Mobile Application Distribution
                                                                                                                 Agreement Excecution Copy (07/14/2016)

TEMP0220                             GOOG-PLAY-001745410                                                           Amendment Two to Mobile Application
                                                                                                                   Distribution Agreement (12/19/2016)
TEMP0221                             GOOG-PLAY-001745411                                                           Amendment to Mobile Application Distribution
                                                                                                                   Agreement (03/27/2017)
TEMP0222                             GOOG-PLAY-001745412                                                           Amendment to Mobile Application Distribution
                                                                                                                   Agreement (08/29/2017)
TEMP0223                             GOOG-PLAY-001745514                                                           Amendment No. 2 (11/15/2019)
TEMP0224                             GOOG-PLAY-001745564                                                           Google Mobile Revenue Share Agreement
                                                                                                                   (02/15/2021)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                 Name / Description
TEMP0225                             GOOG-PLAY-001745614                                                    Google Mobile Revenue Share Agreement
                                                                                                            (03/01/2020)
TEMP0226                             GOOG-PLAY-001745664                                                    Google Mobile Revenue Share Agreement for
                                                                                                            Turkey (03/01/2020)
TEMP0227                             GOOG-PLAY-001745695                                                    Amendment No. 5 to the Mobile Application
                                                                                                            Distribution Agreement (MADA) (01/01/2021)

TEMP0228                             GOOG-PLAY-001745852                                                    Amendment to Mobile Application Distribution
                                                                                                            Agreement (09/13/2017)
TEMP0229                             GOOG-PLAY-001745923                                                    Amendment No. 1 to Mobile Application
                                                                                                            Distribution Agreement (MADA) (08/19/2019)

TEMP0230                             GOOG-PLAY-001745943                                                    Amendment No. 3 to Mobile Application
                                                                                                            Distribution Agreement (MADA) (03/27/2020)

TEMP0231                             GOOG-PLAY-001745952                                                    Amendment No. 4 to Mobile Application
                                                                                                            Distribution Agreement (MADA) (11/29/2020)

TEMP0232                             GOOG-PLAY-001745969                                                    Document dated 6/22/2009 titled "Mobile
                                                                                                            Application Distribution Agreement (Android)"
TEMP0233                             GOOG-PLAY-001745994                                                    Amendment No 6. to Mobile Application
                                                                                                            Distribution Agreement (MADA) (03/01/2021)

TEMP0234                             GOOG-PLAY-001746023                                                    Amendment No. 11 to Google Mobile Revenue
                                                                                                            Share Agreement (05/14/2021)
TEMP0235                             GOOG-PLAY-001834687                                                    Document dated 6/27/2011 titled "Mobile
                                                                                                            Agreement (Android)"
TEMP0236                             GOOG-PLAY-001905152                                                    Mobile Revenue Sharing Agreement for OEMs
                                                                                                            (Android) (02/01/2011)
TEMP0237                             GOOG-PLAY-001905152                                                    Document dated 1/31/2011 titled "Mobile
                                                                                                            Revenue Sharing Agreement for OEMs
                                                                                                            (Android)"
TEMP0238                             GOOG-PLAY-003532752                                                    Document dated 2/1/2011 titled "Mobile
                                                                                                            Agreement"
TEMP0239                             GOOG-PLAY-003604122                                                    Mobile Application Distribution Agreement
                                                                                                            (Android) (06/01/2014)
TEMP0240                             GOOG-PLAY-003604149                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0241                             GOOG-PLAY-003604185                                                    Fourth Amendment to the Mobile Application
                                                                                                            Distribution (03/01/2017)
TEMP0242                             GOOG-PLAY-003604203                                                    European Mobile Application Distribution
                                                                                                            Agreement (EMADA) (02/26/2019)




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TEMP0243                             GOOG-PLAY-003604239                                                    Amendment to the European Mobile Application
                                                                                                            Distribution Agreement (02/27/2019)

TEMP0244                             GOOG-PLAY-003604248                                                    Amendment to the European Mobile Application
                                                                                                            Distribution Agreement (02/27/2019)

TEMP0245                             GOOG-PLAY-003604279                                                    Amendment to the European Mobile Application
                                                                                                            Distribution Agreement (EMADA)(01/01/2020)

TEMP0246                             GOOG-PLAY-003604300                                                    Turkey Mobile Application Distribution
                                                                                                            Agreement (TMADA) (03/01/2020)
TEMP0247                             GOOG-PLAY-003604341                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0248                             GOOG-PLAY-003604365                                                    Amendment to Mobile Application Distribution
                                                                                                            Agreement (MADA) (03/01/2017)

TEMP0249                             GOOG-PLAY-003604372                                PX 0791             Google Mobile Revenue Share Agreement
                                                                                                            (07/01/2020)
TEMP0250                             GOOG-PLAY-003604438                                                    Amendment Two to the Mobile Application
                                                                                                            Distribution Agreement (09/16/2010)
TEMP0251                             GOOG-PLAY-003604477                                                    Amendment to the Mobile Application
                                                                                                            Distribution Agreement (03/01/2017)
TEMP0252                             GOOG-PLAY-003604490                                                    Third Amendment to the Mobile Application
                                                                                                            Distribution Agreement (03/01/2017)
TEMP0253                             GOOG-PLAY-003604514                                                    Amendment to European Mobile Application
                                                                                                            Distribution Agreement (EMADA)(08/04/2020)

TEMP0254                             GOOG-PLAY-003604517                                                    Amendment to the Mobile Application
                                                                                                            Distribution Agreement (12/23/2020)
TEMP0255                             GOOG-PLAY-003604523                                                    Anti-Fragmentation Agreement (05/09/2012)
TEMP0256                             GOOG-PLAY-003604546                                                    Document titled "Android Search and Google
                                                                                                            Play Revenue Share Agreement for Mobile
                                                                                                            Operators" (09/01/2013)
TEMP0257                             GOOG-PLAY-003604601                                PX 1325             Amendment Two to Google Play Revenue Share
                                                                                                            Agreement (Google Play for Mobile Operators)
                                                                                                            (02/02/2015)
TEMP0258                             GOOG-PLAY-003604606                                                    Document dated 2/14/2012 titled "Google Play
                                                                                                            Revenue Share Agreement (Google Play for
                                                                                                            Mobile Operators)"
TEMP0259                             GOOG-PLAY-003604627                                                    Google Mobile Revenue Share Agreement
                                                                                                            (03/02/2021)
TEMP0260                             GOOG-PLAY-003604662                                PX 0954             Android market Revenue Share Agreement
                                                                                                            (07/01/2010)




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TEMP0261                             GOOG-PLAY-003604674                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/02/2021)
TEMP0262                             GOOG-PLAY-003604713                                                            Amendment Three to Mobile Application
                                                                                                                    Distribution Agreement (09/01/2015)
TEMP0263                             GOOG-PLAY-003604732                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/02/2021)
TEMP0264                             GOOG-PLAY-003604754                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/02/2021)
TEMP0265                             GOOG-PLAY-003604808                                                            Undated document titled "Co-Developed Device
                                                                                                                    Strategic Marketing Agreement"
TEMP0266                             GOOG-PLAY-003604896                                                            Document titled, "Amendment Five to the Co-
                                                                                                                    Developed Device Strategic Marketing
                                                                                                                    Agreement" (03/02/2021)
TEMP0267                             GOOG-PLAY-003604958                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/02/2021)
TEMP0268                             GOOG-PLAY-003604991                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/02/2021)
TEMP0269                             GOOG-PLAY-003605074                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/12/2021)
TEMP0270                             GOOG-PLAY-003605103                                                            Document titled, "Amendment Six to the Co-
                                                                                                                    Developed Device Strategic Marketing
                                                                                                                    Agreement" (03/12/2021)
TEMP0271                             GOOG-PLAY-003605116                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (03/12/2021)
TEMP0272                             GOOG-PLAY-004123102                              PX1065 Christopher Li         Document dated 11/4/2020 titled "Samsung
                                                                                                                    2020 Mobile Incentive Agreement(s)"
TEMP0273                             GOOG-PLAY-004285484                 PX1125 Nick Sears; PX1339 Justin Mattson   Document dated 1/6/2009 titled "Android
                                                                                                                    Market Developer Distribution Agreement"
TEMP0274                             GOOG-PLAY-004328596                                                            Undated spreadsheet titled "GfK Custom
                                                                                                                    Research North America"
TEMP0275                             GOOG-PLAY-004330637                                                            Undated GfK Research document
TEMP0276                             GOOG-PLAY-004330716                                                            Document dated 5/1/2013 titled "Android
                                                                                                                    Search and Google Play Store Revenue Share
                                                                                                                    Agreement for Mobile Operators"
TEMP0277                             GOOG-PLAY-004542114                                                            Google Play Revenue Share Agreement (Google
                                                                                                                    Play for Mobile Operators) (02/15/2013)

TEMP0278                             GOOG-PLAY-004552342                                                            Mobile Application Distribution Agreement
                                                                                                                    (Android) (03/30/2017)
TEMP0279                             GOOG-PLAY-005027813                                                            Google Mobile Revenue Share Agreement
                                                                                                                    (05/21/2021)
TEMP0280                             GOOG-PLAY-005027814                                                            Spreadsheet dated 5/6/2021 titled "IDC
                                                                                                                    Quarterly Mobile Phone Tracker- Fiscal
                                                                                                                    Historical 2020 Q4"



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TEMP0281                             GOOG-PLAY-005535885                                                    Talos data - Monthly app-level app revenue for
                                                                                                            U.S. Developers
TEMP0282                             GOOG-PLAY-005535886                                                    Talos data - Monthly app-level app revenue for
                                                                                                            U.S. Consumers
TEMP0283                             GOOG-PLAY-005577045                                PX 1764             Excel workbook titled, "30(b)(6)" (2/12/2020)

TEMP0284                             GOOG-PLAY-005706073                                                    Document dated 9/1/2014 titled "Google Search
                                                                                                            Revenue Share Agreement"
TEMP0285                             GOOG-PLAY-005706180                                                    Mobile Application Distribution Agreement
                                                                                                            (MADA) (11/01/2017)
TEMP0286                             GOOG-PLAY-005706338                                PX 1054             Google Mobile Incentive Agreement
                                                                                                            (04/01/2020)
TEMP0287                             GOOG-PLAY-005706392                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0288                             GOOG-PLAY-005706436                                                    Google Mobile Revenue Share Agreement
                                                                                                            (04/01/2020)
TEMP0289                             GOOG-PLAY-005706485                                PX 1066             2020 Mobile Incentive Agreement(s) - Executive
                                                                                                            Summary (11/04/2020)
TEMP0290                             GOOG-PLAY-005706515                                PX 1067             Go-To Market Incentive Payments Pool
                                                                                                            Agreement (11/01/2020)
TEMP0291                             GOOG-PLAY-005706573                                                    Google Mobile Revenue Share Agreement
                                                                                                            (02/15/2021)
TEMP0292                             GOOG-PLAY-005706588                                                    Document dated 9/1/2014 titled "Mobile
                                                                                                            Application Distribution Agreement (MADA)"
TEMP0293                             GOOG-PLAY-005706676                                                    Google Mobile Revenue Share Agreement
                                                                                                            (04/01/2020)
TEMP0294                             GOOG-PLAY-005706728                                                    Google Mobile Revenue Share Agreement
                                                                                                            (04/01/2020)
TEMP0295                             GOOG-PLAY-005706894                                                    Google Mobile Revenue Share Agreement
                                                                                                            (07/01/2020)
TEMP0296                             GOOG-PLAY-005706961                                                    Amendment No. 3 to Global Cooperation
                                                                                                            Agreement (12/01/2009)
TEMP0297                             GOOG-PLAY-005955172                                                    Google Mobile Revenue Share Agreement
                                                                                                            (05/20/2021)
TEMP0298                             GOOG-PLAY-006409808                                                    Subscribe with Google Addendum to the Google
                                                                                                            Play Developer Distribution Agreement
                                                                                                            (03/06/2018)
TEMP0299                             GOOG-PLAY-007038477                                                    Google Mobile Revenue Share Agreement
                                                                                                            (04/01/2021)
TEMP0300                             GOOG-PLAY-007038511                                                    Google Mobile Revenue Share Agreement
                                                                                                            (04/01/2021)
TEMP0301                             GOOG-PLAY-007203251                                                    Transactional Data
TEMP0302                             GOOG-PLAY-007203253                                                    Google Mobile Revenue Share Agreement
                                                                                                            (09/30/2021)



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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                Name / Description
TEMP0303                            GOOG-PLAY-007203253.R                                                   Undated spreadsheet with device data by country

TEMP0304                             GOOG-PLAY-007203254                                                    Excel workbook titled, "Devices that can Install
                                                                                                            from Unknown Sources" (08/13/2021)
TEMP0305                             GOOG-PLAY-007272068                                                    Audio Distribution Accelerator ("ADAP")
                                                                                                            Addendum to the Google Play Developer
                                                                                                            Distribution Agreement ("DDA") (11/10/2016)

TEMP0306                             GOOG-PLAY-007273051                                                    Google Play Games Velocity Program
                                                                                                            Addendum to the Google Play Developer
                                                                                                            Distribution Agreement (07/01/2019)
TEMP0307                             GOOG-PLAY-007273055                                PX 0145             Google Play Games Velocity Program:
                                                                                                            Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (07/01/2019)
TEMP0308                             GOOG-PLAY-007273059                                PX 0146             Google Ads Credits Addendum (09/08/2019)
TEMP0309                             GOOG-PLAY-007273160                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (Google and illegible) (10/25/2019)

TEMP0310                             GOOG-PLAY-007273168                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (11/05/2019)
TEMP0311                             GOOG-PLAY-007273234                                                    Google Play Games Velocity Program
                                                                                                            Addendum to the Google Play Developer
                                                                                                            Distribution Agreement (11/06/2019)
TEMP0312                             GOOG-PLAY-007273259                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution
                                                                                                            Agreement(11/21/2019)
TEMP0313                             GOOG-PLAY-007273267                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (02/28/2020)
TEMP0314                             GOOG-PLAY-007273309                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (03/30/2020)
TEMP0315                             GOOG-PLAY-007273358                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (07/29/2020)
TEMP0316                             GOOG-PLAY-007273404                                                    Google Mobile Revenue Share Agreement
                                                                                                            (06/16/2021)




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TEMP0317                             GOOG-PLAY-007273439                                 PX 0153            Document Titled Google Play Games Velocity
                                                                                                            Program
                                                                                                            Addendum to the Google Play Developer
                                                                                                            Distribution
                                                                                                            Agreement (01/25/2020)
TEMP0318                             GOOG-PLAY-007273439                              PX0153 Lawrence Koh   Document dated 1/24/2020 titled "Google Play
                                                                                                            Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement"

TEMP0319                             GOOG-PLAY-007335206                                                    Excel Workbook Titled, "Install Sources of Non-
                                                                                                            Play Apps"
TEMP0320                             GOOG-PLAY-007335206                                                    Undated spreadsheet with install data
TEMP0321                             GOOG-PLAY-007335447                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (12/03/2019)
TEMP0322                             GOOG-PLAY-007335471                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (01/19/2021)
TEMP0323                             GOOG-PLAY-007335476                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (07/24/2020)
TEMP0324                             GOOG-PLAY-007335499                                   PX 0163          Document titled, "Google Ads Credits
                                                                                                            Addendum" (06/16/2021)
TEMP0325                             GOOG-PLAY-007335499                              PX0163 Lawrence Koh   Undated document titled "Google Ads Credits
                                                                                                            Addendum"
TEMP0326                             GOOG-PLAY-007335585                                                    Google Mobile Revenue Share Agreement
                                                                                                            (06/16/2021)
TEMP0327                             GOOG-PLAY-007335789                                                    Undated spreadsheet with purchasing data
TEMP0328                             GOOG-PLAY-007335790                                                    Undated spreadsheet with purchasing data
TEMP0329                             GOOG-PLAY-007335791                                                    Undated spreadsheet with purchasing data
TEMP0330                             GOOG-PLAY-007335792                                                    Undated spreadsheet with purchasing data
TEMP0331                             GOOG-PLAY-007335793                                                    Undated spreadsheet with purchasing data
TEMP0332                             GOOG-PLAY-007335794                                                    Undated spreadsheet with purchasing data
TEMP0333                             GOOG-PLAY-007335811                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 1)
TEMP0334                             GOOG-PLAY-007335814                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 2)
TEMP0335                             GOOG-PLAY-007335817                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 3)
TEMP0336                             GOOG-PLAY-007335820                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 4)
TEMP0337                             GOOG-PLAY-007335824                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 5)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                Name / Description
TEMP0338                             GOOG-PLAY-007335829                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 6)
TEMP0339                             GOOG-PLAY-007335833                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 7)
TEMP0340                             GOOG-PLAY-007335837                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 8)
TEMP0341                             GOOG-PLAY-007335841                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 9)
TEMP0342                             GOOG-PLAY-007335845                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 10)
TEMP0343                             GOOG-PLAY-007335849                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 11)
TEMP0344                             GOOG-PLAY-007335854                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 12)
TEMP0345                             GOOG-PLAY-007335858                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 13)
TEMP0346                             GOOG-PLAY-007335862                                                    Google Play Developer Satisfaction - Verbatin
                                                                                                            Comments (Wave 14)
TEMP0347                             GOOG-PLAY-007376204                                                    Undated spreadsheet with purchasing data
TEMP0348                             GOOG-PLAY-007376207                                                    Undated spreadsheet with purchasing data
TEMP0349                             GOOG-PLAY-007376323                                                    Undated spreadsheet with device data by country

TEMP0350                             GOOG-PLAY-007376324                                                    Undated spreadsheet with app data
TEMP0351                             GOOG-PLAY-007376328                                                    Undated spreadsheet with device data by country

TEMP0352                             GOOG-PLAY-007415527                                                    Google Mobile Revenue Share Agreement
                                                                                                            (10/30/2019)
TEMP0353                             GOOG-PLAY-007505091                                                    Apps Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (06/23/2021)
TEMP0354                             GOOG-PLAY-007505153                                                    Google Mobile Revenue Share Agreement
                                                                                                            (10/21/2021)
TEMP0355                             GOOG-PLAY-007618973                                   PX 1468          Excel workbook titled, " PG"
TEMP0356                             GOOG-PLAY-007622187                                   PX 1580          Excel Workbook titled, "Instructions Resources"

TEMP0357                             GOOG-PLAY-007847561                                   PX 1980          Document titled, "Terms for Strategic
                                                                                                            Partnership" (06/16/2021)
TEMP0358                             GOOG-PLAY-007847561                              PX1980 Zerza, Armin   Undated document titled "Terms for Strategic
                                                                                                            Partnership"
TEMP0359                             GOOG-PLAY-007847579                                                    Games Velocity Program Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (03/10/2020)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                    Name / Description
TEMP0360                             GOOG-PLAY-007847579                                                       Document dated 3/9/2020 titled "Games
                                                                                                               Velocity Program Addendum to the Google Play
                                                                                                               Developer Distribution Agreement"
TEMP0361                             GOOG-PLAY-007925363                                     PX 0819           Mobile Application Distribution Agreement
                                                                                                               (06/17/2014)
TEMP0362                             GOOG-PLAY-008166112                                                       Play Transaction Revenue Share Payments data
                                                                                                               Excel Sheet (12/08/2021)
TEMP0363                             GOOG-PLAY-008441132                                                       Document dated 7/1/2010 titled "Android
                                                                                                               Market Revenue Share Agreement (Android
                                                                                                               Market for Mobile Operators)"
TEMP0364                             GOOG-PLAY-009214151                                                       Google Mobile Revenue Share Agreement
                                                                                                               (06/16/2021)
TEMP0365                             GOOG-PLAY-009214167                                                       Google Mobile Revenue Share Agreement
                                                                                                               (06/16/2021)
TEMP0366                             GOOG-PLAY-009318047                                                       Mobile Application Distribution Agreement
                                                                                                               (Android) (05/01/2009)
TEMP0367                             GOOG-PLAY-009347142                                                       Document dated 10/1/2014 titled "Amendment
                                                                                                               Five to the Co-Developed Device Strategic
                                                                                                               Marketing Agreement"
TEMP0368                             GOOG-PLAY-009570209                                                       Google Mobile Revenue Share Agreement
                                                                                                               (08/05/2016)
TEMP0369                             GOOG-PLAY-009607450                                                       Mobile Application Distribution Agreement
                                                                                                               (MADA) (09/01/2014)
TEMP0370                             GOOG-PLAY-009640439                                                       Mobile Application Distribution Agreement
                                                                                                               (MADA) (11/01/2017)
TEMP0371                             GOOG-PLAY-009650343                                     PX 1115           Document titled, "Joint Cooperation Agreement"
                                                                                                               (07/31/2015)
TEMP0372                             GOOG-PLAY-009734626                              PX1421 Kirsten Rasanen   Undated document titled "Google Play App
                                                                                                               Access Program Addendum to the Google Play
                                                                                                               Developer Distribution Agreement ("DDA")"

TEMP0373                             GOOG-PLAY-010203197                                                       Document dated 6/21/2007 titled "Amendment
                                                                                                               No. 5 to Global Cooperation Agreement"

TEMP0374                             GOOG-PLAY-010207461                                                       Document dated 12/1/2011 titled "Mobile
                                                                                                               Agreement (Android)"
TEMP0375                             GOOG-PLAY-010469917                                     PX 0961           Mobile Application Distribution Agreement
                                                                                                               (Android) (06/01/2001)
TEMP0376                             GOOG-PLAY-010511166                                                       Mobile Application Distribution Agreement
                                                                                                               (Andoid) (03/01/2009)
TEMP0377                             GOOG-PLAY-010569450                                                       Undated spreadsheet with GAIA purchasing
                                                                                                               data
TEMP0378                             GOOG-PLAY-010646939                                     PX 0955           Mobile Agreement (03/02/2021)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                  Name / Description
TEMP0379                             GOOG-PLAY-010661066                                                     Document titled: "Games Velocity Program
                                                                                                             Addendum to the Google Play Developer
                                                                                                             Distribution Agreement" (10/29/2019)
TEMP0380                             GOOG-PLAY-010661592                                                     Document dated 11/14/2016 titled "Google Play
                                                                                                             App Access Program Addendum to the Google
                                                                                                             Play Developer Distribution Agreement"

TEMP0381                             GOOG-PLAY-010661629                                    PX 1433          Document dated 6/5/2017 titled "Google Play
                                                                                                             App Access Program Addendum to the Google
                                                                                                             Play Developer Distribution Agreement"

TEMP0382                             GOOG-PLAY-010662251                                                     Document titled: "Games Velocity Program
                                                                                                             Addendum to the Google Play Developer
                                                                                                             Distribution Agreement" (03/04/2020)
TEMP0383                             GOOG-PLAY-010662562                                                     Document dated 12/17/2020 titled "Amendment
                                                                                                             No. 1"
TEMP0384                             GOOG-PLAY-010683311                                                     Document dated 2/2/2017 titled "Google Play
                                                                                                             App Access Program Addendum to the Google
                                                                                                             Play Developer Distribution Agreement"

TEMP0385                             GOOG-PLAY-010790927                                                     Undated spreadsheet with device data by country

TEMP0386                             GOOG-PLAY-010801562                                                     Undated spreadsheet with RSA device data for
                                                                                                             EEA
TEMP0387                            GOOG-PLAY-010801563.R                                                    Undated spreadsheet with RSA device data for
                                                                                                             APAC and ROW
TEMP0388                             GOOG-PLAY-010801564                                                     Undated spreadsheet with RSA device data for
                                                                                                             MEA
TEMP0389                             GOOG-PLAY-010801565                                                     Undated spreadsheet with RSA device data for
                                                                                                             Developing APAC
TEMP0390                             GOOG-PLAY-010801566                                                     Undated spreadsheet with RSA device data for
                                                                                                             North America, LAT. AM., and Europe
TEMP0391                             GOOG-PLAY-010801567                                                     Undated spreadsheet with USA RSA device data

TEMP0392                             GOOG-PLAY-010801633                                                     Document dated 2020 titled "IDC's Worldwide
                                                                                                             Mobile Phone Tracker Taxonomy"

TEMP0393                             GOOG-PLAY-010801680                                    DX 1029          Spreadsheet dated 2021 with Play Store cost and
                                                                                                             revenue data
TEMP0394                             GOOG-PLAY-010801683                                                     Undated spreadsheet with app store data by
                                                                                                             country
TEMP0395                            GOOG-PLAY-010801685.R                             DX1081 Ned S. Barnes   Play Revenue by App Category data spread sheet
                                                                                                             (05/04/2022)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                  Name / Description
TEMP0396                            GOOG-PLAY-010801686.R                         DX1082 Ned S. Barnes      Undated spreadsheet containing App
                                                                                                            Developer's Google Play Store Revenue 2012-
                                                                                                            2021
TEMP0397                             GOOG-PLAY-010801688                                                    Talos data - refresh data set
TEMP0398                             GOOG-PLAY-010801689                                                    Talos data - refresh data set
TEMP0399                             GOOG-PLAY-010873444                                                    Undated spreadsheet with Android investment
                                                                                                            data
TEMP0400                             GOOG-PLAY-011127880                                                    Excel charting number of app installs picked up
                                                                                                            by Play Protect by install method
TEMP0401                             GOOG-PLAY-011142435                                                    Excel charting app installs, categorized by either
                                                                                                            Play or off-Play installs
TEMP0402                             GOOG-PLAY-011249827                                                    Google Mobile Revenue Share Agreement
                                                                                                            (05/04/2022)
TEMP0403                             GOOG-PLAY-011249830                                                    Google Mobile Revenue Share Agreement
                                                                                                            (05/04/2022)
TEMP0404                             GOOG-PLAY-011249842                                                    Google Mobile Revenue Share Agreement
                                                                                                            (05/04/2022)
TEMP0405                             GOOG-PLAY-011249875                                                    Document titled: "Apps Velocity Program
                                                                                                            Addendum to the Google Play Developer
                                                                                                            Distribution Agreement" (07/13/2021)
TEMP0406                             GOOG-PLAY-011250003                                                    Document titled: "Attachment A - Marketing
                                                                                                            Activity Promotion Title: App Velocity Program
                                                                                                            - Developer Managed Promotions" (12/17/2021)

TEMP0407                             GOOG-PLAY-011250116                              PX 1532; 2058         Google Play Better Together Program
                                                                                                            Partnership ("Program") Addendum to the
                                                                                                            Google Play Developer Distribution Agreement
                                                                                                            (06/14/2022)
TEMP0408                             GOOG-PLAY-011268925                                                    Google Mobile Revenue Share Agreement
                                                                                                            (06/30/2014)
TEMP0409                             GOOG-PLAY-011354602                                                    Undated spreadsheet containing Android device
                                                                                                            data by country
TEMP0410                             GOOG-PLAY-011420445                                PX 1466             Excel workbook titled, "GL Account"
TEMP0411                             GOOG-PLAY-011589329                                                    Document dated 9/8/2017 titled "Amendment to
                                                                                                            Google Play App Access Program Addendum to
                                                                                                            the Google Play Developer Distribution
                                                                                                            Agreement"
TEMP0412                             GOOG-PLAY-011607542                                                    Android LTVs 2021 data spreadsheet (6/2021)

TEMP0413                             GOOG-PLAY-011607543                                                    Android LTVs 2017 data spreadsheet (3/2017)

TEMP0414                             GOOG-PLAY-011607544                                                    Android LTVs 2022 data spreadsheet (2/2022)




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           Exhibit Number                 Beg Bates                             Deposition Exhibit Number              Name / Description
TEMP0415                             GOOG-PLAY-011607545                                                    Android LTVs 2017 data spreadsheet (12/2017)

TEMP0416                             GOOG-PLAY-011657415                                                    Undated spreadsheet containing RSA data for
                                                                                                            Developed APAC
TEMP0417                             GOOG-PLAY-011657416                                                    Undated spreadsheet containing RSA data for
                                                                                                            Developing APAC
TEMP0418                             GOOG-PLAY-011657417                                                    Undated spreadsheet containing RSA data for
                                                                                                            EEA pt. 1
TEMP0419                             GOOG-PLAY-011657418                                                    Undated spreadsheet containing RSA data for
                                                                                                            EEA pt. 2
TEMP0420                             GOOG-PLAY-011657419                                                    Undated spreadsheet containing RSA data for
                                                                                                            Europe non-EEA
TEMP0421                             GOOG-PLAY-011657420                                                    Undated spreadsheet containing RSA data for
                                                                                                            LAT. AM.
TEMP0422                             GOOG-PLAY-011657421                                                    Undated spreadsheet containing RSA data for
                                                                                                            MEA Pt. 1
TEMP0423                             GOOG-PLAY-011657422                                                    Undated spreadsheet containing RSA data for
                                                                                                            MEA Pt. 2
TEMP0424                             GOOG-PLAY-011657423                                                    Undated spreadsheet containing RSA data for
                                                                                                            North America
TEMP0425                             GOOG-PLAY-011657424                                                    Undated spreadsheet containing RSA data for
                                                                                                            ROW
TEMP0426                             GOOG-PLAY-011657425                                                    Undated spreadsheet containing RSA data for
                                                                                                            US
TEMP0427                             GOOG-PLAY-011657426                                                    Spreadsheet re Preloaded App Breakdown for
                                                                                                            Sample Devices.
TEMP0428                             GOOG-PLAY-011681859                                                    Document titled, "Executive Summary: Amazon -
                                                                                                            Google Play Partnership Program Agreement
                                                                                                            (2022)" (07/02/2022)
TEMP0429                             GOOG-PLAY-011725219                                                    Excel sheet titled "Android B3 Revenue
                                                                                                            Analysis 02 2012" (07/09/2012)
TEMP0430                             GOOG-PLAY-011871711                                                    Excel sheet titled "Gross Margin by Product
                                                                                                            Q4'15" (01/13/2016)
TEMP0431                             GOOG-PLAY-011917060                                                    Document dated 8/1/2013 titled "Google Play
                                                                                                            Carrier Billing Agreement (Google Play for
                                                                                                            Mobile Operators)"
TEMP0432                             GOOG-PLAY-011989702                                                    Android Search and Google Play Revenue Share
                                                                                                            Agreement (01/01/2013)
TEMP0433                             GOOG-PLAY-012021875                                                    Document dated 1/1/2020 titled "Google Play
                                                                                                            Non-Standard Games Velocity Program
                                                                                                            Addendum- Executive Summary"
TEMP0434                            GOOG-PLAY-012036253                                                     Spreadsheet entitled UCB DOB EEA + Row.
TEMP0435                            GOOG-PLAY2-000455312                                                    Information Services Agreement (ISA)
                                                                                                            (12/20/2002)



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           Exhibit Number                Beg Bates                          Deposition Exhibit Number                Name / Description
TEMP0436                            GOOG-PLAY2-000455423                             PX 1492            Document titled, "Amendment to the
                                                                                                        Information Services Agreement" (9/30/2016)
TEMP0437                            GOOG-PLAY2-000456776                                                Mobile Application Distribution Agreement
                                                                                                        (MADA) (08/01/2017)
TEMP0438                            GOOG-PLAY2-000456929                                                Mobile Application Distribution Agreement
                                                                                                        (MADA) (10/01/2017)
TEMP0439                            GOOG-PLAY2-000474736                            PX 1489             Document titled, "Joint Cooperation Agreement"
                                                                                                        (08/26/2020)
TEMP0440                            GOOG-PLAY2-000502381                                                Apps Velocity Program Addendu to the Google
                                                                                                        Play Developer Distribution Agreement
                                                                                                        (03/19/2021)
TEMP0441                            GOOG-PLAY2-000654602                                                Android Search and Google Play Revenue Share
                                                                                                        Agreement for Mobile Operators (05/17/2013)

TEMP0442                            GOOG-PLAY2-001375183                                                Amendment No. 2 to the Google Mobile
                                                                                                        Revenue Share Agreement (07/2020)
TEMP0443                            GOOG-PLAY3-000013044                                                Document dated 6/12/2020 titled "Google Play
                                                                                                        Developer Distribution Agreement"
TEMP0444                            GOOG-PLAY3-000018260                                                Transactional data - refresh
TEMP0445                            GOOG-PLAY4-000034628                                                Mobile Application Distribution Agreement
                                                                                                        (Android) (01/01/2011)
TEMP0446                            GOOG-PLAY4-000988867                                                Document dated 1/1/2011 titled "Mobile
                                                                                                        Services Distribution Agreement"
TEMP0447                            GOOG-PLAY4-003081175                                                Document dated 2/1/2015 titled "Amendment
                                                                                                        two to Google Play Revenue Share Agreement
                                                                                                        (Google Play for Mobile Operators)"

TEMP0448                            GOOG-PLAY4-004086515                            PX 0957             Amendment No 3 to Global Cooperatoin
                                                                                                        Agreement (06/21/2007)
TEMP0449                            GOOG-PLAY4-004086568                                                Document dated 10/1/2009 titled "Co-Developed
                                                                                                        Device Strategic Marketing Agreement"

TEMP0450                            GOOG-PLAY4-004259430                            PX 0652             Document titled, "Store Agreement Term Sheet"
                                                                                                        (06/20/2019)
TEMP0451                            GOOG-PLAY4-005406595                                                "Mobile Application Distribution Agreement
                                                                                                        (MADA) (01/01/2018)
TEMP0452                            GOOG-PLAY4-006402390                                                Undated document titled "Android Market
                                                                                                        Revenue Share Agreement"
TEMP0453                            GOOG-PLAY4-006405428                                                Document dated 3/1/2012 titled "Android
                                                                                                        Market Revenue Share Agreement (Android
                                                                                                        Market for Mobile Operators)"
TEMP0454                            GOOG-PLAY4-006406205                                                Document dated 6/1/2012 titled "Android
                                                                                                        Market Revenue Share Agreement (Android
                                                                                                        Market for Mobile Operators)"



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           Exhibit Number                Beg Bates                             Deposition Exhibit Number               Name / Description
TEMP0455                            GOOG-PLAY4-006406936                                                   Document dated 11/1/2011 titled "Android
                                                                                                           Market Revenue Share Agreement (Android
                                                                                                           Market for Mobile Operators)"
TEMP0456                            GOOG-PLAY4-006862053                                                   Document dated 7/1/2010 titled "Android
                                                                                                           Market Revenue Share Agreement (Android
                                                                                                           Market for Mobile Operators)"
TEMP0457                             MATCH-EVG_00001440                                                    Undated document titled "Match - US Yearly
                                                                                                           Downloads"
TEMP0458                             MATCH-EVG_00001450                                                    Undated document titled "OKC - US Yearly
                                                                                                           Downloads"
TEMP0459                             MATCH-EVG_00001459                                                    Undated document titled "POF - US Yearly
                                                                                                           Downloads"
TEMP0460                             MATCH-EVG_00001490                                                    Undated document titled "Tinder - US Yearly
                                                                                                           Downloads"
TEMP0461                            MATCHGOOGLE00022155                                                    Document entitled Affiliate Merchant
                                                                                                           Agreement.
TEMP0462                            MATCHGOOGLE00022163                                                    Document entitled Paymentech, LLC August
                                                                                                           2018 Amendment to US Replication Agreement,
                                                                                                           Merchant Name: Match Group, LLC.

TEMP0463                            MATCHGOOGLE00022165                                                    Document entitled Schedule A to Merchant
                                                                                                           Agreement.
TEMP0464                            MATCHGOOGLE00022192                                                    Document entitled Chase Paymentech,
                                                                                                           Paymentech, LLC US Replication Agreement
                                                                                                           Additional Company Amendment, Merchant
                                                                                                           Name: Match.com, LLC.
TEMP0465                            MATCHGOOGLE00022195                                                    Document entitled Chase Paymentech US to US
                                                                                                           Replication Agreement.
TEMP0466                            MATCHGOOGLE00022245                                                    Document entitled Affiliate Merchant
                                                                                                           Agreement.
TEMP0467                            MATCHGOOGLE00022252                                                    Document entitled Affiliate Merchant
                                                                                                           Agreement.
TEMP0468                            MATCHGOOGLE00022354                                                    Document dated 6/21/2021 titled "Terms of
                                                                                                           Use" (Tinder)
TEMP0469                            MATCHGOOGLE00022799                                                    Document entitled Paymentech, LLC January
                                                                                                           2013 Amendment to Select Merchant Payment
                                                                                                           Card Processing Agreement, Merchant Name:
                                                                                                           IAC/InterActiveCorp.
TEMP0470                            MATCHGOOGLE00022808                                                    Document entitled Chase Paymentech Select
                                                                                                           Merchant Payment Card Processing Agreement.

TEMP0471                            MATCHGOOGLE00104981                                                    Document entitled Payment Processing
                                                                                                           Agreement relating to People Media, LLC




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           Exhibit Number                Beg Bates                         Deposition Exhibit Number                Name / Description
TEMP0472                            MATCHGOOGLE00104992                                                Document entitled Amendment #4 to the
                                                                                                       Payment Processing Agreement.
TEMP0473                            MATCHGOOGLE00104993                                                Document entitled Amendment #5 to the
                                                                                                       Payment Processing Agreement.
TEMP0474                            MATCHGOOGLE00104995                                                Document entitled General Data Protection
                                                                                                       Special Addendum.
TEMP0475                            MATCHGOOGLE00105001                                                Document entitled Amendment #3A to Payment
                                                                                                       Processing Agreement.
TEMP0476                            MATCHGOOGLE00105003                                                Document entitled Amendment #1 to the
                                                                                                       Payment Processing Agreement.
TEMP0477                            MATCHGOOGLE00105004                                                Document entitled Amendment #3 to Payment
                                                                                                       Processing Agreement.
TEMP0478                            MATCHGOOGLE00105007                                                Document entitled Amendment #2 to Payment
                                                                                                       Processing Agreement.
TEMP0479                            MATCHGOOGLE00105017                                                Document entitled Merchant Agreement.
TEMP0480                            MATCHGOOGLE00105082                                                Document entitled Merchant Services
                                                                                                       Agreement relating to PlentyofFish Media ULC

TEMP0481                            MATCHGOOGLE00105742                                                Undated spreadsheet titled "Match- Monthly
                                                                                                       First Time Subscribers (Global, Excluding
                                                                                                       China)"
TEMP0482                            MATCHGOOGLE00105743                                                Undated document titled "Match - Monthly First
                                                                                                       Time Subscribers (Global, Excluding China)"

TEMP0483                            MATCHGOOGLE00105770                                                Spreadsheet document titled "OkCupid-
                                                                                                       Monthly First Time Subscribers (Global,
                                                                                                       Excludng China)"
TEMP0484                            MATCHGOOGLE00105771                                                Undated document titled "OKCupid - Monthly
                                                                                                       First Time Subscribers (Global, Excluding
                                                                                                       China)"
TEMP0485                            MATCHGOOGLE00105797                                                Spreadsheet entitled OurTime - Monthly First
                                                                                                       Time Subscribers (Global, Excluding China).
TEMP0486                            MATCHGOOGLE00105797                                                Undated document titled "OurTime- Monthly
                                                                                                       First Time Subscribers (Global, Excluding
                                                                                                       China)"
TEMP0487                            MATCHGOOGLE00105798                                                Undated document titled "OurTime - Monthly
                                                                                                       First Time Subscribers (Global, Excluding
                                                                                                       China)"
TEMP0488                            MATCHGOOGLE00105815                                                Spreadsheet titled "PlentyofFish Monthly First
                                                                                                       Time Subscribers (Global, Excluding China)"
TEMP0489                            MATCHGOOGLE00105816                                                Undated document titled "PlentyofFish -
                                                                                                       Monthly First Time Subscribers (Global,
                                                                                                       Excluding China)"




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           Exhibit Number                Beg Bates                          Deposition Exhibit Number                        Name / Description
TEMP0490                            MATCHGOOGLE00105837                                                         Undated document titled "Tinder- Monthly First
                                                                                                                Time Subscribers (Global, Excluding China)"

TEMP0491                            MATCHGOOGLE00107252                                                       Undated spreadsheet with Android monthly
                                                                                                              revenue data
TEMP0492                            MATCHGOOGLE00107256                                                       Spreadsheet entitled Match - Digital Purchase
                                                                                                              Behavior.
TEMP0493                            MATCHGOOGLE00115545                                                       Spreadsheet entitled total_performance.csv.
TEMP0494                            MATCHGOOGLE00115554                                                       Spreadsheet entitled total_performance.csv.
TEMP0495                            MATCHGOOGLE00115559                                                       Spreadsheet entitled total_performance.
TEMP0496                            MATCHGOOGLE00115561                                                       Undated spreadsheet titled "Tinder- Monthly
                                                                                                              First Time Subscribers (Global, Excluding
                                                                                                              China)"
TEMP0497                            MATCHGOOGLE00115572                                                       Document entitled OPC Payments Inc. Merchant
                                                                                                              Application and Agreement.
TEMP0498                            MATCHGOOGLE00115585                                                       Document entitled OPC Payments Inc. Merchant
                                                                                                              Application and Agreement.
TEMP0499                            MATCHGOOGLE00115602                                                       Document entitled, "NBX Merchant Services
                                                                                                              Corp. Bank Card Merchant Agreement."
TEMP0500                                                                                                      “Google Play Developer Distribution
                                                                                                              Agreement,” Google Play,
                                                                                                              https://play.google.com/about/developer-
                                                                                                              distribution-agreement.html
                                                                                                              (last accessed 6/13/2023)
TEMP0501                                                                                                      “Google Play Developer Distribution
                                                                                                              Agreement,” Google Play,
                                                                                                              https://play.google.com/about/developer-
                                                                                                              distribution-agreement.html
                                                                                                              (last accessed 6/13/2023)
TEMP0502                                                                           PX 2870                    Excel Workbook titled, "Monthly Consumer
                                                                                                              Class Damages for the Period of 2016.05.31
                                                                                                              (USD)" - Leonard Backup Document
TEMP0503                           DOWNDOG-GOOG_00000177                           DX1157                     Document
TEMP0504                            EPIC_GOOGLE_00091287                     DX0168 Vogel, Daniel             4/21/2020 email from D. Vogel to D. Clay and J.
                                                                                                              Lefrancois
TEMP0505                            EPIC_GOOGLE_00094421                     DX0902 Grant, Andrew             6/8/2020 email from A. Grant to D. Vogel
TEMP0506                            EPIC_GOOGLE_00159498           DX0003 - Andrew Grant, Christopher Babcock 3/25/2018 Email from J. Porter to N. Penwarden

TEMP0507                            EPIC_GOOGLE_00318136                      DX0062 Sussman, Adam              4/18/2020 emal from A. Sussman to B. Chu
TEMP0508                            EPIC_GOOGLE_00318327                       DX114 Steve Allison              5/12/2020 email from S. Phan to S. Allison
TEMP0509                            EPIC_GOOGLE_01562529                     DX0679 Sweeney, Timothy            11/18/2019 email from D. Clary to A. Shobin,
                                                                                                                B. Chu, D. Vogel, D. Hunt, D. Winterbottom, D.
                                                                                                                Mustard, E. Zobrist, H. Malikm L. Vaughen, M.
                                                                                                                Weissinger, S. Nellessen



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                                                        UNDISPUTED EXHIBITS

           Exhibit Number                 Beg Bates                         Deposition Exhibit Number                   Name / Description
TEMP0510                            EPIC_GOOGLE_01564342                                                    1/28/2019 email from S. Allison to T. Sweeney

TEMP0511                            EPIC_GOOGLE_01582843                                                    9/24/2019 email from J. Sargent to H. Stolfus, J.
                                                                                                            Kreiner, R. Gelber, J. Calentino, T. Stone, E.
                                                                                                            Zobrist, D. Block, B. Chu, T. Sweeney, J.
                                                                                                            Sargent, D. Vogel, H. Malik, M. Weissinger, S.
                                                                                                            Allison, A. Rubright
TEMP0512                            EPIC_GOOGLE_01585748                 DX0172 Daniel Vogel, Alec Shobin   10/31/2019 email from B. Chu to D. Vogel
TEMP0513                            EPIC_GOOGLE_01593111                     DX0011 Grant, Andrew           4/10/2018 email from J. Barrett to A. Brussee
TEMP0514                            EPIC_GOOGLE_01748449                     DX0900 Grant, Andrew           6/8/2020 email from T. Sweeney to P. Spencer

TEMP0515                            EPIC_GOOGLE_01762898                           DX0299 Mark Rein         8/14/2019 email from M. Rein to E. Zobrist
TEMP0516                            EPIC_GOOGLE_01800486                          DX0006 Grant, Andrew      5/27/2020 email from S. Nolfi to A. Grant, J.
                                                                                                            Truong, A. Brussee
TEMP0517                            EPIC_GOOGLE_02097634                           DX0187 Stolfus, Hans     8/15/2019 email from H. Stolfus to A. Gupta
TEMP0518                            EPIC_GOOGLE_02097703                          DX0065 Sussman, Adam      1/14/2020 email from A. Sussman to N. Chester

TEMP0519                            EPIC_GOOGLE_02183451                          DX0533 Kreiner, Joseph    1/9/2018 email from A. Broadwater to T.
                                                                                                            Sweeney
TEMP0520                            EPIC_GOOGLE_03128230                          DX0204 - Chris Babcock    5/3/2018 Email from A. Brussee to J. Porter, C.
                                                                                                            Babcock, L. Nivison, and N. Penwarden
TEMP0521                            EPIC_GOOGLE_03626082                                                    Undated presentation titled "Epic Games
                                                                                                            Company Update"
TEMP0522                            EPIC_GOOGLE_03635514                          DX0063 Sussman, Adam      Undated presentation titled "Company Update"

TEMP0523                            EPIC_GOOGLE_03875669                                                    Undated presentation titled "Epic Games
                                                                                                            Company Update"
TEMP0524                            EPIC_GOOGLE_03905866                                                    Undated spreadsheet titled "EGS P&L"
TEMP0525                            EPIC_GOOGLE_03977911                          DX0015 Grant, Andrew      Presentation dated 5/10/2019 titled "Fortnite
                                                                                                            Weekly Mobile Status"
TEMP0526                            EPIC_GOOGLE_03981096                          DX0064 Sussman, Adam      Presentation dated 1/30/2020 titled "Sussman
                                                                                                            Team Offsite"
TEMP0527                            EPIC_GOOGLE_03981437                           DX0184 Stolfus, Hans     Undated presentation titled "Fortnite Mobile:
                                                                                                            Mobile Business Update/Deep Dive"
TEMP0528                            EPIC_GOOGLE_04044070                                                    8/31/2018 email from S. Phan to J. Babcock
TEMP0529                            EPIC_GOOGLE_04131436                           DX0500 Ko, Thomas        10/21/2019 messages between E. Strong and T.
                                                                                                            Ko
TEMP0530                            EPIC_GOOGLE_04131443                           DX0496 Ko, Thomas        12/5/2019 messages between A. Doroftei and T.
                                                                                                            Ko
TEMP0531                            EPIC_GOOGLE_04156577                           DX0503 Ko, Thomas        6/10/2020 email from D. Stelzer to T. Ko
TEMP0532                            EPIC_GOOGLE_04368045                          DX0545 Kreiner, Joseph    3/6/2019 email from C. Roberts to J. Kreiner
TEMP0533                            EPIC_GOOGLE_05131910                                                    Undated document titled "Fortnite Item Revenue
                                                                                                            by Week"
TEMP0534                            EPIC_GOOGLE_05183951                           DX710 Randy Gelber       Undated, untitled document about budget



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                                                            UNDISPUTED EXHIBITS

           Exhibit Number                 Beg Bates                             Deposition Exhibit Number                    Name / Description
TEMP0535                            EPIC_GOOGLE_05287735                                                       2/23/2021 email from R. Gelber to T. Sweeney,
                                                                                                               A. Sussman, D. Vogel, C. Pence
TEMP0536                            EPIC_GOOGLE_05287736                                                       Presentation dated 2/25/2021 titled "Board of
                                                                                                               Directors Meeting, Q1:2021"
TEMP0537                            EPIC_GOOGLE_05478044                                                       Presentation dated 1/2020 titled "Project E2"
TEMP0538                            EPIC_GOOGLE_05481557                               DX690 Randy Gelber      2/21/2020 email from R. Gelber to R. Gelber
TEMP0539                            EPIC_GOOGLE_05481569                               DX698 Randy Gelber      Undated presentation titled "Project E2 Forecast-
                                                                                                               as of Jan 2020"
TEMP0540                            EPIC_GOOGLE_05481576                               DX691 Randy Gelber      Presentation dated 1/2020 titled "Project E2"
TEMP0541                            EPIC_GOOGLE_05791900                               DX0656 Joshua Kim       Undated spreadsheet titled "sales by
                                                                                                               webmobileapps"
TEMP0542                            EPIC_GOOGLE_05826483                              DX0540 Kreiner, Joseph   5/5/2022 email from A. Grant to undisclosed
                                                                                                               recipients
TEMP0543                            EPIC_GOOGLE_05826549                              DX0701 Randy Gelber      5/5/2022 email from S. Persson to A. Grant
TEMP0544                            GOOG-PLAY-000005203.R                                                      Presentation dated 2/2018 titled "Project Hug:
                                                                                                               Risk & Leakage Model"
TEMP0545                             GOOG-PLAY-000808433                                                       Undated document titled "Anti-Fragmentation
                                                                                                               Agreement"
TEMP0546                             GOOG-PLAY-004330869                                                       Document dated 9/28/2020 titled "Listening to
                                                                                                               Developer Feedback to Improve Google Play"

TEMP0547                             GOOG-PLAY-011220642                              PX2685 Sameer Samat      5/2/2022 email from S. Dubey to S. Samat
TEMP0548                            MATCHGOOGLE00088015                                DX0976 Ian Purves       4/24/2020 email from T. Diavet to A. Ong
TEMP0549                            MATCHGOOGLE00113636                               DX0781 Gary Swidler      6/9/2021 Slack message between G. Swidler and
                                                                                                               D. Wyler
TEMP0550                                    N/A                                       DX1349 Ethan Diamond     Bandcamp Updates webpage capture titled
                                                                                                               "Bandcamp is Joining Epic Games"
TEMP0551                                    N/A                                                                CO et. al. v. Google, Complaint (D.D.C. Dec.
                                                                                                               17, 2020), available at Complaint" Available at:
                                                                                                               https://coag.gov/app/uploads/2020/12/Colorado-
                                                                                                               et-al.-v.-Google-PUBLIC-REDACTED-
                                                                                                               Complaint.pdf

TEMP0552                                    N/A                                    DX0074 Adam Sussman         1/1/2022 Tweet from T. Sweeney
                                                                                  DX0074 Timothy Sweeney
TEMP0553                                    N/A                                   DX0669 Timothy Sweeney       8/30/2018 Tweets from T. Sweeney
TEMP0554                                    N/A                                   DX0670 Timothy Sweeney       4/23/2019 & 4/24/2019 Tweets from T.
                                                                                                               Sweeney
TEMP0555                                    N/A                                         DX0941 AJ Cihla        Undated document titled "Introducing Tinder
                                                                                                               Online- Swipe Anywhere"
TEMP0556                                    N/A                                                                Undated website article titled "Frequently Asked
                                                                                                               Questions" Available at:
                                                                                                               https://www.epicgames.com/site/en-US/epic-
                                                                                                               games-store-faq



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                       EXHIBIT B
                                                                         Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 31 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                                     Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number                 Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0557       EPIC_GOOGLE_00004861           DX0115 Allison, Steven       12/4/2019 email from D. Vogel to                            Steven Allison                     Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                             K. Page                                                                                                                                                                                                                                          (Rules 803, 804, 807)
  TEMP0558       EPIC_GOOGLE_00006187   DX0025 Edward Zobrist, DX0221 Haseeb 12/16/2019 email from H. Malik to           Tim Sweeney, Chris Babcock, Matt Weissinger, Ed    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                      Malik                  D. Vogel                                                        Zobrist                        counterclaims                                                                    misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                              Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                              Rule 402—exhibit is not relevant                                (Rules 803, 804, 807)
                                                                                                                                                                                                                                                              Rule 602—exhibit contains statements not based on declarant’s    Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                             personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                              Rule 901—proponent has not established authenticity of the      201, 602, 901, 902)
                                                                                                                                                                                                                                                             document                                                          Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                              Foundation

  TEMP0559       EPIC_GOOGLE_00006444         DX0685 Timothy Sweeney           12/8/2019 email from C. Babcock to        Tim Sweeney; Chris Babcock; Matthew Weissinger     Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                                                               T. Sweeney                                                                                   counterclaims                                                                    misleading to the jury                                           Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                             Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                             (Rules 803, 804, 807)
  TEMP0560       EPIC_GOOGLE_00073459          DX0022 Edward Zobrist           10/30/2018 email from J. Choi to D.                      Matt Weissinger                     Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                                                               Vogel                                                                                        counterclaims                                                                    misleading to the jury
  TEMP0561       EPIC_GOOGLE_00083666           DX0113 Allison, Steven         5/31/2019 email from W. Fudala to                         Steven Allison                     Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant                                Exhibit is relevant (Rules 401, 402)
                                                                               J. Sargent
  TEMP0562       EPIC_GOOGLE_00089971                                          Email from D. Vogel to E. Zobrist;                       Malik, Haseeb                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               T. Sweeney                                                Stolfus, Hans                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                       Sussman, Adam                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                        Sweeney, Tim                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                        Vogel, Daniel                       resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                      Weissinger, Matthew                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          Zobrist, Ed                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0563       EPIC_GOOGLE_00089981                 DX 0200                  Email from C. Pence to T.Sweeney                          Malik, Haseeb                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               et al. re OnePlus Silent Install Update                   Stolfus, Hans                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                               (04/01/2020)                                              Sweeney, Tim                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         Vogel, Daniel                      conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                        Weissinger, Matt                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0564       EPIC_GOOGLE_00096203                                          8/10/2020 email from N. Chester to                   Tim Sweeney; Mark Rein                  Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant                                  Exhibit is relevant (Rules 401, 402)
                                                                               D. Vogel                                                                                     counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or        Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                             misleading to the jury                                             Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                   (Rules 803, 804, 807)
                                                                                                                                                                                                                                                              Rule 404—exhibit appears to contain improper character evidence Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                                                                               exception applies (Rules 607, 608, 609)
  TEMP0565       EPIC_GOOGLE_00099063           DX0453 Vogel, Daniel           Presentation dated 12/2019 titled                Daniel Vogel; Matthew Weissinger            Defense to Plaintiffs' claims                                      Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                               "Project E2"                                                                                                                                                                  relevant, Rule 403—wasting time and/or needlessly cumulative,     (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay, Rule              403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                                             602—exhibit contains statements not based on declarant’s personal applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                                             knowledge                                                         knowledge will be established (Rules 201, 602, 901, 902)

  TEMP0566       EPIC_GOOGLE_00099427                                          Email from H. Malik to T. Sweeney;                       Babcock, Chris                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               D. vogel re Google Play Update |                         Gelber, Randy                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                               Violations Clarification (1/13/2020)                     Malik, Haseeb                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                       Sussman, Adam                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                        Sweeney, Tim                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                        Vogel, Daniel                       Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                      Weissinger, Matthew                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                          Zobrist, Ed                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0567       EPIC_GOOGLE_00106315                                          Email from T. Sweeney to C. Pence                         Allison, Steve                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               et al re Google message is sent                         Sweeney, Timothy                     unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                               (12/5/2019)                                            Weissinger, Matthew                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                          Zobrist, Ed                       conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                        Gelber, Randy                       resulting damages; and/or                                                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                      Lockheimer, Hiroshi                                                                                                    truth of the matter asserted, and not subject to any hearsay
                                                                                                                                       Rosenberg, Jamie                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0568       EPIC_GOOGLE_00106317                                          12/5/2019 email from R. Gelber to                          Tim Sweeney                       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                                                               T. Sweeney                                                                                   counterclaims                                                                    misleading to the jury                                           Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                             Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0569       EPIC_GOOGLE_00106376                                          Email from T. Sweeney to H.                               Harrison, Don                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               Lockheimer re Fortnite on Google                       Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                               Play (12/10/2019)                                       Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                        Sweeney, Tim                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.




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                                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                                    Sponsoring Witness(es)
Exhibit Number         Beg Bates              Deposition Exhibit Number                Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0570       EPIC_GOOGLE_00106906           DX0026 Edward Zobrist          1/13/2020 email from T. Sweeney to     Tim Sweeney; Hiroshi Lockheimer; Jamie Rosenberg;       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                               H. Lockheimer                                            Don Harrison                          counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or           (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                Rule 404—exhibit appears to contain improper character evidence Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                                                                                     exception applies (Rules 607, 608, 609)
  TEMP0571       EPIC_GOOGLE_00107195                                          Email from T. Sweeney to C. Pence                         Sweeney, Tim                         Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                               et al. re Google chat (2/3/2020)                                                               unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                                                                              tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0572       EPIC_GOOGLE_00108349                                          Email from D. Harrison to T.                              Harrison, Don                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                               Sweeney re Fortnite and Android                           Sweeney, Tim                         unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                               follow-up (3/26/2020)                                                                          tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0573       EPIC_GOOGLE_00108622                                          Email from T. Sweeney to D.                               Harrison, Don                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               Harrison re Invitation: [VC] Don                          Sweeney, Tim                         unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                               Harrison (Google) & Tim Sweeney                                                                tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                               (Epic) @ Mon Apr 13, 2020 4pm -                                                                conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                               4:30pm (EDT)                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                               (tim.sweeney@epicgames.com)                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                               (4/10/2020)                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0574       EPIC_GOOGLE_00108677           DX0123 Allison, Steven         4/14/2020 email from S. Allison to                 Steven Allison, Tim Sweeney                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                               T. Sweeney                                                                                                                                                                      confusing the issues and/or misleading to the jury               admissibility (Rules 401, 403)
  TEMP0575       EPIC_GOOGLE_00109084            DX0488 Thomas Ko              4/30/2020 email from T. Ko to T.                    Tim Sweeney, Thomas Ko                     Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                               Sweeney                                                                                        counterclaims                                                                                                                                     (Rules 803, 804, 807)
  TEMP0576       EPIC_GOOGLE_00110220                                          7/14/2020 email from T. Sweeney to                         Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                               D. Wallerstein                                                                                 counterclaims                                                                    confusing the issues and/or misleading to the jury, Rule         admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                               404—exhibit appears to contain improper character evidence       evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                608, 609)
  TEMP0577       EPIC_GOOGLE_00110342                                          7/22/2020 Email from H.            Hiroshi Lockheimer, Donald Harrison, Jamie Rosenberg, Defense to Plaintiffs' claims; proof of Epic's liability for             Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                               Lockheimer to T. Sweeney                        Sundar Pichai; Tim Sweeney               counterclaims                                                                                                                                           (Rules 803, 804, 807)
  TEMP0578       EPIC_GOOGLE_00113146                                          8/13/2020 Email from T. Sweeney to Tim Sweeney; Hiroshi Lockheimer; Sameer Samat; Jamie Defense to Plaintiffs' claims; proof of Epic's liability for              Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                               H. Lockheimer                                    Rosenberg; Don Harrison                 counterclaims                                                                          misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                (Rules 803, 804, 807)
  TEMP0579       EPIC_GOOGLE_00113698    DX0170 Alec Shobin, DX0031 Edward     4/30/2020 email from E. Zobrist to                 Alec Shobin, Edward Zobrist                 Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                      Zobrist                  D. Nikdel, T. Ko, B. Chu, K. Page,                                                             counterclaims                                                                    misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                               D. Diaz, P. Buuck, N. Adams, H.                                                                                                                                                  Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                               Stolfus
  TEMP0580       EPIC_GOOGLE_00114387        DX0526 Matthew Weissinger         5/13/2020 email from E. Zobrist to                       Matt Weissinger                       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                                                               A. Sussman                                                                                     counterclaims                                                                    Rule 403—unfairly prejudicial, confusing the issues and/or              exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                               misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)

  TEMP0581       EPIC_GOOGLE_00114388              DX0033 Zobrist              Presentation dated 5/13/2020 titled                Ed Zobrist, Timothy Sweeney                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 404—exhibit appears to           Exhibit is relevant (Rules 401, 402), Not improper
                                                                               "Project Liberty Update"                                                                                                                                                        contain improper character evidence, Rule 403—unfairly                  character evidence (Rule 404) and/or exception applies
                                                                                                                                                                                                                                                               prejudicial, confusing the issues and/or misleading to the jury         (Rules 607, 608, 609), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                                                                                                       401, 403)
  TEMP0582       EPIC_GOOGLE_00128881   DX0216 Malik Haseeb; DX0682 Sweeney, 1/8/2020 email from H. Malik to E.                 Haseeb Malik, Timothy Sweeney                 Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403), Not
                                                      Timothy                Zobrist                                                                                          counterclaims                                                                    misleading to the jury, Rule 404—exhibit appears to contain             improper character evidence (Rule 404) and/or exception
                                                                                                                                                                                                                                                               improper character evidence, Rule 802—exhibit contains                  applies (Rules 607, 608, 609), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                               inadmissible hearsay                                                    and/or hearsay objection applies (Rules 803, 804, 807)

  TEMP0583       EPIC_GOOGLE_00143190           DX0005 Grant, Andrew           Email from J. Sargent to A. Grant re              Andrew Grant, Chris Babcock                  Defendant: Defense to Plaintiffs' claims                          Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                               what services are we NOT using                                                                                                                                                  ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                               from Google Play? (08/15/2019)                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                         .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                              violations, unreasonable restraints of trade, unfair                             602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                              competition and/or tortious interference; proof of                               the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                              the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                      exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                              Counterclaims against Plaintiffs                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0584       EPIC_GOOGLE_00199542           DX0215 Malik Haseeb            4/29/2019 email from W.S. Ahn to                          Haseeb Malik                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                               A. Tan, H. Malik, B. Shasha                                                                                                                                                                                                                             (Rules 803, 804, 807)
  TEMP0585       EPIC_GOOGLE_00300992            DX0198 Hans Stolfus           7/17/2020 email from M. Weissinger                Hans Stolfus; Matt Weissinger                Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                                                               to H. Stolfus                                                                                  counterclaims                                                                    Rule 403—unfairly prejudicial, confusing the issues and/or              exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                               misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)




                                                                                                                                                                              2 of 220
                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 33 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                      DISPUTED EXHIBITS




                                                                                                                                 Sponsoring Witness(es)
Exhibit Number         Beg Bates           Deposition Exhibit Number                Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0586       EPIC_GOOGLE_00306828               PX 0813                 Email from E.Gass to H.Stolfus                             Stolfus, Hans                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                                           unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                           tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0587       EPIC_GOOGLE_00308332               PX 0815                 Email from C.Yang to K.Shin re                             Stolfus, Hans                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Epic Games App Collaboration                                                                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                            (04/20/2020)                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0588       EPIC_GOOGLE_00318184        DX0068 Sussman, Adam           4/21/2020 email from A. Sussman to                        Adam Sussman                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            N. Chester                                                                                     counterclaims                                                                    confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                            404—exhibit appears to contain improper character evidence              evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                    608, 609)
  TEMP0589       EPIC_GOOGLE_00318643         DX712 Randy Gelber            6/25/2020 email from R. Gelber to                          Randy Gelber                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403), Not
                                                                            A. Sussman                                                                                                                                                                      misleading to the jury, Rule 404—exhibit appears to contain             improper character evidence (Rule 404) and/or exception
                                                                                                                                                                                                                                                            improper character evidence                                             applies (Rules 607, 608, 609)
  TEMP0590       EPIC_GOOGLE_00357476       DX0684 Timothy Sweeney          5/11/2020 email from T. Sweeney to          Tim Sweeney; Mark Rein; Matt Weissinger            Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                                                            M. Rein                                                                                        counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                            misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)

  TEMP0591       EPIC_GOOGLE_00357479       DX0032 - Edward Zobrist         5/11/2020 Email from C. Pence to T. Tim Sweeney; Mark Rein; Matt Weissinger, Daniel Vogel Defense to Plaintiffs' claims; proof of Epic's liability for            Plaintiff     Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                        DX0305 - Mark Rein; DX0305 Vogel,   Sweeney, G. Feist, and K. Page                                                            counterclaims                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              exception applies (Rules 607, 608, 609)
                                                     Daniel                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)

  TEMP0592       EPIC_GOOGLE_00392653                                       7/2/2018 email from T. Won to team-               Tim Sweeney; Matt Weissinger                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            status                                                                                                                                                                          confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0593       EPIC_GOOGLE_00425564                                       6/23/2018 email from T. Won to                    Tim Sweeney; Matt Weissinger                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            team-status                                                                                                                                                                     confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0594       EPIC_GOOGLE_00477654        DX0007 Grant, Andrew           6/24/2020 email from A. Grant to M.             Andrew Grant; Matthew Weissinger               Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            Weissinger                                                                                     counterclaims                                                                    confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                            404—exhibit appears to contain improper character evidence, Rule        evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                            106—exhibit is unfairly incomplete                                      608, 609), Exhibit is properly complete (Rule 106)
  TEMP0595       EPIC_GOOGLE_00796398        DX0536 Kreiner, Joseph         11/6/2019 email from D. Block to J.            Joseph Kreiner, Matthew Weissinger              Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Kreiner                                                                                                                                                                                                                                                 (Rules 803, 804, 807)
  TEMP0596       EPIC_GOOGLE_00856142        DX0070 Sussman, Adam           5/12/2020 email from A. Sussman to             Adam Sussman; Matthew Weissinger                Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            R. Gelber                                                                                                                                                                       confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                            404—exhibit appears to contain improper character evidence              evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                    608, 609)
  TEMP0597       EPIC_GOOGLE_00865531          DX0529 Weissinger            7/30/2020 email from T. Sweeney to              Matt Weissinger, Timothy Sweeney               Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            M. Weissinger                                                                                                                                                                   confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                            404—exhibit appears to contain improper character evidence              evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                    608, 609)
  TEMP0598       EPIC_GOOGLE_00928502                                       9/16/2019 email from P. Harrison to                        Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            Tim                                                                                                                                                                             confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                            802—exhibit contains inadmissible hearsay, Rule 602—exhibit             and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                                            contains statements not based on declarant’s personal knowledge         Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP0599       EPIC_GOOGLE_00928915                                       10/28/2019 email from Z. Jackiw to                         Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            C. Pence                                                                                                                                                                        confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                            602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                            knowledge, Rule 802—exhibit contains inadmissible hearsay               Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                    (Rules 803, 804, 807)
  TEMP0600       EPIC_GOOGLE_00929129                                       11/13/2019 email to Epic Games                             Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Player Support                                                                                                                                                                  402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                            confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                            602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                            knowledge                                                               201, 602, 901, 902)
  TEMP0601       EPIC_GOOGLE_00929692                                       12/27/2018 email from J. Penston to                        Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            T. Sweeney                                                                                                                                                                      402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                            confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                            602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                            knowledge                                                               201, 602, 901, 902)
  TEMP0602       EPIC_GOOGLE_00934665                                       10/11/2018 email from A. Serrano to                        Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            T. Sweeney                                                                                                                                                                      402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                            confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                            602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                            knowledge                                                               201, 602, 901, 902)
  TEMP0603       EPIC_GOOGLE_00963694      DX0528 Matthew Weissinger        Undated document titled "Epic                            Matt Weissinger                       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                            Games, Inc. Statement of Work                                                                  counterclaims                                                                    misleading to the jury
                                                                            Attachment"
  TEMP0604       EPIC_GOOGLE_00974145         DX0284 Nikdel, David          4/26/2018 email from D. Nikdel to                          David Nikdel                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                            M. Harlan                                                                                                                                                                       relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                            misleading to the jury, Rule 802—exhibit contains inadmissible       403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                                            hearsay                                                              applies (Rules 803, 804, 807)
  TEMP0605       EPIC_GOOGLE_00993779      DX0076 Weissinger, Sussman       5/29/2020 email from A. Sussman to                       Matt Weissinger                       Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            M. Weissinger                                                                                                                                                                   confusing the issues and/or misleading to the jury, Rule             admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                            404—exhibit appears to contain improper character evidence           evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)




                                                                                                                                                                           3 of 220
                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 34 of 250          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates            Deposition Exhibit Number               Name / Description                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0606       EPIC_GOOGLE_00996910                                       8/7/2020 Email from T. Sweeney to              Tim Sweeney                    Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                            P. Spencer                                                                    counterclaims                                                                        misleading to the jury                                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                  (Rules 803, 804, 807)
                                                                                                                                                                                                                                                Rule 404—exhibit appears to contain improper character evidence Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                                                                exception applies (Rules 607, 608, 609)
  TEMP0607       EPIC_GOOGLE_01033281                                       5/14/2018 email from P. Buuck to        Tim Sweeney; Matt Weissinger          Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            M. Shetler and H. Kent                                                                                                                                             confusing the issues and/or misleading to the jury               admissibility (Rules 401, 403)
  TEMP0608       EPIC_GOOGLE_01084282                                       10/1/2019 email from S. Allison to J.          Steven Allison                 Defense to Plaintiffs' claims                                       Plaintiff        Rule 106—exhibit is unfairly incomplete                          Exhibit is properly complete (Rule 106)
                                                                            Kreiner
  TEMP0609       EPIC_GOOGLE_01127842                                       Presentation entitled "Diesel Update           Allison, Steven                Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            2018-06-05"                                                                   unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                          tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0610       EPIC_GOOGLE_01388860                                       6/18/2019 email from N. Adams to               Tim Sweeney                    Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            L. McLemore and J. Bell                                                                                                                                            confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0611       EPIC_GOOGLE_01389465                PX 1977                Email from A. Zerza to T. Sweeney              Sweeney, Tim                   Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                          unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                          tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0612       EPIC_GOOGLE_01412932                                       Email from T. Sweeney to P.                    Sweeney, Tim                   Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Meegan et al. re Google meeting on              Zobrist, Ed                   unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                            Friday (7/21/2018)                                                            tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0613       EPIC_GOOGLE_01415567       DX0680 Sweeney, Timothy         8/27/2018 email from D. Vogel to T.          Timothy Sweeney                  Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Sweeney, P. Meegan, C. Pence                                                  counterclaims                                                                                                                                                (Rules 803, 804, 807)
  TEMP0614       EPIC_GOOGLE_01553718          DX0196 Stolfus, Hans         4/30/2020 messages between E.                   Hans Stolfus                  Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            Zobrist and H. Stolfus                                                                                                                                             confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                               404—exhibit appears to contain improper character evidence, Rule        evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                               802—exhibit contains inadmissible hearsay, Rule 602—exhibit             608, 609), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                               contains statements not based on declarant’s personal knowledge,        applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                               Rule 701—exhibit contains improper specialized opinion by lay           knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                               witness                                                                 Not an opinion, or proper opinion evidence (Rule 701)

  TEMP0615       EPIC_GOOGLE_01558057        DX0677 Timothy Sweeney         5/22/2019 email from D. Wallerstein       Tim Sweeney; Mark Rein              Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                            to J. Babcock                                                                 counterclaims                                                                        misleading to the jury
  TEMP0616       EPIC_GOOGLE_01559282         DX0132 Allison, Steven        Email from T.Sweeney to                 Steven Allison, Tim Sweeney           Defendant: Defense to Plaintiffs' claims                       Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                            S.Galonkin et al. re Things Heard @                                                                                                                                                                                                      objection applies (Rules 803, 804, 807)
                                                                            E3 re PC Rev Splits (06/14/2019)                                              Plaintiffs: Proof of Defendants’ liability for antitrust                             Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                          violations, unreasonable restraints of trade, unfair                                 ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                          competition and/or tortious interference; proof of                                   .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                          Defendants’ discovery conduct; proof of appropriate                                  602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                          the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                          rebutting allegations in Defendants’ Answers and                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                          Counterclaims against Plaintiffs                                                     exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0617       EPIC_GOOGLE_01559509          DX0811 Zerza, Armin          6/29/2019 email from T. Sweeney to       Armin Zerza, Tim Sweeney             Defense to Plaintiffs' claims                                       Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            A. Zerza                                                                                                                                                                                                                                   (Rules 803, 804, 807)
  TEMP0618       EPIC_GOOGLE_01561659          DX705 Randy Gelber           10/13/2019 email from R. Gelber to       Randy Gelber, Tim Sweeney            Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            T. Sweeney                                                                    counterclaims                                                                        confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0619       EPIC_GOOGLE_01562871                                       11/29/2018 email from D. Block to              Tim Sweeney                    Defense to Plaintiffs' claims                                       Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403), Exhibit is
                                                                            T. Sweeney                                                                                                                                                         misleading to the jury, Rule 402—exhibit is not relevant, Rule          relevant (Rules 401, 402), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               802—exhibit contains inadmissible hearsay                               hearsay objection applies (Rules 803, 804, 807)
  TEMP0620       EPIC_GOOGLE_01568815   DX0320-Nicholas Penwarden DX0686-   4/4/2018 email from N. Penwarden          Tim Sweeney; Mark Rein              Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                Timothy Sweeney             to A. Brussee                                                                 counterclaims                                                                        misleading to the jury                                                   Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                Rule 404—exhibit appears to contain improper character evidence        exception applies (Rules 607, 608, 609)

  TEMP0621       EPIC_GOOGLE_01568849       DX0673 Sweeney, Timothy         4/5/2018 email from T. Sweeney to            Timothy Sweeney                  Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                            B. Wang                                                                                                                                                            confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                               802—exhibit contains inadmissible hearsay                               and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP0622       EPIC_GOOGLE_01569344               DX 0321                 Email from A.Brussee to Epic                   Sweeney, Tim                   Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Games re Google Android Meetings -                                            unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                            Recap (05/18/2018)                                                            tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                          4 of 220
                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 35 of 250                             JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                                    Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number                Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0623       EPIC_GOOGLE_01569635                                         Email from J. Rosenberg to T.                             Allison, Steve                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Sweeney re Fortnite Android launch                      Sweeney, Timothy                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                              plan (6/22/2018)                                       Weissinger, Matthew                     tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                      Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                      Kochikar, Purnima                      resulting damages; and/or                                                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0624       EPIC_GOOGLE_01569703        DX0681 Sweeney, Timothy          6/29/2018 email from K. Carpenter                        Timothy Sweeney                       Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              to T. Sweeney                                                                                                                                                                   confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                              602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                              knowledge, Rule 802—exhibit contains inadmissible hearsay               Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                      (Rules 803, 804, 807)
  TEMP0625       EPIC_GOOGLE_01570263                                         8/3/2018 email from A. Brussee to                          Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              N. Chester                                                                                     counterclaims                                                                                                                                            (Rules 803, 804, 807)
  TEMP0626       EPIC_GOOGLE_01570317                                         8/7/2018 email from T. Sweeney to                          Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              N. Chester                                                                                                                                                                                                                                              (Rules 803, 804, 807)
  TEMP0627       EPIC_GOOGLE_01570598     DX0014 Andrew Grant Christopher     8/15/2018 email from C. Babcock to            Tim Sweeney; Chris Babcock, Mark Rein            Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                    Babcock                   T. Sweeney                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                              misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                               Foundation
  TEMP0628       EPIC_GOOGLE_01572541          DX0676 Tim Sweeney            9/7/2018 email from N. Mooney to                            Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                             D. Clary and others                                                                             counterclaims                                                                                                                                     (Rules 803, 804, 807)
  TEMP0629       EPIC_GOOGLE_01594241        DX0205 - Chris Babcock          5/15/2018 Email from D. Vogel to              Chris Babcock, Daniel Vogel, Tim Sweeney          Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                        DX0021 Edward Zobrist; DX0205 Vogel, H. Hazen                                                                                        counterclaims                                                                    personal knowledge                                               201, 602, 901, 902)
                                                      Daniel                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                              misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                               Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0630       EPIC_GOOGLE_01614844                 DX 0220                 Email from E.Zobrist to H.Malik re                        Malik, Haseeb                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Android Strategy Revist                                  Weissinger, Matt                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                              (07/30/2019)                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0631       EPIC_GOOGLE_01615180          DX0214 Malik Haseeb            8/1/2019 email from E. Zobrist to H.              Haseeb Malik, Matt Weissinger                Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                              Malik                                                                                                                                                                           personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                              hearsay                                                               hearsay objection applies (Rules 803, 804, 807)
  TEMP0632       EPIC_GOOGLE_01631317       DX0315 Penwarden, Nicholas        Email from A.Brussee to J.Adams re      Nicholas Penwarden; Daniel Vogel, Andrew Grant, Joe    Defendant: Defense to Plaintiffs' claims                          Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                              Android Feedback for Google?                                 Babcock                                                                                                            ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                              (03/12/2018)                                                                                   Plaintiff: Proof of Defendants’ liability for antitrust                          .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                             violations, unreasonable restraints of trade, unfair                             602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                             competition and/or tortious interference; proof of                               the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate                              the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                      exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                             Counterclaims against Plaintiffs                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0633       EPIC_GOOGLE_01649625         DX0672 Timothy Sweeney          2/23/2018 email from T. Sweeney to                        Sweeney, Tim                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                                                              A. Brusse                                                                                                                                                                       misleading to the jury                                           Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                              Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0634       EPIC_GOOGLE_01649648           DX0293 Mark Rein              2/23/2018 email from M. Rein to T.      Tim Sweeney; Mark Rein; Chris Babcock, Mark Rein,      Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                               DX0293 Daniel Vogel            Sweeney                                                  Daniel Vogel                          counterclaims                                                                    misleading to the jury                                           Not improper character evidence (Rule 404) and/or
                                              DX0293 Timothy Sweeney                                                                                                                                                                                          Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0635       EPIC_GOOGLE_01719143                                         Email from S. Nellessen to D. Vogel                       Allison, Steve                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              et al. re Fortnite Android (1/7/2019)                   Sweeney, Timothy                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                     Weissinger, Matthew                     tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                             resulting damages; and/or                                                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0636       EPIC_GOOGLE_01724080                                         2/23/2018 email from J. Truong to                 Daniel Vogel; Timothy Sweeney                Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                                                              D. Vogel                                                                                       counterclaims                                                                    Rule 403—unfairly prejudicial, confusing the issues and/or              exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                              misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)

  TEMP0637       EPIC_GOOGLE_01734178           DX0493 Thomas Ko              4/23/2020 email from T. Sweeney to           Thomas Ko, Tim Sweeney, Chris Babcock             Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—wasting time and/or needlessly cumulative                      Balance favors admissibility (Rules 401, 403)
                                                                              E. Zobrist, H. Malik, D. Vogel, T.                                                             counterclaims
                                                                              Ko, C. Babock, K. Page
  TEMP0638       EPIC_GOOGLE_01734251     DX0195 Christopher Babcock, Hans    4/24/2020 email from E. Zobrist to      Tim Sweeney, Christopher Babcock, Hans Stolfus, Ed     Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                             Stolfus; DX0029 Ed Zobrist       D. Nikdel, N. Adams, P. Buuck, T.                            Zobrist                           counterclaims                                                                    confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                              Ko, H. Stolfus, F. Liu, H. Malik, C.                                                                                                                                            404—exhibit appears to contain improper character evidence, Rule        evidence (Rule 404) and/or exception applies (Rules 607,
                                                                              Babcock, J. Kreiner, D. Shaw                                                                                                                                                    802—exhibit contains inadmissible hearsay                               608, 609), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                                                                                                                      applies (Rules 803, 804, 807)




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                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 36 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                                   Sponsoring Witness(es)
Exhibit Number         Beg Bates            Deposition Exhibit Number                Name / Description                                                                                                Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0639       EPIC_GOOGLE_01745714                                        Email from T. Sweeney to H.                             Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             Lockheimer; J. Rosenberg re                              Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                             Fortnite on Google Play (12/5/2019)                       Sweeney, Tim                          tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0640       EPIC_GOOGLE_01747278   DX0129 Allison, Steven; DX0534 Joe   3/18/2020 email from F. Liljegren to         Tim Sweeney, Steven Allison, Joe Kreiner           Defense to Plaintiffs' claims                                       Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                     Kreiner                 T. Sweeney                                                                                                                                                                                                                                                   (Rules 803, 804, 807)
  TEMP0641       EPIC_GOOGLE_01747579                                        Email from T. Sweeney to A.                               Allison, Steve                        Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             Sussman, E. Zobrist re Fwd:                             Sweeney, Timothy                        unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                             Invitation: [VC] Don Harrison                          Weissinger, Matthew                      tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                             (Google) & Tim Sweeney (Epic) @                          Sussman, Adam                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                             Mon Apr 13, 2020 4pm - 4:30pm                              Zobrist, Ed                          resulting damages; and/or                                                            witness while testifying at trial, offered into evidence to prove the
                                                                             (EDT)                                                    Harrison, Donald                                                                                                            truth of the matter asserted, and not subject to any hearsay
                                                                             (tim.sweeney@epicgames.com)                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                             (4/10/2020)                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0642       EPIC_GOOGLE_01747707                                        Email from T. Sweeney to J.                                Sweeney, Tim                         Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             Markiewicz re Fortnite on Google                                                                unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                             Play (4/21/2020)                                                                                tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP0643       EPIC_GOOGLE_01747708          DX714 Randy Gelber            4/21/2020 email from R. Gelber to                   Randy Gelber, Tim Sweeney                   Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403), Not
                                                                             T. Sweeney                                                                                      counterclaims                                                                        misleading to the jury, Rule 404—exhibit appears to contain             improper character evidence (Rule 404) and/or exception
                                                                                                                                                                                                                                                                  improper character evidence                                             applies (Rules 607, 608, 609)
  TEMP0644       EPIC_GOOGLE_01762915          DX0186 Stolfus, Hans          8/16/2019 email from H. Malik to R.                         Hans Stolfus                        Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 802—exhibit contains             Exhibit is relevant (Rules 401, 402), Not hearsay (Rule
                                                                             Park, H. Stolfus, E. Zobrist, A.                                                                                                                                                     inadmissible hearsay                                                    801) and/or hearsay objection applies (Rules 803, 804,
                                                                             Shobin                                                                                                                                                                                                                                                       807)
  TEMP0645       EPIC_GOOGLE_01781522        DX0027 - Edward Zobrist         4/11/2020 Email from E. Zobrist to        Purnima Kochikar, Lawrence Koh, Tim Sweeney           Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                              DX0169 - Alec Shobin           L. Koh                                                                                          counterclaims                                                                        misleading to the jury                                                   Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                  Rule 404—exhibit appears to contain improper character evidence         exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                          (Rules 803, 804, 807)
  TEMP0646       EPIC_GOOGLE_01781774          DX0193 Stolfus, Hans          4/15/2020 email from H. Stolfus to        Hans Stolfus, Lawrence Koh, Purnima Kochikar          Defense to Plaintiffs' claims                                       Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                             L. Koh                                                                                                                                                                               misleading to the jury, Rule 802—exhibit contains inadmissible          (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                                                                                  hearsay, Rule 602—exhibit contains statements not based on              804, 807), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                                  declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
  TEMP0647       EPIC_GOOGLE_01782074      DX0208 Babcock, Christopher       4/21/2020 email from E. Zobrist to                     Christopher Babcock                      Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                             C. Babcock                                                                                      counterclaims                                                                        confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0648       EPIC_GOOGLE_01782075                                        4/21/2020 Email from H. Stolfus to                  Lawrence Koh, Hans Stolfus                  Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—wasting time and/or needlessly cumulative                      Balance favors admissibility (Rules 401, 403)
                                                                             L. Koh and D. Song                                                                              counterclaims                                                                         Rule 404—exhibit appears to contain improper character evidence         Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                   Rule 106—exhibit is unfairly incomplete                                exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                                                                                                           Exhibit is properly complete (Rule 106)
  TEMP0649       EPIC_GOOGLE_01782121        DX0028 - Edward Zobrist         4/21/2020 Email from D. Song to L.     Hans Stolfus; Lawrence Koh; Ed Zobrist, Tim Sweeney Defense to Plaintiffs' claims; proof of Epic's liability for             Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                              DX0192 - Hans Stolfus          Koh                                                                                        counterclaims                                                                             misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          (Rules 803, 804, 807)
  TEMP0650       EPIC_GOOGLE_01789056           DX0296 Mark Rein             6/22/2018 email from E. Zobrist to                           Mark Rein                          Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                             M. Rein                                                                                         counterclaims                                                                        misleading to the jury                                                   Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                  Rule 404—exhibit appears to contain improper character evidence         exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                          (Rules 803, 804, 807)
  TEMP0651       EPIC_GOOGLE_01792054         DX0203 - Chris Babcock         4/7/2018 Email from B. Bilodeau to                         Chris Babcock                        Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                             J. Porter                                                                                       counterclaims                                                                         Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                          201, 602, 901, 902)
  TEMP0652       EPIC_GOOGLE_01866107             DX0165 Shobin              12/4/2019 email from A. Shobin to                           Alec Shobin                         Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                             H. Malik                                                                                                                                                                             confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                                  404—exhibit appears to contain improper character evidence              evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                          608, 609)
  TEMP0653       EPIC_GOOGLE_01909426         DX0202 - Chris Babcock         4/2/2018 Email from T. Murray to                           Chris Babcock                        Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                             A.Gutterman                                                                                     counterclaims                                                                                                                                                (Rules 803, 804, 807)
  TEMP0654       EPIC_GOOGLE_01949811   DX0217 Cameron Payne, Haseeb Malik   8/3/2019 chat between H. Malik and     Cameron Payne, Haseeb Malik, Steve Allison, Edward       Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                             C. Payne                                         Zobrist, Matthew Weissinger                    counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                                  602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                                  knowledge, Rule 802—exhibit contains inadmissible hearsay,              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  Foundation                                                              (Rules 803, 804, 807),
  TEMP0655       EPIC_GOOGLE_01960123        DX0675 Sweeney, Timothy         1/9/2019 email from T. Sweeney to                        Timothy Sweeney                        Defendants: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly         Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                                             P. Meegan                                                                                                                                                                            prejudicial, confusing the issues and/or misleading to the jury, Rule   favors admissibility (Rules 401, 403), Not hearsay (Rule
                                                                                                                                                                             Plaintiffs: Proof of Defendants’ liability for antitrust                             802—exhibit contains inadmissible hearsay                               801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                             violations, unreasonable restraints of trade, unfair                                                                                                         807)
                                                                                                                                                                             competition and/or tortious interference; proof of                                   Defendant: Incomplete; the introduction of any remaining portions
                                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate                                  ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                          .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                     602).; Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                             Counterclaims against Plaintiffs                                                     the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                                  the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                             6 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 37 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0656       EPIC_GOOGLE_01961311   DX0316 Nicholas Penwarden   9/1/2018 email from T. Xie to T.                          Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                                    Sweeney                                                                                       counterclaims                                                                    Rule 802—exhibit contains inadmissible hearsay                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                    (Rules 803, 804, 807)
  TEMP0657       EPIC_GOOGLE_01967408                               1/14/2020 email from M. Rein to T.                  Tim Sweeney, Mark Rein                    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                    Sweeney                                                                                       counterclaims                                                                    misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                   Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                   Rule 802—exhibit contains inadmissible hearsay                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                    (Rules 803, 804, 807)
  TEMP0658       EPIC_GOOGLE_01967907      DX0194 Hans Stolfus      4/23/2020 email from H. Stolfus to            Hans Stolfus, Ed Zobrist, Tim Sweeney           Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                    E. Zobrist                                                                                    counterclaims                                                                    misleading to the jury                                            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    Rule 402—exhibit is not relevant                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s   201, 602, 901, 902)
                                                                                                                                                                                                                                                   personal knowledge                                                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                  (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    Foundation
  TEMP0659       EPIC_GOOGLE_01975654      DX0164 Alec Shobin       9/27/2019 email from A. Shobin to       Tim Sweeney, Chris Babcock, Haseeb Malik; Alec        Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                    C. Babcock                                                  Shobin                            counterclaims                                                                    misleading to the jury                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s   201, 602, 901, 902)
                                                                                                                                                                                                                                                   personal knowledge                                                Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                    Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                    Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Foundation                                                      (Rules 803, 804, 807)

  TEMP0660       EPIC_GOOGLE_01978209                               1/13/2020 email from L. Koh to H.                 Lawrence Koh, Tim Sweeney                   Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                    Malik                                                                                         counterclaims                                                                    misleading to the jury                                                 Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                    Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                         (Rules 803, 804, 807)
  TEMP0661       EPIC_GOOGLE_02089134           PX 0814             Email from E.Gass to H.Stolfus re                         Stolfus, Hans                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Epic Games x Game Space India                                                                 unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                    (06/12/2020)                                                                                  tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0662       EPIC_GOOGLE_02090807      DX0197 Hans Stolfus      8/12/2020 email from C. Samaniego                  Hans Stolfus, Tim Sweeney                  Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                    to R. Dixon                                                                                   counterclaims                                                                    misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
  TEMP0663       EPIC_GOOGLE_02092474           PX 0812             Email from E.Gass to T.Stone re                           Stolfus, Hans                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Update (03/27/2020)                                                                           unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0664       EPIC_GOOGLE_02092799    DX0207 - Chris Babcock     4/15/2020 Email form J. Lefrancois                        Chris Babcock                       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    to H. Stolfus                                                                                 counterclaims                                                                    personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                         (Rules 803, 804, 807)
  TEMP0665       EPIC_GOOGLE_02092905                               4/18/2020 email from H. Loyola to                     Lawrence Koh                      Defense to Plaintiffs' claims; proof of Epic's liability for             Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    H. Stolfus                                                                              counterclaims                                                                                                                                                (Rules 803, 804, 807)
  TEMP0666       EPIC_GOOGLE_02118014                               8/13/2020 email from T. Sweeney to Tim Sweeney, Hiroshi Lockheimer, Sameer Samat, Jamie Defense to Plaintiffs' claims; proof of Epic's liability for             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                    H. Lockheimer                                    Rosenberg, Don Harrison                counterclaims                                                                          misleading to the jury                                                 Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                    Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                         (Rules 803, 804, 807)
  TEMP0667       EPIC_GOOGLE_02160352      DX2967 - Mark Rein       6/22/2018 Email from A. Gutterman                   Mark Rein, Tim Sweeney                    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                    to M. Rein                                                                                    counterclaims                                                                    misleading to the jury                                                 Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                    Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                         (Rules 803, 804, 807)
  TEMP0668       EPIC_GOOGLE_02793656        DX0173 Shobin          7/23/2020 email from A. Shobin to                          Alec Shobin                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403), Not
                                                                    M. Salazar, H. Stolfus, A. Shobin, S.                                                                                                                                          misleading to the jury, Rule 404—exhibit appears to contain           improper character evidence (Rule 404) and/or exception
                                                                    Jarrett                                                                                                                                                                        improper character evidence                                           applies (Rules 607, 608, 609)
  TEMP0669       EPIC_GOOGLE_03135999                               Email from T. Sweeney to J. Miller                        Sweeney, Tim                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                                                                  unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies,
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).,
  TEMP0670       EPIC_GOOGLE_03377344                               1/21/2018 email from Sprinklr to M.                      Matt Weissinger                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                    Weissinger                                                                                                                                                                      Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Rule 901—proponent has not established authenticity of the           (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   document                                                               Exhibit will be properly authenticated (Rule 901)
  TEMP0671       EPIC_GOOGLE_03458905                               Email from P. Meegan to T.                               Allison, Steven                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Sweeney et al re Fwd:                                                                         unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                    Congratulations on Fortnite & Epic                                                            tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                    Games Launcher (2018.03.24)                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).




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                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 38 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                               Sponsoring Witness(es)
Exhibit Number         Beg Bates            Deposition Exhibit Number                 Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0672       EPIC_GOOGLE_03460083                                         Email from T. Sweeney to J.                         Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Rosenberg re Fortnite Android                       Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                              launch plan (7/22/2018)                              Sweeney, Tim                         tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0673       EPIC_GOOGLE_03600979          DX0199 Hans Stolfus            7/15/2020 messages between A.             Hans Stolfus, Alec Shobin, Tim Sweeney          Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                                              Shobin and H. Stolfus                                                                     counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         misleading to the jury                                            Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                          Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)
                                                                                                                                                                                                                                                          Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         personal knowledge                                               201, 602, 901, 902)

  TEMP0674       EPIC_GOOGLE_03614127   DX0171 Alec Shobin, DX0171 Stolfus,   4/28/2020 messages between A.             Hans Stolfus, Alec Shobin, Tim Sweeney          Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                      Hans                    Shobin and H. Stolfus                                                                     counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         misleading to the jury                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          Rule 602—exhibit contains statements not based on declarant’s   201, 602, 901, 902)
                                                                                                                                                                                                                                                         personal knowledge                                                Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                          Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0675       EPIC_GOOGLE_03625912         DX0082 Sussman, Adam            4/20/2020 email from A. Sussman to                   Adam Sussman                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              D. Vogel                                                                                                                                                                   confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0676       EPIC_GOOGLE_03626081                                         5/6/2020 email from R. Gelber to A.                   Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              Sussman, C. Pence, D. Vogel, K.                                                                                                                                            confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
                                                                              Libreri, M. Rein, T. Sweeney
  TEMP0677       EPIC_GOOGLE_03627011                                         1/10/2020 email from R. Gelber to                     Tim Sweeney                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              B. Feder, D. Wallerstein, J. Wilbur                                                                                                                                        confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0678       EPIC_GOOGLE_03627012                                         Presentation dated 1/2020 titled      Tim Sweeney, Steve Allison, Matthew Weissinger      Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              "Project E2"                                                                                                                                                               needlessly cumulative                                                 admissibility (Rules 401, 403)
  TEMP0679       EPIC_GOOGLE_03774489         DX0010 Grant, Andrew            7/29/2020 messages between T.                         Andrew Grant                        Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              Stone and A. Grant                                                                        counterclaims                                                                    confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                         404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                               608, 609)
  TEMP0680       EPIC_GOOGLE_03875665                                         5/7/2020 messages between M.                Matthew Weissinger, Tim Sweeney               Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              Weissinger and D. Leung                                                                                                                                                    confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0681       EPIC_GOOGLE_03896346                DX 0314                  Epic's Creator Ecosystem                             Allison, Steven                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                              (05/11/2020)                                         Babcock, Chris                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                   Grant, Andrew                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                   Sweeney, Tim                         conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                 Weissinger, Matthew                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0682       EPIC_GOOGLE_03901466                                         Presentation titled "Analytics                        Allison, Steve                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Update"                                             Sweeney, Timothy                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                 Weissinger, Matthew                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                        resulting damages; and/or                                                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0683       EPIC_GOOGLE_03903042                DX 0223                  Project Android (08/30/2019)                          Malik, Haseeb                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0684       EPIC_GOOGLE_03932892                DX 0683                  Slide deck titled, "Android Install                   Vogel, Daniel                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Impact: Google Play DOJ                                                                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                              Discussion" (03/20/2020)                                                                  tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0685       EPIC_GOOGLE_03975041                DX 0161                  Fortnite Mobile - Mobile Business                      Shobin, Alex                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Update/Deep Dive slide deck                                                               unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                              (09/30/2020)                                                                              tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                        8 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 39 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates          Deposition Exhibit Number              Name / Description                                                                                           Purpose                               Objecting Party                      Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0686       EPIC_GOOGLE_03977461             DX 0548                Slidedeck titled, "Mobile                               Grant, Andrew                      Proof of Defendants’ liability for antitrust violations,            Defendant          Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                         Partnerships Status" (07/28/2020)                                                          unreasonable restraints of trade, unfair competition and/or                            fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                  Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                              Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                               witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                               truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0687       EPIC_GOOGLE_03977595       DX009 - Andrew Grant         Presentation dated 7/1/2020 titiled               Andrew Grant; Tim Sweeney                Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                                         "Project Liberty Update"                                                                   counterclaims                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                           misleading to the jury                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   201, 602, 901, 902)
                                                                                                                                                                                                                                                           personal knowledge                                                Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                            Rule 404—exhibit appears to contain improper character evidence exception applies (Rules 607, 608, 609)

  TEMP0688       EPIC_GOOGLE_03978234                                    Presentation dated 1/30/2020 titled     Tim Sweeney, Steve Allison, Matthew Weissinger     Defense to Plaintiffs' claims                                        Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         "Sussman Team Offsite"                                                                                                                                                            confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                           403—wasting time and/or needlessly cumulative, Rule                     and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                           802—exhibit contains inadmissible hearsay
  TEMP0689       EPIC_GOOGLE_03978760                                    Presentation dated 7/27/2020 titled    Tim Sweeney; Steve Allison; Andrew Grant; Matthew   Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         "Project Liberty Update to the Board                      Weissinger                       counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                         of Directors"                                                                                                                                                                     404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0690       EPIC_GOOGLE_03998832       DX0277 Nikdel, David         Undated presentation titled "Mobile                      David Nikdel                      Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         Payments Sync"                                                                             counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                           404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0691       EPIC_GOOGLE_03999929                                    Presentation dated 7/27/2020 titled     Tim Sweeney, Steve Allison, Matthew Weissinger     Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         "Project Liberty Update to the Board                                                       counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                         of Directors (Draft)"                                                                                                                                                             404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0692       EPIC_GOOGLE_03999954   DX0307 Daniel Vogel, Mark Rein   Presentation dated 7/27/2020 titled               Daniel Vogel, Tim Sweeney                Defendants: Defense to Plaintiffs' claims; proof of Epic's     Plaintiffs/Defendants   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly       Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                                         "Project Liberty Update to the Board                                                       liability for counterclaims                                                            prejudicial, confusing the issues and/or misleading to the jury, Rule favors admissibility (Rules 401, 403), Not improper
                                                                         of Directors"                                                                                                                                                                     404—exhibit appears to contain improper character evidence            character evidence (Rule 404) and/or exception applies
                                                                                                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                                                                                                     (Rules 607, 608, 609)
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair                                   Defendants: Incomplete; the introduction of any remaining portions
                                                                                                                                                                    competition and/or tortious interference; proof of                                     ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                    .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                            602).; Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                       the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                    Counterclaims against Plaintiffs                                                       the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.



  TEMP0693       EPIC_GOOGLE_04000129                                    Updated presentation titled "Mobile     Tim Sweeney, Steve Allison, Matthew Weissinger     Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         Payments Sync"                                                                             counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                           404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0694       EPIC_GOOGLE_04000218                                    Presentation dated 7/2020 titled        Tim Sweeney, Steve Allison, Matthew Weissinger     Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         "Project Liberty Update"                                                                   counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                           404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0695       EPIC_GOOGLE_04126157             DX 0317                Email from J.Truong to A.Gutterman                     Allison, Steven                     Proof of Defendants’ liability for antitrust violations,            Defendant          Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                         re Feedback on Android                                 Babcock, Chris                      unreasonable restraints of trade, unfair competition and/or                            fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                         Development (Epic Games)                               Grant, Andrew                       tortious interference; proof of Defendants’ discovery                                  Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                         (03/19/2018)                                           Sweeney, Tim                        conduct; proof of appropriate injunctive relief; proof of                              Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                              Weissinger, Matthew                   resulting damages; and/or proof rebutting allegations in                               witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                               truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0696       EPIC_GOOGLE_04136152        DX0492 Ko, Thomas           11/6/2019 email from H. Stolfus to                        Thomas Ko                        Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         T. Ko                                                                                      counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                           404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                 608, 609)
  TEMP0697       EPIC_GOOGLE_04139696             DX 0497                Email from T.Ko to J.Babcock et al.                    Allison, Steven                     Proof of Defendants’ liability for antitrust violations,            Defendant          Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                         re Epic Games inc - Paypal US                          Grant, Andrew,                      unreasonable restraints of trade, unfair competition and/or                            fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                         Pricing Reduction (12/06/2019)                          Ko, Thomas                         tortious interference; proof of Defendants’ discovery                                  Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                Sweeney, Tim                        conduct; proof of appropriate injunctive relief; proof of                              Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                              Weissinger, Matthew                   resulting damages; and/or proof rebutting allegations in                               witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                               truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0698       EPIC_GOOGLE_04143308        DX0501 Ko, Thomas           1/20/2020 email from T. Ko to S.                          Thomas Ko                        Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         Sistani                                                                                    counterclaims                                                                          confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0699       EPIC_GOOGLE_04161941        DX0499 Ko, Thomas           8/12/2020 email from T. Ko to N.                          Thomas Ko                        Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff         Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                         Chester                                                                                    counterclaims                                                                          confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                           404—exhibit appears to contain improper character evidence              evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                                   608, 609)




                                                                                                                                                                    9 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 40 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number             Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP0700       EPIC_GOOGLE_04406763       DX0491 Ko, Thomas         Undated presentation titled "Mobile                       Thomas Ko                        Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      Payments Sync"                                                                             counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0701       EPIC_GOOGLE_04417007       DX0484 Ko, Thomas         6/25/2020 Slack messages                                  Thomas Ko                        Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial       Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                                                                                                                            admissibility (Rules 401, 403)
  TEMP0702       EPIC_GOOGLE_04417070       DX0498 Ko, Thomas         8/12/2020 Slack messages                                  Thomas Ko                        Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                 counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0703       EPIC_GOOGLE_04501127      DX0190 Hans Stolfus        9/8/2020 letter from B. Boyle and R.               Hans Stolfus, Tim Sweeney               Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                      McQueen to H. Stolfus                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                      personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                                       Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Foundation                                                           (Rules 803, 804, 807)

  TEMP0704       EPIC_GOOGLE_04503356   DX0201 Babcock, Christopher   3/29/2018 chats between C.                            Christopher Babcock                  Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      Babcock and J. Porter                                                                                                                                                           confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0705       EPIC_GOOGLE_04519440     DX0206 - Chris Babcock      5/17/2018 Email from C. Babcock                          Chris Babcock                     Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      to I. Hamadi and G. Gribb                                                                  counterclaims                                                                                                                                              (Rules 803, 804, 807)
  TEMP0706       EPIC_GOOGLE_04602229       DX704 Randy Gelber        10/2/2019 email from R. Gelber to                        Randy Gelber                      Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      T. Oberwager                                                                               counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0707       EPIC_GOOGLE_04705218                                 Presentation dated 7/27/2020 titled      Tim Sweeney, Steve Allison, Matthew Weissinger    Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      "Board Update: Project Liberty"                                                            counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0708       EPIC_GOOGLE_04705244       DX702 Randy Gelber        Presentation dated 7/27/2020 titled               Randy Gelber, Tim Sweeney                Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      "Board Update Project Liberty"                                                             counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0709       EPIC_GOOGLE_04804323     DX0464 Payne, Cameron       12/11/2020 email from T. Sweeney        Cameron Payne, Tim Sweeney, Matthew Weissinger     Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      to C. Cuello                                                                                                                                                                    confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0710       EPIC_GOOGLE_04962443       DX707 Randy Gelber        Presentation dated 5/2020 titled                  Randy Gelber; Tim Sweeney                Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      "Project Liberty Comms"                                                                    counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)
  TEMP0711       EPIC_GOOGLE_04993621    DX0310 Timothy Sweeney,      9/22/2020 email from M. Rein to N.                     Timothy Sweeney                     Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                               Mark Rein              Chester                                                                                                                                                                         confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0712       EPIC_GOOGLE_04998681     DX0078 Sussman, Adam        10/15/2020 email from A. Sussman                  Adam Sussman, Tim Sweeney                Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      to T. Sweeney, M. Rein, D. Vogel,                                                                                                                                               confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
                                                                      R. Gelber, A. Tascan
  TEMP0713       EPIC_GOOGLE_05084996       DX0521 Weissinger         Undated presentation titled "Fortnite          Matt Weissinger, Timothy Sweeney            Defendants: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues       Defendants: Balance favors admissibility (Rules 401, 403),
                                                                      Mobile: Mobile Business                                                                                                                                                         and/or misleading to the jury, Rule 403—wasting time and/or           Foundation/personal knowledge will be established (Rules
                                                                      Update/Deep Dive"                                                                          Plaintiffs: Proof of Defendants’ liability for antitrust                             needlessly cumulative, Rule 602—exhibit contains statements not       201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                 based on declarant’s personal knowledge, Rule 802—exhibit             hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                 competition and/or tortious interference; proof of                                   contains inadmissible hearsay, Foundation
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                                                                                        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                          Defendants: Incomplete; the introduction of any remaining portions considered at the same time, One or more witnesses have
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                     ought, in fairness, to be considered contemporaneously (Fed. R        foundation to testify concerning the exhibit, Exhibit does
                                                                                                                                                                 Counterclaims against Plaintiffs                                                     .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. not contain hearsay and/or a hearsay exception applies,
                                                                                                                                                                                                                                                      602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                                                                                                                      the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                      the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0714       EPIC_GOOGLE_05089399     DX0061 Sussman, Adam        Presentation dated 1/2020 titled                        Adam Sussman                       Defense to Plaintiffs' claims                                       Plaintiff        Rule 106—exhibit is unfairly incomplete                               Exhibit is properly complete (Rule 106)
                                                                      "Adam Sussman Onboarding"
  TEMP0715       EPIC_GOOGLE_05132955    DX0668 Sweeney, Timothy      Document dated 2/8/2021 titled                         Timothy Sweeney                     Defense to Plaintiffs' claims                                       Plaintiff        Deposition—we are reserving all objections as a result of Google's    Depositions from Epic v. Apple are not part of pre-trial
                                                                      "Deposition of Timothy Sweeney"                                                                                                                                                 failure to designate                                                  submissions exchange process; any portions of this exhibit
                                                                                                                                                                                                                                                                                                                            entered into evidence will be party admissions or otherwise
                                                                                                                                                                                                                                                                                                                            admissible testimony
  TEMP0716       EPIC_GOOGLE_05133086     DX0112 Allison, Steven      Document dated 2/9/2021 titled                           Steven Allison                    Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Deposition—we are reserving all objections as a result of Google's    Depositions from Epic v. Apple are not part of pre-trial
                                                                      "Deposition of Steve Allison"                                                              counterclaims                                                                        failure to designate                                                  submissions exchange process; any portions of this exhibit
                                                                                                                                                                                                                                                                                                                            entered into evidence will be party admissions or otherwise
                                                                                                                                                                                                                                                                                                                            admissible testimony
  TEMP0717       EPIC_GOOGLE_05133430       DX0480 Ko, Thomas         Document dated 2/11/2021 titled                           Thomas Ko                        Defense to Plaintiffs' claims                                       Plaintiff        Deposition—we are reserving all objections as a result of Google's    Depositions from Epic v. Apple are not part of pre-trial
                                                                      "Deposition of Thomas Ko"                                                                                                                                                       failure to designate                                                  submissions exchange process; any portions of this exhibit
                                                                                                                                                                                                                                                                                                                            entered into evidence will be party admissions or otherwise
                                                                                                                                                                                                                                                                                                                            admissible testimony
  TEMP0718       EPIC_GOOGLE_05144076                                 11/2/2019 email from R. Gelber to                 Tim Sweeney, Steven Allison              Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      B. Feder                                                                                                                                                                        confusing the issues and/or misleading to the jury                    admissibility (Rules 401, 403)
  TEMP0719       EPIC_GOOGLE_05144304                                 8/12/2020 chats between R. Park, T.                      Tim Sweeney                       Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      Ko, H. Stolfus                                                                             counterclaims                                                                        confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence,           evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                      Foundation                                                            608, 609) Foundation/personal knowledge will be
                                                                                                                                                                                                                                                                                                                            established (Rules 201, 602, 901, 902)
  TEMP0720       EPIC_GOOGLE_05188769      DX0708 Randy Gelber        9/30/2020 email from R. Gelber to                 Randy Gelber, Tim Sweeney                Defense to Plaintiffs' claims                                       Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                      D. Wallerstein                                                                                                                                                                  misleading to the jury
  TEMP0721       EPIC_GOOGLE_05290801      DX0899 Grant, Andrew       11/16/2020 email from T. Sweeney                  Andrew Grant, Tim Sweeney                Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                      to D. Eubanks                                                                                                                                                                   confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not improper character
                                                                                                                                                                                                                                                      404—exhibit appears to contain improper character evidence            evidence (Rule 404) and/or exception applies (Rules 607,
                                                                                                                                                                                                                                                                                                                            608, 609)




                                                                                                                                                                 10 of 220
                                                                        Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 41 of 250                              JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                                       Sponsoring Witness(es)
Exhibit Number         Beg Bates              Deposition Exhibit Number                  Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0722       EPIC_GOOGLE_05468098                                            Undated document titled "Service            Hiroshi Lockheimer, Sameer Samat, Edward          Defense to Plaintiffs' claims                                       Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                 Fees"                                     Cunningham, Sarah Karam, David Kleidermacher,                                                                                                                                                                    (Rules 803, 804, 807)
                                                                                                                          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,
                                                                                                                                          Kirsten Rasanen
  TEMP0723       EPIC_GOOGLE_05468369                                            Email from Google Play Support to                        Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                 Epic Games Publishing re Action                            Stolfus, Hans                      unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                 Required: Your app is not compliant                                                           tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                 with Google Play Policies (Fortnite)                                                          conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                 (8/13/2020)                                                                                   resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0724       EPIC_GOOGLE_05530169   DX0544 Joseph Kreiner; DX0309 Timothy 9/21/2020 email from M. Rein to T.             Joseph Kreiner, Mark Rein, Timothy Sweeney        Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                 Sweeney, Mark Rein           Sweeney                                                                                                                                                                               confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
  TEMP0725       EPIC_GOOGLE_05579368         DX0466 Payne, Cameron           3/6/2020 email from S. Jarrett to C.                         Cameron Payne                       Defense to Plaintiffs' claims                                       Plaintiff        Rule 106—exhibit is unfairly incomplete                                 Exhibit is properly complete (Rule 106)
                                                                              Payne
  TEMP0726       EPIC_GOOGLE_05584777         DX0462 Payne, Cameron           5/14/2020 email from M. Yu to C.                             Cameron Payne                       Defense to Plaintiffs' claims                                       Plaintiff        Rule 106—exhibit is unfairly incomplete, Rule 602—exhibit               Exhibit is properly complete (Rule 106),
                                                                              Payne                                                                                                                                                                                 contains statements not based on declarant’s personal knowledge,        Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                                                                                                            hearsay objection applies (Rules 803, 804, 807)
  TEMP0727       EPIC_GOOGLE_05748584             DX0652 Joshua Kim              Undated spreadsheet titled "Financial               Ethan Diamond; Joshua Kim                 Defense to Plaintiffs' claims                                       Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                 Diligence Discussion Pack"                                                                                                                                                         personal knowledge                                                      201, 602, 901, 902)

  TEMP0728       EPIC_GOOGLE_05753007                                            3/4/2022 email from S. Allison to E.               Ethan Diamond, Steve Allison               Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Diamond
  TEMP0729       EPIC_GOOGLE_05755043           DX1352 Ethan Diamond             3/8/2022 email from Google                         Ethan Diamond, Steve Allison               Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Calendar (C. Davis) to E. Diamond

  TEMP0730       EPIC_GOOGLE_05755052           DX1345 Ethan Diamond             3/9/2022 email from C. Davis to E.                        Ethan Diamond                       Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Diamond
  TEMP0731       EPIC_GOOGLE_05755346            DX0660 Joshua Kim               Undated spreadsheet titled "Project                 Ethan Diamond; Joshua Kim                 Defense to Plaintiffs' claims                                       Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                DX1350 Ethan Diamond             Banjo Funds Flow"                                                                                                                                                                  personal knowledge                                                      201, 602, 901, 902)
                                                DX1351 Ethan Diamond                                                                                                                                                                                                 Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                    misleading to the jury
  TEMP0732       EPIC_GOOGLE_05764474             DX0661 Joshua Kim              Undated document titled "Fraud                              Joshua Kim                        Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Requests"                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or             Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                    misleading to the jury
  TEMP0733       EPIC_GOOGLE_05788156           DX1346 Ethan Diamond             Undated, untitled document with         Tim Sweeney, Ethan Diamond, Steve Allison, Matthew    Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 106—exhibit is unfairly incomplete, Rule 403—unfairly              Exhibit is properly complete (Rule 106), Balance favors
                                                                                 notes                                               Weissinger, Andrew Grant                  counterclaims                                                                        prejudicial, confusing the issues and/or misleading to the jury, Rule   admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                                    602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                                    knowledge, Rule 802—exhibit contains inadmissible hearsay, Rule         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    901—proponent has not established authenticity of the document,         (Rules 803, 804, 807), Exhibit will be properly
                                                                                                                                                                                                                                                                    Foundation                                                              authenticated (Rule 901),
  TEMP0734       EPIC_GOOGLE_05788558                                            Undated document titled "Epic                             Ethan Diamond                       Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                 Games Summary"                                                                                counterclaims                                                                        personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                            (Rules 803, 804, 807)
  TEMP0735       EPIC_GOOGLE_05790016                                            Undated, untitled document about                    Ethan Diamond; Joshua Kim                 Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Project Banjo                                                                                 counterclaims                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                    misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                                    personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          (Rules 803, 804, 807)
  TEMP0736       EPIC_GOOGLE_05818310           DX1337 Ethan Diamond             Presentation dated 5/2021 titled                    Ethan Diamond; Joshua Kim                 Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 "GCA Preliminary Valuation                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                 Perspectives"                                                                                                                                                                      misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                                    personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          (Rules 803, 804, 807)
  TEMP0737       EPIC_GOOGLE_05819648             DX0659 Joshua Kim              9/01/2021 messages between A.                               Joshua Kim                        Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 Hindley and J. Kim                                                                            counterclaims                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                    misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                                    personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          (Rules 803, 804, 807)
  TEMP0738       EPIC_GOOGLE_05821232           DX1353 Ethan Diamond             8/12/2021 chats between M. Hall                           Ethan Diamond                       Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                 and E. Diamond
  TEMP0739       EPIC_GOOGLE_05828728            DX711 Randy Gelber              1/27/2022 email from R. Gelber to                   Randy Gelber, Tim Sweeney                 Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                 T. Sweeney, J. Wilbur, M. Rein, D.                                                                                                                                                 confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
                                                                                 Wallerstein, B. Feder
  TEMP0740       EPIC_GOOGLE_05828730             DX0650 Joshua Kim              1/27/2022 email from R. Gelber to                          Tim Sweeney                        Defense to Plaintiffs' claims                                       Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                 T. Sweeney, J. Wilbur, D.                                                                                                                                                          confusing the issues and/or misleading to the jury                      admissibility (Rules 401, 403)
                                                                                 Wallerstein, B. Feder
  TEMP0741       EPIC_GOOGLE_05844388            DX0699 Randy Gelber             Slide deck titled, "Creator                         Randy Gelber, Tim Sweeney                 Defendants: Defense to Plaintiffs' claims; proof of Epic's     Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly         Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                 DX0689 Tim Sweeney              Ecosystem" (07/20/2022)                                                                       liability for counterclaims                                                          prejudicial, confusing the issues and/or misleading to the jury         favors admissibility (Rules 401, 403)

                                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                             Defendants: Incomplete; the introduction of any remaining portions Plaintiiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                 ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                               competition and/or tortious interference; proof of                                   .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                  602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                          the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                               Counterclaims against Plaintiffs                                                     exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                               11 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 42 of 250    JOINT TRIAL EXHIBIT LIST
                                                                                                                                         DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                   Summary of Response (w/Authority)
  TEMP0742       EPIC_GOOGLE_05844779     DX1340 Ethan Diamond       Undated blogpost titled "It's a       Ethan Diamond, Joshua Kim          Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant                                         Exhibit is relevant (Rules 401, 402)
                                                                     Business Model!"                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or               Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                              misleading to the jury                                                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                          (Rules 803, 804, 807)
  TEMP0743       EPIC_GOOGLE_05846186       DX697 Randy Gelber       4/25/2022 email from A. Brown to            Randy Gelber                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                     Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     R. Gelber                                                                                                                                                602—exhibit contains statements not based on declarant’s personal        (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                              knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly           be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule    relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                              403—wasting time and/or needlessly cumulative, Rule                      (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                              901—proponent has not established authenticity of the document,          (Rule 901),
                                                                                                                                                                                                                              Foundation
  TEMP0744           EPIC_00011082          DX0485 Ko, Thomas        4/3/2018 email from R. Park to T.     Thomas Ko, TIm Sweeney             Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Sweeney                                                                                                                                                                                                                           (Rules 803, 804, 807)
  TEMP0745           EPIC_00011770          DX0486 Ko, Thomas        Document dated 5/17/2018 titled              Thomas Ko                   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "EPIC & Samsung Mobile CEO                                                                                                                                                                                                        (Rules 803, 804, 807)
                                                                     meeting note"
  TEMP0746           EPIC_00012739          DX0489 Ko, Thomas        8/9/2018 email from T. Ko to T.       Thomas Ko, Tim Sweeney             Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Sweeney, dj.koh@samsung.com,                                                                                                                                                                                                      (Rules 803, 804, 807)
                                                                     yongje62@samsung.com
  TEMP0747           EPIC_00190170          DX0495 Ko, Thomas        12/25/2019 email from T. Ko to R.     Thomas Ko, TIm Sweeney             Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—wasting time and/or needlessly cumulative, Rule                 Balance favors admissibility (Rules 401, 403), Balance
                                                                     Gelber                                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to      favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                              the jury
  TEMP0748       GOOG-PLA Y-0013 81721           PX 0307             Email from A. Rubin to M. Stepka et           Chu, Eric                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     al. re Android Market payments -                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time, One or more witnesses have foundation to
                                                                     BizOps (2/3/2009)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit, Exhibit does not contain
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                                              resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP0749       GOOG-PLAY 001701951.R           PX 1244             Shop4Apps LATAM (7/14/2011)                Christensen, Eric             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                                                                                   Chu, Eric                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0750       GOOG-PLAY 001825658              PX 608             E-mail from P. Gennai to H.                 Gennai, Paul;                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer (1/7/2020)                    Lockheimer, Hiroshi             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0751       GOOG-PLAY-000000403                                 Email re Play Subscriptions Rev           Barras, Brandon                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     Share Update - Announcement                 Harrison, Don                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                     Tomorrow.                               Kleidermarcher, Dave             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                              Kochikar, Purnima               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                Koh, Lawrence                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                Kolotouros, Jim               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                             Lockheimer, Hiroshi                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                 Pichai, Sundar                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                               Rosenberg, Jamie                                                                                               depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                Samat, Sameer
  TEMP0752       GOOG-PLAY-000000453             PX 0678             Email from S.Samat to                     Cramer, Christian              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     H.Lockheimer re Play 2018 Plan          Lockheimer, Hiroshi              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;       the same time; One or more witnesses have foundation to
                                                                     (12/19/2017)                               Samat, Sameer                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the    relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Relevance (Fed. R. Evid.
                                                                                                                                                                                                                              402).; Conditional objection; defendants reserve the right to object
                                                                                                                                                                                                                              to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                                                                                                                              seek to introduce it.
  TEMP0753       GOOG-PLAY-000000807                                 Email from M. Herring to R. Porat         Cramer, Christian              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     re Briefing Note on Hug - for BC on          Porat, Ruth                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;       the same time; One or more witnesses have foundation to
                                                                     4/9 (04/08/2019)                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies;
                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0754       GOOG-PLAY-000003283.R                               Tencent Hug+ Deal Evaluation -            Cramer, Christian              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                     Finance Slides for Discussion slide       Marchak, Michael               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;       the same time; One or more witnesses have foundation to
                                                                     deck (04/28/2020)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies;
                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                              12 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 43 of 250JOINT TRIAL EXHIBIT LIST
                                                                                                                                     DISPUTED EXHIBITS




                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                    Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0755       GOOG-PLAY-000003315.R           PX 2616             Slide deck titled, "Stadia LT Plan      Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Review" (07/24/2020)                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0756       GOOG-PLAY-000004017                                 Email re the accounting assessment      Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     of the Activision Project Hug deal      Divento, Anthony             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     (05/26/2020)                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0757       GOOG-PLAY-000004154             PX 0445             Document with filename Untitled         Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     document_1BxtY7U3F-                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     5ZiDNAgbfs1mpML6TybeWQVpA                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                     3sdDxu0P4.docx (12/11/2019)                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                          402).; Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                          time (Fed. R. Evid. 403).; Authentication; exhibit has not been         presenting cumulative evidence; Exhibit is what the
                                                                                                                                                                                                                          properly authenticated (Fed. R. Evid. 901).                             proponent claims it is and/or is self-authenticating.

  TEMP0758       GOOG-PLAY-000004417                                 Play Cloud Credits - Finance            Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Assessment (04/09/2021)                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                          402).; Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                          time (Fed. R. Evid. 403).; Authentication; exhibit has not been         presenting cumulative evidence; Exhibit is what the
                                                                                                                                                                                                                          properly authenticated (Fed. R. Evid. 901).                             proponent claims it is and/or is self-authenticating.

  TEMP0759       GOOG-PLAY-000004563.R                               Boosting Top Game Developer             Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Support (09/03/2019)                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        402).

  TEMP0760       GOOG-PLAY-000005029.R                               Slide deck titled "PEX & BC             Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     review: Google Distribution                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Agreements Framework"                                                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                     (06/14/2019)                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0761       GOOG-PLAY-000005313             PX 1610             Document titled, "Finance Briefing      Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Note on Project Hug )Top Dev) &                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Samsung BC Review" (04/03/2019)                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        402).

  TEMP0762       GOOG-PLAY-000011493             PX 0773             Email M.Stone to D.Kleidermacher      Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Follow-Up from Wednesday                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Meeting on Malware Scanning                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (03/01/2019)                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP0763       GOOG-PLAY-000012746             PX 0751             Email from D.Kleidermacher to         Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     K.Vitaldevara re Couple Other                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Quick Comments on AP                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (09/27/2019)                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP0764       GOOG-PLAY-000029075                                 Document entitled Sun Valley            Harrison, Donald             Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Conference Preparation, July 2018.                                   unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    defenses; One or more witnesses have foundation to testify
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not        and/or a hearsay exception applies
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                          13 of 220
                                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 44 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number            Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0765       GOOG-PLAY-000035943                                  Document entitled "Off-market                        Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Malware Installs: 2019                               Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                      Retrospective"                                         Porst, Sebastian                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0766       GOOG-PLAY-000036469                                  Document entitled "FB Product                           Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Strategy Matrix"                                        Samat, Sameer                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0767       GOOG-PLAY-000039749.R     PX1162 Sebastian Porst     Presentation dated December 2018           Edward Cunningham, Dave Kleidermacher            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      titled "GPP Automation Lightning                                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                      Talks (6 talks)"                                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                   Foundation                                                             201, 602, 901, 902)

  TEMP0768       GOOG-PLAY-000040353                                  Android Platform Product Steering                    Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      [AP PS] Review (09/27/2018)                                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0769       GOOG-PLAY-000040396.R           PX 1161              Slidedeck titled, "Detecting                         Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      Potentially Harmful Android                          Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                      Applications at Scale" (07/02/2018)                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0770       GOOG-PLAY-000042623.R                                Presentation dated 10/7/2016 titled       Edward Cunningham; David Kliedermacher            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "Off-Play Installs (a.k.a.                                                                                                                                                   Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                      Sideloading)"                                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                   Foundation                                                             201, 602, 901, 902)

  TEMP0771       GOOG-PLAY-000043970                                  Document entitled "SafetyNet and                     Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Security 3 Year OKRs"                                Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0772       GOOG-PLAY-000046830.R           PX 0581              Presentation titled, "Protecting App                 Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      Updates" (10/28/2015)                                  Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0773       GOOG-PLAY-000051084             PX 0322              Email from E.Chu to P.Gupta re Boy-                        Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Flow/Policy 3-Team Sync (Monday)                                                            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      (06/07/2020)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP0774       GOOG-PLAY-000051671.R           PX 0315              Aligning YouTube and Play Billing                          Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      Experiences slide deck (03/09/2018)                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0775       GOOG-PLAY-000057576                                  Blogpost dated 1/9/2020 titled            Hiroshi Lockheimer, Sameer Samat, Edward          Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      "PHA Family Highlights: Bread (and      Cunningham, Sarah Karam, David Kleidermacher,                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                      Friends)"                              Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                    Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                             Kirsten Rasanen                                                                                                       Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                   Foundation




                                                                                                                                                                  14 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 45 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                      Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0776       GOOG-PLAY-000060236                               Undated website titled "Google Play       Hiroshi Lockheimer, Sameer Samat, Edward          Defense to Plaintiffs' claims                             Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Protect"                                Cunningham, Sarah Karam, David Kleidermacher,                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                                                          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                          Kirsten Rasanen                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                       document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                       Foundation
  TEMP0777       GOOG-PLAY-000060537                               Undated webpage titled                 Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Enforcement Process"                    Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0778       GOOG-PLAY-000061735                               Undated website titled "Developer      Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims                             Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Policy Center- Ad Fraud"                 Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                                                                     Cunningham, Sebastian Porst                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                       document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                        Foundation
  TEMP0779       GOOG-PLAY-000062182                               Undated webpage titled "Illegal        Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Activities"                              Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       Foundation                                                              (Rule 901),
  TEMP0780       GOOG-PLAY-000062196                               Undated webpage titled                 Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Impersonation"                          Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       403—wasting time and/or needlessly cumulative, Rule                     (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rule 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                       Rule 106—exhibit is unfairly incomplete, Foundation

  TEMP0781       GOOG-PLAY-000062293                               Undated webpage titled "Intellectual   Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Property"                                Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       403—wasting time and/or needlessly cumulative, Rule                     (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rule 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                       Rule 106—exhibit is unfairly incomplete, Foundation

  TEMP0782       GOOG-PLAY-000062629                               Undated website titled "Developer      Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims                             Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Policy Center- Ads"                      Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                                                                     Cunningham, Sebastian Porst                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                       document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                       Foundation
  TEMP0783       GOOG-PLAY-000062858                               Undated webpage titled "Child          Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Endangerment"                            Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
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  TEMP0784       GOOG-PLAY-000063156                               Undated webpage titled "Content        Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Ratings"                                Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                             602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
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  TEMP0785       GOOG-PLAY-000063201                               Undated webpage titled "Minimum        Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Functionality"                           Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0786       GOOG-PLAY-000063219                               Undated webpage titled                 Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Misrepresentation"                      Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                     Cunningham, Sebastian Porst                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                       Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0787       GOOG-PLAY-000063252                               Undated website titled "Developer      Sameer Samat, Purnima Kochikar, Michael Marchak,     Defense to Plaintiffs' claims                             Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Policy Center- Mobile Unwanted           Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                   Software"                                         Cunningham, Sebastian Porst                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                       document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                        Foundation




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                                                                         Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 46 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                                  Sponsoring Witness(es)
Exhibit Number        Beg Bates             Deposition Exhibit Number                 Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0788       GOOG-PLAY-000063892                                          Undated webpage titled "Device and    Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims                Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              Network Abuse"                          Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                             602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                               Cunningham, Sebastian Porst                                                                                                    knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                              901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                              Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0789       GOOG-PLAY-000063981                                          Undated website titled "Developer     Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              Policy Center- Subscriptions"           Hiroshi Lockheimer, Mrinalini Loew, Paul Feng                                                                                           personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                               Foundation
  TEMP0790       GOOG-PLAY-000064249   DX0920 Adrian Ong, DX0884 Sharmistha Undated Google website titled               Hiroshi Lockheimer, Sameer Samat, Edward          Defense to Plaintiffs' claims                                      Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                      Dubey                 "Payments"                                Cunningham, Sarah Karam, David Kleidermacher,                                                                                            Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                     Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                     Kirsten Rasanen                                                                                                           Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                              document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                               Foundation
  TEMP0791       GOOG-PLAY-000064254          PX1436 - Kirsten Rasanen        Undated Play Console help page            Hiroshi Lockheimer, Sameer Samat, Edward          Defendants: Defense to Plaintiffs' claims; proof of           Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                              titled "Payments"                       Cunningham, Sarah Karam, David Kleidermacher,       Match's liability for counterclaims                                                 declarant’s personal knowledge; Rule 802—exhibit contains               established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                                                                     Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                       inadmissible hearsay; Rule 901—proponent has not established            801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                     Kirsten Rasanen                      Plaintiffs: Proof of Defendants’ liability for antitrust                            authenticity of the document; Foundation                                807); Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                          violations, unreasonable restraints of trade, unfair
                                                                                                                                                                          competition and/or tortious interference; proof of                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                          Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies
                                                                                                                                                                          rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                          Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP0792       GOOG-PLAY-000064411                                          Undated webpage titled "Spam"         Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims                Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                      Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                             602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                               Cunningham, Sebastian Porst                                                                                                    knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                              901—proponent has not established authenticity of the document, (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                              Rule 106—exhibit is unfairly incomplete, Foundation                   (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0793       GOOG-PLAY-000064499                                          Undated website titled "Developer     Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              Policy Center- Unauthorized Use or      Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                              Imitation of System Functionality "              Cunningham, Sebastian Porst                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                               Foundation
  TEMP0794       GOOG-PLAY-000065639                                          Undated webpage titled "Service       Paul Gennai, Hiroshi Lockheimer, Sameer Samat, Paul   Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              Fees"                                   Feng, Mrinalini Loew, Purnima Kochikar, Michael                                                                                         602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                          Marchak                                                                                                             knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                              901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                              Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0795       GOOG-PLAY-000065864                                          Undated website titled "Developer     Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              Policy Center- Social Engineering"      Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                               Cunningham, Sebastian Porst                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                              Foundation
  TEMP0796       GOOG-PLAY-000066404                                          Undated webpage titled "User          Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims                Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              Ratings, Reviews, and Installs"        Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                          602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                              knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                              901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                              Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0797       GOOG-PLAY-000067659                                          Undated webpage titled                Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims                Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              "Inappropriate Content"                 Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                             602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                               Cunningham, Sebastian Porst                                                                                                    knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                              prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                              901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                              Rule 106—exhibit is unfairly incomplete, Foundation                     (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP0798       GOOG-PLAY-000072593                                          Document dated 4/2016 titled          Edward Cunningham; David Kleidermacher; Sebastian     Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              "Android Security 2015 Year in                   Porst; Hiroshi Lockheimer                                                                                                      602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                              Review"                                                                                                                                                                         knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                              and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                              established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0799       GOOG-PLAY-000075307                 PX 1379                  Email from J. Lagerling to H.                        Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Lockheier re Re/Code: Google /                        Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                              Samsung Changes (01/29/2014)                           Lagerling, John                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                     Pichai, Sundar                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                     Brady, Patrick                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                                                                                                                                                              exhibit has not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0800       GOOG-PLAY-000075963           PX 0583             Email from P. Gennai to J.                             Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenberg and M. Siliski re                              Gennai, Paul                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Exploring New Subscription Options                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   for Google Play (04/28/2014)                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0801       GOOG-PLAY-000076959                               Email from J. Kolotouros to J.                         Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenburg re For your Samsung                          Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Discussions (07/18/2014)                                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0802       GOOG-PLAY-000077123                               Email from F. Adib to I. Elbouchikhi                   Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Verizon Preps Challenge to                             Gold, Jon                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Google's App Store (08/20/2014)                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                                                                                                                                              exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP0803       GOOG-PLAY-000077271                               Email from J. Rosenburg to S. Pichai                   Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re YT and wallet/billing                                Pichai, Sundar                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (10/05/2014)                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0804       GOOG-PLAY-000079048                               Google Doc comment from M.                               Gennai, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Petrillo and P. Gennai to J.                           Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                   Rosenberg re Android Leads Living                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                   Room Accelerator Program                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                   (04/15/2015)                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0805       GOOG-PLAY-000079137           PX 0802             Email from O.Indonie to S.Pichai re                   Lockheimer, Hiroshi                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Living Room Accelerator Program -                      Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Your Approval Needed                                    Pichai, Sundar                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (04/23/2015)                                              Gold, Jon                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0806       GOOG-PLAY-000079921                               Email from P. Kochikar to S.                           Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Kassardjian re Netflix - open points                   Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                   (06/20/2015)                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0807       GOOG-PLAY-000080358           PX 0607             Email from P. Gennai to J.                             Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenberg re Play / Partner Terms                        Gennai, Paul                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   for tomorrow's 10am meeting                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (09/09/2015)                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0808       GOOG-PLAY-000081785                               6/8/2016 email from S. Samat to J.     Sameer Samat, Jamie Rosenberg, Hiroshi Lockheimer   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Rosenberg, S. Newberry, H.                                                                                                                                                                                                                         (Rules 803, 804, 807)
                                                                   Lockheimer
  TEMP0809       GOOG-PLAY-000081823                               6/8/2016 email from S. Samat to J.              Sameer Samat, Jamie Rosenberg              Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete                                 Exhibit is properly complete (Rule 106)
                                                                   Rosenberg                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                      (Rules 803, 804, 807)




                                                                                                                                                              17 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 48 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0810       GOOG-PLAY-000082213                                 Email from P. Gennai to J.                               Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re [Sideloaded apps] Off-                        Gennai, Paul                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Play installs market share dashboard                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (07/28/2016)                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0811       GOOG-PLAY-000082831             PX 0703             Email from S.Samat to P.Bankhead                         Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Feedback on the $10B - 2-Pagers                        Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (09/29/2016)                                              Bankhead, Paul                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0812       GOOG-PLAY-000083999      PX1425 Kirsten Rasanen     11/22/2016 email from K. Rasanen       Kirsten Rasanen, Sameer Samat, Jamie Rosenberg, Paul Defendants: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly         Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                                     to J. Rosenberg, S. Samat, P.                Bankhead; Purnima Kochikar; Paul Gennai                                                                                               prejudicial, confusing the issues and/or misleading to the jury, Rule   favors admissibility (Rules 401, 403), Foundation/personal
                                                                     Kochikar, P. Gennai, P. Bankhead,                                                           Plaintiffs: Proof of Defendants’ liability for antitrust                               602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                     E. Bar-Yehuda, M. Kalra, S. Sayigh,                                                         violations, unreasonable restraints of trade, unfair                                   knowledge, Rule 802—exhibit contains inadmissible hearsay, Rule         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     V. Buch                                                                                     competition and/or tortious interference; proof of                                     901—proponent has not established authenticity of the document,         (Rules 803, 804, 807), Exhibit will be properly
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                    Foundation                                                              authenticated (Rule 901),
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                       Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                 Counterclaims against Plaintiffs                                                       ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                                                                                                        .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                        602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0813       GOOG-PLAY-000087767                                 Google Chat conversation                                 Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (07/20/2018)                                               Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                               Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                               Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                              Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Samat, Sameer
  TEMP0814       GOOG-PLAY-000092281.R           PX 0808             Slide deck titled, "Understanding                            Feng, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Tablet Users" (11/01/2016)                               Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0815       GOOG-PLAY-000093266.R                               Presentation dated 11/2018 titled        Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                          Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                      106—exhibit is unfairly incomplete, Rule 602—exhibit contains           (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                     2018: France Findings"                     Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                             statements not based on declarant’s personal knowledge, Rule            106), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 201, 602, 901, 902), Balance favors admissibility
                                                                                                                                                                                                                                                        the jury, Rule 901—proponent has not established authenticity of        (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                        the document, Foundation                                                (Rule 901),
  TEMP0816       GOOG-PLAY-000093636.R                               Huawei TGL* anticipated expiration:                      Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Implications & next steps slide deck                                                           unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (08/10/2020)                                                                                   tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0817       GOOG-PLAY-000094588.R                               Presentation dated 4/26/2019 titled      Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                          Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Samsung Google: Building unique       Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     app experiences for Samsung                Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                             the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                     devices and users"                                                                                                                                                                 declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                        established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0818       GOOG-PLAY-000094680.R                               Presentation dated 4/22/2019 titled     David Kleidermacher; Jamie Rosenberg; Paul Gennai;     Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Ecosystem Health Staples"      Sameer Samat; Hiroshi Lockheimer; Jim Kolotouros                                                                                           602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                        knowledge, Rule 701—exhibit contains improper specialized               be established (Rules 201, 602, 901, 902), Not an opinion,
                                                                                                                                                                                                                                                        opinion by lay witness, Foundation                                      or proper opinion evidence (Rule 701),

  TEMP0819       GOOG-PLAY-000094746             PX 2666             Document titled, "Android 10                             Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Comsumer Release" (09/01/2019)                                                                 unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                    18 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 49 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0820       GOOG-PLAY-000096143.R                               Presentation dated 10/2018 titled        Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                         Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                     602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2018: US Findings"                         Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                            knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                       and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                       established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0821       GOOG-PLAY-000097180.R                               Undated presentation titled "Google                Jamie Rosenberg, Paul Gennai               Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Play Overview"                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       document
                                                                                                                                                                                                                                                        Foundation
  TEMP0822       GOOG-PLAY-000097630                                 Undated document titled "Samsung           Paul Gennai, Kobi Glick, Jamie Rosenberg, Paul     Defense to Plaintiffs' claims                                      Plaintiff        Rule 403—wasting time and/or needlessly cumulative                      Balance favors admissibility (Rules 401, 403)
                                                                     App Store- Ad-hoc User Research"                             Bankhead                                                                                                              Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        Foundation
  TEMP0823       GOOG-PLAY-000101496             PX 0777             Undated document titled "Outline for        Jamie Rosenberg, Paul Gennai, Sameer Samat        Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     app-store issues preview with                                                                                                                                                                                                                           objection applies (Rules 803, 804, 807)
                                                                     Samsung on 4/28 or 4/29"                                                                      Plaintiffs: Proof of Defendants’ liability for antitrust                            Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                   violations, unreasonable restraints of trade, unfair                                602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                   competition and/or tortious interference; proof of                                  the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   Defendants’ discovery conduct; proof of appropriate                                 the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies.
                                                                                                                                                                   injunctive relief; proof of resulting damages; and/or proof                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                   rebutting allegations in Defendants’ Answers and
                                                                                                                                                                   Counterclaims against Plaintiffs
  TEMP0824       GOOG-PLAY-000103456.R                               Slide deck titled "Improving App                            Glick, Kobi                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Discovery Outside of Play"                               Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (04/27/2015)                                             Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0825       GOOG-PLAY-000110688.R                               Presentation dated 7/2018 titled         Jamie Rosenberg, Donald Harrison, Sebastian Porst    Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "go/TwoBillionGamers"                                                                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       document
                                                                                                                                                                                                                                                        Foundation
  TEMP0826       GOOG-PLAY-000111172                                 Document entitled DDAP: Program                          Rosenberg, Jamie                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     details and outreach process.                            Barras, Brandon                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0827       GOOG-PLAY-000111624.R                               Presentation dated 11/2018 titled        Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                         Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                     602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2018: Australia Findings"                  Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                            knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                       and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                       established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0828       GOOG-PLAY-000114492.R                               Undated presentation titled "Grow      Jamie Rosenberg; Michael Marchak; Purnima Kochikar; Defense to Plaintiffs' claims                                         Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Your Subscription Business"                               Sarah Karam                                                                                                             106—exhibit is unfairly incomplete, Rule 602—exhibit contains           (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                       statements not based on declarant’s personal knowledge,                 106), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                       Foundation                                                              (Rules 201, 602, 901, 902),
  TEMP0829       GOOG-PLAY-000117679.R                               Undated presentation titled "Japan       Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                         Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Android Path to Purchase"              Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                     602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                            knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                       and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                       established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0830       GOOG-PLAY-000120820.R                               Presentation dated 11/2018 titled        Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                         Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                     602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2018: UK Findings"                         Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                            knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                       and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                       established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0831       GOOG-PLAY-000127467             PX 0817             Email from A.Pimplapure to                                Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     J.Kolotouros re Brag Sheet                                                                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (03/23/2017)                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                   19 of 220
                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 50 of 250                             JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                                     Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number                 Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0832       GOOG-PLAY-000128596                                           Email from C. Li to J. Kolotouros re                      Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               Samsung RSA 2020 Term Sheet -                             Li, Christopher                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                               Deal 2 (06/05/2020)                                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0833       GOOG-PLAY-000128863.R   PX1072 Christopher Li; PX0647 James   Presentation dated 5/2019 titled          Don Harrison, Purnima Kochikar, Jim Kolotouros,     Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                     Kolotouros                "Android 101"                              Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                             and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                             Rosenberg, Sameer Samat, Paul Gennai            Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                             violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                             competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                             Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies.
                                                                                                                                                                                                                                                                 the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).

  TEMP0834       GOOG-PLAY-000129238.R                                         Undated presentation titled "Android     Jim Kolotouros, Paul Gennai, Sameer Samat, Hiroshi   Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                               Overview"                                        Lockheimer, Dave Kleidermacher                                                                                                   personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                  Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                                 document
                                                                                                                                                                                                                                                                  Foundation
  TEMP0835       GOOG-PLAY-000129990.R                PX 1068                  Presentation titled, "Samsung API                         Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                               request analysis" (3/2014)                              Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0836       GOOG-PLAY-000174597                  PX 1164                  Email from K.Wang to S.Lundberg                           Porst, Sebastian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               et al. re Malicious Apps with >1                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                               Million Downloads Slip Past Google                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                               Defenses Twice (09/14/2017)                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                                                 not been properly authenticated (Fed. R. Evid. 901).
  TEMP0837       GOOG-PLAY-000204048.R                                         Undated presentation titled "Life of a   Dave Kleidermacher; Edward Cunningham, Sebastian     Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                               Review"                                                        Porst                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                  Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                                 document
                                                                                                                                                                                                                                                                  Foundation
  TEMP0838       GOOG-PLAY-000205411.R                PX 0279                  Slide deck entitled "project gabby"                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               (09/30/2014)                                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                      Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                       Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                         Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                      Lockheimer, Hiroshi                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                          Pichai, Sundar                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                        Rosenberg, Jamie                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                         Samat, Sameer
  TEMP0839       GOOG-PLAY-000211964.R                PX 0289                  Presentation entitled "Nightcrawler                    Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                               Deepdive"                                              Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                             20 of 220
                                                                     Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 51 of 250                             JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                      DISPUTED EXHIBITS




                                                                                                                                  Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number              Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0840       GOOG-PLAY-000219435.R   PX1184 Edward Cunningham; PX0765   Presentation dated 9/2018 titled "AO- Edward Cunningham, David Kleidermacher, Sebastian        Defendants: Defense to Plaintiffs' claims                          Plaintiff     Plainitiffs: Rule 403—unfairly prejudicial, confusing the issues        Defendants: Balance favors admissibility (Rules 401, 403),
                                                                            PS: Unknown Sources"                                  Porst; Kobi Glick                                                                                                         and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                           Plaintiffs: Proof of Defendants’ liability for antitrust                         statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                           violations, unreasonable restraints of trade, unfair                             802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                           competition and/or tortious interference; proof of                               has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                           Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                           injunctive relief; proof of resulting damages; and/or proof                      Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                           rebutting allegations in Defendants’ Answers and                                 602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                           Counterclaims against Plaintiffs                                                 the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                                                                                                            the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.



  TEMP0841       GOOG-PLAY-000220213.R                                      Undated presentation titled "Pre-       Dave Kleidermacher; Edward Cunningham; Paul Feng,      Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            conditions for success"                   Sarah Karam, Mrinalini Loew, Michael Marchak                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                             Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                            misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                            document
                                                                                                                                                                                                                                                             Foundation
  TEMP0842       GOOG-PLAY-000225013           DX-016 Lawrence Koh          8/6/2019 email from M. Rein to L.                         Lawrence Koh                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Koh                                                                                                                                                                             403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                            the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                            declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                            established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0843       GOOG-PLAY-000225427                                        9/11/2019 email from L. Koh to K.      Lawrence Koh, Sameer Samat, Hiroshi Lockheimer, Don Defense to Plaintiffs' claims                                          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Aviram Beatty                            Harrison, Jamie Rosenberg, Purnima Kochikar, Mike                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                         Marchak                                                                                                            the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                            declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                            established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0844       GOOG-PLAY-000225435                                        Email from E. Putze to A. Shobin re                        Shobin, Alec                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Re: BATTLE BREAKERS: Next                                 Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Steps on Pre-Reg Rewards                                                                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                            (09/12/2019)                                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0845       GOOG-PLAY-000225568                 PX 1458                Email from L. Koh to GP Games                             Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Velocity et al re Games Velovity                                                               unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Program (Project Hug) Executive                                                                tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                            Newsletter August 2019                                                                         conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                            (09/25/2019)                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP0846       GOOG-PLAY-000226939                 PX 0155                Email from K. Gambhir to G.                               Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Yousling re Riot GVP Call                                                                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            1/23/20 - Next Steps (01/24/2020)                                                              tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP0847       GOOG-PLAY-000229099                                        4/21/2020 email from C. Babcock to          Lawrence Koh; Chris Babcock; Hans Stolfus          Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            L. Koh                                                                                         counterclaims                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                             Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP0848       GOOG-PLAY-000229152           DX0020 Lawrence Koh          4/21/2020 email from D. Song to L.                  Lawrence Koh; Hans Stolfus                 Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Koh                                                                                            counterclaims                                                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                            personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                             Foundation                                                             201, 602, 901, 902)

  TEMP0849       GOOG-PLAY-000233058.R                                      Presentation entitled Play & Friends                      Koh, Lawerence                       Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            All Hands Q1 2020.                                        Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                           tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0850       GOOG-PLAY-000233314                                        Alliance 2021 Planning (WIP)                              Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            (10/28/2020)                                                                                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                           tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                           21 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 52 of 250           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                                 Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                 Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0851       GOOG-PLAY-000234248.R           PX 0147             Document Titled Activision Blizzard             Koh, Lawrence                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     King (12/11/2020)                                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0852       GOOG-PLAY-000234425      PX0389 Michael Marchak     10/16/2018 email from M. Marchak       Purnima Kochikar, Michael Marchak          Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to M. Oh                                                                                                                                                                                                                                  (Rules 803, 804, 807)
  TEMP0853       GOOG-PLAY-000234772             PX 0149             Email from L. Koh to M. Marchak                Kochikar, Purnima                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re ABK Update -                                 Koh, Lawrence                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Armin Mtg 11/26 (12/04/2019)                   Marchak, Michael                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0854       GOOG-PLAY-000236243                                 Games Velocity Program 2.0                     Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (10/26/2020)                                     Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                  Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                   Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                     Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                     Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                  Lockheimer, Hiroshi                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                   Marchak, Michael
                                                                                                                      Pichai, Sundar
                                                                                                                    Rosenberg, Jamie
                                                                                                                     Samat, Sameer
  TEMP0855       GOOG-PLAY-000237798                                 Play Value spreadsheet                             Feng, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (08/14/2019)                                  Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0856       GOOG-PLAY-000238612.R                               Presentation entitled Google Play              Kochikar, Purnima                  Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Playtime LATAM.                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0857       GOOG-PLAY-000257405                                 Email from E.Crosby to A.Pott                     Feng, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     A.Zaeske Re:Meeting Notes and AIs              Rosenberg, Jamie                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     PPS - Subscriptions V2 Review                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (01/27/2017)                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0858       GOOG-PLAY-000257414             PX 2683             Email from S. Sayigh to P. Feng re                 Feng, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Subs V2 Updates                                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).
  TEMP0859       GOOG-PLAY-000257419                                 Email re Subs V2 Updates.                          Feng, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).
  TEMP0860       GOOG-PLAY-000257656             PX 1443             Email from L. Fontaine to A. Pott et              Feng, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al re Spotify Question (04/04/2017)             Rasanen, Kirsten                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0861       GOOG-PLAY-000257730                                 Email re Re: Weekly Activity                       Feng, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Report, 4/17/17 - 4/21/17, Play                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Apps BD.                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                       22 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 53 of 250     JOINT TRIAL EXHIBIT LIST
                                                                                                                                          DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0862       GOOG-PLAY-000257825                                 Email from R. Shaik to play-                  Feng, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     commerce-leads re [Heads up]                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Upcoming dogfood launch of                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     "Preventing inapp purchases from                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                     sideloaded apps." (05/12/2017)                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0863       GOOG-PLAY-000258502                                 Email from S. Sayigh to                       Feng, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     PolicySubsV2 re Apple buying                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Texture (03/13/2018)                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0864       GOOG-PLAY-000258505             PX 0518             Email from S.Sayigh to L.Yang re              Feng, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Apple Buying Texture (03/13/2018)                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0865       GOOG-PLAY-000258923                                 Email from L.Yang to A.Zaeske re              Feng, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Update on Netflix and Google Play                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Billing (07/24/2018)                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0866       GOOG-PLAY-000259276             PX 0509             Email from K. Reinke to P. Feng re           Feng, Paul                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Netflix (02/02/2019)                      Rosenberg, Jamie                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                Samat, Sameer                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0867       GOOG-PLAY-000260305         PX 0178; PX 0510        Email from H. Pottamsetty to K.              Feng, Paul                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Glick et al. re Dev confusion about          Glick, Kobi                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     play's policy (01/30/2020)                 Loew, Mirinalini               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0868       GOOG-PLAY-000261200                                 Email from H. Lockheimer to D.            Cramer, Christian               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Jackson re Google Play payments              Feng, Paul                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     policy - initial US press recap           Harrison, Donald                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (09/28/2020)                             Lockheimer, Hiroshi              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                Samat, Sameer                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0869       GOOG-PLAY-000261263             PX 1703             Email from M. Loew to J. Zepp re             Feng, Paul                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     NFLX Modular Sync (EOW)                    Loew, Mirinalini               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (10/15/2020)                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0870       GOOG-PLAY-000261993.R                               Presentation dated 8/2020 titled      Paul Feng; Mrinallini Loew          Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Landing Play Payment Policy"                                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                               misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                               document
                                                                                                                                                                                                                                Foundation
  TEMP0871       GOOG-PLAY-000262353.R                               Netflix Code Yellow Proposal slide            Feng, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (8/2017)                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                               23 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 54 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0872       GOOG-PLAY-000263298.R                               Presentation dated 4/13/2017 titled      Brandon Barras, Paul Feng; Purnima Kochikar; Sarah     Defendants: Defense to Plaintiffs' claims; proof of           Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     "Google Play Match Group Summit"                               Karam                            Match's liability for counterclaims                                                 declarant’s personal knowledge; Rule 802—exhibit contains               established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                                                                                                                                                                                                         inadmissible hearsay; Rule 402—exhibit is not relevant; Rule            801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                     Plaintiffs: Proof of Defendants’ liability for antitrust                            403—unfairly prejudicial, confusing the issues and/or misleading to     807); Exhibit is relevant (Rules 401, 402); Balance favors
                                                                                                                                                                     violations, unreasonable restraints of trade, unfair                                the jury; Rule 901—proponent has not established authenticity of        admissibility (Rules 401, 403); Exhibit will be properly
                                                                                                                                                                     competition and/or tortious interference; proof of                                  the document; Foundation                                                authenticated (Rule 901)
                                                                                                                                                                     Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                     injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                     rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies
                                                                                                                                                                                                                                                         the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0873       GOOG-PLAY-000267387                                 Spreadsheet entitled Play Monthly                            Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     User Feedback Report (June).                                                                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0874       GOOG-PLAY-000268001                                 Email from P. Kochikar to L. Zhang                       Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re [Industryinfo] Re: Google's iron                                                             unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     grip on Android: Controlling open                                                               tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     source by any means necessary                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                     (07/24/2018)                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).
  TEMP0875       GOOG-PLAY-000270597                                 Summary of Changes (Google Play                          Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Developer Distribution Agreement)                        Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (11/06/2020)                                              Samat, Sameer                         tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0876       GOOG-PLAY-000270797.R                               Undated presentation titled "Closing    Sameer Samat, Edward Cunningham, Paul Feng, Dave        Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     the Gen Z App Gap"                       Kleidermacher, Purnima Kochikar, Paul Bankhead,                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                              Hiroshi Lockheimer, Jamie Rosenberg, Paul Gennai                                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         document
                                                                                                                                                                                                                                                         Foundation
  TEMP0877       GOOG-PLAY-000272117.R                               Presentation dated 10/2020 titled         Sameer Samat, Edward Cunningham, Paul Gennai,         Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "How developers perceive Androids                Purnima Kochikar, Paul Bankhead                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                     & Google Play brands?"                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         document
                                                                                                                                                                                                                                                         Foundation
  TEMP0878       GOOG-PLAY-000272448.R                               Presentation dated April 2017 titled   Sameer Samat, Paul Feng, Kobi Glick, Purnima Kochikar, Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Games Strategy Review:          Michael Marchak, Paul Bankhead, Christian Cramer                                                                                            Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Building High Quality Android                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                     Games"                                                                                                                                                                               Foundation                                                             201, 602, 901, 902)

  TEMP0879       GOOG-PLAY-000272539.R                               Undated presentation titled "China:      David Kleidermacher; Edward Cunningham; Jamie        Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     A Parallel Universe"                    Rosenberg; Paul Feng; Paul Gennai; Purnima Kochikar;                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                            Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                       the jury, Rule 403—wasting time and/or needlessly cumulative,           401, 403), Foundation/personal knowledge will be
                                                                                                                         Kolotouros; Paul Bankhead                                                                                                       Rule 602—exhibit contains statements not based on declarant’s           established (Rules 201, 602, 901, 902), Not an opinion, or
                                                                                                                                                                                                                                                         personal knowledge, Rule 701—exhibit contains improper                  proper opinion evidence (Rule 701),
                                                                                                                                                                                                                                                         specialized opinion by lay witness, Foundation
  TEMP0880       GOOG-PLAY-000277908.R                               Presentation dated 3/2020 titled         Paul Gennai, Dave Kleidermacher, Purnima Kochikar      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Smartphone Purchase Journey 2019                                                                                                                                                   personal knowledge                                                      201, 602, 901, 902)
                                                                     Global Findings"                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         document
                                                                                                                                                                                                                                                          Foundation
  TEMP0881       GOOG-PLAY-000285163                                 Document titled "Google Play                             Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Commerce Developer Feedback"                                                                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (11/01/2012)                                                                                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0882       GOOG-PLAY-000285596.R       PX0169 Kobi Glick       August 2018 presentation titled           Paul Feng, Paul Gennai, Kobi Glick, Sarah Karam,      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "DSAT Q2'18 - Developer Sentiment       Purnima Kochikar, Mrinalini Loew, Michael Marchak,                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                     Survey"                                                    Paul Bankhead                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Foundation                                                             (Rules 803, 804, 807)




                                                                                                                                                                    24 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 55 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0883       GOOG-PLAY-000286779.R                               JP Play Points Launch Update slide                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (11/02/2018)                                       Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0884       GOOG-PLAY-000286913             PX 2863             Document titled, "Play Value                            Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     StratOps Model (Previously "dev                                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     2.0, Earning 30")"                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0885       GOOG-PLAY-000290130.R       PX 1533; PX 1770        Document titled, "First Thoughts on                     Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Google Play Opportunities and                                                                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Challenges" (07/01/2016)                                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                            cumulative evidence.
  TEMP0886       GOOG-PLAY-000292207.R     PX0679 Sameer Samat       2018 presentation titled "Play 2018       Paul Gennai, Kobi Glick, Purnima Kochikar, Jim       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Planning Summit - Winning with                              Kolotouros                                                                                                          Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Users and Developers"                                                                                                                                                          personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                     Foundation                                                             201, 602, 901, 902)

  TEMP0887       GOOG-PLAY-000297309.R                               Slide deck titled "Amazon                               Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Underground User Experience"                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (11/2015)                                                                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0888       GOOG-PLAY-000297605.R                               Amazon competitor deep dive slide                        Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (4/2017)                                              Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                               Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                               Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                            Lockheimer, Hiroshi                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                Pichai, Sundar
                                                                                                                              Rosenberg, Jamie
                                                                                                                               Samat, Sameer
                                                                                                                                 Wang, Kevin
  TEMP0889       GOOG-PLAY-000298618                                 Document titled "Amazon JP                              Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     AppStore Research Report"                                   Wang, Kevin                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (2/2017)                                                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0890       GOOG-PLAY-000300428.R                               Presentation dated June 2016 titled      Hiroshi Lockheimer, Sameer Samat, Paul Gennai,        Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Android Developer Ecosystem"          Purnima Kochikar, Jim Kolotouros, Michael Marchak,                                                                                      personal knowledge                                                      201, 602, 901, 902)
                                                                                                                             Jamie Rosenberg                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Foundation                                                             (Rules 803, 804, 807)

  TEMP0891       GOOG-PLAY-000301542.R                               Undated presentation titled "Play       Purnima Kochikar, Sameer Samat, Michael Marchak,       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Apps & Games 2018"                               Hiroshi Lockheimer, Paul Gennai                                                                                               602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                    knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP0892       GOOG-PLAY-000302766.R                               Slide deck entitled "Play Loyalty                        Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     program options" (03/23/2018)                           Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0893       GOOG-PLAY-000304059.R                               Presentation dated 3/20/2017 titled   Jamie Rosenberg, Sameer Samat, Paul Feng, Paul Gennai, Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Android Ecosystem: Q1 QER"           Purnima Kochikar, Jim Kolotouros, Christian Cramer, Jon                                                                                  personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                   Gold                                                                                                              Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                    document
                                                                                                                                                                                                                                                     Foundation
  TEMP0894       GOOG-PLAY-000304302.R                               Undated presentation titled "PC to               Purnima Kochikar; Sameer Samat                Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Mobile and Mobile to PC: Lessons                                                                                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                     learned from LineageM"                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                    document
                                                                                                                                                                                                                                                     Foundation




                                                                                                                                                                   25 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 56 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0895       GOOG-PLAY-000305621             PX 1543             Document titled, "Overlay App                           Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Install Beta Program Agreement"                                                               unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/01/2016)                                                                                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0896       GOOG-PLAY-000307941.R           PX 0682             Amazon competitor deep dive slide                       Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (4/2017)                                           Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0897       GOOG-PLAY-000308407.R                               Undated presentation titled "Next       Jamie Rosenberg, Sameer Samat, Paul Gennai, Kobi      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Billion Users"                                      Glick, Purnima Kochikar                                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       document
                                                                                                                                                                                                                                                        Foundation
  TEMP0898       GOOG-PLAY-000308762                                 Spreadsheet with filename                                  Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Subscription Billing Platform                           Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Competitor                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     A_1yNtjLKZhjKNPsHm_pzrACwr6                              Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                     zVtxUD4_tggpfcHa6y0.xlsx;Subscri                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                     ption Billing Platform Competitor                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                     An_1yNtjLKZhjKNPsHm_pzrACwr                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                     6zVtxUD4_tggpfcHa6y0.xlsx;Subsc
                                                                     ription Billing Platform Competitor
                                                                     Ana_1yNtjLKZhjKNPsHm_pzrACw
                                                                     r6zVtxUD4_tggpfcHa6y0.xlsx;Subs
                                                                     cription Billing Platform Competitor
                                                                     _1yNtjLKZhjKNPsHm_pzrACwr6z
                                                                     VtxUD4_tggpfcHa6y0.xlsx




  TEMP0899       GOOG-PLAY-000308782.R   PX0769 Dave Kleidermacher   Presentation dated 7/28/2016 titled    Sameer Samat, Edward Cunningham, Paul Gennai, Dave Defense to Plaintiffs' claims                                          Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Unknown sources"                       Kleidermacher, Purnima Kochikar, Jamie Rosenberg                                                                                           Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        Foundation                                                             201, 602, 901, 902)

  TEMP0900       GOOG-PLAY-000316976.R                               Presentation dated 2/26/2016 titled    Paul Gennai, Purnima Kochikar, Michael Marchak, Paul Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "App Store Analysis Refresh"                                 Bankhead                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       document
                                                                                                                                                                                                                                                        Foundation
  TEMP0901       GOOG-PLAY-000333091             PX 1412             Email from A. Stadler to V. Baccetti                     Rasanen, Kristen                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al re FB and App Updates                              Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/13/2017)                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0902       GOOG-PLAY-000333095                                 4/15/2017 email from S. Samat to A.       Sameer Samat, Kirsten Rasanen, Paul Bankhead        Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Mahbod, V. Buch, C. D'Silva                                                                                                                                                       602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                       knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                       and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                       established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0903       GOOG-PLAY-000333220      PX1413 Kirsten Rasanen     5/22/2017 email from S. Samat to V. Kirsten Rasanen, Sameer Samat, Paul Bankhead, Hiroshi Defendants: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly         Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                                     Buch                                            Lockheimer, Jamie Rosenberg                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   favors admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                                602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                    knowledge, Rule 802—exhibit contains inadmissible hearsay, Rule         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                               competition and/or tortious interference; proof of                                      901—proponent has not established authenticity of the document,         (Rules 803, 804, 807), Exhibit will be properly
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                     Foundation                                                              authenticated (Rule 901),
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                        Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                               Counterclaims against Plaintiffs                                                        ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                                                                                                       .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                       the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                       the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                   26 of 220
                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 57 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                                 Sponsoring Witness(es)
Exhibit Number         Beg Bates           Deposition Exhibit Number                Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0904       GOOG-PLAY-000333226                PX 2681                 Email from V. Bacetti to P.                              Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Bankhead re Facebook Meeting                             Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Notes 05.19.17 (05/22/2017)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0905       GOOG-PLAY-000337564.R     PX0360 Michael Marchak,          Presentation dated 8/8/2019 titled    Paul Gennai; Sameer Samat; Michael Marchak; Danielle Defendants: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                         Danielle Stein; PX 2864, PX 2866   "Play Value Model: Play BD                              Stein; Rich Miner                                                                                                         declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                            StratOps"                                                                                  Plaintiffs: Proof of Defendants’ liability for antitrust                                Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                       violations, unreasonable restraints of trade, unfair                                    Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                       competition and/or tortious interference; proof of                                      Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                       rebutting allegations in Defendants’ Answers and                                       document
                                                                                                                                                                       Counterclaims against Plaintiffs                                                        Foundation                                                           Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                                                                                                                                                                                    concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                                                                                              Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. and/or a hearsay exception applies.
                                                                                                                                                                                                                                                              602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                                                                                                                              the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                              the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP0906       GOOG-PLAY-000338400.R                                      Undated presentation titled "P&E         Paul Gennai; Hiroshi Lockheimer; Sameer Samat;       Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            Annual Plan Play Sandbox"                               Purnima Kochikar                                                                                                          personal knowledge, Rule 701—exhibit contains improper                  201, 602, 901, 902), Not an opinion, or proper opinion
                                                                                                                                                                                                                                                              specialized opinion by lay witness, Rule 802—exhibit contains           evidence (Rule 701), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                              inadmissible hearsay, Foundation                                        hearsay objection applies (Rules 803, 804, 807),
  TEMP0907       GOOG-PLAY-000338400.R         PX 0716; PX 2981             Slide deck titled, "P&E 2021 Annual                      Samat, Sameer                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Plan - Play Sandbox" (11/02/2020)                                                             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0908       GOOG-PLAY-000338770.R                                      Presentation dated 9/2020 titled                          Sameer Samat                        Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            "Google Play Toplines"                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                              document
                                                                                                                                                                                                                                                               Foundation
  TEMP0909       GOOG-PLAY-000338849.R         PX 0752; PX 1148             Slide deck entitled "Platforms &                         Samat, Sameer                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Ecosystems" (11/05/2020)                                                                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0910       GOOG-PLAY-000342543.R                                      Presentation dated 2016 titled                            Sameer Samat                        Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            "Android Developer Data and O                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                            Early Thoughts"                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                              document
                                                                                                                                                                                                                                                               Foundation
  TEMP0911       GOOG-PLAY-000342813.R                                      Undated presentation titled "Play                         Sameer Samat                        Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            2018 Planning Summit: Winning with                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                            Users and Developers"                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                              misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                              document
                                                                                                                                                                                                                                                               Foundation
  TEMP0912       GOOG-PLAY-000345879.R                                      Monthly Finance Meeting slide deck                      Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            (8/2020)                                                 Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0913       GOOG-PLAY-000346734                PX 2657                 Document titled, "February 19 - Off                      Samat, Sameer                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            the Record Dinner with Sameer and                                                             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                            Dave - Briefing Document"                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                            (02/19/2022)                                                                                  conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                          27 of 220
                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 58 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                      DISPUTED EXHIBITS




                                                                                                                                  Sponsoring Witness(es)
Exhibit Number         Beg Bates              Deposition Exhibit Number               Name / Description                                                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0914       GOOG-PLAY-000348696                  PX 0752                 Email from M.Sharif to J.Liu et al.                     Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              re Play Abuse Update (02/14/2018)                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0915       GOOG-PLAY-000350028                  PX 0604                 Email from P. Gennai to M.                                Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Hochberg and M. Petrillo re Banyan                                                           unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                              (01/31/2019)                                                                                 tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                               402).
  TEMP0916       GOOG-PLAY-000351706                                          Email from P. Gennai to M.                               Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Hockberg re iPhone/Apple Watch                         Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                              (01/08/2020)                                            Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0917       GOOG-PLAY-000353866                                          Google Chat conversation                                Harrison, Don                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              (06/10/2020)                                           Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                     Kolotouros, James                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                    Lockheimer, Hiroshi                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                      Pichai, Sundar                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                     Rosenberg, Jamie                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                      Samat, Sameer                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0918       GOOG-PLAY-000357164     PX2897 Donna Hoffman, PX2904 Donna   Presentation dated 2/2020 titled                      Dave Kleidermacher                     Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                      Hoffman                 "Smartphone Purchase Journey                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                              2019"                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                               misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                                Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                               document
                                                                                                                                                                                                                                                                Foundation
  TEMP0919       GOOG-PLAY-000357164.R                PX 2904                 Presentation dated February 2020    Dave Kleidermacher, Paul Gennai; Brandon Barras, Don Defendants: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                              titled "Smarthpone Purchase Journey    Harrison, Purnima Kochikar, Lawrence Koh, Jim                                                                                             declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                              2019"                               Kolotouros, Hiroshi Lockheimer, Sundar Pichai, Jamie Plaintiffs: Proof of Defendants’ liability for antitrust                                 Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                Rosenberg, Sameer Samat                violations, unreasonable restraints of trade, unfair                                     Foundation                                                             (Rules 803, 804, 807)
                                                                                                                                                                       competition and/or tortious interference; proof of
                                                                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                     Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                             602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                       rebutting allegations in Defendants’ Answers and                                        the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                       Counterclaims against Plaintiffs                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0920       GOOG-PLAY-000360400.R                PX 0513                 Slide deck titled, "Aligning YouTube                       Feng, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              and Play Billing Experiences"                                                                unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                              (02/02/2018)                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0921       GOOG-PLAY-000361147.R                PX 1448                 Slide deck titled, "Play Finance                      Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              Overview" (11/01/2017)                                  Pichai, Sundar                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                     Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0922       GOOG-PLAY-000362971.R                PX 1693                 Presentation titled, "Google Play                       Loew, Mrinalini                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              2020: Secure the Core                                  Marchak, Michael                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                           tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                           resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0923       GOOG-PLAY-000364735.R                PX 1694                 Presentation titled, "PPS: IAP Sales                   Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              on 3P Surfances - Off-Play Payments                       Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                              Strategy"                                              Marchak, Michael                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                      Loew, Mrinalini                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                      Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                           28 of 220
                                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 59 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number            Name / Description                                                                                                 Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0924       GOOG-PLAY-000364812             PX 1698              Document titled, "Buy Flow                                   Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      Discussion" (06/03/2020)                                                                         unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0925       GOOG-PLAY-000365029.R           PX 0133              Slide deck entitled "Google Play                           Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      Points Overview" (6/2020)                                   Glick, Kobi                          unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0926       GOOG-PLAY-000365588.R                                Presentation dated 2019 titled                             Mrinalini Loew                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      "DSAT April 2019: Developer                                                                                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                      Sentiment Survey"                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
                                                                                                                                                                                                                                                         Foundation
  TEMP0927       GOOG-PLAY-000365646.R                                Presentation dated 2019 titled            Don Harrison, Purnima Kochikar, Jim Kolotouros,        Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "DSAT June/July 2019: Developer            Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                             602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                      Sentiment Survey"                             Rosenberg, Sameer Samat, Paul Gennai                                                                                                knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                        and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                        established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP0928       GOOG-PLAY-000367346.R                                Presentation dated 4/2019 titled             Jim Kolotouros, Paul Gennai, Paul Bankhead          Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      "Banyan (Samsung)"                                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Foundation                                                             (Rules 803, 804, 807)

  TEMP0929       GOOG-PLAY-000368480.R                                Presentation dated 1/22/2019 titled     Hiroshi Lockheimer, Sameer Samat, Paul Gennai, Dave Defense to Plaintiffs' claims                                           Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "Android OS US Brand Tracking:             Kleidermacher, Jim Kolotouros, Christian Cramer                                                                                         Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                      December 2018 - US"                                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         Foundation                                                             201, 602, 901, 902)

  TEMP0930       GOOG-PLAY-000374057.R                                Undated presentation titled "value of   Purnima Kochikar; Sameer Samat; Paul Gennai; Michael Defense to Plaintiffs' claims                                          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      google play billing"                                         Marchak                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        Foundation
  TEMP0931       GOOG-PLAY-000375505.R       PX0105 Tian Lim          Presentation dated 1/22/2019 titled        Dave Kleidermacher; Edward Cunningham, Paul           Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                           PX1141 Sebastian Porst     "App safety- e2e logical diagram"                           Bankhead                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP0932       GOOG-PLAY-000375525.R                                Presentation dated June 2018 titled              Michael Marchak; Purnima Kochikar               Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "Lion Force Strategy: Pitch                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                      Document- WIP"                                                                                                                                                                    personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         Foundation                                                             201, 602, 901, 902)

  TEMP0933       GOOG-PLAY-000377290.R                                Slide deck with filename -                                Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      PRIVILEGED & CONFIDENTIAL-                                  Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                      payments                                                Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                      polic_1CTO2dbWRvceW8XBcPZ_                               Kochikar, Purnima                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                      4l7Z6_zsO-                                                 Koh, Lawrence                         resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                      d6j4OhLXUYY6CQ.pptx                                        Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                              Lockheimer, Hiroshi                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                  Pichai, Sundar
                                                                                                                                Rosenberg, Jamie
                                                                                                                                 Samat, Sameer
  TEMP0934       GOOG-PLAY-000381315                                  Document dated 7/3/2018 titled                             Lawrence Koh                          Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "Fortnite Testing Meeting Notes"                                                                 counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         Rule 403—wasting time and/or needlessly cumulative                     201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        Foundation
  TEMP0935       GOOG-PLAY-000398280                                  1/10/2020 email from S. Westover        Hiroshi Lockheimer, Sameer Samat, Paul Gennai, Dave Defense to Plaintiffs' claims                                           Plaintiff     Rule 106—exhibit is unfairly incomplete                                 Exhibit is properly complete (Rule 106)
                                                                      to S. Samat                                               Kleidermacher                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         Foundation                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP0936       GOOG-PLAY-000400751.R                                Presentation dated 7/2017 titled                         Dave Kleidermacher                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      "Google's Android Distribution                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                      Agreements"                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Foundation




                                                                                                                                                                       29 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 60 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0937       GOOG-PLAY-000402788             PX 1484             Email from D. Harrison to D. Sobota                       Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Strategic Rationale (07/16/2018)                                                            unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).
  TEMP0938       GOOG-PLAY-000402798             PX 1486             Email from R. Kyncl to D. Harrison                        Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Fortnite (07/18/2018)                                                                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).
  TEMP0939       GOOG-PLAY-000404105       DX0017 Lawrence Koh       8/29/2019 email from D. Harrison to      Donald Harrison, Purnima Kochikar, Lawrence Koh       Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     L. Koh                                                                                         counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP0940       GOOG-PLAY-000405463                                 7/30/2020 email from D. Alegre to                         Donald Harrison                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     D. Harrison                                                                                                                                                                     402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                     confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                     602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                     knowledge, Rule 901—proponent has not established authenticity          201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                     of the document, Foundation                                             (Rule 901),
  TEMP0941       GOOG-PLAY-000412355.R                               Undated document titled "A                       Edward Cunningham, Paul Gennai                Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Perspective on Android                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                     Prioritization"                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                      Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                      Foundation
  TEMP0942       GOOG-PLAY-000416238             PX 0321             Document titled "Neal / Scott                                Chu, Eric                         Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Briefing on Play - YT Integrations"                                                            unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                     (6/11/2020)                                                                                    tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP0943       GOOG-PLAY-000416448                                 Undated document titled "Android                     Google agreement (TBD)                    Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Compatibility Commitment"                                                                                                                                                                                                                               (Rules 803, 804, 807)
  TEMP0944       GOOG-PLAY-000417080             PX 1378             Email from J. Lagerling to H.                             Lagerling, John                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Clarification                             Lockheimer, Hiroshi                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (01/28/2014)                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0945       GOOG-PLAY-000417087             PX 2744             Email from S. Pichai to P. Brady et      Pichai, Sundar; Brady, Patrick; Lockheimer, Hiroshi   Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. dated Jan. 28, 2024                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0946       GOOG-PLAY-000417089                                 Email from P. Brady to D. Pichai re                       Brady, Patrick                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     GMS for Cyanogen (01/28/2014)                           Lockheimer, Hiroshi                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Pichai, Sundar                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0947       GOOG-PLAY-000417092                                 Email from L. Roche to J. Lagerling                     Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     et al. re "Clarification" (01/31/2014)                                                         unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0948       GOOG-PLAY-000417955             PX 1393             Email from S. Picai to H.                               Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Our Take on FB                              Pichai, Sundar                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Larger Ambition (05/07/2014)                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                    30 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 61 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0949       GOOG-PLAY-000418710         PX 1380; PX 2751        Email from H. Yoon to H.                              Lockheimer, Hiroshi                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Lockheimer re FW Samsung                                                                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Launches Samsung GALAXY Apps                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                     (07/11/2014)                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP0950       GOOG-PLAY-000419070                                 Email from B. Rakowski to N. Fox                      Lockheimer, Hiroshi                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re switching (09/17/2014)                               Pichai, Sundar                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0951       GOOG-PLAY-000420201                                 Email from H. Lockheimer to D.                        Lockheimer, Hiroshi                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Koh re "CNET: Samsung takes                                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Tizen app store worldwide to give its                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     OS a boost (04/30/2015)                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0952       GOOG-PLAY-000420244             PX 1381             Email from H. Lockheimer to DJ                        Lockheimer, Hiroshi                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Koh re CNET: Samsung Takes Tizen                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     App Store Worldwide to Give It's                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     OS a Boost (05/02/2015)                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0953       GOOG-PLAY-000421157                                 Document dated 9/2015 titled                          Hiroshi Lockheimer                  Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Briefing Doc: Hiroshi Lockheimer                                                                                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                     Pre-Briefs on 9/29 Event"                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP0954       GOOG-PLAY-000421171                                 9/23/2015 email from A. Pimplapure                    Hiroshi Lockheimer                  Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to A. Ludwig                                                                                                                                                              403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                               the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                               declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                               established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0955       GOOG-PLAY-000421394             PX 0829             Email from H.Lockheimer to                            Lockheimer, Hiroshi                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     A.Pimplapure re Codifying PAI                                                             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Requirement in Revenue Share                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Agreement (11/22/2015)                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0956       GOOG-PLAY-000421463                                 Email from J. Kolotouros to A.                          Kolotouros, Jim                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Pimplapure re Notes from Samsung                      Lockheimer, Hiroshi                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     meeting this morning - Search                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Revenue Share (12/29/15)                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                     (12/30/2015)                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0957       GOOG-PLAY-000421583                                 Email from A. Pimplapure to J.                          Kolotouros, Jim                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kolotouros re Pay app options                         Lockheimer, Hiroshi                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/06/2016)                                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0958       GOOG-PLAY-000425178.R                               Undated presentation titled "Android    Edward Cunningham, David Kleidermacher, Hiroshi   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Security 2017 Marketing Plan"                            Lockheimer                                                                                                       403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                               the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                               declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                               established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0959       GOOG-PLAY-000432524             PX 1416             Email from K. Rasanen J. McGuire                       Rasanen, Kirsten                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re FB News: Instant Games Rolls out                    Rosenberg, Jamie                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     on Messenger (05/05/2017)                               Samat, Sameer                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                                                                                                                                               exhibit has not been properly authenticated (Fed. R. Evid. 901).




                                                                                                                                                               31 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 62 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0960       GOOG-PLAY-000432543             PX 1400             Email from H. Lockheimer to K.                          Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rasanen re Facebook Bi-Weekly BD                         Rasanen, Kirsten                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Update (5.10.17) (05/10/2017)                            Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0961       GOOG-PLAY-000433916                                 4/18/2018 email from R. Turner to                  Paul Gennai, Jamie Rosenberg                Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     P. Gennai                                                                                                                                                                          Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Foundation                                                             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                              201, 602, 901, 902)
  TEMP0962       GOOG-PLAY-000434425                                 Message from D. Kleidermacher to                        Kelidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     J. Rosenberg re Off-Market Safety...                     Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     - I would rather find an affirmative                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     wo... (09/12/2018)                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0963       GOOG-PLAY-000435091             PX 0588             Email from P. Gennai to A. Kumar                           Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re Hiroshi Monthly Review:                               Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Thursday Next Week (10/21/2021)                          Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP0964       GOOG-PLAY-000435331             PX 0710             Email from S.Samat to J.Rosenberg                        Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Ruminations on Play's Business                         Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Model (08/07/2019)                                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0965       GOOG-PLAY-000435337                                 Message from S. Krishnamachari to                        Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     J. Rosenberg re Ruminations on                                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Pla... - This feels tricky to me for                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     two reaso... (08/08/2019)                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP0966       GOOG-PLAY-000436697.R                               Presentation dated October 2018                    Paul Gennai, Jamie Rosenberg                Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     titled "Smartphone Purchase Journey                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                     2018: US Findings"                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Foundation                                                             (Rules 803, 804, 807)

  TEMP0967       GOOG-PLAY-000437819.R                               Presentation dated 7/31/2017 titled    Jamie Rosenberg; Paul Feng; Paul Gennai; Sameer Samat Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Subscriptions V2 Follow-Up"                                                                                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP0968       GOOG-PLAY-000439987.R    PX0804 Jamie Rosenberg     Presentation dated 10/18/2014 titled   Jamie Rosenberg; Paul Gennai; Purnima Kochikar; Kobi Defendants: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     "project gabby"                                               Glick                                                                                                                and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                               statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                   802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                 competition and/or tortious interference; proof of                                     has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                            Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                       602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 Counterclaims against Plaintiffs                                                       the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.



  TEMP0969       GOOG-PLAY-000442329                                 Document dated 10/30/17-11/8/17          Brandon Barras, Jamie Rosenberg; Paul Feng; Paul      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     titled "Play Policy Feedback"                Gennai; Purnima Kochikar; Sameer Samat                                                                                                403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                        the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                        declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                        established authenticity of the document, Rule 106—exhibit is           properly authenticated (Rule 901), Exhibit is properly
                                                                                                                                                                                                                                                        unfairly incomplete, Foundation                                         complete (Rule 106),
  TEMP0970       GOOG-PLAY-000442440             PX 0705             Slide Deck titled, "Play                                    Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Subscriptions v2.0" (09/2014)                            Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                    32 of 220
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                                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                                       Sponsoring Witness(es)
Exhibit Number         Beg Bates               Deposition Exhibit Number                  Name / Description                                                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0971       GOOG-PLAY-000443763.R                  PX 0603                   Undated presentation titled "Let's      Jamie Rosenberg, Sameer Samat, Paul Gennai, Dave     Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                                  talk about our business model..."                        Kleidermacher                                                                                                           declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                 Foundation                                                             (Rules 803, 804, 807)
                                                                                                                                                                               competition and/or tortious interference; proof of
                                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                               Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0972       GOOG-PLAY-000443908.R                  PX 0685                   Galaxy Store Performance Update                         Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                  slide deck (07/19/2019)                                                                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                        Lockheimer, Hiroshi                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         Rosenberg, Jamie                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0973       GOOG-PLAY-000444214.R                                            Project Magical Bridge - Exploring                      Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                  ways to make the Play business                            Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                  model more sustainable for Google                      Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                  in the long-term slide deck (9/2019)                   Marchak, Michael                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         Rosenberg, Jamie                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                          Samat, Sameer                        Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0974       GOOG-PLAY-000444346.R                  PX 0122                   Fortnite Task Force (08/06/2018)                      Cunningham, Edward                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                        Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                        Lockheimer, Hiroshi                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         Rosenberg, Jamie                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                           Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0975       GOOG-PLAY-000445313                                              GDAF Summary (05/31/2019)                               Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                           Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                          Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0976       GOOG-PLAY-000445443.R   PX0434 Christian Cramer, Shafiq Ahmed, Presentation dated 9/20/2018 titled      Jamie Rosenberg, Paul Gennai, Sameer Samat, Hiroshi   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—unfairly         Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                          Ned Barnes; PX2881 Douglas Skinner    "Play Update @ CFO Council"                         Lockheimer, Christian Cramer                                                                                                   prejudicial, confusing the issues and/or misleading to the jury, Rule   favors admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                            602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                knowledge, Rule 802—exhibit contains inadmissible hearsay, Rule         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                               competition and/or tortious interference; proof of                                  901—proponent has not established authenticity of the document,         (Rules 803, 804, 807), Exhibit will be properly
                                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                 Rule 106—exhibit is unfairly incomplete, Foundation                     authenticated (Rule 901), Exhibit is properly complete
                                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                                                                                                 (Rule 106),
                                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                    Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                               Counterclaims against Plaintiffs                                                    602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                                                                                                                   the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                                                                                                   the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.



  TEMP0977       GOOG-PLAY-000445893.R          PX0439 Christian Cramer           Presentation dated 5/2019 titled       Jamie Rosenberg; Paul Gennai; Sameer Samat, Purnima   Defense to Plaintiffs' claims                                      Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403),
                                                                                  "Google Play: Alphabet Board               Kochikar, Hiroshi Lockheimer, Sundar Pichai                                                                                           misleading to the jury, Rule 602—exhibit contains statements not        Foundation/personal knowledge will be established (Rules
                                                                                  Meeting"                                                                                                                                                                         based on declarant’s personal knowledge, Rule 802—exhibit               201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                                   contains inadmissible hearsay, Rule 901—proponent has not               hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                                   established authenticity of the document, Foundation                    will be properly authenticated (Rule 901),

  TEMP0978       GOOG-PLAY-000445893.R                  PX 0439                   Slidedeck titled, "Google Play                          Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                  Alphabet Board Meeting"                                 Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                  (05/01/2019)                                             Samat, Sameer                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0979       GOOG-PLAY-000446037                                              Meeting Minutes - Samsung and                           Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                  Google (06/08/2019)                                     Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                           Samat, Sameer                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                               33 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 64 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0980       GOOG-PLAY-000446343.R                               Presentation dated 10/30/2017 titled   Jamie Rosenberg; Paul Gennai; Sameer Samat; Hiroshi   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "2018 Annual Plan: Platforms &                            Lockheimer                                                                                                         403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Ecosystems Hiroshi/Ruth Review"                                                                                                                                              the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                  declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                  established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP0981       GOOG-PLAY-000446489                                 Document titled, "Google Play                           Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Ecosystem Intelligence - Scope &                        Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     proposal" (06/28/2017)                                   Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0982       GOOG-PLAY-000446565.R                               Undated presentation titled "Google    Sameer Samat, Dave Kleidermacher, Purnima Kochikar, Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Play 2019 Strategic Plan"                       Jamie Rosenberg, Christian Cramer                                                                                             Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                  personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                   Foundation                                                             201, 602, 901, 902)

  TEMP0983       GOOG-PLAY-000446636                                 Play Subscriptions V2 Revisited PPS                     Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     slide deck (02/08/2017)                                    Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Glick, Kobi                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                            Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Marchak, Michael                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Rosenberg, Jamie                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                             Samat, Sameer                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Wang, Kevin
  TEMP0984       GOOG-PLAY-000446894                                 Undated document titled "Hijacking      Edward Cunningham, David Kleidermacher, Hiroshi      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     the Fortnite Installer"                Lockheimer, Sameer Samat, Jamie Rosenberg, Purnima                                                                                    602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                Kochikar                                                                                                          knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                  and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                  established authenticity of the document, Rule 106—exhibit is           authenticated (Rule 901), Exhibit is properly complete
                                                                                                                                                                                                                                                  unfairly incomplete, Foundation                                         (Rule 106),
  TEMP0985       GOOG-PLAY-000449614             PX 0623             Email from J. Kolotouros to D.                           Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Thevenon re rev share agreement                                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     with OEMs (07/08/2014)                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP0986       GOOG-PLAY-000451044             PX 0615             Email from J. Kolotouros to C. Li re                     Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     top partner oems (01/30/2015)                            Li, Christopher                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP0987       GOOG-PLAY-000457086.R                               Undated presentation titled "Android    Dave Kleidermacher, Jim Kolotouros, Sameer Samat,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—wasting time and/or needlessly cumulative                      Balance favors admissibility (Rules 401, 403)
                                                                     Overview"                                        Hiroshi Lockheimer, Paul Genna                                                                                               Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                  personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                   Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Foundation                                                             (Rules 803, 804, 807)

  TEMP0988       GOOG-PLAY-000457156.R           PX 1107             Slidedeck titled, "Google                                Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Distribution Agreements                                   Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Framework" (06/2019)                                  Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                            Lockheimer, Hiroshi                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer
  TEMP0989       GOOG-PLAY-000462888.R                               Presentation dated 10/2015 titled        Don Harrison, Purnima Kochikar, Jim Kolotouros,     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Google Play Project Alley-oop:           Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                         602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Improving Indirect App Discovery"            Rosenberg, Sameer Samat, Paul Gennai                                                                                            knowledge, Rule 403—unfairly prejudicial, confusing the issues         be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                  and/or misleading to the jury, Rule 901—proponent has not              admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                  established authenticity of the document, Foundation                   authenticated (Rule 901),
  TEMP0990       GOOG-PLAY-000464148                                 Document titled "Project Banyan                          Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     FAQs" (04/15/2019)                                         Gennai, Paul                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                               Harrison, Don                      tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                           Kleidermarcher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                             Kochikar, Purnima                    resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                              Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                              Kolotouros, Jim                                                                                                     subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                            Lockheimer, Hiroshi                                                                                                   Conditional objection; defendants reserve the right to object to this
                                                                                                                               Pichai, Sundar                                                                                                     exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                             Rosenberg, Jamie                                                                                                     introduce it.
                                                                                                                              Samat, Sameer
  TEMP0991       GOOG-PLAY-000467594.R                               Presentation dated 1/20/2015 titled                   Paul Feng, Paul Gennai                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Project Sun-Mool Market overview                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                     & impact assessment"                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                   Foundation




                                                                                                                                                                  34 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 65 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP0992       GOOG-PLAY-000469931                                 Document entitled "Third party                        Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     market violation workflow"                              Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (12/13/2014)                                        Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                          Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                         Lockheimer, Hiroshi                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP0993       GOOG-PLAY-000470961.R                               *Draft* Google Play Commerce                          Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Capturing the Subscription Billing                      Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Opportunity slide deck (11/18/2014)                 Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                            Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Pichai, Sundar                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                           Rosenberg, Jamie                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
  TEMP0994       GOOG-PLAY-000471070.R                               Presentation entitled Play                            Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Subscriptions: Strategy & Market                        Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Insights Project Planning (October                  Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                     2014).                                               Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                         Lockheimer, Hiroshi                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP0995       GOOG-PLAY-000476357                                 Email from M. Henderson to L.                            Glick, Kobi                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Mytton re Steam revising 30% rev                                                         unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     share for big game developers                                                            tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (12/06/2018)                                                                             conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP0996       GOOG-PLAY-000512371       DX-18 Lawrence Koh        4/11/2020 email from E. Zobrist to                     Lawrence Koh                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403),
                                                                     L. Koh                                                                                                                                                                    misleading to the jury, Rule 602—exhibit contains statements not        Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                               based on declarant’s personal knowledge, Rule 802—exhibit               201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               contains inadmissible hearsay, Rule 901—proponent has not               hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                               established authenticity of the document, Foundation                    will be properly authenticated (Rule 901),

  TEMP0997       GOOG-PLAY-000512419      DX0019 - Lawrence Koh      4/25/2020 Email from H. Stolfus to              Lawrence Koh, Tim Sweeney                Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     L. Koh                                                                                   counterclaims                                                                                                                                          (Rules 803, 804, 807)
  TEMP0998       GOOG-PLAY-000518034.R                               Presentation dated 5/2019 titled      Lawrence Koh; Purnima Kochikar; Michael Marchak;   Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Google Play Points Developer                          Mrinalini Loew                                                                                                     106—exhibit is unfairly incomplete, Rule 403—unfairly prejudicial, (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                     Overview"                                                                                                                                                                 confusing the issues and/or misleading to the jury, Rule              106), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                               602—exhibit contains statements not based on declarant’s personal Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                               knowledge, Rule 901—proponent has not established authenticity 201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                               of the document, Foundation                                           (Rule 901),
  TEMP0999       GOOG-PLAY-000518713             PX 1520             Email from P. Kochikar to A.                         Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Gutterman re Hi-po/hi-risk                           Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     AAA/Indie Coverage (10/11/2018)                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1000       GOOG-PLAY-000518746                                 11/9/2018 email from F. Hu to M.                       Mike Marchak                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Marchak                                                                                                                                                                   personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                               misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                Foundation
  TEMP1001       GOOG-PLAY-000518884                                 Email from L. Zhang to S. Sayigh,                    Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     M. Marchak, P. Kochikar re FW                        Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     New Revenue Share Tiers on Steam                                                         tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (12/03/2018)                                                                             conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1002       GOOG-PLAY-000519930             PX 1521             Email from M. Marchak to J.                          Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     O'Connor re Hug Follow-Up                            Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/15/2019)                                                                             tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                              35 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 66 of 250                  JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1003       GOOG-PLAY-000519972                                 Email from R. Richmond to M.                        Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Marchak re New Revenue Share                                                             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Tiers on Steam (03/02/2019)                                                              tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies..
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1004       GOOG-PLAY-000520558             PX 0356             Email from M. Marchak to I. Wang                    Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al. re Time Sensitive - ABK                       Koh, Lawrence                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/10/2019)                                        Marchak, Michael                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1005       GOOG-PLAY-000521369                                 12/6/2019 email from M. Theermann           Michael Marchak, Purnima Kochikar            Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     to M. Marchak                                                                                                                                                                declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                              Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay, Foundation                                        801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                              violations, unreasonable restraints of trade, unfair                                                                                                        807),
                                                                                                                                                              competition and/or tortious interference; proof of                                  Defendants: Incomplete; the introduction of any remaining portions
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                              Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                  the truth of the matter asserted, and not subject to any hearsay      Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has authenticating;
                                                                                                                                                                                                                                                  not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                  objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                  trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                  it.
  TEMP1006       GOOG-PLAY-000522209                                 Chat between K. Gambhir and M.                       Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Marchak (08/04/2020)                                   Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                         Marchak, Michael                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                            Pichai, Sundar                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1007       GOOG-PLAY-000542113.R                               Slide deck titled, "Understanding                  Cunningham, Edward                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Phone Switchers" (01/08/2016)                       Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1008       GOOG-PLAY-000542516.R    PX0354 Michael Marchak     Presentation dated 3/2019 titled     Michael Marchak; Mrinalini Loew; Paul Feng; Sarah   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     "Exploring new business models"                          Karam                                                                                                               and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                              Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                              violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                              competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                                                                                                  the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1009       GOOG-PLAY-000542827.R           PX 0353             Slide deck entitled "App                            Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Distribution" (09/2018)                                                                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP1010       GOOG-PLAY-000543085                                 Spreadsheet with filename Fortnite                  Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     installs_17gDw5HGIBy0q6pqtaYtA                      Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     kpJsQNdliynkUYA6Ut4E4oo.xlsx                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     (08/14/2018)                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1011       GOOG-PLAY-000548151             PX 0504             Email from P.Feng to V.Buch re                          Feng, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Samsung Pay / Play (01/05/2017)                                                          unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)..




                                                                                                                                                              36 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 67 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1012       GOOG-PLAY-000548187             PX 0839             Email from P.Feng to A.Pimplapure                            Feng, Paul                        Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Samsung Pay/Play (01/17/2017)                                                               unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1013       GOOG-PLAY-000549506.R       PX0537 Paul Feng        Presentation dated 11/2/2017 titled                    Paul Feng, Paul Gennai                  Defense to Plaintiffs' claims                                       Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Play Monetization"                                                                                                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Foundation                                                             (Rules 803, 804, 807)

  TEMP1014       GOOG-PLAY-000552442                                 6/22/2018 email from J. Rosenberg      Jamie Rosenberg; Purnima Kochikar; Jamie Rosenberg;     Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     to T. Sweeney                                       Mark Rein; Tim Sweeney                     counterclaims                                                                        personal knowledge                                                      201, 602, 901, 902)
  TEMP1015       GOOG-PLAY-000552603             PX 1469             Email from M. Sock to J. Rosenberg                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (07/12/2018)                                            Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1016       GOOG-PLAY-000553664                                 Email from P. Correa to R. Singla re                     Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Urgent: # of developers                                                                        unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (10/04/2018)                                                                                   tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies..
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)..
  TEMP1017       GOOG-PLAY-000555504                                 Email from R. Wyatt to R. Kyncl, C.                      Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Frot-Coutaz, et al. re Final Update:                     Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Project Bear Hug (from Google BC)                                                              tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                     (04/16/2019)                                                                                   conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                         objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                         trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                         it.
  TEMP1018       GOOG-PLAY-000556933             PX 0148             Email from K. Aviram Beatty to R.                        Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Wyatt and L. Koh re                                       Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     ABK Update - Armin Mtg                                                                         tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                     (11/27/2019)                                                                                   conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1019       GOOG-PLAY-000558446.R   PX1405 Hiroshi Lockheimer   Presentation dated July 2020 titled    Sameer Samat, Dave Kleidermacher, Purnima Kochikar, Defendants: Defense to Plaintiffs' claims                          Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     "Package installers in Tier 3 RSA"     Jim Kolotouros, Jamie Rosenberg, Paul Bankhead, Don                                                                                          declarant’s personal knowledge; Rule 802—exhibit contains               established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                                                                       Harrison, Hiroshi Lockheimer             Plaintiffs: Proof of Defendants’ liability for antitrust                                 inadmissible hearsay; Foundation                                        801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                                                                                                             807)
                                                                                                                                                                competition and/or tortious interference; proof of                                       Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                      602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                              the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                         the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                Counterclaims against Plaintiffs                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1020       GOOG-PLAY-000558461.R                               Package installers in Play RSA slide                     Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (05/12/2020)                                         Kolotouros, Jim                      unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1021       GOOG-PLAY-000559379.R                               Document titled, "Play update for                        Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Alphabet Board Q2'2020"                                     Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/01/2020)                                             Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Lockheimer, Hiroshi                    conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Marchak, Michael                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                               Pichai, Sundar                       Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                              Rosenberg, Jamie                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                 Porat, Ruth
                                                                                                                               Samat, Sameer
  TEMP1022       GOOG-PLAY-000559534.R           PX 0431             Slidedeck titled, "2019 Play P&L                         Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Review" (07/01/2019)                                      Samat, Sameer                        unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1023       GOOG-PLAY-000559842.R                               Presentation dated 4/2019 titled        Jamie Rosenberg; Michael Marchak; Paul Feng; Paul      Defense to Plaintiffs' claims                                       Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Project Hug: Boosting Top Game         Gennai; Purnima Kochikar; Sameer Samat; Lawrence                                                                                            602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Developer Support, Across Google"                      Koh; Paul Bankhead                                                                                                           knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),




                                                                                                                                                                   37 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 68 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                 Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1024       GOOG-PLAY-000559849.R                               Strawman - To be cleaned up slide                          Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     deck (07/19/2019)                                             Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1025       GOOG-PLAY-000560166     PX1528 Purnima Kochikar     Undated document titled                     Sameer Samat, Paul Feng, Sarah Karam, Purnima      Defendants: Defense to Plaintiffs' claims; proof of              Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     "Accelerators Proposal to decouple        Kochikar, Michael Marchak, Brandon Barras, Christian Match's liability for counterclaims                                                    declarant’s personal knowledge; Rule 802—exhibit contains               established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                     from Policy Enforcement"                                       Cramer                                                                                                                 inadmissible hearsay; Rule 901—proponent has not established            801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                               authenticity of the document; Foundation                                807); Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair
                                                                                                                                                                    competition and/or tortious interference; proof of                                     Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                            the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                       the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    Counterclaims against Plaintiffs                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1026       GOOG-PLAY-000560564                                 Presentation dated 5/2017 titled           Jamie Rosenberg, Michael Marchak, Paul Feng; Paul      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Amazon Response Plan"                     Gennai; Purnima Kochikar; Sameer Samat; Lawrence                                                                                           personal knowledge                                                      201, 602, 901, 902)
                                                                                                                               Koh, Jim Kolotouros                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                            Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                           misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                            Foundation
  TEMP1027       GOOG-PLAY-000560621.R                               Presentation dated 7/22/2016 titled         Paul Gennai, Michael Marchak; Purnima Kochikar        Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Close-the-Gap: Product Team                                                                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Update"                                                                                                                                                                               the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                           declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                           established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1028       GOOG-PLAY-000561051.R           PX 1460             Slide deck titled, "Project Magical                         Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Bridge" (05/01/2019)                                          Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                Rosenberg, Jamie                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                 Samat, Sameer                         Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1029       GOOG-PLAY-000561266                                 Google Play Q1' 19 Onboarding slide                         Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     deck (01/28/2019)                                          Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1030       GOOG-PLAY-000563280.R                               Slide deck titled, "App Accelerators                       Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (Hug for Apps)" (3/2/2020)                                 Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1031       GOOG-PLAY-000563747                                 Undated presentation titled "Project               Donald Harrison, Purnima Kochikar              Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Battlestar: Distributing Play's catalog                                                                                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                     on PCs Partnerships Discussion"                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                            Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                           misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                            Foundation
  TEMP1032       GOOG-PLAY-000564928                                 Slide deck titled, "Google Play -                             Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Business Model and Payment Policy                          Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Working Session" (09/30/2016)                              Marchak, Michael                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1033       GOOG-PLAY-000564952.R                               Agenda slide deck (07/12/2019)                                Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                Marchak, Michael                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                       38 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 69 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1034       GOOG-PLAY-000565172.R                               Presentation dated 6/19/2019 titled     Purnima Kochikar, Michael Marchak, Lawrence Koh        Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Project Hug Update @ PPS"                                                                                                                                                      Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                     Foundation                                                             201, 602, 901, 902)

  TEMP1035       GOOG-PLAY-000565541.R       PX 0522; PX 2862        Slidedeck titled, "Play Business                           Feng, Paul                          Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Model Thoughts" (03/22/2019)                            Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Marchak, Michael                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1036       GOOG-PLAY-000565846                                 Understanding Play's Key                                 Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Constituencies and Dynamics                                Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/26/2019)                                           Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                               Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                               Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Pichai, Sundar                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                              Rosenberg, Jamie                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Samat, Sameer
  TEMP1037       GOOG-PLAY-000565850                                 Project Hug: Risk & Leakage Model                        Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     slide deck (2/2018)                                     Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Koh, Lawrence                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1038       GOOG-PLAY-000571076.R           PX 0520             Presentation titled, "Subs Summit                        Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     2017" (02/09/2017)                                         Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Glick, Kobi                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1039       GOOG-PLAY-000571992.R           PX 0452             Slidedeck titled, "Amazon App                           Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Store" (06/01/2017)                                     Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Gennai, Paul                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1040       GOOG-PLAY-000574352.R                               Presentation entitled Subscriptions                        Feng, Paul                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     2017 XFN Deep-dive.                                     Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Marchak, Michael                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1041       GOOG-PLAY-000575018.R                               Slide deck titled "Amazon                               Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Underground User Experience"                             Kolotouros, Jim                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (11/2015)                                               Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1042       GOOG-PLAY-000577304.R           PX 1544             Slide deck titled, "Alley-oop                           Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Update" (11/01/2016)                                    Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Samat, Sameer                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1043       GOOG-PLAY-000578247.R                               Presentation dated 5/6/2015 titled    Sameer Samat, Jamie Rosenberg, Paul Feng, Paul Gennai, Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     "Project Alley-Oop: Improving                  Purnima Kochikar, Kirsten Rasanen                                                                                               confusing the issues and/or misleading to the jury, Rule                admissibility (Rules 401, 403), Foundation/personal
                                                                     Indirect App Discovery"                                                                                                                                                        602—exhibit contains statements not based on declarant’s personal       knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                    knowledge, Rule 802—exhibit contains inadmissible hearsay, Rule         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    901—proponent has not established authenticity of the document,         (Rules 803, 804, 807), Exhibit will be properly
                                                                                                                                                                                                                                                    Rule 106—exhibit is unfairly incomplete, Foundation                     authenticated (Rule 901), Exhibit is properly complete
                                                                                                                                                                                                                                                                                                                            (Rule 106),




                                                                                                                                                                   39 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 70 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1044       GOOG-PLAY-000578247.R                               Slide deck titled "Project Alley-Oop:                         Glick, Kobi                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     improving Indirect App Discovery                           Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/06/2015)                                               Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                 Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1045       GOOG-PLAY-000599130                                 Email re [Privileged] Mang… -                                Sameer Samat                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Won't this mean app stores can                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     clobbe.                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1046       GOOG-PLAY-000604882             PX 0711             Update on Play (06/21/2020)                                 Samat, Sameer                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                                                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1047       GOOG-PLAY-000607047.R           PX 0534             Slidedeck titled, "Google Play Points                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     - US" (05/30/2019)                                            Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                 Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1048       GOOG-PLAY-000607841                                 Email from D. Kleidermacher to T.                        Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lim re Play Abuse app vetting and                                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     AdultSwine (01/21/2018)                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)..
  TEMP1049       GOOG-PLAY-000608854             PX 1385             Email from M. Murphy to P.                                 Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Schindler re [BC Approval                                  Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Required] URGENT: Epic Games                              Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (07/21/2018)                                               Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1050       GOOG-PLAY-000608951.C     PX 918 Paul Bankhead      8/8/2018 email from A. Ahn to G.         Paul Bankhead, David Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Funk, S. Buitleir, H. Lee, J. Jones      Purnima Kochikar; Sameer Samat; Hiroshi Lockheimer;                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                 Paul Bankhead                                                                                                       the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                     declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                     established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1051       GOOG-PLAY-000608991             PX 0760             Email from S.Drennan to                                  Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     S.Mandujano re Feedback on                                Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Fortnite Statement (08/09/2018)                          Lockheimer, Hiroshi                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Rosenberg, Jamie                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                 Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1052       GOOG-PLAY-000609077             PX 1172             Email from J.Woloz to B.Bilodeau                           Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al. re Request for Fortnite Signing                     Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     keys (08/11/2018)                                           Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1053       GOOG-PLAY-000609304                                 Email from S. Lundberg to T. Baiao                       Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re An Android Spy App Left 1.7                              Samat, Sameer                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Million Passwords And Nude Photos                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Exposed To Hakers (08/22/2018)                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                     40 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 71 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1054       GOOG-PLAY-000612476                                 3/21/2020 email from K. Gambhir to Jamie Rosenberg; Michael Marchak; Purnima Kochikar; Defense to Plaintiffs' claims                                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     S. Samat, H. Lockheimer, D.         Sameer Samat; Lawrence Koh; Donald Harrison; Hiroshi                                                                                       403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Harrison, T. Lim, M. Hochberg, M.                       Lockheimer                                                                                                             the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                     Herring, N. Drake, J. Rosenberg, D.                                                                                                                                            declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                     Lucas, P. Kochikar                                                                                                                                                             established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1055       GOOG-PLAY-000613152.R                               Play Finance Overview slide deck                      Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,               Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (11/2017)                                              Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Lockheimer, Hiroshi                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP1056       GOOG-PLAY-000616686                                 Exec Summary (04/26/2019)                                Feng, Paul                      Proof of Defendants’ liability for antitrust violations,               Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                              unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)..
  TEMP1057       GOOG-PLAY-000748312.R                               Presentation dated 11/5/2018 titled               Paul Gennai, Dave Kleidermacher              Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "2019 Annual Plan: Platforms &                                                                                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Ecosystems Hiroshi/Ruth Review"                                                                                                                                                the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                    declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                    established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1058       GOOG-PLAY-000749042             PX 1471             Docuent titled, "Project Hug -                           Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Summary" (03/29/2019)                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)..
  TEMP1059       GOOG-PLAY-000749970.R                               Presentation dated 6/18/2015 titled    Donald Harrison, Purnima Kochikar; Hiroshi Lockheimer Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Google Play: Business Overview"                                                                                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Foundation                                                             (Rules 803, 804, 807)

  TEMP1060       GOOG-PLAY-000753155.R                               Presentation dated 6/2019 titled                          Cliff Samaniego                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Developer-Facing Pitch Materials                                                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                     for Project Hug"                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1061       GOOG-PLAY-000753605                                 Undated document titled "Google                           Cliff Samaniego                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Cloud Platform Addendum- Google                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                     Play Credits Program"                                                                                                                                                           Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    Foundation
  TEMP1062       GOOG-PLAY-000755904.R                               Presentation dated January 2017                          Purnima Kochikar                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     titled "Google Play Developer                                                                                                                                                   Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Sentiment Survey- Wave 2: Managed                                                                                                                                              personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                     Accounts Report"                                                                                                                                                                Foundation                                                             201, 602, 901, 902)

  TEMP1063       GOOG-PLAY-000759262             PX 0757             Email from D.Kleidermacher to                           Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     R.Mishra et al. re N. Korean Red                                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Dawn Cases (05/18/2018)                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies..
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)..
  TEMP1064       GOOG-PLAY-000761144         PX 0758; PX 1142        Email from M. Kleidermacher to S.                       Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Porstre Strategic problems Google                         Porst, Sebastian                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     must solve to move the needle in the                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Evidence’s probative value
                                                                     Android anti-malware space -                                                                   conduct; proof of appropriate injunctive relief; proof of                       Misleading; undue prejudice; confusion of issues; waste of time        not substantially outweighed by danger of unfair prejudice,
                                                                     Invitation to comment (08/23/2018)                                                             resulting damages; and/or proof rebutting allegations in                        (Fed. R. Evid. 403)., Hearsay; the exhibit is a statement made by      confusing the issues, misleading the jury, undue delay,
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        one other than the witness while testifying at trial, offered into     wasting time, and/or needlessly presenting cumulative
                                                                                                                                                                                                                                                    evidence to prove the truth of the matter asserted, and not subject to evidence; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                    any hearsay exception (Fed. R. Evid. 801 and 802)., Conditional        exception applies;
                                                                                                                                                                                                                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                    trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                    it.
  TEMP1065       GOOG-PLAY-000761572             PX 1145             Email from S.Mandujano to                               Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     D.Kleidermacher et al. re "Warn                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Vuln" (08/29/2018)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies..
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)..
  TEMP1066       GOOG-PLAY-000771172                                 Payment Security Assurance and                          Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Componets spread sheet, spec. look                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                     at "Incidents Metrics"                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies..
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                    41 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 72 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1067       GOOG-PLAY-000781586             PX 1475             Email from D. Harrison to B.                              Harrison, Donald                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kraham re BC Deal Review: agenda                                                                unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     for Tuesday, April 9th at 4:00 PM                                                               tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (04/10/2019)                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)..
  TEMP1068       GOOG-PLAY-000782270                                 Email from D. Harrison to K.                              Harrison, Donald                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Aviram re FW Supercell                                                                          unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (08/29/2019)                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)..
  TEMP1069       GOOG-PLAY-000783698                                 3/25/2020 email from T. Sweeney to                          Don Harrison                        Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     D. Harrison                                                                                     counterclaims                                                                                                                                            (Rules 803, 804, 807)
  TEMP1070       GOOG-PLAY-000783828                                 4/10/2020 email from T. Sweeney to                 Donald Harrison; Tim Sweeney                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403),
                                                                     D. Harrison                                                                                                                                                                      misleading to the jury, Rule 602—exhibit contains statements not        Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                      based on declarant’s personal knowledge, Rule 802—exhibit               201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                      contains inadmissible hearsay, Rule 901—proponent has not               hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                      established authenticity of the document, Foundation                    will be properly authenticated (Rule 901),

  TEMP1071       GOOG-PLAY-000785364             PX 1404             Document titled, "Strategic                              Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Partnerships Update"                                    Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                            Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                         into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                                                      Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                      exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                      introduce it.
  TEMP1072       GOOG-PLAY-000786226.R                               Presentation dated 2/2019 titled       Donald Harrison,Paul Gennai, Dave Kleidermacher; Jamie Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Mobile Game Developer Support"          Rosenberg; Sameer Samat; Sebastian Porst; Hiroshi                                                                                        Rule 901—proponent has not established authenticity of the            (Rules 803, 804, 807)
                                                                                                             Lockheimer; Jim Kolotouros; Purnima Kochikar, Paul                                                                                       document                                                                Exhibit will be properly authenticated (Rule 901)
                                                                                                               Bankhead, Mrinalini Loew, Paul Feng , Tian Lim,                                                                                         Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                                                                       Lawrence Koh, Michael Marchak                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or             Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                      misleading to the jury                                                  Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s         201, 602, 901, 902)
                                                                                                                                                                                                                                                      personal knowledge
                                                                                                                                                                                                                                                       Foundation
  TEMP1073       GOOG-PLAY-000797864                                 Document titled "Install Packages                       Cunningham, Edward                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Whitelist GTS Test"                                        Kamdar, Sagar                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                             Kleidermacher, Dave                     tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1074       GOOG-PLAY-000801782                                 Document titled, "Next Steps &                          Cunningham, Edward                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Open Questions" (11/27/2018)                                                                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies..
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1075       GOOG-PLAY-000802563.R                               Presentation dated 1/2017 titled             Edward Cunningham, Sebastian Porst, David          Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Malware Metrics Review"                                  Kleidermacher                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                      the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                      declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                      established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1076       GOOG-PLAY-000804726.R                               Presentation dated 10/12/2016 titled    Edward Cunningham, Paul Gennai, Sagar Kamdar, Paul Defense to Plaintiffs' claims                                           Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Speedbump"                                  Bankhead, Kirsten Rasanen, Sarah Karam                                                                                              403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                      the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                      declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                      established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1077       GOOG-PLAY-000808299             PX 1230             Android Compatibility Commitment                          Christensen, Eric                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (10/28/2020)                                                                                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies..
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1078       GOOG-PLAY-000808425                                 8/11/2020 letter from Google to S.                         Jim Kolotouros                       Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kang                                                                                                                                                                             602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                      knowledge, Rule 106—exhibit is unfairly incomplete, Rule                be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to     properly complete (Rule 106), Balance favors admissibility
                                                                                                                                                                                                                                                      the jury, Rule 901—proponent has not established authenticity of        (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                      the document, Foundation                                                (Rule 901),
  TEMP1079       GOOG-PLAY-000813755                                 Email from B. Rakowski to S.                            Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Cuthbertson re android monetization                                                             unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/19/2015)                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)..




                                                                                                                                                                     42 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 73 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                                       DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1080       GOOG-PLAY-000819082.R                               Undated presentation titled              Hiroshi Lockheimer            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android, Chrome OS & Play"                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                             Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                            misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                            Foundation
  TEMP1081       GOOG-PLAY-000819719.R                               Undated presentation titled              Hiroshi Lockheimer            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Operation: Swagger, Android                                                                                                                            Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     Marketing 2017 Strategy"                                                                                                                                Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                            personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                             Foundation                                                             201, 602, 901, 902)

  TEMP1082       GOOG-PLAY-000830885.R                               Email from B. Woodward to S.               Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Karam and G. Weakley Johnson re           Kolotouros, Jim              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Update on DDA enforcement                 Rosenberg, Jamie             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (11/20/2014)                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1083       GOOG-PLAY-000831600                                 Email from L. Fontaine to K. Wang         Rosenberg, Jamie             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Amazon latest developments                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (12/13/2014)                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)..
  TEMP1084       GOOG-PLAY-000832219                                 Email from J. Rosenberg to S. Samat       Rosenberg, Jamie             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re [Industryinfo] Amazon Quietly           Samat, Sameer               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Launches A Functional App Store                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Within Its Maid Android Application                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                     (03/14/2015)                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1085       GOOG-PLAY-000832471                                 Email from T. Hrivnak to N. Bock re       Kolotouros, Jim              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Re: Google Play discovery widget?"        Rosenberg, Jamie             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/24/2015)                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1086       GOOG-PLAY-000834465                                 Email re Fwd: Contributed article in     Rosenberg, Jamie              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     The Next Web: ""What app                 Kochikar, Purnima             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     developers can learn from games.          Samat, Sameer                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                              Rosenberg, Jamie              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1087       GOOG-PLAY-000835445                                 Email from C. D'Silva to A.               Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Abramson et al. re [Notes] PR:             Gennai, Paul                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Samsung Play Assist (06/02/2016)        Lockheimer, Hiroshi            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                              Rosenberg, Jamie              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                               Samat, Sameer                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1088       GOOG-PLAY-000835662             PX 0622             Email from J.Kolotouros to                Kolotouros, Jim              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     J.Rosenberg re MADA Renewal             Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/15/2016)                             Rosenberg, Jamie              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                            43 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 74 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1089       GOOG-PLAY-000836440                                 Email from S. Samat to H.                             Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Netflix / Subscription                   Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     billing                                                 Samat, Sameer                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1090       GOOG-PLAY-000837792                                 12/1/2016 email from B. Kim to P.              Purnima Kochikar, Jamie Rosenberg            Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kochikar                                                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                     the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                     declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                     established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1091       GOOG-PLAY-000838136     PX1536 Purnima Kochikar     1/12/2017 email from P. Kochikar to    Brandon Barras, Jamie Rosenberg; Paul Feng; Sameer   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     K. Rasanen                                          Samat; Purnima Kochikar                                                                                                     and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                 competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                 Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                     602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                     the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1092       GOOG-PLAY-000838152             PX 0501             Email from P.Feng to S.Samat re                           Feng, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Tinder and Google Play Billing                         Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     [Concern] (01/17/2017)                                  Samat, Sameer                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1093       GOOG-PLAY-000838161             PX 1437             Email from S. Samat to K. Rasanen                         Feng, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Tinder and Google Play Billing                      Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (Concern) (01/17/2017)                                 Rasanen, Kirsten                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1094       GOOG-PLAY-000838898.R                               Email from J. Rosenberg to K.                         Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Temsamani re Please read: Important                    Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     issue with Jio in India (02/24/2017)                                                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1095       GOOG-PLAY-000840773       PX0704 Sameer Samat       6/27/2017 email from B. Barras to      Brandon Barras, Jamie Rosenberg; Paul Feng; Sameer   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     S. Samat                                                     Samat                                                                                                              and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                 competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                 Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                     602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                     the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1096       GOOG-PLAY-000846070                                 Email from S. Ahmed to P. Gennai                         Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     re [Time Sensitive] Raise potential                    Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                     Samsung deal at Hug BC?                                                                     tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                     (03/28/2019)                                                                                conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                     subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                                                     Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                     exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                     introduce it.




                                                                                                                                                                 44 of 220
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                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1097       GOOG-PLAY-000846390                                 Email from J Rosenberg to H.                         Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Samsung trip                            Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                     (06/03/2019)                                           Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                                                Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                introduce it.
  TEMP1098       GOOG-PLAY-000846687             PX 1191             Email from M. Perez Guerra to J.                       Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re googleplayfair.com                         Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                     website improvements (06/25/2019)                                                          tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            Plaintiffs’ claims or defenses; Evidence’s probative value
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       confusion of issues; waste of time (Fed. R. Evid. 403)., Personal       not substantially outweighed by danger of unfair prejudice,
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        knowledge; lack of foundation (Fed. R. Evid. 602)., Opinion             confusing the issues, misleading the jury, undue delay,
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        testimony by Lay Witness (Fed. R. Evid. 701)., Hearsay; the exhibit wasting time, and/or needlessly presenting cumulative
                                                                                                                                                                                                                                                is a statement made by one other than the witness while testifying at evidence; One or more witnesses have foundation to testify
                                                                                                                                                                                                                                                trial, offered into evidence to prove the truth of the matter asserted, concerning the exhibit; Opinion, if any, is rationally based
                                                                                                                                                                                                                                                and not subject to any hearsay exception (Fed. R. Evid. 801 and         on the author’s perception; is helpful to clearly understand
                                                                                                                                                                                                                                                802)., Conditional objection; defendants reserve the right to object testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                to this exhibit at trial depending on the purpose for which plaintiffs on knowledge within the scope of Rule 702; Exhibit does
                                                                                                                                                                                                                                                seek to introduce it.                                                   not contain hearsay and/or a hearsay exception applies;

  TEMP1099       GOOG-PLAY-000847430                                 1/13/2020 email from T. Sweeney to Donald Harrison, Hiroshi Lockheimer, Jamie Rosenberg; Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     H. Lockheimer                                           Tim Sweeney                                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                the document, Foundation                                                will be properly authenticated (Rule 901),
  TEMP1100       GOOG-PLAY-000847440                                 Email from S. Samat to S.                            Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Deutchman re Davos (01/18/2020)                       Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1101       GOOG-PLAY-000848965.R           PX 1063             Email from M. Murphy re                                Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     [Deal_review] [BC Deal Review]                         Li, Christopher                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Email Approval Requested:                            Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     Samsung Revenue Share Renewal                         Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                     (06/02/2020)                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1102       GOOG-PLAY-000850121                                 Undated presentation titled "Google   Jamie Rosenberg, Hiroshi Lockheimer, Sameer Samat,   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Apps Mobile Productivity Suite HTC               Paul Gennai, Jim Kolotouros                                                                                                Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     & Sony Android Distribution"                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                 Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                                                 Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1103       GOOG-PLAY-000853490                                 Email from D. Thevenon to K.                           Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kolotouros re FW Carrier billing                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     contract - Placement clause                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (06/12/2014)                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)..
  TEMP1104       GOOG-PLAY-000853688                                 Email from J. Kolotouros to R.                         Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Maheshwari and D. Thevenon re                                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Review of Android Placements                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Requirements (07/15/2014)                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)..
  TEMP1105       GOOG-PLAY-000853757                                 Email from J. Kolotouros to D.                         Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Thevenon re Sony/Google Now                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (07/30/2014)                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)..
  TEMP1106       GOOG-PLAY-000855571             PX 0618             Email from J.Kolotouros to                             Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     H.Lockheimer re Follow Up                            Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     (08/06/2015)                                                                               tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                                                                                                                                                objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                it.




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                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1107       GOOG-PLAY-000855825             PX 0642             Chat between J.Kolotouros and                           Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     O.Indonie (09/04/2015)                                    Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                           Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                              Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                              Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                           Lockheimer, Hiroshi                                                                                                   to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                               Pichai, Sundar                                                                                                    hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                             Rosenberg, Jamie                                                                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                              Samat, Sameer                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                 it.
  TEMP1108       GOOG-PLAY-000860818             PX 0780             Samsung - CES 2019 Exec                                 Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Summary (01/10/2019)                                                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies..
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1109       GOOG-PLAY-000861031                                 Email from J. Kolotouros to S. Lee                      Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re Update on FamilyLink and Digital                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Well Being distribution post exec                                                           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies..
                                                                     meeting(s) in Korea (04/30/2019)                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1110       GOOG-PLAY-000875679                                 Document dated 1/24/2020 titled                           Paul Gennai                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Ecosystem User Analysis"                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                 personal knowledge                                                      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                 misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  Foundation
  TEMP1111       GOOG-PLAY-000879069.R                               Google Play Project Banyan slide                       Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     deck (3/2019)                                          Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.
  TEMP1112       GOOG-PLAY-000879194.R                               Presentation dated 4/2017 titled                          Paul Gennai                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Amazon competitor deep dive"                                                                                                                                               602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                 knowledge, Rule 403—unfairly prejudicial, confusing the issues         be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                 and/or misleading to the jury, Rule 901—proponent has not              admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                 established authenticity of the document, Foundation                   authenticated (Rule 901),
  TEMP1113       GOOG-PLAY-000880576.R       PX 0290; DX 0446        Pixel Switching Study Presentation                      Rasanen, Kirsten                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     (01/18/2017)                                            Schmidt, Douglas                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1114       GOOG-PLAY-000889777             PX 1561             Document titled, DRAFT: Terrorist                       Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     App Prevention on Play                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/13/2016)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)..
  TEMP1115       GOOG-PLAY-000890426.R                               Google Play BizOps, Strategy, and                       Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Analytics slide deck (01/14/2015)                         Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                           Lockheimer, Hiroshi                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer
  TEMP1116       GOOG-PLAY-000891918                                 Undated document titled                                    Paul Gennai                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Subscription Billing in Play: Billing                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Policy"                                                                                                                                                                     personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or             201, 602, 901, 902)
                                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  Foundation
  TEMP1117       GOOG-PLAY-000909897.R                               Presentation dated 12/2019 titled        Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Developer Sentiment Survey"              Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                  Rosenberg, Sameer Samat, Paul Gennai                                                                                           knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                 and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                 established authenticity of the document, Foundation                    authenticated (Rule 901),




                                                                                                                                                                 46 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 77 of 250 JOINT TRIAL EXHIBIT LIST
                                                                                                                                      DISPUTED EXHIBITS




                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1118       GOOG-PLAY-000911673.R                               Undated presentation titled "CN            Paul Gennai                Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Domestic Apps"                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                           misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                           personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                            Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                           witness
                                                                                                                                                                                                                            Foundation
  TEMP1119       GOOG-PLAY-000920405                                 Email from L. Zhang to D. Song re         Koh, Lawrence               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Google BC Review (04/10/2019)                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..
  TEMP1120       GOOG-PLAY-000921161             PX 0144             Email from L. Koh to J. Heurlin re        Koh, Lawrence               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Ads Credit Addendum for King                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (07/19/2019)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP1121       GOOG-PLAY-000927702             PX 0152             Terms for Strategic Partnership           Koh, Lawrence               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     between Google LLC and                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Activision Blizzard King                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (01/24/2020)                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..
  TEMP1122       GOOG-PLAY-000928690             PX 0156             Email from G. Yousling to L. Koh re       Koh, Lawrence               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Riot & GVP (02/18/2020)                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..
  TEMP1123       GOOG-PLAY-000933520.R     PX0139 Lawrence Koh       Undated presentation titled "Games        Lawrence Koh                Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Velocity Program Review"                                                                                                                               Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                           personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                            Rule 901—proponent has not established authenticity of the             201, 602, 901, 902)
                                                                                                                                                                                                                           document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                            Foundation
  TEMP1124       GOOG-PLAY-000934136                                 Email from S. Thomson to P. Correa      Kochikar, Purnima             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re [IMPORTANT] FW Update on             Marchak, Michael              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Spry Fox (12/14/2018)                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1125       GOOG-PLAY-000934740             PX 0355             Email from R. Sharif to F. Hu et al     Marchak, Michael              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re FOP value (04/23/2019)                                             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..
  TEMP1126       GOOG-PLAY-000934804                                 Email from M. Marchak to J.             Marchak, Michael              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     O'Connor re Value of Billing                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/14/2019)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..
  TEMP1127       GOOG-PLAY-000934959                                 Email re Re: Value Exchange:             Karam, Sarah                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Play/Google <-> Tinder/Match            Marchak, Michael              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Group.                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1128       GOOG-PLAY-000935201             PX 0391             Email from I. Wang to M. Marchak        Marchak, Michael              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Play Value Breakdown                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (08/06/2019)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)..




                                                                                                                                           47 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 78 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1129       GOOG-PLAY-000935269                                 Email from F. Hu to M. Marchak re                      Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Questions to Paul: Discovery Value                                                           unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Changes.                                                                                     tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)..
  TEMP1130       GOOG-PLAY-000936467                                 1/22/2020 email from M. Oh to R.                         Sameer Samat                        Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Pandey and M. Marchak                                                                                                                                                              106—exhibit is unfairly incomplete; Rule 602—exhibit contains         (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                        statements not based on declarant’s personal knowledge                106); Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                                                                                              (Rules 201, 602, 901, 902)
  TEMP1131       GOOG-PLAY-000936826             PX 0363             Email from L. Koh to K. Gambhir et                    Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     al. re <Action Needed> Riot & GVP                      Koh, Lawrence                         unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (02/18/2020)                                          Marchak, Michael                       tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1132       GOOG-PLAY-000940317                                 Document titled, "Goals &                              Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Approach" re MP model                                                                        unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (08/15/2019)                                                                                 tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies..
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)..
  TEMP1133       GOOG-PLAY-000942232.R                               Presentation dated 2/6/2018 titled   Michael Marchak; Purnima Kochikar; Kirsten Rasanen      Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Play Apps & Games BD Team                                                                   counterclaims                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                     Meeting"                                                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Foundation
  TEMP1134       GOOG-PLAY-000946262             PX 0516             Email from L.Koh to P.Feng re                             Feng, Paul                         Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Gameplanning Out What Happens if                        Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Subs Rev Share Goes to 15%                                                                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (06/04/2019)                                                                                 conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1135       GOOG-PLAY-000953420.R           PX 0533             Slidedeck titled, "Play Points"                            Feng, Paul                        Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (12/05/2018)                                                                                 unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies..
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)..
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1136       GOOG-PLAY-000957447             PX 0137             Email from M. Murphy to J.                            Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Dischler re BC Deal Review:                           Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Agenda for Tuesday, April 9th at                      Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     4:00PM (04/19/2019)                                  Lockheimer, Hiroshi                     conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Rosenberg, Jamie                       resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Samat, Sameer                         Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1137       GOOG-PLAY-000963667     PX1388 Hiroshi Lockheimer   2/5/2020 email from H. Lockheimer     Purnima Kochikar, Sameer Samat, Donald Harrison,       Defendants: Defense to Plaintiffs' claims                       Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     to S. Samat                                         Hiroshi Lockheimer                                                                                                             and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                  Plaintiffs: Proof of Defendants’ liability for antitrust                              statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                  violations, unreasonable restraints of trade, unfair                                  802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                  competition and/or tortious interference; proof of                                    has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                           Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                      ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                  Counterclaims against Plaintiffs                                                      .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                        602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1138       GOOG-PLAY-000964777         PX0125 Tian Lim         4/9/2020 email from T. Lim to P.     Purnima Kochikar; Sameer Samat; Lawrence Koh; Paul Defense to Plaintiffs' claims; proof of Epic's liability for              Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kochikar                                            Bankhead; Paul Feng                 counterclaims                                                                              Rule 106—exhibit is unfairly incomplete                               (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       Exhibit is properly complete (Rule 106)
                                                                                                                                                                                                                                                        Foundation                                                             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                              201, 602, 901, 902)
  TEMP1139       GOOG-PLAY-000987074                                 Email from S. Ginevan to P.                             Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Bankhead re [android-security-                                                               unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     truthiness] Re: FYI: New Android                                                             tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     Malware Found in 144 GooglePlay                                                              conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies..
                                                                     Apps (11/20/2017)                                                                            resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)..




                                                                                                                                                                  48 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 79 of 250                  JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1140       GOOG-PLAY-000987191                                 Presentation dated 10/2017 titled     Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android OS US Tracking Report"        Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                               Rosenberg, Sameer Samat, Paul Gennai                                                                                           knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                              and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                              established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP1141       GOOG-PLAY-001003110                                 Document titled "Android enterprise                  Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     overview" (01/22/2017)                                 Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Pichai, Sundar                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP1142       GOOG-PLAY-001008497                                 Email from S. Samat to A.                             Samat, Sameer                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Abramson re Proposal for App store                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                     integration (04/05/2016)                                                                 tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            Plaintiffs’ claims or defenses; Evidence’s probative value
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       confusion of issues; waste of time (Fed. R. Evid. 403)., Personal       not substantially outweighed by danger of unfair prejudice,
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the        confusing the issues, misleading the jury, undue delay,
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        exhibit is a statement made by one other than the witness while         wasting time, and/or needlessly presenting cumulative
                                                                                                                                                                                                                                              testifying at trial, offered into evidence to prove the truth of the    evidence; One or more witnesses have foundation to testify
                                                                                                                                                                                                                                              matter asserted, and not subject to any hearsay exception (Fed. R.      concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                                                                              Evid. 801 and 802)..                                                    and/or a hearsay exception applies..
  TEMP1143       GOOG-PLAY-001008512             PX 0687             Email from S.Samat to P.Bankhead                      Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Proposal for App Store                             Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                     Integration (04/06/2016)                                                                 tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            Plaintiffs’ claims or defenses; Evidence’s probative value
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       confusion of issues; waste of time (Fed. R. Evid. 403)., Personal       not substantially outweighed by danger of unfair prejudice,
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the        confusing the issues, misleading the jury, undue delay,
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        exhibit is a statement made by one other than the witness while         wasting time, and/or needlessly presenting cumulative
                                                                                                                                                                                                                                              testifying at trial, offered into evidence to prove the truth of the    evidence; One or more witnesses have foundation to testify
                                                                                                                                                                                                                                              matter asserted, and not subject to any hearsay exception (Fed. R.      concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                                                                              Evid. 801 and 802)., Conditional objection; defendants reserve the      and/or a hearsay exception applies;
                                                                                                                                                                                                                                              right to object to this exhibit at trial depending on the purpose for
                                                                                                                                                                                                                                              which plaintiffs seek to introduce it.

  TEMP1144       GOOG-PLAY-001010941                                 Email from P.Feng to L.Lin re PR                      Samat, Sameer                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     for Subscriptions Policy Change                         Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (09/08/2017)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1145       GOOG-PLAY-001011168       PX0706 Sameer Samat       10/18/2017 email from S. Samat to           Hiroshi Lockheimer, Sameer Samat             Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     H. Lockheimer                                                                                                                                                            106—exhibit is unfairly incomplete, Rule 403—unfairly prejudicial, (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                              confusing the issues and/or misleading to the jury, Rule              106), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                              602—exhibit contains statements not based on declarant’s personal Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              knowledge, Rule 901—proponent has not established authenticity 201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                              of the document, Foundation                                           (Rule 901),
  TEMP1146       GOOG-PLAY-001013668                                 Message from J. Rosenberg to S.                      Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Samat re Ruminations on Pl... -                       Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Thinking back to how these app                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit is relevant to one or
                                                                     store ... (08/07/2019)                                                                   conduct; proof of appropriate injunctive relief; proof of                       Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;          more of Plaintiffs’ claims or defenses; Evidence’s probative
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        confusion of issues; waste of time (Fed. R. Evid. 403)., Hearsay;     value not substantially outweighed by danger of unfair
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        the exhibit is a statement made by one other than the witness while prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                              testifying at trial, offered into evidence to prove the truth of the  delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                              matter asserted, and not subject to any hearsay exception (Fed. R. cumulative evidence; Exhibit does not contain hearsay
                                                                                                                                                                                                                                              Evid. 801 and 802)., Conditional objection; defendants reserve the and/or a hearsay exception applies;
                                                                                                                                                                                                                                              right to object to this exhibit at trial depending on the purpose for
                                                                                                                                                                                                                                              which plaintiffs seek to introduce it.

  TEMP1147       GOOG-PLAY-001018461.R                               Play Payments Policy slide deck                         Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (06/17/2020)                                          Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1148       GOOG-PLAY-001018676.R   PX 436; PX 1769; PX1615     Presentation titled, "Compute -                     Harrison, Donald;                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Playform & Ecosystem - Devices &                   Lockheimer, Kristen;                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Services - Board of Directors                         Pichai, Sundar                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     Update"                                              Rasaken, Kristen                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                              49 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 80 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1149       GOOG-PLAY-001021912.R                               Welcome to Android: Noogler                             Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Onboarding! slide deck (03/02/2020)                       Pichai, Sundar                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1150       GOOG-PLAY-001027055                                 Email from D/ Kleidermacher to J.                      Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Huang re fortnite update                                Ostrowski, Tristan                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (08/16/2018)                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1151       GOOG-PLAY-001030851                                 3/25/2019 email from P. Kochikar to               Sameer Samat, Jamie Rosenberg               Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     S. Samat                                       Purnima Kochikar, Hiroshi Lockheimer                                                                                           602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                   knowledge                                                         be established (Rules 201, 602, 901, 902)

  TEMP1152       GOOG-PLAY-001031377             PX 1456             Email from S. Samat to J. Rosenberg                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     et al re Project Hug Approved!                           Cramer, Christian                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (04/19/2019)                                             DiVento, Anthony                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Koh, Lawrence                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                               Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1153       GOOG-PLAY-001031806                                 Email from T. Lim to P. Kochikar et                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     al. re Update on Galaxy Store launch                        Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                     (05/24/2019)                                             Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                               Li, Christopher                     conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                   subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                                                   Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                   exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                   introduce it.
  TEMP1154       GOOG-PLAY-001037106             PX 1147             Email from J.Woloz to S.Porst et al.                   Kleidermacher, Dave                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     re Upstream Secure-D Detects                             Porst, Sebastian                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Malware Spike (06/04/2020)                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1155       GOOG-PLAY-001041272.R                               Slide deck with filename Store as a                    Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,            Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     destination - UX staff                                                                     unreasonable restraints of trade, unfair competition and/or                        Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     presen_18wyeGDitSTUNYaZtlcOTj                                                              tortious interference; proof of Defendants’ discovery                              witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                     y09QclH7dxZXFAB4yqsjcU.pptx;St                                                             conduct; proof of appropriate injunctive relief; proof of                          truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                     ore as a destination - UX staff                                                            resulting damages; and/or proof rebutting allegations in                           exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                     presenta_18wyeGDitSTUNYaZtlcO                                                              Defendants’ Answers and Counterclaims against Plaintiffs                           not been properly authenticated (Fed. R. Evid. 901).
                                                                     Tjy09QclH7dxZXFAB4yqsjcU.pptx
                                                                     (02/24/2020)
  TEMP1156       GOOG-PLAY-001041796.R                               Presentation dated 3/2020 titled      Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                           Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Smartphone Purchase Journey        Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                    personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     2019: Canada Findings"                  Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                           hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                   misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                   authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP1157       GOOG-PLAY-001042637.R                               Presentation dated 3/2020 titled         Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     2019: UK Findings"                         Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                        hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                   misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                   authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP1158       GOOG-PLAY-001055565                                 Email from W. McNeel to C.                               Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602)., Cond; One or more witnesses have foundation to testify
                                                                     Brodman re Google market feeds                            Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Incomplete; the introduction of any remaining portions ought, in      concerning the exhibit; Contains all parts that in fairness
                                                                     (09/27/2010)                                           Kleidermacher, Dave                    tortious interference; proof of Defendants’ discovery                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., ought to be considered at the same time; Exhibit does not
                                                                                                                             Kochikar Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        contain hearsay and/or a hearsay exception applies;
                                                                                                                               Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the Evidence’s probative value not substantially outweighed by
                                                                                                                              Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          danger of unfair prejudice, confusing the issues, misleading
                                                                                                                            Lockheimer, Hiroshi                                                                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                               Pichai, Sundar                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., presenting cumulative evidence; Exhibit is what the
                                                                                                                               Samat, Sameer                                                                                                       Authentication; exhibit has not been properly authenticated (Fed. R. proponent claims it is and/or is self-authenticating.
                                                                                                                             Rosenberg, Jamie                                                                                                      Evid. 901).
                                                                                                                                Rubin, Andy
  TEMP1159       GOOG-PLAY-001058642.R           PX 1457             Slide deck titled, "Project Banyan,                     Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Hug and RSA / Play Kicker: Risk &                       Marchak, Michael                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Leakage Models (Privileged and                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                     Confidential) (02/01/2018)                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue        undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence; Exhibit is what the proponent claims
                                                                                                                                                                                                                                                   Authentication; exhibit has not been properly authenticated (Fed. R. it is and/or is self-authenticating.
                                                                                                                                                                                                                                                   Evid. 901).




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 81 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1160       GOOG-PLAY-001059725.R                               Presentation dated 3/2019 titled         Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     "Hug: Ads/Play Credits"                Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible             201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                            Kolotouros; Purnima Kochikar, Paul Bankhead, Mrinalini                                                                                 hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                               Loew, Paul Feng                                                                                                     misleading to the jury, Rule 901—proponent has not established         favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                   authenticity of the document, Foundation                               properly authenticated (Rule 901),
  TEMP1161       GOOG-PLAY-001069664                                 Document entitled "Don/Reed                              Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Negotiation escalation"                                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                   not been properly authenticated (Fed. R. Evid. 901)., Misleading;      the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                   undue prejudice; confusion of issues; waste of time (Fed. R. Evid. presenting cumulative evidence;
                                                                                                                                                                                                                                                   403)., Conditional objection; defendants reserve the right to object
                                                                                                                                                                                                                                                   to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                                                                                                                                                   seek to introduce it.
  TEMP1162       GOOG-PLAY-001075583             PX 0948             Email from A. Rubin to A. Rubin re                          Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Market Approval Needed for Blog:                           Rubin, Andy                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     70% of Revenue to Developers?                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (10/21/2008)                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1163       GOOG-PLAY-001075587             PX 0299             Email from Google Documents [on                              Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     behalf of E. Chu] to E. Chu re                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Android’s User-Driven Content...                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (10/22/2008)                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1164       GOOG-PLAY-001076429                                 Email from C. Pruett to G. Bala re                       Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Android Development? (04/03/2009)                           Chu, Eric                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Harrison, Don                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kleidermacher, Dave                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                             Kochikar Purnima                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                               Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Kolotouros, Jim                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond
                                                                                                                            Lockheimer, Hiroshi
                                                                                                                               Pichai, Sundar
                                                                                                                               Samat, Sameer
                                                                                                                             Rosenberg, Jamie
  TEMP1165       GOOG-PLAY-001076519.R           PX 0323             Presentation titled, "Android -                             Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Ecosystem Overview (3/2009)                                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., 902, Personal knowledge; lack of        Plaintiffs’ claims or defenses; 902, One or more witnesses
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered   does not contain hearsay and/or a hearsay exception
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not        applies.
                                                                                                                                                                                                                                                   subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP1166       GOOG-PLAY-001076876             PX 0968             Email from A.Rubin to T.Wilk re                             Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier Billing Pricing (06/06/2009)                       Rubin, Andy                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1167       GOOG-PLAY-001079129             PX 0325             Email from E.Chu to A.Rubin re                             Rubin, Andy                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Notes from a Meeting with Samsung                           Chu, Eric                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (11/14/2009)                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies. , Evidence’s
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond, Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                   Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1168       GOOG-PLAY-001080803             PX 0328             Email from E. Chu to P. Wu et al. re                         Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Proposed Sony Gaming Contract                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                     Terms (6/14/2010)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                   resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                   truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).
  TEMP1169       GOOG-PLAY-001081010             PX 0329             Email from E. Chu to A. Rubin re                             Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Sony Gaming Guidance Updates -                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                     Guidance Requested (7/13/2010)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                   resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                   truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                   51 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 82 of 250   JOINT TRIAL EXHIBIT LIST
                                                                                                                                        DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1170       GOOG-PLAY-001083890             PX 0312             Email from J. Lagerling to E. Chu re          Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     FW Meeting notes from meeting               Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,    the same time; One or more witnesses have foundation to
                                                                     with Eric Chu (08/23/2011)                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;     testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies. , Evidence’s
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Cond, Misleading; undue        undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,   cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                             Relevance (Fed. R. Evid. 402).                                        Plaintiffs’ claims or defenses.
  TEMP1171       GOOG-PLAY-001083913             PX 0318             Email from E. Chu to J. Lagerling et          Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     al. re SamsungApps issue with                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,    the same time, One or more witnesses have foundation to
                                                                     America Movil (8/26/2011)                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                             resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                                                                             truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             402)., Misleading; undue prejudice; confusion of issues; waste of     the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             time (Fed. R. Evid. 403).                                             presenting cumulative evidence
  TEMP1172       GOOG-PLAY-001088593                                 Document titled Buy Flow                      Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;     One or more witnesses have foundation to testify
                                                                     Discussion (06/03/2020)                     Samat, Sameer               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies. , Evidence’s probative
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Cond, Misleading; undue        prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                   cumulative evidence.
  TEMP1173       GOOG-PLAY-001088669.R                               Play Payments Policy slide deck            Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; One or more witnesses have foundation to testify
                                                                     (10/31/2019)                                  Chu, Eric                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                 Harrison, Don               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies.
                                                                                                              Kleidermacher, Dave            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                               Kochikar Purnima              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Cond
                                                                                                                 Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs
                                                                                                                Kolotouros, Jim
                                                                                                              Lockheimer, Hiroshi
                                                                                                                 Pichai, Sundar
                                                                                                                 Samat, Sameer
                                                                                                               Rosenberg, Jamie
  TEMP1174       GOOG-PLAY-001088688             PX 0317             Play- YT Business Discussions                 Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of           Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Document (06/09/2020)                                                   unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement  defenses; One or more witnesses have foundation to testify
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not      and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,        value not substantially outweighed by danger of unfair
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        Misleading; undue prejudice; confusion of issues; waste of time       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                             (Fed. R. Evid. 403).                                                  delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                   cumulative evidence.
  TEMP1175       GOOG-PLAY-001090138                                 8/11/2020 letter from Google to E.          Jim Kolotouros              Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Christensen                                                                                                                                             602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                             knowledge, Rule 106—exhibit is unfairly incomplete, Rule              be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                             901—proponent has not established authenticity of the document, properly complete (Rule 106), Exhibit will be properly
                                                                                                                                                                                                                             Foundation                                                            authenticated (Rule 901),
  TEMP1176       GOOG-PLAY-001090916                                 Email [on behalf of] D. Morrill to D.    Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Conway re Handango app violates                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Market TOS (android-                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     vendingmachine) (05/19/2009)                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP1177       GOOG-PLAY-001090948                                 Email [on behalf of] D. Morrill to       Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Android Advocates re Change in                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     default revenue share (android-                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     vendingmachine) (07/17/2009)                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP1178       GOOG-PLAY-0011268914            PX 1596             Collection of meeting notes for             Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Match/Google AVP discussions               Barras, Brandon              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                               Garcia Rios, Diana            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1179       GOOG-PLAY-001127244                                 8/15/2013 email from B. Rutledge to       Hiroshi Lockheimer            Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete                                 Exhibit is properly complete (Rule 106)
                                                                     H. Lockheimer                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                              Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                             personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                              Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                              Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1180       GOOG-PLAY-001139717             PX 1613             Document titled, "BC Deal Meeting        Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Notes (2019)" (12/21/2018)                                              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                     cumulative evidence.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 83 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                       Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1181       GOOG-PLAY-001141570.R           PX 0433             Presentation dated 11/6/2020 titled   Paul Gennai; Hiroshi Lockheimer; Sameer Samat;    Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                     "2021 Annual Plan- Finance Fact                      Purnima Kochikar                                                                                                       and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                     Pack Platforms & Ecosystems"                                                            Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                             violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                             competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                                                                                                 the truth of the matter asserted, and not subject to any hearsay      value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Misleading; undue             prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                       cumulative evidence.

  TEMP1182       GOOG-PLAY-001146896                                 Email from J. Rosenberg to A.                       Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Ruben re Google Play rebranding                       Rubin, Andy                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     strategy (12/19/2011)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1183       GOOG-PLAY-001163129                                 Email from S. Pinchai to L. Lin re                 Lockheimer, Hiroshi                  Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; One or more witnesses have foundation to testify
                                                                     Heads-up: a follow up story on                       Pichai, Sundar                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Cyanogen by Amir/TheInformation                     Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is relevant to
                                                                     (10/02/2014)                                                                            conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            Evid. 402)., Misleading; undue prejudice; confusion of issues; waste unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 of time (Fed. R. Evid. 403).                                          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                       cumulative evidence.
  TEMP1184       GOOG-PLAY-001164647             PX 0582             Email from S. Beaumont to P.                          Gennai, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Gennai re Context on Onestore                       Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (08/09/2016)                                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1185       GOOG-PLAY-001165229             PX 0809             Email from J. Rosenberg to S. Samat                 Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Subs policy stuff (09/09/2017)                    Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1186       GOOG-PLAY-001165245                                 Email from J. Rosenberg to K.                          Feng, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rasanen re Re: [For your review]                    Rasanen, Kirsten                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Policy Update Open Questions                        Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                     (09/18/2017)                                         Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1187       GOOG-PLAY-001165260             PX 1438             Email from K. Rasanen to J.                            Feng, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re (For Your Preview)                     Rasanen, Kirsten                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Policy Update Open Questions                        Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                     (09/18/2017)                                         Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1188       GOOG-PLAY-001166237             PX 0632             Email from J. Kolotouros to J.                      Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg and K. Lee re Regarding                   Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     next steps with Samsung on the app                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                     distribution proposal (06/05/2019)                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                 Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1189       GOOG-PLAY-001174340                                 12/3/2015 email from J. Kolotouros                   Jim Kolotouros                     Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     to T. Riedl                                                                                                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  Foundation




                                                                                                                                                             53 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 84 of 250                      JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                                Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1190       GOOG-PLAY-001181091             PX 0784             Email from J. Kim to P. Chomet, J.                       Kim, Joshua                        Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Koltouros, et al. re Game proposal                      Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/05/2019)                                          Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                             Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                   Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1191       GOOG-PLAY-001181435                                 Document titled "GMS                                    Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Requirements"                                                                               unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).
  TEMP1192       GOOG-PLAY-001183163.R                               Samsung Update slide deck (7/2019)                      Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue             prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,   delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   Relevance (Fed. R. Evid. 402).                                        cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                                                                                         Plaintiffs’ claims or defenses.
  TEMP1193       GOOG-PLAY-001184813                                 Slide deck titled "Android                                Gold, Jon                         Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; One or more witnesses have foundation to testify
                                                                     Partnerships Strategy Rethink"                          Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (05/06/2015)                                             Gennai, Paul                       tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies. Evidence’s probative
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802). Conditional objection;         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial       delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it. cumulative evidence.
                                                                                                                                                                                                                                                   Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                                                                                                                                                   (Fed. R. Evid. 403).
  TEMP1194       GOOG-PLAY-001214396                                 Email re Re: Value Exchange:                            Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Play/Google <-> Tinder/Match                             Karam, Sarah                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Group.                                                 Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Marchak, Michael                     conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue        undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1195       GOOG-PLAY-001214449                                 Email re Re: Exec meeting.                              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                            Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Marchak, Michael                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1196       GOOG-PLAY-001214473                                 Email re Re: Value Exchange:                           Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Play/Google <-> Tinder/Match                                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Group.                                                                                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).
  TEMP1197       GOOG-PLAY-001214629                                 6/27/2019 Email from B. Barras to      Purnima Kochikar, Michael Marchak; Brandon Barras;   Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     A. Ablao                                                  Sarah Karam                       counterclaims                                                                                                                                             (Rules 803, 804, 807)
  TEMP1198       GOOG-PLAY-001214668                                 Email from B. Barras to P. Kochikar                    Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Re: Exec meeting (07/09/2019)                       Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1199       GOOG-PLAY-001214798             PX 0357             Email from R. Pandey to M.                             Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Marchak et al. re Recap of sync with                                                        unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Sameer (08/05/2019)                                                                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).
  TEMP1200       GOOG-PLAY-001220609                                 Document entitled Entertainment                        Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Category & Play 2015 Plan.                                                                  unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                 54 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 85 of 250           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                                 Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                 Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1201       GOOG-PLAY-001224298                                 Email from N. Fortescue to P.                   Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Bankhead re Project "Cupcake" aka                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     P2P Update (02/27/2017)                                                          tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1202       GOOG-PLAY-001226255             PX 0913             Email from P.Bankhead to                        Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     K.Ghanem re Suspicious FB                                                        unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Updating (11/21/2017)                                                            tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1203       GOOG-PLAY-001226956             PX 1109             Email from A.Mahbod to V.Baccetti               Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al. re. Alley-Oop for Orange                                                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (01/27/2018)                                                                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1204       GOOG-PLAY-001262697                                 Undated document titled "How            Paul Bankhead; Purnima Kochikar          Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Google Play Works: 2019 Google                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                     Play Public Policy Report"                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                         Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1205       GOOG-PLAY-001263481.R     PX2740 Sundar Pichai      Undated, untitled presentation about     Sundar Pichai, Paul Bankhead            Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     business models                                                                                                                                                    106—exhibit is unfairly incomplete, Rule 403—unfairly prejudicial, (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                        confusing the issues and/or misleading to the jury, Rule              106), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                        602—exhibit contains statements not based on declarant’s personal Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                        knowledge, Rule 901—proponent has not established authenticity 201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                        of the document, Foundation                                           (Rule 901),
  TEMP1206       GOOG-PLAY-001264185                                 User experience with sideloaded                 Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     apps (6/2018)                                                                    unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP1207       GOOG-PLAY-001265881.R           PX 1382             Slide deck titled, "Project Banyan //           Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     PM - HL" (03/20/2019)                                                            unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                        402)., Misleading; undue prejudice; confusion of issues; waste of     the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                        time (Fed. R. Evid. 403).                                             presenting cumulative evidence.
  TEMP1208       GOOG-PLAY-001267046                                 "Samsung Launcher Deal Options"                 Bankhead, Paul                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     (11/21/2016)                                                                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                        402)., Misleading; undue prejudice; confusion of issues; waste of     the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                        time (Fed. R. Evid. 403).                                             presenting cumulative evidence.
  TEMP1209       GOOG-PLAY-001268471                                 12/19/2016 email from B. Barras to         Brandon Barras, Paul Feng             Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     L. Yang                                                                          counterclaims                                                                      Rule 602—exhibit contains statements not based on declarant’s        (Rules 803, 804, 807)
                                                                                                                                                                                                                                        personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                         Foundation                                                           201, 602, 901, 902)

  TEMP1210       GOOG-PLAY-001268554             PX 0505             Email from B.Barras to P.Feng re                Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Tinder and Google Play Billing                    Feng, Paul                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (03/01/2017)                                                                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1211       GOOG-PLAY-001268889             PX 0508             Email from P.Feng to J.Rosenberg re               Feng, Paul                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Recommendation from Tomorrow's                 Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     PPS on Subscriptions (04/26/2017)               Samat, Sameer                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                      55 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 86 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1212       GOOG-PLAY-001270183                                 Email re Play Payment Policy --                            Feng, Paul                          Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier Plan.                                            Rasanen, Kirsten                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Gennai, Paul                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1213       GOOG-PLAY-001272621                                 Email re Re: [seeking your input]                         Stein, Danielle                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Fwd: Play Outage.                                           Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1214       GOOG-PLAY-001273378             PX 0526             Email from P.Feng to P.Davis re                             Feng, Paul                         Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Samsung Store Proposal                                                                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/06/2019)                                                                                   tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                      402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                      time (Fed. R. Evid. 403).                                               presenting cumulative evidence.
  TEMP1215       GOOG-PLAY-001284083.R           PX 0532             Slidedeck titled, "Google Play Points                       Feng, Paul                         Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     - Loyalty Program" (09/02/2018)                                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1216       GOOG-PLAY-001289301                                 Email from S. Karam to P. Kochikar                        Karam, Sarah                         Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al. re Re: IAC Executive Summit -                    Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     11/6 (10/03/2019)                                                                              tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1217       GOOG-PLAY-001289307      PX1602 Brandon Barras      10/4/2019 email from K. Aviram            Purnima Kochikar; Sarah Karam; Brandon Barras        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Beatty to S. Karam                                                                             counterclaims                                                                     Rule 402—exhibit is not relevant                                        (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or               Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                      Foundation                                                              Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                              201, 602, 901, 902)
  TEMP1218       GOOG-PLAY-001291192.R                               Presentation dated 3/5/2020 titled        Paul Feng, Purnima Kochikar, Michael Marchak,        Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Program Hug Extension to                                Christian Cramer                                                                                                        personal knowledge                                                      201, 602, 901, 902)
                                                                     Strategic App Developers ("App                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Accelerators")"                                                                                                                                                                   Foundation                                                             (Rules 803, 804, 807)

  TEMP1219       GOOG-PLAY-001291192.R                               Program Hug Extension to Strategic                      Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     App Developers (02/05/2020)                                Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1220       GOOG-PLAY-001291233                                 Undated presentation titled "Subs V2- Jamie Rosenberg, Sameer Samat, Paul Feng, Paul Gennai, Defense to Plaintiffs' claims                                         Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     3rd discussion"                         Purnima Kochikar, Paul Bankhead; Kirsten Rasanen                                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                       Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                      witness
                                                                                                                                                                                                                                                      Foundation
  TEMP1221       GOOG-PLAY-001306761                                 Document dated 10/2017 titled           Jamie Rosenberg, Sameer Samat, Paul Gennai, Purnima    Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "ACPX: Google Play Subscriptions                     Kochikar; Kirsten Rasanen                                                                                                   personal knowledge                                                      201, 602, 901, 902)
                                                                     Revenue Share Change (AP17-032)"                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                      witness
                                                                                                                                                                                                                                                       Foundation




                                                                                                                                                                   56 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 87 of 250                    JOINT TRIAL EXHIBIT LIST
                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                     Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1222       GOOG-PLAY-001312641                               Email re A/C privileged: Tinder                        Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   policy violation - urgent feedback                      Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   request.                                             Kochikar, Purnima                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Loew, Mirinalini                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                         Barras, Brandon                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1223       GOOG-PLAY-001312788           PX 1384             Email from P. Bankhead to P. Feng                     Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   re Samsung Store Proposal                               Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (06/05/2019)                                          Samat, Sameer                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                            Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                            of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1224       GOOG-PLAY-001312817           PX 0689             Email from P.Feng to T.Lim re                         Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Samsung Store Proposal                                  Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (06/07/2019)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                            Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                            of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1225       GOOG-PLAY-001317298                               Email from J. Rosenberg to A.                        Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Bardin re Request for early feedback                                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   regarding instantbuy SDK blok post                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   and API comm docs for IO                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                   (04/21/2013)                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1226       GOOG-PLAY-001317506           PX 0580             Email from H. Barra to P. Gennai re                     Gennai, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Enabling better payments across                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Android (03/31/2013)                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1227       GOOG-PLAY-001317740                               Presentation dated April 2011 titled                    Paul Gennai                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s   Foundation/personal knowledge will be established (Rules
                                                                   "Mobile App Store Ecosystem"                                                                                                                                             personal knowledge                                              201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                            Rule 404—exhibit appears to contain improper character evidence (Rules 803, 804, 807)
                                                                                                                                                                                                                                            Foundation                                                       Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                                                            exception applies (Rules 607, 608, 609)

  TEMP1228       GOOG-PLAY-001319016           PX 0895             Presentation titled, "Mobile Biz                       Brady, Patrick                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Review" (12/01/2009)                                                                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1229       GOOG-PLAY-001337211       PX 0945; PX 2889        Android OC Quarterly Review - Q4                       Brady, Patrick                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,        One or more witnesses have foundation to testify
                                                                   2010 (10/12/2010)                                                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the      concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                                                                                and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay        value not substantially outweighed by danger of unfair
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue           prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).  delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                cumulative evidence.
  TEMP1230       GOOG‐PLAY‐001337211                               Presentation dated 10/12/2010 titled   Paul Gennai; Hiroshi Lockheimer; Sameer Samat;    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Android OC Quarterly Review- Q4                      Purnima Kochikar                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                   2010"                                                                                                                                                                    the jury, Rule 602—exhibit contains statements not based on         401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                            declarant’s personal knowledge, Rule 901—proponent has not          established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                            established authenticity of the document, Foundation                properly authenticated (Rule 901),




                                                                                                                                                            57 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 88 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1231       GOOG-PLAY-001351336     PX0896 Patrick Brady      1/25/2013 email from N. Solaro to                         Patrick Brady                      Defendants: Defense to Plaintiffs' claims                         Plaintiff     Defendants: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                   P. Brady                                                                                                                                                                     and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                Plaintiffs: Proof of Defendants’ liability for antitrust                        statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                            802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                competition and/or tortious interference; proof of                              has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                     Plainitffs: Incomplete; the introduction of any remaining portions    Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                Counterclaims against Plaintiffs                                                .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                the witness while testifying at trial, offered into evidence to prove Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                the truth of the matter asserted, and not subject to any hearsay      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue             the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., presenting cumulative evidence; Exhibit is relevant to one
                                                                                                                                                                                                                                                Relevance (Fed. R. Evid. 402).                                        or more of Plaintiffs’ claims or defenses.



  TEMP1232       GOOG-PLAY-001381133                               Email from D. Morrill to H.                              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer et al. re [android-                              Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   vendingmachine] Re: Priced apps                           Harrison, Don                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   blocked for Vodafone users now                         Kleidermacher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                   (05/11/2009)                                            Kochikar Purnima                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                             Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Kolotouros, Jim                                                                                                     exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R.
                                                                                                                          Lockheimer, Hiroshi                                                                                                   Evid. 402).
                                                                                                                             Pichai, Sundar
                                                                                                                             Samat, Sameer
                                                                                                                           Rosenberg, Jamie
  TEMP1233       GOOG-PLAY-001381141           PX 1337             Email from J. Mattson to Android-                           Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Market-Announce@google.com re                             Mattson, Justin                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   [android-vendingmachine] re Priced                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   apps blocked for Vodafone users                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                   now (05/11/2009)                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1234       GOOG-PLAY-001382299           PX 0797             Email from J.Rosenberg to L.Shirani                        Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Verizon Amendment re Market                          Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Rev Share (10/28/2010)                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1235       GOOG-PLAY-001382685                               Email from M. Hughes to H.                                 Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer re Android Market and                       Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Handango – please help us                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   understand this --- thx! (09/30/2008)                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1236       GOOG-PLAY-001383206                               7/16/2010 email from P. Brady to E.     Patrick Brady; Hiroshi Lockheimer; Jamie Rosenberg   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Chu                                                                                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1237       GOOG-PLAY-001383348           PX 1817             Email from I. Laurs to D.                                   Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   McLaughlin re Intro: Ilja Lars                                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (GetJar) / David McLaughlin                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   (Google Android Dev Relations)                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                   (07/02/2010)                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1238       GOOG-PLAY-001385324                               Slide deck titled, "Android OC                          Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Quarterly Review - Q2 2010"                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (07/12/2010)                                          Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                            Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                            Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                         Lockheimer, Hiroshi                                                                                                    exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                             Pichai, Sundar                                                                                                     prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                           Rosenberg, Jamie                                                                                                     Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                                            Samat, Sameer




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                                                                                                                                       DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1239       GOOG-PLAY-001391258                               Email from N. Sears to P. Brady et           Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re [Espresso] Default screen after        Sears, Nick                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   OOBE (04/22/2010)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                            Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1240       GOOG-PLAY-001392807                               Email from A. Medina to P. Brady et          Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re Action Required: Please                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   approve Launchcal for HTC Desire                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   HD (10/01/2010)                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                            Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1241       GOOG-PLAY-001399005           PX 0577             Email from P. Gennai to D. Conway            Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re fees for dcb & rev share                   Gennai, Paul               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                   (9/10/2010)                                 Rosenberg, Jamie             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1242       GOOG-PLAY-001399545           PX 0900             Internal Meeting Notes for                   Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   September 15, 2009 Meeting                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1243       GOOG-PLAY-001401774                               Email from B. Sears to P. Brady re           Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Clank (11/21/2011)                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                            Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1244       GOOG-PLAY-001404176                               Email from T. Carter to J. Lagerling        Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re And feedback on Unbundling /              Harrison, Don               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   GMS (11/01/2010)                          Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                              Kochikar Purnima              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                               Kolotouros, Jim              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                               Legerling, John                                                                                              exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                             Lockheimer, Hiroshi                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                Pichai, Sundar                                                                                              Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                                Samat, Sameer
                                                                                                              Rosenberg, Jamie
  TEMP1245       GOOG-PLAY-001423609           PX 0943             Email from T. Moss to A. Rubin re             Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Your Thoughts on Android Market                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (02/03/2009)                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP1246       GOOG-PLAY-001423773           PX 0306             Email from E. Chu to A. Rubin re               Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Slides for Sergey on Checkout gaps            Rubin, Andy                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   and risks (03/26/2009)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R.
                                                                                                                                                                                                                            Evid. 402).
  TEMP1247       GOOG-PLAY-001425784           PX 2695             Email from D. Vrechek to F.Montes             Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Android SDK (04/29/2010)                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP1248       GOOG-PLAY-001425993                               Email from Andy Rubin to Vic                Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Gundotra titled "Eng staffing on             Harrison, Don               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Android Market" (06/18/2010)              Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                              Kochikar Purnima              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                               Kolotouros, Jim              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                             Lockheimer, Hiroshi                                                                                            exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                Pichai, Sundar                                                                                              prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                Samat, Sameer                                                                                               Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                              Rosenberg, Jamie
                                                                                                                 Rubin, Andy




                                                                                                                                            59 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 90 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number        Beg Bates         Deposition Exhibit Number              Name / Description                                                                                          Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1249       GOOG-PLAY-001429452             PX 0953               Email from A.Rubin to K.Watson re                        Rubin, Andy                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       Android Market Security Request                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                       (01/15/2009)                                                                               tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1250       GOOG-PLAY-001429811             PX 0893               Email from J. Ebbitt to A. Rubin re                     Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       LG's Own Application Store Goes                          Rubin, Andy                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                       Beta Live July 14 (07/16/2009)                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                      Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1251       GOOG-PLAY-001430359                                   Android OC Quarterly Review —                          Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       Q4 2010 slide deck (10/12/2010)                         Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Kleidermacher, Dave                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Kochikar Purnima                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                               Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                            Lockheimer, Hiroshi                                                                                                       exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                               Pichai, Sundar                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                               Samat, Sameer                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                                             Rosenberg, Jamie
                                                                                                                                Rubin, Andy
  TEMP1252       GOOG-PLAY-001431100                                   Presentation dated 5/3/2011 titled     Hiroshi Lockheimer; Paul Gennai; Jamie Rosenberg    Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                       "Android OC Quarterly Review- Q1                                                                                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                       2011"                                                                                                                                                                           Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1253       GOOG-PLAY-001431181             PX 1377               Email from D. Morrill to H.                          Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       Lockheimer re Clank (10/20/2011)                        Rubin, Andy                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                      Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1254       GOOG-PLAY-001432353                                   Email from A. Eustace to E.                           Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       Schmidt, A. Rubin, et al. re Meeting                   Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                       with Steve and Scott on Friday                      Kleidermacher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                       (04/03/2010)                                         Kochikar Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                             Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                           Lockheimer, Hiroshi                                                                                                        exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                              Pichai, Sundar                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                              Samat, Sameer                                                                                                           Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                                            Rosenberg, Jamie
                                                                                                                               Rubin, Andy
  TEMP1255       GOOG-PLAY-001432366   PX0300 Eric Chu, Andrew Rubin   2/4/2009 email from N. Shanbhag to                  Andy Rubin, Eric Chu                   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                       theoc@google.com, E. Schmidt, L.                                                                                                                                               and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                       Page, J. Rosenberg, D. Drummond,                                                           Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                       B. Coughran, J. Huber, K. Walker, J.                                                       violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                       Braddi, B. Ling, E. Chu, Y.                                                                competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                       Shacham, P. Shore, N. Shanbhag                                                             Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                         Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                  Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                      602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                                                                                                      the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                      the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).

  TEMP1256       GOOG-PLAY-001432532             PX 1223               Email from J.Lagerling to J.Braddi                     Lagerling, John                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       re Amazon Has Reportedly Teamed                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                       Up With HTC For Its New Line of                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                       Smartphones (10/21/2013)                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1257       GOOG-PLAY-001438346                                   Email from P. Brady to E. Chu re                       Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                       FW Meeting notes from meeting                            Chu, Eric                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                       with Eric Chu (08/23/2011)                             Lagerling, John                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                      Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.




                                                                                                                                                                  60 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 91 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                                     DISPUTED EXHIBITS




                                                                                                          Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1258       GOOG-PLAY-001439773                               Email from P. Brady to A. Mathis et        Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re Android Market rev share            Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   provisions (07/28/2011)                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1259       GOOG-PLAY-001441876           PX 0898             Email from P. Brady to S. Teng re          Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Email to Google regarding blocking         Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   of non-Android apps (06/28/2011)                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1260       GOOG-PLAY-001441983           PX 1211             Email from R.Au to J.Lagerling re          Lagerling, John             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   MADA (02/11/2013)                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1261       GOOG-PLAY-001442316                               Email from A. Medina to P. Brady et        Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re Play store Placement                Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Requirements (09/12/2012)                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1262       GOOG-PLAY-001443602                               Email from P. Brady to A. Rubin et         Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re RIM / Google term sheet             Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (01/25/2013)                                Rubin, Andy                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1263       GOOG-PLAY-001449339                               Email from L. Roche to M. Siliski re      Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Invitation: Samsung Google Review          Harrison, Don               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   @ Thu Nov 21, 2013 12:30pm -            Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   1:20pm (lanroche@google.com)             Kochikar Purnima              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                   (12/06/2013)                               Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                             Kolotouros, Jim              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                             Legerling, John                                                                                              exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                           Lockheimer, Hiroshi                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                              Pichai, Sundar                                                                                              Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                              Samat, Sameer
                                                                                                            Rosenberg, Jamie
  TEMP1264       GOOG-PLAY-001449657           PX 0890             Email from A. Rubin to P. Brady re         Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Chrome in GMS (04/18/2012)                Lagerling, John              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                               Rubin, Andy                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1265       GOOG-PLAY-001449662                               Email from P. Brady to A. Rubin et         Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al. re Chrome in GMS (04/18/2012)          Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                               Rubin, Andy                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                          Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
  TEMP1266       GOOG-PLAY-001449865           PX 2722             Email from J.Lagerline to L.Roche          Lagerling, John             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re MADA - New Placement                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Language (11/07/2013)                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).




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                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 92 of 250 JOINT TRIAL EXHIBIT LIST
                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1267       GOOG-PLAY-001455726           PX 0888             Email from P. Brady to H. Barra et       Brady, Patrick               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   al re Core vs. Optional GMS              Lagerling, John              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (07/02/2011)                           Lockheimer, Hiroshi            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1268       GOOG-PLAY-001455849           PX 2751             Email from H. Yoon to H.               Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer re Fwd: Samsung                                            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Launches Samsung Galaxy Apps                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                         Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                         of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1269       GOOG-PLAY-001459663                               11/8/2007 email from N. Sears to H.     Hiroshi Lockheimer            Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete                                 Exhibit is properly complete (Rule 106)
                                                                   Lockheimer                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                          Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1270       GOOG-PLAY-001459748                               Email from H. Lockheimer to D.         Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Koh re Regarding Galaxy Gear Press                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (09/06/2013)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1271       GOOG-PLAY-001459981                               Android Marketplace Overview slide     Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   deck (11/07/2007)                                                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1272       GOOG-PLAY-001460686                               Email from P. Brady to S.                Brady, Patrick               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rajagopalan et al. re Chrome in        Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   GMS (06/18/2012)                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1273       GOOG-PLAY-001462948           PX 0887             Email from P. Brady to H.                Brady, Patrick               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer re release thoughts         Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (02/15/2009)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1274       GOOG-PLAY-001472824                               Email from C. Moon to C. Barton J.       Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lagerling re SamsungApps issue            Harrison, Don               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   with America Movil (08/23/2011)        Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                           Kochikar Purnima              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                             Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                            Kolotouros, Jim              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                            Legerling, John                                                                                              exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          undue delay, wasting time, and/or needlessly presenting
                                                                                                          Lockheimer, Hiroshi                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                             Pichai, Sundar                                                                                              Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.
                                                                                                             Samat, Sameer
                                                                                                           Rosenberg, Jamie
  TEMP1275       GOOG-PLAY-001489017           PX 2738             Email from S. Pichai to E. Schmidt        Pichai, Sundar              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re "Guns of August" and Android                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                         Relevance (Fed. R. Evid. 402).                                          Plaintiffs’ claims or defenses.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 93 of 250       JOINT TRIAL EXHIBIT LIST
                                                                                                                                            DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1276       GOOG-PLAY-001489429           PX 0877             E-mail from P. Brady to S. Rubin         Brady, Patrick; Rubin, Andy          Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (1/21/2013)                                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1277       GOOG-PLAY-001490115                               Email from P. Brady to A. Rubin re             Brady, Patrick                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Pls Andy give us some time to                   Rubin, Andy                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   implement !!!! (06/04/2011)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                 Evid. 402).
  TEMP1278       GOOG-PLAY-001490122           PX 0899             Email from A. Rubin to P. Brady re             Brady, Patrick                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Pls Andy give us some time to                   Rubin, Andy                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   implement!!!!! (06/04/2011)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                 Evid. 402).
  TEMP1279       GOOG-PLAY-001490474                               Slide deck titled "Android OC               Lockheimer, Hiroshi               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;     One or more witnesses have foundation to testify
                                                                   Quarterly Review" (07/12/2010)                 Rubin, Andy                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue        prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,   delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                 Relevance (Fed. R. Evid. 402).                                        cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                                                                                                                                                                                                       Plaintiffs’ claims or defenses.
  TEMP1280       GOOG-PLAY-001494981                               Email from J. Gold to T. Carter et al.        Barras, Brandon                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   re Revshare review (10/19/2012)                  Gold, Jon                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                  Harrison, Don                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                               Kleidermacher, Dave               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                Kochikar Purnima                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                  Koh, Lawrence                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                 Kolotouros, Jim                                                                                                 exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue        undue delay, wasting time, and/or needlessly presenting
                                                                                                               Lockheimer, Hiroshi                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                  Pichai, Sundar                                                                                                 Relevance (Fed. R. Evid. 402).                                        Plaintiffs’ claims or defenses.
                                                                                                                  Samat, Sameer
                                                                                                                Rosenberg, Jamie
  TEMP1281       GOOG-PLAY-001496098                               Revenue sharing agreements chart             Kolotouros, James                Proof of Defendants’ liability for antitrust violations,         Defendant      Authentication; exhibit has not been properly authenticated (Fed. R. Exhibit is what the proponent claims it is and/or is self-
                                                                   (09/05/2014)                                                                  unreasonable restraints of trade, unfair competition and/or                     Evid. 901)., Incomplete; the introduction of any remaining portions authenticating; Contains all parts that in fairness ought to be
                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                 the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).

  TEMP1282       GOOG-PLAY-001496802   DX1030 Michael H. Chase     Undated document titled "First                Jamie Rosenberg                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Statement of Jamie Rosenberg"                                                                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                  Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                 witness
                                                                                                                                                                                                                                  Foundation
  TEMP1283       GOOG-PLAY-001497746                               Undated presentation titled "AOSP                Rich Miner                   Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   And APIs"                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                  Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                 document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                  Foundation
  TEMP1284       GOOG-PLAY-001497762                               App Distribution And The GMS                 Kolotouros, James                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Suite slide deck (07/08/2015)                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1285       GOOG-PLAY-001501104           PX 0894             Email from M. Vandenbrink to P.                Brady, Patrick                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Brady re Yet Another Question                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (11/06/2009)                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).




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                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1286       GOOG-PLAY-001507767                                 Document entitled "Play-YouTube                      Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       One or more witnesses have foundation to testify
                                                                     Integration Options"                                     Chu, Eric                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Harrison, Don                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                        Kleidermacher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                         Kochikar Purnima                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          prejudice, confusing the issues, misleading the jury, undue
                                                                                                                           Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     delay, wasting time, and/or needlessly presenting
                                                                                                                          Kolotouros, Jim                                                                                                     Relevance (Fed. R. Evid. 402).                                          cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                        Lockheimer, Hiroshi                                                                                                                                                                           Plaintiffs’ claims or defenses.
                                                                                                                            Pichai, Sundar
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
  TEMP1287       GOOG-PLAY-001508145.R                               Presentation dated 3/2020 titled     Purnima Kochikar; Michael Marchak; Sameer Samat     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Developer Sentiment Survey"                                                                                                                                             personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                              document                                                               Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                               Foundation
  TEMP1288       GOOG-PLAY-001508281.R                               Presentation dated 2019 titled        Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "DSAT June/July 2019: Developer        Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Sentiment Survey"                         Rosenberg, Sameer Samat, Paul Gennai                                                                                           hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                              misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                              authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP1289       GOOG-PLAY-001508550.R                               Presentation dated Q1 2018 titled     Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "DSAT W4"                              Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                               Rosenberg, Sameer Samat, Paul Gennai                                                                                           hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                              misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                              authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP1290       GOOG-PLAY-001508604                                 Undated document titled "What is     Purnima Kochikar; Michael Marchak; Sameer Samat     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     DSAT?"                                                                                                                                                                   personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                              misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                               Foundation
  TEMP1291       GOOG-PLAY-001545330                                 Email from T. Bray to A. Rubin re                    Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Android speaking request of the                       Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     week (08/26/2010)                                  Kleidermacher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                          Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                        Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue        undue delay, wasting time, and/or needlessly presenting
                                                                                                                           Pichai, Sundar                                                                                                     prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
                                                                                                                            Rubin, Andy
  TEMP1292       GOOG-PLAY-001547487             PX 0958             Email from T.Moss to A.Rubin re                        Rubin, Andy                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     That Bookstore in Seattle                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/06/2011)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP1293       GOOG-PLAY-001553327             PX 0451             Email from C.Cramer to K.Reinke re                   Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     P&E Finance - Q2 Summary                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (07/28/2017)                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP1294       GOOG-PLAY-001558912.R                               Slide deck titled, "Android Device                    Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       One or more witnesses have foundation to testify
                                                                     LTV Overview" (03/03/2017)                           Cramer, Christian                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Harrison, Don                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                        Kleidermarcher, Dave                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                         Kochikar, Purnima                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          prejudice, confusing the issues, misleading the jury, undue
                                                                                                                           Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     delay, wasting time, and/or needlessly presenting
                                                                                                                           Kolotouros, Jim                                                                                                    Relevance (Fed. R. Evid. 402).                                          cumulative evidence; Exhibit is relevant to one or more of
                                                                                                                        Lockheimer, Hiroshi                                                                                                                                                                           Plaintiffs’ claims or defenses.
                                                                                                                         Marchak, Michael
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1295       GOOG-PLAY-001559464.R           PX 1059             Presentation titled, "Android                        Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Agreements Explainer - ACC,                                                              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     MADA, RSA, DCB" (12/27/2017)                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                              64 of 220
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                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1296       GOOG-PLAY-001559731                               Google Play Apps Order to Cash            Barras, Brandon             Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       One or more witnesses have foundation to testify
                                                                   Process Documentation                    Cramer, Christian            unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Harrison, Don              tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                          Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                           Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802). Cond; Misleading; undue          prejudice, confusing the issues, misleading the jury, undue
                                                                                                             Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).,     delay, wasting time, and/or needlessly presenting
                                                                                                             Kolotouros, Jim                                                                                                 Relevance (Fed. R. Evid. 402).                                          cumulative evidence; Exhibit is relevant to one or more of
                                                                                                          Lockheimer, Hiroshi                                                                                                                                                                        Plaintiffs’ claims or defenses.
                                                                                                           Marchak, Michael
                                                                                                              Pichai, Sundar
                                                                                                            Rosenberg, Jamie
                                                                                                             Samat, Sameer
  TEMP1297       GOOG-PLAY-001574231   PX0762 Dave Kleidermacher   8/15/2018 email from D.                Dave Kleidermacher             Defendants: Defense to Plaintiffs' claims; proof of Epic's    Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   Kleidermacher to W. Luh                                               liability for counterclaims                                                                                                                               objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                             Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                         Plaintiffs: Proof of Defendants’ liability for antitrust                            602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                         violations, unreasonable restraints of trade, unfair                                the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         competition and/or tortious interference; proof of                                  the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies.
                                                                                                                                         Defendants’ discovery conduct; proof of appropriate                                 exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         injunctive relief; proof of resulting damages; and/or proof
                                                                                                                                         rebutting allegations in Defendants’ Answers and
                                                                                                                                         Counterclaims against Plaintiffs
  TEMP1298       GOOG-PLAY-001577654           PX 0753             Email from D.Wong to                   Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   D.Kleidermacher re Strategy Session                                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   - To Pls Confirm if Accurate                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                   (02/23/2019)                                                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1299       GOOG-PLAY-001585256           PX 0754             Project Cake Talking Points            Kleidermacher, David           Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies, Evidence’s
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence

  TEMP1300       GOOG-PLAY-001596618           PX 1483             Email from D. Harrison to M.             Harrison, Donald             Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Murphy re BC Guidance                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (07/11/2018)                                                          tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1301       GOOG-PLAY-001597467                               Email from P. Stern to D. Harrison       Harrison, Donald             Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   re Google/Apple notes (12/20/2018)                                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1302       GOOG-PLAY-001642090                               Booklet titled, "WhistlePig: Cloud-      Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   based App Scanning & Threat            Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Sharing Service"                       Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1303       GOOG-PLAY-001649847           PX 0914             2Q18 AlleyOop Leadership Review          Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   (04/09/2018)                           Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                          Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond; testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.

  TEMP1304       GOOG-PLAY-001654372           PX 1375             Email from H. Lockheimer to                 Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   mgm@google.com, N. Sears, E.           Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Tseng, E. Chu re Notes from                Sears, Nick                tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                   Tonight’s Call (01/15/2008)                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                         65 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 96 of 250JOINT TRIAL EXHIBIT LIST
                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1305       GOOG-PLAY-001655029           PX 0297             Email from E. Chu to J. Chen re             Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   iFUND Announcement (03/06/2008)                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP1306       GOOG-PLAY-001673495           PX 1124             Email from N. Sears to J. Ebbitt re         Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   communication with TMO: Android            Sears, Nick                unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Market "ClientID" (09/28/2009)                                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602). Cond;       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802). Conditional objection;
                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1307       GOOG-PLAY-001673685           PX 1240             Motorola Enables Discovery of               Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         109, Incomplete; the introduction of any remaining portions ought, Contains all parts that in fairness ought to be considered at
                                                                   Signature Applications for                                            unreasonable restraints of trade, unfair competition and/or                         in fairness, to be considered contemporaneously (Fed. R .Evid.        the same time; One or more witnesses have foundation to
                                                                   Consumers with New Apps Store                                         tortious interference; proof of Defendants’ discovery                               106)., Personal knowledge; lack of foundation (Fed. R. Evid. 602)., testify concerning the exhibit; Exhibit does not contain
                                                                   (10/06/2009)                                                          conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP1308       GOOG-PLAY-001677481           PX 0304             Email from J. Mattson to D. Morrill         Chu, Eric                 Plaintiffs: Proof of Defendants’ liability for antitrust          Defendant         Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                   re Change in default revenue share        Mattson, Justin             violations, unreasonable restraints of trade, unfair                                ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                   (12/17/2009)                                                          competition and/or tortious interference; proof of                                  .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                         Defendants’ discovery conduct; proof of appropriate                                 602). Cond; Hearsay; the exhibit is a statement made by one other not contain hearsay and/or a hearsay exception applies;
                                                                                                                                         injunctive relief; proof of resulting damages; and/or proof                         than the witness while testifying at trial, offered into evidence to  Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                         rebutting allegations in Defendants’ Answers and                                    prove the truth of the matter asserted, and not subject to any        defenses; Evidence’s probative value not substantially
                                                                                                                                         Counterclaims against Plaintiffs                                                    hearsay exception (Fed. R. Evid. 801 and 802). Cond; Relevance        outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                                                                             (Fed. R. Evid. 402)., Misleading; undue prejudice; confusion of       issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         Defendants: Defense to Plaintiffs' claims                                           issues; waste of time (Fed. R. Evid. 403).                            and/or needlessly presenting cumulative evidence.

  TEMP1309       GOOG-PLAY-001683933                               Email from E. Chu to                     Barras, Brandon              Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   NO_TO_PROPERTY_FOUND                        Chu, Eric                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (06/01/2010)                              Harrison, Don               tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                          Kleidermacher, Dave            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                           Kochikar Purnima              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                             Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                            Kolotouros, Jim                                                                                                  exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                          Lockheimer, Hiroshi                                                                                                not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                             Pichai, Sundar                                                                                                  objection; defendants reserve the right to object to this exhibit at
                                                                                                             Samat, Sameer                                                                                                   trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                           Rosenberg, Jamie                                                                                                  it.
  TEMP1310       GOOG-PLAY-001683983           PX 0313             Email from E. Chu to C. Pruett re           Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   FW Initial thoughts on Android and                                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   Z-system – Feedback requested                                         tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                   (06/03/2010)                                                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1311       GOOG-PLAY-001684221           PX 0950             Email from E.Chu to S.Kim re                Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Android Market Monetization Policy                                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Fine Tuning (06/08/2010)                                              tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1312       GOOG-PLAY-001686393     PX0882 Patrick Brady      7/24/2010 email from P. Brady to C.       Patrick Brady               Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues         Defendants: Balance favors admissibility (Rules 401, 403),
                                                                   Pruett                                                                                                                                                    and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                         Plaintiffs: Proof of Defendants’ liability for antitrust                            statements not based on declarant’s personal knowledge, Rule            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                         violations, unreasonable restraints of trade, unfair                                802—exhibit contains inadmissible hearsay, Rule 901—proponent           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                         competition and/or tortious interference; proof of                                  has not established authenticity of the document, Foundation            will be properly authenticated (Rule 901),
                                                                                                                                         Defendants’ discovery conduct; proof of appropriate
                                                                                                                                         injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                         rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                                                                             the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1313       GOOG-PLAY-001692448           PX 1819             Email from I. Laurs to E. Chu re            Chu, Eric                 Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                   Thank You for meeting Us                                              unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                   (11/24/2010)                                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay           value not substantially outweighed by danger of unfair
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue              prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                             Conditional objection; defendants reserve the right to object to this cumulative evidence;
                                                                                                                                                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                             introduce it.




                                                                                                                                         66 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 97 of 250   JOINT TRIAL EXHIBIT LIST
                                                                                                                                        DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1314       GOOG-PLAY-001693781                                 Email from E. Chu to S. Aikin re           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Opening the Android Market data               Chu, Eric                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (12/31/2010)                                Harrison, Don               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                              Kleidermacher, Dave            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                               Kochikar Purnima              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                 Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                Kolotouros, Jim                                                                                              depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                              Lockheimer, Hiroshi
                                                                                                                 Pichai, Sundar
                                                                                                                 Samat, Sameer
                                                                                                               Rosenberg, Jamie
  TEMP1315       GOOG-PLAY-001701024             PX 0311             Email from E. Chu to J. Lagerling re          Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Timeframe for Subscriptions launch         Lagerling, John              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/24/2011)                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1316       GOOG-PLAY-001701951.R           PX 1244             SHOP4APPS LATAM                               Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     (08/19/2011)                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                             objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                             it.
  TEMP1317       GOOG-PLAY-001701977                                 Email from E. Chu to A. Rubin S.              Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Doherty re Motorola key messages             Rubin, Andy                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     for their app store credit - Approval                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                     needed (07/15/2011)                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1318       GOOG-PLAY-001741721             PX 0320             Email from E.Chu to P.Gupta re                Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Scott Email for Play-YT Work                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Estimation (07/11/2020)                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1319       GOOG-PLAY-001741853             PX 0319             Email from E.Chu to G.Prachi re               Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Draft Email to Prep John                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/31/2020)                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1320       GOOG-PLAY-001772596             PX 1376             Email from T. Sullivan to H.             Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Lockheimer re GMS Update                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Mechanism (05/18/2011)                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1321       GOOG-PLAY-001785799                                 Email from P. Brady to P. Kochikar         Brady, Patrick               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     et al. re [Confidential: FB Expected      Kochikar, Purnima             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     to Push Updates Again]                   Lockheimer, Hiroshi            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     (04/24/2013)                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1322       GOOG-PLAY-001802727                                 Email from B. Rakowski to H.             Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Lockheimer re Keep (03/16/2015)                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1323       GOOG-PLAY-001810385                                 Email from C. Sengupta to H.             Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Lockheimer re Samsung & China                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (02/28/2016)                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 98 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1324       GOOG-PLAY-001825658           PX 0608             Email from P. Gennai to H.                              Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Lockheimer re iPhone / Apple                         Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Watch (01/07/2020)                                                                         tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1325       GOOG-PLAY-001833521                               Email from P. Brady to Android                         Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Leadership re [IMPORTANT]                            Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Update from Android Market for                        Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                   Partners (03/07/2012)                                   Rubin, Andy                        conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1326       GOOG-PLAY-001838760           PX 0276             Email from S. Rizvi to K. Wang et                     Rosenberg, Jamie                     Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   al. re Facebook To Reveal "Home                                                            unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   On Android" Sources Say Is A                                                               tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                   Modified OS On HTC At 4/4 Event                                                            conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                   (04/01/2013)                                                                               resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1327       GOOG-PLAY-001847447                               Email from E. Powers to M. Siliski                    Rosenberg, Jamie                     Proof of Defendants’ liability for antitrust violations,           Defendant         Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   re Samsung meeting and Galaxy                                                              unreasonable restraints of trade, unfair competition and/or                          foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                   Apps (07/22/2014)                                                                          tortious interference; proof of Defendants’ discovery                                made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                            into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                   exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                   introduce it.
  TEMP1328       GOOG-PLAY-001871390           PX 0756             Email from J.Woloz to Android                          Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                   Security Truthiness in Media re                      Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                   Ghost Team (01/17/2018)                               Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                          Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1329       GOOG-PLAY-001872190                               Document dated 3/2018 titled          Edward Cunningham; David Kleidermacher; Sebastian,   Defense to Plaintiffs' claims                                       Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Android Security 2017 Year in        Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg                                                                                         403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                   Review"                                                                                                                                                                         the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                   declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                   established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1330       GOOG-PLAY-001874027                               8/3/2018 email from J. Rosenberg to            Jamie Rosenberg, Donald Harrison            Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   A. Wamberg & D. Harrison                                                                   counterclaims                                                                         Foundation                                                             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP1331       GOOG-PLAY-001874074                               8/8/2018 email from S. Samat to H.    Sameer Samat, Jamie Rosenberg, Hiroshi Lockheimer    Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Lockheimer                                                                                 counterclaims                                                                        Foundation                                                              (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP1332       GOOG-PLAY-001874077    PX0806 Jamie Rosenberg     8/8/2018 email from J. Rosenberg to   Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg,   Defendants: Defense to Plaintiffs' claims; proof of Epic's     Plaintiff/Defendant   Plainitiffs: Rule 802—exhibit contains inadmissible hearsay             Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   C. Smith                                              Purnima Kochikar                     liability for counterclaims                                                                                                                                  objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                              Plaintiffs: Proof of Defendants’ liability for antitrust                             602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                              violations, unreasonable restraints of trade, unfair                                 the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              competition and/or tortious interference; proof of                                   the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                                              Counterclaims against Plaintiffs
  TEMP1333       GOOG-PLAY-001874104           PX 1185             Email from E. Cunningham to S.                       Cunningham, Edward                    Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Samat re Fortnite status                             Kleidermacher, Dave                   unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (08/08/2018)                                         Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                         Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1334       GOOG-PLAY-001874758                               Email from P. Gennai to J.                              Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Rosenberg T. Ostrowski re FN                          Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   installs (09/25/2018)                                                                      tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1335       GOOG-PLAY-001875357                               Email from J. Rosenberg to S. Samat                  Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re Epic Games Store (12/05/2018)                      Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Samat, Sameer                       tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 99 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1336       GOOG-PLAY-001876221                                 3/18/2019 email from J. Cheung to        Jamie Rosenberg; Paul Bankhead; Purnima Kochikar     Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     H. Lee, A. Ahn, M. Yilmaz, K.                                                                                                                                                   Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     Lemonds, J. Etherington, A. Lee, M.                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                     Chun, D. Martinak, J. Newman, J.                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                     Lim, T. Jiang, N. Santos, K. Fahey,                                                                                                                                             Foundation                                                             201, 602, 901, 902)
                                                                     M. Fyall, L. Sheringham, C. Wu, N.
                                                                     Castelly, K. Glick, M. Nikolic, B.
                                                                     Toth, M. Davis, M. Henderson, K.
                                                                     Suzuki, D. Zhou, Z. Chen, J. Chang,
                                                                     R. Sakikawa, D. Chung, play-apps-
                                                                     core-distribution, P. Kochikar, T.
                                                                     Lim, M. Hochberg, Play Developer
                                                                     Engingeering, Play Games BD All,
                                                                     L. Koh, G. Hartrell, B. Lu, S.
                                                                     Mathur, P. Bankhead



  TEMP1337       GOOG-PLAY-001877016.C           PX 0787             Email from E. Crosby to J.                                Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Kolotouros re Banyan (06/19/2019)                          Gennai, Paul                       unreasonable restraints of trade, unfair competition and/or                      foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                              Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                            made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                        into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                    exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                    introduce it.
  TEMP1338       GOOG-PLAY-001878068                                 12/5/2019 Email from T. Sweeney to             Hiroshi Lockheimer, Jamie Rosenberg            Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—wasting time and/or needlessly cumulative                     Balance favors admissibility (Rules 401, 403)
                                                                     H. Lockheimer and J. Rosenberg                                                                counterclaims                                                                     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                           (Rules 803, 804, 807)
  TEMP1339       GOOG-PLAY-001878157                                 12/10/2019 email from T. Sweeney        Don Harrison; Hiroshi Lockheimer, Jamie Rosenberg;    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to H. Lockheimer                                           Tim Sweeney                        counterclaims                                                                     Foundation                                                            (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP1340       GOOG-PLAY-001881831.R           PX 0443             Slide deck titled "Android LTV                           Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Analsis (US + JP)" (12/05/2018)                          Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1341       GOOG-PLAY-001881998.R                               Undated presentation titled "Android  Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                            Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Switching Solutions Considerations" Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                     403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                             Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                            the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                    declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                    established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP1342       GOOG-PLAY-001882239.R                               Different "App-like" Experiences                          Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (06/01/2017)                                                Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Glick, Kobi                        tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                               Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1343       GOOG-PLAY-001886111.R           PX 0166             Google Play Competitive Usage                             Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Survey Slide Deck (11/17/2020)                              Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Glick, Kobi                        tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                               Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1344       GOOG-PLAY-001891364.R                               Presentation dated 11/2018 titled        Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                         Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey           Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                  602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2018: Japan Findings"                      Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                         knowledge, Rule 403—unfairly prejudicial, confusing the issues         be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                    and/or misleading to the jury, Rule 901—proponent has not              admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                    established authenticity of the document, Foundation                   authenticated (Rule 901),
  TEMP1345       GOOG-PLAY-001912677                                 Email from N. Shanbhag to J.                              Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Kolotouros re Play Store exclusivity                                                          unreasonable restraints of trade, unfair competition and/or                      foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                     on Android TV devices (11/07/2014)                                                            tortious interference; proof of Defendants’ discovery                            made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                    exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                    introduce it.
  TEMP1346       GOOG-PLAY-001913252                                 Email from C. Burkett to J.                               Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Kolotouros S. Kan re Quick OEM                                                                unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                     question (11/20/2014)                                                                         tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.




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                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1347       GOOG-PLAY-001917284                               Email from J. Kolotouros to P.                             Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Gennai et al. re Update about Xiaomi                      Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (02/27/2015)                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1348       GOOG-PLAY-001919052                               Email from J. Kolotouros to O.                            Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Indonie re Cyanogen + MS                                                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (04/27/2015)                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1349       GOOG-PLAY-001921060                               Email from P. Manwell to D. Burke                         Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   re Hiroshi (06/17/2015)                                 Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.
  TEMP1350       GOOG-PLAY-001921076                               Email from S. Zhang to C. Li et al.                       Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                   re One more partner +1 to GMS-lite                        Li, Chrisopher                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                   (06/17/2015)                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1351       GOOG-PLAY-001925008                               Email from J. Kolotouros to B.                            Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   Kilburn re Hangouts (10/03/2015)                                                              unreasonable restraints of trade, unfair competition and/or                     confusion of issues; waste of time (Fed. R. Evid. 403)., Personal       defenses; Evidence’s probative value not substantially
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the        outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       exhibit is a statement made by one other than the witness while         issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        testifying at trial, offered into evidence to prove the truth of the    and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        matter asserted, and not subject to any hearsay exception (Fed. R.      more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                 Evid. 801 and 802)., Conditional objection; defendants reserve the      exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                 right to object to this exhibit at trial depending on the purpose for   exception applies;
                                                                                                                                                                                                                                                 which plaintiffs seek to introduce it.
  TEMP1352       GOOG-PLAY-001954099           PX 0836             Email from J.Rosenberg to P.Koo re                       Kolotouros, Jim                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   MADA Renewal (06/15/2016)                                Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1353       GOOG-PLAY-001956162                               Google Chat conversation                                 Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   (09/21/2016)                                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                          Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1354       GOOG-PLAY-001960933                               Email from P. Gennai to J. Gold et                          Gennai, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   al. re follow-up on brand                                    Gold, Jon                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   conversation (05/03/2017)                                 Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1355       GOOG-PLAY-001961679                               Undated document titled "Android         Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Compatibility Commitment"              Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 403—wasting time and/or needlessly cumulative, Rule                    (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                              Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                        602—exhibit contains statements not based on declarant’s personal 401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                 knowledge, Rule 901—proponent has not established authenticity established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                 of the document, Foundation                                            properly authenticated (Rule 901),
  TEMP1356       GOOG-PLAY-001974461           PX 0786             Email from J.Kolotouros to                               Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   J.Rosenberg re Notes from Sansung /                      Kolotouros, Jim                      unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                   Play / IAP Conversation                                  Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                   (06/08/2019)                                              Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.
  TEMP1357       GOOG-PLAY-001974551                               Email from C. Li to J. Kolotouros re                      Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   samsung next steps (06/12/2019)                           Li, Christopher                     unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.




                                                                                                                                                                 70 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 101 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1358       GOOG-PLAY-001974635                                 Email from A. Eustace to A. Rubin                          Kolotouros, Jim                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re Communication to Intel                                   Rubin, Andy                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/14/2019)                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1359       GOOG-PLAY-001981853                                 8/4/2020 email from J. Kolotouros                          Jim Kolotouros                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to T. Kawamura                                                                                                                                                                  Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Foundation                                                             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP1360       GOOG-PLAY-002004801                                 Email from P. Feng to K. Wa re Play                          Feng, Paul                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Subscription / Payments Policy                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Change Talking Points - Invitation to                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     edit (09/19/2017)                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                                     not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                     trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                     it.
  TEMP1361       GOOG-PLAY-002011454.R                               Slide deck titled "Project Banyan"                        Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     (02/22/2019)                                                  Gold, Jon                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Harrison, Don                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                             Kleidermacher, Dave                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Kochikar Purnima                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Koh, Lawrence                        Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                               Kolotouros, Jim                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Lockheimer, Hiroshi
                                                                                                                                Pichai, Sundar
                                                                                                                                Samat, Sameer
                                                                                                                              Rosenberg, Jamie
  TEMP1362       GOOG-PLAY-002049184             PX 0170             Email from M. Nikolic to K. Glick                            Glick, Kobi                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Re DSAT Q2 Presentation &                                                                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Recording (10/02/2018)                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1363       GOOG-PLAY-002074604.R                               Presentation dated Q1 2020 titled         Don Harrison, Purnima Kochikar, Jim Kolotouros,       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Developer Benchmark               Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                           602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Survey"                                       Rosenberg, Sameer Samat, Paul Gennai                                                                                              knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                     and/or misleading to the jury, Rule 901—proponent has not               admissibility (Rules 401, 403), Exhibit will be properly
                                                                                                                                                                                                                                                     established authenticity of the document, Foundation                    authenticated (Rule 901),
  TEMP1364       GOOG-PLAY-002076224.R       PX0167 Kobi Glick       Presentation dated 10/31/2019 titled    Paul Feng, Paul Gennai, Mrinalini Loew, Paul Bankhead Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "OEM App Store Share Analysis"                                                                                                                                                  personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                      Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                      Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                     misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                      Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                     document
                                                                                                                                                                                                                                                      Foundation
  TEMP1365       GOOG-PLAY-002076224.R           PX 0167             OEM App Store Share Analysis -                             Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Android Ecosystem Analytics                                  Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (10/31/2019)                                                Glick, Kobi                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1366       GOOG-PLAY-002093052                                 Email from K. Gambhir to L. Koh re                         Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Exec Monthly News... - We marked                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     King's revenue share sentim...                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     (08/20/2019)                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                                     not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                     trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                     it.
  TEMP1367       GOOG-PLAY-002115542             PX 0385             Email thread entitled Re: 30%                             Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     analysis (03/22/2019)                                                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.




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                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 102 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1368       GOOG-PLAY-002117213                                 Email from S. Karam to M. Marchak                       Karam, Sarah                         Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re Value Exchange: Play/Google <->                    Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Tinder/Match Group (06/07/2019)                       Marchak, Michael                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1369       GOOG-PLAY-002117944                                 Email re Re: Project Magical Bridge:                   Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     working team weekly (today 3p).                          Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                           Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1370       GOOG-PLAY-002231405                                 Document entitled Goal of Play                         Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Value Model in the Context of                            Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Magical Bridge.                                        Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                           Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                  objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                  trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                  it.
  TEMP1371       GOOG-PLAY-002250799.R                               Games Velocity Program slide deck                      Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     (05/13/2020)                                            Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                           Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                             Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                            Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                          Lockheimer, Hiroshi                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                           Marchak, Michael                                                                                                       trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                             Pichai, Sundar                                                                                                       it.
                                                                                                                           Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1372       GOOG-PLAY-002262846.R                               Presentation entitled Play Value                       Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Model (LTV based approach) Play                         Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     BD StratOps - Sept, 2019.                           Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                           Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                             Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                            Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                          Lockheimer, Hiroshi                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                           Marchak, Michael                                                                                                       trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                             Pichai, Sundar                                                                                                       it.
                                                                                                                           Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1373       GOOG-PLAY-002264620.R                               Undated presentation titled "App       Michael Marchak; Purnima Kochikar; Sameer Samat       Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     Quality Gap 1. Initial thoughts &                                                                                                                                            personal knowledge                                                     201, 602, 901, 902)
                                                                     learning plan"                                                                                                                                                                Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                   Rule 701—exhibit contains improper specialized opinion by lay          Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                  witness
                                                                                                                                                                                                                                                   Foundation
  TEMP1374       GOOG-PLAY-002298912.R                               Undated presentation titled            Michael Marchak; Purnima Kochikar; Sameer Samat       Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     "iOS/Android App Differences"                                                                                                                                                personal knowledge                                                     201, 602, 901, 902)
                                                                                                                                                                                                                                                   Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                   Rule 701—exhibit contains improper specialized opinion by lay          Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                  witness
                                                                                                                                                                                                                                                   Foundation
  TEMP1375       GOOG-PLAY-002303042                                 Play Developer Announcement                            Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Conditional objection; defendants reserve the right to object to this
                                                                     (03/11/2021)                                              Gold, Jon                          unreasonable restraints of trade, unfair competition and/or                     exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                             Harrison, Don                        tortious interference; proof of Defendants’ discovery                           introduce it.
                                                                                                                         Kleidermarcher, Dave                     conduct; proof of appropriate injunctive relief; proof of
                                                                                                                          Kochikar, Purnima                       resulting damages; and/or proof rebutting allegations in
                                                                                                                            Koh, Lawrence                         Defendants’ Answers and Counterclaims against Plaintiffs
                                                                                                                            Kolotouros, Jim
                                                                                                                         Lockheimer, Hiroshi
                                                                                                                          Marchak, Michael
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP1376       GOOG-PLAY-002303227                                 6/15/2016 email from P. Gennai to          Paul Gennai, Sameer Samat, Paul Bankhead          Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     H. Chang                                                                                                                                                                     403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                  the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                  declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                  established authenticity of the document, Foundation                    properly authenticated (Rule 901),




                                                                                                                                                                  72 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 103 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1377       GOOG-PLAY-002303282           PX 0932             Email from P.Bankhead to                               Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   M.Bennett re Lineage 2 Launch &                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   One Store (06/28/2016)                                                                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1378       GOOG-PLAY-002303286                               Email from P. Bankhead to V. Buch                      Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re [IMPORTANT] Lineage 2 launch                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   & One Store (06/28/2016)                                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1379       GOOG-PLAY-002324271                               Email from J. Gold to P. Bankhead                      Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   et al. re Alley-Oop for Orange                           Gold, Jon                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (01/24/2018)                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1380       GOOG-PLAY-002343804           PX 0930             Email from P.Bankhead to R.Leads                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re Paid Support (09/14/2020)                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1381       GOOG-PLAY-002350623                               Document dated 4/2018 titled          Paul Bankhead, Edward Cunningham, Sebastian Porst,   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Android Permissions"                                David Kleidermacher                                                                                                   402—exhibit is not relevant, Rule 602—exhibit contains statements (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                              not based on declarant’s personal knowledge, Foundation               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                    201, 602, 901, 902),
  TEMP1382       GOOG-PLAY-002353405           PX 0923             Email from K.Glick to P.Bankhead                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   re Play Business Mod (11/16/2020)                       Glick, Kobi                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                              not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                              objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                              trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                              it.
  TEMP1383       GOOG-PLAY-002358233           PX 0908             Document titled, "Straw man Biz                        Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Model" (11/19/2020)                                   Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                              objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                              trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                              it.
  TEMP1384       GOOG-PLAY-002377215           PX 1435             Email from K. Rasanen to L.                              Feng, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Fontaine re Non-Subscription Apps                      Rasanen, Kirsten                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   Impacted by Potential Policy Change                                                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                   (04/18/2017)                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1385       GOOG-PLAY-002378138           PX 0521             Email from A.Pott to K.Cox re                             Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Action Required: Slides for Pandora                                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Tomorrow (06/28/2017)                                                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1386       GOOG-PLAY-002380682           PX 1442             Email from K. Rasanen to P. Feng re                      Feng, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Prep Doc for Spotify Meeting                           Rasanen, Kirsten                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (11/27/2017)                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1387       GOOG-PLAY-002381547       PX 0512; PX 1439        Email from T. Sriskandarajah to A.                       Feng, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Ying et al re Meeting Notes and AIs                   Loew, Mrinalini                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Subscriptions PPS (2/2/2018)                          Rasanen, Kristen                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                         Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 104 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1388       GOOG-PLAY-002384214                                 8/3/2018 email from L. Yang to D.                   Paul Feng; Mrinalini Loew                  Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Riphagen, P. Davis, J. Frank, W.                                                               counterclaims                                                                    Foundation                                                              (Rules 803, 804, 807)
                                                                     Mok, D. Thiagarajan, A. Ying, P.                                                                                                                                                                                                                         Foundation/personal knowledge will be established (Rules
                                                                     Feng, M. Bhargava, M. Loew, M.                                                                                                                                                                                                                          201, 602, 901, 902)
                                                                     Brahmachari, A. Shoemaker, V.
                                                                     Gandhi, K. Koushan, K. Rodin
  TEMP1389       GOOG-PLAY-002405918.R           PX 0517             Presentation titled, "PPS: Blocking                         Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     IAP From Sideloaded Apps                                                                       unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (09/01/2017)                                                                                   tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                     trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                     it.
  TEMP1390       GOOG-PLAY-002410316.R           PX 0275             "Play Payment 116                                           Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     5 Circumvention & Early Solution                                                               unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     6 Exploration" slide deck                                                                      tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                     (11/12/2020)                                                                                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1391       GOOG-PLAY-002414560             PX 0593             Email from T. Arzu to P. Gennai re                        Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Next steps? (6/22/2018)                                 Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                             Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1392       GOOG-PLAY-002414562             PX 1515             Email from P. Kochikar to T. Arzu,                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     J. McGuire re Next Steps?                               Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/23/2018)                                                                                   tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1393       GOOG-PLAY-002414772             PX 1144             Email from P.Kochikar to D.Lee et                       Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     al. re Privileged Request for Help                                                             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     with Data (06/25/2018)                                                                         tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1394       GOOG-PLAY-002414780             PX 1516             Email from G. Hartrell to Kockihar                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     re Privileged and Co... (06/26/2018)                                                           unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                                                                     not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                     trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                     it.
  TEMP1395       GOOG-PLAY-002414881     PX1534 Purnima Kochikar     7/2/2018 email from B. Barras to P. Purnima Kochikar; Brandon Barras; Sarah Karam; Kirsten Defense to Plaintiffs' claims; proof of Match's liability for          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kochikar                                                   Rasanen                         counterclaims                                                                                                                                              (Rules 803, 804, 807)
  TEMP1396       GOOG-PLAY-002415283             PX 1517             Email from P. Kochikar to J.                          Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,              Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Rosenberg re Privileged: Call script                  Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/19/2018)                                                                               tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1397       GOOG-PLAY-002415373                                 Email re Fwd: Reactive comms -                          Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Minor IAP payments outage.                                                                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1398       GOOG-PLAY-002418229                                 Email from S. Thomson to P. Correa                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re [IMPORTANT] FW Update on                                                                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Spry Fox (12/13/2018)                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1399       GOOG-PLAY-002419760       PX0143 Lawrence Koh       4/11/2019 email from L. Koh to P.                Purnima Kochikar, Lawrence Koh                Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kochikar                                                                                                                                                                        Rule 402—exhibit is not relevant                                        (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                                              Exhibit is relevant (Rules 401, 402)




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                                                                         Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 105 of 250                              JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates               Deposition Exhibit Number                    Name / Description                                                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1400       GOOG-PLAY-002423720                                                Email from P. Kochikar to D.                            Harrison, Don                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                    Harrison et al re Fortnite on Google                   Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                    Play                                                    Koh, Lawrence                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1401       GOOG-PLAY-002423807                     PX 1522                    Email from P. Kochikar to M.                           Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                    Theermann re risk (12/13/2019)                          Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1402       GOOG-PLAY-002425286             PX1418 Kirsten Rasanen             3/3/2020 email from K. Rasanen to        Purnima Kochikar; Sarah Karam; Kirsten Rasanen      Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                                    Z. Zhou                                                                                                                                                                          declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay                                                    801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                                                                                        807)
                                                                                                                                                                                 competition and/or tortious interference; proof of                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                                 Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1403       GOOG-PLAY-002425290             PX1415 Kirsten Rasanen             3/3/2020 email from K. Rasanen to        Purnima Kochikar, Kirsten Rasanen, Sarah Karam      Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                                    Z. Zhou                                                                                                                                                                          declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay                                                    801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                                                                                        807)
                                                                                                                                                                                 competition and/or tortious interference; proof of                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                                 Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1404       GOOG-PLAY-002429670                     PX 0920                    Email from S.Kamdar to                                  Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                    P.Bankhead re FB Installer Confirm                     Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                    (07/17/2020)                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1405       GOOG-PLAY-002430406                                                Email re Brief reflections on AVP.                      Loew, Mrinalini                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                           Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                             Karam, Sarah                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           Marchak, Michael                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1406       GOOG-PLAY-002431271     PX1504 Donald Harrison; PX1542 Purnima 10/9/2020 email from P. Kochikar to Brandon Barras; Purnima Kochikar; Sameer Samat; Sarah Defense to Plaintiffs' claims; proof of Match's liability for             Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                       Kochikar                 D. Harrison, S. Samat, S. Karam, B.                 Karam; Donald Harrison                counterclaims                                                                              Rule 403—unfairly prejudicial, confusing the issues and/or              (Rules 803, 804, 807)
                                                                                Barras, D. Stein, D. Martinak, K.                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                Gambhir, T. Arzu                                                                                                                                                                     Foundation                                                              Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP1407       GOOG-PLAY-002432994.R                                              Presentation dated November 2019        Paul Feng, Kobi Glick, Purnima Kochikar, Mrinalini   Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                    titled "Battlestar: Bringing Play's          Loew, Paul Bankhead; Michael Marchak                                                                                                 Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                    games to desktops"                                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                      Foundation                                                             201, 602, 901, 902)

  TEMP1408       GOOG-PLAY-002438751             PX1502 Donald Harrison             Document dated 8/2019 titled           Brandon Barras, Paul Feng; Purnima Kochikar; Sameer   Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                    "Google/Match Group Exec                             Samat; Donald Harrison                                                                                                      602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                    Summit"                                                                                                                                                                          knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1409       GOOG-PLAY-002440706                                                Democratized Payments 2020                             Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                    (8/2018)                                                                                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                                     trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                                     it.




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                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 106 of 250                      JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1410       GOOG-PLAY-002442752             PX 1518             Document titled, "Mark Rein                            Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Responses in Green" (07/19/2018)                       Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                 objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                 trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                 it.
  TEMP1411       GOOG-PLAY-002465966                                 1/5/2017 email from J. Bender to S.                     Ed Cunningham                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kamdar and E. Cunningham                                                                                                                                                    106—exhibit is unfairly incomplete, Rule 602—exhibit contains         (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                 statements not based on declarant’s personal knowledge, Rule          106), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                 402—exhibit is not relevant, Rule 403—unfairly prejudicial,           (Rules 201, 602, 901, 902), Exhibit is relevant (Rules 401,
                                                                                                                                                                                                                                                 confusing the issues and/or misleading to the jury                    402), Balance favors admissibility (Rules 401, 403)

  TEMP1412       GOOG-PLAY-002546242             PX 1102             Slidedeck titled, "Are AOSP Apps                           Gold, Jon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Meeting the Needs of their                                                                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Audience?" (02/25/2015)                                                                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1413       GOOG-PLAY-002553988         PX 0686; PX 0931        Email from P.Bankhead to S.Samat                        Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     re Samsung App Store (04/05/2016)                       Samat, Sameer                       unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.
  TEMP1414       GOOG-PLAY-002555930             PX 0503             Email from E.Crosby to P.Feng re                           Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Sync on Samsung Pay (01/19/2017)                         Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                 exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                 introduce it.
  TEMP1415       GOOG-PLAY-002607703             PX 0691             Email from S.Samat to M.Bakar re                         Samat, Sameer                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Android OEMs (06/12/2019)                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1416       GOOG-PLAY-002618303                                 3/13/2021 email from D. Jackson to                       Sameer Samat                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     S. Samat                                                                                                                                                                    106—exhibit is unfairly incomplete                                      (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                                                                                         106)
  TEMP1417       GOOG-PLAY-002623398             PX 2735             Email from B. Dowd to S. Pichai re                       Pichai, Sundar                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Today's Schedule                                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1418       GOOG-PLAY-002634125             PX 0120             Email from S. Samat to D.                               Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Kleidermacher re Idea for marketing                   Kleidermacher, Dave                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     slides (06/30/2018)                                    Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                            Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1419       GOOG-PLAY-002634223             PX 0695             Email from A.Gutterman to D.Burke                     Kleidermacher, Dave                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     re Privileged and Confidential -                       Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Fortnite Web install UX                                Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     (07/18/2018)                                             Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1420       GOOG-PLAY-002634296                                 Email from G. Hartrell to A.                          Kleidermacher, Dave                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Gutterman re Privileged &                              Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Confidential - Fortnite web install                    Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     UX (07/30/2018)                                          Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1421       GOOG-PLAY-002650052.R                               Presentation dated 10/28/2020 titled   Sameer Samat; Hiroshi Lockheimer; Purnima Kochikar   Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Play 2021/25"                                                                                                                                                              personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                 hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),




                                                                                                                                                                 76 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 107 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1422       GOOG-PLAY-002650052.R           DX 1087             Slide deck titled, "Play 2021/25"                     Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (10/28/2020)                                                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1423       GOOG-PLAY-002751733                                 Email from P. Brady to N. Sears et                       Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     al. re Tmo app pack (08/10/2011)                           Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Sears, Nick                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1424       GOOG-PLAY-002771250.R                               Undated presentation titled "Android     Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Staples: Android and Play Metrics         Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     (devices-ba@)"                               Rosenberg, Sameer Samat, Paul Gennai                                                                                           knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                 prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                 701—exhibit contains improper specialized opinion by lay witness,       (Rules 401, 403), Not an opinion, or proper opinion
                                                                                                                                                                                                                                                 Foundation                                                              evidence (Rule 701),
  TEMP1425       GOOG-PLAY-002772502.R                               Presentation dated 2/2020 titled         Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Staples"                         Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                  Rosenberg, Sameer Samat, Paul Gennai                                                                                           knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                 prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                 701—exhibit contains improper specialized opinion by lay witness,       (Rules 401, 403), Not an opinion, or proper opinion
                                                                                                                                                                                                                                                 Foundation                                                              evidence (Rule 701),
  TEMP1426       GOOG-PLAY-002881559             PX 0800             Email from J.Rosenberg to                               Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     S.Kassardjian re DirecTV Status                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (05/26/2016)                                                                                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1427       GOOG-PLAY-002908292.R                               Undated presentation titled "P&E        Jamie Rosenberg; Purnima Kochikar; Sameer Samat     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Better Together First Draft"                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                  Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1428       GOOG-PLAY-002909645.R                               Presentation dated 12/2019 titled      Jamie Rosenberg, Hiroshi Lockheimer, Sameer Samat,   Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Market Share Summary"                          Paul Gennai, Dave Kleidermacher                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                 misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                 witness
                                                                                                                                                                                                                                                  Foundation
  TEMP1429       GOOG-PLAY-002910052.R           PX 0683             Presentation re App Installers                           Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (04/28/2020)                                               Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Glick, Kobi                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Rosenberg, Jamie                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1430       GOOG-PLAY-002929123             PX 0641             Email from J.Kolotouros to                              Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     A.Laurenson re Alcatel (12/03/2014)                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1431       GOOG-PLAY-002934124                                 Email from J. Kolotouros to P.                          Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Schindler re Transitioning Base to                    Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Android (02/18/2015)                                                                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1432       GOOG-PLAY-003009076                                 8/5/2020 email from J. Kolotouros                        Jim Kolotouros                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to Y. Richardson and K. Lee                                                                                                                                                 602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                 knowledge                                                         be established (Rules 201, 602, 901, 902)

  TEMP1433       GOOG-PLAY-003020484                                 Email re                                               Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Fwd: Zynga Poker : Abrupt removal                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                     from Play Store.                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                 402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                 time (Fed. R. Evid. 403).                                               presenting cumulative evidence




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                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 108 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1434       GOOG-PLAY-003204949                                 Email re Fwd: Value Exchange:                             Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Play/Google <-> Tinder/Match                            Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Group.                                                  Marchak, Michael                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1435       GOOG-PLAY-003208619             PX 0141             Email from L. Koh to S. Low re                           Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Rovio (03/05/2020)                                      Marchak, Michael                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1436       GOOG-PLAY-003217908             PX 1430             Email from E. Bar-Yehuda to K.                           Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Suzuk and K. Rasanen re what about                       Rasanen, Kristen                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     Alley Oop for Line in JP?                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                     (08/31/2016)                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1437       GOOG-PLAY-003312947                                 Email from P. Kochikar to A. Ong                         Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     B. Barras re Next Steps                                 Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/27/2018)                                              Ong, Adrian                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1438       GOOG-PLAY-003322987                                 Email re                                                Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Re: URGENT: Empires & Puzzles &                          Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                     Words With Friends 2 are not                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                     available on Google Play &                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies Exhibit is
                                                                     purchases not going through.                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;          danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.     presenting cumulative evidence
                                                                                                                                                                                                                                                   Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;
                                                                                                                                                                                                                                                   confusion of issues; waste of time (Fed. R. Evid. 403).

  TEMP1439       GOOG-PLAY-003322993                                 Email re Re: URGENT: Empires &                          Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Puzzles & Words With Friends 2 are                       Koh, Lawrence                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                     not available on Google Play &                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                     purchases not going through.                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies Exhibit is
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;          danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.     presenting cumulative evidence
                                                                                                                                                                                                                                                   Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;
                                                                                                                                                                                                                                                   confusion of issues; waste of time (Fed. R. Evid. 403).

  TEMP1440       GOOG-PLAY-003330183.R                               Presentation dated 2020 titled "The   Paul Feng, Purnima Kochikar, Michael Marchak, Hiroshi Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Gen Z Effect: Tech, trends, and         Lockheimer, Jamie Rosenberg, Sameer Samat, Paul                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                     truths for a new(er) generation"                             Gennai                                                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    Rule 701—exhibit contains improper specialized opinion by lay           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                   witness                                                                  Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                   Foundation
  TEMP1441       GOOG-PLAY-003331592.R                               Presentation dated 8/2019 titled         Jamie Rosenberg; Michael Marchak; Paul Gennai;       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Project Magical Bridge"                Purnima Kochikar; Paul Bankhead; Mrinalini Loew;                                                                                      602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                              Sameer Samat                                                                                                         knowledge, Rule 701—exhibit contains improper specialized               be established (Rules 201, 602, 901, 902), Not an opinion,
                                                                                                                                                                                                                                                   opinion by lay witness, Foundation                                      or proper opinion evidence (Rule 701),

  TEMP1442       GOOG-PLAY-003331764.R                               Accelerator Programs 2020 slide                            Feng, Paul                         Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     deck (7/2019)                                           Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Koh, Lawrence                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                             Marchak, Michael                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                              Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                   objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                   trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                   it.
  TEMP1443       GOOG-PLAY-003331820.R                               Presentation dated 2/2020 titled        David Kleidermacher; Edward Cunningham; Jamie      Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Staples"                     Rosenberg; Purnima Kochikar; Sameer Samat; Sebastian                                                                                    602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                  Porst; Donald Harrison; Jim Kolotouros                                                                                           knowledge, Foundation                                                 be established (Rules 201, 602, 901, 902),




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                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1444       GOOG-PLAY-003331888.R                               Undated presentation titled "Android     Edward Cunningham, Dave Kleidermacher, Purnima         Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     Feature Audit"                                     Kochikar, Michael Marchak                                                                                                        personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 701—exhibit contains improper specialized opinion by lay         Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         witness                                                                Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                          Foundation
  TEMP1445       GOOG-PLAY-003332000                                 Google Play - Project Magical                             Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Bridge slide deck (10/01/2020)                               Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               Marchak, Michael                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                         objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                         trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                         it.
  TEMP1446       GOOG-PLAY-003332070.R                               Presentation dated 2/2019 titled          Paul Gennai, Jamie Rosenberg, Michael Marchak,        Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     "Mobile Game Developer Support                           Purnima Kochikar,                                                                                                          602—exhibit contains statements not based on declarant’s personal objection applies (Rules 803, 804, 807),
                                                                     ("Project Hug")                                            Paul Bankhead                        Plaintiffs: Proof of Defendants’ liability for antitrust                            knowledge, Rule 701—exhibit contains improper specialized             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                     violations, unreasonable restraints of trade, unfair                                opinion by lay witness, Foundation                                    201, 602, 901, 902), Not an opinion, or proper opinion
                                                                                                                                                                     competition and/or tortious interference; proof of                                                                                                        evidence (Rule 701),
                                                                                                                                                                     Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                     injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                     rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1447       GOOG-PLAY-003332817.R       PX 0136; PX 1455        Slide deck titled "Boosting Top                          Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Game Developer Support                                   Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     and Securing Play Distribution on                       Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     Samsung Devices" (03/28/2019)                             Koh, Lawrence                       conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                               Kolotouros, Jim                     resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Lockheimer, Hiroshi                    Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                             Marchak, Michael                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Rosenberg, Jamie
                                                                                                                               Samat, Sameer
  TEMP1448       GOOG-PLAY-003333801                                 Document dated September 2020          Sameer Samat, Paul Feng, Kobi Glick, Purnima Kochikar, Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     titled "Google Play: Games 2025           Michael Marchak, Lawrence Koh, Paul Bankhead,                                                                                              Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Brief"                                                   Christian Cramer                                                                                                           personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          Foundation                                                             201, 602, 901, 902)

  TEMP1449       GOOG-PLAY-003334312             PX 0519             Play Billing Policy slide deck                             Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     (08/01/2019)                                                 Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Harrison, Donald                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                 Gennai, Paul                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                               Kochikar, Purnima                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                Samat, Sameer                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                         objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                         trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                         it.
  TEMP1450       GOOG-PLAY-003334683                                 Undated document titled "Dev            Paul Feng, Sameer Samat, Purnima Kochikar, Michael      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     Opportunity Analysis: Localized                      Marchak, Paul Bankhead                                                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                     Pricing"                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Foundation                                                            Exhibit is relevant (Rules 401, 402)

  TEMP1451       GOOG-PLAY-003335228                                 Undated document titled "Business        Donald Harrison, Sameer Samat, Paul Feng, Purnima      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Model"                                      Kochikar, Michael Marchak, Lawrence Koh                                                                                                  Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the             201, 602, 901, 902)
                                                                                                                                                                                                                                                         document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         Foundation
  TEMP1452       GOOG-PLAY-003335603.R                               Presentation dated 9/25/2017 titled    Jamie Rosenberg, Sameer Samat, Paul Feng, Paul Gennai, Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Google Play 2018 Strategic Plan"                Purnima Kochikar, Paul Bankhead                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1453       GOOG-PLAY-003335786.R       PX 0939; PX 2697        Slide deck titled, "Google Play                          Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Business Model" (08/19/2020)                                 Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Harrison, Donald                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                              Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                             Lockheimer, Hiroshi                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                              Marchak, Michael                       Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                               Rasanen, Kristen                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                              Rosenberg, Jamie                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                Samat, Sameer                                                                                                            it.
  TEMP1454       GOOG-PLAY-003459064                                 Email from B. Otuteye to S. Samat,                         Samat, Sameer                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     et al re Subscriptions (08/02/2016)                                                             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.




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                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 110 of 250 JOINT TRIAL EXHIBIT LIST
                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1455       GOOG-PLAY-003467770                               Email from M. Medenica to T.              Samat, Sameer               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Kishimoto et al. re MVNO support                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   in DCB (04/26/2017)                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1456       GOOG-PLAY-003490542           PX 1481             Email from D. Harrison to L. Zhang       Harrison, Don                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re Tencent GVP Agreement Fully          Marchak, Michael              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Executed (12/21/2020)                    Samat, Sameer                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1457       GOOG-PLAY-003494785           PX 2746             Email from S. Pichai to P. Manwell        Pichai, Sundar              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   dated Apr. 27, 2015                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1458       GOOG-PLAY-003534689       PX 0946; PX 1217        Email from A.Rubin to J.Lagerling          Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re Revised Rev-Share on PlayStore         Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   and DCB (10/22/2012)                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1459       GOOG-PLAY-003546787           PX 2656             Email from L. Lin to D. Burke, C.      Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   DuBrowa re Recap: Off-the-Record                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Media Dinner for Android                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                   (02/20/2020)                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1460       GOOG-PLAY-003560340           PX 2614             Email from S. Preve to P. Harrison       Harrison, Donald             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   re Android OEMs (06/13/2019)                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1461       GOOG-PLAY-003575453           PX 0314             Email from T. Yang Lee to E. Chu            Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                   re Chat with T. Yang Lee                                              unreasonable restraints of trade, unfair competition and/or                     confusion of issues; waste of time (Fed. R. Evid. 403)., Personal       defenses; Evidence’s probative value not substantially
                                                                   (03/01/2012)                                                          tortious interference; proof of Defendants’ discovery                           knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the        outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       exhibit is a statement made by one other than the witness while         issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        testifying at trial, offered into evidence to prove the truth of the    and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        matter asserted, and not subject to any hearsay exception (Fed. R.      more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         Evid. 801 and 802)., Conditional objection; defendants reserve the      exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         right to object to this exhibit at trial depending on the purpose for   exception applies;
                                                                                                                                                                                                                         which plaintiffs seek to introduce it.
  TEMP1462       GOOG-PLAY-003576946           PX 1131             Email from E. Chu to N. Sears re T-         Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Mobile & Inventec (05/16/2008)             Sears, Nick                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1463       GOOG-PLAY-003578767                               Undated document titled "Open               Rich Miner                Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Handset Alliance (OHA)"                                                                                                                               personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                         document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                         Foundation
  TEMP1464       GOOG-PLAY-003582221                               4/20/2010 email from D. Marshall to          Eric Chu                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   E. Chu                                                                                                                                                personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                          Rule 404—exhibit appears to contain improper character evidence      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                                                               exception applies (Rules 607, 608, 609)
  TEMP1465       GOOG-PLAY-003600774           PX 0332             Chat between E. Chu and P. Gupta            Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   (5/28/2020)                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                         resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                                                                         truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                         402)., Misleading; undue prejudice; confusion of issues; waste of     the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                         time (Fed. R. Evid. 403).                                             presenting cumulative evidence




                                                                                                                                         80 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 111 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1466       GOOG-PLAY-003600814             PX 0316             Message from E. Chu to E. Kim                                Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (06/07/2020)                                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1467       GOOG-PLAY-003629146                                 3/24/2015 email from J. Rosenberg              Jamie Rosenberg, Hiroshi Lockheimer             Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to H. Lockheimer                                                                                                                                                               402—exhibit is not relevant, Rule 602—exhibit contains statements (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                    not based on declarant’s personal knowledge, Rule 701—exhibit     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    contains improper specialized opinion by lay witness              201, 602, 901, 902), Not an opinion, or proper opinion
                                                                                                                                                                                                                                                                                                                      evidence (Rule 701)
  TEMP1468       GOOG-PLAY-003662656                                 12/24/2020 Email from D. Harrison Don Harrison, Hiroshi Lockheimer, Sameer Samat, Jamie Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff     Rule 802—exhibit contains inadmissible hearsay                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to Pstaff, P. Schindler, Global                         Rosenberg                       counterclaims                                                                                                                                            (Rules 803, 804, 807)
                                                                     Partnerships Leads, H. Lockheimer,
                                                                     R. Osterloh, N. Fox, J. Dischler, S.
                                                                     Hsiao, B. Ready, P. Raghavan, J.
                                                                     Rosenberg, S. Samat, and R. Enslin

  TEMP1469       GOOG-PLAY-003664706.R                               Undated presentation titled                        Paul Feng, Purnima Kochikar                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     "Response to SMB program"                                                                                                                                                      personal knowledge                                                     201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Foundation
  TEMP1470       GOOG-PLAY-003674055             PX 1560             Email from K. Wang to A. Kumar re                        Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;           Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Heads Up: Terrorist App Removed                                                                unreasonable restraints of trade, unfair competition and/or                     confusion of issues; waste of time (Fed. R. Evid. 403)., Personal      defenses; Evidence’s probative value not substantially
                                                                     from Play - Potential PR Mention                                                               tortious interference; proof of Defendants’ discovery                           knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the       outweighed by danger of unfair prejudice, confusing the
                                                                     from CNN and Others (06/18/2014)                                                               conduct; proof of appropriate injunctive relief; proof of                       exhibit is a statement made by one other than the witness while        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        testifying at trial, offered into evidence to prove the truth of the   and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        matter asserted, and not subject to any hearsay exception (Fed. R. more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                    Evid. 801 and 802)., Conditional objection; defendants reserve the exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                    right to object to this exhibit at trial depending on the purpose for  exception applies;
                                                                                                                                                                                                                                                    which plaintiffs seek to introduce it.
  TEMP1471       GOOG-PLAY-003678134                                 8/3/2016 email from C. Green to                          Jamie Rosenberg                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     play-ux-discuss, play-pm, Play UER                                                                                                                                              Rule 602—exhibit contains statements not based on declarant’s         (Rules 803, 804, 807)
                                                                     Announcements, N. Guimaraes, A.                                                                                                                                                personal knowledge                                                      Foundation/personal knowledge will be established (Rules
                                                                     Rothman, R. Brandman                                                                                                                                                            Rule 402—exhibit is not relevant                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
  TEMP1472       GOOG-PLAY-003683919                                 Google Chat conversation                                 Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     (08/13/2020)                                              Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                           Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          Conditional objection; defendants reserve the right to object to this
                                                                                                                            Lockheimer, Hiroshi                                                                                                     exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                               Pichai, Sundar                                                                                                       introduce it.
                                                                                                                             Rosenberg, Jamie
                                                                                                                               Samat, Sameer
  TEMP1473       GOOG-PLAY-003684104.R                               Presentation dated 11/2018 titled       Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     "Smartphone Purchase Journey          Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                   personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     2018: UK Findings"                        Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                          hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                    misleading to the jury, Rule 701—exhibit contains improper          favors admissibility (Rules 401, 403), Not an opinion, or
                                                                                                                                                                                                                                                    specialized opinion by lay witness, Foundation                      proper opinion evidence (Rule 701),
  TEMP1474       GOOG-PLAY-003684354.R                               Presentation dated 8/2020 titled       Jamie Rosenberg; Paul Gennai; Sameer Samat; Donald      Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     "Android Update: Google Leads"                    Harrison, Hiroshi Lockheimer                                                                                                 personal knowledge                                                  201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                   (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Foundation                                                          Exhibit is relevant (Rules 401, 402)

  TEMP1475       GOOG-PLAY-003687133.R                               May 2016 Google presentation titled                        Gold, Jon                           Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     "GMS apps on Low RAM -                                   Kolotouros, Jim                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     leadership update"                                     Lockheimer, Hiroshi                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                             Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                              Samat, Sameer                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                    trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                    it.
  TEMP1476       GOOG-PLAY-003688820         PX 1396; PX 2732        Document titled, "Project Wichita"                       Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                            Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Pichai, Sundar                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                             Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                    trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                    it.




                                                                                                                                                                    81 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 112 of 250                    JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1477       GOOG-PLAY-003691245.R           PX 1106             Slidedeck titled, "App Revenue                          Gold, Jon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Recognition" (12/2012)                               Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                              objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                              trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                              it.
  TEMP1478       GOOG-PLAY-003710503             PX 0620             Email from J.Kolotouros to S.Cho re                  Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Hangouts (10/07/2015)                                                                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1479       GOOG-PLAY-003720093             PX 0789             Email from J. Rosenberg to R.                        Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Lipscomb, K. Lee, J. Kolotouros re                   Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                     FW Project Banyan Update                                                                 tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/12/2019)                                                                             conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                              exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                              introduce it.
  TEMP1480       GOOG-PLAY-003741416             PX 1098             Email from J.Gold to C.Bita re Play                      Gold, Jon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Revenue (05/08/2013)                                                                     unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                              exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                              introduce it.
  TEMP1481       GOOG-PLAY-003742934.R                               Mobile Midyear Plan Review Prep                      Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     slide deck (06/12/2013)                                 Gold, Jon                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Harrison, Don                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                        Kleidermacher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Kochikar Purnima                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                          Kolotouros, Jim                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                        Lockheimer, Hiroshi
                                                                                                                           Pichai, Sundar
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
  TEMP1482       GOOG-PLAY-003758047.R           PX 1113             Slidedeck titled, "Apple Deal                           Gold, Jon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Assessment" (08/2012)                                                                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1483       GOOG-PLAY-003762336             PX 1091             Email from J.Gold to J.Gold re $550                      Gold, Jon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     in Annual Savings from Carrier                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Renewals!" (12/18/2014)                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP1484       GOOG-PLAY-003762764             PX 1116             Email from J.Gold to P.Pichette et                       Gold, Jon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re. Finance Prep - Apple Deal                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Discussion at AVPFun (01/24/2015)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                              402).
  TEMP1485       GOOG-PLAY-003762784             PX 1117             Email from J.Gold to P.Piche re                          Gold, Jon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Finance Prep - Apple Deal                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Discussion at SVPFun (01/22/2015)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                              402).
  TEMP1486       GOOG-PLAY-003766790.R                               Presentation dated 5/2015 titled      Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Introduction to Android"              Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                        602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                               Rosenberg, Sameer Samat, Paul Gennai                                                                                           knowledge, Rule 701—exhibit contains improper specialized               be established (Rules 201, 602, 901, 902), Not an opinion,
                                                                                                                                                                                                                                              opinion by lay witness, Foundation                                      or proper opinion evidence (Rule 701),

  TEMP1487       GOOG-PLAY-003767067             PX 1491             Document titled, "Current                                Gold, Jon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Partnershup Status" (06/29/2015)                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        402).




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                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 113 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1488       GOOG-PLAY-003772918.R           PX 1084             Slidedeck titled, "Carrier Rev-Share                        Gold, Jon                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Evaluation" (10/2012)                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue               prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                              cumulative evidence.
  TEMP1489       GOOG-PLAY-003773031.R       PX1087 Jon Gold         December 2012 presentation titled        Rich Miner, Patrick Brady, Paul Gennai, Jon Gold    Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     "Impact of lower rev-share on                                                                                                                                                    declarant’s personal knowledge; Rule 802—exhibit contains               established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                     Google Play Revenue and Margins"                                                             Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay; Foundation                                        801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                  violations, unreasonable restraints of trade, unfair                                                                                                        807)
                                                                                                                                                                  competition and/or tortious interference; proof of                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                  Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Misleading; undue             value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                                                                                            delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                            cumulative evidence.
  TEMP1490       GOOG-PLAY-003779904             PX 1096             Email from J.Gold to M.Bye et al. re                        Gold, Jon                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Android, ChromeOS, Play 2017 Plan                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Review (12/07/2016)                                                                          tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1491       GOOG-PLAY-003834094             PX 0381             Email entitled re: Hug with Kochikar                   Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (02/11/2019)                                           Marchak, Michael                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence;
                                                                                                                                                                                                                                                      Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                      exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                      introduce it.
  TEMP1492       GOOG-PLAY-003884433                                 Email from S. Karam to M. Marchak                        Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     re Re: Input required for PEX review                    Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     for Books and Comics Accelerator                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                     Program - (AP 20-070) (12/12/2020)                                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1493       GOOG-PLAY-003894142.R                               Presentation dated 2/24/2021 titled    Michael Marchak, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "P&E Partnerships Ops Meeting Bi-                        Sameer Samat                                                                                                            602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Weekly"                                                                                                                                                                          knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1494       GOOG-PLAY-003894444                                 Google Chat conversation                                Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (03/03/2021)                                              Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Lockheimer, Hiroshi                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Marchak, Michael                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                               Pichai, Sundar                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer
  TEMP1495       GOOG-PLAY-003897323.R                               Presentation dated April 2019 titled                    Michael Marchak                      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Apps Velocity Program"                                                                                                                                                           Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                       Foundation                                                             201, 602, 901, 902)

  TEMP1496       GOOG-PLAY-003899355.R                               GCP VPs HUG summary slide deck                          Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (03/26/2021)                                                                                 unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1497       GOOG-PLAY-003929257                                 Google Chat conversation                                 Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (02/06/2020)                                            Barras, Brandon                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Harrison, Don                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kleidermarcher, Dave                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                            Kochikar, Purnima                     resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                              Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Kolotouros, Jim                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                           Lockheimer, Hiroshi                                                                                                        Evid. 402).
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer




                                                                                                                                                                  83 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 114 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                  Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1498       GOOG-PLAY-003930716             PX 0933             Email from S.Izmit to P.Bankhead                             Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (09/09/2020)                                                                                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1499       GOOG-PLAY-003932260             PX 0915             Bender Perf Spring 2020                                      Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (02/07/2020)                                                                                      unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1500       GOOG-PLAY-003938581.R       PX 0358; PX 0901        Slide deck entitled "Magical Bridge -                       Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Potential Developer POV" (06/2019)                         Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                 Samat, Sameer                         tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1501       GOOG-PLAY-003939350                                 Spreadsheet with filename GPB                               Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Policy Holdout Tracker (go-                                Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     gpbpolicy_11Qqdb46DLfCn9tOl9q9                                                                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     vJp8AhLqpNepX-                                                                                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                     VZAs7JDwCc.xlsx;GPB Policy                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                     Holdout Tracker (go-gpbpolicy-                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                     p_11Qqdb46DLfCn9tOl9q9vJp8Ah                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                     LqpNepX-VZAs7JDwCc.xlsx                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1502       GOOG-PLAY-003939621.R    DX0447 Douglas Schmidt     Presentation dated 11/2020 titled          Hiroshi Lockheimer, Sameer Samat, Paul Bankhead        Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Android Staples"                                                                                                                                                                   personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 701—exhibit contains improper specialized opinion by lay           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         witness                                                                  Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         document
                                                                                                                                                                                                                                                          Foundation
  TEMP1503       GOOG-PLAY-003954603             PX 2748             Email from P. Feng to S. Samat re                             Feng, Paul                          Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Meeting with Sundar Today                                  Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                 Samat, Sameer                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Opinion, if any, is rationally
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Opinion testimony by Lay Witness (Fed. R. Evid. 701)., Hearsay;         based on the author’s perception; is helpful to clearly
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          the exhibit is a statement made by one other than the witness while     understand testimony or determine a fact in issue; and/or is
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          testifying at trial, offered into evidence to prove the truth of the    not based on knowledge within the scope of Rule 702;
                                                                                                                                                                                                                                                         matter asserted, and not subject to any hearsay exception (Fed. R.      Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                         Evid. 801 and 802)., Conditional objection; defendants reserve the      applies;
                                                                                                                                                                                                                                                         right to object to this exhibit at trial depending on the purpose for
                                                                                                                                                                                                                                                         which plaintiffs seek to introduce it.

  TEMP1504       GOOG-PLAY-003963578                                 6/20/2018 Email from S. Karam to          Purnima Kochikar, Brandon Barras, Kirsten Rasanen,      Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     P. Kochikar                                          Sarah Karam; Adrian Ong                      counterclaims                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1505       GOOG-PLAY-003965149                                 11/14/2018 email from P. Kochikar                  Purnima Kochikar, Jamie Rosenberg              Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to B. Kim                                                                                                                                                                           402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                         confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                         602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         knowledge                                                               201, 602, 901, 902)
  TEMP1506       GOOG-PLAY-003970664             PX 1548             Document titled, "Privileged - Install                     Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Permissions Meetings with FB and                           Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Sony" (05/29/2020)                                          Kolotouros, Jim                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                 Samat, Sameer                         resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1507       GOOG-PLAY-003975760                                 Document entitled Google Play /                               Feng, Paul                          Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Match Group Summit 2017: Briefing                          Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Document for Googlers.                                      Barras, Brandon                       tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1508       GOOG-PLAY-003977030.R                               Presentation dated 2Q 2017 titled        Kirsten Rasanen, Jamie Rosenberg, Paul Gennai, Purnima Defense to Plaintiffs' claims                                         Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "New Policy for non-Play app               Kochikar, Sameer Samat, Hiroshi Lockheimer, Paul                                                                                         403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     updates to Play-installed apps"                                 Bankhead                                                                                                            the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                         declarant’s personal knowledge, Foundation                              established (Rules 201, 602, 901, 902),




                                                                                                                                                                      84 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 115 of 250                  JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1509       GOOG-PLAY-004100521                                 Document dated 2/2019 titled "Web                     Sameer Samat                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Platform: Product Strategy"                                                                                                                                                   Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                  personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                   Foundation                                                             201, 602, 901, 902)

  TEMP1510       GOOG-PLAY-004101689                                 Match Group / AVP Meeting-                           Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Internal Briefing Document                            Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (10/21/2020)                                      Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                          Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Pichai, Sundar                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP1511       GOOG-PLAY-004105853             PX 2724             Email from A. Bishop to R. Roy-                      Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Chowdhury re [webstore-leads] re:                     Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Sync up on Polycraft Chrome App                   Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (10/28/2013)                                        Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                          Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                       exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                           Pichai, Sundar                                                                                                         Evid. 402).
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1512       GOOG-PLAY-004110055       PX2745 Sundar Pichai      8/20/2014 email from S. Pichai to L-   Purnima Kochikar; Sameer Samat, Sundar Pichai     Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay; Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     team & B. Campbell                                                                                                                                                           402—exhibit is not relevant; Foundation                               objection applies (Rules 803, 804, 807); Exhibit is relevant
                                                                                                                                                              Plaintiffs: Proof of Defendants’ liability for antitrust                                                                                                  (Rules 401, 402); Foundation/personal knowledge will be
                                                                                                                                                              violations, unreasonable restraints of trade, unfair                                Defendants: Incomplete; the introduction of any remaining portions established (Rules 201, 602, 901, 902)
                                                                                                                                                              competition and/or tortious interference; proof of                                  ought, in fairness, to be considered contemporaneously (Fed. R
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                 .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     considered at the same time; One or more witnesses have
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                              Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay      not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).

  TEMP1513       GOOG-PLAY-004114740             PX 2733             Document titled, "Sun Valley                         Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Conference Preparation, July 2016"                     Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/01/2016)                                       Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                        Lockheimer, Hiroshi                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1514       GOOG-PLAY-004119228.R     PX2728 Sundar Pichai      Presentation dated 7/15/2020 titled                  Barras, Brandon                     Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     "Google Play Alphabet Board                            Harrison, Don                                                                                                         602—exhibit contains statements not based on declarant’s personal objection applies (Rules 803, 804, 807),
                                                                     Update"                                            Kleidermarcher, Dave                  Plaintiffs: Proof of Defendants’ liability for antitrust                            knowledge, Foundation                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                         Kochikar, Purnima                    violations, unreasonable restraints of trade, unfair                                                                                                      201, 602, 901, 902),
                                                                                                                           Koh, Lawrence                      competition and/or tortious interference; proof of                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                           Kolotouros, Jim                    Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                        Lockheimer, Hiroshi                   injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Pichai, Sundar                    rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                          Rosenberg, Jamie                    Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Samat, Sameer                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1515       GOOG-PLAY-004119254                                 Google document breaking down                        Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     revenue sources by product                             Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                            Evid. 402).
                                                                                                                        Lockheimer, Hiroshi
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1516       GOOG-PLAY-004120889                                 Comms Doc - Google Play / App                        Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Store SMB Program (11/19/2020)                         Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                         Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                        Lockheimer, Hiroshi                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
  TEMP1517       GOOG-PLAY-004120903.R            PX 435             Presentation titled, "Q4'19 AC:                     Cramer, Christian;                   Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Quarterly Results"                                      Porat, Ruth;                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Pichai, Sundar                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                              85 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 116 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1518       GOOG-PLAY-004122592                                 Sundar Prep for 12/19 Apple Mtg -                         Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Talking Points (11/29/2018)                                 Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                              Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        Evid. 402).
                                                                                                                             Lockheimer, Hiroshi
                                                                                                                                 Pichai, Sundar
                                                                                                                               Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1519       GOOG-PLAY-004136427                                 Email from T. Lim to tianlim leads re                     Rosenberg, Jamie                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     FW Project Banyan Update                                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (07/12/2019)                                                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                    402).
  TEMP1520       GOOG-PLAY-004144047.R                               Slide deck titled "Play Market                            Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Opportunities" (08/19/2020)                                                                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1521       GOOG-PLAY-004145883            PXCH-0098            Chat from P.Kochikar to T.Lim et al                       Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                 Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Lockheimer, Hiroshi                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                 Pichai, Sundar                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                               Rosenberg, Jamie                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                Samat, Sameer
  TEMP1522       GOOG-PLAY-004146689.R           PX 0384             Games Velocity Program - V1                              Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,      One or more witnesses have foundation to testify
                                                                     Business Impact Assessment. V2                                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the    concerning the exhibit; Exhibit does not contain hearsay
                                                                     Introduction slide deck (12/2020)                                                              tortious interference; proof of Defendants’ discovery                                                                                             and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                                                                                                    witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay      value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                      cumulative evidence.
  TEMP1523       GOOG-PLAY-004151467.R                               Presentation dated 3/2020 titled          Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey            Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2019: Global Findings"                      Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                        knowledge, Rule 701—exhibit contains improper specialized         be established (Rules 201, 602, 901, 902), Not an opinion,
                                                                                                                                                                                                                                                    opinion by lay witness, Foundation                                or proper opinion evidence (Rule 701),

  TEMP1524       GOOG-PLAY-004153066.R                               Presentation entitled Play Value                          Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Model, Play BD StratOps - Aug 8,                           Samat, Sameer                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                     2019.                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay           value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue              prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                    Conditional objection; defendants reserve the right to object to this cumulative evidence;
                                                                                                                                                                                                                                                    exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                    introduce it.
  TEMP1525       GOOG-PLAY-004223307             PX 0959             Market Strategy slide deck                                  Rubin, Andy                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     (11/04/2011)                                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies.
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1526       GOOG-PLAY-004230269         PX 0947; PX 1218        Email from P.Pichette to A.Rubin re                         Rubin, Andy                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Mobile Search and PlayStore Term                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Renegotiations Status (02/15/2013)                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue             prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                          cumulative evidence.
  TEMP1527       GOOG-PLAY-004234103                                 Email from A. Thuener to M.                               Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Kourakina re Re: ABK accounting                                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     briefing note (06/03/2020)                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP1528       GOOG-PLAY-004235359                                 Document titled "Hypothetical                             Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Scenario: Cancelling Revenue Share                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Agreements on Android in the US                                                                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                     and Canada" (12/12/2019)                                                                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue             prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                          cumulative evidence.




                                                                                                                                                                    86 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 117 of 250                  JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                       Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1529       GOOG-PLAY-004235367             PX 0442             Spreadsheet titled, "Copy of                          Cramer, Christian                 Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Android LTVs" (09/11/2019)                                                              unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1530       GOOG-PLAY-004260663             PX 1061             Spreadsheet titled, "OEM Partners                     Harrison, Donald                  Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     & RSA payload" (02/24/2020)                           Kolotouros, Jim                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1531       GOOG-PLAY-004261883.R           PX 1485             Slide deck titled, "Project Electra"                  Harrison, Donald                  Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (07/01/2018)                                                                            unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1532       GOOG-PLAY-004268238.R     PX0684 Sameer Samat       Undated presentation titled "App       Edward Cunningham, David Kleidermacher, Sameer   Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                     stores in Android 12"                                      Samat                                                                                                            declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                             Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the      801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                             violations, unreasonable restraints of trade, unfair                                issues and/or misleading to the jury, Foundation                        807), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                             competition and/or tortious interference; proof of
                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies.
                                                                                                                                                             Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1533       GOOG-PLAY-004270482         PX 0764; PX 0919        PHA Risk Assessment of Fortnite’s                     Bankhead, Paul                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Sideload Delivery Scheme                            Cunningham, Edward                  unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (01/18/2019)                                        Kleidermacher, Dave                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1534       GOOG-PLAY-004283892                                 Email from D. Morrill to J. Sharkey                   Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Re: [android-vendingmachine]                          Chu, Eric                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Handango app violates Market TOS                       Harrison, Don                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (05/20/2009)                                        Kleidermacher, Dave                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                          Kochikar Purnima                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Koh, Lawrence                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Kolotouros, Jim                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                         Lockheimer, Hiroshi                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                            Pichai, Sundar                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
                                                                                                                          Rosenberg, Jamie
  TEMP1535       GOOG-PLAY-004283945             PX 0326             Email from C. Forsyth to D. Morrill                      Chu, Eric                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Handango app violates Market                                                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     TOS (05/21/2009)                                                                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1536       GOOG-PLAY-004284230             PX 0301             Email from E. Chu to T. Wilk re                          Chu, Eric                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier Billing Pricing (06/06/2009)                                                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1537       GOOG-PLAY-004285755             PX 1123             Email from N. Sears to M. Queiroz                        Chu, Eric                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     and E. Tseng re communicating with                      Sears, Nick                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     TMO: Android Market "ClientID"                                                          tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (09/26/2009)                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802).
  TEMP1538       GOOG-PLAY-004320094                                 Email from R. Sarafa to D.                            Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Dougherty re Warning policy for                          Chu, Eric                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     apps using other inapp payment                         Harrison, Don                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     systems (03/10/2011)                                Kleidermacher, Dave                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                          Kochikar Purnima                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Koh, Lawrence                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Kolotouros, Jim                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                         Lockheimer, Hiroshi                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                            Pichai, Sundar                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
                                                                                                                          Rosenberg, Jamie




                                                                                                                                                             87 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 118 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                    Summary of Response (w/Authority)
  TEMP1539       GOOG-PLAY-004321514             PX 1243             E-mail from L. Streb to E. Chu                          Christensen, Eric                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                     (7/14/2011)                                                Chu, Eric                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP1540       GOOG-PLAY-004321940             PX 0324             Email from E.Chu to J.Lagerling re                         Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                     Samsung Apps and Android Market                          Lagerling, John                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                     (12/19/2011)                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1541       GOOG-PLAY-004329906.R                               Presentation dated 10/2018 titled        Don Harrison, Purnima Kochikar, Jim Kolotouros,     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey 2018         Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                         602—exhibit contains statements not based on declarant’s personal         (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     US Findings"                                 Rosenberg, Sameer Samat, Paul Gennai                                                                                            knowledge, Rule 901—proponent has not established authenticity            be established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                  of the document, Rule 403—unfairly prejudicial, confusing the             properly authenticated (Rule 901), Balance favors
                                                                                                                                                                                                                                                  issues and/or misleading to the jury, Rule 701—exhibit contains           admissibility (Rules 401, 403), Not an opinion, or proper
                                                                                                                                                                                                                                                  improper specialized opinion by lay witness, Foundation                   opinion evidence (Rule 701),

  TEMP1542       GOOG-PLAY-004330142.R                               Presentation dated 12/2018 titled       Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Smartphone Purchase Journey          Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     2018"                                     Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                        knowledge, Rule 901—proponent has not established authenticity be established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                  of the document, Rule 701—exhibit contains improper specialized properly authenticated (Rule 901), Not an opinion, or
                                                                                                                                                                                                                                                  opinion by lay witness, Foundation                                      proper opinion evidence (Rule 701),
  TEMP1543       GOOG-PLAY-004338386                                 Chat between ctate, egnor et al.                        Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (09/25/2009)                                              Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                           Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                            Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                           Lockheimer, Hiroshi                                                                                                    to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                               Pichai, Sundar                                                                                                     hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                             Rosenberg, Jamie                                                                                                     objection; defendants reserve the right to object to this exhibit at
                                                                                                                              Samat, Sameer                                                                                                       trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                  it.
  TEMP1544       GOOG-PLAY-004449004                                 Email from M. Cleron to H.                             Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Making the web                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                     platform better on Android                                                                   tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                     (12/10/2014)                                                                                 conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                  subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP1545       GOOG-PLAY-004449600                                 Undated document titled "Google        Edward Cunningham; David Kleidermacher; Sebastian     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                     Report: Android Security 2014 Year                Porst; Hiroshi Lockheimer                                                                                                  personal knowledge, Rule 802—exhibit contains inadmissible                201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     in Review"                                                                                                                                                                   hearsay, Rule 901—proponent has not established authenticity of           hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                  the document, Rule 701—exhibit contains improper specialized              will be properly authenticated (Rule 901), Not an opinion,
                                                                                                                                                                                                                                                  opinion by lay witness, Foundation                                        or proper opinion evidence (Rule 701),
  TEMP1546       GOOG-PLAY-004452685             PX 1399             Email from J. Lagerline to H.                            Lagerling, John                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re SpeedBump - Need                         Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                     to Sync this Week (04/27/2017)                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP1547       GOOG-PLAY-004453915             PX 1555             Document titled, "DRAFT: Native /                      Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                     Web Developer Platform Evolution"                                                            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                     (06/28/2018)                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP1548       GOOG-PLAY-004455818             PX 1391             Instant Messages from S.Wojcicki to                    Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                     H. Lockheimer (06/23/2020)                                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                  to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                  hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies.

  TEMP1549       GOOG-PLAY-004458989.R                               Android Update for NBD All Hands                        Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                     slide deck (11/11/2010)                                   Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies;
                                                                                                                            Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                           Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer




                                                                                                                                                                  88 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 119 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                                              Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1550       GOOG-PLAY-004466929             PX 0801             Email from J. Rosenberg to P.                               Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kochikar re PLEASE READ: WSJ                                Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     details (08/27/2013)                                                                             tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                      to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                      hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                      it.
  TEMP1551       GOOG-PLAY-004474270                                 5/28/2016 email from J. Rosenberg                    Jamie Rosenberg, Sameer Samat               Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to S. Samat, P. Gennai, M. Petrillo,                                                                                                                                              Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     L. Fontaine, V. Buch, S. Newberry,                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                     K. Oh                                                                                                                                                                             Foundation                                                             201, 602, 901, 902)

  TEMP1552       GOOG-PLAY-004483042             PX 1453             Email from J. Rosenberg to L. Koh                           Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     et al re Hello and Follow Up                                 Koh, Lawrence                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     (03/26/2019)                                                Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                      to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                      hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                      it.
  TEMP1553       GOOG-PLAY-004486087.R                               Presentation dated 11/5/2020 titled   Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                              Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "2021 Annual Plan: Platforms &      Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                       personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Ecosystem"                               Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                             hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1554       GOOG-PLAY-004486408                                 Document titled, "Apple Partnership                    Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,               Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Strategy" (10/29/2020)                                   Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                          Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                                 made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                             into evidence to prove the truth of the matter asserted, and not        and/or a hearsay exception applies;
                                                                                                                             Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                              subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                             Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                              Conditional objection; defendants reserve the right to object to this
                                                                                                                          Lockheimer, Hiroshi                                                                                                         exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                              Pichai, Sundar                                                                                                          introduce it.
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1555       GOOG-PLAY-004486734.R                               Presentation dated 6/2019 titled    Jamie Rosenberg, Hiroshi Lockheimer, Donald Harrison, Defense to Plaintiffs' claims                                            Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Android Industry Staples (Q2'19)"      Sameer Samat, Paul Gennai, Sarah Karam, Dave                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                     Kleidermacher, Jim Kolotouros                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                      document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       Foundation
  TEMP1556       GOOG-PLAY-004486944.R                               Presentation dated 11/5/2019 titled         Paul Gennai, Dave Kleidermacher; Jamie Rosenberg; Defense to Plaintiffs' claims                                        Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "2020 Annual Plan Platforms &             Sameer Samat; Sebastian Porst; Hiroshi Lockheimer; Jim                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Ecosystems Hiroshi/Ruth Review"               Kolotouros; Purnima Kochikar, Paul Bankhead                                                                                        hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1557       GOOG-PLAY-004487124.R                               Presentation dated 3/19/2019 titled       Edward Cunningham; Jamie Rosenberg; Paul Feng; Paul Defense to Plaintiffs' claims                                        Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Samsung Galaxy Store Landscape"                  Gennai; Jim Kolotouros; Paul Bankhead                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                       Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       Foundation
  TEMP1558       GOOG-PLAY-004487899.R                               Presentation dated 1/2020 titled "US   Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Android Share: Switching             Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Dynamics"                                Kolotouros, Purnima Kochikar, Paul Bankhead                                                                                             hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                      the document, Rule 701—exhibit contains improper specialized            will be properly authenticated (Rule 901), Not an opinion,
                                                                                                                                                                                                                                                      opinion by lay witness, Foundation                                      or proper opinion evidence (Rule 701),
  TEMP1559       GOOG-PLAY-004488106.R           PX 0624             Slidedeck titled, "Google                                   Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Distribution on Android Framework"                           Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (06/01/2019)                                             Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                  Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                 Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                               Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                  Pichai, Sundar
                                                                                                                                Rosenberg, Jamie
                                                                                                                                  Samat, Sameer
  TEMP1560       GOOG-PLAY-004488956.R                               Presentation dated 7/28/2016 titled        Jamie Rosenberg, Paul Gennai; David Kleidermacher;    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     "Unknown sources"                                        Edward Cunningham                                                                                                       personal knowledge, Rule 802—exhibit contains inadmissible             201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                      hearsay, Foundation                                                    hearsay objection applies (Rules 803, 804, 807),
  TEMP1561       GOOG-PLAY-004489655.R                               Slide deck titled, "Special Topic: Off-                     Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Play Installs" (07/16/2020)                                 Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                                  Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                 Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                  Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                      exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                      introduce it.




                                                                                                                                                                      89 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 120 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1562       GOOG-PLAY-004490143.R                               Undated presentation titled "Google     Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defendants: Defense to Plaintiffs' claims                       Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Plaintiffs: Foundation/personal knowledge will be
                                                                     Android Path to Purchase"             Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                       declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                               Kolotouros, Purnima Kochikar, Paul Bankhead        Plaintiffs: Proof of Defendants’ liability for antitrust                              inadmissible hearsay, Rule 901—proponent has not established            801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                  violations, unreasonable restraints of trade, unfair                                  authenticity of the document, Rule 403—unfairly prejudicial,            807), Exhibit will be properly authenticated (Rule 901),
                                                                                                                                                                  competition and/or tortious interference; proof of                                    confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403), Not an
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                   701—exhibit contains improper specialized opinion by lay witness,       opinion, or proper opinion evidence (Rule 701),
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                           Foundation
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                                                                                            Defendants: Contains all parts that in fairness ought to be
                                                                                                                                                                  Counterclaims against Plaintiffs                                                      Defendants: Incomplete; the introduction of any remaining portions considered at the same time, One or more witnesses have
                                                                                                                                                                                                                                                        ought, in fairness, to be considered contemporaneously (Fed. R        foundation to testify concerning the exhibit, Exhibit does
                                                                                                                                                                                                                                                        .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                        602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                                                                                                                        the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP1563       GOOG-PLAY-004490494             PX 0629             Android Premium Working Group                            Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (03/13/2020)                                                Gold, Jon                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1564       GOOG-PLAY-004493673             PX 0527             Document titled, "Summary"                                Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (02/12/2016)                                                Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1565       GOOG-PLAY-004494298.R   PX 0680; PX 1157; DX 1144   Slide deck titled, "Amazon Top                           Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,          Defendant         Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     Partner Review" (03/17/2016)                           Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                         (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                             Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                               R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at    applies;
                                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                        it.
  TEMP1566       GOOG-PLAY-004494430.C           PX 0793             Slidedeck titled, "MADA 2016                             Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Revist" (03/21/2016)                                      Kolotouros, Jim                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1567       GOOG-PLAY-004496712.R                               Presentation dated 4/9/2015 titled      Jamie Rosenberg, Michael Marchak, Paul Feng, Paul      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Reinventing Strategic                       Gennai, Purnima Kochikar, Sameer Samat                                                                                                602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Merchandising"                                                                                                                                                                     knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1568       GOOG-PLAY-004498572                                 Undated document titled "Draft note                      Jamie Rosenberg                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to JY Lee/JK Shin" and "Sundar                                                                                                                                                     402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                     note re Samsung"                                                                                                                                                                   confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                        602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        knowledge                                                               201, 602, 901, 902)
  TEMP1569       GOOG-PLAY-004499366.R           PX 0792             BFM: Google Play (10/01/2013)                               Gold, Jon                          Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               Pichai, Sundar                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1570       GOOG-PLAY-004502766.R           PX 0790             Slidedeck titled, "Business Model /                         Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     Policy" (09/02/2019)                                     Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                               Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at    applies;
                                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                        it.
  TEMP1571       GOOG-PLAY-004503351.R           PX 0441             Slidedeck titled, "Android Device                        Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     LTV Overview" (11/17/2020)                               Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                    90 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 121 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1572       GOOG-PLAY-004504494.R           PX 0447             Slidedeck titled, "Project Magical                       Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Bridge" (05/01/2019)                                     Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1573       GOOG-PLAY-004506631             PX 0708             Document titled, "Ruminations on                            Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     Play's Business model" (08/07/2019)                      Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                               Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at    applies;
                                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                        it.
  TEMP1574       GOOG-PLAY-004507125.R    PX0794 Jamie Rosenberg     Presentation dated June 2019 titled " Hiroshi Lockheimer, Donald Harrison, Sameer Samat, Defense to Plaintiffs' claims                                            Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     MADA App Inclusion Framework - Paul Gennai, Dave Kleidermacher, Jim Kolotouros, Jamie                                                                                               Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Draft"                                       Rosenberg, Christian Cramer, Jon Gold                                                                                                 personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         Foundation                                                             201, 602, 901, 902)

  TEMP1575       GOOG-PLAY-004507838                                 Banyan: Samsung App Distribution                         Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     proposal - follow up questions                          Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                     (05/20/2019)                                             Kolotouros, Jim                       tortious interference; proof of Defendants’ discovery                               made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Lockheimer, Hiroshi                     conduct; proof of appropriate injunctive relief; proof of                           into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                             Rosenberg, Jamie                       resulting damages; and/or proof rebutting allegations in                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                              Samat, Sameer                         Defendants’ Answers and Counterclaims against Plaintiffs                            Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                        exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                        introduce it.
  TEMP1576       GOOG-PLAY-004508314.R                               Presentation dated 10/2015 titled        Paul Gennai, Jamie Rosenberg, Purnima Kochikar,       Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     "Google Play Project Alley-oop:                           Sameer Samat                                                                                                             personal knowledge, Rule 802—exhibit contains inadmissible             201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Improving Indirect App Discovery"                                                                                                                                                  hearsay, Rule 402—exhibit is not relevant, Rule 403—unfairly           hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                        prejudicial, confusing the issues and/or misleading to the jury,       relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                        Foundation                                                             (Rules 401, 403),
  TEMP1577       GOOG-PLAY-004508753.R           PX 0779             Play Monthly - March 2019 Hiroshi                        Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                     Review slide deck (03/20/2019)                          Cramer, Christian                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Feng, Paul                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Koh, Lawrence                         resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Marchak, Michael                       Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                             Rosenberg, Jamie                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Samat, Sameer
  TEMP1578       GOOG-PLAY-004509200             PX 0591             Play Problem Statement                                    Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     (03/26/2019)                                            Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                             Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                               R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                              Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                           other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                               Wang, Kevin                          resulting damages; and/or proof rebutting allegations in                            to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at    applies;
                                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                        it.
  TEMP1579       GOOG-PLAY-004509472                                 Document dated 5/10/2018 titled          David Kleidermacher, Jamie Rosenberg, Purnima         Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Google Play & Android-Facebook         Kochikar, Sameer Samat, Hiroshi Lockheimer, Paul                                                                                           personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Security & Privacy discussion"                             Bankhead                                                                                                                hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                        the document, Foundation                                                will be properly authenticated (Rule 901),
  TEMP1580       GOOG-PLAY-004510991.R                               Undated presentation titled "Google     Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Android Path to Purchase"             Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                       personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                               Kolotouros, Purnima Kochikar, Paul Bankhead                                                                                              hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                        the document, Rule 402—exhibit is not relevant, Rule                    will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                        the jury, Rule 701—exhibit contains improper specialized opinion (Rules 401, 403), Not an opinion, or proper opinion
                                                                                                                                                                                                                                                        by lay witness, Foundation                                              evidence (Rule 701),
  TEMP1581       GOOG-PLAY-004511788.R                               Presentation dated 4/18/2018 titled      Edward Cunningham, Hiroshi Lockheimer, Sameer         Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Google Play AlleyOop update"           Samat, David Kleidermacher, Jamie Rosenberg, Paul                                                                                          602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                 Bankhead                                                                                                               knowledge, Foundation                                                   be established (Rules 201, 602, 901, 902),

  TEMP1582       GOOG-PLAY-004515229                                 Document dated 1/2018 titled "Hong   Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                           Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kong Summit Follow-Up"             Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                          402—exhibit is not relevant, Rule 602—exhibit contains statements (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                            Kolotouros, Purnima Kochikar, Paul Bankhead                                                                                                 not based on declarant’s personal knowledge, Foundation             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                            201, 602, 901, 902),
  TEMP1583       GOOG-PLAY-004517596                                 6/30/2014 email from J. Kolotouros                Jim Kolotouros, Christopher Li               Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule    Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     to C. Li                                                                                                                                                                           403—unfairly prejudicial, confusing the issues and/or misleading to objection applies (Rules 803, 804, 807), Balance favors
                                                                                                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                            the jury, Rule 602—exhibit contains statements not based on         admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair                                declarant’s personal knowledge, Foundation                          knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                    competition and/or tortious interference; proof of
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                 Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                         ought, in fairness, to be considered contemporaneously (Fed. R         considered at the same time; Evidence’s probative value not
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                    .Evid. 106)., Misleading; undue prejudice; confusion of issues;        substantially outweighed by danger of unfair prejudice,
                                                                                                                                                                    Counterclaims against Plaintiffs                                                    waste of time (Fed. R. Evid. 403)., Personal knowledge; lack of        confusing the issues, misleading the jury, undue delay,
                                                                                                                                                                                                                                                        foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement wasting time, and/or needlessly presenting cumulative
                                                                                                                                                                                                                                                        made by one other than the witness while testifying at trial, offered evidence; One or more witnesses have foundation to testify
                                                                                                                                                                                                                                                        into evidence to prove the truth of the matter asserted, and not       concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                                                                                                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,         and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                        exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                        introduce it.




                                                                                                                                                                   91 of 220
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                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                     Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                    Summary of Response (w/Authority)
  TEMP1584       GOOG-PLAY-004521358                                 5/13/2015 email from android-bd-      Hiroshi Lockheimer, Jim Kolotouros, Jon Gold      Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                     global to D. Curtis                                                                                                                                                     personal knowledge                                                        201, 602, 901, 902)
                                                                                                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                              Rule 402—exhibit is not relevant                                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                              Foundation                                                                Exhibit is relevant (Rules 401, 402)

  TEMP1585       GOOG-PLAY-004533024                                 Email from J. Kolotouros to P.                     Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kochikar et al. re Epic / Vague                    Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     shadowy concern (05/20/2019)                        Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                       Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                        Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                         Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                             to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                             hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies;
                                                                                                                                                                                                                                             objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                             it.
  TEMP1586       GOOG-PLAY-004537618             PX 2650             Email from S. Deutchman to P.                       Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Gennai re PR Perspective on L3                       Gennai, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (02/20/2020)                                        Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1587       GOOG-PLAY-004538757.R           PX 1064             Presentation titled, "Samsung                       Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of               Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                     Revenue Share Renewal"                                                                  unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement      defenses; One or more witnesses have foundation to testify
                                                                     (05/26/2020)                                                                            tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not          and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1588       GOOG-PLAY-004541115.R           PX 1074             Presentation titled, "Assessment of                 Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     Cyanogen strategy and potential                                                         unreasonable restraints of trade, unfair competition and/or                     (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.      danger of unfair prejudice, confusing the issues, misleading
                                                                     implications of Google (2/2016)                                                         tortious interference; proof of Defendants’ discovery                           R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        hearsay exception (Fed. R. Evid. 801 and 802).                          does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                                                                                     applies.
  TEMP1589       GOOG-PLAY-004541215.R           PX 1071             Presentation titled, "Optimizing                    Kolotouros, Jim                     Proof of Defendants’ liability for antitrust violations,         Defendant      Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                     Android out of the Box"                                                                 unreasonable restraints of trade, unfair competition and/or                     (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                     (01/14/2016)                                                                            tortious interference; proof of Defendants’ discovery                           R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        hearsay exception (Fed. R. Evid. 801 and 802).                          does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                                                                                     applies.
  TEMP1590       GOOG-PLAY-004541676                                 Undated document titled "Wireless                   Jim Kolotouros                      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Carrier Deal Strategy"                                                                                                                                                   Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                             personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              Rule 901—proponent has not established authenticity of the             201, 602, 901, 902)
                                                                                                                                                                                                                                             document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                              Foundation
  TEMP1591       GOOG-PLAY-004541857             PX 1082             Email from J.Gold to A.Agarwal re                      Gold, Jon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier Rev Share (09/19/2012)                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                             to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                             hearsay exception (Fed. R. Evid. 801 and 802).                          exception applies.

  TEMP1592       GOOG-PLAY-004546567                                 6/9/2016 email from J. Rosenberg to         Jamie Rosenberg, Sameer Samat               Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     K. Wang                                                                                                                                                                  Rule 602—exhibit contains statements not based on declarant’s            (Rules 803, 804, 807)
                                                                                                                                                                                                                                             personal knowledge                                                         Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              Rule 901—proponent has not established authenticity of the               201, 602, 901, 902)
                                                                                                                                                                                                                                             document                                                                   Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                              Foundation
  TEMP1593       GOOG-PLAY-004556784.R                               "US Smartphone NPS Analysis"                        Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                     Slide deck (11/2018)                                 Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                      Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies;
                                                                                                                       Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                         Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                      Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                          Pichai, Sundar
                                                                                                                        Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP1594       GOOG-PLAY-004561084.R                               Presentation dated Q3 2017 titled              Paul Feng; Mrinalini Loew                Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                     "Play Policy Proposal: Payments"                                                                                                                                        personal knowledge                                                        201, 602, 901, 902)
                                                                                                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                              Foundation                                                               (Rules 803, 804, 807)




                                                                                                                                                             92 of 220
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                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1595       GOOG-PLAY-004564758                                 Memo titled, "Google Play - The                  Gennai, Paul                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Rise of New Storefront Platforms"                                                unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1596       GOOG-PLAY-004565563.R           PX 0280             Slide deck titled "Project Gabby"             Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (10/06/2014)                                    Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                 Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                  Kochikar, Purnima                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                    Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                    Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                 Lockheimer, Hiroshi                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                     Pichai, Sundar
                                                                                                                   Rosenberg, Jamie
                                                                                                                    Samat, Sameer
  TEMP1597       GOOG-PLAY-004587148             PX 0142             Email from J.Heurlin to L.Koh re               Koh, Lawrence                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Hello and Follow Up (03/27/2019)                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1598       GOOG-PLAY-004625919      DX1111Steven Schwartz      Undated spreadsheet containing        Michael Marchak, Purnima Kochikar          Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     developer data                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                          personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                           Foundation                                                             201, 602, 901, 902)

  TEMP1599       GOOG-PLAY-004625999.R                               Slide deck titled, "Dating Apps -             Marchak, Michael                   Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Google Play 'Category Deep Dive'                                                 unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Series" (06/12/2017)                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1600       GOOG-PLAY-004630018.R           PX 0351             "Apps Marketplace Monetization                Marchak, Michael                   Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Ideas" Slide deck (01/26/2009)                                                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1601       GOOG-PLAY-004638341                                 Email from P. Bankhead to S.                   Bankhead, Paul                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Karam re Facebook foreground                    Karam, Sarah                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     update (11/28/2017)                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1602       GOOG-PLAY-004663349                                 Document dated 7/20/2017 titled         Paul Bankhead, Kirsten Rasanen           Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Testing Alley-oop- Discussion with                                                                                                                                  personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Facebook"                                                                                                                                                            hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1603       GOOG-PLAY-004665306         PX 0387; PX 0924        Document titled, "Project Runway               Bankhead, Paul                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Comprehensive Outline"                        Marchak, Michael                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (01/08/2021)                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1604       GOOG-PLAY-004671046                                 Email from N.Schroer to D.Stein et             Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al re MagicLab - Google Partnership               Feng, Paul                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (11/26/2019)                                   Loew, Mirinalini                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                     Stein, Danielle                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1605       GOOG-PLAY-004671050       PX1348 Richard Watts      Undated presentation titled                Richard Watts, Paul Feng              Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Personal knowledge; lack of foundation (Fed. R. Evid.       Defendants: One or more witnesses have foundation to
                                                                     "MagicLab We build relationships"                                                                                                                                    602)., Hearsay; the exhibit is a statement made by one other than       testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      Plaintiffs: Proof of Defendants’ liability for antitrust                            the witness while testifying at trial, offered into evidence to prove   hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                      violations, unreasonable restraints of trade, unfair                                the truth of the matter asserted, and not subject to any hearsay        the proponent claims it is and/or is self-authenticating.
                                                                                                                                                      competition and/or tortious interference; proof of                                  exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                      Defendants’ discovery conduct; proof of appropriate                                 not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                                                      injunctive relief; proof of resulting damages; and/or proof
                                                                                                                                                      rebutting allegations in Defendants’ Answers and
                                                                                                                                                      Counterclaims against Plaintiffs




                                                                                                                                                      93 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 124 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1606       GOOG-PLAY-004676260     PX1535 Purnima Kochikar     5/29/2018 email from B. Barras to     Purnima Kochikar; Brandon Barras; Sarah Karam; Kirsten Defendants: Defense to Plaintiffs' claims; proof of               Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay; Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     P. Kochikar                                                  Rasanen                         Match's liability for counterclaims                                                     403—wasting time and/or needlessly cumulative; Foundation             objection applies (Rules 803, 804, 807); Balance favors
                                                                                                                                                                                                                                                                                                                                admissibility (Rules 401, 403); Foundation/personal
                                                                                                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                              Defendants: Incomplete; the introduction of any remaining portions knowledge will be established (Rules 201, 602, 901, 902)
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair                                  ought, in fairness, to be considered contemporaneously (Fed. R
                                                                                                                                                                    competition and/or tortious interference; proof of                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                   602)., Hearsay; the exhibit is a statement made by one other than     considered at the same time; One or more witnesses have
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                           the witness while testifying at trial, offered into evidence to prove foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                      the truth of the matter asserted, and not subject to any hearsay      not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                    Counterclaims against Plaintiffs                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1607       GOOG-PLAY-004676276                                 5/29/2018 Email from A. Ong to P.                  Purnima Kochikar; Adrian Ong                Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Kochikar                                                                                       counterclaims                                                                         Foundation                                                            (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP1608       GOOG-PLAY-004681306             PX 1479             Email from R. Kochikar to D.                            Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Harrison re (PEX) Agenda - May 4,                       Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     2020 (Tencent - Play) ( 5/6/2020)                                                              tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1609       GOOG-PLAY-004681562             PX 1573             Email from P. Kochikar to A.                            Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     DiVento re Privileged: P&L                              DiVento, Anthony                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Handling on Hug? (06/03/2020)                           Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1610       GOOG-PLAY-004682320             PX 0927             Email from P.Bankhead to                                 Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     P.Kochikar et al. re Framing for                        Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Hiroshi (08/12/2020)                                                                           tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1611       GOOG-PLAY-004683869.R           PX 1704             Slide deck titled, "Advanced GPB"                          Feng, Paul                          Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (11/4/2020)                                             Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Marchak, Michael                       tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1612       GOOG-PLAY-004686590.R                               Google - Tenent Engagement                                 Feng, Paul                          Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Strategy on Gaming slide deck                           Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (10/2020)                                                Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                               Wang, Kevin                          conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                  cumulative evidence.
  TEMP1613       GOOG-PLAY-004687113.R                               Play Apps & Games - Team Update                         Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     History Lesson & Q&A                                    Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (07/18/2019)                                            Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                             Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                  cumulative evidence.
  TEMP1614       GOOG-PLAY-004687208.R                               Undated presentation titled "The                 Sameer Samat, Purnima Kochikar                Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Play + Friends All Hands will be                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                     starting soon..."                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                           Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1615       GOOG-PLAY-004687427         PX 1540; PX 1598        Document titled, "Shar Meeting                          Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Information" (06/18/2020)                               Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Marchak, Michael                       tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1616       GOOG-PLAY-004689215.R                               Presentation dated 2/2020 titled       Purnima Kochikar, Michael Marchak; Brandon Barras;      Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Tinder 'Swipes Left': A Behind the                       Sarah Karam                          counterclaims                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                     Scenes Special"                                                                                                                                                                       Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                           Foundation                                                             (Rules 803, 804, 807)




                                                                                                                                                                    94 of 220
                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 125 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                                   Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number              Name / Description                                                                                                 Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1617       GOOG-PLAY-004692014                                        Undated document titled "YE 2020         Michael Marchak; Purnima Kochikar; Don Harrison         Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            Additions"                                                                                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                    Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP1618       GOOG-PLAY-004692994.R           PX 1496; PX 2861           Slide deck titled, "Modular Google                           Feng, Paul                          Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Play Billing EAP Pre-BC Exec                              Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                            Review" (07/27/2020)                                      Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                       Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1619       GOOG-PLAY-004693144.R                                      Slide deck titled "Streaming Games                           Feng, Paul                          Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            on Play" (06/12/2020)                                     Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                       Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                        Wang, Kevin                          conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1620       GOOG-PLAY-004696368.R                                      Games Velocity Program (Hug) with                          Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Tencent slide deck (06/03/2020)                          Kleidermacher, Dave                     unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                      Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                      Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                        Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                           cumulative evidence.
  TEMP1621       GOOG-PLAY-004697153                                        Summary of Changes: (06/12/2020)                           Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                     Kleidermacher, Dave                     unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                      Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                      Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                        Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1622       GOOG-PLAY-004697790.R        PX1419 Kirsten Rasanen        Presentation dated 6/2016 titled         Purnima Kochikar, Kirsten Rasanen, Jamie Rosenberg      Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            "Overlay Installs Beta"                                                                                                                                                                403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                                   the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                                   declarant’s personal knowledge, Foundation                              established (Rules 201, 602, 901, 902),

  TEMP1623       GOOG-PLAY-004697790.R               PX 1419                Slide deck titled, "Overlay Installs                      Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Beta" (06/01/2016)                                         Rasanen, Kristen                      unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                      Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1624       GOOG-PLAY-004698100.R   PX1190 Edward Cunningham; PX1402   Undated presentation titled             Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg, Defendants: Defense to Plaintiffs' claims                             Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                Hiroshi Lockheimer,         "Facebook App Installs"                 Paul Gennai, Purnima Kochikar, Paul Bankhead, Kirsten                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     objection applies (Rules 803, 804, 807), Balance favors
                                                  Kirsten Rasanen"                                                              Rasanen, Edward Cunningham                Plaintiffs: Proof of Defendants’ liability for antitrust                                 the jury, Rule 602—exhibit contains statements not based on             admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                          violations, unreasonable restraints of trade, unfair                                     declarant’s personal knowledge, Foundation                              knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                          competition and/or tortious interference; proof of
                                                                                                                                                                          Defendants’ discovery conduct; proof of appropriate                                      Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                              602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                          rebutting allegations in Defendants’ Answers and                                         the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                                          Counterclaims against Plaintiffs                                                         the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1625       GOOG-PLAY-004702429                                        Document entitled Tinder GPB                              Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Overview - 2019.                                           Barras, Brandon                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                             tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1626       GOOG-PLAY-004702858                 PX 1476                Email from Don to R. Porat et al re                       Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Activision Blizzard Deal for Dec 19                       Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            BC Review - Cross PA Input                                 Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                            (12/17/2019)                                             Lockheimer, Hiroshi                     conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                      Marchak, Michael                       resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                         Porat, Ruth                         Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                       Pichai, Sundar                                                                                                              exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1627       GOOG-PLAY-004702879           PX2634 Danielle Stein        Undated, untitled document about          Donald Harrison, Paul Feng, Sarah Karam, Purnima       Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                            Play's Current Policy on monetization               Kochikar, Michael Marchak                    counterclaims                                                                         personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                    Foundation                                                             (Rules 803, 804, 807)




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                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 126 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1628       GOOG-PLAY-004703579                                 Tencent Exec Meeting w/ Martin                          Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Lau (10/25/2019)                                         Koh, Lawrence                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Marchak, Michael                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                cumulative evidence.
  TEMP1629       GOOG-PLAY-004704262.R                               Undated presentation titled "Games             Purnima Kochikar; Michael Marchak               Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Velocity Program Review"                                                                                                                                                           personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Foundation                                                             (Rules 803, 804, 807)

  TEMP1630       GOOG-PLAY-004704512.R                               Slide deck titled "Project Magical                         Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Bridge" (06/2019)                                          Gold, Jon                           unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1631       GOOG-PLAY-004705533.R                               Presentation dated 6/2019 titled                 Purnima Kochikar, Lawrence Koh                Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Digital Games Distribution-                                                                                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     Economics Snapshot"                                                                                                                                                                 Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
                                                                                                                                                                                                                                                         Foundation
  TEMP1632       GOOG-PLAY-004707163             PX 0366             Spreadsheet (04/18/2019)                                 Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Gold, Jon                           tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                             Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Marchak, Michael                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1633       GOOG-PLAY-004725024.R                               Presentation dated 5/6/2016 titled       Jamie Rosenberg, Paul Gennai, Purnima Kochikar,       Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Google Play & Android iOS Device                      Michael Marchak                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                     & App Store Analysis: Apple Fiscal                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Q2 2016 (quarter ending March                                                                                                                                                       Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     2016)"                                                                                                                                                                              Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
                                                                                                                                                                                                                                                        Foundation
  TEMP1634       GOOG-PLAY-004728095.R                               Presentation dated 7/17/2015 titled     Jamie Rosenberg; Paul Feng; Paul Gennai; Purnima    Defense to Plaintiffs' claims                                         Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Google Play Project Alley-oop:       Kochikar; Sameer Samat; Jim Kolotouros; Paul Bankhead                                                                                        personal knowledge                                                      201, 602, 901, 902)
                                                                     Improving Indirect App Discovery"                                                                                                                                                   Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Foundation                                                             (Rules 803, 804, 807)

  TEMP1635       GOOG-PLAY-004728174                                 Undated document titled "Feedback      Jamie Rosenberg, Purnima Kochikar, Kirsten Rasanen      Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     from FB on UI"                                                                                                                                                                     602—exhibit contains statements not based on declarant’s personal       objection applies (Rules 803, 804, 807),
                                                                                                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                            knowledge, Rule 901—proponent has not established authenticity          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair                                of the document, Foundation                                             201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                    competition and/or tortious interference; proof of                                                                                                          (Rule 901),
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1636       GOOG-PLAY-004728679.R                               Presentation dated 10/2016 titled       Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "2016 Strategy and Planning           Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                       602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     Update"                                   Kolotouros, Purnima Kochikar, Paul Bankhead                                                                                              knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1637       GOOG-PLAY-004760527.R                               Presentation dated 2020 Q3 titled       Purnima Kochikar; Michael Marchak; Sameer Samat        Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Summaries of Individual Apps"                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
                                                                                                                                                                                                                                                        Foundation
  TEMP1638       GOOG-PLAY-004765575.R                               Presentation dated 2020 titled                   Purnima Kochikar, Sameer Samat                Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Retaining Pixel 4 Switchers"                                                                                                                                                      personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         Foundation




                                                                                                                                                                   96 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 127 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1639       GOOG-PLAY-004785946                                 Email from S. Samat to T.                               Rosenberg, Jamie                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Ostrowski et al. re Thoughts on                          Samat, Sameer                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     alternatives (12/09/2018)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1640       GOOG-PLAY-004785947             PX 0707             Email from P.Gennai to S.Samat re                         Gennai, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Thoughts on Alternatives                                Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (12/10/2018)                                             Samat, Sameer                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1641       GOOG-PLAY-004787115                                 Email re Play outage Sunday                             Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (was:Play outage yesterday).                              Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                              Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                              Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Lockheimer, Hiroshi                                                                                                       exception (Fed. R. Evid. 801 and 802)., Con.
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer
  TEMP1642       GOOG-PLAY-004787227             PX 0785             Email from J.Kolotouros to S.Samat                       Kolotouros, Jim                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Samsung Next Steps (06/06/2019)                      Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Samat, Sameer                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                     Evid. 402).
  TEMP1643       GOOG-PLAY-004794198.R                               PC vs. Mobile - Consumer Research                          Feng, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     slide deck (02/12/2020)                                                                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1644       GOOG-PLAY-004901332                                 8/2018 website post by E.                   David Kleidermacher, Edward Cunningham          Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Cunningham titled "Fortnite Installer                                                                                                                                           personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     downloads are vulnerable to                                                                                                                                                     hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                     hijacking"                                                                                                                                                                      misleading to the jury, Foundation                                  favors admissibility (Rules 401, 403),
  TEMP1645       GOOG-PLAY-004902060                                 Undated webpage titled "Helping         Sameer Samat, Purnima Kochikar, Michael Marchak,    Defense to Plaintiffs' claims; Google counterclaims                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Developers Succeed"                      Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                     hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
  TEMP1646       GOOG-PLAY-004903945     PX1183 Edward Cunningham    Document dated 2/1/2021 titled                 Ed Cunningham, Dave Kleidermacher            Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on       Defendants: Foundation/personal knowledge will be
                                                                     "History of Android unknown                                                                                                                                                     declarant’s personal knowledge; Rule 106—exhibit is unfairly        established (Rules 201, 602, 901, 902); Exhibit is properly
                                                                     sources"                                                                                    Plaintiffs: Proof of Defendants’ liability for antitrust                            incomplete; Rule 802—exhibit contains inadmissible hearsay; Rule complete (Rule 106); Not hearsay (Rule 801) and/or
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                901—proponent has not established authenticity of the document; hearsay objection applies (Rules 803, 804, 807); Exhibit
                                                                                                                                                                 competition and/or tortious interference; proof of                                  Foundation                                                          will be properly authenticated (Rule 901)
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies.
                                                                                                                                                                                                                                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).
  TEMP1647       GOOG-PLAY-004904016.R           PX 0766             Presentation dated 3/24/2020 titled         Edward Cunningham; David Kleidermacher          Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendants: Foundation/personal knowledge will be
                                                                     "App stores in Android 12"                                                                                                                                                      declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                            inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the 801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                issues and/or misleading to the jury, Foundation                      807), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                 competition and/or tortious interference; proof of
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plainitffs: One or more witnesses have foundation to testify
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies.
                                                                                                                                                                 Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).
  TEMP1648       GOOG-PLAY-004964988.R           PX 1182             Google Play Protect Product                           Cunningham, Edward                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Introduction slide deck                                                                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (05/07/2021)                                                                                tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1649       GOOG-PLAY-004988141.R                               Undated presentation titled "Android    Edward Cunningham; Sebastian; David Kleidermacher   Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     app review tools and workflows"                                                                                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                     hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                     the document, Foundation                                                will be properly authenticated (Rule 901),




                                                                                                                                                                 97 of 220
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                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1650       GOOG-PLAY-005029565.R                               Competition Law: Basics slide deck                      Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (06/14/2021)                                             Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Opinion, if any, is
                                                                                                                            Kochikar, Purnima                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            rationally based on the author’s perception; is helpful to
                                                                                                                             Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Opinion testimony         clearly understand testimony or determine a fact in issue;
                                                                                                                             Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        by Lay Witness (Fed. R. Evid. 701).                                     and/or is not based on knowledge within the scope of Rule
                                                                                                                           Lockheimer, Hiroshi                                                                                                                                                                         702.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1651       GOOG-PLAY-005029588                                 Global Competition Policy                               Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (06/14/2021)                                             Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Opinion, if any, is
                                                                                                                            Kochikar, Purnima                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            rationally based on the author’s perception; is helpful to
                                                                                                                             Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Opinion testimony         clearly understand testimony or determine a fact in issue;
                                                                                                                             Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        by Lay Witness (Fed. R. Evid. 701).                                     and/or is not based on knowledge within the scope of Rule
                                                                                                                           Lockheimer, Hiroshi                                                                                                                                                                         702.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1652       GOOG-PLAY-005029591                                 Guidelines for Competitor                               Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Collaboration (06/14/2021)                               Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Opinion, if any, is
                                                                                                                            Kochikar, Purnima                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            rationally based on the author’s perception; is helpful to
                                                                                                                             Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Opinion testimony         clearly understand testimony or determine a fact in issue;
                                                                                                                             Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        by Lay Witness (Fed. R. Evid. 701).                                     and/or is not based on knowledge within the scope of Rule
                                                                                                                           Lockheimer, Hiroshi                                                                                                                                                                         702.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1653       GOOG-PLAY-005029594                                 Guidelines for Document Creation                        Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     (06/14/2021)                                             Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                            Kochikar, Purnima                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                             Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                             Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        Evid. 402).
                                                                                                                           Lockheimer, Hiroshi
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1654       GOOG-PLAY-005029848.R                               Document titled, "You Said What?!                       Barras, Brandon                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     10 Things to Ensure You Are                              Harrison, Don                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     Communicating with Care"                             Kleidermarcher, Dave                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                            Kochikar, Purnima                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                             Koh, Lawrence                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. probative value not substantially outweighed by danger of
                                                                                                                             Kolotouros, Jim                   Defendants’ Answers and Counterclaims against Plaintiffs                        Evid. 402)., Misleading; undue prejudice; confusion of issues; waste unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                           Lockheimer, Hiroshi                                                                                                 of time (Fed. R. Evid. 403).                                          undue delay, wasting time, and/or needlessly presenting
                                                                                                                              Pichai, Sundar                                                                                                                                                                         cumulative evidence.
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1655       GOOG-PLAY-005031265                                 Undated webpage titled "App            Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Promotion"                              Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                   personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                               misleading to the jury                                              favors admissibility (Rules 401, 403)
  TEMP1656       GOOG-PLAY-005031289                                 Undated webpage titled "Availability   Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     of Features and Services"               Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                   personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
  TEMP1657       GOOG-PLAY-005031469                                 Undated webpage titled "Data           Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Access"                                 Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                   personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               hearsay, Rule 402—exhibit is not relevant                           hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                                                                                   relevant (Rules 401, 402)
  TEMP1658       GOOG-PLAY-005031837                                 Undated webpage titled "Financial      Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Services"                                Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                       Cunningham, Sebastian Porst                                                                                             hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                               misleading to the jury                                              favors admissibility (Rules 401, 403)
  TEMP1659       GOOG-PLAY-005032065                                 Undated webpage titled "Managing       Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     and Reporting Policy Violations"         Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                       Cunningham, Sebastian Porst                                                                                             hearsay, Rule 106—exhibit is unfairly incomplete                    hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                                                                                   properly complete (Rule 106)
  TEMP1660       GOOG-PLAY-005032153                                 Undated webpage titled "News"          Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                                                             Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                   personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                               hearsay, Rule 402—exhibit is not relevant                           hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                                                                                   relevant (Rules 401, 402)
  TEMP1661       GOOG-PLAY-005032220                                 Undated webpage titled "Policy         Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Coverage"                                Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                       Cunningham, Sebastian Porst                                                                                             hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
  TEMP1662       GOOG-PLAY-005032299                                 Undated webpage titled "Real-          Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Money Gambling, Games, and               Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Contests"                                         Cunningham, Sebastian Porst                                                                                             hearsay, Rule 402—exhibit is not relevant                           hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                                                                                   relevant (Rules 401, 402)
  TEMP1663       GOOG-PLAY-005032791                                 Undated webpage titled "User           Sameer Samat, Purnima Kochikar, Michael Marchak,   Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Generated Content"                       Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                       Cunningham, Sebastian Porst                                                                                             hearsay                                                             hearsay objection applies (Rules 803, 804, 807)




                                                                                                                                                               98 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 129 of 250                    JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1664       GOOG-PLAY-005158176             PX 0602             Email from P. Gennai to J.                              Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re Long Term Strategy                       Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (06/23/2019)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                 Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                 of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1665       GOOG-PLAY-005173288             PX 0621             Email from A.McCallister to                            Kolotouros, Jim                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     T.Kawamura re Quality Bar                                                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (08/03/2016)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                 402).
  TEMP1666       GOOG-PLAY-005238345             PX 1099             Email from J.Gold to R.Porat et al.                       Gold, Jon                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     re 2016 Android and Hardware Plan                        Porat, Ruth                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Discussion (11/12/2015)                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                 Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                 of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1667       GOOG-PLAY-005279915             PX 0176             Email from K. Glick to Milena                            Glick, Kobi                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Nikolic and Matt Henderson re                                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Negative developer sentiment about                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     new SMS and call log permission                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                     enforcement (01/06/2019)                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                 402).
  TEMP1668       GOOG-PLAY-005307948             PX 0377             Email from P. Kochikar to R.                          Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Counihan et al. re Invitation to new                  Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Polling Project on Play (02/04/2021)                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1669       GOOG-PLAY-005333949                                 7/12/2019 email from J. Rosenberg     Sameer Samat, Jamie Rosenberg, Paul Gennai, Purnima   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to T. Lim, P. Bankhead, P. Gennai, J.      Kochikar, Jim Kolotouros, Paul Bankhead                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Kolotouros, C. Li, S. Samat, S.                                                                                                                                             the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                     Krishnamachari, W. Logan, A.                                                                                                                                                declarant’s personal knowledge, Foundation                              established (Rules 201, 602, 901, 902),
                                                                     Kumar, P. Kochikar, M. Hochberg


  TEMP1670       GOOG-PLAY-005407690                                 Email re [ACTION REQUESTED]                           Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Feedback on First Set of Policy                          Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Change Partners and Next Steps.                        Samat, Sameer                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                            Rasanen, Kirsten                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Con.
  TEMP1671       GOOG-PLAY-005423488      PX1592 Brandon Barras      5/31/2019 email from B. Barras to             Brandon Barras, Purnima Kochikar              Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     G. Swidler                                                                                                                                                                  602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                 knowledge, Foundation                                                   be established (Rules 201, 602, 901, 902),

  TEMP1672       GOOG-PLAY-005428116             PX 1313             Email from M. Shedroff to P.                          Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kochikar re Next Steps + a Question                    Shedroff, Marc                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/08/2020)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1673       GOOG-PLAY-005557084             PX 0298             Email from A. Rubin to E. Chu re                          Chu, Eric                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Draft blog post and FAQ for                              Rubin, Andy                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Android Market – Updated version                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     with Erin’s feedback (08/27/2008)                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1674       GOOG-PLAY-005559390.R           PX 0944             Slide deck titled, "Android                              Rubin, Andy                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Marketplace" (02/03/2009)                                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                 99 of 220
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                                                                                                                                      DISPUTED EXHIBITS




                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1675       GOOG-PLAY-005559853             PX 1126             Email from N. Sears to D. Conway           Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     and A. Rubin re Rev Share on               Sears, Nick                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Android Market (02/11/2009)                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1676       GOOG-PLAY-005561729             PX 0952             Email from J. Ebbitt to A. Rubin re         Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     LG's Own Application Store Goes            Rubin, Andy                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Beta Live July 14 (07/15/2009)                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1677       GOOG-PLAY-005562024                                 Email from Andy Rubin to Tracy           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Wilk Re Carrier Billing Pricing           Harrison, Don               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (08/20/2009)                           Kleidermacher, Dave            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                             Kochikar Purnima              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                               Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                              Kolotouros, Jim              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                            Lockheimer, Hiroshi                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                               Pichai, Sundar                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                               Samat, Sameer                                                                                               depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                             Rosenberg, Jamie
                                                                                                                Rubin, Andy
  TEMP1678       GOOG-PLAY-005562050             PX 0956             Email from A.Rubin to T.Willk re           Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier Billing Policy (08/20/2009)                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP1679       GOOG-PLAY-005562218                                 Email from A. Rubin to N. Sears re         Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Follow up on mobile agreement              Sears, Nick                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (09/02/2009)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1680       GOOG-PLAY-005562645.R           PX 1132             Presentation titled, "Android with         Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Google Sales Strategy" (08/25/2012)                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP1681       GOOG-PLAY-005566485                                 Email from E. Chu to A. Rubin re           Chu, Eric                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Sony Gaming Status Update -            Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Guidance Requested (7/13/2010)            Rubin, Andy                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Cond;
  TEMP1682       GOOG-PLAY-005576717                                 Google Chat conversation                  Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     (08/28/2020)                             Cramer, Christian            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                Harrison, Don              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                            Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                             Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                               Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                               Kolotouros, Jim                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                            Lockheimer, Hiroshi                                                                                            Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                Pichai, Sundar                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
                                                                                                              Rosenberg, Jamie
                                                                                                               Samat, Sameer
  TEMP1683       GOOG-PLAY-005577063.R           PX 1464             Slide deck titled, "Google"              Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                           prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.




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                                                                                                                                  JOINT TRIAL EXHIBIT LIST
                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                   Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1684       GOOG-PLAY-005578403.R                               Play Market Opportunities slide        Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     deck (8/2020)                         Cramer, Christian             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                             Harrison, Don               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                          Kleidermacher, Dave            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                           Kochikar Purnima              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                             Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                            Kolotouros, Jim                                                                                              exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                          Lockheimer, Hiroshi                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.
                                                                                                             Pichai, Sundar
                                                                                                             Samat, Sameer
                                                                                                           Rosenberg, Jamie
  TEMP1685       GOOG-PLAY-005579417.R           PX 0536             Slidedeck titled, "JP Play Points     Cramer, Christian             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Finance Review" (06/13/2018)                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).,
  TEMP1686       GOOG-PLAY-005580346.R           PX 0138             Email from P. Schindler to M.          Cramer, Christian            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Murphy re [Urgent]                      Koh, Lawrence               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Activision Blizzard King (ABK) BC                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Approval (01/15/2020)                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1687       GOOG-PLAY-005601967             PX 0767             Messages between E.Liderman and      Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     D.Kleidermacher (09/29/2020)                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1688       GOOG-PLAY-005607169.R                               US Smartphone NPS Analysis Latest    Kleidermacher, Dave            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     data: Q2 2019 slide deck (8/2019)                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1689       GOOG-PLAY-005611004                                 Email from J. Kolotouros to P.        Harrison, Donald              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Schindler and D. Harrison re          Kolotouros, James             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Android OEM Revenue Share 3.0                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     (09/30/2020)                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                         Evid. 402).
  TEMP1690       GOOG-PLAY-005613457                                 Turkish Dkt 2015-2-036 - TCA           Harrison, Donald             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Investigation Second Writ                 Gold, Jon                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (04/16/2016)                                                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. probative value not substantially outweighed by danger of
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        Evid. 402)., Misleading; undue prejudice; confusion of issues; waste unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                         of time (Fed. R. Evid. 403)., Opinion testimony by Lay Witness        undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                         (Fed. R. Evid. 701)., Authentication; exhibit has not been properly cumulative evidence; Opinion, if any, is rationally based on
                                                                                                                                                                                                                         authenticated (Fed. R. Evid. 901).                                    the author’s perception; is helpful to clearly understand
                                                                                                                                                                                                                                                                                               testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                                                               on knowledge within the scope of Rule 702; Exhibit is what
                                                                                                                                                                                                                                                                                               the proponent claims it is and/or is self-authenticating.

  TEMP1691       GOOG-PLAY-005650784             PX 0308             Email from M. Stepka to E. Chu re         Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     FW Android Marketplace Payments                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     – UPDATE (04/24/2009)                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1692       GOOG-PLAY-005652564             PX 0303             Email from E. Chu to M. Womack            Chu, Eric                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Transaction Fee for Android                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Market priced apps in Japan                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (06/30/2009)                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1693       GOOG-PLAY-005660954                                 8/17/2010 email from E. Chu to H.     Hiroshi Lockheimer            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Lockheimer                                                                                                                                           Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                         document




                                                                                                                                        101 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 132 of 250                      JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1694       GOOG-PLAY-005662858             PX 1344             Email from J. Mattson to R. Meier                        Chu, Eric                          Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re [android-advocates] CTIA 2010                       Mattson, Justin                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Wrap up (10/13/2010)                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond;
  TEMP1695       GOOG-PLAY-005663610                                 11/1/2010 email from E. Chu to A.                     Jamie Rosenberg                       Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Rubin                                                                                                                                                                       602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                 knowledge, Foundation                                                   be established (Rules 201, 602, 901, 902),

  TEMP1696       GOOG-PLAY-005668770             PX 0885             Email from P. Brady to E. Chu re                       Brady, Patrick                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Amazon Appstore is live                                  Chu, Eric                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (03/24/2011)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1697       GOOG-PLAY-005677338             PX 1820             Email from C. Dury to J. Lagerline                       Chu, Eric                          Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Payments in Android Market                         Dury, Christopher                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (09/15/2011)                                           Lagerling, John                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1698       GOOG-PLAY-005709844.R                               Google presentation titled "Android                    Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Brand Health" (06/2020)                                 Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Lockheimer, Hiroshi                                                                                                    exception (Fed. R. Evid. 801 and 802)., Cond;
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP1699       GOOG-PLAY-005952955                                 Undated webpage titled "Android       Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     Instant Apps"                          Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                 hearsay                                                                 hearsay objection applies (Rules 803, 804, 807)
  TEMP1700       GOOG-PLAY-005953021                                 Undated webpage titled "App           Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims               Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Discovery and Ranking"                 Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                                      602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                 knowledge, Rule 403—unfairly prejudicial, confusing the issues          be established (Rules 201, 602, 901, 902), Balance favors
                                                                                                                                                                                                                                                 and/or misleading to the jury                                           admissibility (Rules 401, 403)
  TEMP1701       GOOG-PLAY-005955085                                 Android is for everyone                                 Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     https://www.android.com/everyone/                        Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (last accessed 7/27/2023)                            Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                           Lockheimer, Hiroshi                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1702       GOOG-PLAY-005970879.R                               Communications Guide slide deck                         Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     (06/18/2021)                                             Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                          Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                             Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                             Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                           Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                              Pichai, Sundar                                                                                                     Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                            Rosenberg, Jamie                                                                                                     of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
                                                                                                                             Samat, Sameer
  TEMP1703       GOOG-PLAY-005970920                                 Five Rules of Thumb (06/18/2021)                        Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                              Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                          Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                             Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                             Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                           Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                              Pichai, Sundar                                                                                                     Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                            Rosenberg, Jamie                                                                                                     of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
                                                                                                                             Samat, Sameer
  TEMP1704       GOOG-PLAY-006024646                                 Webpage dated 9/24/2020 titled "All   Paul Gennai, Purnima Kochikar, Sameer Samat, Mike     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     developers will get the new Google              Marchak, Hiroshi Lockheimer                                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Play Console on November 2, 2020"                                                                                                                                           hearsay, Rule 402—exhibit is not relevant                               hearsay objection applies (Rules 803, 804, 807), Exhibit is
                                                                                                                                                                                                                                                                                                                         relevant (Rules 401, 402)
  TEMP1705       GOOG-PLAY-006024979                                 2/13/2009 blog post titled "Android      Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Market update: support for priced      Cunningham, Sarah Karam, David Kleidermacher,                                                                                         Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                     applications"                         Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                    document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                           Kirsten Rasanen




                                                                                                                                                                102 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 133 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1706       GOOG-PLAY-006024983                                 “Android Market: a user-driver                             Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     content distribution system,” Android                       Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Developers Blog, August 28, 2008,                       Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     available at https://android-                             Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                     developers.googleblog.com/2008/08                          Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                     /android-market-user-driven-                               Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                     content.html                                             Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                     (last accessed 6/13/2023)                                   Pichai, Sundar
                                                                                                                               Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1707       GOOG-PLAY-006024985                                 10/22/2008 blog post titled “Android         Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Market: Now available for users”          Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                              Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                Kirsten Rasanen
  TEMP1708       GOOG-PLAY-006025356                                 9/28/2020 blog post titled                   Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Answering your FAQs about                Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                     Google Play billing"                     Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                Kirsten Rasanen
  TEMP1709       GOOG-PLAY-006025531                                 04/16/2020 blog post titled                  Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Building user trust through more         Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                     transparent subscriptions "              Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                Kirsten Rasanen
  TEMP1710       GOOG-PLAY-006025637                                 06/23/2021 blog post titled                  Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Continuing to boost developer            Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                     success on Google Play"                  Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                Kirsten Rasanen
  TEMP1711       GOOG-PLAY-006026313                                 Android Developer's Blog Post                              Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     entitled In-App Billing Launched on                         Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Android Market.                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                              Lockheimer, Hiroshi                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                 Pichai, Sundar                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                               Rosenberg, Jamie                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                Samat, Sameer
  TEMP1712       GOOG-PLAY-006026315                                 Webpage entitled                                           Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     "In-App Billing on Android Market:                          Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Ready for Testing" available at                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                     https://android-                                          Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                     developers.googleblog.com/2011/03                          Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                     /in-app-billing-on-android-market-                         Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                     ready.html (last accessed                                Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                     07/27/2023)                                                 Pichai, Sundar
                                                                                                                               Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1713       GOOG-PLAY-006026567                                 Webpage dated 9/28/2020 titled          Paul Gennai, Purnima Kochikar, Brandon Barras, Sarah    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Listening to Developer Feedback to        Karam, Sameer Samat, Mike Marchak, Hiroshi                                                                                           personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     Improve Google Play"                                         Lockheimer                                                                                                         hearsay                                                                 hearsay objection applies (Rules 803, 804, 807)
  TEMP1714       GOOG-PLAY-006029193             PX 1129             Email from E. Tseng to N. Sears re                       Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Strategy for Marketplace and Carrier                         Sears, Nick                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Content (02/25/2008)                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond;
  TEMP1715       GOOG-PLAY-006029344             PX 1130             Email from N. Sears to E. Tseng re                      Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Strategy for Marketplace and Carrier                        Sears, Nick                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Content (03/27/2008)                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1716       GOOG-PLAY-006029569.R                               Undated presentation titled "Android       Patrick Brady; Rich Miner; Hiroshi Lockheimer        Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Implementation Compatibility:                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                     Overview of Android Compatibility                                                                                                                                               personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                     Framework"                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                     misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1717       GOOG-PLAY-006032761.R                               Presentation dated 12/16/2008 titled                 Patrick Brady; Rich Miner                  Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android Review"                                                                                                                                                                 Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                      Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                     misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1718       GOOG-PLAY-006038394             PX 1338             Email from J. Mattson to E. Chu re                          Chu, Eric                           Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     [android-vendingmachine] re Change                      Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     in default revenue share                                  Mattson, Justin                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (07/17/2009)                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                    103 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 134 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1719       GOOG-PLAY-006162887         PX1206 Lagerling        4/28/2017 email from H.                           John Lagerling, Hiroshi Lockheimer             Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     Lockheimer to J. Lagerling                                                                                                                                                           402—exhibit is not relevant, Rule 403—unfairly prejudicial,             objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                                                                      Plaintiffs: Proof of Defendants’ liability for antitrust                            confusing the issues and/or misleading to the jury, Rule                (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                      violations, unreasonable restraints of trade, unfair                                602—exhibit contains statements not based on declarant’s personal       403), Foundation/personal knowledge will be established
                                                                                                                                                                      competition and/or tortious interference; proof of                                  knowledge, Foundation                                                   (Rules 201, 602, 901, 902),
                                                                                                                                                                      Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                      injunctive relief; proof of resulting damages; and/or proof                         Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                      rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                      Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                          602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                          the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                          the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1720       GOOG-PLAY-006163907             PX 0425             Email from C.Cramer to                                    Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     H.Lockheimer re 1:1 Tomorrow                             Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (12/01/2017)                                                                                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1721       GOOG-PLAY-006336966.R                               Presentation dated 10/12/2010 titled                       Jamie Rosenberg                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Android OC Quarterly Review- Q4                                                                                                                                                      Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     2010"                                                                                                                                                                                 Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                           Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
  TEMP1722       GOOG-PLAY-006339651       PX0884 Patrick Brady      3/22/2011 email from P. Brady to          Patrick Brady; Hiroshi Lockheimer; Jamie Rosenberg;    Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                     mgm@google.com                                                Andy Rubin                                                                                                             602—exhibit contains statements not based on declarant’s personal       objection applies (Rules 803, 804, 807),
                                                                                                                                                                      Plaintiffs: Proof of Defendants’ liability for antitrust                            knowledge, Foundation                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                      violations, unreasonable restraints of trade, unfair                                                                                                        201, 602, 901, 902),
                                                                                                                                                                      competition and/or tortious interference; proof of                                  Defendants: Incomplete; the introduction of any remaining portions
                                                                                                                                                                      Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                      injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                      rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                      Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                          the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1723       GOOG-PLAY-006339980             PX 0886             Email from P. Brady to H. Barra et                         Brady, Patrick                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al re Market Rebranding #2                                   Chu, Eric                           unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/26/2011)                                               Lagerling, John                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Lockheimer, Hiroshi                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                               Rosenberg, Jamie                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1724       GOOG-PLAY-006353017                                 Email from J. Gold to P. Gennai et                           Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re Cost savings initiatives in 2013                       Gold, Jon                          unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (11/27/2012)                                               Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1725       GOOG-PLAY-006355073                                 Email from B. Serridge to J. Zepp re                       Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Re: Vudu app" (03/06/2013)                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1726       GOOG-PLAY-006355148             PX 1392             Email from H. Lockheimer J.                              Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re FYI (03/15/2013)                             Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.




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                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 135 of 250        JOINT TRIAL EXHIBIT LIST
                                                                                                                                              DISPUTED EXHIBITS




                                                                                                              Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number            Name / Description                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1727       GOOG-PLAY-006356225           PX 2726              Email from R. PC Gibson to android-         Lockheimer, Hiroshi                Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    leadership@google.com                         Pichai, Sundar                   unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (04/17/2013)                                 Rosenberg, Jamie                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1728       GOOG-PLAY-006356717           PX 1097              Email from J.Rosenberg to J.Gold re             Gold, Jon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Play Revenue (05/08/2013)                    Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1729       GOOG-PLAY-006357630     PX 2727 Sundar Pichai      6/18/2013 email from S. Pichai to J.   Jamie Rosenberg; Sundar Pichai          Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                    Rosenberg                                                                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     objection applies (Rules 803, 804, 807), Balance favors
                                                                                                                                                   Plaintiffs: Proof of Defendants’ liability for antitrust                            the jury, Rule 602—exhibit contains statements not based on             admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                   violations, unreasonable restraints of trade, unfair                                declarant’s personal knowledge, Foundation                              knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                   competition and/or tortious interference; proof of
                                                                                                                                                   Defendants’ discovery conduct; proof of appropriate                                 Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                   injunctive relief; proof of resulting damages; and/or proof                         ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                   rebutting allegations in Defendants’ Answers and                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                   Counterclaims against Plaintiffs                                                    602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                       the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                       the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1730       GOOG-PLAY-006359924           PX 0776              Email from B.Meese to P.Kochikar             Kochikar, Purnima                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    re Time Sensitive: App Behavior              Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    (08/20/2013)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                       Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                       of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1731       GOOG-PLAY-006361226           PX 0799              Email from J.Lagerling to                     Lagerling, John                  Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    J.Rosenberg re Wallet and DCB                Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    (10/08/2013)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1732       GOOG-PLAY-006366894           PX 0688              Email from S.Samat to V.Marur re                Feng, Paul                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Samsung Play / Google Play                   Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    (01/31/2017)                                  Samat, Sameer                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                       Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                       of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1733       GOOG-PLAY-006367217           PX 1207              Email from J.Rosenberg to                     Lagerling, John                  Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    J.Lagerling and H.Lockheimer re             Lockheimer, Hiroshi                unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    Thanks, and New Topic                        Rosenberg, Jamie                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                    (06/02/2017)                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1734       GOOG-PLAY-006367282           PX 1426              Email from K. Rasanen to J.                  Rasanen, Kirsten                  Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Rosenberg re Thanks, and New                 Rosenberg, Jamie                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Topic (06/16/2017)                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                  105 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 136 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1735       GOOG-PLAY-006367390             PX 1427             Email from K. Rasanen to H.                              Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer et al re Facebook BD                           Rasanen, Kirsten                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Update (06.29.17) (06/29/2017)                            Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1736       GOOG-PLAY-006369070                                 Email from S. Lee to P. Gennai et al.                        Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re [Important - feedback requested]                        Kolotouros, Jim                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Huawei RSE & Play Back -end                                Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Discussions (05/15/2019)                                                                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1737       GOOG-PLAY-006380391       PX2736 Sundar Pichai      Undated meeting notes between           Dave Kleidermacher; Jamie Rosenberg; Sameer Samat; Defendant: Defense to Plaintiffs' claims                            Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                     Facebook and Google                      Sarah Karam; Donald Harrison; Hiroshi Lockheimer; Plaintiffs: Proof of Defendants’ liability for antitrust                                  402—exhibit is not relevant, Rule 602—exhibit contains statements objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                               Sundar Pichai                    violations, unreasonable restraints of trade, unfair                                      not based on declarant’s personal knowledge, Foundation               (Rules 401, 402), Foundation/personal knowledge will be
                                                                                                                                                                competition and/or tortious interference; proof of                                        Plaintiffs: Incomplete; the introduction of any remaining portions    established (Rules 201, 602, 901, 902),
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                       ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                               .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                          602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                Counterclaims against Plaintiffs                                                          the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                          the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.



  TEMP1738       GOOG-PLAY-006381385                                 Overview (Spotify's Concerns and                             Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Google's Responses) (11/15/2017)                         Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                               Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1739       GOOG-PLAY-006384075                                 Email from J. Kolotouros to T. Raja                        Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Amazon App Store (11/04/2014)                                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1740       GOOG-PLAY-006385672                                 Email from D. Rolefson to J.                               Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kolotouros re "Forking FireOS                                                                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     further" question (02/25/2016)                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1741       GOOG-PLAY-006390054                                 Android Partners Premier Tier                              Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Program Requirements booklet                                                                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/08/2020)                                                                                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1742       GOOG-PLAY-006398898.R           PX 1100             Android Device LTV Overview                                    Gold, Jon                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                                                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1743       GOOG-PLAY-006409453.R                               Presentation dated 2/6/2019 titled        Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Android Value Analysis (WIP)"          Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                       personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                 Kolotouros, Purnima Kochikar, Paul Bankhead                                                                                              hearsay, Rule 901—proponent has not established authenticity of         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                                                                          the document, Rule 403—unfairly prejudicial, confusing the issues       will be properly authenticated (Rule 901), Balance favors
                                                                                                                                                                                                                                                          and/or misleading to the jury, Rule 701—exhibit contains improper       admissibility (Rules 401, 403), Not an opinion, or proper
                                                                                                                                                                                                                                                          specialized opinion by lay witness, Foundation                          opinion evidence (Rule 701),
  TEMP1744       GOOG-PLAY-006758746             PX 0140             Document Titled HUG Comparison                              Koh, Lawrence                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Spreadsheet (07/08/2020)                                                                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                     106 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 137 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number            Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1745       GOOG-PLAY-006763265                                  Email re Re: Data Requests from                         Marchak, Michael                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                      EA.                                                                                           unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP1746       GOOG-PLAY-006814475.R                                Presentation dated 2/2021 titled        Edward Cunningham; David Kleidermacher, Michael       Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                      "App Stores on Android 12"                 Marchak, Purnima Kochikar; Sameer Samat            Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                                    violations, unreasonable restraints of trade, unfair                                inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the 801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                    competition and/or tortious interference; proof of                                  issues and/or misleading to the jury, Rule 701—exhibit contains       807), Balance favors admissibility (Rules 401, 403), Not an
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                 improper specialized opinion by lay witness, Foundation               opinion, or proper opinion evidence (Rule 701),
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                         Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                    Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                        602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                                                                                                        the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).

  TEMP1747       GOOG-PLAY-006820056             PX 0926              Email from S.Hsiao to P.Bankhead                          Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      re Facebook Messenger Rolling Out                           Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      Ads (07/12/2017)                                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1748       GOOG-PLAY-006826086                                  Paul Staff Meeting Notes                                  Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      (09/12/2018)                                                                                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP1749       GOOG-PLAY-006826907.R                                Undated, untitled presentation about   Edward Cunningham; Sebastian; David Kleidermacher,     Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      security                                        Jamie Rosenberg, Paul Bankhead                                                                                                    personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                        hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1750       GOOG-PLAY-006829073.R       PX 0388; PX 0545         Project Basecamp - Optionality                           Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      (04/14/2021)                                            Marchak, Michael                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1751       GOOG-PLAY-006847808.R     PX1699 Mrinalini Loew      Presentation dated 9/25/2020 titled    Mrinalini Loew; Paul Feng; Purnima Kochikar, Brandon Defense to Plaintiffs' claims                                        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      "Google Play Billing Policy"                                  Barras                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
  TEMP1752       GOOG-PLAY-006850420                                  Undated document titled "Commerce                   Paul Feng; Mrinalini Loew                 Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      for Game Developers"                                                                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        document                                                                 Exhibit will be properly authenticated (Rule 901)
  TEMP1753       GOOG-PLAY-006861555.R                                Presentation dated 10/2020 titled       Jamie Rosenberg, Purnima Kochikar, Jim Kolotouros     Defense to Plaintiffs' claims                                      Plaintiff        Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                      "OEM RSA3 Program Review"                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                         Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                        personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document
  TEMP1754       GOOG-PLAY-006861555.R                                OEM RSA3 Program review slide                           Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      deck (10/2020)                                           Kolotouros, Jim                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1755       GOOG-PLAY-006864412                                  Undated document titled "Possible                       Purnima Kochikar                      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      xPA One Google Terms"                                                                                                                                                              Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                        document




                                                                                                                                                                   107 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 138 of 250                JOINT TRIAL EXHIBIT LIST
                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                  Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                    Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1756       GOOG-PLAY-006990552                                 Document titled, "Project Runway:               Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Proposal for Changes to Play                    Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Business Models" (11/16/2020)                    Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                     Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                      Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1757       GOOG-PLAY-007003627.R                               Presentation dated 7/2020 titled      Edward Cunningham, Dave Kleidermacher          Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Unknown sources- Pixel insights"                                                                                                                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                           Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                          document
  TEMP1758       GOOG-PLAY-007005405         PX 0761; PX 1171        Email from E.Cunningham to                     Cunningham, Edward                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     S.Samat re FN Update (08/15/2018)              Kleidermacher, Dave                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                     Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                     Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                       Samat, Sameer                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1759       GOOG-PLAY-007005477             PX 1170             Email from J.Woloz to S.Samat et               Kleidermacher, Dave                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re FN Update (08/25/2018)                   Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                    Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                     Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                       Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1760       GOOG-PLAY-007006390             PX 0690             Email from S.Samat to J.Rosenberg               Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     re Samsung Store / Banyan Followup              Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (06/11/2019)                                     Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                    Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                     Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                      Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                          Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                          of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1761       GOOG-PLAY-007006409                                 J. Kolotouros to S. Samat et al. re             Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Samsung Store / Banyan followup                 Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (06/12/2019)                                     Kolotouros, Jim                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                    Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                     Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                      Samat, Sameer                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                          Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                          of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1762       GOOG-PLAY-007021362            PXCH 0170            Document titled, "11/30 - Sundar                Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Return to Office Policy?"                       Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                     Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      Koh, Lawrence                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                      Kolotouros, Jim                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                    Lockheimer, Hiroshi                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                     Marchak, Michael                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                      Pichai, Sundar                                                                                                      Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                     Rosenberg, Jamie                                                                                                     of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
                                                                                                                      Samat, Sameer
  TEMP1763       GOOG-PLAY-007024088                                 Email from P. Brady to T. Moss et                Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re GMS License Agreement                                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/07/2014)                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                          402).
  TEMP1764       GOOG-PLAY-007030361                                 Email from A. Rubin to M. Stepka re              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Re: Android Marketplace Payments -                Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     UPDATE                                         Kleidermacher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                     Kochikar Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                       Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                      Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                    Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                       Pichai, Sundar                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                       Samat, Sameer                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                     Rosenberg, Jamie
                                                                                                                        Rubin, Andy




                                                                                                                                                         108 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 139 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1765       GOOG-PLAY-007034378             PX 1212             Email from J.Lagerling to S.Pichai                      Lagerling, John                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Congrats (04/22/2013)                                Pichai, Sundar                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1766       GOOG-PLAY-007035840             PX 0154             Email from L. Koh to B. Bazinski re                   Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Riot - Update (02/13/2020)                            Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Koh, Lawrence                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Marchak, Michael                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1767       GOOG-PLAY-007036302             PX 1493             Document titled, "Apple Partnership                    Harrison, Donald                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Strategy" (10/29/2020)                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                      402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                      time (Fed. R. Evid. 403).                                               presenting cumulative evidence.
  TEMP1768       GOOG-PLAY-007102964.R           PX 0364             Games Velocity Program with                           Marchak, Michael                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Tencent slide deck (05/29/2020)                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1769       GOOG-PLAY-007104274             PX 1537             Email from P. Kochikar to S. Karam                      Karam, Sarah                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re A/C Privileged: Update on Tinder                   Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     / GPB (07/23/2019)                                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1770       GOOG-PLAY-007110393.R                               2/27/2019 email from J. Rosenberg       Dave Kleidermacher, Jamie Rosenberg, Hiroshi         Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to D. Kleidermacher                      Lockheimer, Sameer Samat, Jim Kolotouros                                                                                                 Rule 106—exhibit is unfairly incomplete                              (Rules 803, 804, 807)
                                                                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is properly complete (Rule 106)
                                                                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                      misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
  TEMP1771       GOOG-PLAY-007111921                                 Google's Position and Amazon's                         Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Position of various topics document                    Harrison, Donald                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (02/02/2018)                                          Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Koh, Lawrence                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                             Kolotouros, Jim                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                          Lockheimer, Hiroshi                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                           Marchak, Michael                                                                                                           exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                             Pichai, Sundar                                                                                                           Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                            Rosenberg, Jamie                                                                                                          of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
                                                                                                                             Samat, Sameer
  TEMP1772       GOOG-PLAY-007112427                                 Presentation dated 7/2019 titled      Paul Bankhead, Christopher Li, Donald Harrison, Jim    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                     "Samsung Update"                       Kolotouros, Jamie Rosenberg, Paul Gennai, Sameer      Plaintiffs: Proof of Defendants’ liability for antitrust                            Defendant: Incomplete; the introduction of any remaining portions objection applies (Rules 803, 804, 807)
                                                                                                                                 Samat                            violations, unreasonable restraints of trade, unfair                                ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                  competition and/or tortious interference; proof of                                  .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                  Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. defenses; Evidence’s probative value not substantially
                                                                                                                                                                                                                                                      Evid. 402)., Misleading; undue prejudice; confusion of issues; waste outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                                                                                                      of time (Fed. R. Evid. 403).                                          issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                                                                                                                                                                            and/or needlessly presenting cumulative evidence.

  TEMP1773       GOOG-PLAY-007113447             PX 1149             Email from N.Badkar to R.Mishra et                   Cunningham, Edward                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re Sideloading % (04/09/2019)                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                 109 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 140 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1774       GOOG-PLAY-007125883             PX 0627             Premier Tier Requirements                             Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (05/12/2020)                                          Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Koh, Lawrence                         conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                            Kolotouros, Jim                       resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                          Lockheimer, Hiroshi                     Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Marchak, Michael                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Pichai, Sundar                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                           Rosenberg, Jamie                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
  TEMP1775       GOOG-PLAY-007131144             PX 0635             Email from J.Kolotouros to C.Li re                     Kolotouros, Jim                       Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Escalation from Essential Products                   Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/26/2017)                                          Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1776       GOOG-PLAY-007132557                                 8/13/2020 email from T. Sweeney to    Don Harrison; Hiroshi Lockheimer, Jamie Rosenberg,     Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     H. Lockheimer                                    Sameer Samat, Sundar Pichai                 counterclaims                                                                                                                                                (Rules 803, 804, 807)
  TEMP1777       GOOG-PLAY-007132699.R                               Android, Chrome, OS, and Play                          Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Monthly Finance Review slide deck                    Lockheimer, Hiroshi                     unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (3/2017)                                               Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1778       GOOG-PLAY-007135039                                 Email from S. Karam to A. Rova et                        Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     al. re Update on DDA enforcement                        Kolotouros, Jim                      unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (12/26/2014)                                                                                 tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1779       GOOG-PLAY-007151541                                 Email from A. DiVento to C.                            Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Cramer et al. re Privileged and                        DiVento, Anthony                      unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Confidential (03/10/2021)                              Marchak, Michael                      tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1780       GOOG-PLAY-007172256.R                               BC: Play App Accelerator Program                        Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (Hug for Apps) (BC20-005)                             Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (02/27/2020)                                                                                 tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1781       GOOG-PLAY-007173065.R                               Undated document titled "Riot        Jamie Rosenberg, Purnima Kochikar, Michael Marchak, Defendant: Defense to Plaintiffs' claims                           Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                     Games Meeting Notes"                                      Tiam Lim                       Plaintiffs: Proof of Defendants’ liability for antitrust                                  Rule 106—exhibit is unfairly incomplete                              objection applies (Rules 803, 804, 807)
                                                                                                                                                              violations, unreasonable restraints of trade, unfair                                      Rule 402—exhibit is not relevant                                      Exhibit is properly complete (Rule 106)
                                                                                                                                                              competition and/or tortious interference; proof of                                        Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                      misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                               Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                         personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                              Counterclaims against Plaintiffs                                                          Rule 901—proponent has not established authenticity of the            Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                       document                                                              Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                                                                                                       Defendant: Incomplete; the introduction of any remaining portions considered at the same time, One or more witnesses have
                                                                                                                                                                                                                                                       ought, in fairness, to be considered contemporaneously (Fed. R        foundation to testify concerning the exhibit, Exhibit does
                                                                                                                                                                                                                                                       .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                       602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                                                                                                                       the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                       the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                110 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 141 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                               Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1782       GOOG-PLAY-007173346.R           PX 0151             Document titled "Google Strategic                        Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Partnership with Activision Blizzard                     Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     King" (11/18/2020)                                       Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Koh, Lawrence                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                               Kolotouros, Jim                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                             Lockheimer, Hiroshi                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                              Marchak, Michael                                                                                                           exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                               Pichai, Sundar                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.
                                                                                                                              Rosenberg, Jamie
                                                                                                                               Samat, Sameer
  TEMP1783       GOOG-PLAY-007173383         PX 0365; PX 0902        Magical Bridge & Play Billing                             Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Review slide deck (09/13/2019)                              Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Harrison, Donald                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                             Lockheimer, Hiroshi                     resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                              Marchak, Michael                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                               Samat, Sameer                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Rosenberg, Jamie                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1784       GOOG-PLAY-007173483      PX0628 James Kolotouros    Document dated 3/27/2020 titled        Jim Kolotouros, Jamie Rosenberg; Paul Gennai; Purnima Defendant: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     "Partner Info Doc- Oneplus 8                     Kochikar; Sameer Samat; Jon Gold            Plaintiffs: Proof of Defendants’ liability for antitrust                               declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                     Fortnite partnership"                                                                        violations, unreasonable restraints of trade, unfair                                   inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the 801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                  competition and/or tortious interference; proof of                                     issues and/or misleading to the jury, Foundation                      807), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                    Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                            ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                       .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                  Counterclaims against Plaintiffs                                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                         the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                         the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1785       GOOG-PLAY-007209772             PX 0832             Email from A.Pimplapure to                                Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     T.Knight re Play Revenue Share for                         Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Samsung (10/03/2015)                                   Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                               Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                               Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                             Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                Pichai, Sundar                                                                                                           prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.
                                                                                                                              Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1786       GOOG-PLAY-007211528             PX 0843             Email from A.Pimplapure to                                Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     S.Hashim re OEM Monetization via                           Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Play Store (02/24/2016)                                Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                               Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                               Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Pichai, Sundar                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                              Rosenberg, Jamie                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                Samat, Sameer
  TEMP1787       GOOG-PLAY-007213451                                 Google Chat conversation                                  Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (08/22/2016)                                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                               Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                               Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                Pichai, Sundar                                                                                                           Evid. 402).
                                                                                                                              Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1788       GOOG-PLAY-007216709                                 Google Chat conversation                                  Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (03/17/2017)                                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                               Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                               Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                Pichai, Sundar                                                                                                           Evid. 402).
                                                                                                                              Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP1789       GOOG-PLAY-007246367      PX0782 Jamie Rosenberg     Presentation dated 4/26/2019 titled      Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defendant: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     "Samsung Google: Building unique       Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim Plaintiffs: Proof of Defendants’ liability for antitrust                              declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                     app experiences for Samsung                Kolotouros, Purnima Kochikar, Paul Bankhead,       violations, unreasonable restraints of trade, unfair                                  inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the 801) and/or hearsay objection applies (Rules 803, 804,
                                                                     devices and users"                                         Christopher Li                     competition and/or tortious interference; proof of                                    issues and/or misleading to the jury, Foundation                      807), Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                   Defendants’ discovery conduct; proof of appropriate                                   Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                   injunctive relief; proof of resulting damages; and/or proof                           ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                   rebutting allegations in Defendants’ Answers and                                      .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                   Counterclaims against Plaintiffs                                                      602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                         the witness while testifying at trial, offered into evidence to prove Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                                                                                                         the truth of the matter asserted, and not subject to any hearsay      defenses.
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                         402).




                                                                                                                                                                    111 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 142 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1790       GOOG-PLAY-007262878           PX 1073             Document titled, "Initial Samsung                         Li, Christopher                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Thoughts" (01/07/2014)                                                                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                      402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                      time (Fed. R. Evid. 403).                                               presenting cumulative evidence.
  TEMP1791       GOOG-PLAY-007274935                               Email from K. Rasanen to S. Samat                      Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Facebook bi-weekly BD update                         Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                   (04/26/2017)                                             Rasenen, Kristen                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                             Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1792       GOOG-PLAY-007274966                               Google Play BizCps & Strategy                          Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Developer Study Q4 2017 slide deck                      Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (05/03/2017)                                             Samat, Sameer                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                      Evid. 402).
  TEMP1793       GOOG-PLAY-007275073                               Email from K.Rasanen to S.Sayigh                            Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re [Payment Policy] Top Developer                        Rasanen, Kirsten                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Briefing Plan (09/27/2017)                               Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1794       GOOG-PLAY-007278681   PX1546 Purnima Kochikar     Document titled, "Internal Breifing   Donald Harrison, Jamie Rosenberg, Edward Cunningham, Defendant: Defense to Plaintiffs' claims                          Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                   Document" (03/02/2020)                 Sarah Karam, Purnima Kochikar, Jim Kolotouros, Paul Plaintiffs: Proof of Defendants’ liability for antitrust                                declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                             Bankhead, Kobi Glick, Jon Gold, Christopher Li   violations, unreasonable restraints of trade, unfair                                    inadmissible hearsay, Foundation                                      801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                              competition and/or tortious interference; proof of                                      Defendant: Incomplete; the introduction of any remaining portions 807),
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                     ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                             .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                        602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                              Counterclaims against Plaintiffs                                                        the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                      the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1795       GOOG-PLAY-007278690           PX 0805             Slidedeck titled, "Epic/Fortnite BC                     Cramer, Christian                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Deal Review" (07/19/2018)                               Harrison, Donald                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Koh, Lawrence                         conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                          Lockheimer, Hiroshi                     resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Marchak, Michael                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Rosenberg, Jamie                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Samat, Sameer                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1796       GOOG-PLAY-007278741                               Undated document titled "Facebook     Kirsten Rasanen, Jamie Rosenberg, Paul Gennai, Purnima Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Google Play App Access Program                Kochikar, Sameer Samat, Paul Bankhead                                                                                                403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                   Executive Summary"                                                                                                                                                                 the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                      declarant’s personal knowledge, Foundation                              established (Rules 201, 602, 901, 902),

  TEMP1797       GOOG-PLAY-007280918           PX 0150             Email from L.Koh to M.Marchak re                         Koh, Lawrence                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   ABK Update (12/12/2019)                                 Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1798       GOOG-PLAY-007280991                               2/7/2019 email from S. Samat to E.         Paul Gennai, Sameer Samat, Jamie Rosenberg          Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Crosby                                                                                                                                                                             403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                      the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                      declarant’s personal knowledge, Foundation                              established (Rules 201, 602, 901, 902),

  TEMP1799       GOOG-PLAY-007298814           PX 1556             Email from D. Almaer to D. Glazkov                       Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re PWA APK Discussion Next                                 Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Monday June 5th (06/03/2017)                           Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                             Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                             Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                            Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Samat, Sameer




                                                                                                                                                                 112 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 143 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1800       GOOG-PLAY-007310413           PX 1553             Document titled, "PWAs in a                             Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Nutshell" (10/09/2018)                                    Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                           Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
  TEMP1801       GOOG-PLAY-007317466                               Switching to Pixel slide deck                           Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (01/31/2017)                                              Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                           Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
  TEMP1802       GOOG-PLAY-007323105            PX 367             Document entitled Games                                Marchak, Michael                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Acceletator Program.                                                                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1803       GOOG-PLAY-007325722                               Presentation re Revenue                                 Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Acceleration Play Apps 2015                                                                   unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Developer Initiative Strategy.                                                                tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802).
  TEMP1804       GOOG-PLAY-007326332           PX 1998             Presentation titled "Subs Summit                                                              Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   2017 BD deep-dive" presented by                           Gennai, Paul                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   George Audi (2/9/2017)                                    Karam, Sarah                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Rosenberg, Jamie                      resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Samat, Sameer                        Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1805       GOOG-PLAY-007328714                               Presentation dated Q1/2019 titled       Dave Kleidermacher; Jamie Rosenberg; Michael          Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Project Banyan: Ecosystem Fact        Marchak; Paul Feng; Paul Gennai; Purnima Kochikar;                                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                   Packs"                                           Sameer Samat; Jim Kolotouros                                                                                                      Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                      Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                     misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
  TEMP1806       GOOG-PLAY-007328838       PX0523 Paul Feng        Presentation dated 8/2019 titled      Jamie Rosenberg; Michael Marchak; Paul Feng; Purnima Defendant: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                   "Project Magical Bridge"                Kochikar; Sameer Samat; Donald Harrison; Hiroshi   Plaintiffs: Proof of Defendants’ liability for antitrust                               901—proponent has not established authenticity of the document, objection applies (Rules 803, 804, 807), Exhibit will be
                                                                                                                      Lockheimer; Paul Bankhead               violations, unreasonable restraints of trade, unfair                                   Rule 602—exhibit contains statements not based on declarant’s         properly authenticated (Rule 901), Foundation/personal
                                                                                                                                                              competition and/or tortious interference; proof of                                     personal knowledge, Foundation                                        knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                    Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                            ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                              rebutting allegations in Defendants’ Answers and                                       .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                              Counterclaims against Plaintiffs                                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                     the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1807       GOOG-PLAY-007328898           PX 1406             Document titled, "Executive Brief -                      Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   P&E Executive Discussion with                           Harrison, Donald                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Facebook (08/01/2020)                                   Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kolotouros, Jim                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                          Lockheimer, Hiroshi                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                           Rosenberg, Jamie                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Samat, Sameer                                                                                                            exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                     Evid. 402).
  TEMP1808       GOOG-PLAY-007329063                               Accelerator Programs 2.0 aka                             Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Project Secret Carrots notes                               Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (06/20/2019)                                            Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Koh, Lawrence                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Marchak, Michael                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                113 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 144 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1809       GOOG-PLAY-007329104             PX 0917             Document titled, "Response to Epic"                       Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (06/23/2018)                                            Kleidermacher, Dave                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                              Rosenberg, Jamie                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1810       GOOG-PLAY-007334730                                 Spotify Economic Proposal slide                          Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     deck (5/2020)                                            Harrison, Donald                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                        Evid. 402).
  TEMP1811       GOOG-PLAY-007337179             PX 0904             Project Runway: Proposal for                              Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     changes to Play business models                         Lockheimer, Hiroshi                    unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (11/16/2020)                                             Marchak, Michael                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1812       GOOG-PLAY-007338028                                 Email from P. Gennai to J.                                 Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg et al. re Store                                Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Collaboration (06/21/2019)                                Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                        Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                        of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1813       GOOG-PLAY-007339480.R    PX1410 Kirsten Rasanen     Presentation dated 4/1/2016 titled     Kirsten Rasanen, Sameer Samat, Jamie Rosenberg, Paul Defendant: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     "Project Wichita Update and            Gennai, Sarah Karam, Purnima Kochikar, Paul Bankhead Plaintiffs: Proof of Defendants’ liability for antitrust                               declarant’s personal knowledge, Rule 802—exhibit contains             established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                     Discussion Guide"                                                                           violations, unreasonable restraints of trade, unfair                                   inadmissible hearsay, Foundation                                      801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                 competition and/or tortious interference; proof of                                     Defendant: Incomplete; the introduction of any remaining portions 807),
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                    ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                            .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                       602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                 Counterclaims against Plaintiffs                                                       the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                        the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1814       GOOG-PLAY-007339587.R                               Presentation dated 2/20/2019 titled      Jamie Rosenberg, Paul Feng, Paul Gennai, Purnima      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Augmenting Games on Samsung                 Kochikar, Jim Kolotouros, Lawrence Koh                                                                                                 Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                     Devices"                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        personal knowledge                                                      201, 602, 901, 902)
  TEMP1815       GOOG-PLAY-007339821                                 Presentation entitled Billing Policy                        Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     and P2B Follow Up (Jan 2019).                            Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                               Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1816       GOOG-PLAY-007345689                                 Presentation dated 10/28/2020 titled     Purnima Kochikar; Hiroshi Lockheimer, Jamie      Defense to Plaintiffs' claims                                           Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Play 2021/25"                       Rosenberg, Sameer Samat, Dave Kleidermacher, Purnima                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                       Kochikar, Michael Marchak                                                                                                         Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                        misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1817       GOOG-PLAY-007346079     PX2860 Gregory K. Leonard   Presentation dated 9/2/2020 titled      Michael Marchak; Paul Feng; Purnima Kochikar; Paul     Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                     "Play Policy Launch Timing                         Bankhead; Christian Cramer                  Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                     Review"                                                                                        violations, unreasonable restraints of trade, unfair                                inadmissible hearsay, Foundation                                        801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                    competition and/or tortious interference; proof of                                  Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        807),
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay        and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                                                                                                delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                cumulative evidence.
  TEMP1818       GOOG-PLAY-007346897                                 Presentation re Tinder/Match Exec                           Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Meeting Prep - GPB discussion July                       Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     2019.                                                                                          tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                   114 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 145 of 250                    JOINT TRIAL EXHIBIT LIST
                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1819       GOOG-PLAY-007346944           PX 1461             Slide deck titled, "Project Magical                    Bankhead, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Bridge" (06/01/2019)                                     Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                         Marchak, Michel                        conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                        cumulative evidence.
  TEMP1820       GOOG-PLAY-007346993       PX 0592; PX 1459        Document titled, "9.13.19 Chekin                         Feng, Paul                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   with Hiroshi" (04/02/2019)                              Gennai, Paul                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Gold, Jon                           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                          Loew, Mrinalini                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                         Marchak, Michel                        Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                          Samat, Sameer                                                                                                                                                                                 cumulative evidence.

  TEMP1821       GOOG-PLAY-007352827                               8/9/2018 email from S. Samat to H.     Edward Cunningham; David Kleidermacher; Sameer        Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Lockheimer                               Samat, Hiroshi Lockheimer, Jamie Rosenberg                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)

  TEMP1822       GOOG-PLAY-007355676    PX1601 Brandon Barras      5/24/2019 email from S. Karam to S.   Brandon Barras, Paul Feng; Purnima Kochikar; Sameer    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Samat, M. Hochberg, T. Lim, T.                               Samat                                                                                                           106—exhibit is unfairly incomplete, Rule 403—unfairly prejudicial, (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                   Arzu, T. Ostrowski, W. White, P.                                                                                                                                             confusing the issues and/or misleading to the jury, Rule              106), Balance favors admissibility (Rules 401, 403),
                                                                   Feng, P. Kochikar                                                                                                                                                            602—exhibit contains statements not based on declarant’s personal Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                knowledge                                                             201, 602, 901, 902)
  TEMP1823       GOOG-PLAY-007355763           PX 1511             Email re Re: A/C Privileged: Update                   Harrison, Donald                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   on Tinder / GPB.                                          Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                         Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Samat, Sameer                         conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                          Barras, Brandon                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                         Ostrowski, Tristan                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1824       GOOG-PLAY-007355767                               Email re Re: A/C Privileged: Update                    Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   on Tinder / GPB.                                         Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                         Harrison, Donald                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                          Samat, Sameer                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1825       GOOG-PLAY-007356398       PX 1503; PX 1597        Email from B. Barras to D. Harrison                    Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re A/C Privileged: Update on Tinder                      Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   / GPB (08/26/2019)                                    Harrison, Donald                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                          Samat, Sameer                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1826       GOOG-PLAY-007358424           PX 2653             Email from D. Jackson to S. Samat                       Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re YT Music Blog Post?                                   Gennai, Paul                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (09/27/2019)                                           Kolotouros, Jim                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Rosenberg, Jamie                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1827       GOOG-PLAY-007371506           PX 0763             Email from D.Kleidermacher to                        Cunningham, Edward                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   E.Cunningham re Fortnite Task                        Kleidermacher, Dave                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Force (08/17/2018)                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1828       GOOG-PLAY-007371534           PX 1187             Email from D.Kleidermacher to                        Kleidermacher, Dave                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   T.Lim re ATTORNEY CLIENT                                                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   PRIVILEGED Fortnight task force                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (08/24/2018)                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                               115 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 146 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                      DISPUTED EXHIBITS




                                                                                                                   Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1829       GOOG-PLAY-007372061                               Email from E. Cunningham to H.                   Kleidermacher, David                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer re ATTORNEY                            Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                   CLIENT PRIVILEGED: Fortnight                     Lockheimer, Hiroshi                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                   task force (8/25/2018)                            Ostrowski, Tristan                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                      Rosenberg, Jamie                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                       Samat, Sameer                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1830       GOOG-PLAY-007372165           PX 1386             Email from S. Newberry to J.                     Kleidermacher, Dave                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenberg re ATTORNEY CLIENT                      Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   PRIVILEGED Fortnight Task Force                  Lockheimer, Hiroshi                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (08/25/2018)                                      Rosenberg, Jamie                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                       Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1831       GOOG-PLAY-007376080                               Blogpost dated 3/10/2020 titled       Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "How Google Play Protect kept       Cunningham, Sarah Karam, David Kleidermacher,                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   users safe in 2019"                Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                      Kirsten Rasanen                                                                                                        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document
  TEMP1832       GOOG-PLAY-007376084                               Blogpost dated 4/21/2021 titled       Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "How we fought bad apps and         Cunningham, Sarah Karam, David Kleidermacher,                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   developers in 2020"                Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                      Kirsten Rasanen                                                                                                        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document
  TEMP1833       GOOG-PLAY-007376141                               Blogpost dated 6/6/2019 titled        Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "PHA Family Highlights: Triada"     Cunningham, Sarah Karam, David Kleidermacher,                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                      Kirsten Rasanen                                                                                                        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document
  TEMP1834       GOOG-PLAY-007376174                               Blogpost dated 4/18/2019 titled       Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "The Android Platform Security      Cunningham, Sarah Karam, David Kleidermacher,                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Model"                             Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                      Kirsten Rasanen                                                                                                        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document
  TEMP1835       GOOG-PLAY-007376192                               Blogpost dated 2/4/2021 titled        Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "Vulnerability Reward Program:      Cunningham, Sarah Karam, David Kleidermacher,                                                                                        misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   2020 Year in Review"               Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                      Kirsten Rasanen                                                                                                        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document
  TEMP1836       GOOG-PLAY-007377375           PX 1186             Document titled, "Hijacking the                  Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Fortnite Installer" (08/10/2018)                  Rosenberg, Jamie                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                      Samat, Sameer                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1837       GOOG-PLAY-007379405           PX 1409             E-mail from K. Rasanen to J.                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenberg on Facebook installs                     Rasanen, Kristen                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (4/25/2016)                                         Gennai, Paul                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                     Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                     Rosenberg, Jamie                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                      Samat, Sameer                         Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1838       GOOG-PLAY-007379918           PX 1423             Email from P. Bankhead to M.                        Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Petrillo re Facebook/ Alley-oop                    Rasanen, Kristen                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Update (08/24/2016)                                Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.




                                                                                                                                                           116 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 147 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number          Name / Description                                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1839       GOOG-PLAY-007380405             PX 0910             Email from K.Rasanen to                              Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     J.Rosenberg re Facebook/Alley-oop                   Rasanen, Kirsten                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Update (10/11/2016)                                 Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1840       GOOG-PLAY-007381302                                 Email from H. Lockheimer to J.                    Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg et al. re SpeedBump -                    Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     need to sync this week (04/28/2017)                 Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).. Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1841       GOOG-PLAY-007381388             PX 1414             Email from H. Lockheimer to J.                       Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re FB Installing 3P Apks                Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/22/2017)                                       Rasanen, Kristen                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                         Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1842       GOOG-PLAY-007381753.R                               Email from S. Samat to J. Rosenberg                    Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     and P. Feng re Facebook P&E BD                       Karam, Sarah                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     summary for next week                              Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                     (09/27/2017)                                      Lockheimer, Hiroshi                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                         Rasanen, Kristen                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                        Rosenberg, Jamie                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Samat, Sameer                                                                                                      exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1843       GOOG-PLAY-007384816             PX 0783             Email from J.Kolotouros to                         Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     H.Lockheimer re Samsung Store                       Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     Proposal\ (05/30/2019)                            Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                         Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses..
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                             Evid. 402).. Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1844       GOOG-PLAY-007384914                                 Email from J. Kolotouros to H.                     Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Lockheimer re Samsung store                         Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     proposal (06/02/2019)                             Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                         Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                             Evid. 402)., Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP1845       GOOG-PLAY-007385485                                 Email from P. Kochikar to S. Samat                 Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     re Supercell - Illka may reach out                 Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     (09/23/2019)                                      Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Rosenberg, Jamie                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                         Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                             prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1846       GOOG-PLAY-007386688                                 Email from D. Heredia to J. Braddi                   Bankhead, Paul                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Faceebok Follow-up (04/02/2020)                  Harrison, Donald                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Gold, Jon                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                          Kolotouros, Jim                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                          Li, Christopher                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                            Gennai, Paul                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                         Rosenberg, Jamie                                                                                                    prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.
                                                                                                                          Samat, Sameer
  TEMP1847       GOOG-PLAY-007387004                                 7/28/2020 email from J. Rosenberg     Jamie Rosenberg; Sameer Samat; Jim Kolotouros     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to J. Kolotouros                                                                                                                                                         Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                              Rule 602—exhibit contains statements not based on declarant’s           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                             personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              Foundation                                                             201, 602, 901, 902)




                                                                                                                                                            117 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 148 of 250                      JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1848       GOOG-PLAY-007387880     PX1401 Hiroshi Lockheimer   Document dated 5/19/2017 titled      Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg,    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on     Defendant: Foundation/personal knowledge will be
                                                                     "Facebook"                           Edward Cunningham, Paul Bankhead, Kirsten Rasanen     Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge, Rule 802—exhibit contains         established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                                inadmissible hearsay, Foundation                                  801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                competition and/or tortious interference; proof of                                  Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.  807),
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                                                                                      concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay  and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue   value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                    prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                                                                                      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                      cumulative evidence.
  TEMP1849       GOOG-PLAY-007388790                                 Undated, untitled document about     Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg,    Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     app installation                              Purnima Kochikar, Kirsten Rasanen                                                                                                602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                    knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1850       GOOG-PLAY-007388991.R                               Presentation dated Q3/2017 titled     Jamie Rosenberg, Mrinalini Loew, Paul Feng, Paul   Defense to Plaintiffs' claims                                        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Play Policy Proposal: Payments"    Gennai, Purnima Kochikar, Sameer Samat, Sarah Karam;                                                                                        Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                           Kirsten Rasanen                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                    document
  TEMP1851       GOOG-PLAY-007412044                                 Presentation dated 9/2020 titled                        Lawrence Koh                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Games 2025"                                                                                                                                                                    Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                    document
  TEMP1852       GOOG-PLAY-007415045                                 Document titled "Project Hug –                         Koh, Lawrence                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Developer Offering Feedback"                          Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (03/13/2019)                                                                               tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                          cumulative evidence.
  TEMP1853       GOOG-PLAY-007418045      PX1417 Kirsten Rasanen     10/17/2017 email from K. Rasanen      Jamie Rosenberg, Sameer Samat, Paul Feng; Kirsten    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaitiffs: Rule 602—exhibit contains statements not based on          Defendant: Foundation/personal knowledge will be
                                                                     to S. Samat                                      Rasanen; Purnima Kochikar                 Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge                                        established (Rules 201, 602, 901, 902)
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                                 Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                competition and/or tortious interference; proof of                                   Rule 402—exhibit is not relevant                                     (Rules 803, 804, 807)
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                  Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                         misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                    Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                Counterclaims against Plaintiffs                                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                                                                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                                                                    602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                    the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1854       GOOG-PLAY-007423819                                 Email from Niko Schroer to C.                         Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Cramer re Alignment on Spotify                           Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     counter proposal (10/09/2020)                         Harrison, Donald                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                          Lockheimer, Hiroshi                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                            Loew, Mrinalini                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                            Samat, Sameer                                                                                                           exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                    prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1855       GOOG-PLAY-007424171.R           PX 1541             Slide deck titled, "Match - Next                      Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Steps" (10/01/2020)                                   Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                           Marchak, Michael                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1856       GOOG-PLAY-007424789         PX 1478; PX 1523        Document titled, "Riot GVP Deal"                      Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     (2/15/2020)                                           Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                            Koh, Lawrence                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                            Samat, Sameer                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                          cumulative evidence.
  TEMP1857       GOOG-PLAY-007425111      PX1428 Kirsten Rasanen     Document titled, "DRAFT: Internal    Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg,    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                     Discussion Deck" (06/23/2017)           Paul Gennai, Purnima Kochikar, Kirsten Rasanen     Plaintiffs: Proof of Defendants’ liability for antitrust                            602—exhibit contains statements not based on declarant’s personal objection applies (Rules 803, 804, 807),
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                                knowledge, Foundation                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                competition and/or tortious interference; proof of                                  Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. 201, 602, 901, 902),
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                 602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                         the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                    the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                Counterclaims against Plaintiffs                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                    prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                                                                                          delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                          cumulative evidence.




                                                                                                                                                               118 of 220
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                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                     Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1858       GOOG-PLAY-007465464                               Document dated 1/2017 titled                   Edward Cunningham, Paul Feng               Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Whats Happening with 9Apps"                                                                                                                                              personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                             hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                             misleading to the jury, Foundation                                    favors admissibility (Rules 401, 403),
  TEMP1859       GOOG-PLAY-007582256       PX 0949; PX 0302        Email from E. Chu to A. Rubin Re                         Chu, Eric                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   [Fwd: Re: 70-30 worldwide?]                             Rubin, Andy                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (06/07/2009)                                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1860       GOOG-PLAY-007587287                               Email from P. Brady to D. Conway                       Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Ericsson calls on carriers to out-                    Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   app-store Google (11/05/2009)                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1861       GOOG-PLAY-007587989                               Email from N. Shanbhag to D.                          Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Morrill re alternative Android app                       Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   distribution sites (12/07/2009)                        Harrison, Don                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       Kleidermacher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Opinion, if
                                                                                                                        Kochikar Purnima                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   any, is rationally based on the author’s perception; is
                                                                                                                          Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            helpful to clearly understand testimony or determine a fact
                                                                                                                         Kolotouros, Jim                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Opinion testimony         in issue; and/or is not based on knowledge within the scope
                                                                                                                       Lockheimer, Hiroshi                                                                                                   by Lay Witness (Fed. R. Evid. 701).                                     of Rule 702.
                                                                                                                          Pichai, Sundar
                                                                                                                          Samat, Sameer
                                                                                                                        Rosenberg, Jamie
  TEMP1862       GOOG-PLAY-007596241           PX 0883             Email from P. Brady to M.                              Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Morrissey re Things we need to                           Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   improve in Market ASAP                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (09/28/2010)                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1863       GOOG-PLAY-007597451           PX 0310             Email from E. Chu to S. Jeffery Re                        Chu, Eric                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   IAP question (12/07/2010)                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP1864       GOOG-PLAY-007611604                               Google Chat conversation                               Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (06/08/2020)                                              Chu, Eric                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Harrison, Don                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       Kleidermarcher, Dave                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Opinion, if
                                                                                                                        Kochikar, Purnima                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   any, is rationally based on the author’s perception; is
                                                                                                                          Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            helpful to clearly understand testimony or determine a fact
                                                                                                                          Kolotouros, Jim                                                                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Opinion testimony         in issue; and/or is not based on knowledge within the scope
                                                                                                                       Lockheimer, Hiroshi                                                                                                   by Lay Witness (Fed. R. Evid. 701).                                     of Rule 702.
                                                                                                                           Pichai, Sundar
                                                                                                                         Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP1865       GOOG-PLAY-007617589           PX 1572             Google Play Revenue Recognition                      Cramer, Christian;                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Policy July 2020                                     DiVento, Anthony                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1866       GOOG-PLAY-007617844                               Presentation dated 3/2021 titled        Hiroshi Lockheimer, Christian Cramer; Purnima     Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Smartphone Purchase Journey                       Kochikar; Sameer Samat                                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                   2020"                                                                                                                                                                      Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                              Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                             document                                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                              Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                              Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                             misleading to the jury
  TEMP1867       GOOG-PLAY-007627688           PX 0374             Project Basecamp - Optionality                       Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   (Impact) slide deck (04/26/2021)                                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.




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                                                                       Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 150 of 250           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number                Name / Description                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1868       GOOG-PLAY-007628059     PX 0375; PX 0429, PX 0430; DX 1028   Project Basecamp: Principles slide              Feng, Paul                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              deck (05/06/2021)                            Kochikar, Purnima                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Marchak, Michael                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1869       GOOG-PLAY-007651282                  DX1155                  Performance Overview Yoga -                      Ben Simon                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              Down Dog by Yoga Buddhi Co.                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                              (4/26/2021)                                                                                                                                                   the jury                                                                401, 403)
  TEMP1870       GOOG-PLAY-007660934                                          Email re Updates for Purnima - due           Marchak, Michael                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              today.                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP1871       GOOG-PLAY-007675476                                          Undated document titled "iOS &          Sarah Karam, Michael Marchak          Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                              Android App Gap Research"                                                                                                                                     misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                            personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                            document                                                                 Exhibit is properly complete (Rule 106)
                                                                                                                                                                                                                                             Rule 106—exhibit is unfairly incomplete                                 Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                             Rule 402—exhibit is not relevant
  TEMP1872       GOOG-PLAY-007740393           PX1711 Mrinalini Loew          Undated presentation titled "Halla +      Paul Feng, Mrinalini Loew           Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                              User Trust"                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                            personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                             Foundation                                                             201, 602, 901, 902)

  TEMP1873       GOOG-PLAY-007741780                                          Slide deck titled "Subscriptions/Play            Feng, Paul                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              Pass Deep Dive Survey (1/2021)                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1874       GOOG-PLAY-007743241.R                PX 1527                 Document titled, "BC: Play App               Cramer, Christian                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                              Accelerator Program (Hug for Apps)              Feng, Paul                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                              (BC20-005) (02/19/2020)                      Kochikar, Purnima                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                           Marchak, Michael                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                  cumulative evidence.
  TEMP1875       GOOG-PLAY-007750871                                          Email from A. Zaeske to P. Feng re               Feng, Paul                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                              headcount numbers (09/21/2021)                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP1876       GOOG-PLAY-007761086                  PX 0449                 Presentation titled, "2022 Annual            Cramer, Christian;               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                              Plan"                                        Kochikar, Purnima                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1877       GOOG-PLAY-007763365                                          Slide deck titled, "Bandcamp"                Kochikar, Purnima                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              (08/25/2021)                                 Marchak, Michael                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1878       GOOG-PLAY-007767398                                          Match Group x Google Program                 Kochikar, Purnima                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                              Update slide deck (10/27/2020)                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1879       GOOG-PLAY-007777655                                          Email re Privileged and Confidential:        Kochikar, Purnima                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Match.                                        Sameer, Samat                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                           Harrison, Donald                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.




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                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                                 Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1880       GOOG-PLAY-007800021                               Email re Google Redlines to Match                           Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   AVP Addendum (5/21).                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP1881       GOOG-PLAY-007814952           PX 1390             Slide deck titled, "2021 Annual                            Lockheimer, Hiroshi                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Planning, Platforms & Ecosystems"                              Porat, Ruth                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   (11/05/2020)                                                Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1882       GOOG-PLAY-007815234           PX 1538             Slide deck titled, "Project Basecamp                        Cramer, Christian                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   - Brainstorm" (04/30/2022)                                     Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Marchak, Michael                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1883       GOOG-PLAY-007815527                               Project Basecamp: Brainstorm slide                             Feng, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   deck (05/05/2021)                                           Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               Marchak, Michael                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                Samat, Sameer                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1884       GOOG-PLAY-007819062                               Presentation dated 8/3/2021 titled        Michael Marchak; Paul Feng; Purnima Kochikar; Sameer Defendant: Defense to Plaintiffs' claims                         Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                   "Project Everest- Update on                             Samat; Christian Cramer                Plaintiffs: Proof of Defendants’ liability for antitrust                               602—exhibit contains statements not based on declarant’s personal       objection applies (Rules 803, 804, 807),
                                                                   Options"                                                                                       violations, unreasonable restraints of trade, unfair                                   knowledge, Foundation                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                  competition and/or tortious interference; proof of                                     Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        201, 602, 901, 902),
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                    602)., Hearsay; the exhibit is a statement made by one other than       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                            the witness while testifying at trial, offered into evidence to prove   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                       the truth of the matter asserted, and not subject to any hearsay        and/or a hearsay exception applies;
                                                                                                                                                                  Counterclaims against Plaintiffs                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1885       GOOG-PLAY-007819776           PX 0448             Presentation titled, "Project Everest -                     Cramer, Christian;                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Potential Evolutions - Working                                 Feng, Paul;                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Document"                                                   Kochikar, Purnima;                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                               Marchak, Michael;                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1886       GOOG-PLAY-007830491                               Presentation titled Q3, 2021 titled          Mrinalini Loew; Sameer Samat; Purnima Kochikar       Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Google Play Q3' 21 Onboarding"                                                                                                                                                       personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1887       GOOG-PLAY-007834831           PX 1495             Email from H. Gutierrez to D.                                 Harrison, Don                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Harrison et al re A Principled Way                            Samat, Sameer                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Forward on GB (06/28/2021)                                                                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1888       GOOG-PLAY-007840935                               Presentation dated 8/8/2019 titled           Sameer Samat, Paul Feng, Sarah Karam, Purnima        Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Play Value Model"                                    Kochikar, Michael Marchak                                                                                                        Rule 403—wasting time and/or needlessly cumulative                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 602—exhibit contains statements not based on declarant’s           Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                         personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          Foundation                                                             201, 602, 901, 902)

  TEMP1889       GOOG-PLAY-007861425           PX 2890             Slide deck titleld, "ACP Value                               Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Attribution Methodology"                                                                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                     resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                     Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1890       GOOG-PLAY-007862151    PX1576 Anthony DiVento     Presentation dated 4/8/2019 titled                          Purnima Kochikar                      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Project Hug: Alphabet Accounting                                                                                                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                   SteerCo Meeting"                                                                                                                                                                       Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                         document




                                                                                                                                                                    121 of 220
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                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1891       GOOG-PLAY-007863307           PX 1700             Presentation titled, "Google Play                      Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Billing Policy for Carriers"                              Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Gold, Jon                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                           Loew, Mrinalini                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1892       GOOG-PLAY-007868187                               Presentation entitled Deprecated                       Marchak, Michael                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Project Everest - Ramp up doc.                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP1893       GOOG-PLAY-007869492                               Presentation dated 9/20/2021 titled     Michael Marchak, Purnima Kochikar, Sameer Samat    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Project Everest- JZ Team Update"                                                                                                                                          602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                              knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1894       GOOG-PLAY-007873896                               Google Chat conversation                               Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (05/26/2021)                                               Feng, Paul                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Harrison, Don                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                        Kleidermarcher, Dave                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                         Kochikar, Purnima                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Kolotouros, Jim                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                        Lockheimer, Hiroshi                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                           Loew, Mrinalini                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer

  TEMP1895       GOOG-PLAY-007874518           PX 0514             Email from C.Schaengold to P.Feng                         Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Confiming Payments Policy                            Loew, Mrinalini                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Applies to Web Apps (04/15/2021)                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1896       GOOG-PLAY-007876132                               Spreadsheet entitled GPB Policy                        Marchak, Michael                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Holdout Tracker.                                        Loew, Mrinalini                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Feng, Paul                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1897       GOOG-PLAY-007878614           PX 0541             Document titled, "Halla Resourcing                     Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   1-Pager" (08/10/2021)                                     Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Marchak, Michael                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1898       GOOG-PLAY-007878797                               Presentation dated 7/2021 titled                   Mike Marchak, Paul Feng                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "Value of Google Play Billing"                                                                                                                                             misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                               Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                               Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                              witness                                                                  Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                              document
  TEMP1899       GOOG-PLAY-007879536                               Slide deck titled, "Project Everest -                     Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   XFN Team Summary" (10/18/2021)                         Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1900       GOOG-PLAY-007879856                               Google Play BizOps & Strategy                          Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,        One or more witnesses have foundation to testify
                                                                   Developer Study Q4 2021 slide deck                        Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the      concerning the exhibit; Exhibit does not contain hearsay
                                                                   (08/02/2021)                                           Kochikar, Purnima                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                                                                                  and/or a hearsay exception applies; Evidence’s probative
                                                                                                                          Marchak, Michael                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay        value not substantially outweighed by danger of unfair
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue     prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).  delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                  cumulative evidence.
  TEMP1901       GOOG-PLAY-007906623                               5/29/2009 email from M. Womack                 Patrick Brady; Hiroshi Lockheimer           Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                   to M. Reed                                                                                                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                              hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                              misleading to the jury, Foundation                                  favors admissibility (Rules 401, 403),




                                                                                                                                                             122 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 153 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                             Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1902       GOOG-PLAY-007932523             PX 0826             Email from J. Lee to A.Pimplapure                        Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re Samsung Raising Requiring All                                                             unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Apps to be Placed in the Home                                                                tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Screen (10/21/2016)                                                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                    402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                    time (Fed. R. Evid. 403).                                               presenting cumulative evidence.
  TEMP1903       GOOG-PLAY-007944520             PX 0833             Smart Switch Switcher Summary                            Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     slide deck (02/05/2016)                                    Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                             Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses; Exhibit is
                                                                                                                               Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.        what the proponent claims it is and/or is self-authenticating.
                                                                                                                               Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          Evid. 402)., Authentication; exhibit has not been properly
                                                                                                                            Lockheimer, Hiroshi                                                                                                     authenticated (Fed. R. Evid. 901).
                                                                                                                                Pichai, Sundar
                                                                                                                              Rosenberg, Jamie
                                                                                                                               Samat, Sameer
  TEMP1904       GOOG-PLAY-007981137                                 Google Chat conversation                                 Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (03/18/2017)                                               Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                            Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                             Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                               Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                               Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                Pichai, Sundar                                                                                                      Evid. 402).
                                                                                                                              Rosenberg, Jamie
                                                                                                                               Samat, Sameer
  TEMP1905       GOOG-PLAY-008012798                                 Email from C. Li to H. Rivera re                         Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                     Meeting between Sundar and DJ                              Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                     (from Samsung) next Wednesday                          Kleidermacher, Dave                   tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Contains all parts that in
                                                                     (08/30/2018)                                            Kochikar Purnima                     conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay          fairness ought to be considered at the same time; Opinion,
                                                                                                                               Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Incomplete; the               if any, is rationally based on the author’s perception; is
                                                                                                                               Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          introduction of any remaining portions ought, in fairness, to be      helpful to clearly understand testimony or determine a fact
                                                                                                                               Li, Christopher                                                                                                      considered contemporaneously (Fed. R .Evid. 106)., Cond; Opinion in issue; and/or is not based on knowledge within the scope
                                                                                                                            Lockheimer, Hiroshi                                                                                                     testimony by Lay Witness (Fed. R. Evid. 701).                         of Rule 702.
                                                                                                                                Pichai, Sundar
                                                                                                                               Samat, Sameer
                                                                                                                              Rosenberg, Jamie
  TEMP1906       GOOG-PLAY-008125446             PX 1053             Email from C. Li to J. Lee re Post                        Li, Christopher                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     mortem on Samsung blockers                                                                   unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (10/17/2019)                                                                                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                    402).
  TEMP1907       GOOG-PLAY-008142225             PX 1526             Email from D. Harrison to P.                            Harrison, Donald                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Kochikar re Magical Bridge TLDR                         Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (09/13/2019)                                                                                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1908       GOOG-PLAY-008146281.R                               12/20/2018 email from J. Dischler to                     Donald Harrison                     Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     D. Harrison                                                                                                                                                                    402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                    confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                                    602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    knowledge, Foundation                                                   201, 602, 901, 902),
  TEMP1909       GOOG-PLAY-008146703      PX1508 Donald Harrison     10/13/2017 email from D. Harrison                Donald Harrison; Kirsten Rasanen            Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     to P. Schnidler                                                                              counterclaims                                                                      Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
  TEMP1910       GOOG-PLAY-008165206                                 Spreadsheet re Tinder Play Value                         Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Analysis.                                                 Karam, Sarah                       unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1911       GOOG-PLAY-008165434                                 Undated webpage titled "Deceptive        Sameer Samat, Purnima Kochikar, Michael Marchak,    Defense to Plaintiffs' claims; Google counterclaims                 Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Behavior"                                  Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                         personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                         Cunningham, Sebastian Porst                                                                                                hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
  TEMP1912       GOOG-PLAY-008165455                                 8/15/2018 website post by E.                Edward Cunningham, David Kleidermacher           Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     Cunningham titled "Galaxy Apps                                                                                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     InstallAgent API can lead to arbitrary                                                                                                                                         hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                     APK installs"                                                                                                                                                                  misleading to the jury, Foundation                                  favors admissibility (Rules 401, 403),




                                                                                                                                                                 123 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 154 of 250     JOINT TRIAL EXHIBIT LIST
                                                                                                                                          DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1913       GOOG-PLAY-008165967           PX 0636             Message from J.Kolotouros                        Google                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                Kolotouros, Jim                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1914       GOOG-PLAY-008166885                               Website titled, "Help protect against      Kleidermacher, Dave              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   harmful apps with Google Play                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Protect" (07/22/2021)                                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP1915       GOOG-PLAY-008216033           PX 1411             Email from J. Rosenberg to C.                  Gennai, Paul                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   D'Silva re FB Prep (05/02/2018)              Rosenberg, Jamie               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1916       GOOG-PLAY-008231357                               8/3/2014 email from A. Pimplapure             Jim Kolotouros                Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   to J. Kolotouros                                                                                                                                             Rule 402—exhibit is not relevant                                      (Rules 803, 804, 807)
                                                                                                                                                                                                                                Rule 403—unfairly prejudicial, confusing the issues and/or             Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                               misleading to the jury                                                  Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                               personal knowledge                                                     201, 602, 901, 902)
  TEMP1917       GOOG-PLAY-008389051     PX0864 Patrick Brady      6/12/2009 email from P. Brady to D.           Patrick Brady                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Conrad attaching a presentation titled                                                                                                                       Foundation                                                            (Rules 803, 804, 807)
                                                                   "Android Strategy and Partnerships                                                                                                                                                                                                  Foundation/personal knowledge will be established (Rules
                                                                   Overview"                                                                                                                                                                                                                          201, 602, 901, 902)
  TEMP1918       GOOG-PLAY-008389054                               Presentation dated 6/2009 titled              Patrick Brady                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or             Balance favors admissibility (Rules 401, 403)
                                                                   "Android Strategy and Partnerships                                                                                                                          misleading to the jury                                                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Overview"                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                        (Rules 803, 804, 807)
                                                                                                                                                                                                                                Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                               personal knowledge                                                     201, 602, 901, 902)
                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
  TEMP1919       GOOG-PLAY-008471716           PX 0863             Email from B. Brady to C. Warner              Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   re [Pso-leads][Wirelesssbiz] Android                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Developments and Partner Inquiries                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                   (10/15/2008)                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP1920       GOOG-PLAY-008471799                               Undated presentation titled              Patrick Brady; Rich Miner          Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or             Balance favors admissibility (Rules 401, 403)
                                                                   "Android: An Open mobile platform-                                                                                                                          misleading to the jury                                                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Open the Phone/Open the Network"                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                        (Rules 803, 804, 807)
                                                                                                                                                                                                                                Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                               personal knowledge                                                     201, 602, 901, 902)
                                                                                                                                                                                                                                Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
  TEMP1921       GOOG-PLAY-008580015           PX 0878             Email from J. Lagerling to M. Chu             Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   re Game Stop Partner Channel                  Lagerling, John               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (03/08/2012)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence;
                                                                                                                                                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                               exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                               introduce it.
  TEMP1922       GOOG-PLAY-008580718           PX 0867             Email from G. Mathur to P. Brady et           Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   al re [Issue 2596371] Scaling                                               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Android Market Reporting and                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                   Partner Launches (04/14/2010)                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies.
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802).
  TEMP1923       GOOG-PLAY-008670130                               Email from S. Sayigh to P. Gennai re           Gennai, Paul                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   WIP BC deck (04/01/2019)                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.       danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                               402)., Misleading; undue prejudice; confusion of issues; waste of      the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                               time (Fed. R. Evid. 403).                                              presenting cumulative evidence.
  TEMP1924       GOOG-PLAY-008678916       PX 1434; PX 0585        Email from L. Zhang to K. Rasanen             Gennai, Paul                  Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                   re High Level Google Play App                Rasanen, Kirsten               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                   Distribution Document (06/23/2017)                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.




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                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 155 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                               DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number        Beg Bates            Deposition Exhibit Number                Name / Description                                                                                        Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1925       GOOG-PLAY-008694233                PX 2867                 Presentation entitled Play Value                    Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Model LTV based approach.                           Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1926       GOOG-PLAY-008694289                                        Document dated 9/18/2020 titled        Paul Feng, Purnima Kochikar, Michael Marchak     Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                            "Notes from call with Peter Foster,                                                     counterclaims                                                                         misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                            Match GM"                                                                                                                                                                      Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                           Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                          document
  TEMP1927       GOOG-PLAY-008694473        PX1547 Purnima Kochikar         Document dated July 2020 titled              Purnima Kochikar, Paul Bankhead            Defendant: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                            "Executive Brief- P&E Executive                                                         Plaintiffs: Proof of Defendants’ liability for antitrust                              declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                            Discussion with Facebook"                                                               violations, unreasonable restraints of trade, unfair                                   Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                    competition and/or tortious interference; proof of                                     Foundation                                                             (Rules 803, 804, 807)
                                                                                                                                                                    Defendants’ discovery conduct; proof of appropriate                                   Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.         Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                    injunctive relief; proof of resulting damages; and/or proof                           602)., Hearsay; the exhibit is a statement made by one other than       concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    rebutting allegations in Defendants’ Answers and                                      the witness while testifying at trial, offered into evidence to prove   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                    Counterclaims against Plaintiffs                                                      the truth of the matter asserted, and not subject to any hearsay        value not substantially outweighed by danger of unfair
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                                  cumulative evidence.
  TEMP1928       GOOG-PLAY-008694633                                        Document entitled Badoo Product                        Feng, Paul                       Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                            Options.                                            Kochikar, Purnima                   unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1929       GOOG-PLAY-008694813                PX 1545                 Email from M. McCurdy to C. Li et                   Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            al re FB Pre-Installer Impacted by                   Li, Christopher                    unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Android BD Outreach (03/02/2020)                     Rasanen, Kirsten                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1930       GOOG-PLAY-008698390   PX 1616 Ruth Porat; PX2886 Douglas   Presentation dated 1/22/2021 titled                 Barras, Brandon                     Defendant: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendant: Not hearsay (Rule 801) and/or hearsay
                                                    Skinner                 "Alphabet Margin Trends 2018-                         Harrison, Don                     Plaintiffs: Proof of Defendants’ liability for antitrust                              403—unfairly prejudicial, confusing the issues and/or misleading to objection applies (Rules 803, 804, 807), Balance favors
                                                                            2024"                                             Kleidermarcher, Dave                  violations, unreasonable restraints of trade, unfair                                  the jury, Rule 602—exhibit contains statements not based on           admissibility (Rules 401, 403), Foundation/personal
                                                                                                                               Kochikar, Purnima                    competition and/or tortious interference; proof of                                    declarant’s personal knowledge, Foundation                            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                 Koh, Lawrence                      Defendants’ discovery conduct; proof of appropriate                                   Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                 Kolotouros, Jim                    injunctive relief; proof of resulting damages; and/or proof                           602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Lockheimer, Hiroshi                   rebutting allegations in Defendants’ Answers and                                      the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                  Pichai, Sundar                    Counterclaims against Plaintiffs                                                      the truth of the matter asserted, and not subject to any hearsay      one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                                   Porat, Ruth                                                                                                            exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R. probative value not substantially outweighed by danger of
                                                                                                                                Rosenberg, Jamie                                                                                                          Evid. 402)., Misleading; undue prejudice; confusion of issues; waste unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                 Samat, Sameer                                                                                                            of time (Fed. R. Evid. 403).                                          undue delay, wasting time, and/or needlessly presenting
                                                                                                                                   Gennai, Paul                                                                                                                                                                                 cumulative evidence.

  TEMP1931       GOOG-PLAY-008706724                PX 1612                 Instant Messages from M. Herring to                    Porat, Ruth                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            R. Porat (06/20/2019)                                                                   unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                    tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1932       GOOG-PLAY-008707092                PX 1611                 Email from R. Porat to M. Murphy                       Porat, Ruth                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            re BC Deal Review: Agenda for                                                           unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Tuesday, April 9th at 4:00PM                                                            tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                            (4/17/2019)                                                                             conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1933       GOOG-PLAY-008724189                PX 2644                 Email from K. Miyake to J.                           Kolotouros, Jim                    Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            Kolotouros re XDA-Developers                                                            unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Article and Reddit Discussion re: L3                                                    tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                            (03/27/2018)                                                                            conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP1934       GOOG-PLAY-008727310                PX 1101                 Email from M.Ankapura to J.Gold er                      Gold, Jon                       Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                            al. re Product Improvements and                                                         unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                            Contribution to AOSP (01/24/2017)                                                       tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).




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                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number            Name / Description                                                                                        Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1935       GOOG-PLAY-008742415                                Undated presentation titled "Policy            Mrinalini Loew, Sebastian Porst           Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    Team 101"                                                                                                                                                                     Rule 403—wasting time and/or needlessly cumulative                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                                  Rule 402—exhibit is not relevant                                        Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                 misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                  Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                 personal knowledge                                                       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                  Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                                 document
  TEMP1936       GOOG-PLAY-009201648   PX1525 - Purnima Kochikar    1/27/2021 Email from P. Kochikar        Paul Feng, Purnima Kochikar, Michael Marchak     Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    to A. Carpenter                                                                                                                                                                                                                                      (Rules 803, 804, 807)
  TEMP1937       GOOG-PLAY-009203271     PX0386 Danielle Stein      Presentation dated 12/2020 titled             Danielle Stein, Michael Marchak            Defendant: Defense to Plaintiffs' claims; proof of Match's    Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay              Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                    "Play Statement of Work"                                                                 liability for counterclaims                                                         Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        objection applies (Rules 803, 804, 807)
                                                                                                                                                             Plaintiffs: Proof of Defendants’ liability for antitrust                            602)., Hearsay; the exhibit is a statement made by one other than       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                             violations, unreasonable restraints of trade, unfair                                the witness while testifying at trial, offered into evidence to prove   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             competition and/or tortious interference; proof of                                  the truth of the matter asserted, and not subject to any hearsay        and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                             Defendants’ discovery conduct; proof of appropriate                                 exception (Fed. R. Evid. 801 and 802)., Misleading; undue               value not substantially outweighed by danger of unfair
                                                                                                                                                             injunctive relief; proof of resulting damages; and/or proof                         prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                             rebutting allegations in Defendants’ Answers and                                                                                                            delay, wasting time, and/or needlessly presenting
                                                                                                                                                             Counterclaims against Plaintiffs                                                                                                                            cumulative evidence.
  TEMP1938       GOOG-PLAY-009206383                                Slide deck titled, "Apps Velocity                    Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Program" (04/02/2020)                                Marchak, Michael                    unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1939       GOOG-PLAY-009206478                                Document entitled Play Apps BD                       Marchak, Michael                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Snippets.                                            Kochikar, Purnima                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1940       GOOG-PLAY-009209478           PX 0450              Email from C.Cramer to K.Reinke re                   Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Materials from 2017 Q2 BFR                                                               unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Review that was cancelled                                                                tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    (07/08/2017)                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1941       GOOG-PLAY-009209700                                Email from C. Cramer to M.                            Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Kourakina R. Andreatta et al. Re                     Cramer, Christian                   unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Privileged and confidential - Play as                  Harrison, Don                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    MOR (09/26/2017)                                    Kleidermacher, Dave                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Opinion, if any,
                                                                                                                         Kochikar Purnima                    resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   is rationally based on the author’s perception; is helpful to
                                                                                                                           Koh, Lawrence                     Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            clearly understand testimony or determine a fact in issue;
                                                                                                                          Kolotouros, Jim                                                                                                        exception (Fed. R. Evid. 801 and 802)., Opinion testimony by Lay        and/or is not based on knowledge within the scope of Rule
                                                                                                                        Lockheimer, Hiroshi                                                                                                      Witness (Fed. R. Evid. 701)., Conditional objection; defendants         702;
                                                                                                                           Pichai, Sundar                                                                                                        reserve the right to object to this exhibit at trial depending on the
                                                                                                                           Samat, Sameer                                                                                                         purpose for which plaintiffs seek to introduce it.
                                                                                                                         Rosenberg, Jamie
  TEMP1942       GOOG-PLAY-009210324                                Email from C.Veer to M. Murphy                       Cramer, Christian                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    A.Schwarzwald et al. Re BC Deal                         Gennai, Paul                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Review: Agenda for Wed, June 19                       Kolotouros, Jim                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    and Thur, June 20 (06/20/2019)                                                           conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                 prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1943       GOOG-PLAY-009212349                                Project Hug - Alphabet Accounting                     Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    SteerCo Meeting slide deck                           Cramer, Christian                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                    (04/08/2019)                                           Harrison, Don                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                        Kleidermacher, Dave                  conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                         Kochikar Purnima                    resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                           Koh, Lawrence                     Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                          Kolotouros, Jim                                                                                                                                                                                cumulative evidence.
                                                                                                                        Lockheimer, Hiroshi
                                                                                                                           Pichai, Sundar
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
  TEMP1944       GOOG-PLAY-009212734           PX 0446              Draft e-mail from C. Cramer to R.                    Cramer, Christian;                  Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Porat                                                    Feng, Paul                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                 defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                            126 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 157 of 250      JOINT TRIAL EXHIBIT LIST
                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                   Sponsoring Witness(es)
Exhibit Number        Beg Bates            Deposition Exhibit Number                 Name / Description                                                                     Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1945       GOOG-PLAY-009228369                PX 1588                  Email re Some follow up stuff from         Feng, Paul                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             today's meeting.                         Barras, Brandon              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1946       GOOG-PLAY-009230435                                         Email re Subscriptions PPS                 Feng, Paul                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             thoughts.                                 Gennai, Paul                unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                      Rasanen, Kirsten             tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       Gennai, Paul                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1947       GOOG-PLAY-009237495                                         Email re Dating app with 3rd               Feng, Paul                 Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             payment.                                  Gennai, Paul                unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                      Barras, Brandon              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       Karam, Sarah                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1948       GOOG-PLAY-009244293                                         Slide deck titled, "Project Magical        Feng, Paul                 Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                             Bridge - Steering Team Checkin"         Kochikar, Purnima             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                             (6/27/2019)                                                           tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                             cumulative evidence.
  TEMP1949       GOOG-PLAY-009248287                PX 0594                  Email from G. Hartrell to P. Gennai        Gennai, Paul               Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                             re Flagship Game Program                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                             (7/9/2018)                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).
  TEMP1950       GOOG-PLAY-009252404                                         Document entitled Play                     Gennai, Paul               Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                             Subscriptions V2 Proposal.               Rosenberg, Jamie             unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                   tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies
                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1951       GOOG-PLAY-009257444                PX 0601                  Email from T. Wang to P. Gennai re        Gennai, Paul                Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                             [UPDATED] Oneplus Fortnite                 Gold, Jon                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                             partnerships on coming Oneplus 8         Kolotouros, Jim              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                             TSM/VZW SKUs (03/27/2020)                                             conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1952       GOOG-PLAY-009259637   PX0597 Paul Gennai; PX1103 Jon Gold   Email from P. Gennai to J. Gold re     Paul Gennai, Jon Gold          Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                             Some Play Projects (2/28/2019)                                                                                                                            402—exhibit is not relevant, Rule 602—exhibit contains statements objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                                                   Plaintiffs: Proof of Defendants’ liability for antitrust                            not based on declarant’s personal knowledge                           (Rules 401, 402), Foundation/personal knowledge will be
                                                                                                                                                   violations, unreasonable restraints of trade, unfair                                                                                                      established (Rules 201, 602, 901, 902)
                                                                                                                                                   competition and/or tortious interference; proof of                                  Defendant: Incomplete; the introduction of any remaining portions
                                                                                                                                                   Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                   injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time, One or more witnesses have
                                                                                                                                                   rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit, Exhibit does
                                                                                                                                                   Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies,
                                                                                                                                                                                                                                       the truth of the matter asserted, and not subject to any hearsay      Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;        defenses, Evidence’s probative value not substantially
                                                                                                                                                                                                                                       defendants reserve the right to object to this exhibit at trial       outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                                                                                       depending on the purpose for which plaintiffs seek to introduce it., issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                                                                                       Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;          and/or needlessly presenting cumulative evidence
                                                                                                                                                                                                                                       confusion of issues; waste of time (Fed. R. Evid. 403).




                                                                                                                                                  127 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 158 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1953       GOOG-PLAY-009264935   PX1398 Hiroshi Lockheimer   4/2017 email from P. Gennai to K.      Paul Gennai, Kirsten Rasanen, Hiroshi Lockheimer,    Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   Rasanen                                                  Sameer Samat                                                                                                           602—exhibit contains statements not based on declarant’s personal objection applies (Rules 803, 804, 807),
                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                            knowledge, Foundation                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                                                                                      201, 602, 901, 902),
                                                                                                                                                               competition and/or tortious interference; proof of                                  Defendants: Incomplete; the introduction of any remaining portions
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                   the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1954       GOOG-PLAY-009284111           PX 0595             Email from M. Gohil to P. Gennai re                      Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Q4 BoD updates (12/12/2018)                                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Opinion, if any,
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   is rationally based on the author’s perception; is helpful to
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            clearly understand testimony or determine a fact in issue;
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Opinion testimony by Lay        and/or is not based on knowledge within the scope of Rule
                                                                                                                                                                                                                                                   Witness (Fed. R. Evid. 701).                                            702.
  TEMP1955       GOOG-PLAY-009285060                               2/22/2019 email from S. Sayigh to                        Paul Gennai                        Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   P. Gennai                                                                                                                                                                       901—proponent has not established authenticity of the document,         objection applies (Rules 803, 804, 807), Exhibit will be
                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                            Rule 602—exhibit contains statements not based on declarant’s           properly authenticated (Rule 901), Foundation/personal
                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                personal knowledge, Foundation                                          knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                               competition and/or tortious interference; proof of
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                 Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                         ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               Counterclaims against Plaintiffs                                                    602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                                                                                                   the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                   the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).
  TEMP1956       GOOG-PLAY-009285085           PX 1452             Email from S. Sayigh to M. Oh et al                      Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   re Review Deck for Ads Exec Mtg.                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   (02/27/2019)                                                                                tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Misleading; undue             undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1957       GOOG-PLAY-009295192           PX 0584             Presentation titled, "Alley-Oop                          Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Proposal" (10/19/2015)                                                                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue               prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                           cumulative evidence.
  TEMP1958       GOOG-PLAY-009295801     PX0879 Patrick Brady      Undated presentation titled "CTS and              Patrick Brady, Paul Gennai                Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendants: Foundation/personal knowledge will be
                                                                   GMS Overview"                                                                                                                                                                   declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902); Not hearsay (Rule
                                                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                             Rule 802—exhibit contains inadmissible hearsay                         801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                 Foundation                                                             807)
                                                                                                                                                               competition and/or tortious interference; proof of
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                 Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies;
                                                                                                                                                               Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1959       GOOG-PLAY-009296934                               Email from P. Gennai to R.                              Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lipscomb S. Ahmed et al. Re Valve                     Kochikar, Purnima                     unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   updates business model                                Rosenberg, Jamie                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (12/13/2018)                                                                                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1960       GOOG-PLAY-009331675           PX 0830             BC Samsung Renewal & OEM &                             Kolotouros, Jim                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Carrier Search Revenue Share Deals                                                          unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   slide deck (11/23/2015)                                                                     tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            402).

  TEMP1961       GOOG-PLAY-009436863           PX 1060             Email from C. Li to Kona OEM                            Li, Christopher                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Business re Android OEM Revenue                                                             unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Share 3.0 (05/28/2020)                                                                      tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                              128 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 159 of 250            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                               Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1962       GOOG-PLAY-009436873             PX 1069             Email from C. Li to E. Chang re                Li, Christopher                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Android OEM Revenue Share 3.0                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (05/28/2020)                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1963       GOOG-PLAY-009505007                                 4/21/2008 email from N. Sears to N.          Hiroshi Lockheimer                  Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule              Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Shanbhag                                                                                                                                                         602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                      knowledge, Foundation                                             be established (Rules 201, 602, 901, 902),

  TEMP1964       GOOG-PLAY-009505109     PX1408 Hiroshi Lockheimer   4/24/2008 email from H.                      Hiroshi Lockheimer                  Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Lockheimer to N. Sears                                                                                                                                            Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1965       GOOG-PLAY-009507553                                 5/11/2009 email from D. Morrill to    Hiroshi Lockheimer, Patrick Brady          Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     NO_TO_PROPERTY_FOUND                                                                                                                                              Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP1966       GOOG-PLAY-009570801             PX 1424             Email from J. Rosenberg to K.                 Rosenberg, Jamie                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rasanen re Facebook/Alley-oop                 Rasanen, Kirsten                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Update (10/14/2016)                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1967       GOOG-PLAY-009574551             PX 1444             Email from K. Rasanen to J.                   Rosenberg, Jamie                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg re Policy Update / BD               Rasanen, Kirsten                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Perspective Alignment (09/18/2017)                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1968       GOOG-PLAY-009579485.R           PX 1549             Email from P. Kochikar to S. Lee re          Kochikar, Purnima                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Next Steps + A Question                       Kolotouros, Jim                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (06/10/2020)                                 Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1969       GOOG-PLAY-009613952             PX 0844             Email from A.Pimplapure to                    Kolotouros, Jim                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     P.Arundel re GS8 Waivers for                  Rosenberg, Jamie                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Carriers (04/18/2017)                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1970       GOOG-PLAY-009642201             PX 2652             Email from K. Miyake to Damion                Kolotouros, Jim                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Herdia re Press Recap: Huawei P40                                                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Series (03/30/2020)                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1971       GOOG-PLAY-009650341             PX 1114             Email from J. Gold to B. Ng                       Gold, Jon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     (7/15/2014)                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1972       GOOG-PLAY-009658921                                 9/9/2008 email from N. Sears to                 Patrick Brady                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     massa@google.com                                                                                                                                                 personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                      hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1973       GOOG-PLAY-009674977             PX 0866             Email from P. Brady to G. Mathur re            Brady, Patrick                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Carrier billing - what to do?                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/01/2010)                                                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.




                                                                                                                                                     129 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 160 of 250   JOINT TRIAL EXHIBIT LIST
                                                                                                                                      DISPUTED EXHIBITS




                                                                                                           Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1974       GOOG-PLAY-009691803                               Document dated 6/1/2011 titled          Google agreement (TBD)          Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Google Business Development                                                                                                                            personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                   Product- Deal Executive Summary"                                                                                                                        hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                   (LG U+)                                                                                                                                                 misleading to the jury 1002, Foundation                               favors admissibility (Rules 401, 403)
  TEMP1975       GOOG-PLAY-009734625           PX 1420             Email from K. Rasanen to E. Bar-           Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Yehuda re (Alley-oop) Redline from         Rasanen, Kirsten             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Facebook (08/19/2016)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                           prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    cumulative evidence.

  TEMP1976       GOOG-PLAY-009734977           PX 1422             Email from K. Rasanen to E. Bar-           Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Yehuda re FB - Experimental Period         Rasanen, Kirsten             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Proposal (09/16/2016)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1977       GOOG-PLAY-009794799           PX 0921             Email from P.Bankhead to                    Bankhead, Paul              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   D.Heredia re Prep for Hiroshi +                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Facebook RSA Installer Permissions                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   Meetings (08/10/2020)                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                           prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1978       GOOG-PLAY-009794969           PX 0912             Paul Staff Meeting Notes                    Bankhead, Paul              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   (11/11/2020)                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      probative value not substantially outweighed by danger of
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        402)., Misleading; undue prejudice; confusion of issues; waste of     unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                           time (Fed. R. Evid. 403).                                             undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                 cumulative evidence.
  TEMP1979       GOOG-PLAY-009903332           PX 2741             Slide deck titled, "Project Everest -     Cramer, Christian             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Optionsfor Evolving Play's Business          Feng, Paul                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   Model"                                    Kochikar, Purnima             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                             Marchak, Michael              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                              Samat, Sameer                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                 cumulative evidence.
  TEMP1980       GOOG-PLAY-009903470                               2/12/2019 email from P. Gennai to            Paul Gennai                Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   W. Logan                                                                                                                                                602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                           knowledge                                                             be established (Rules 201, 602, 901, 902)

  TEMP1981       GOOG-PLAY-009909125                               Google Play - Pai;nh ptiy PLAY-              Feng, Paul                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   009909125ichael Ma                           Gold, Jon                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   MaPgPuApgarlti PARTPuhocIG                Kochikar, Purnima             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                   ;ligh ghn (04/17/2019)                       Lim, Tian                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                              Loew, Mrinalini              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue       prejudice, confusing the issues, misleading the jury, undue
                                                                                                             Marchak, Michael              Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                 cumulative evidence.
  TEMP1982       GOOG-PLAY-009909795                               Google Chat conversation                    Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   (09/29/2017)                             Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                Harrison, Don              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                            Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                             Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                               Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                               Kolotouros, Jim                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                            Lockheimer, Hiroshi                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                Pichai, Sundar                                                                                             depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                               Porst, Sebastian
                                                                                                              Rosenberg, Jamie
                                                                                                               Samat, Sameer
  TEMP1983       GOOG-PLAY-009909991           PX 1169             Email from S.Porst to J.Tarrio et al.    Cunningham, Edward             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re AAAA-ucofY (08/09/2018)                 Porst, Sebastian             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                          130 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 161 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number            Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP1984       GOOG-PLAY-009910540                                Google Chat conversation                                 Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    (08/15/2020)                                            Barras, Brandon                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Harrison, Don                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kleidermarcher, Dave                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Kochikar, Purnima                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                             Koh, Lawrence                        Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Kolotouros, Jim                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Lockheimer, Hiroshi                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                              Pichai, Sundar                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1985       GOOG-PLAY-009911010           PX 0810              Email from H.Lockheimer to                            Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    S.Samat re Netflix (08/02/2017)                         Rosenberg, Jamie                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Samat, Sameer                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                      prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence.

  TEMP1986       GOOG-PLAY-009911168                                Google Chat conversation                                Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    (06/18/2020)                                              Glick, Kobi                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                             Harrison, Don                      tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kleidermarcher, Dave                   conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Kochikar, Purnima                    resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Kolotouros, Jim                                                                                                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Lockheimer, Hiroshi                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                             Pichai, Sundar                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP1987       GOOG-PLAY-009917004     PX1058 Christopher Li      Undated presentation titled "Android Sameer Samat, Hiroshi Lockheimer, Jim Kolotouros, Paul Defendants: Defense to Plaintiffs' claims                       Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule      Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                    Overview"                                Gennai, Dave Kleidermacher. Christian Cramer                                                                                             602—exhibit contains statements not based on declarant’s personal objection applies (Rules 803, 804, 807),
                                                                                                                                                                Plaintiffs: Proof of Defendants’ liability for antitrust                              knowledge, Foundation                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                violations, unreasonable restraints of trade, unfair                                                                                                        201, 602, 901, 902),
                                                                                                                                                                competition and/or tortious interference; proof of                                    Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                   602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                           the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                      the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies;
                                                                                                                                                                Counterclaims against Plaintiffs                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP1988       GOOG-PLAY-009919077                                Google Chat conversation                                 Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    (05/18/2020)                                               Glick, Kobi                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Harrison, Don                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kleidermarcher, Dave                    conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Kochikar, Purnima                      resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                             Koh, Lawrence                        Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Kolotouros, Jim                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Lockheimer, Hiroshi                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                              Pichai, Sundar                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP1989       GOOG-PLAY-009919155                                Google Chat conversation                                 Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    (06/05/2020)                                              Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                          Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                             Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                             Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                            Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Samat, Sameer
  TEMP1990       GOOG-PLAY-009935248           PX 0768              Messages between E.Liderman to                        Kleidermacher, Dave                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    D.Kleidermacher (09/25/2020)                                                                  unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).
  TEMP1991       GOOG-PLAY-009981259                                Document dated 12/15/2020 titled               Michael Marchak; Purnima Kochikar              Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                    "Cross-Platform- Industry Trends                                                                                                                                                  personal knowledge                                                      201, 602, 901, 902)
                                                                    Research"                                                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                       Foundation                                                             (Rules 803, 804, 807)

  TEMP1992       GOOG-PLAY-009983740                                Presentation dated 7/2018 titled         Don Harrison, Purnima Kochikar, Jim Kolotouros,      Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                    "Lion Force Strategy"                     Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                              personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                                 Rosenberg, Sameer Samat, Paul Gennai                                                                                                 hearsay, Foundation                                                     hearsay objection applies (Rules 803, 804, 807),
  TEMP1993       GOOG-PLAY-009991886                                Presentation dated 4/2018 titled               Jamie Rosenberg; Kirsten Rasanen               Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    "Getting Netflix on GPB: term                                                                                                                                                      Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                    options"                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                      personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                      document




                                                                                                                                                                 131 of 220
                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 162 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                                  Sponsoring Witness(es)
Exhibit Number        Beg Bates              Deposition Exhibit Number                  Name / Description                                                                                          Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                   Summary of Response (w/Authority)
  TEMP1994       GOOG-PLAY-009992736                                            Google Chat conversation                              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                (12/09/2020)                                            Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                    Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                     Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                       Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the    relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                       Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                    Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                        Pichai, Sundar                                                                                                      402)., Conditional objection; defendants reserve the right to object
                                                                                                                                      Rosenberg, Jamie                                                                                                      to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                                       Samat, Sameer                                                                                                        seek to introduce it.
  TEMP1995       GOOG-PLAY-010019745   PX1715 Mrinalini Loew; PX1722 Mrinalini 3/30/2018 email from D. Stein to M.                     Mrinalini Loew                     Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                        Loew                   Loew                                                                                       counterclaims                                                                      Rule 403—unfairly prejudicial, confusing the issues and/or              (Rules 803, 804, 807)
                                                                                                                                                                                                                                                            misleading to the jury                                                    Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                             Rule 402—exhibit is not relevant                                         Exhibit is relevant (Rules 401, 402)
  TEMP1996       GOOG-PLAY-010028199                                            Google Chat conversation                              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                (11/27/2018)                                            Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                    Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                     Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                       Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the    relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                       Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                    Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                       Loew, Mrinalini                                                                                                      402)., Conditional objection; defendants reserve the right to object
                                                                                                                                        Pichai, Sundar                                                                                                      to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                                      Rosenberg, Jamie                                                                                                      seek to introduce it.
                                                                                                                                       Samat, Sameer
  TEMP1997       GOOG-PLAY-010066396                  PX 1705                   Email from M. Loew to D. Singh et                      Loew, Mrinalini                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                al re Need Your Help with Play                                                            unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                Digital Innovation Fund                                                                   tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                (07/08/2020)                                                                              conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies.
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP1998       GOOG-PLAY-010072530                                            Undated presentation titled "Google      Mrinalini Loew; Purnima Kochikar; Paul Feng      Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s            Foundation/personal knowledge will be established (Rules
                                                                                Play Billing Partner Benefits"                                                                                                                                              personal knowledge                                                       201, 602, 901, 902)
                                                                                                                                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                             Rule 106—exhibit is unfairly incomplete                                 (Rules 803, 804, 807)
                                                                                                                                                                                                                                                             Rule 402—exhibit is not relevant                                         Exhibit is properly complete (Rule 106)
                                                                                                                                                                                                                                                             Rule 403—unfairly prejudicial, confusing the issues and/or               Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                            misleading to the jury                                                    Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                             Rule 901—proponent has not established authenticity of the               Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                            document
  TEMP1999       GOOG-PLAY-010153329                  PX 0876                   Email from P. Brady to A. Rubin and                    Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                T. Moss re Arrange Google/Lenovo                        Rubin, Andy                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                meeting (05/27/2010)                                                                      tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies;
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2000       GOOG-PLAY-010165546                  PX 0868                   Scaling Android Market                                 Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                Billing/Reporting and Partner                                                             unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                Launches (04/06/2010)                                                                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies.
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802).
  TEMP2001       GOOG-PLAY-010369167                                            Email re Slides for GPB status.                      Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                                                                       Karam, Sarah                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                      Harrison, Don                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                                                                          resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2002       GOOG-PLAY-010448936                                            Establish "Basic Quality Criteria" for                Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                                                MADA Apps slide deck                                    Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit; Exhibit does not contain hearsay
                                                                                (01/10/2022)                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies;
                                                                                                                                     Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                       Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                       Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                    Lockheimer, Hiroshi                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                        Pichai, Sundar
                                                                                                                                      Rosenberg, Jamie
                                                                                                                                       Samat, Sameer
  TEMP2003       GOOG-PLAY-010510806                                            Google Chat conversation                              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                                (01/21/2021)                                            Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                    Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                     Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                       Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the    relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                       Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                    Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                        Pichai, Sundar                                                                                                      Evid. 402).
                                                                                                                                      Rosenberg, Jamie
                                                                                                                                       Samat, Sameer




                                                                                                                                                                         132 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 163 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2004       GOOG-PLAY-010510810                               Google Chat conversation                               Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (02/02/2021)                                             Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Pichai, Sundar                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP2005       GOOG-PLAY-010510815                               Google Chat conversation                               Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (02/09/2021)                                             Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Pichai, Sundar                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP2006       GOOG-PLAY-010547019           PX 2630             Slide deck titled, "Project Magical                   Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Bridge" (06/01/2019)                                  Marchak, Michael                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Gennai, Paul                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                          Rosenberg, Jamie                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Samat, Sameer                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2007       GOOG-PLAY-010547115                               Document dated 1/24 titled              Kirsten Rasanen, Sarah Karam, Jamie Rosenberg,       Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Android/Play/Facebook Partnership              Purnima Kochikar, Sameer Samat                                                                                               personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                   Updates"                                                                                                                                                                     hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP2008       GOOG-PLAY-010578561                               Meeting notes - meeting with Mark                    Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Zuckerberg and Sundar Pichai                           Pichai, Sundar                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Rosenberg, Jamie                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2009       GOOG-PLAY-010653718                               Presentation titled "Play Content                   Kleidermacher, David;                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Abuse: Strategy, plans, and progress                   Porst, Sebastian                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   to date Android/Play App Safety                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                   Product Review | Q2’2019"                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2010       GOOG-PLAY-010659980                               Undated website titled "Developer      Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   Policy Center- Families Ads                           Hiroshi Lockheimer                                                                                                     misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Program"                                                                                                                                                                      Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                 Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                document
  TEMP2011       GOOG-PLAY-010660997                               Undated website titled "Developer      Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   Policy Center"                                        Hiroshi Lockheimer                                                                                                     misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                 Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                 Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                document
  TEMP2012       GOOG-PLAY-010801682       PX 2885; DX 1027        Google Play P&Ls for 2021                             Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                          Harrison, Don                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                      Kleidermarcher, Dave                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                        Kochikar, Purnima                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Koh, Lawrence                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; S
                                                                                                                         Kolotouros, Jim                        Defendants’ Answers and Counterclaims against Plaintiffs
                                                                                                                       Lockheimer, Hiroshi
                                                                                                                          Pichai, Sundar
                                                                                                                        Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP2013       GOOG-PLAY-010820987                               Document dated Q3 2017 titled             Edward Cunningham, Sebastian Porst, David          Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                   "Device Models with Pre-Installed                      Kleidermacher                                                                                                         personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                   PHA: GPP investigation"                                                                                                                                                      hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                misleading to the jury, Rule 701—exhibit contains improper          favors admissibility (Rules 401, 403), Not an opinion, or
                                                                                                                                                                                                                                                specialized opinion by lay witness, Rule 901—proponent has not      proper opinion evidence (Rule 701), Exhibit will be
                                                                                                                                                                                                                                                established authenticity of the document, Foundation                properly authenticated (Rule 901),

  TEMP2014       GOOG-PLAY-010825555                               Google Play Store payments policy                      Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                            Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                         Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                        Lockheimer, Hiroshi                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
                                                                                                                             Simon, Ben




                                                                                                                                                               133 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 164 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2015       GOOG-PLAY-010825555                               Developer Program Policy                               Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   (1/17/2022)                                              Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                        Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                         Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                           Koh, Lawrence                       resulting damages; and/or                                                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Kolotouros, Jim                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                        Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Mattson, Justin
                                                                                                                            Pichai, Sundar
                                                                                                                          Rosenberg, Jamie
                                                                                                                           Samat, Sameer
                                                                                                                             Simon, Ben
  TEMP2016       GOOG-PLAY-010847483           PX 2903             Slide deck titled, "Smartphone                           Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Purchase Journey 2018"                                                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2017       GOOG-PLAY-010847528                               Undated spreadshet with Google app Paul Gennai, Purnima Kochikar, Paul Feng, Sameer Samat Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   data                                                                                                                                                                        402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                               confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                                               602—exhibit contains statements not based on declarant’s personal       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                               knowledge, Rule 901—proponent has not established authenticity          201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                               of the document                                                         (Rule 901)
  TEMP2018       GOOG-PLAY-010849896           PX 1524             Slide deck titled, "Games Velocity                     Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Program" (06/01/2021)                                  Marchak, Michael                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Misleading; undue         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                       cumulative evidence.
  TEMP2019       GOOG-PLAY-010852923                               Document titled, "Facebook App                           Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Installs"                                              Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2020       GOOG-PLAY-010939023           PX 1094             Email from J.Gold to J.Jow et al. re                       Gold, Jon                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Android Search Widget Placement                                                             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Analysis (07/19/2010)                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                               402).
  TEMP2021       GOOG-PLAY-010942015                               Email from R. Tokairin to C. Bejram                    Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   J.Gold et al. Re Product                                  Gold, Jon                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   improvements and contribution to                        Harrison, Don                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   AOSP (05/11/2017)                                    Kleidermacher, Dave                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                         Kochikar Purnima                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Kolotouros, Jim                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                        Lockheimer, Hiroshi                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                           Pichai, Sundar                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
  TEMP2022       GOOG-PLAY-010951235                               Email from D. Malhotra to Y.                           Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Richardson J. Gold Re [Updated]                           Gold, Jon                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Oneplus Fortnite partnerships on                        Harrison, Don                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   coming Oneplus 8 TMO / VZW                           Kleidermacher, Dave                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                   SKUs (03/28/2020)                                     Kochikar Purnima                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Kolotouros, Jim                                                                                                      exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                        Lockheimer, Hiroshi                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                           Pichai, Sundar                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
                                                                                                                         Rosenberg, Jamie
  TEMP2023       GOOG-PLAY-010973149                               Document titled Google / Match                         Loew, Mrinalini                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).             Contains all parts that in fairness ought to be considered at
                                                                   Group AVP Ongoing Notes Doc                                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          the same time; One or more witnesses have foundation to
                                                                   [Internal]                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802). Conditional objection;           probative value not substantially outweighed by danger of
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.     undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                               Misleading; undue prejudice; confusion of issues; waste of time         cumulative evidence.
                                                                                                                                                                                                                                               (Fed. R. Evid. 403).




                                                                                                                                                              134 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 165 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                           Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number             Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2024       GOOG-PLAY-010993522                                 Email re                                                Kochikar, Purnima                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Fwd: Tinder / Match -- Missing                           Barras, Brandon                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     Payments [                                                Karam, Sarah                        tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                     ref:_00D1U10kvL._5001U8Jred:ref                                                               conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                     ].                                                                                            resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                   to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                   hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies
                                                                                                                                                                                                                                                   objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                   trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                   it.
  TEMP2025       GOOG-PLAY-011010909           PX 1154               Email from D. Kleidermacher to J.                      Kleidermacher, David;                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Woloz and A. Ludwig re                                    Porst, Sebastian                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                     OEM/carrier pre-loads w                                                                       tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                     install_apps permission (10/11/2017)                                                          conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                   to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                   hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies
                                                                                                                                                                                                                                                   objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                   trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                   it.
  TEMP2026       GOOG-PLAY-011023692                                 Presentation dated 12/2021 titled      Michael Marchak; Sameer Samat; Hiroshi Lockheimer; Defense to Plaintiffs' claims                                         Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                     "Play Developer Benefits: Progress              Purnima Kochikar; Mrinalini Loew                                                                                              personal knowledge, Rule 802—exhibit contains inadmissible              201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                     update + Insights"                                                                                                                                                            hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                   misleading to the jury, Rule 901—proponent has not established          favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                   authenticity of the document, Foundation                                properly authenticated (Rule 901),
  TEMP2027       GOOG-PLAY-011040997   DX0891 Sharmistha Dubey       Undated Google website titled           Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Payments"                                Hiroshi Lockheimer, Mrinalini Loew, Paul Feng                                                                                        Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   document                                                                 Exhibit will be properly authenticated (Rule 901)
  TEMP2028       GOOG-PLAY-011047531                                 Undated website titled "Developer       Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Policy Center- Ads"                                    Hiroshi Lockheimer                                                                                                      Rule 901—proponent has not established authenticity of the             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   document                                                                 Exhibit will be properly authenticated (Rule 901)
  TEMP2029       GOOG-PLAY-011049516           PX 1470               Email from S. Ahmed to R. Porat re                       Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Finance Briefing for Epic Deal @                            Porat, Ruth                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     BC Today (3:30pm) (07/19/2018)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2030       GOOG-PLAY-011052188                                 Email from K. Rasanen to J.                                Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Rosenberg A. Kokin et al. Re ADAP                        Rasanen, Kristen                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     for ru.yandex.music (05/19/2018)                         Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2031       GOOG-PLAY-011057832                                 Android Commercial Agreements                            Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Exec Discussion slide deck                              Cramer, Christian                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (10/2020)                                                 Harrison, Don                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                            Kleidermacher, Dave                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Kochikar Purnima                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                               Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                              Kolotouros, Jim                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Lockheimer, Hiroshi
                                                                                                                               Pichai, Sundar
                                                                                                                               Samat, Sameer
                                                                                                                             Rosenberg, Jamie
  TEMP2032       GOOG-PLAY-011059963           PX 1387               Email from H. Lockheimer to D.                          Harrison, Donald                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Harrison re Mini-Leads re GAS                          Lockheimer, Hiroshi                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     (04/16/2020)                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2033       GOOG-PLAY-011064311                                 Email from M. Marchak to B.                              Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Woodward. re Facebook App Sotre                          Ostrowski, Tristan                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     (and other imminent Third party                          Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                     store issues) (05/10/2012)                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2034       GOOG-PLAY-011073416     PX1155 Sebastian Porst      Presentation dated 3/24/2020 titled    Hiroshi Lockheimer, Sameer Samat, Paul Feng, Purnima Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "App stores in Android 12"                  Kochikar, Jamie Rosenberg, Christian Cramer                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                    Foundation                                                             201, 602, 901, 902)




                                                                                                                                                                  135 of 220
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                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                          Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2035       GOOG-PLAY-011073526       PX 2698; PX 2921        Slide deck titled, "Project Everest -                     Cramer, Christian                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Options for Evolving Play's Business                         Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Model"                                                    Marchak, Michael                     tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2036       GOOG-PLAY-011086247           PX 1062             Presentation titled, "Samsung                               Li, Christopher                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Update" (07/24/2019)                                                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        402).

  TEMP2037       GOOG-PLAY-011099998           PX 1110             Email from J.Kolotouros to                                   Gold, Jon                         Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   A.Goswami et al. re Sony X1                                Kolotouros, Jim                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   (07/20/2019)                                                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2038       GOOG-PLAY-011111808                               Google Play Project Banyan slide                           Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   deck (1/2019)                                               Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Gennai, Paul                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                           Kleidermarcher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses.
                                                                                                                            Kochikar, Purnima                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                              Koh, Lawrence                       Defendants’ Answers and Counterclaims against Plaintiffs                        Evid. 402).
                                                                                                                              Kolotouros, Jim
                                                                                                                           Lockheimer, Hiroshi
                                                                                                                               Pichai, Sundar
                                                                                                                             Rosenberg, Jamie
                                                                                                                              Samat, Sameer
  TEMP2039       GOOG-PLAY-011116053          DXCH 0072            Presentation titled, "Project Runway -                   Cramer, Christian;                    Proof of Defendants’ liability for antitrust violations,         Defendant      Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                   Developering a Broader Plan - Play                        Harrison, Donald;                    unreasonable restraints of trade, unfair competition and/or                     (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                   Senior Exec Discussion"                                  Rosenberg, Jamie;                     tortious interference; proof of Defendants’ discovery                           R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                              Samat, Sameer                       conduct; proof of appropriate injunctive relief; proof of                       other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                  objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                  trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                  it.
  TEMP2040       GOOG-PLAY-011117755           PX 2737             Document titled, "Meeting                                   Gennai, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Information, Partner: Facebook"                           Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                            Lockheimer, Hiroshi                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                              Pichai, Sundar                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2041       GOOG-PLAY-011119640           PX 1766             Slide deck titled, "Android                                Rasanen, Kirsten                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Consideration: Likely Purchasers and                                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Recent Purchasers"                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2042       GOOG-PLAY-011122145                               Presentation dated 4/6/2018 titled       David Kleidermacher, Jamie Rosenberg, Paul Bankhead Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Alley Oop: ASAP ALLEYOOP                                                                                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                   Insant Dialog Download"                                                                                                                                                        the jury, Rule 602—exhibit contains statements not based on             401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                                                                  declarant’s personal knowledge, Rule 901—proponent has not              established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                                                                  established authenticity of the document, Foundation                    properly authenticated (Rule 901),
  TEMP2043       GOOG-PLAY-011122914                               Slide deck titled "2021 Annual Plan -                    Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Finance Fact Pack Platforms &                                                                  unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Ecosystems"                                                                                    tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2044       GOOG-PLAY-011124224           PX 2059             E-mail from S. Kim to T. Taylor                             Alzetta, Sandra                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   (3/16/2022)                                                   Feng, Paul                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2045       GOOG-PLAY-011124657           PX 1530             Document titled, "BC: Spotify Ltd.                           Feng, Paul                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   (BC22-006)" (02/17/2022)                                  Kochikar, Purnima                    unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.




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                                                                                                                                                         DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2046       GOOG-PLAY-011124740           PX 1531             Slide deck titled, "Spotify Better                    Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Together + Success Fund Pilot                                                              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Program" (03/10/2022)                                                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2047       GOOG-PLAY-011126651                               Email from P. Kochikar to A.                          Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Carpenter re Re: Privileged and                        Koh, Lawrence                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Confidential - Policy (08/13/2020)                    Marchak, Michael                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2048       GOOG-PLAY-011127613           PX 1765             Slide deck titled, "The Play +                         Rasanen, Kirsten                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Friends All Hands Will Be Starting                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Soon..."                                                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2049       GOOG-PLAY-011128192           PX 1768             Slide deck titled, "Android Brand                      Rasanen, Kirsten                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Health" (09/08/2020)                                                                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2050       GOOG-PLAY-011133847   PX1185 Edward Cunningham    8/8/2018 email from E. Cunningham           Hiroshi Lockheimer, Sameer Samat, Dave      Defense to Plaintiffs' claims                                        Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   to S. Samat                           Kleidermacher, Jamie Rosenberg, Edward Cunningham                                                                                     Rule 403—wasting time and/or needlessly cumulative                     (Rules 803, 804, 807)
                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                              misleading to the jury
  TEMP2051       GOOG-PLAY-011136256                               Slide deck titled"Android Strategy                      Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   and Partnerships Ovrview" (6/2009)                                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2052       GOOG-PLAY-011137603           PX 1440             Email from K. Rasanen to J.                               Feng, Paul                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Rosenberg et al re GPB                                 Rasanen, Kristen                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Grandfathering Discussions Update                      Rosenberg, Jamie                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   (02/07/2018)                                            Samat, Sameer                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2053       GOOG-PLAY-011138673                               Email re Privileged - Match call                      Marchak, Michael                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   notes.                                                   Feng, Paul                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                         Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Barras, Brandon                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                           Karam, Sarah                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2054       GOOG-PLAY-011148181           PX 1431             Email from J. Chung to J. Rosenberg                    Bankhead, Paul                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   and S. Samat re Alley-oop deal with                      Gennai, Paul                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                   Kakao ready for your approval                         Kochikar, Purnima                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                   (executive summary &                                   Rasanen, Kristen                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                   redline)(03/20/2017)                                  Rosenberg, Jamie                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Samat, Sameer                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2055       GOOG-PLAY-011148181    PX1431 Kirsten Rasanen     3/20/2017 email from J. Chung to J.    Jamie Rosenberg; Paul Gennai; Sameer Samat; Paul    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Rosenberg, S. Samat                              Bankhead; Kirsten Rasanen                                                                                                  Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                              misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                               Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                              personal knowledge                                                      201, 602, 901, 902)
  TEMP2056       GOOG-PLAY-011148536           PX 1389             Email from S. Samat to H.                            Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Lockheimer re In the WTF                              Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Department... (01/25/2020)                             Samat, Sameer                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                             137 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 168 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                            Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2057       GOOG-PLAY-011148536     PX1389 Hiroshi Lockheimer   1/25/2020 email from S. Samat to H.   Hiroshi Lockheimer, Sameer Samat, Jamie Rosenberg     Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Lockheimer                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                   misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP2058       GOOG-PLAY-011154001             PX 1441             Email from T. Sriskandarajah to T.                     Bankhead, Paul                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Lim et al re (Meeting Notes & Als)                       Feng, Paul                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Subscriptions PPS (2/28)                                Gennai, Paul                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (03/01/2018)                                          Loew, Mrinalini                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Rasanen, Kristen                      resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                           Rosenberg, Jamie                      Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Samat, Sameer                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                   depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2059       GOOG-PLAY-011156385                                 4/30/2020 email from L. Koh to P.             Purnima Kochikar; Lawrence Koh;               Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                     Kochikar                                                                                    counterclaims                                                                     misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                    Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                   personal knowledge                                                      201, 602, 901, 902)
  TEMP2060       GOOG-PLAY-011161171                                 11/7/2016 email from P. Feng to S.        Sameer Samat, Jamie Rosenberg, Paul Feng          Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     Samat                                                                                                                                                                         403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                   the jury; Rule 602-exhibit contains statements not based on             401, 403); Foundation/personal knowledge will be
                                                                                                                                                                                                                                                   declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)

  TEMP2061       GOOG-PLAY-011165999                                 Presentation entitled Match Group -                    Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Google Play: Apps Product Summit                                                            unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (February 4, 2016).                                                                         tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2062       GOOG-PLAY-011166142                                 Document entitled Match QBR.                           Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2063       GOOG-PLAY-011167119                                 Document entitled Google Play                          Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Dating Developer Accelerator                                                                unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     Program | Go-To-Market Proposal.                                                            tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2064       GOOG-PLAY-011167257                                 Document entitled BB Calibration                       Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     2017.                                                                                       unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2065       GOOG-PLAY-011170240                                 Document titled, "Match Group |                        Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Play - GPB Birefing Doc (Oct 2017)                                                          unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     - @bbarras (10/2017)                                                                        tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2066       GOOG-PLAY-011170240                                 Document dated 10/2017 titled                          Brandon Barras                       Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Match Group/Play- GPB Briefing                                                                                                                                               403—unfairly prejudicial, confusing the issues and/or misleading to     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                     Doc"                                                                                                                                                                          the jury                                                                401, 403)
  TEMP2067       GOOG-PLAY-011170313                                 Presentation entitled Play                             Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Subscriptions Business Review                                                               unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     September 2017 (Oct. 26, 2017).                                                             tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                   prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence

  TEMP2068       GOOG-PLAY-011175718                                 12/19/2019 email from B. Barras to                     Brandon Barras                       Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     A. Maurieta                                                                                 counterclaims                                                                     403—unfairly prejudicial, confusing the issues and/or misleading to   (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                                   the jury                                                              401, 403)
  TEMP2069       GOOG-PLAY-011175721.R                               Attachment to 12/19/2019 email                         Brandon Barras                       Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Foundation; Rule      Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     from B. Barras to A. Maurieta                                                               counterclaims                                                                     403—unfairly prejudicial, confusing the issues and/or misleading to   (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                     showing Tinder screenshot                                                                                                                                                     the jury                                                              be established (Rules 201, 602, 901, 902); Balance favors
                                                                                                                                                                                                                                                                                                                         admissibility (Rules 401, 403)
  TEMP2070       GOOG-PLAY-011176969                                 Email re RE: [TINDER] Google                           Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     Play Outage Investigation.                                                                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                   exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                                138 of 220
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                                                                                                                                             DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                               Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2071       GOOG-PLAY-011178033                               Email re Meetic German app Neu                Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   rejection.                                     Foster, Peter                   unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2072       GOOG-PLAY-011179286                               Email re Match | Next Steps.                  Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP2073       GOOG-PLAY-011183850                               Email from D. Stein to D. Martinak            Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Re: FYI - Match (07/09/2021)                Stein, Danielle                 unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2074       GOOG-PLAY-011184150                               Email re [Time sensitive] Isolating           Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   the dating category & matrimony                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   categories.                                                                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP2075       GOOG-PLAY-011184716                               8/23/2021 email from F. Hu to B.               Brandon Barras                  Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Barras                                                                                                                                                            Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
  TEMP2076       GOOG-PLAY-011192347           PX 2709             Email from B.Barras to D. Auyeung             Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   et al re [TINDER] Google Play                Garcia Rios, Diana                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Store Subscriptions Getting System             Stein, Danielle                 tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   Canceled (06/16/2021)                                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2077       GOOG-PLAY-011194830      PX2705 Diana Rios        11/17/2021 email from G. Galyan to               Diana Rios                    Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   A. Shoemaker                                                                   counterclaims                                                                     106—exhibit is unfairly incomplete                                    (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                                                                          106)
  TEMP2078       GOOG-PLAY-011199374                               Email re Re: [TINDER] Google Play             Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Outage Investigation.                        Garcia Rios, Diana                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2079       GOOG-PLAY-011201872                               Presentation dated 10/2020 titled      Purnima Kochikar; Sameer Samat          Defense to Plaintiffs' claims                                       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "How developers perceive Androids                                                                                                                                misleading to the jury                                                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   & Google Play brands?"                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                     Rule 701—exhibit contains improper specialized opinion by lay           Not an opinion, or proper opinion evidence (Rule 701)
                                                                                                                                                                                                                                    witness                                                                  Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                     Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                    document
  TEMP2080       GOOG-PLAY-011202114                               Email re Heads up for this notice to          Barras, Brandon                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Tinder.                                                                        unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                 139 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 170 of 250                JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                  Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                     Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2081       GOOG-PLAY-011204697           PX 1507             E-mail from D. Harrison to Gary                    Harrison, Don                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Swidler (4/29/2022)                                Karam, Sarah                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                      Samat, Sameer                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                          Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                          exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                          introduce it.
  TEMP2082       GOOG-PLAY-011211445           PX 2636             Email re Random thoughts on match                 Kochikar, Purnima                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).     cumulative evidence

  TEMP2083       GOOG-PLAY-011216943           PX 1354             Email from T.Shaukat to P.Kochikar                Kochikar, Purnima                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re Confidential - Bumble Update and                                                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Requests (05/02/2022)                                                                tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2084       GOOG-PLAY-011219757   PX2706 Diana Garcia Rios    Document dated 2/1/2022 titled        Sameer Samat, Brandon Barras; Sarah Karam      Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Feedback Session #1"                                                                counterclaims                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                           Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                          document
  TEMP2085       GOOG-PLAY-011220540                               Slide deck titled "Coffee Cards in                 Samat, Sameer                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Store" (04/01/2022)                                                                  unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2086       GOOG-PLAY-011220642           PX 2685             Email from S. Dubey to S. Samat re                  Dubey, Shar                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Quick Call (05/02/2022)                            Samat, Sameer                     unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2087       GOOG-PLAY-011223558           PX 1983             E-mail from D. Stein to K. Shen                    Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   copying S. Karam on "agitators"                    Stein, Danielle                   unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   following Tinder (5/29/2019)                                                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                          Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                          exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                          introduce it.
  TEMP2088       GOOG-PLAY-011223816                               Email re Value Exchange:                           Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Play/Google <-> Tinder/Match                      Marchak, Michael                   unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Group.                                            Barras, Brandon                    tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                          Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                          exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                          introduce it.
  TEMP2089       GOOG-PLAY-011224461                               Email re Questions about Tinder.                    Karam, Sarah                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                      Barras, Brandon                   unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                          prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                          Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                          exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                          introduce it.




                                                                                                                                                       140 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 171 of 250                   JOINT TRIAL EXHIBIT LIST
                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                     Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                        Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2090       GOOG-PLAY-011224810      PX1985 Sarah Karam       E-mail from S. Karam to K. Shen                         Sarah Karam                      Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   discussing subscription apps that                                                        Plaintiffs: Proof of Defendants’ liability for antitrust                             Rule 602—exhibit contains statements not based on declarant’s        objection applies (Rules 803, 804, 807)
                                                                   could leave GPB (7/23/2019)                                                              violations, unreasonable restraints of trade, unfair                                personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                            competition and/or tortious interference; proof of                                  Defendants: Incomplete; the introduction of any remaining portions 201, 602, 901, 902)
                                                                                                                                                            Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R        Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                            injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. considered at the same time; One or more witnesses have
                                                                                                                                                            rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                            Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                                                                the truth of the matter asserted, and not subject to any hearsay      Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue             danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).    the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                                                                                      presenting cumulative evidence
  TEMP2091       GOOG-PLAY-011224866           PX 1986             Email from S. Karam to G.                             Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Charusadhirakul copying B. Barras                      Karam, Sarah                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   and D. Stein regarding Tinder bypass                   Stein, Danielle                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                   of GPB (7/25/2019)                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                                Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                introduce it.
  TEMP2092       GOOG-PLAY-011225515           PX 1987             Email from S. Tolomei copying S.                       Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Karam regarding take downs and                                                           unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Tinder not using GPB (8/19/2019)                                                         tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).     cumulative evidence

  TEMP2093       GOOG-PLAY-011226098           PX 1988             E-mail from S. Karam to P. Feng                        Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   copying D. Stein among others                            Feng, Paul                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   discussion Magical Bridge (9/62019)                    Stein, Danielle                   tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                                Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                introduce it.
  TEMP2094       GOOG-PLAY-011226100           PX 1989             E-mail from S. Karam to B.                             Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Bouchard on list of strategic                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   partners/policy violators (9/6/2019)                                                     tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).     cumulative evidence

  TEMP2095       GOOG-PLAY-011226191                               Email re Re: For our accelerator                       Karam, Sarah                      Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   discussion in morning.                                                                   unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence

  TEMP2096       GOOG-PLAY-011235269                               Presentation dated 2021 titled "App    Sarah Karam; Purnima Kochikar; Michael Marchak    Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   Quality Gap: 2. Early learnings &                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                   initiative update"                                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                 Foundation                                                             (Rules 803, 804, 807)

  TEMP2097       GOOG-PLAY-011260713                               Undated presentation titled                             Rich Miner                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Changing The Mobile Industry one                                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                   phone at a time"                                                                                                                                                              Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                 Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                 Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                document
  TEMP2098       GOOG-PLAY-011268914                               Document entitled Match | Google -                    Barras, Brandon                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   AVP Topic Review.                                      Karam, Sarah                      unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2099       GOOG-PLAY-011268954                               Email re Play subscriptions ask.                      Rasanen, Kirsten                   Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                                            unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                            tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).




                                                                                                                                                           141 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 172 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                            Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2100       GOOG-PLAY-011269809                               Video titled "Play & Friends All                      Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Hands" (Samat moneybag video)                           Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                       Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                        Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                       Lockheimer, Hiroshi                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Pichai, Sundar
                                                                                                                         Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP2101       GOOG-PLAY-011270137           PX 2686             Email from S. Samat to S. Dubey re                       Dubey, Shar                        Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Following Up (03/31/2022)                             Harrison, Donald                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                          Samat, Sameer                        tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2102       GOOG-PLAY-011271382    PX1579 Anthony DiVento     Document titled: "Google Play        Sameer Samat; Hiroshi Lockheimer; Purnima Kochikar,    Defendant: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendants: Not hearsay (Rule 801) and/or hearsay
                                                                   Points Accounting" (12/23/2021)                        Barras, Brandon                      Plaintiffs: Proof of Defendants’ liability for antitrust                              602—exhibit contains statements not based on declarant’s personal       objection applies (Rules 803, 804, 807),
                                                                                                                           Harrison, Don                       violations, unreasonable restraints of trade, unfair                                  knowledge, Rule 403—unfairly prejudicial, confusing the issues          Foundation/personal knowledge will be established (Rules
                                                                                                                       Kleidermarcher, Dave                    competition and/or tortious interference; proof of                                    and/or misleading to the jury                                           201, 602, 901, 902), Balance favors admissibility (Rules
                                                                                                                          Koh, Lawrence                        Defendants’ discovery conduct; proof of appropriate                                   Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.       401, 403)
                                                                                                                          Kolotouros, Jim                      injunctive relief; proof of resulting damages; and/or proof                           602)., Hearsay; the exhibit is a statement made by one other than       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                           Pichai, Sundar                      rebutting allegations in Defendants’ Answers and                                      the witness while testifying at trial, offered into evidence to prove   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Rosenberg, Jamie                      Counterclaims against Plaintiffs                                                      the truth of the matter asserted, and not subject to any hearsay        and/or a hearsay exception applies;
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2103       GOOG-PLAY-011271413           PX 1577             Document titled, "Alphabet"                           Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,            Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   (08/18/2021)                                         DiVento, Anthony                       unreasonable restraints of trade, unfair competition and/or                           Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Harrison, Don                       tortious interference; proof of Defendants’ discovery                                 witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                       Kleidermarcher, Dave                    conduct; proof of appropriate injunctive relief; proof of                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Kochikar, Purnima                      resulting damages; and/or proof rebutting allegations in                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Koh, Lawrence                        Defendants’ Answers and Counterclaims against Plaintiffs                              defendants reserve the right to object to this exhibit at trial
                                                                                                                          Kolotouros, Jim                                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                       Lockheimer, Hiroshi
                                                                                                                           Pichai, Sundar
                                                                                                                         Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP2104       GOOG-PLAY-011271445           PX 1571             Google Play Revenue Recognition                      DiVento, Anthony                       Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Policy effective Dec. 2017                                                                  unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                                                                                                               tortious interference; proof of Defendants’ discovery                                 Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                             foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                              made by one other than the witness while testifying at trial, offered   not contain hearsay and/or a hearsay exception applies
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                              into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                     subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2105       GOOG-PLAY-011274244    DX1110 Steven Schwartz     Undated document titled "Tinder      Michael Marchak; Purnima Kochikar; Brandon Barras      Defendant: Defense to Plaintiffs' claims                        Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                   Play Value Estimate"                                                                        Plaintiff: Proof of Defendants’ liability for antitrust                               declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                                                                                                               violations, unreasonable restraints of trade, unfair                                   Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                               competition and/or tortious interference; proof of                                     Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                    Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                           misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                               Counterclaims against Plaintiffs                                                      document                                                                Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                                                                                                     Defendant: Incomplete; the introduction of any remaining portions considered at the same time; Exhibit is relevant to one or
                                                                                                                                                                                                                                                     ought, in fairness, to be considered contemporaneously (Fed. R          more of Plaintiffs’ claims or defenses; One or more
                                                                                                                                                                                                                                                     .Evid. 106)., Relevance (Fed. R. Evid. 402)., Personal knowledge; witnesses have foundation to testify concerning the exhibit;
                                                                                                                                                                                                                                                     lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                     statement made by one other than the witness while testifying at        applies
                                                                                                                                                                                                                                                     trial, offered into evidence to prove the truth of the matter asserted,
                                                                                                                                                                                                                                                     and not subject to any hearsay exception (Fed. R. Evid. 801 and
                                                                                                                                                                                                                                                     802).
  TEMP2106       GOOG-PLAY-011274254                               Document entitled Google Play                       Lockheimer, Hiroshi                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                   Billing Policy Change - Internal                       Karam, Sarah                         unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   Briefing.                                                                                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                               resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                     prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                                                     Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                                                     exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                                                     introduce it.
  TEMP2107       GOOG-PLAY-011274264                               Undated Document titled "Approved         Paul Feng, Sarah Karam, Purnima Kochikar          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   talking points"                                                                             counterclaims                                                                          Rule 602—exhibit contains statements not based on declarant’s         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     personal knowledge                                                      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                      Foundation                                                            201, 602, 901, 902)




                                                                                                                                                              142 of 220
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                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                  Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number          Name / Description                                                                               Purpose   Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2108       GOOG-PLAY-011277433                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2109       GOOG-PLAY-011277454                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2110       GOOG-PLAY-011298096                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), (Rule 404) and/or exception applies (Rules 607, 608,
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             609), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           Exhibit will be properly authenticated (Rule 901),
                                                                                                                                                                                                       established authenticity of the document, Foundation

  TEMP2111       GOOG-PLAY-011298121                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2112       GOOG-PLAY-011304091                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2113       GOOG-PLAY-011304098                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2114       GOOG-PLAY-011304152                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2115       GOOG-PLAY-011304170                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2116       GOOG-PLAY-011308148                               Undated spreadsheet with Match   Google data (TBD)                             Defense to Plaintiffs' claims          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                       misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                       cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                       character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                       hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                       declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                       established authenticity of the document, Foundation                 authenticated (Rule 901),




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                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2117       GOOG-PLAY-011308149                               Undated spreadsheet with Match         Google data (TBD)                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                                                              relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                                                                character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                                                                hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                                                                established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2118       GOOG-PLAY-011351143                               Undated spreadsheet with Match         Google data (TBD)                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                                                              relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                                                                character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                                                                hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                                                                established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2119       GOOG-PLAY-011351151                               Undated spreadsheet with Match         Google data (TBD)                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106), Exhibit is relevant
                                                                   app review data                                                                                                                                                              relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                misleading to the jury, Rule 403—wasting time and/or needlessly      403), Not improper character evidence (Rule 404) and/or
                                                                                                                                                                                                                                                cumulative, Rule 404—exhibit appears to contain improper             exception applies (Rules 607, 608, 609), Not hearsay (Rule
                                                                                                                                                                                                                                                character evidence, Rule 802—exhibit contains inadmissible           801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                                                                                                hearsay, Rule 602—exhibit contains statements not based on           807), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                declarant’s personal knowledge, Rule 901—proponent has not           (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                                                                                                                                                established authenticity of the document, Foundation                 authenticated (Rule 901),

  TEMP2120       GOOG-PLAY-011354639                               7/29/2016 email from T. Cole to B.                         Jamie Rosenberg                   Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Kim                                                                                                                                                                          402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403), Exhibit will
                                                                                                                                                                                                                                                901—proponent has not established authenticity of the document,         be properly authenticated (Rule 901), Foundation/personal
                                                                                                                                                                                                                                                Foundation, Rule 403—wasting time and/or needlessly cumulative          knowledge will be established (Rules 201, 602, 901, 902),

  TEMP2121       GOOG-PLAY-011354641                               10/26/2018 email from J. Rosenberg              Purnima Kochikar, Jamie Rosenberg            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   to B. Kim                                                                                                                                                                    402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403), Exhibit will
                                                                                                                                                                                                                                                901—proponent has not established authenticity of the document,         be properly authenticated (Rule 901), Foundation/personal
                                                                                                                                                                                                                                                Foundation, Rule 403—wasting time and/or needlessly cumulative          knowledge will be established (Rules 201, 602, 901, 902),

  TEMP2122       GOOG-PLAY-011354642                               5/3/2019 email from P. Kochikar to              Purnima Kochikar, Jamie Rosenberg            Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   B. Kim                                                                                                                                                                       402—exhibit is not relevant, Rule 403—unfairly prejudicial,             (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                confusing the issues and/or misleading to the jury, Rule                Balance favors admissibility (Rules 401, 403), Exhibit will
                                                                                                                                                                                                                                                901—proponent has not established authenticity of the document,         be properly authenticated (Rule 901), Foundation/personal
                                                                                                                                                                                                                                                Foundation, Rule 403—wasting time and/or needlessly cumulative          knowledge will be established (Rules 201, 602, 901, 902),

  TEMP2123       GOOG-PLAY-011360865                               Presentation entitled Next Steps for                       Kochikar, Purnima                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Match Group (Nov 17, 2021).                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2124       GOOG-PLAY-011363671                               Email from G. Galyan to D. Harrison                        Harrison, Donald                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   re A/C Privileged & Confidential:                            Karam, Sarah                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Match update (01/13/2022)                                  Kochikar, Purnima                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2125       GOOG-PLAY-011371047                               Presentation dated 6/29/2021 titled            Purnima Kochikar, Hiroshi Lockheimer          Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "How Google Play can help Android                                                                                                                                             Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                   Retention efforts: Proposal with                                                                                                                                             personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                   Resource Requests"                                                                                                                                                            Foundation                                                             201, 602, 901, 902)

  TEMP2126       GOOG-PLAY-011371819           PX 2687             Email from S. Samat to D. Harrison                         Harrison, Donald                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   et al re Following Up (03/24/2022)                           Karam, Sarah                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                              Kochikar, Purnima                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                               Samat, Sameer                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2127       GOOG-PLAY-011372273           PX 2906             Slide deck titled, "App stores in                          Cramer, Christian                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Android 12 - 24 March 2020                                    Feng, Paul                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   review"                                                    Kochikar, Purnima                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Samat, Sameer                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                               144 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 175 of 250     JOINT TRIAL EXHIBIT LIST
                                                                                                                                          DISPUTED EXHIBITS




                                                                                                               Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2128       GOOG-PLAY-011379961             PX 1982             E-mail from S. Karam to K. Nakata,            Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     copying several Google witnesses            Kochikar, Purnima             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     regarding Tinder policy violation              Feng, Paul                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                     (5/15/2019)                                  Loew, Mrinalini              conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                  Barras, Brandon              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                               exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                               introduce it.
  TEMP2129       GOOG-PLAY-011380020                                 Email re Plan for Tinder.                     Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                  Barras, Brandon              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                 Kochikar, Purnima             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                               exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                               introduce it.
  TEMP2130       GOOG-PLAY-011382390                                 Email re Time for a call today re a          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     client concern.                               Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                 Kochikar, Purnima             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit, Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies, Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial        cumulative evidence
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.,
                                                                                                                                                                                                                               Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                                                                                                                               (Fed. R. Evid. 403).
  TEMP2131       GOOG-PLAY-011383656             PX 1498             Email from D. Stein to D. Harrison          Harrison, Donald              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     et al re (PRIVILEGED &                        Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     CONFIDENTIAL): Alignment on                Lockheimer, Hiroshi            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                     Spotify Counter Proposal                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies;
                                                                     (11/04/2020)                                 Samat, Sameer                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                               defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2132       GOOG-PLAY-011386721             PX 1551             Slide deck titled, "User Choice                Feng, Paul                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Billing Pilot" (04/01/2022)                   Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                 Kochikar, Purnima             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                 Marchak, Michael              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2133       GOOG-PLAY-011390222                                 Presentation entitled Dating Apps:           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Google Play "Category Deep Dive"                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     series, by B. Barras (2017).                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence

  TEMP2134       GOOG-PLAY-011437246             PX 2710             Slide deck titled, "Play Billing Policy        Feng, Paul                 Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Compliance Program Report"                  Garcia Rios, Diana            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (03/11/2022)                                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2135       GOOG-PLAY-011438488             PX 1984             Tinder/Match Exec Meeting Prep              Garcia Rios, Diana            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     deck July 2019                                Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the probative value not substantially outweighed by danger of
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Misleading; undue              undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                               prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., cumulative evidence
                                                                                                                                                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                               exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                               introduce it.
  TEMP2136       GOOG-PLAY-011450558.C                               Document entitled Sun Valley                 Harrison, Donald             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Conference Preparation, July 2022.                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                               402).




                                                                                                                                              145 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 176 of 250                      JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                             Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                    Summary of Response (w/Authority)
  TEMP2137       GOOG-PLAY-011450783                               Presentation dated 7/27/2020 titled              Sarah Karam; Brandon Barras                 Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Match Group: Apps Velocity                                                                  counterclaims                                                                     personal knowledge                                                        201, 602, 901, 902)
                                                                   Program Recap"                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Foundation                                                               (Rules 803, 804, 807)

  TEMP2138       GOOG-PLAY-011450836      DX846 Peter Foster       Presentation dated 12/2020 titled                Brandon Barras, Sarah Karam                 Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Match Group x Google Program                                                                                                                                                  602—exhibit contains statements not based on declarant’s personal         (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                   Update"                                                                                                                                                                        knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly            be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                                                                  prejudicial, confusing the issues and/or misleading to the jury, Rule     relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                                                                  901—proponent has not established authenticity of the document,           (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                  Foundation                                                                (Rule 901),
  TEMP2139       GOOG-PLAY-011453909           PX 1995             Internal Working Doc - Match Excel                       Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                                                                                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2140       GOOG-PLAY-011455351           PX 2708             Document entitled Partner DevRel:                        Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   Tinder/Match Meeting Notes.                             Barras, Brandon                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; One or more witnesses have foundation to
                                                                                                                          Kochikar, Purnima                     tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2141       GOOG-PLAY-011456496                               Document titled, "Match Group /                          Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   AVP Meeting" (06/10/2021)                                                                    unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies.
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2142       GOOG-PLAY-011456519                               Document titled, "Google / Match                      Garcia Rios, Diana                     Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   Group AVP Ongoing Notes Doc                             Karam, Sarah                         unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                   [Internal]" (08/05/2020)                                                                     tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies;
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2143       GOOG-PLAY-011456562                               Document dated 1/10/2022 titled       Sarah Karam, Purnima Kochikar; Brandon Barras, Paul    Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Match Group Integration Status:                            Feng                             counterclaims                                                                     personal knowledge                                                        201, 602, 901, 902)
                                                                   Executive summary"                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or               (Rules 803, 804, 807)
                                                                                                                                                                                                                                                  misleading to the jury                                                     Balance favors admissibility (Rules 401, 403)
  TEMP2144       GOOG-PLAY-011457037                               Email re Match/Tinder.                                 Rasanen, Kirsten                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                                                                                                                unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                             Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                         (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                          R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                          other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                                                  to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                                                  hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies

  TEMP2145       GOOG-PLAY-011457041                               Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for              Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 0-1108000031826 Requesting                        Foster                        counterclaims                                                                            personal knowledge                                                        201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                  Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury
  TEMP2146       GOOG-PLAY-011457043                               Document dated 8/17/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for              Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 0-1771000031621 Requesting                        Foster                        counterclaims                                                                            personal knowledge                                                        201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                  Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury
  TEMP2147       GOOG-PLAY-011457046                               Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for              Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 0-4151000031653 Requesting                        Foster                        counterclaims                                                                            personal knowledge                                                        201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                  Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury
  TEMP2148       GOOG-PLAY-011457048                               Document dated 8/17/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for              Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 0-8729000031896 Requesting                        Foster                        counterclaims                                                                            personal knowledge                                                        201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                  Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury
  TEMP2149       GOOG-PLAY-011457050                               Document dated 8/16/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 1-0771000031945 Google                            Foster                               counterclaims                                                                     personal knowledge                                                        201, 602, 901, 902)
                                                                   Play                                                                                                                                                                            Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   の支払いに関するポリシーを遵                                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                   守するために追加の時間をリク                                                                                                                                                                 misleading to the jury
                                                                   エストする "
  TEMP2150       GOOG-PLAY-011457053                               Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s             Foundation/personal knowledge will be established (Rules
                                                                   "Case 1-1546000031735 Requesting                        Foster                               counterclaims                                                                     personal knowledge                                                        201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                  Rule 402—exhibit is not relevant                                          Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                  Rule 403—unfairly prejudicial, confusing the issues and/or                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury




                                                                                                                                                               146 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 177 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number          Name / Description                                                                                               Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2151       GOOG-PLAY-011457055                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 1-4540000031592 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                       misleading to the jury
  TEMP2152       GOOG-PLAY-011457057                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 1-8424000031711 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                       misleading to the jury
  TEMP2153       GOOG-PLAY-011457060                               Document dated 8/17/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 2-0991000031299 Google                                Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   Play                                                                                                                                                                                 Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   の支払いに関するポリシーを遵                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   守するために追加の時間をリク                                                                                                                                                                      misleading to the jury
                                                                   エストする "
  TEMP2154       GOOG-PLAY-011457063                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 2-2538000032027 Requesting                            Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       misleading to the jury
  TEMP2155       GOOG-PLAY-011457066                               Document dated 8/19/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 2-7080000031497 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                   Additional Time to Comply with
                                                                   Google Play's Payments Policy"

  TEMP2156       GOOG-PLAY-011457069                               Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 2-7308000032063 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       misleading to the jury
  TEMP2157       GOOG-PLAY-011457072                               Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 3-0061000031899 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                      201, 602, 901, 902)
                                                                   Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                   Google Play's Payments Policy"                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                       misleading to the jury
  TEMP2158       GOOG-PLAY-011457077                               "Contact Us Form" re Use of GPB      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter     Defendants: Defense to Plaintiffs' claims; proof of             Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                   on Tinder (07/21/2022)                                      Foster                            Match's liability for counterclaims                                                   declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                                                                            Harrison, Don                        Plaintiffs: Proof of Defendants’ liability for antitrust                              Defendants: Personal knowledge; lack of foundation (Fed. R. Evid.       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                Karam, Sarah; Kleidermarcher, Dave;              violations, unreasonable restraints of trade, unfair                                  602)., Hearsay; the exhibit is a statement made by one other than       concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                           Koh, Lawrence                         competition and/or tortious interference; proof of                                    the witness while testifying at trial, offered into evidence to prove   and/or a hearsay exception applies;
                                                                                                                           Kolotouros, Jim                       Defendants’ discovery conduct; proof of appropriate                                   the truth of the matter asserted, and not subject to any hearsay
                                                                                                                        Lockheimer, Hiroshi                      injunctive relief; proof of resulting damages; and/or proof                           exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                           Pichai, Sundar                        rebutting allegations in Defendants’ Answers and                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                          Rosenberg, Jamie                       Counterclaims against Plaintiffs                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Samat, Sameer
  TEMP2159       GOOG-PLAY-011457079                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter     Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Case 4-3843000031302 Demander                              Foster                            counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                       misleading to the jury
  TEMP2160       GOOG-PLAY-011457081                               Document entitled Requesting         Brandon Barras; Purnima Kochikar; Sarah Karam; Peter     Defendants: Defense to Plaintiffs' claims; proof of             Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                   Additional Time to Comply with                             Foster;                            Match's liability for counterclaims                                                   declarant’s personal knowledge                                        established (Rules 201, 602, 901, 902)
                                                                   Google Play's Payments Policy                            Dubey, Shar                          Plaintiffs: Proof of Defendants’ liability for antitrust                              Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                   (OurTime).                                               Foster, Peter                        violations, unreasonable restraints of trade, unfair                                  ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                 competition and/or tortious interference; proof of                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                   602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                           the witness while testifying at trial, offered into evidence to prove Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                      the truth of the matter asserted, and not subject to any hearsay      defenses
                                                                                                                                                                 Counterclaims against Plaintiffs                                                      exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                       402).
  TEMP2161       GOOG-PLAY-011457084                               Document dated 8/17/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Case 5-4738000031935 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                   Additional Time to Comply with
                                                                   Google Play's Payments Policy"

  TEMP2162       GOOG-PLAY-011457086                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 5-5632000031684 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                     Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                       Foreign Language
  TEMP2163       GOOG-PLAY-011457089                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 5-5986000031761 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                     Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                        Foreign Language
  TEMP2164       GOOG-PLAY-011457091                               Document dated 8/16/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 5-8968000031507 Google                                Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   Play                                                                                                                                                                                 Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                   の支払いに関するポリシーを遵                                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                     Balance favors admissibility (Rules 401, 403)
                                                                   守するために追加の時間をリク                                                                                                                                                                       Foreign Language
                                                                   エストする "
  TEMP2165       GOOG-PLAY-011457094                               Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Case 5-9091000032032 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                   du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                   respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                     Balance favors admissibility (Rules 401, 403)
                                                                   sur les paie"                                                                                                                                                                        Foreign Language




                                                                                                                                                                147 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 178 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                              DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number            Name / Description                                                                                               Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                Summary of Response (w/Authority)
  TEMP2166       GOOG-PLAY-011457097                                 Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 5-9369000031701 Demander                              Foster                        counterclaims                                                                             personal knowledge                                                    201, 602, 901, 902)
                                                                     du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                     Exhibit is relevant (Rules 401, 402)
                                                                     respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                   Balance favors admissibility (Rules 401, 403)
                                                                     sur les paie"                                                                                                                                                                        Foreign Language
  TEMP2167       GOOG-PLAY-011457100                                 Document dated 8/18/2021 titled      Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 6-398000031514 Demander                               Foster                        counterclaims                                                                             personal knowledge                                                    201, 602, 901, 902)
                                                                     du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                     Exhibit is relevant (Rules 401, 402)
                                                                     respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                   Balance favors admissibility (Rules 401, 403)
                                                                     sur les paie"                                                                                                                                                                        Foreign Language
  TEMP2168       GOOG-PLAY-011457103                                 Document entitled Requesting         Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defendants: Defense to Plaintiffs' claims; proof of                 Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     Additional Time to Comply with                             Foster;                        Match's liability for counterclaims                                                       declarant’s personal knowledge                                        established (Rules 201, 602, 901, 902)
                                                                     Google Play's Payments Policy                            Dubey, Shar                      Plaintiffs: Proof of Defendants’ liability for antitrust                                  Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                     (Okcupid).                                                                                violations, unreasonable restraints of trade, unfair                                      ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                               competition and/or tortious interference; proof of                                        .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                               the witness while testifying at trial, offered into evidence to prove Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                          the truth of the matter asserted, and not subject to any hearsay      defenses
                                                                                                                                                               Counterclaims against Plaintiffs                                                          exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                         402).
  TEMP2169       GOOG-PLAY-011457106                                 Document dated 8/18/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 6-7345000031858 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with
                                                                     Google Play's Payments Policy"

  TEMP2170       GOOG-PLAY-011457109                                 Document dated 8/19/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 6-9821000031474 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                     Google Play's Payments Policy"                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                    Balance favors admissibility (Rules 401, 403)

  TEMP2171       GOOG-PLAY-011457112                                 Document dated 8/18/2021 titled    Brandon Barras; Purnima Kochikar; Sarah Karam; Peter       Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 7-2225000031204 Demander                            Foster                              counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                     du temps supplémentaire pour                                                                                                                                                         Rule 402—exhibit is not relevant                                     Exhibit is relevant (Rules 401, 402)
                                                                     respecter le règlement Google Play                                                                                                                                                   Rule 403—wasting time and/or needlessly cumulative                   Balance favors admissibility (Rules 401, 403)
                                                                     sur les paie"                                                                                                                                                                        Foreign Language
  TEMP2172       GOOG-PLAY-011457115                                 Document dated 8/17/2021 titled    Brandon Barras; Purnima Kochikar; Sarah Karam; Peter       Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 7-2636000031432 Requesting                          Foster                              counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                     Google Play's Payments Policy"                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                    Balance favors admissibility (Rules 401, 403)

  TEMP2173       GOOG-PLAY-011457118                                 Document dated 8/17/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 7-4573000031766 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                     Google Play's Payments Policy"                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                    Balance favors admissibility (Rules 401, 403)

  TEMP2174       GOOG-PLAY-011457120                                 Document dated 8/19/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 8-2028000031856 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                     Google Play's Payments Policy"                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                    Balance favors admissibility (Rules 401, 403)

  TEMP2175       GOOG-PLAY-011457123   DX0982 Purves, Ian; PX 1996   Request for Additional Time to       Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defendant: Defense to Plaintiffs' claims; proof of Match's          Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     Comply with Google Play Payment's              Foster; Ian Purves; Dubey, Shar            liability for counterclaim                                                                declarant’s personal knowledge                                        established (Rules 201, 602, 901, 902)
                                                                     Policy" for Match.com LLC                                                                 Plaintiff: Proof of Defendants’ liability for antitrust                                   Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                     (8/19/2021)                                                                               violations, unreasonable restraints of trade, unfair                                      ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                               competition and/or tortious interference; proof of                                        .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                               the witness while testifying at trial, offered into evidence to prove Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                          the truth of the matter asserted, and not subject to any hearsay      defenses
                                                                                                                                                               Counterclaims against Plaintiffs                                                          exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                         402).
  TEMP2176       GOOG-PLAY-011457126                                 Document dated 8/19/2021 titled  Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defense to Plaintiffs' claims; proof of Match's liability for                Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                     "Case 9-1185000031920 Requesting                        Foster                        counterclaims                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                     Additional Time to Comply with                                                                                                                                                       Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                     Google Play's Payments Policy"                                                                                                                                                       Rule 403—wasting time and/or needlessly cumulative                    Balance favors admissibility (Rules 401, 403)

  TEMP2177       GOOG-PLAY-011457129                                 Document entitled Requesting         Brandon Barras; Purnima Kochikar; Sarah Karam; Peter Defendant: Defense to Plaintiffs' claims; proof of Match's          Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on         Defendant: Foundation/personal knowledge will be
                                                                     Additional Time to Comply with                             Foster;                        liability for counterclaims                                                               declarant’s personal knowledge                                        established (Rules 201, 602, 901, 902)
                                                                     Google Play's Payments Policy                            Dubey, Shar                      Plaintiffs: Proof of Defendants’ liability for antitrust                                  Defendant: Incomplete; the introduction of any remaining portions Plaintiff: Contains all parts that in fairness ought to be
                                                                     (PlentyofFish ULC).                                                                       violations, unreasonable restraints of trade, unfair                                      ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                               competition and/or tortious interference; proof of                                        .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                               Defendants’ discovery conduct; proof of appropriate                                       602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                               the witness while testifying at trial, offered into evidence to prove Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                               rebutting allegations in Defendants’ Answers and                                          the truth of the matter asserted, and not subject to any hearsay      defenses
                                                                                                                                                               Counterclaims against Plaintiffs                                                          exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                                                         402).
  TEMP2178       GOOG-PLAY-011457133                                 Document dated 5/2/2018 titled                         Purnima Kochikar                       Defense to Plaintiffs' claims; proof of Epic's liability for         Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Expense Report"                                                                              counterclaims                                                                          Rule 602—exhibit contains statements not based on declarant’s        (Rules 803, 804, 807)
                                                                                                                                                                                                                                                         personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                          Rule 402—exhibit is not relevant                                     201, 602, 901, 902)
                                                                                                                                                                                                                                                          Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                         misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                          Rule 403—wasting time and/or needlessly cumulative                    Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                          Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                                         document




                                                                                                                                                                  148 of 220
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                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                    Summary of Response (w/Authority)
  TEMP2179       GOOG-PLAY-011457136                               Document dated 4/17/2018 titled         Purnima Kochikar              Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Purchase Order #486219"                                              counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                          personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                           Rule 403—wasting time and/or needlessly cumulative                      Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                          document
  TEMP2180       GOOG-PLAY-011457137                               Document dated 4/24/2018 titled         Purnima Kochikar              Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Purchase Order # 487677"                                             counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                          personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                           Rule 403—wasting time and/or needlessly cumulative                      Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                          document
  TEMP2181       GOOG-PLAY-011457138                               Document dated 5/2/2018 titled          Purnima Kochikar              Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Purchase Order # 489459"                                             counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                                          personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                           Rule 403—wasting time and/or needlessly cumulative                      Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                          document
  TEMP2182       GOOG-PLAY-011457139                               Document dated 6/8/2018 titled          Purnima Kochikar              Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 403—wasting time and/or needlessly cumulative                      Balance favors admissibility (Rules 401, 403)
                                                                   "Purchase Order # 496647"                                             counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                           Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                           Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                          misleading to the jury                                                   Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                           Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                          document
  TEMP2183       GOOG-PLAY-011460091                               Spreadsheet entitled Play Policy         Rosenberg, Jamie             Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Update Workback Plan.                      Gennai, Paul               unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                             Samat, Sameer               tortious interference; proof of Defendants’ discovery                            Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                            Rasanen, Kirsten             conduct; proof of appropriate injunctive relief; proof of                        foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                         made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                         into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                          subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                          Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                          exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                          introduce it.
  TEMP2184       GOOG-PLAY-011489874                               Document re Bumble-Badoo Internal       Kochikar, Purnima             Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Notes.                                     Feng, Paul                 unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                                         tortious interference; proof of Defendants’ discovery                            Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                        (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                         R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                         other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                          to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                          hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2185       GOOG-PLAY-011507394                               7/21/2008 email from R. Miner to D.        Rich Miner                 Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   Christopher                                                                                                                                             Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                           Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                          misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                           Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                          personal knowledge                                                      201, 602, 901, 902)
  TEMP2186       GOOG-PLAY-011535555                               Email from B. Davis to S. Karam; D.       Karam, Sarah                Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Stein re Re: Play Outage (4/5/2019)       Stein, Danielle             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2187       GOOG-PLAY-011540352                               Email from D. Stein to S. Karam re        Karam, Sarah                Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   Fwd: A/C Privileged: Update on            Stein, Danielle             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                   Tinder / GPB" (08/27/2019)                                            tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies;
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2188       GOOG-PLAY-011540707                               Email re [A/C Privileged] App Devs        Karam, Sarah                Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   for Consideration in Accelerator                                      unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                   Programs.                                                             tortious interference; proof of Defendants’ discovery                            Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                        (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                         R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                         other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                          to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                          hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies




                                                                                                                                        149 of 220
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                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                     Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                    Summary of Response (w/Authority)
  TEMP2189       GOOG-PLAY-011540724           PX 1997             Document titled, "A/C Privileged &        Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   Confidential - 9.13.19 Checkin with                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                   Hiroshi" (09/13/2019)                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies.
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2190       GOOG-PLAY-011543322                               Slide deck titled, "Play Monthy -         Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   June 2019" (6/2019)                                                   unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies.
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2191       GOOG-PLAY-011545523                               Document titled, "Verified Parent &       Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,              One or more witnesses have foundation to testify
                                                                   Trust Sources Discussion Timeline                                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the            concerning the exhibit; Exhibit does not contain hearsay
                                                                   [Facebook]                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the     and/or a hearsay exception applies.
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2192       GOOG-PLAY-011545627                               Email from S. Karam to M. McCurty      Cunningham, Edward             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   re FB (03/04/2020)                          Gold, Jon                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;        the same time; One or more witnesses have foundation to
                                                                                                             Karam, Sarah                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;              testify concerning the exhibit; Exhibit does not contain
                                                                                                           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the            hearsay and/or a hearsay exception applies;
                                                                                                            Kolotouros, Jim              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                            Li, Christopher              Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                           Rosenberg, Jamie                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                           Ostrowski, Tristan                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2193       GOOG-PLAY-011568980                               Document entitled Play Policy v2          Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   Meeting Notes.                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies

  TEMP2194       GOOG-PLAY-011574966                               Presentation entitled Accelerator         Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   Programs 2020.                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies

  TEMP2195       GOOG-PLAY-011575049                               Document entitled PEX: Apps               Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   Accelerator Program (or the                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                   Accelerators Program / Hug for                                        tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                   Apps).                                                                conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies

  TEMP2196       GOOG-PLAY-011579627                               Presentation entitled Spotify             Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in          Contains all parts that in fairness ought to be considered at
                                                                   Economic Review: Spotify's Counter                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,        the same time; Evidence’s probative value not substantially
                                                                   to Google's Initial Economic                                          tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time           outweighed by danger of unfair prejudice, confusing the
                                                                   Proposal (July 2020).                                                 conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed.        issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one           and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence   more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any         exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802).                            exception applies

  TEMP2197       GOOG-PLAY-011580505                               Email re Match next steps.               Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                             Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             exception applies
                                                                                                                                                                                                                         objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                         trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                         it.
  TEMP2198       GOOG-PLAY-011582799                               Spreadsheet re Exceptions to using        Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   GPB.                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Evidence’s probative value not substantially
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           Misleading; undue prejudice; confusion of issues; waste of time         outweighed by danger of unfair prejudice, confusing the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. issues, misleading the jury, undue delay, wasting time,
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        R. Evid. 602)., Hearsay; the exhibit is a statement made by one         and/or needlessly presenting cumulative evidence; One or
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        other than the witness while testifying at trial, offered into evidence more witnesses have foundation to testify concerning the
                                                                                                                                                                                                                         to prove the truth of the matter asserted, and not subject to any       exhibit; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                                                                                                                         hearsay exception (Fed. R. Evid. 801 and 802).                          exception applies




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                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 181 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2199       GOOG-PLAY-011590131    PX2699 Kirsten Rasanen     Presentation dated 2022 titled "Play   Sarah Karam; Purnima Kochikar; Paul Feng; Mrinalini    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                   Monetization: 2022 Planning"                        Loew; Michael Marchak                     Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                                                                                                                 violations, unreasonable restraints of trade, unfair                                Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                 competition and/or tortious interference; proof of                                  602)., Hearsay; the exhibit is a statement made by one other than       concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                                 the witness while testifying at trial, offered into evidence to prove   and/or a hearsay exception applies.
                                                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                         the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 rebutting allegations in Defendants’ Answers and                                    exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Counterclaims against Plaintiffs
  TEMP2200       GOOG-PLAY-011591794           PX 1990             Document titled, "Meeting Notes:                          Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Play Payments Policy Working                             Karam, Sarah                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Group" (05/06/2022)                                                                           tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2201       GOOG-PLAY-011592884                               Document entitled 2021 Payment                           Karam, Sarah                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Policy Grace Period Extension                                                                 unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Request Form.                                                                                 tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Evidence’s
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                     exception (Fed. R. Evid. 801 and 802)., Misleading; undue               undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                     prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      cumulative evidence

  TEMP2202       GOOG-PLAY-011603188                               Email re                                                Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Fwd: Clarity on Matrimony GPB                             Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Policy.                                               Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                         Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                           Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                            Samat, Sameer
  TEMP2203       GOOG-PLAY-011607662                               Document entitled Antitrust Applied:                    Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Examining Competition in App                              Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                   Stores (Senate Judiciary Committee:                   Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                   Subcommittee on Competition                            Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                   Policy, Antitrust, and Consumer                          Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                   Rights) (April 21).                                      Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                         Lockheimer, Hiroshi                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          danger of unfair prejudice, confusing the issues, misleading
                                                                                                                             Pichai, Sundar                                                                                                          defendants reserve the right to object to this exhibit at trial         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                           Rosenberg, Jamie                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.,    presenting cumulative evidence
                                                                                                                            Samat, Sameer                                                                                                            Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;
                                                                                                                                                                                                                                                     confusion of issues; waste of time (Fed. R. Evid. 403).

  TEMP2204       GOOG-PLAY-011621155                               Presentation dated 6/2022 titled        Don Harrison, Purnima Kochikar, Jim Kolotouros,       Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Android Staples"                        Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                               personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                               Rosenberg, Sameer Samat, Paul Gennai                                                                                                  hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                     misleading to the jury, Rule 701—exhibit contains improper            favors admissibility (Rules 401, 403), Not an opinion, or
                                                                                                                                                                                                                                                     specialized opinion by lay witness, Rule 901—proponent has not        proper opinion evidence (Rule 701), Exhibit will be
                                                                                                                                                                                                                                                     established authenticity of the document, Rule 106—exhibit is         properly authenticated (Rule 901), Exhibit is properly
                                                                                                                                                                                                                                                     unfairly incomplete, Foundation                                       complete (Rule 106),
  TEMP2205       GOOG-PLAY-011624497           PX 2625             Slide deck titled, "Yeti 2019 Plan,                     Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   CFO Review" (11/09/2018)                                  Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                          Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                         Lockheimer, Hiroshi                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP2206       GOOG-PLAY-011627362           PX 2624             Slide deck titled, "Stadia + P&E                        Rosenberg, Jamie                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Opportunity" (08/01/2020)                                                                     unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2207       GOOG-PLAY-011634169           PX 2622             Slide deck titled, "Player Delight:                     Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Q2'20" (06/01/2020)                                       Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                         Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                          Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                            Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                         Lockheimer, Hiroshi                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Pichai, Sundar
                                                                                                                           Rosenberg, Jamie
                                                                                                                            Samat, Sameer
  TEMP2208       GOOG-PLAY-011640881                               US Android - iOS Switcher Analysis                        Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   slide deck (9/2020)                                                                           unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                                151 of 220
                                                                Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 182 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                 Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2209       GOOG-PLAY-011651236                                 Slide deck titled "Alley-oop + Verify                      Barras, Brandon                       Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Parent" (09/07/2022)                                         Harrison, Don                       unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              Kleidermarcher, Dave                    tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                               Kochikar, Purnima                      conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                 Koh, Lawrence                        resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                 Kolotouros, Jim                      Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                              Lockheimer, Hiroshi                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                  Pichai, Sundar
                                                                                                                                Rosenberg, Jamie
                                                                                                                                 Samat, Sameer
  TEMP2210       GOOG-PLAY-011651706             PX 1991             Slide deck titled, "Google Play -                            Karam, Sarah                        Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     AlleyOop Update" (04/18/2018)                                                                    unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                      tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2211       GOOG-PLAY-011664664                                 Undated document titled                      Hiroshi Lockheimer; Sameer Samat; Edward            Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                     "Understanding Google Play's               Cunningham; Sarah Karam; David Kleidermacher;         counterclaims                                                                                                                                                (Rules 803, 804, 807)
                                                                     Payments policy"                          Purnima Kochikar; Mrinalini Loew; Sebastian Porst;
                                                                                                                                Kirsten Rasanen
  TEMP2212       GOOG-PLAY-011664873.C                               Slide deck titled, "Project Basecamp                      Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     - Developing a Broader Plan"                                Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                             Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                              Kochikar, Purnima                       conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                Koh, Lawrence                         resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                             Lockheimer, Hiroshi                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                 Pichai, Sundar
                                                                                                                               Rosenberg, Jamie
                                                                                                                                Samat, Sameer
  TEMP2213       GOOG-PLAY-011665304                                 Slide deck titled, "Project Everest -                         Feng, Paul                         Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Policy Enforcement Update"                               Kochikar, Purnima                       unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (05/31/2022)                                             Marchak, Michael                        tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2214       GOOG-PLAY-011666143                                 Document entitled Buganizer,                             Barras, Brandon                         Proof of Defendants’ liability for antitrust violations,           Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Request to refrain from enforcing                          Harrison, Don                         unreasonable restraints of trade, unfair competition and/or                          fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     Payments policy on ParshipMeet                         Kleidermarcher, Dave                      tortious interference; proof of Defendants’ discovery                                Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     Group apps.                                             Kochikar, Purnima                        conduct; proof of appropriate injunctive relief; proof of                            Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                               Koh, Lawrence                          resulting damages; and/or proof rebutting allegations in                             witness while testifying at trial, offered into evidence to prove the
                                                                                                                               Kolotouros, Jim                        Defendants’ Answers and Counterclaims against Plaintiffs                             truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Lockheimer, Hiroshi                                                                                                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                Pichai, Sundar                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                              Rosenberg, Jamie                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.,
                                                                                                                               Samat, Sameer
  TEMP2215       GOOG-PLAY-011666963                                 Presentation dated 10/12/2022 titled      Purnima Kochikar; Sameer Samat; Barras, Brandon        Defendant: Defense to Plaintiffs' claims; proof of Match's     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                     "Bumble Executive Summit"                                  Harrison, Don                         liability for counterclaims                                                          declarant’s personal knowledge                                          established (Rules 201, 602, 901, 902)
                                                                                                                            Kleidermarcher, Dave                      Plaintiffs: Proof of Defendants’ liability for antitrust                              Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                               Koh, Lawrence                          violations, unreasonable restraints of trade, unfair                                 Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        (Rules 803, 804, 807)
                                                                                                                               Kolotouros, Jim                        competition and/or tortious interference; proof of                                   602)., Hearsay; the exhibit is a statement made by one other than       Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                            Lockheimer, Hiroshi                       Defendants’ discovery conduct; proof of appropriate                                  the witness while testifying at trial, offered into evidence to prove   concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                Pichai, Sundar                        injunctive relief; proof of resulting damages; and/or proof                          the truth of the matter asserted, and not subject to any hearsay        and/or a hearsay exception applies;
                                                                                                                              Rosenberg, Jamie                        rebutting allegations in Defendants’ Answers and                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                      Counterclaims against Plaintiffs                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2216       GOOG-PLAY-011667790                                 Slide deck titled "Google Play                             Loew, Mrinalini                       Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Commerce Q4 Team Meeting"                                                                        unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (12/2021)                                                                                        tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2217       GOOG-PLAY-011669872                                 Article by Nick Sharma titled"PRD:                           Feng, Paul                          Proof of Defendants’ liability for antitrust violations,           Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                     Halla User Trust Subscriptions"                            Loew, Mrinalini                       unreasonable restraints of trade, unfair competition and/or                          Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                     (10/25/2021)                                                                                     tortious interference; proof of Defendants’ discovery                                witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                      resulting damages; and/or proof rebutting allegations in                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2218       GOOG-PLAY-011670324                                 Presentation dated 9/28-9/29, 2022           Purnima Kochikar; Mrinalini Loew; Paul Feng         Defense to Plaintiffs' claims                                       Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     titled "Alternative Billing- Finance                                                                                                                                                  personal knowledge                                                  201, 602, 901, 902)
                                                                     SteerCo"                                                                                                                                                                               Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                            Rule 402—exhibit is not relevant                                   (Rules 803, 804, 807)
                                                                                                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or          Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                           misleading to the jury                                               Balance favors admissibility (Rules 401, 403)
  TEMP2219       GOOG-PLAY-011675561                                 Presentation dated 8/8/2022 titled        Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                         Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                     "Play Performance Review"               Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                             Kolotouros, Purnima Kochikar, Paul Bankhead, Mrinalini                                                                                        hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                Loew, Paul Feng                                                                                                            misleading to the jury, Rule 901—proponent has not established      favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                           authenticity of the document, Rule 106—exhibit is unfairly          properly authenticated (Rule 901), Exhibit is properly
                                                                                                                                                                                                                                                           incomplete, Foundation                                              complete (Rule 106),




                                                                                                                                                                     152 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 183 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2220       GOOG-PLAY-011677935                               Document entitled Payments Policy                           Feng, Paul                          Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Council Agenda / Edge Cases.                                                                    unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                    402)., Misleading; undue prejudice; confusion of issues; waste of     the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                    time (Fed. R. Evid. 403).                                             presenting cumulative evidence
  TEMP2221       GOOG-PLAY-011678747                               Presentation dated 6/2022 titled       Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                   "Billing Optionality Fee Adjustment" Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                      personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                                                        Kolotouros, Purnima Kochikar, Paul Bankhead, Mrinalini                                                                                      hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                           Loew, Paul Feng                                                                                                          misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                    authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP2222       GOOG-PLAY-011681107                               Email re Re: Recap of our                                Kochikar, Purnima                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   conversation.                                                                                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP2223       GOOG-PLAY-011682349                               Document entitled 2022 Planning 2-                        Loew, Mrinalini                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Pager: GPB as Platform of Choice.                           Feng, Paul                          unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                            Kochikar, Purnima                      tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2224       GOOG-PLAY-011683575                               8/29/2022 email from K. Aviram                   Purnima Kochikar; Mrinalini Loew               Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   Beatty to P. Kochikar, G. Hartrell,                                                                                                                                              misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                   E. Putze, K. Gambhir, L. Olebe                                                                                                                                                    Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                    personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
                                                                                                                                                                                                                                                     Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
  TEMP2225       GOOG-PLAY-011683579                               Presentation dated 8/24/2022 titled     Purnima Kochikar, Don Harrison, Greg Hartrell, Karen    Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                   "Google Enterprise Deal Extension"                            Beatty                                                                                                             misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                     Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                                    personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
  TEMP2226       GOOG-PLAY-011684968                               Presentation dated 1/28 titled             Michael Marchak; Paul Feng; Purnima Kochikar         Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Project Runway- Developing a                                                                                                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                   Broader Plan"                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                    misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP2227       GOOG-PLAY-011702203                               Document entitled Play Commerce                           Loew, Mrinalini                       Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Annual Planning for 2023.                                                                       unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP2228       GOOG-PLAY-011833095                               Slide deck titled "Google Pay Billing                      Karam, Sarah                         Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Status" (07/23/2020)                                                                            unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                   tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2229       GOOG-PLAY-011872486                               Slide deck titled "Napa - March                          Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   2018" (3/2018)                                             Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                           Kochikar, Purnima                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                             Koh, Lawrence                         resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                          Lockheimer, Hiroshi                                                                                                       depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP2230       GOOG-PLAY-011986482                               Article titled "How to Review Apps                      Marchak, Michael                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   and Games - L2 App Quality                                                                      unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                   Review" (04/16/2018)                                                                            tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                   resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2231       GOOG-PLAY-011992310                               Document dated 7/19/2022 titled             Paul Feng, Purnima Kochikar, Mrinalini Loew         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   "Payments - Play Console Help"                                                                  counterclaims                                                                                                                                            (Rules 803, 804, 807)




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                                                                                                                                                          DISPUTED EXHIBITS




                                                                                                                         Sponsoring Witness(es)
Exhibit Number          Beg Bates         Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2232        GOOG-PLAY-011992310         PX 1696; PX 2678        “Payments,” Play Console Help,                        Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      available at                                            Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                      https://support.google.com/googlepl                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                      ay/android-                                          Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                      developer/answer/9858738?hl=en                         Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                      (last accessed 6/13/2023)                              Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                                          Lockheimer, Hiroshi                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                              Pichai, Sundar
                                                                                                                            Rosenberg, Jamie
                                                                                                                             Samat, Sameer
  TEMP2233        GOOG-PLAY-012010117                                 Document dated 3/2017 titled          Edward Cunningham; David Kleidermacher; Sebastian    Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                      "Android Security 2016 Year in                              Porst                                                                                                           personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                      Review"                                                                                                                                                                     hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                  misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                  authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP2234        GOOG-PLAY-012014891                                 Document dated 3/2019 titled          Edward Cunningham; David Kleidermacher; Sebastian    Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                      "Android Security & Privacy 2018                           Porst                                                                                                            personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                      Year in Review"                                                                                                                                                             hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                                  misleading to the jury, Rule 901—proponent has not established        favors admissibility (Rules 401, 403), Exhibit will be
                                                                                                                                                                                                                                                  authenticity of the document, Foundation                              properly authenticated (Rule 901),
  TEMP2235        GOOG-PLAY-012021876                                 Document entitled Google/Match                         Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                      AVP Issues List.                                      Harrison, Donald                     unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                              Karam, Sarah                       tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                            Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                             Rasanen, Kirsten                    resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2236       GOOG-PLAY2-000003906                                 Email from H. Lockheimer to B.                        Kochikar, Purnima                    Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                      Rutledge P. Kochikar Re Tablet                       Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                      Apps and Samsung (06/12/2014)                                                              tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2237       GOOG-PLAY2-000331795                                 2/3/2012 email from J. Lagerling to                    John Lagerling                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                      N. Shanbhag                                                                                                                                                                 personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                                   Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                        (Rules 803, 804, 807)
  TEMP2238       GOOG-PLAY2-000334873                                 Email from H. Lockheimer to J.                        Kolotouros, Jamie                    Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                      Rosenberg J. Kolotouros Re                           Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                      Potential Play - Samsung                              Rosenberg, Jamie                     tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                      partnerships (04/14/2015)                                                                  conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2239       GOOG-PLAY2-000339241                                 Email from H. Lockeheimer to P.                      Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Chomet J. Rosenberg et al. Re Game                    Rosenberg, Jamie                     unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      proposal (06/04/2019)                                                                      tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                  Evid. 402).
  TEMP2240       GOOG-PLAY2-000400501.R                               Email from A. Rubin to P. Brady J.                     Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Lagerling Re RIM / Google term                         Lagerling, John                     unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      sheet (01/25/2013)                                      Rubin, Andy                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2241       GOOG-PLAY2-000430663             PX 0862             Google Organizational Chart                            Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      (08/29/2014)                                                                               unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                 tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                 resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2242       GOOG-PLAY2-000487130                                 Undated document titled "Expense                      Purnima Kochikar                     Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                      Reports"                                                                                   counterclaims                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                   Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                                   Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                                  misleading to the jury                                                   Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                                   Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                                  document




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                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                     Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2243       GOOG-PLAY2-000487131                               Undated document titled "Meeting                     Purnima Kochikar                    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    Attendees (Google)"                                                                      counterclaims                                                                    personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                              misleading to the jury                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                              document
  TEMP2244       GOOG-PLAY2-000487132                               Undated document titled "Additional                  Purnima Kochikar                    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    Meeting Attendees"                                                                       counterclaims                                                                    personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                               Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                                                               Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                              misleading to the jury                                                 Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                                                               Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                              document
  TEMP2245       GOOG-PLAY2-000487775                               Document entitled Google/Match                       Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    AVP Issues List.                                                                         unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP2246       GOOG-PLAY2-000556033                               Undated presentation titled "Google   Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    Play Brand Tracking Highlights         Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                         personal knowledge, Rule 802—exhibit contains inadmissible            201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                    United States"                            Rosenberg, Sameer Samat, Paul Gennai                                                                                            hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                              misleading to the jury, Rule 701—exhibit contains improper            favors admissibility (Rules 401, 403), Not an opinion, or
                                                                                                                                                                                                                                              specialized opinion by lay witness, Rule 901—proponent has not        proper opinion evidence (Rule 701), Exhibit will be
                                                                                                                                                                                                                                              established authenticity of the document, Foundation                  properly authenticated (Rule 901),

  TEMP2247       GOOG-PLAY2-000560477                               Undated presentation titled "Google   Don Harrison, Purnima Kochikar, Jim Kolotouros,    Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                    Play Brand Tracking Highlights         Hiroshi Lockheimer, Michael Marchak, Jamie                                                                                         personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                    United States"                            Rosenberg, Sameer Samat, Paul Gennai                                                                                            hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                                                                                              misleading to the jury, Rule 701—exhibit contains improper          favors admissibility (Rules 401, 403), Not an opinion, or
                                                                                                                                                                                                                                              specialized opinion by lay witness, Rule 901—proponent has not      proper opinion evidence (Rule 701), Exhibit will be
                                                                                                                                                                                                                                              established authenticity of the document, Foundation                properly authenticated (Rule 901),

  TEMP2248       GOOG-PLAY2-000661623                               Document titled "Thomas Reuter's                     Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Streetevents Edited Transcript -                       Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                    Googl - Q1 2013 Google Earnings                    Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                    Conference Call"                                    Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                          Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                          Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         exhibit has not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                       Lockheimer, Hiroshi
                                                                                                                           Pichai, Sundar
                                                                                                                            Porat, Ruth
                                                                                                                         Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP2249       GOOG-PLAY2-000661683                               Document titled "Final Transcript -                  Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Thomson StreetEvents"                                  Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                       Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                          Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                          Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         exhibit has not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                       Lockheimer, Hiroshi
                                                                                                                           Pichai, Sundar
                                                                                                                            Porat, Ruth
                                                                                                                         Rosenberg, Jamie
                                                                                                                          Samat, Sameer
  TEMP2250       GOOG-PLAY2-000662998                               Document entitled Annex A.1.                       Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                         Rosenberg, Jamie                    unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                          Kolotouros, Jim                    tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                            Gennai, Paul                     conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                          Samat, Sameer                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          probative value not substantially outweighed by danger of
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.,    undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                              Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;            cumulative evidence; Opinion, if any, is rationally based on
                                                                                                                                                                                                                                              confusion of issues; waste of time (Fed. R. Evid. 403)., Opinion        the author’s perception; is helpful to clearly understand
                                                                                                                                                                                                                                              testimony by Lay Witness (Fed. R. Evid. 701).                           testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                                                                                      on knowledge within the scope of Rule 702

  TEMP2251       GOOG-PLAY2-000666369                               Document titled "Android Malware                      Porst, Sebastian                   Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Team: How we arrived in the                                                              unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                    present"                                                                                 tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2252       GOOG-PLAY2-000690270                               Document titled "Overview"                         Cunningham, Edward                    Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                                             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs




                                                                                                                                                            155 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 186 of 250    JOINT TRIAL EXHIBIT LIST
                                                                                                                                        DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2253       GOOG-PLAY2-000699413                               Slide deck titled "Google - Project         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Quill: Play Signed Apps"                      Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                               Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                 Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                              Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                  Pichai, Sundar
                                                                                                                Rosenberg, Jamie
                                                                                                                 Samat, Sameer
  TEMP2254       GOOG-PLAY2-000792940                               Bumble "Partnership Proposal" Slide         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    deck                                          Karam, Sarah               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2255       GOOG-PLAY2-001361315                               Presentation entitled Android                 Gennai, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Update.                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP2256       GOOG-PLAY2-001366755                               Presentation re Google Play Q1 19             Gennai, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Onboarding (03/05/2019)                     Rosenberg, Jamie             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).; Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                             Evid. 402).; Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                             of time (Fed. R. Evid. 403).                                          presenting cumulative evidence.
  TEMP2257       GOOG-PLAY2-001443155                               Document entitled Sameer Erin 1:!            Samat, Sameer               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    Started after Mat Leave (June 2018 -                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    Jan 2020)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                                                                                                             402).
  TEMP2258       GOOG-PLAY3-000013195                               Document titled, "Google Payments-          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                    Terms of Service - Buyer (US)"                Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                    (08/20/2020)                              Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                               Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                 Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                              Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                  Pichai, Sundar
                                                                                                                Rosenberg, Jamie
                                                                                                                 Samat, Sameer
  TEMP2259       GOOG-PLAY4-000038856           PX 1093             Email from C.Bita to J.Lagerling et          Lagerling, John             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    al. re. Feedback Required A Sus                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Deal Approval (06/03/2015)                                               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP2260       GOOG-PLAY4-000254654      PX1567 Rich Miner        Presentation dated August 2005                 Rich Miner                Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                    titled "GPS Project Android"                                                                                                                             personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                              Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                              Rule 402—exhibit is not relevant                                       (Rules 803, 804, 807)
                                                                                                                                                                                                                              Foundation                                                              Exhibit is relevant (Rules 401, 402)

  TEMP2261       GOOG-PLAY4-000268331           PX 0869             Email from J. Lagerling to P. Brady          Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    et al. re App stores & preinstall risk       Lagerling, John             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (03/27/2011)                                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                             defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                             depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2262       GOOG-PLAY4-000268339           PX 0967             Email from J.Lagerling to H.Barra re         Lagerling, John             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Android Market Rebranding Worries                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Me (04/23/2015)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).
  TEMP2263       GOOG-PLAY4-000276521           PX 0871             Email from S. Agarwal to P. Brady            Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re [Mobile-leadership] Notes from T-                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Mobile Meeting in Seattle do discuss                                     tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    Search (Chris & Sumit)                                                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                    (06/10/2009)                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                             exception (Fed. R. Evid. 801 and 802).




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                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 187 of 250       JOINT TRIAL EXHIBIT LIST
                                                                                                                                           DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2264       GOOG-PLAY4-000280595           PX 0875             Email from C. Barton to P. Brady re           Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Shop4Apps (06/23/2010)                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2265       GOOG-PLAY4-000285787           PX 1215             Email from C.Moon to C.Barton re             Lagerling, John                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Samsung Apps Issue with America                                             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Movil (08/23/2011)                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2266       GOOG-PLAY4-000339905           PX 0872             Email from N. Sears to P. Brady Re            Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Market, Passion & TMUS                         Sears, Nick                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    negotiations (11/05/2009)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2267       GOOG-PLAY4-000339939           PX 0873             Email from N. Sears to P. Brady Re            Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Market, Passion & TMUS                         Sears, Nick                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    negotiations (11/07/2009)                                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2268       GOOG-PLAY4-000341393                               Email from D. Yeum to P. Brady Re             Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    quick question on Market                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (04/27/2010)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2269       GOOG-PLAY4-000346223                               Email from A. Page to P. Brady B.             Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Blizard et al. Re Partner Channel on                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Open Market devices (06/15/2011)                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2270       GOOG-PLAY4-000444526           PX 2721             Email from S. Pichai to A. Eustace            Pichai, Sundar                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re [chrome-ui] re: Please Get Me an                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    IGoogle Button on Chrome OS!                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    (12/14/2010)                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2271       GOOG-PLAY4-000566414           PX 0960             Email from A.Rubin to J.Lagerling             Rubin, Andy                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re HTC Application Distribution              Lagerling, John                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (09/24/2008)                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2272       GOOG-PLAY4-000676352                               Email from P. Brady to M.                     Brady, Patrick                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Vanlerberghe C. Moon et al. Re                                              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    'with Google' requirements                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    (07/16/2010)                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2273       GOOG-PLAY4-000775386      PX1563 Rich Miner        Presentation dated 4/5/2005 titled     Rich Miner: Michael Marchak          Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or              Balance favors admissibility (Rules 401, 403)
                                                                    "Android Investor Presentation"                                                                                                                             misleading to the jury                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                 Rule 602—exhibit contains statements not based on declarant’s          201, 602, 901, 902)
                                                                                                                                                                                                                                personal knowledge                                                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                 Rule 802—exhibit contains inadmissible hearsay                         (Rules 803, 804, 807)
  TEMP2274       GOOG-PLAY4-000809612           PX 2693             Email from A.Rubin to R. Chandhok              Rubin, Andy                  Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re Checking After your Call with                                            unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Paul (05/28/2009)                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).




                                                                                                                                               157 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 188 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2275       GOOG-PLAY4-000809614           PX 2694             Email from P. Jacobs to A. Rubin re                       Rubin, Andy                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Checking After Your Call with Paul                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (05/28/2009)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2276       GOOG-PLAY4-000810048           PX 0962             Email from A.Eustace to A.Rubin re                        Rubin, Andy                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Communication to Intel (07/27/2009)                                                         unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2277       GOOG-PLAY4-000816005                               Email from P. Brady to A. Rubin H.                      Brady, Patrick                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Barra et al. Re Mandatory and                           Lagerling, John                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Optional GMS apps (07/10/2011)                           Rubin, Andy                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2278       GOOG-PLAY4-000819003           PX 0874             Email from J. Ebbitt to A. Rubin re                      Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    LG's Own Application Store Goes                           Rubin, Andy                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Beta Live July 14 (07/16/2009)                                                              tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2279       GOOG-PLAY4-000820659                               Presentattion dated 10/12/2010 titled   Paul Gennai, Hiroshi Lockheimer, Jamie Rosenberg    Defense to Plaintiffs' claims                                     Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                    "Android OC Quarterly Review- Q4                                                                                                                                            personal knowledge                                                      201, 602, 901, 902)
                                                                    2010"                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                 Rule 403—unfairly prejudicial, confusing the issues and/or             (Rules 803, 804, 807)
                                                                                                                                                                                                                                                misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
  TEMP2280       GOOG-PLAY4-000821936                               Email from D. Morrill to H.                           Lockheimer, Hiroshi                   Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Lockheimer A. Rubin et al. Re Clank                      Rubin, Andy                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (10/20/2011)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Cond; Authentication;
                                                                                                                                                                                                                                                exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP2281       GOOG-PLAY4-000833523           PX 1488             Email from K. Walker to A. Eustace                       Harrison, Don                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re Meeting with Steve and Scott on                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Friday (04/03/2010)                                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).
  TEMP2282       GOOG-PLAY4-000836342                               Email from N. Shanbhag to E.                            Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Schmidt et al re Android Market                            Chu, Eric                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    Business Model GPS Notes -                               Harrison, Don                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                    2/3/2009 (02/04/2009)                                 Kleidermacher, Dave                   conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                           Kochikar Purnima                     resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                             Koh, Lawrence                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                            Kolotouros, Jim                                                                                                     exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                          Lockheimer, Hiroshi                                                                                                   defendants reserve the right to object to this exhibit at trial
                                                                                                                             Pichai, Sundar                                                                                                     depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                             Samat, Sameer
                                                                                                                           Rosenberg, Jamie
  TEMP2283       GOOG-PLAY4-001035796                               Email from R. Sarafa to A. Rubin re                     Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Google Apps Blog Post                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (12/20/2011)                                          Kleidermacher, Dave                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                           Kochikar Purnima                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                             Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                            Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                          Lockheimer, Hiroshi                                                                                                   exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                             Pichai, Sundar                                                                                                     defendants reserve the right to object to this exhibit at trial
                                                                                                                             Samat, Sameer                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                           Rosenberg, Jamie
                                                                                                                              Rubin, Andy
  TEMP2284       GOOG-PLAY4-001703880           PX 0891             Email from P. Brady to S. Gerun re                       Brady, Patrick                     Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    responding to Android Browser bugs                    Lockheimer, Hiroshi                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    (01/23/2014)                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                               158 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 189 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                           DISPUTED EXHIBITS




                                                                                                                   Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                                           Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2285       GOOG-PLAY4-002055627                               Rev Share Placement Requirements                    Kolotouros, Jim                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Presentation (08/04/2014)                                                                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2286       GOOG-PLAY4-002193650                               Email from K. Beatty to P. Kochikar               Kochikar, Purnima                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,        One or more witnesses have foundation to testify
                                                                    re Zeitgeist updates re Activition-                                                         unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the      concerning the exhibit; Exhibit does not contain hearsay
                                                                    Blizzard (10/30/2019)                                                                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                                                                                                                                                                        and/or a hearsay exception applies; Evidence’s probative
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay        value not substantially outweighed by danger of unfair
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Misleading; undue           prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).  delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                                                        cumulative evidence.
  TEMP2287       GOOG-PLAY4-002356905                               9/21/2017 email from S. Menon to                      Paul Gennai                           Defense to Plaintiffs' claims                                      Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                    A. Haneef                                                                                                                                                                       personal knowledge, Rule 901—proponent has not established          201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                    authenticity of the document, Rule 802—exhibit contains             (Rule 901), Not hearsay (Rule 801) and/or hearsay
                                                                                                                                                                                                                                                    inadmissible hearsay, Rule 402—exhibit is not relevant, Rule        objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                                                                                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                                    the jury, Rule 106—exhibit is unfairly incomplete, Foundation       403), Exhibit is properly complete (Rule 106),

  TEMP2288       GOOG-PLAY4-002489544           PX 1767             Google Carrier Facing "Android                        Gold, Jon                             Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Loyalty Narrative"                                 Rasanen, Kristen                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2289       GOOG-PLAY4-002914834           PX 2725             Email from R. Sheth to R. Roy-                       Pichai, Sundar                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    Chowdhury re [webstore-leads] re:                                                           unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                    30% or 5% rev share? (12/13/2013)                                                           tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).
  TEMP2290       GOOG-PLAY4-003752440                               Document titled, "event Titled:                    Harrison, Donald                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Roundtable breakfast with Don                                                               unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                    Harrison" (08/09/2018)                                                                      tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2291       GOOG-PLAY4-004092356           PX 0587             Email from A. Kumar to P. Gennai                     Gennai, Paul                           Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                    re Hiroshi Monthly Review:                         Rosenberg, Jamie                         unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                    Thursday Next Week (3/26/2019)                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Conditional objection;          danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                                    defendants reserve the right to object to this exhibit at trial         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    presenting cumulative evidence
                                                                                                                                                                                                                                                    Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;
                                                                                                                                                                                                                                                    confusion of issues; waste of time (Fed. R. Evid. 403).

  TEMP2292       GOOG-PLAY4-004249559           PX 0619             Document titled, "One-Pager on                      Kolotouros, Jim                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Hangouts for Jim K" (08/20/2015)                                                            unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2293       GOOG-PLAY4-004258208    PX0630 James Kolotouros    Presentation dated 2/2019 titled      Paul Gennai, Jim Kolotouros; Li, Christopher          Defendants: Defense to Plaintiffs' claims                     Plaintiff/Defendant   Plaintiffs: Rule 602—exhibit contains statements not based on           Defendant: Foundation/personal knowledge will be
                                                                    "Project Banyan Phase 1: Ecosystem                                                          Plaintiffs: Proof of Defendants’ liability for antitrust                            declarant’s personal knowledge, Rule 802—exhibit contains               established (Rules 201, 602, 901, 902), Not hearsay (Rule
                                                                    Overview"                                                                                   violations, unreasonable restraints of trade, unfair                                inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the      801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                                                                competition and/or tortious interference; proof of                                  issues and/or misleading to the jury                                    807), Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                Defendants’ discovery conduct; proof of appropriate                                 Defendant: Personal knowledge; lack of foundation (Fed. R. Evid.        Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                injunctive relief; proof of resulting damages; and/or proof                         602)., Hearsay; the exhibit is a statement made by one other than       concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                rebutting allegations in Defendants’ Answers and                                    the witness while testifying at trial, offered into evidence to prove   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                                                                Counterclaims against Plaintiffs                                                    the truth of the matter asserted, and not subject to any hearsay        one or more of Plaintiffs’ claims or defenses.
                                                                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802)., Cond; Relevance (Fed. R.
                                                                                                                                                                                                                                                    Evid. 402).
  TEMP2294       GOOG-PLAY4-004260189           PX 0600             Presentation re PEX & BC review:                  Cramer, Christian                         Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                    Google Distribution on Android                      Gennai, Paul                            unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                    Framework (6/2019)                                    Gold, Jon                             tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                      Harrison, Donald                          conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                       Kolotouros, Jim                          resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                     Lockheimer, Hiroshi                        Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                         Porat, Ruth                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                      Rosenberg, Jamie
                                                                                                                       Samat, Sameer




                                                                                                                                                               159 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 190 of 250                           JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                                            Sponsoring Witness(es)
Exhibit Number          Beg Bates         Deposition Exhibit Number           Name / Description                                                                                                Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                   Summary of Response (w/Authority)
  TEMP2295       GOOG-PLAY4-004261142      PX0617 James Kolotouros    Presentation dated 8/2019 titled        Jamie Rosenberg, Paul Gennai, Sameer Samat, Hiroshi      Defendant: Defense to Plaintiffs' claims                           Plaintiff        Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                      "MADA & RSA: Android                               Lockheimer, Jim Kolotouros                    Plaintiffs: Proof of Defendants’ liability for antitrust                            personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                                      Commercial Agreements"                                                                           violations, unreasonable restraints of trade, unfair                                hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or hearsay objection applies (Rules 803, 804, 807), Balance
                                                                                                                                                                       competition and/or tortious interference; proof of                                  misleading to the jury                                              favors admissibility (Rules 401, 403)
                                                                                                                                                                       Defendants’ discovery conduct; proof of appropriate
                                                                                                                                                                       injunctive relief; proof of resulting damages; and/or proof
                                                                                                                                                                       rebutting allegations in Defendants’ Answers and
                                                                                                                                                                       Counterclaims against Plaintiffs
  TEMP2296       GOOG-PLAY4-004275498             PX 1220             Email from J.Lagerling to J.Braddi                         Lagerling, John                       Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                      re Android/Mobile BD Update                                                                      unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; Exhibit is relevant to one or more of
                                                                      (10/21/2013)                                                                                     tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of              Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered    not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2297       GOOG-PLAY4-004502034                                 Document entitled Current Status of                         Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                      Play Subscriptions.                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2298       GOOG-PLAY4-004502231                                 Document entitled Current Status of                         Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                      Play Subscriptions.                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; One or more witnesses have foundation to
                                                                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the           hearsay and/or a hearsay exception applies
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2299       GOOG-PLAY4-004502584                                 Undated presentation titled "Play        Paul Gennai, Dave Kleidermacher, Jamie Rosenberg,    Defense to Plaintiffs' claims                                         Plaintiff        Rule 602—exhibit contains statements not based on declarant’s            Foundation/personal knowledge will be established (Rules
                                                                      Apps Consumer/Developer                Sameer Samat, Sebastian Porst, Hiroshi Lockheimer, Jim                                                                                        personal knowledge, Rule 901—proponent has not established               201, 602, 901, 902), Exhibit will be properly authenticated
                                                                      Combined Metrics Review"               Kolotouros, Purnima Kochikar, Paul Bankhead, Mrinalini                                                                                        authenticity of the document, Rule 403—unfairly prejudicial,             (Rule 901), Balance favors admissibility (Rules 401, 403),
                                                                                                                                Loew, Paul Feng                                                                                                            confusing the issues and/or misleading to the jury, Rule                 Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                           802—exhibit contains inadmissible hearsay, Foundation                    (Rules 803, 804, 807),
  TEMP2300       GOOG-PLAY4-004519372.R                               Amazon App Store Financial Risk                           Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                                      Assessment slide deck (6/2017)                               Gennai, Paul                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                  Harrison, Don                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                              Kleidermarcher, Dave                     conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay             one or more of Plaintiffs’ claims or defenses;
                                                                                                                               Kochikar, Purnima                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.
                                                                                                                                 Koh, Lawrence                         Defendants’ Answers and Counterclaims against Plaintiffs                            402)., Conditional objection; defendants reserve the right to object
                                                                                                                                 Kolotouros, Jim                                                                                                           to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                              Lockheimer, Hiroshi                                                                                                          seek to introduce it.
                                                                                                                                  Pichai, Sundar
                                                                                                                                Rosenberg, Jamie
                                                                                                                                 Samat, Sameer
  TEMP2301       GOOG-PLAY4-004529557             PX 0596             Email from P. Gennai to S.                                   Gennai, Paul                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in         Contains all parts that in fairness ought to be considered at
                                                                      Krishnamachari re PLay Distribution                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       the same time; Exhibit is relevant to one or more of
                                                                      Project (01/12/2019)                                                                             tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of              Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement     foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered    not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2302       GOOG-PLAY4-004529823        PX0586 Paul Gennai       Email from P. Gennai to S. Sayigh                            Paul Gennai                         Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                      and S. Ahmed re Hug vs. Banyan                                                                   Plaintiffs: Proof of Defendants’ liability for antitrust                            403—unfairly prejudicial, confusing the issues and/or misleading to objection applies (Rules 803, 804, 807), Balance favors
                                                                      (02/22/2019)                                                                                     violations, unreasonable restraints of trade, unfair                                the jury                                                                admissibility (Rules 401, 403)
                                                                                                                                                                       competition and/or tortious interference; proof of                                  Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                 ought, in fairness, to be considered contemporaneously (Fed. R          considered at the same time; Exhibit is relevant to one or
                                                                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                         .Evid. 106)., Relevance (Fed. R. Evid. 402)., Personal knowledge; more of Plaintiffs’ claims or defenses; One or more
                                                                                                                                                                       rebutting allegations in Defendants’ Answers and                                    lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      witnesses have foundation to testify concerning the exhibit;
                                                                                                                                                                       Counterclaims against Plaintiffs                                                    statement made by one other than the witness while testifying at        Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                                                           trial, offered into evidence to prove the truth of the matter asserted, applies.
                                                                                                                                                                                                                                                           and not subject to any hearsay exception (Fed. R. Evid. 801 and
                                                                                                                                                                                                                                                           802).
  TEMP2303       GOOG-PLAY4-004529847                                 Email from A. Kumar to P. Gennai                            Gennai, Paul                         Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      S. Sayigh et al. Re Hug vs. Banyan                                                               unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                      (02/28/2019)                                                                                     tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies.
                                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2304       GOOG-PLAY4-004532745                                 Presentation dated 1/28 titled "Soda       Paul Gennai; Purnima Kochikar; Sameer Samat           Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 403—unfairly prejudicial, confusing the issues       Defendant: Balance favors admissibility (Rules 401, 403)
                                                                      Strategy & Design Staff"                                                                         Plaintiffs: Proof of Defendants’ liability for antitrust                            and/or misleading to the jury                                          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                       violations, unreasonable restraints of trade, unfair                                 Rule 602—exhibit contains statements not based on declarant’s        201, 602, 901, 902)
                                                                                                                                                                       competition and/or tortious interference; proof of                                  personal knowledge                                                     Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                  Rule 802—exhibit contains inadmissible hearsay                       (Rules 803, 804, 807)
                                                                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                         Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                       rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time, One or more witnesses have
                                                                                                                                                                       Counterclaims against Plaintiffs                                                    .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit, Exhibit does
                                                                                                                                                                                                                                                           602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                                                                                                           the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                                                                                                           the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2305       GOOG-PLAY4-004687775                                 Presentation dated 6/2016 titled             Paul Gennai; Sameer Samat; Kirsten Rasanen          Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                      "Project Alley-Oop Launch Planning:                                                                                                                                                                                                                        (Rules 803, 804, 807)
                                                                      Beta Program Definition"




                                                                                                                                                                      160 of 220
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                                                                                                                                      DISPUTED EXHIBITS




                                                                                                           Sponsoring Witness(es)
Exhibit Number          Beg Bates         Deposition Exhibit Number           Name / Description                                                                    Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2306       GOOG-PLAY4-005626559      PX1816 Christopher Dury    Email from C. Dury to D. Lawee re       Christopher Dury             Defendant: Defense to Plaintiffs' claims                          Plaintiff     Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                      Android/ GetJar (03/19/2010)                                         Plaintiffs: Proof of Defendants’ liability for antitrust                        ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                           violations, unreasonable restraints of trade, unfair                            .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                           competition and/or tortious interference; proof of                              602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies.
                                                                                                                                           Defendants’ discovery conduct; proof of appropriate                             the witness while testifying at trial, offered into evidence to prove
                                                                                                                                           injunctive relief; proof of resulting damages; and/or proof                     the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                           rebutting allegations in Defendants’ Answers and                                exception (Fed. R. Evid. 801 and 802).
                                                                                                                                           Counterclaims against Plaintiffs
  TEMP2307       GOOG-PLAY4-006056228                                 Document titled: "Netflix/Sabrina     Lockheimer, Hiroshi            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Billing Integration proposal"                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      (08/26/2019)                                                         tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2308       GOOG-PLAY4-006407953             PX 1219             Email from J.Lagerling to A.Mathis       Lagerling, John             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      re Carrier Response to the new                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                      Google Play Model (04/12/2012)                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2309       GOOG-PLAY4-006696424             PX 1614                                                       Porat, Ruth                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                           unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                           402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                           time (Fed. R. Evid. 403).                                               presenting cumulative evidence
  TEMP2310       GOOG-PLAY4-006719444                                 Document entitled "Executive              Rubin, Andy                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Summary"                                                             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                           conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                           defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                           depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2311       GOOG-PLAY4-006955198             PX 1070             Email from C. Li to E. Chang re A        Li, Christopher             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                      fully executed contract has been                                     unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                      uploaded for the Motorola Mobility                                   tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                      LLC (02/27/2020)                                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies.
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802).
  TEMP2312       GOOG-PLAY4-007020192                                 Document titled, "Smart Reply           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                      PRD" (04/03/2018)                         Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                            Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                             Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                               Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                               Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                            Lockheimer, Hiroshi                                                                                            exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                Pichai, Sundar                                                                                             introduce it.
                                                                                                              Rosenberg, Jamie
                                                                                                               Samat, Sameer
  TEMP2313       GOOG-PLAY4-007215136.R                               Email from S. Karam to K. Wang J.        Kolotouros, Jim             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                      Rosenberg et al. Re Amazon Prime        Rosenberg, Jamie             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                      Instant Video finally comes to                                       tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                      Android (09/15/2014)                                                 conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                           Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                           exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                           introduce it.
  TEMP2314       GOOG-PLAY4-007234239                                 Amazon response plan May 2017             Gennai, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                      slide deck (5/2017)                     Kolotouros, Jim              unreasonable restraints of trade, unfair competition and/or                     foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                              Rosenberg, Jamie             tortious interference; proof of Defendants’ discovery                           made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                               Samat, Sameer               conduct; proof of appropriate injunctive relief; proof of                       into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies;
                                                                                                                                           resulting damages; and/or proof rebutting allegations in                        subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                           Defendants’ Answers and Counterclaims against Plaintiffs                        Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                           exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                           introduce it.
  TEMP2315       GOOG-PLAY4-007239946             PX 0599             Briefing re BC: GDAF (Google           Cramer, Christian             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           One or more witnesses have foundation to testify
                                                                      Distribution on Android Framework)       Gennai, Paul                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the         concerning the exhibit; Exhibit does not contain hearsay
                                                                      - evolution of RSA deals                   Gold, Jon                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                      (05/06/2019)                           Harrison, Donald              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                              Kolotouros, Jim              resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                              Li, Christopher              Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                            Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                Porat, Ruth
                                                                                                             Rosenberg, Jamie
                                                                                                              Samat, Sameer




                                                                                                                                          161 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 192 of 250    JOINT TRIAL EXHIBIT LIST
                                                                                                                                          DISPUTED EXHIBITS




                                                                                                               Sponsoring Witness(es)
Exhibit Number          Beg Bates         Deposition Exhibit Number           Name / Description                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2316       GOOG-PLAY4-007242364                                 Jim Kolotouros "Notes for Don"              Harrison, Donald             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      (05/08/2019)                                Kolotouros, Jim              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2317       GOOG-PLAY4-007423677.R           PX 0589             Email from P. Gennai to J.                    Gennai, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                      Rosenberg et al re Store                       Lim, Tian                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                      Collaboration (06/21/2019)                  Rosenberg, Jamie             tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                   Samat, Sameer               conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                               subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                               exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                               introduce it.
  TEMP2318       GOOG-PLAY4-007423757             PX 0590             Document titled, "Play Distribution //        Gennai, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                      Project Banyan Interview Notes"                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                      (00/2019)                                                                tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies.
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                               subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2319       GOOG-PLAY4-007453555                                 Document with filename, "Facebook            Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                      transition"                               Lockheimer, Hiroshi            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                 Rosenberg, Jamie              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                               depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2320       GOOG-PLAY4-007583038                                 Document titled, "Play Policy v2            Rosenberg, Jamie             Proof of Defendants’ liability for antitrust violations,         Defendant      Misleading; undue prejudice; confusion of issues; waste of time         Evidence’s probative value not substantially outweighed by
                                                                      Meeting Notes" (09/14/2018)                  Samat, Sameer               unreasonable restraints of trade, unfair competition and/or                     (Fed. R. Evid. 403)., Personal knowledge; lack of foundation (Fed. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                               tortious interference; proof of Defendants’ discovery                           R. Evid. 602)., Hearsay; the exhibit is a statement made by one         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       other than the witness while testifying at trial, offered into evidence presenting cumulative evidence; One or more witnesses
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        to prove the truth of the matter asserted, and not subject to any       have foundation to testify concerning the exhibit; Exhibit
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        hearsay exception (Fed. R. Evid. 801 and 802)., Conditional             does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                               objection; defendants reserve the right to object to this exhibit at    applies;
                                                                                                                                                                                                                               trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                               it.
  TEMP2321       GOOG-PLAY5-000073135                                 Google chat conversation                    Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      (10/28/2021)                                  Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                 Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                   Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                   Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                    Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                                  Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                   Samat, Sameer                                                                                               introduce it.
  TEMP2322       GOOG-PLAY5-000088223                                 Google Chat conversation                    Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      (05/19/2022)                               DiVento, Anthony              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                    Harrison, Don              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Opinion testimony by Lay Witness foundation to testify concerning the exhibit; Opinion, if any,
                                                                                                                 Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        (Fed. R. Evid. 701)., Hearsay; the exhibit is a statement made by       is rationally based on the author’s perception; is helpful to
                                                                                                                   Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        one other than the witness while testifying at trial, offered into      clearly understand testimony or determine a fact in issue;
                                                                                                                   Kolotouros, Jim                                                                                             evidence to prove the truth of the matter asserted, and not subject to and/or is not based on knowledge within the scope of Rule
                                                                                                                Lockheimer, Hiroshi                                                                                            any hearsay exception (Fed. R. Evid. 801 and 802)., Conditional         702; Exhibit does not contain hearsay and/or a hearsay
                                                                                                                    Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at    exception applies;
                                                                                                                  Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                   Samat, Sameer                                                                                               it.
  TEMP2323       GOOG-PLAY5-000112475                                 Messages between Google                        Gennai, Paul              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      Employees re is there a 1P app that                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                      has in-app purchase revenue?                                             tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                               resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                               exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                               402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                               time (Fed. R. Evid. 403).                                               presenting cumulative evidence
  TEMP2324       GOOG-PLAY5-000160237                                 Google Chat conversation                     Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                      (03/24/2021)                                    Chu, Eric                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                    Harrison, Don              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                 Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                   Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                   Kolotouros, Jim                                                                                             subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                                    Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                  Rosenberg, Jamie                                                                                             introduce it.
                                                                                                                   Samat, Sameer




                                                                                                                                              162 of 220
                                                               Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 193 of 250
                                                                                                                           JOINT TRIAL EXHIBIT LIST
                                                                                                                             DISPUTED EXHIBITS




                                                                                                  Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number          Name / Description                                                              Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2325       GOOG-PLAY5-000161588                               Google Chat conversation            Feng, Paul                Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/10/2021)                      Karam, Sarah                unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                    Marchak, Michael              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Ostrowski, Tristan            conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                  subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                  Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                  exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                  introduce it.
  TEMP2326       GOOG-PLAY5-000163578                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (11/09/2022)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                      Lam, Margaret                                                                                               Conditional objection; defendants reserve the right to object to this
                                                                                                       Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                     Rosenberg, Jamie                                                                                             introduce it.
                                                                                                      Samat, Sameer
  TEMP2327       GOOG-PLAY5-000163640                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (10/27/2020)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                       Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                     Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                      Samat, Sameer                                                                                               introduce it.
  TEMP2328       GOOG-PLAY5-000163892                               Email re gmscore-uberleads.       Bankhead, Paul              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                                  unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                  tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                  resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay           Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.       danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                  402)., Misleading; undue prejudice; confusion of issues; waste of      the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                  time (Fed. R. Evid. 403).                                              presenting cumulative evidence
  TEMP2329       GOOG-PLAY5-000164222                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (01/08/2021)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                       Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                     Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                      Samat, Sameer                                                                                               introduce it.
  TEMP2330       GOOG-PLAY5-000168578                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (11/14/2022)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                       Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                     Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                      Samat, Sameer                                                                                               introduce it.
  TEMP2331       GOOG-PLAY5-000168593                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (11/14/2022)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                       Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                     Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                      Samat, Sameer                                                                                               introduce it.
  TEMP2332       GOOG-PLAY5-000362732                               Google Chat conversation         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (08/26/2020)                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                   Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                       Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                     Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                      Samat, Sameer                                                                                               introduce it.




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                                                                                                                         JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number          Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2333       GOOG-PLAY5-000364253                               Google Chat conversation       Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/08/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2334       GOOG-PLAY5-000364738                               Google Chat conversation       Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/17/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Misleading; undue prejudice;           Plaintiffs’ claims or defenses; Evidence’s probative value
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       confusion of issues; waste of time (Fed. R. Evid. 403)., Personal      not substantially outweighed by danger of unfair prejudice,
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        knowledge; lack of foundation (Fed. R. Evid. 602)., Hearsay; the       confusing the issues, misleading the jury, undue delay,
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        exhibit is a statement made by one other than the witness while        wasting time, and/or needlessly presenting cumulative
                                                                                                    Lam, Margaret                                                                                               testifying at trial, offered into evidence to prove the truth of the   evidence; One or more witnesses have foundation to testify
                                                                                                 Lockheimer, Hiroshi                                                                                            matter asserted, and not subject to any hearsay exception (Fed. R. concerning the exhibit; Exhibit does not contain hearsay
                                                                                                     Pichai, Sundar                                                                                             Evid. 801 and 802)., Conditional objection; defendants reserve the and/or a hearsay exception applies;
                                                                                                   Rosenberg, Jamie                                                                                             right to object to this exhibit at trial depending on the purpose for
                                                                                                    Samat, Sameer                                                                                               which plaintiffs seek to introduce it.

  TEMP2335       GOOG-PLAY5-000366760                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (08/19/2020)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2336       GOOG-PLAY5-000374364                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (02/16/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Lam, Margaret                                                                                               subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer
  TEMP2337       GOOG-PLAY5-000374365                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/21/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Lam, Margaret                                                                                               subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer
  TEMP2338       GOOG-PLAY5-000375854                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (11/13/2020)                 Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                     Harrison, Don              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                 Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                  Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Kolotouros, Jim                                                                                             subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer
  TEMP2339       GOOG-PLAY5-000382012                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/19/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2340       GOOG-PLAY5-000383187                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (07/16/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.




                                                                                                                               164 of 220
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                                                                                                                         JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number          Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2341       GOOG-PLAY5-000383422                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (11/19/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2342       GOOG-PLAY5-000383657                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (04/26/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2343       GOOG-PLAY5-000383680                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (08/16/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2344       GOOG-PLAY5-000389029                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/28/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2345       GOOG-PLAY5-000389042                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/28/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2346       GOOG-PLAY5-000389043                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/28/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2347       GOOG-PLAY5-000394430                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (10/02/2020)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2348       GOOG-PLAY5-000401049                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/04/2020)                 Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                     Harrison, Don              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                 Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                  Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Kolotouros, Jim                                                                                             subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer




                                                                                                                               165 of 220
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                                                                                                                         JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number          Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2349       GOOG-PLAY5-000408349                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (08/30/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2350       GOOG-PLAY5-000423751                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (12/20/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2351       GOOG-PLAY5-000433345                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (09/06/2022)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Lam, Margaret                                                                                               subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer
  TEMP2352       GOOG-PLAY5-000436389                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (07/14/2021)                 Cunningham, Edward             unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                     Harrison, Don              tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                 Kleidermarcher, Dave           conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                  Kochikar, Purnima             resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                    Kolotouros, Jim                                                                                             subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                 Lockheimer, Hiroshi                                                                                            Conditional objection; defendants reserve the right to object to this
                                                                                                     Pichai, Sundar                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                   Rosenberg, Jamie                                                                                             introduce it.
                                                                                                    Samat, Sameer
  TEMP2353       GOOG-PLAY5-000453593           PX 2731             Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (10/12/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2354       GOOG-PLAY5-000473143                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/01/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2355       GOOG-PLAY5-000477797                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (09/10/2020)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.
  TEMP2356       GOOG-PLAY5-000482224                               Google Chat conversation        Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                    (03/10/2021)                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        into evidence to prove the truth of the matter asserted, and not
                                                                                                 Lockheimer, Hiroshi                                                                                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                     Pichai, Sundar                                                                                             Conditional objection; defendants reserve the right to object to this
                                                                                                   Rosenberg, Jamie                                                                                             exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                    Samat, Sameer                                                                                               introduce it.




                                                                                                                               166 of 220
                                                                  Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 197 of 250            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number           Name / Description                                                                                    Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2357       GOOG-PLAY5-000487184                                Google Chat conversation                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (05/11/2021)                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                  Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                    Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                    Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          into evidence to prove the truth of the matter asserted, and not
                                                                                                                 Lockheimer, Hiroshi                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                     Pichai, Sundar                                                                                                       Conditional objection; defendants reserve the right to object to this
                                                                                                                   Rosenberg, Jamie                                                                                                       exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                    Samat, Sameer                                                                                                         introduce it.
  TEMP2358       GOOG-PLAY5-000495759                                Google Chat conversation                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (08/19/2020)                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                  Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                    Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                    Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          into evidence to prove the truth of the matter asserted, and not
                                                                                                                 Lockheimer, Hiroshi                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                     Pichai, Sundar                                                                                                       Conditional objection; defendants reserve the right to object to this
                                                                                                                   Rosenberg, Jamie                                                                                                       exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                    Samat, Sameer                                                                                                         introduce it.
  TEMP2359       GOOG-PLAY5-000495760                                Google Chat conversation                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (02/17/2021)                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                  Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                    Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                    Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          into evidence to prove the truth of the matter asserted, and not
                                                                                                                 Lockheimer, Hiroshi                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                     Pichai, Sundar                                                                                                       Conditional objection; defendants reserve the right to object to this
                                                                                                                   Rosenberg, Jamie                                                                                                       exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                    Samat, Sameer                                                                                                         introduce it.
  TEMP2360       GOOG-PLAY5-000500320                                Chat between E. Garber and T.                Ostrowski, Tristan                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Ostrowski (01/26/2021)                                                             unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                          Evid. 402).; Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                          of time (Fed. R. Evid. 403).                                           presenting cumulative evidence.
  TEMP2361       GOOG-PLAY5-000500584                                Chat between E. Garber and T.                 Ostrowski, Tristan                   Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     Ostrowski (03/17/2022)                                                             unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;           testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay           Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Cond; Relevance (Fed. R. danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                                          Evid. 402).; Misleading; undue prejudice; confusion of issues; waste the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                                          of time (Fed. R. Evid. 403).                                           presenting cumulative evidence.
  TEMP2362       GOOG-PLAY5-000505705                                Google Chat conversation                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (07/14/2021)                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                  Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                    Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                    Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          into evidence to prove the truth of the matter asserted, and not
                                                                                                                 Lockheimer, Hiroshi                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                     Pichai, Sundar                                                                                                       Conditional objection; defendants reserve the right to object to this
                                                                                                                   Rosenberg, Jamie                                                                                                       exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                    Samat, Sameer                                                                                                         introduce it.
  TEMP2363       GOOG-PLAY5-000512579                                Google Chat conversation                      Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                     (01/28/2021)                                    Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                 Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                  Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                    Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                    Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          into evidence to prove the truth of the matter asserted, and not
                                                                                                                 Lockheimer, Hiroshi                                                                                                      subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                     Pichai, Sundar                                                                                                       Conditional objection; defendants reserve the right to object to this
                                                                                                                   Rosenberg, Jamie                                                                                                       exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                    Samat, Sameer                                                                                                         introduce it.
  TEMP2364        MATCH-EVG_00000042                                 Undated document titled "Match       Shar Dubey, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     Information Requests"                                                              counterclaims                                                                     personal knowledge                                                     201, 602, 901, 902)
  TEMP2365        MATCH-EVG_00000045                                 Undated document titled "OKCupid     Shar Dubey, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     Information Requests"                                                              counterclaims                                                                     personal knowledge                                                     201, 602, 901, 902)
  TEMP2366        MATCH-EVG_00000047                                 Undated document titled "Plenty of   Shar Dubey, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     Fish Information Requests"                                                         counterclaims                                                                     personal knowledge                                                     201, 602, 901, 902)
  TEMP2367        MATCH-EVG_00000058      DX0773 - Gary Swidler      Undated document titled "Tinder      Shar Dubey, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s          Foundation/personal knowledge will be established (Rules
                                                                     Information Requests"                                                              counterclaims                                                                     personal knowledge                                                     201, 602, 901, 902)
  TEMP2368       MATCHGOOGLE00002805      DX0779 Gary Swidler        8/6/2019 email from J. Sacco to M.        Gary Swidler, Shar Dubey                 Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     Ginsberg, G. Swidler, S. Dubey, L.                                                 counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing        admissibility (Rules 401, 403), Foundation/personal
                                                                     Barton                                                                                                                                                               the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                          statements not based on declarant’s personal knowledge, Rule           Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                          802—exhibit contains inadmissible hearsay                              (Rules 803, 804, 807)

  TEMP2369       MATCHGOOGLE00002865    DX0886 - Sharmistha Dubey    11/3/2016 Email from A. Chen to N.               Shar Dubey                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant                                       Exhibit is relevant (Rules 401, 402)
                                                                     Saretzky and S. Dubey                                                              counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or             Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                          misleading to the jury




                                                                                                                                                       167 of 220
                                                                   Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 198 of 250          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                                   Sponsoring Witness(es)
Exhibit Number         Beg Bates          Deposition Exhibit Number               Name / Description                                                                             Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2370       MATCHGOOGLE00007456                                      Email re Any update?                          Foster, Peter                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       Barras, Brandon                 unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time, One or more witnesses have foundation to
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2371       MATCHGOOGLE00007460                                      Document entitled Google/Match                Foster, Peter                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                          AVP Issues List.                                                             unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP2372       MATCHGOOGLE00007500         DX0847 Peter Foster          3/5/2021 email from B. Barras to P.    Brandon Barras, Peter Foster          Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                          Foster                                                                       counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                         the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                         inadmissible hearsay
  TEMP2373       MATCHGOOGLE00007518                                      Email re Match | AVP - Contracts              Foster, Peter                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                          for Review.                                  Barras, Brandon                 unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                        Karam, Sarah                   tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2374       MATCHGOOGLE00007630                                      Email re Match | Google Follow Up            Barras, Brandon                 Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                          [Dec].                                        Foster, Peter                  unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                        Karam, Sarah                   tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2375       MATCHGOOGLE00007718         DX0767 Gary Swidler          10/9/2020 email from I.                Gary Swidler; Peter Foster,           Defense to Plaintiffs' claims; proof of Match's liability for      Plaintiffs     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                          Ponnambalam to P. Foster, G.                                                 counterclaims                                                                     personal knowledge                                                      201, 602, 901, 902); Not hearsay (Rule 801) and/or
                                                                          Swidler                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                          hearsay objection applies (Rules 803, 804, 807)
  TEMP2376       MATCHGOOGLE00007745                                      7/1/2020 Email from I.                  Peter Foster; Adrian Ong             Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant                                        Exhibit is relevant (Rules 401, 402)
                                                                          Ponnambalam to P. Foster                                                     counterclaims
  TEMP2377       MATCHGOOGLE00012487             DX0933 Ong               8/20/2019 email from A. Ong to S.        Adrian Ong, Shar Dubey              Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                          Dubey and E. Seidman                                                                                                                                           needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                         the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                         inadmissible hearsay
  TEMP2378       MATCHGOOGLE00012606                                      Slide deck titled , "Google Play               Ong, Adrian                   Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                          Billing Discussion - Match Group"                                            unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                          (10/2017 )                                                                   tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating.
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          not been properly authenticated (Fed. R. Evid. 901).

  TEMP2379       MATCHGOOGLE00013370      DX0889 - Sharmistha Dubey;      9/18/2018 Email from A. Ong to S.        Shar Dubey, Adrian Ong              Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or            Balance favors admissibility (Rules 401, 403)
                                            DX0921 - Adrian Ong           Dubey                                                                        counterclaims                                                                     misleading to the jury
  TEMP2380       MATCHGOOGLE00014598                                      10/5/2018 Email from I. Purves to              Adrian Ong                    Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                          A. Ong                                                                       counterclaims                                                                     personal knowledge                                                    201, 602, 901, 902)
  TEMP2381       MATCHGOOGLE00017879         DX0770 Gary Swidler          7/17/2017 email from A. Chen to A.            Gary Swidler                   Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                          Thombre and G. Swidler                                                       counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                         the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                         inadmissible hearsay
  TEMP2382       MATCHGOOGLE00021308         DX0786 Gary Swidler          7/11/2017 email from J. Core to R.            Gary Swidler                   Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                          Ladhabhoy and G. Swidler                                                     counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                         the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                         inadmissible hearsay
  TEMP2383       MATCHGOOGLE00022132                                      Email from G. Galyan to P. Foster re          Foster, Peter                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                          Google Play Follow Up: Tinder -                                              unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                          Dating & Make Friends                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                          (04/28/2022)                                                                 conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP2384       MATCHGOOGLE00022154                                      Email from G. Galyan to P. Foster re          Foster, Peter                  Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                          Google Play Follow Up: OurTime:                                              unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                          Dating App for 50+ & Match:                                                  tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                          Dating App for singles (04/25/2022)                                          conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).
  TEMP2385       MATCHGOOGLE00022225   DX0846 Peter Foster, DX0780 Gary   Presentation dated 2/2020 titled       Gary Swidler; Peter Foster,           Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                   Swidler                "Match Group x Google Program                                                counterclaims                                                                     personal knowledge                                                    201, 602, 901, 902)
                                                                          Update"                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                               (Rules 803, 804, 807)




                                                                                                                                                      168 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 199 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                                     DISPUTED EXHIBITS




                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2386       MATCHGOOGLE00022241                               Email from J. Acosta to I. Purves re     Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                   Fwd: Action Required: Your app is          Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                   not compliant with Google Play             Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                   Policies (OKCupid: Online Dating                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                   App) (04/29/2022)                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP2387       MATCHGOOGLE00022369                               Document entitled Match.com              Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                    Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2388       MATCHGOOGLE00022394                               Document entitled Match.com              Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                    Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2389       MATCHGOOGLE00022401                               Document entitled Welcome to             Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Tinder, Operated By Match Group,           Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   LLC.                                       Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2390       MATCHGOOGLE00022418                               Document entitled Terms and              Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Conditions.                                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2391       MATCHGOOGLE00022441                               Document entitled Legal                  Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Information.                               Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2392       MATCHGOOGLE00022460                               Document entitled PlentyOfFish           Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                    Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2393       MATCHGOOGLE00022567                               Document entitled PlentyOfFish           Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                    Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2394       MATCHGOOGLE00022583                               Document entitled Match.com              Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                    Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.
  TEMP2395       MATCHGOOGLE00022588                               Document entitled Terms of Use.          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                              Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                          objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                          trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                          it.




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                                                                                                                               JOINT TRIAL EXHIBIT LIST
                                                                                                                                 DISPUTED EXHIBITS




                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number          Name / Description                                                                   Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                Summary of Response (w/Authority)
  TEMP2396       MATCHGOOGLE00022602                               Document entitled Match.com          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2397       MATCHGOOGLE00022619                               Document entitled Terms and          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Conditions People Media Terms of       Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   Use Agreement.                         Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2398       MATCHGOOGLE00022637                               Document entitled Match.com          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2399       MATCHGOOGLE00022663                               Document entitled PlentyOfFish       Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2400       MATCHGOOGLE00022669                               Document entitled Terms and          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Conditions People Media Terms of       Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                   Use Agreement.                         Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2401       MATCHGOOGLE00022716                               Document entitled Terms of Use.      Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                          Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2402       MATCHGOOGLE00022734                               Document entitled PlentyOfFish       Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2403       MATCHGOOGLE00022761                               Document entitled Match.com          Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Terms of Use Agreement.                Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.
  TEMP2404       MATCHGOOGLE00022779                               Document entitled Terms of Use.      Dubey, Sharmistha             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                          Foster, Peter               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Ong, Adrian                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                      it.




                                                                                                                                     170 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 201 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                             DISPUTED EXHIBITS




                                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number            Name / Description                                                                                              Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2405       MATCHGOOGLE00022843   PX2703 Diana Garcia Rios     Undated spreadsheet with Google        Sharmistha Dubey; Peter Foster; Adrian Ong; Barras,    Defendant: Defense to Plaintiffs' claims; proof of Match's      Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—wasting        Defendant: Exhibit is relevant (Rules 401, 402), Balance
                                                                    and Match partnerhsip data                                 Brandon                            liability for counterclaims                                                           time and/or needlessly cumulative, Rule 403—unfairly prejudicial, favors admissibility (Rules 401, 403)
                                                                                                                          Garcia Rios, Diana                      Plaintiffs: Proof of Defendants’ liability for antitrust                              confusing the issues and/or misleading to the jury                    Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                                                                  violations, unreasonable restraints of trade, unfair                                  Defendants: Personal knowledge; lack of foundation (Fed. R. Evid. concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                                  competition and/or tortious interference; proof of                                    602)., Hearsay; the exhibit is a statement made by one other than     and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                                  Defendants’ discovery conduct; proof of appropriate                                   the witness while testifying at trial, offered into evidence to prove proponent claims it is and/or is self-authenticating;
                                                                                                                                                                  injunctive relief; proof of resulting damages; and/or proof                           the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                  rebutting allegations in Defendants’ Answers and                                      exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                  Counterclaims against Plaintiffs                                                      not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                                        it
  TEMP2406       MATCHGOOGLE00025779       DX0938 AJ Cihla          1/21/2020 email from A. Cihla to G.                         AJ Cihla                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    Girotra                                                                                       counterclaims                                                                         needlessly cumulative, Rule 802—exhibit contains inadmissible         admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                        hearsay                                                               and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP2407       MATCHGOOGLE00030758       DX0943 AJ Cihla          12/17/2019 email from A. Cihla to                           AJ Cihla                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or        Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    R. Deng                                                                                       counterclaims                                                                         needlessly cumulative, Rule 802—exhibit contains inadmissible         admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                        hearsay                                                               and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP2408       MATCHGOOGLE00033199       DX0942 AJ Cihla          10/9/2018 email from J. Banafsheha                          AJ Cihla                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    to A. Cihla                                                                                   counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902)
  TEMP2409       MATCHGOOGLE00034092       DX0944 AJ Cihla          11/26/2018 email from T. Jacques to                         AJ Cihla                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    A. Cihla                                                                                      counterclaims                                                                         confusing the issues and/or misleading to the jury, Rule              admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                        802—exhibit contains inadmissible hearsay                             and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP2410       MATCHGOOGLE00035298      DX0841 Peter Foster       5/23/2019 email from A. Cihla to J.                       Peter Foster                        Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    Ciesla                                                                                        counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902)
                                                                                                                                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                              (Rules 803, 804, 807)
  TEMP2411       MATCHGOOGLE00040928                                Email re FW: Google - Match Sync.                      Dubey, Sharmistha                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      102, One or more witnesses have foundation to testify
                                                                                                                                                                  unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          and/or a hearsay exception applies
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).
  TEMP2412       MATCHGOOGLE00040970                                Email from googleplay-developer-                       Dubey, Sharmistha                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    support to J. Dao re Re: Payment                         Foster, Peter                        unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                    Extension Form Application - Auto                        Ong, Adrian                          tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                    Response [3-6263000031703]                                                                    conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                    (08/17/2021)                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2413       MATCHGOOGLE00046884   DX0887 Sharmistha Dubey      7/11/2017 email from S. Stevens to                        Shar Dubey                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    J. Morris, S. Dubey                                                                           counterclaims                                                                                                                                               (Rules 803, 804, 807)
  TEMP2414       MATCHGOOGLE00049070   DX0885 Sharmistha Dubey      [HC] 2016 internal Match email                            Shar Dubey                          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                    noting intent to not move to GPB                                                              counterclaims                                                                                                                                               (Rules 803, 804, 807)
  TEMP2415       MATCHGOOGLE00050363     DX0854 - Peter Foster      10/9/2020 Email from I. Purves to P.                Peter Foster; Adrian Ong                  Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiffs       Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                    Foster                                                                                        counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902); Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                        hearsay objection applies (Rules 803, 804, 807)
  TEMP2416       MATCHGOOGLE00050382                                Email re Follow up.                                      Foster, Peter                        Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      102, One or more witnesses have foundation to testify
                                                                                                                           Kochikar, Purnima                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                             Karam, Sarah                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          and/or a hearsay exception applies
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2417       MATCHGOOGLE00052305       DX0979 Ian Purves        3/18/2021 email from B. Barras to                          Ian Purves                         Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,       Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    P. Foster                                                                                     counterclaims                                                                         confusing the issues and/or misleading to the jury, Rule               admissibility (Rules 401, 403), Deposition;
                                                                                                                                                                                                                                                        403—wasting time and/or needlessly cumulative; Deposition;             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                        Foundation                                                             201, 602, 901, 902), Depositions from Epic v. Apple are
                                                                                                                                                                                                                                                                                                                               not part of pre-trial submissions exchange process; any
                                                                                                                                                                                                                                                                                                                               portions of this exhibit entered into evidence will be party
                                                                                                                                                                                                                                                                                                                               admissions or otherwise admissible testimony

  TEMP2418       MATCHGOOGLE00052828      DX0855 Peter Foster       1/20/2021 email from P. Foster to B.              Brandon Barras, Peter Foster                Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    Barras                                                                                        counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                        the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                                        inadmissible hearsay, Foundation                                      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                              201, 602, 901, 902)
  TEMP2419       MATCHGOOGLE00052850                                Email re Match | Google Follow Up                        Foster, Peter                        Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                    [Dec].                                                  Barras, Brandon                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                  tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                  conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                  resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                  Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                        defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                        depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2420       MATCHGOOGLE00053644                                11/4/2020 email from J. Sacco to B.        Brandon Barras, Peter Foster, Sarah Karam          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                    Barras, S. Karam                                                                              counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                        the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                        inadmissible hearsay




                                                                                                                                                                 171 of 220
                                                                        Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 202 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                       DISPUTED EXHIBITS




                                                                                                                                   Sponsoring Witness(es)
Exhibit Number         Beg Bates             Deposition Exhibit Number                  Name / Description                                                                                            Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2421       MATCHGOOGLE00054280                                            10/1/2020 Email from P. Foster to                Peter Foster; Brandon Barras               Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiffs       Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                                B. Barras                                                                                   counterclaims                                                                         personal knowledge                                                    201, 602, 901, 902); Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                        hearsay objection applies (Rules 803, 804, 807)
  TEMP2422       MATCHGOOGLE00054991             DX0844 Peter Foster            7/27/2020 email from P. Foster to J.                      Peter Foster                      Defendants: Defense to Plaintiffs' claims; proof of                  Plaintiff        Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                Ciesla                                                                                      Match's liability for counterclaims                                                   ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                            Plaintiffs: Proof of Defendants’ liability for antitrust                              .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                            violations, unreasonable restraints of trade, unfair                                  602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                            competition and/or tortious interference; proof of                                    the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                            Defendants’ discovery conduct; proof of appropriate                                   the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                            injunctive relief; proof of resulting damages; and/or proof                           exception (Fed. R. Evid. 801 and 802).
                                                                                                                                                                            rebutting allegations in Defendants’ Answers and
                                                                                                                                                                            Counterclaims against Plaintiffs
  TEMP2423       MATCHGOOGLE00057095                                            3/14/2022 Email from P. Foster to                        Foster, Peter                      Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiffs       Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                                K. Wiler                                                                                    counterclaims                                                                         personal knowledge                                                  201, 602, 901, 902); Not hearsay (Rule 801) and/or
                                                                                                                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                      hearsay objection applies (Rules 803, 804, 807)
  TEMP2424       MATCHGOOGLE00057349            DX0857 - Peter Foster           6/11/2021 Email from P. Foster to J.                 Peter Foster, AJ Cihla                 Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiffs       Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                                Ciesla, A. Cihla, D. Wyler, M.                                                              counterclaims                                                                         personal knowledge                                                  201, 602, 901, 902); Not hearsay (Rule 801) and/or
                                                                                Bloom, J. Dao                                                                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                      hearsay objection applies (Rules 803, 804, 807)
  TEMP2425       MATCHGOOGLE00070518            DX0771 Gary Swidler             Undated presentation titled "match                 Gary Swidler, Shar Dubey                 Defense to Plaintiffs' claims                                        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                group Apple App Store Meeting"                                                                                                                                                    needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                                  statements not based on declarant’s personal knowledge, Rule        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  802—exhibit contains inadmissible hearsay                           (Rules 803, 804, 807)

  TEMP2426       MATCHGOOGLE00080721             DX0924 Adrian Ong              6/27/2018 email from P. Kochikar to      Adrian Ong, Purnima Kochikar, Brandon Barras       Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                A. Ong, B. Barras                                                                           counterclaims                                                                                                                                                (Rules 803, 804, 807)
  TEMP2427       MATCHGOOGLE00080723             DX0931 Adrian Ong              May 2018 Google/Match email                     Adrian Ong; Purnima Kochikar                Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                         Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                regarding Match compliance with                                                             counterclaims                                                                                                                                                (Rules 803, 804, 807)
                                                                                Payment policy
  TEMP2428       MATCHGOOGLE00080875                DX0919 Ong                  7/17/2019 email from A. Cihla to A.                       Adrian Ong                        Defense to Plaintiffs' claims                                        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                Ong                                                                                                                                                                               needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  inadmissible hearsay
  TEMP2429       MATCHGOOGLE00081178                DX0934 Ong                  1/26/2019 email from A. Ong to C.                         Adrian Ong                        Defense to Plaintiffs' claims                                        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                Oliver                                                                                                                                                                            needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  inadmissible hearsay
  TEMP2430       MATCHGOOGLE00081233             DX0972 Purves, Ian             10/19/2018 email from I.                            Ian Purves, Adrian Ong                  Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                Ponnambalam to A. Ong                                                                       counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                                  inadmissible hearsay
  TEMP2431       MATCHGOOGLE00081270             DX0926 Adrian Ong              7/2/2018 email from A. Ong to S.                   Adrian Ong, Shar Dubey                   Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                Dubey                                                                                       counterclaims                                                                                                                                               (Rules 803, 804, 807)
  TEMP2432       MATCHGOOGLE00081784                                            12/8/2017 email from A. Ong to B.                 Brandon Barras, Adrian Ong                Defendants: Defense to Plaintiffs' claims; proof of             Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—wasting        Defendants: Exhibit is relevant (Rules 401, 402), Balance
                                                                                Barras RE: Match Group | Play                                                               Match's liability for counterclaims                                                   time and/or needlessly cumulative, Rule 403—unfairly prejudicial, favors admissibility (Rules 401, 403)
                                                                                [GPB Next Steps].                                                                           Plantiffs: Proof of Defendants’ liability for antitrust                               confusing the issues and/or misleading to the jury                    Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                            violations, unreasonable restraints of trade, unfair                                  Defendants: Incomplete; the introduction of any remaining portions considered at the same time; One or more witnesses have
                                                                                                                                                                            competition and/or tortious interference; proof of                                    ought, in fairness, to be considered contemporaneously (Fed. R        foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                            Defendants’ discovery conduct; proof of appropriate                                   .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. not contain hearsay and/or a hearsay exception applies
                                                                                                                                                                            injunctive relief; proof of resulting damages; and/or proof                           602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                                            rebutting allegations in Defendants’ Answers and                                      the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                            Counterclaims against Plaintiffs                                                      the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2433       MATCHGOOGLE00081897             DX0973 Ian Purves              10/24/2017 email from B. Barras to          Adrian Ong, Ian Purves, Brandon Barras          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 106—exhibit is unfairly incomplete                               Exhibit is properly complete (Rule 106)
                                                                                A. Ong, I. Purves                                                                           counterclaims                                                                          Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                                                                        (Rules 803, 804, 807)
  TEMP2434       MATCHGOOGLE00081996                                            Email re Re: follow up.                                Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                                                                            unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                                                                            tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies
                                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2435       MATCHGOOGLE00082270            DX0787 Gary Swidler             9/29/2017 email from I.                      Adrian Ong, Shar Dubey, Gary Swidler           Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant                                      Exhibit is relevant (Rules 401, 402)
                                                                                Ponnambalam to Mandy Ginsburg                                                               counterclaims
                                                                                and others
  TEMP2436       MATCHGOOGLE00082607             DX0922 Adrian Ong              6/14/2017 email from Y. Meng to A.                        Adrian Ong                        Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                Ong, S. Stevens                                                                             counterclaims                                                                                                                                               (Rules 803, 804, 807)
  TEMP2437       MATCHGOOGLE00087739             DX0928 Adrian Ong              6/19/2018 email from A. Ong to P.      Ian Purves, Adrian Ong, Purnima Kochikar, Brandon    Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                Kochikar, B. Barras                                          Barras                         counterclaims                                                                                                                                               (Rules 803, 804, 807)
  TEMP2438       MATCHGOOGLE00088001                                            Email from I. Purves to A. Ong re                          Ong, Adrian                      Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                Fwd: (P&C) Google Play Gaps                                                                 unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                (03/01/2022)                                                                                tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                            conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                                            resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                            Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2439       MATCHGOOGLE00088011   DX0977 Purves, Ian; DX0849 Peter Foster 5/29/2020 email from I. Purves to              Ian Purves, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                               M. Lofthouse and M. Hobley                                                                   counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                                                  inadmissible hearsay, Foundation                                      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                                        201, 602, 901, 902)
  TEMP2440       MATCHGOOGLE00090556             DX0974 Purves, Ian             10/5/2018 email from R. Reddi to A.                 Ian Purves, Adrian Ong                  Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                Ong                                                                                         counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                                  statements not based on declarant’s personal knowledge, Rule          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                  802—exhibit contains inadmissible hearsay, Foundation                 (Rules 803, 804, 807),




                                                                                                                                                                           172 of 220
                                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 203 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                             Sponsoring Witness(es)
Exhibit Number         Beg Bates           Deposition Exhibit Number                  Name / Description                                                                                          Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2441       MATCHGOOGLE00091044                                          Email from I. Purves to R. Lo re RE:                 Ong, Adrian                          Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                              Mandatory GPB Update                                                                      unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                              (07/31/2018)                                                                              tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies.
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).
  TEMP2442       MATCHGOOGLE00096743   PX1603 - Sarah Karam, Brandon Barras   8/13/2021 Email from B. Barras to      Sarah Karam, Brandon Barras; Peter Foster          Defendants: Defense to Plaintiffs' claims; proof of                 Plaintiff     Defendants: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                              P. Foster and I. Purves                                                                   Match's liability for counterclaims                                               ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                        Plaintiffs: Proof of Defendants’ liability for antitrust                          .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                        violations, unreasonable restraints of trade, unfair                              602)., Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                        competition and/or tortious interference; proof of                                the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                                        Defendants’ discovery conduct; proof of appropriate                               the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                        injunctive relief; proof of resulting damages; and/or proof                       exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                        rebutting allegations in Defendants’ Answers and                                  defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                        Counterclaims against Plaintiffs                                                  depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2443       MATCHGOOGLE00102244          DX0772 Gary Swidler             Undated presentation titled "Match             Gary Swidler, Shar Dubey                   Defense to Plaintiffs' claims                                       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s         Foundation/personal knowledge will be established (Rules
                                                                              Group Meeting"                                                                                                                                                              personal knowledge, Rule 402—exhibit is not relevant, Rule            201, 602, 901, 902), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                                                          403—wasting time and/or needlessly cumulative, Rule                   Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                                                                                                                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                                                                          the jury, Rule 802—exhibit contains inadmissible hearsay,             804, 807),
                                                                                                                                                                                                                                                          Foundation
  TEMP2444       MATCHGOOGLE00102989          DX0782 Gary Swidler             5/2/2017 email from A. Chen to G.                    Gary Swidler                         Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              Swidler                                                                                                                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2445       MATCHGOOGLE00104978          DX0784 Gary Swidler             5/2/2022 email from G. Swidler to                    Gary Swidler                         Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              D. Harrison                                                                               counterclaims                                                                     needlessly cumulative, Rule 802—exhibit contains inadmissible         admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                                          hearsay                                                               and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP2446       MATCHGOOGLE00105397                                          Document entitled "Cancel                         Dubey, Sharmistha                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                              Subscription and Delete Account"                    Foster, Peter                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                  Ong, Adrian                           tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2447       MATCHGOOGLE00105403          DX0774 - Gary Swidler           Undated presentation titled             Shar Dubey, Gary Swidler, Peter Foster            Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              "Sideloading & Alt Stores"                                                                counterclaims                                                                     personal knowledge                                                      201, 602, 901, 902)
                                                                                                                                                                                                                                                           Foundation
  TEMP2448       MATCHGOOGLE00105447                                          Presentation dated 6/17/2021 titled      Shar Dubey, Peter Foster, Adrian Ong             Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              "Google Play Experiment Results"                                                          counterclaims                                                                     personal knowledge                                                      201, 602, 901, 902)
  TEMP2449       MATCHGOOGLE00105724                 PX 1992                  Presentation titled "Subscription                 Dubey, Sharmistha                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Cancellation Flow"                                  Foster, Peter                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                                  Karam, Sarah                          tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                  Ong, Adrian                           conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2450       MATCHGOOGLE00105738              DX0927 Ong                  Undated document titled "Manage                       Adrian Ong                          Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                              account"                                                                                                                                                                    needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                                          statements not based on declarant’s personal knowledge, Rule        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                          802—exhibit contains inadmissible hearsay, Rule 106—exhibit is      (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                          unfairly incomplete                                                 106)
  TEMP2451       MATCHGOOGLE00106904                                          Undated document titled "What is         Shar Dubey, Peter Foster, Adrian Ong             Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                                              the problem and why is it worth                                                           counterclaims                                                                     personal knowledge                                                  201, 602, 901, 902)
                                                                              solving?"
  TEMP2452       MATCHGOOGLE00109773                                          Document entitled Match data on                   Dubey, Sharmistha                       Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        102, One or more witnesses have foundation to testify
                                                                              Apple's Dominance.                                  Foster, Peter                         unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                Schwartz, Steven                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            and/or a hearsay exception applies, Exhibit is relevant to
                                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          one or more of Plaintiffs’ claims or defenses, Evidence’s
                                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the   probative value not substantially outweighed by danger of
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay            unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                          402)., Misleading; undue prejudice; confusion of issues; waste of       cumulative evidence, Opinion, if any, is rationally based on
                                                                                                                                                                                                                                                          time (Fed. R. Evid. 403)., Opinion testimony by Lay Witness (Fed.       the author’s perception; is helpful to clearly understand
                                                                                                                                                                                                                                                          R. Evid. 701)., Authentication; exhibit has not been properly           testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                          authenticated (Fed. R. Evid. 901).                                      on knowledge within the scope of Rule 702, Exhibit is what
                                                                                                                                                                                                                                                                                                                                  the proponent claims it is and/or is self-authenticating

  TEMP2453       MATCHGOOGLE00113629          DX0789 Gary Swidler             3/16/2022 Slack messages between                     Gary Swidler                         Defense to Plaintiffs' claims; proof of Match's liability for      Plaintiffs     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                              B. Archer and G. Swidler                                                                  counterclaims                                                                     personal knowledge                                                      201, 602, 901, 902)
  TEMP2454       MATCHGOOGLE00115129                                          Email from Play BD Ops to C.                       Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                              Burton re re RE: Tinder / Match --                  Ong, Adrian                           unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                              Missing Payments [                                                                        tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                              ref:_00D1U10kvL._5001U8Jred:ref                                                           conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                              ] (06/24/2019)                                                                            resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.




                                                                                                                                                                       173 of 220
                                                                 Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 204 of 250             JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates         Deposition Exhibit Number           Name / Description                                                                                   Purpose                               Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2455       MATCHGOOGLE00115514        DX0975 Purves, Ian       9/25/2019 email from A. Ong to T.          Ian Purves, Shar Dubey                  Defendant: Defense to Plaintiffs' claims; proof of Match's      Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—wasting        Defendant: Exhibit is relevant (Rules 401, 402), Balance
                                                                     Diavet, J. Sine, S. Dubey, G.                                                      liability for counterclaims                                                           time and/or needlessly cumulative, Rule 403—unfairly prejudicial, favors admissibility (Rules 401, 403),
                                                                     Swidler, A. Lubot re Meetic german                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                              confusing the issues and/or misleading to the jury                    Plaintiffs: Contains all parts that in fairness ought to be
                                                                     app Neu rejected on Play Store                                                     violations, unreasonable restraints of trade, unfair                                  Defendants: Incomplete; the introduction of any remaining portions considered at the same time; One or more witnesses have
                                                                     because of In App Billing..                                                        competition and/or tortious interference; proof of                                    ought, in fairness, to be considered contemporaneously (Fed. R        foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                        Defendants’ discovery conduct; proof of appropriate                                   .Evid. 106)., Personal knowledge; lack of foundation (Fed. R. Evid. not contain hearsay and/or a hearsay exception applies
                                                                                                                                                        injunctive relief; proof of resulting damages; and/or proof                           602)., Hearsay; the exhibit is a statement made by one other than
                                                                                                                                                        rebutting allegations in Defendants’ Answers and                                      the witness while testifying at trial, offered into evidence to prove
                                                                                                                                                        Counterclaims against Plaintiffs                                                      the truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).
  TEMP2456       MATCHGOOGLE00115533                                 Email from Y. Dong to play-bd-ops              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                     et al. re [TINDER] Experiencing                 Foster, Peter                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                     High Latency on Google Play APIs              Garcia Rios, Diana                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                     (09/20/2022)                                     Ong, Adrian                       conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2457       MATCHGOOGLE00115536                                 Email from Play BD Ops to Y. Dong              Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     re RE: [TINDER] Experiencing                    Foster, Peter                      unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                     High Latency on Google Play APIs              Garcia Rios, Diana                   tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                     (09/21/2022)                                     Ong, Adrian                       conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2458       MATCHGOOGLE00115608                                 Video entiteld "My Matches"                  Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2459       MATCHGOOGLE00115609                                 Document entitled "Settings"                 Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2460       MATCHGOOGLE00118832.R       DX0955 AJ Cihla         5/13/2019 email from A. Lee to A.                 AJ Cihla                         Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     Cihla                                                                              counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing         admissibility (Rules 401, 403)
                                                                                                                                                                                                                                              the issues and/or misleading to the jury
  TEMP2461       MATCHGOOGLE00119753                                 Video entitled "How to Cancel                Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Tinder Gold"                                   Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2462       MATCHGOOGLE00119754                                 Document entitled "How to Cancel             Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,            Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                     Your Tinder Gold Subscription on               Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                           fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                     Any Device"                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                                 Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                             Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                              witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                              truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                              defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                              depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2463       MATCHGOOGLE00121531                                 Presentation dated 4/2019 titled     Shar Dubey, Peter Foster, Adrian Ong          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     "matchgroup Tinder Forecast                                                        counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Foundation/personal
                                                                     Review"                                                                                                                                                                  the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                              statements not based on declarant’s personal knowledge, Rule        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                              802—exhibit contains inadmissible hearsay                           (Rules 803, 804, 807)

  TEMP2464       MATCHGOOGLE00121820                                 10/21/2021 email from S. Dubey to                Shar Dubey                        Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     I. Ponnambalam                                                                     counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                              the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                              inadmissible hearsay
  TEMP2465       MATCHGOOGLE00121897                                 5/13/2019 email from T. Cox to A.    Adrian Ong, Peter Foster, Shar Dubey          Defense to Plaintiffs' claims; proof of Match's liability for        Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                     Ong                                                                                counterclaims                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                              the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                              inadmissible hearsay




                                                                                                                                                       174 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 205 of 250                JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number           Name / Description                                                                                     Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2466       MATCHGOOGLE00122218                               5/21/2019 email from A. Ong to I.                  Adrian Ong                        Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Purves, A. Gandhi, D. Saraph                                                                                                                                           needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 602—exhibit contains knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                          statements not based on declarant’s personal knowledge, Rule        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                          802—exhibit contains inadmissible hearsay                           (Rules 803, 804, 807)

  TEMP2467       MATCHGOOGLE00122236                               5/10/2019 email from A. Ong to T.            Adrian Ong, Shar Dubey                  Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Diavet, J. Sine, S. Dubey, G.                                                        counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                   Swidler, A. Lubot                                                                                                                                                      the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2468       MATCHGOOGLE00122263                               5/10/2019 email from T. Cox to A.                  Adrian Ong                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Ong                                                                                  counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2469       MATCHGOOGLE00122283                               4/30/2019 email from H. Hosseini to                Adrian Ong                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   A. Ong                                                                               counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2470       MATCHGOOGLE00122286                               5/1/2019 email from S. Dubey to A.           Adrian Ong, Shar Dubey                  Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Ong                                                                                                                                                                    needlessly cumulative, Rule 403—unfairly prejudicial, confusing     admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                          inadmissible hearsay, Rule 106—exhibit is unfairly incomplete       Exhibit is properly complete (Rule 106)

  TEMP2471       MATCHGOOGLE00122287                               Presentation dated 4/6/2017 titled     Adrian Ong, Peter Foster, Shar Dubey          Defense to Plaintiffs' claims                                       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   "Apple App Store & Match Group                                                                                                                                         needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                   Update"                                                                                                                                                                the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                          inadmissible hearsay, Foundation                                      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2472       MATCHGOOGLE00122445                               4/11/2019 email from I. Purves to A.               Adrian Ong                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Ong                                                                                  counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2473       MATCHGOOGLE00122511                               2/6/2020 email from A. Ong to G.                   Adrian Ong                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                   Swidler                                                                              counterclaims                                                                     needlessly cumulative, Rule 403—unfairly prejudicial, confusing       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                                          the issues and/or misleading to the jury, Rule 802—exhibit contains and/or hearsay objection applies (Rules 803, 804, 807)
                                                                                                                                                                                                                                          inadmissible hearsay
  TEMP2474       MATCHGOOGLE00122914                               Document entitled "Settings"                   Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                    Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2475       MATCHGOOGLE00122919                               Document entitled "Payments &                  Dubey, Sharmistha                     Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                   Subscriptions"                                   Foster, Peter                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    Ong, Adrian                         tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                                                        resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the
                                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                                          defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                                          depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2476       MATCHGOOGLE00131573                               Website entitled Google Play Store:             Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   YouTube TV: Ratings and Reviews                   Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   available at                                  Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.y              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   outube.unplugged&hl=en_US&gl=U                   Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                   S.                                            Lockheimer, Hiroshi                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                     Pichai, Sundar                                                                                                       Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                   Rosenberg, Jamie                                                                                                       (Fed. R. Evid. 403).
                                                                                                                    Samat, Sameer
  TEMP2477       MATCHGOOGLE00131622                               Website entitled Google Play Store:             Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   YouTube TV: Ratings and Reviews:                  Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   1-star available at                           Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.y              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   outube.unplugged&hl=en_US&gl=U                   Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                   S.                                            Lockheimer, Hiroshi                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                     Pichai, Sundar                                                                                                       Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                   Rosenberg, Jamie                                                                                                       (Fed. R. Evid. 403).
                                                                                                                    Samat, Sameer
  TEMP2478       MATCHGOOGLE00131670                               Website entitled Google Play Store:             Barras, Brandon                      Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   YouTube: Ratings and Reviews: 2-                  Harrison, Don                      unreasonable restraints of trade, unfair competition and/or                       Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   star available at                             Kleidermarcher, Dave                   tortious interference; proof of Defendants’ discovery                             witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d           Kochikar, Purnima                     conduct; proof of appropriate injunctive relief; proof of                         truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.youtub              Koh, Lawrence                       resulting damages; and/or proof rebutting allegations in                          exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   e&hl=en_US&gl=US.                                Kolotouros, Jim                     Defendants’ Answers and Counterclaims against Plaintiffs                          defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                 Lockheimer, Hiroshi                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                     Pichai, Sundar                                                                                                       Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                   Rosenberg, Jamie                                                                                                       (Fed. R. Evid. 403).
                                                                                                                    Samat, Sameer




                                                                                                                                                       175 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 206 of 250                     JOINT TRIAL EXHIBIT LIST
                                                                                                                                                        DISPUTED EXHIBITS




                                                                                                                      Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number           Name / Description                                                                                          Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2479       MATCHGOOGLE00131719                               Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Play: Ratings and Reviews: 1-                    Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   star Games available at                             Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.play.g                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   ames&hl=en_US&gl=US.                                   Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2480       MATCHGOOGLE00131767                               Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Pay: Ratings and Reviews                         Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   available at                                        Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.n                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   bu.paisa.user&hl=en_US&gl=US.                          Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2481       MATCHGOOGLE0013181                                Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Pay: Ratings and Reviews: 2-                     Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   star available at                                   Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.n                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   bu.paisa.user&hl=en_US&gl=US.                          Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2482       MATCHGOOGLE00131865                               Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Pay: Ratings and Reviews: 1-                     Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   star available at                                   Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.n                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   bu.paisa.user&hl=en_US&gl=US.                          Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2483       MATCHGOOGLE00131914                               Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Drive: Ratings and Reviews:                      Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   1-star available at                                 Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.d                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   ocs&hl=en_US&gl=US.                                    Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2484       MATCHGOOGLE00131962                               Website entitled Google Play Store:                   Barras, Brandon                     Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Google Drive: Ratings and Reviews:                      Harrison, Don                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   2-star available at                                 Kleidermarcher, Dave                  tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://play.google.com/store/apps/d                 Kochikar, Purnima                    conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   etails?id=com.google.android.apps.d                    Koh, Lawrence                      resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                   ocs&hl=en_US&gl=US.                                    Kolotouros, Jim                    Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                                       Lockheimer, Hiroshi                                                                                                    depending on the purpose for which plaintiffs seek to introduce it.,    cumulative evidence
                                                                                                                           Pichai, Sundar                                                                                                     Misleading; undue prejudice; confusion of issues; waste of time
                                                                                                                         Rosenberg, Jamie                                                                                                     (Fed. R. Evid. 403).
                                                                                                                          Samat, Sameer
  TEMP2485               N/A                   PX 0709             Meta data for Document                                 Samat, Sameer                      Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                                             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                             tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                                                             conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                                                             resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                                                             Defendants’ Answers and Counterclaims against Plaintiffs                         introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                                                              considered contemporaneously (Fed. R .Evid. 106).
  TEMP2486               N/A                                       Article dated 9/7/2018 titled          Tim Sweeney, Steve Allison, Matthew Weissinger,    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Fortnite reaches 15 million Android                   Andrew Grant                       counterclaims                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                   downloads without Google Play",                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   available at                                                                                                                                                                                                                                       (Rules 803, 804, 807)
                                                                   https://arstechnica.com/gaming/2018
                                                                   /09/fortnite-reaches-15-million-
                                                                   android-downloads-without-google-
                                                                   play/
  TEMP2487               N/A                                       Article dated 10/29/2018 titled        Tim Sweeney, Steve Allison, Matthew Weissinger,    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s           Foundation/personal knowledge will be established (Rules
                                                                   "Fortnite Scams Are Even Worse                         Andrew Grant                       counterclaims                                                                    personal knowledge                                                      201, 602, 901, 902)
                                                                   Than You Thought", available at                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                   https://www.wired.com/story/fortnit                                                                                                                                                                                                                (Rules 803, 804, 807)
                                                                   e-scams-even-worse-than-you-
                                                                   thought/#:~:text=The%20sites%20g
                                                                   enerally%20encourage%20visitors,f
                                                                   ull%20of%20phony%20satisfied%2
                                                                   0customers.%20Fortnite%20Scams
                                                                   %20Are%20Even%20Worse%20Th
                                                                   an%20You%20Thought




                                                                                                                                                            176 of 220
                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 207 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                 Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number            Name / Description                                                                                                Purpose                              Objecting Party                Summary of Objection (w/Authority)                            Summary of Response (w/Authority)
  TEMP2488         N/A                                    Document dated 7/16/2021 titled                          Hiroshi Lockheimer                Defense to Plaintiffs' claims; proof of Match's liability for           Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          "Allowing developers to apply for                           Sameer Samat                   counterclaims                                                                                                                                          (Rules 803, 804, 807)
                                                          more time to comply with Play                            Edward Cunningham
                                                          Payments Policy"                                            Sarah Karam
                                                                                                                   David Kleidermacher
                                                                                                                    Purnima Kochikar
                                                                                                                     Mrinalini Loew
                                                                                                                     Sebastian Porst
                                                                                                                     Kirsten Rasanen
  TEMP2489         N/A        Ex. 2640 - Danielle Stein   Document dated 5/6/2022 titled          Hiroshi Lockheimer Sameer Samat Edward Cunningham Defense to Plaintiffs' claims; proof of Match's liability for            Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          "Understanding Google Play's             Sarah Karam David Kleidermacher Purnima Kochikar counterclaims                                                                                                                                           (Rules 803, 804, 807)
                                                          Payment policy"                             Mrinalini Loew Sebastian Porst Kirsten Rasanen

  TEMP2490         N/A        DX1341 Ethan Diamond        Bandcamp Updates webpage titled                            Ethan Diamond                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                          "It's Over"                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                                                           misleading to the jury                                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                  (Rules 803, 804, 807)
  TEMP2491         N/A        DX1347 Ethan Diamond        Bandcamp Updates webpage capture                           Ethan Diamond                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                          titled "Supporting Artists on                                                                                                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or       Balance favors admissibility (Rules 401, 403)
                                                          Android"                                                                                                                                                                         misleading to the jury                                            Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                            Rule 802—exhibit contains inadmissible hearsay                  (Rules 803, 804, 807)
                                                                                                                                                                                                                                            Rule 408–exhibit contains information about a compromise or      Not a prohibited use and/or an exception applies (Rule
                                                                                                                                                                                                                                           compromise negotiations                                          408)
  TEMP2492         N/A                                    8/13/2020 Tweet from Fortnite,                              Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                                          available at                                                                                    counterclaims                                                                    personal knowledge                                               201, 602, 901, 902)
                                                          https://twitter.com/FortniteGame/stat                                                                                                                                             Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          us/1293851663531495425?s=20                                                                                                                                                                                                                       (Rules 803, 804, 807)

  TEMP2493         N/A                                    8/24/2018 Tweet from T. Sweeney,                            Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 106—exhibit is unfairly incomplete                          Exhibit is properly complete (Rule 106)
                                                          available at                                                                                    counterclaims                                                                     Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                                          https://twitter.com/TimSweeneyEpic                                                                                                                                               personal knowledge                                               201, 602, 901, 902)
                                                          /status/1033225118405804032?ref_                                                                                                                                                  Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                          src=twsrc%5Etfw%7Ctwcamp%5Et                                                                                                                                                     document
                                                          weetembed%7Ctwterm%5E103322
                                                          5118405804032%7Ctwgr%5E485d
                                                          3771d7f5811b57cfb3d129dfa9ef2d7
                                                          020bf%7Ctwcon%5Es1_&ref_url=h
                                                          ttps%3A%2F%2Fwww.businessinsi
                                                          der.com%2Fepic-games-ceo-tim-
                                                          sweeney-attacks-google-over-fortnite-
                                                          bug-2018-8
  TEMP2494         N/A                                    8/24/2018 Tweet from T. Sweeney,                            Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                                          available at                                                                                    counterclaims                                                                    personal knowledge                                               201, 602, 901, 902)
                                                          https://twitter.com/TimSweeneyEpic                                                                                                                                                Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                          /status/1034254100542746624?s=20                                                                                                                                                 document

  TEMP2495         N/A                                    5/10/2023 Tweet from T. Sweeney,                            Tim Sweeney                         Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant                                 Exhibit is relevant (Rules 401, 402)
                                                          available at                                                                                    counterclaims                                                                     Rule 403—unfairly prejudicial, confusing the issues and/or      Balance favors admissibility (Rules 401, 403)
                                                          https://twitter.com/TimSweeneyEpic                                                                                                                                               misleading to the jury                                           Exhibit will be properly authenticated (Rule 901)
                                                          /status/1656366223423074305                                                                                                                                                       Rule 901—proponent has not established authenticity of the
                                                                                                                                                                                                                                           document
  TEMP2496         N/A                                    11/4/2021 blog post titled "Enabling Michael Marchak; Paul Feng; Purnima Kochikar; Sameer Defense to Plaintiffs' claims                                            Plaintiff     Rule 602—exhibit contains statements not based on declarant’s    Foundation/personal knowledge will be established (Rules
                                                          alternative billing systems for users Samat; Donald Harrison; Hiroshi Lockheimer; Christian                                                                                      personal knowledge                                               201, 602, 901, 902)
                                                          in South Korea", available at                               Cramer                                                                                                                Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          https://developers-                                                                                                                                                               Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          kr.googleblog.com/2021/11/enabling-                                                                                                                                              document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          alternative-billing-in-korea-en.html

  TEMP2497         N/A                                    10/21/2021 blog post titled                  Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          “Evolving our business model to            Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          address developer needs” available        Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          at https://android-                                       Kirsten Rasanen
                                                          developers.googleblog.com/2021/10
                                                          /evolving-business-model.html
  TEMP2498         N/A                                    3/16/2021 blog post titled "Boosting         Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          developer success on Google Play ",        Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          available at https://android-             Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          developers.googleblog.com/2021/03                         Kirsten Rasanen
                                                          /boosting-dev-success.html

  TEMP2499         N/A                                    05/17/2017 blog post titled “Keeping         Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          you safe with Google Play Protect”,        Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          available at                              Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          https://blog.google/products/android/                     Kirsten Rasanen
                                                          google-play-protect/
  TEMP2500         N/A                                    05/24/2012 blog post titled "In-app          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          Subscriptions in Google Play",             Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          available at https://android-             Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          developers.googleblog.com/2012/05                         Kirsten Rasanen
                                                          /in-app-subscriptions-in-google-
                                                          play.html
  TEMP2501         N/A                                    3/6/2012 blog post titled "                  Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                          Introducing Google Play: All your          Cunningham, Sarah Karam, David Kleidermacher,                                                                                          Rule 901—proponent has not established authenticity of the      (Rules 803, 804, 807)
                                                          entertainment, anywhere you go",          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                                                     document                                                          Exhibit will be properly authenticated (Rule 901)
                                                          available at                                              Kirsten Rasanen
                                                          https://googleblog.blogspot.com/201
                                                          2/03/introducing-google-play-all-
                                                          your.html




                                                                                                                                                         177 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 208 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                               Purpose   Objecting Party                Summary of Objection (w/Authority)                           Summary of Response (w/Authority)
  TEMP2502         N/A                                   03/29/2011 blog post titled " In-app         Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Billing Launched on Android                Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         Market", available at https://android-    Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         developers.googleblog.com/2011/03                         Kirsten Rasanen
                                                         /in-app-billing-launched-on-
                                                         android.html

  TEMP2503         N/A                                   2/02/2011 blog post titled " New             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Merchandising and Billing Features         Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         on Android Market", available at          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         https://android-                                          Kirsten Rasanen
                                                         developers.googleblog.com/2011/02
                                                         /new-merchandising-and-billing-
                                                         features.html
  TEMP2504         N/A                                   12/22/2010 blog post titled "More            Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Payment Options in Android                 Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         Market", available at https://android-    Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         developers.googleblog.com/2010/12                         Kirsten Rasanen
                                                         /more-payment-options-in-android-
                                                         market_22.html

  TEMP2505         N/A                                   Blogpost dated 3/6/2023 titled               Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "Keeping Android and Google Play           Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         safe with our key 2023 initiatives"       Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         Available at: https://android-                            Kirsten Rasanen
                                                         developers.googleblog.com/2023/03
                                                         /keeping-google-play-safe-with-our-
                                                         key-2023-initiatives.html

  TEMP2506         N/A                                   Blogpost dated 12/15/2022 titled             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "Expanding the App Defense                 Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         Alliance" Available at:                   Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         https://security.googleblog.com/202                       Kirsten Rasanen
                                                         2/12/app-defense-alliance-
                                                         expansion.html
  TEMP2507         N/A                                   Blogpost dated 10/27/2021 titled             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "Pixel 6: Setting a new standard for       Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 402—exhibit is not relevant                               (Rules 803, 804, 807)
                                                         mobile security" Available at:            Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                          Rule 403—unfairly prejudicial, confusing the issues and/or      Exhibit is relevant (Rules 401, 402)
                                                         https://security.googleblog.com/202                       Kirsten Rasanen                                                                            misleading to the jury                                           Balance favors admissibility (Rules 401, 403)
                                                         1/10/pixel-6-setting-new-standard-                                                                                                                    Rule 901—proponent has not established authenticity of the      Exhibit will be properly authenticated (Rule 901)
                                                         for-mobile.html                                                                                                                                      document
  TEMP2508         N/A                                   Blogpost dated 11/6/2019 titled              Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "The App Defense Alliance:                 Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         Bringing the security industry            Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         together to fight bad apps" Available                     Kirsten Rasanen
                                                         at:
                                                         https://security.googleblog.com/201
                                                         9/11/the-app-defense-alliance-
                                                         bringing.html
  TEMP2509         N/A                                   Paper dated 12/14/2020 titled "The                           Rich Miner                         Defense to Plaintiffs' claims          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s   Foundation/personal knowledge will be established (Rules
                                                         Android Platform Security Model"                                                                                                                     personal knowledge                                              201, 602, 901, 902)
                                                         Available at:                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://arxiv.org/pdf/1904.05572.pdf                                                                                                                  Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                                                                                                                                                                              document                                                         Exhibit will be properly authenticated (Rule 901)
  TEMP2510         N/A                                   Undated website titled "On-device            Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         protections" Available at:                 Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         https://developers.google.com/androi      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         d/play-protect/client-protections                         Kirsten Rasanen
  TEMP2511         N/A                                   Undated website titled "Potentially          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Harmful Applications (PHAs)"               Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         Available at:                             Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         https://developers.google.com/androi                      Kirsten Rasanen
                                                         d/play-protect/potentially-harmful-
                                                         applications
  TEMP2512         N/A                                   Undated website titled "Malware              Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         categories" Available at:                  Cunningham, Sarah Karam, David Kleidermacher,                                                              Rule 901—proponent has not established authenticity of the     (Rules 803, 804, 807)
                                                         https://developers.google.com/androi      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         document                                                         Exhibit will be properly authenticated (Rule 901)
                                                         d/play-protect/phacategories                              Kirsten Rasanen
  TEMP2513         N/A                                   Undated website titled "Protect                 David Kliedermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s   Foundation/personal knowledge will be established (Rules
                                                         Yourself and Your Devices"                                                                                                                           personal knowledge                                              201, 602, 901, 902)
                                                         Available at:                                                                                                                                         Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://oag.ca.gov/privacy/facts/onlin                                                                                                                                                                               (Rules 803, 804, 807)
                                                         e-privacy/protect-your-computer
  TEMP2514         N/A                                   Document dated 12/2014 titled                   David Kliedermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s   Foundation/personal knowledge will be established (Rules
                                                         "Getting Smart About Smartphones:                                                                                                                    personal knowledge                                              201, 602, 901, 902)
                                                         Tips for Consumers" Available at:                                                                                                                     Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://oag.ca.gov/sites/all/files/agwe                                                                                                                                                                              (Rules 803, 804, 807)
                                                         b/pdfs/privacy/smartphones_consum
                                                         ers.pdf

  TEMP2515         N/A                                   Document dated 1/2013 titled                    David Kliedermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 602—exhibit contains statements not based on declarant’s   Foundation/personal knowledge will be established (Rules
                                                         "Privacy on the go:                                                                                                                                  personal knowledge                                              201, 602, 901, 902)
                                                         Recommendations for the mobile                                                                                                                        Rule 802—exhibit contains inadmissible hearsay                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                         ecosystem" Available at:                                                                                                                                                                                             (Rules 803, 804, 807)
                                                         https://oag.ca.gov/sites/all/files/agwe
                                                         b/pdfs/privacy/privacy_on_the_go.p
                                                         df




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                                                                                                            Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2516         N/A                                   Document dated 2/2014 titled                  David Kliedermacher, Ed Cunningham             Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         "Cybersecurity in the Golden State"                                                                                                                                           personal knowledge                                                  201, 602, 901, 902)
                                                         Available at:                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://oag.ca.gov/sites/all/files/agwe                                                                                                                                                                                                           (Rules 803, 804, 807)
                                                         b/pdfs/cybersecurity/2014_cybersec
                                                         urity_guide.pdf
  TEMP2517         N/A                                   Website dated 5/2021 titled "How to           David Kliedermacher, Ed Cunningham             Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         Protect your Privacy on Apps"                                                                                                                                                 personal knowledge                                                  201, 602, 901, 902)
                                                         Available at:                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://consumer.ftc.gov/articles/how-                                                                                                                                                                                                            (Rules 803, 804, 807)
                                                         protect-your-privacy-apps
  TEMP2518         N/A                                   Blogpost dated 12/19/2022 titled              David Kliedermacher, Ed Cunningham             Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         "Privacy and Mobile Device Apps"                                                                                                                                              personal knowledge                                                  201, 602, 901, 902)
                                                         Available at:                                                                                                                                                                  Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.cisa.gov/news-                                                                                                                                                                                                                        (Rules 803, 804, 807)
                                                         events/news/privacy-and-mobile-
                                                         device-apps
  TEMP2519         N/A                                   Website dated 1/8/2020 titled "An             David Kliedermacher, Ed Cunningham             Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         open letter to Google" Available at:                                                                                                                                          personal knowledge                                                  201, 602, 901, 902)
                                                         https://privacyinternational.org/advo                                                                                                                                          Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         cacy/3320/open-letter-google                                                                                                                                                                                                                      (Rules 803, 804, 807)
  TEMP2520         N/A                                   Website article dated 8/13/2020         Tim Sweeney, Steve Allison, Andrew Grant, Matthew    Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         titled "Apple and Google go to war                         Weissinger                        counterclaims                                                                    personal knowledge                                                  201, 602, 901, 902)
                                                         with Epic Games over Fortnite"                                                                                                                                                 Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Available at:                                                                                                                                                                                                                                     (Rules 803, 804, 807)
                                                         https://www.foxbusiness.com/techno
                                                         logy/apple-epic-games-war-over-
                                                         fortnite
  TEMP2521         N/A                                   Undated website article titled          Tim Sweeney, Steve Allison, Andrew Grant, Matthew    Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "Unreal® Engine End User License                           Weissinger                                                                                                                                                                             (Rules 803, 804, 807)
                                                         Agreement" Available at:
                                                         https://www.unrealengine.com/en-
                                                         US/eula/unreal
  TEMP2522         N/A                                   Undated website page titled "Epic       Tim Sweeney, Steve Allison, Andrew Grant, Matthew    Defense to Plaintiffs' claims                                      Plaintiff     Rule 901—proponent has not established authenticity of the          Exhibit will be properly authenticated (Rule 901)
                                                         Games Store" Available at:                                 Weissinger                                                                                                         document                                                            Exhibit is properly complete (Rule 106)
                                                         https://store.epicgames.com/en-                                                                                                                                                Rule 106—exhibit is unfairly incomplete
                                                         US/browse?q=v%20bucks&sortBy=
                                                         relevancy&sortDir=DESC&count=4
                                                         0
  TEMP2523         N/A                                   Figures and charts identified in                        Catherine Tucker                     Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Tucker expert report dated                                                                                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2524         N/A                                   Figures and charts identified in                      Matthew Gentzkow                       Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Gentzkow expert report dated                                                                                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2525         N/A                                   Figures and charts identified in                         Greg Leonard                        Defense to Plaintiffs' claims; Google counterclaims                Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Leonard expert report dated                                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2526         N/A                                   Figures and charts identified in                       Douglas Skinner                       Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Skinner expert report dated                                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2527         N/A                                   Figures and charts identified in Qian                    Zhiyun Qian                         Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         expert report dated 11/18/2022                                                                                                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                       the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2528         N/A                                   Figures and charts identified in                      Sandeep Chatterjee                     Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Chatterjee expert report dated                                                                                                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2529         N/A                                   Figures and charts identified in                        Donna Hoffman                        Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Hoffman expert report dated                                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         11/18/2022                                                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)
  TEMP2530         N/A                                   Figures and charts identified in                        Michelle Burtis                      Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Burtis expert report dated 3/31/2022                                                                                                                                          403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                       the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                           201, 602, 901, 902)




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                                                                                                            Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                          Purpose                      Objecting Party                 Summary of Objection (w/Authority)                              Summary of Response (w/Authority)
  TEMP2531         N/A                                   Figures and charts identified in                      Douglas Skinner                      Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Skinner expert report dated                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         3/31/2022                                                                                                                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2532         N/A                                   Figures and charts identified in                        Greg Leonard                       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Leonard expert report dated                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         10/3/2022                                                                                                                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2533         N/A                                   Figures and charts identified in                        Greg Leonard                       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Leonard expert report dated                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         12/23/2022                                                                                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2534         N/A                                   Figures and charts identified in                     Matthew Gentzkow                      Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Gentzkow expert report dated                                                                                                                                       403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         12/10/2022                                                                                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2535         N/A                                   Figures and charts identified in                        Greg Leonard                       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Leonard expert report dated                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         6/14/2023                                                                                                                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2536         N/A                                   Undated website article titled                         Ethan Diamond                       Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         "Bandcamp Fair Trade Music                                                                                                                                         confusing the issues and/or misleading to the jury, Rule            admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Policy" Available at:                                                                                                                                              802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://bandcamp.com/fair_trade_mu                                                                                                                                 has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         sic_policy                                                                                                                                                         is unfairly incomplete, Foundation                                  properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                                knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2537         N/A                                   Undated website article titled "How                    Ethan Diamond                       Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         much are payment processor fees for                                                                                                                                confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         digital sales" Available at:                                                                                                                                       802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://get.bandcamp.help/hc/en-                                                                                                                                   has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         us/articles/360007802394-How-                                                                                                                                      is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         much-are-payment-processor-fees-                                                                                                                                                                                                      knowledge will be established (Rules 201, 602, 901, 902)
                                                         for-digital-sales-
  TEMP2538         N/A                                   Undated website article titled "How                    Ethan Diamond                       Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         much are payment processor fees for                                                                                                                                confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         physical sales?" Available at:                                                                                                                                     802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://get.bandcamp.help/hc/en-                                                                                                                                   has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         us/articles/360007902293-How-                                                                                                                                      is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         much-are-payment-processor-fees-                                                                                                                                                                                                      knowledge will be established (Rules 201, 602, 901, 902)
                                                         for-physical-sales-
  TEMP2539         N/A                                   Undated website article titled "How                    Ethan Diamond                       Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         do I get paid on Bandcamp, and how                                                                                                                                 confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         often?" Available at:                                                                                                                                              802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://get.bandcamp.help/hc/en-                                                                                                                                   has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         us/articles/360007902213-How-do-I-                                                                                                                                 is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         get-paid-on-Bandcamp-and-how-                                                                                                                                                                                                         knowledge will be established (Rules 201, 602, 901, 902)
                                                         often-
  TEMP2540         N/A                                   Website article dated 3/17/2022                        Ethan Diamond                       Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Bandcamp Terms of Use"                                                                                                                                     confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Available at:                                                                                                                                                      802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://bandcamp.com/terms_of_use                                                                                                                                  has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                            is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                               knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2541         N/A                                   Undated webpage titled "Play          Tim Sweeney; Steve Allison; Andrew Grant; Matthew    Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         Fortnite on Android" Available at:                       Weissinger                                                                                                confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         https://www.fortnite.com/mobile/and                                                                                                                                802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         roid                                                                                                                                                               has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                            is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                               knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2542         N/A                                   Undated Fortnite download webpage     Tim Sweeney; Steve Allison; Andrew Grant; Matthew    Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         Available at:                                            Weissinger                                                                                                confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         https://www.fortnite.com/mobile/and                                                                                                                                802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         roid/new-device                                                                                                                                                    has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                            is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                               knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2543         N/A                                   Undated webpage titled "Fortnite      Tim Sweeney; Steve Allison; Andrew Grant; Matthew    Defense to Plaintiffs' claims                             Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         Download" Available at:                                  Weissinger                                                                                                confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         https://www.fortnite.com/download                                                                                                                                  802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                            has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                            is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                               knowledge will be established (Rules 201, 602, 901, 902)




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                                                                                                               Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                              Purpose   Objecting Party                 Summary of Objection (w/Authority)                              Summary of Response (w/Authority)
  TEMP2544         N/A                                   Undated webpage titled "Play             Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         Fortnite on Mobile Devices"                                 Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Available at:                                                                                                                                       802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://www.fortnite.com/mobile                                                                                                                     has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                             is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2545         N/A                                   Undated webpage titled "Redeem           Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         your V-Bucks Card" Available at:                            Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         https://www.fortnite.com/vbuckscar                                                                                                                  802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         d                                                                                                                                                   has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                             is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2546         N/A                                   Website article dated 12/19/2022         Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Epic FTC Settlement and                             Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         moving beyond long-standing                                                                                                                         802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         industry practices" Available at:                                                                                                                   has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         https://www.epicgames.com/site/en-                                                                                                                  is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         US/news/epic-ftc-settlement-and-                                                                                                                                                                                       knowledge will be established (Rules 201, 602, 901, 902)
                                                         moving-beyond-long-standing-
                                                         industry-practices
  TEMP2547         N/A                                   Website article dated 3/22/2023          Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Introducing Creator Economy                         Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         2.0" Available at:                                                                                                                                  802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://create.fortnite.com/news/intro                                                                                                              has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         ducing-the-creator-economy-2-                                                                                                                       is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         0?team=personal                                                                                                                                                                                                        knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2548         N/A                                   Website article dated 4/11/2022          Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Sony and KIRKBI Invest in                           Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Epic Games to Build the Future of                                                                                                                   802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         Digital Entertainment" Available at:                                                                                                                has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         https://www.epicgames.com/site/en-                                                                                                                  is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         US/news/sony-and-kirkbi-invest-in-                                                                                                                                                                                     knowledge will be established (Rules 201, 602, 901, 902)
                                                         epic-games-to-build-the-future-of-
                                                         digital-entertainment
  TEMP2549         N/A                                   Website article dated 4/13/2021          Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Fortnite-maker Epic                                 Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         completes $1B funding round"                                                                                                                        802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         Available at:                                                                                                                                       has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         https://techcrunch.com/2021/04/13/f                                                                                                                 is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         ortnite-maker-epic-completes-1b-                                                                                                                                                                                       knowledge will be established (Rules 201, 602, 901, 902)
                                                         funding-round/
  TEMP2550         N/A                                   Website article dated 5/14/2020             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Strike a pose: Yoga apps to      Cunningham, Sarah Karam , David Kleidermacher,                                                             confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         find your flow" Available at:            Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://play.google.com/store/apps/t                     Kirsten Rasanen                                                                            has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         opic?id=editorial_yoga_apps_us&hl                                                                                                                   is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         =en_US&gl=US                                                                                                                                                                                                           knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2551         N/A                                   Commercial dated 2009 titled                Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         "iPhone 3g Commercial" Available         Cunningham, Sarah Karam , David Kleidermacher,                                                             confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         at:                                      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://www.youtube.com/watch?v=                         Kirsten Rasanen                                                                            has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         szrsfeyLzyg                                                                                                                                         is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2552         N/A                                   Website article dated 8/23/2023          Tim Sweeney; Steve Allison; Andrew Grant; Matthew     Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         titled "Introducing the Epic First Run                      Weissinger                                                                              confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         program" Available at:                                                                                                                              802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         https://store.epicgames.com/en-                                                                                                                     has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                         US/news/introducing-the-epic-first-                                                                                                                 is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                         run-program                                                                                                                                                                                                            knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2553         N/A        DX1339 Ethan Diamond       Undated website article titled "What                      Ethan Diamond                        Defense to Plaintiffs' claims          Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or         Balance favors admissibility (Rules 401, 403), Exhibit is
                                                         are Bandcamp's fees?"                                                                                                                               misleading to the jury, Rule 402—exhibit is not relevant, Rule     relevant (Rules 401, 402), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                             802—exhibit contains inadmissible hearsay, Rule 901—proponent hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                                                                                                                                                                             has not established authenticity of the document, Rule 106—exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                             is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2554         N/A           DX0658 Josh Kim         12/15/2021 email from S. Velez to J. Ethan Diamond; Joshua Kim; Michael Marchak; Purnima Defense to Plaintiffs' claims                Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Kim                                                       Kochikar                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2555         N/A                                   Undated webpage titled "Android 13           Edward Cunningham, David Kleidermacher            Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Compatibility Definition" Available                                                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         at:                                                                                                                                                 the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://source.android.com/docs/com                                                                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         patibility/13/android-13-cdd                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)




                                                                                                                                                       181 of 220
                                                           Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 212 of 250                            JOINT TRIAL EXHIBIT LIST
                                                                                                                                                            DISPUTED EXHIBITS




                                                                                                                       Sponsoring Witness(es)
Exhibit Number   Beg Bates      Deposition Exhibit Number                 Name / Description                                                                                              Purpose                      Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2556         N/A                                            Document dated 10/4/2021                    Edward Cunningham, David Kleidermacher             Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  titled"Compatibility Definition                                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  Android 12" Available at:                                                                                                                                              the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  https://source.android.com/static/doc                                                                                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  s/compatibility/12/android-12-                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                  cdd.pdf                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2557         N/A                                            Document dated 8/11/2021 titled             Edward Cunningham, David Kleidermacher             Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  "Compatibility Definition Android                                                                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  11" Available at:                                                                                                                                                      the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  https://source.android.com/static/doc                                                                                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  s/compatibility/11/android-11-                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                  cdd.pdf                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2558         N/A                                            Document dated 1/20/2021 titled             Edward Cunningham, David Kleidermacher             Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  "Compatibility Definition Android                                                                                                                                      403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  10" Available at:                                                                                                                                                      the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  https://source.android.com/static/doc                                                                                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  s/compatibility/10/android-10-                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                  cdd.pdf                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2559         N/A            DX0001 Edward Zobrist,          Document dated 12/2/2021 titled            Edward Zobrist, Hans Stolfus, Andrew Grant          Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                 Hans Stolfus, Andrew Grant       "Defendants' Notice of Deposition of                                                                                                                                   misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                  Plaintiff EPIC Games, Inc."                                                                                                                                            hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2560         N/A             DX1001 Bradley Harris          Document dated 9/27/2011 titled                          Bradley Harris                        Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                  "Schedler Launches Geaux Vote                                                                                                                                          misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                  Mobile Application"                                                                                                                                                    hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2561         N/A             DX0507 Ted Goessling           Undated document titled "Innovation                      Ted Goessling                         Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                  Informs Minnesotans about COVID-                                                                                                                                       misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                  19 Resources, Risks and Guidance"                                                                                                                                      hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2562         N/A             DX0791 Robert Beaty            6/4/2022 letter from J. Pope to B.                        Robert Beaty                         Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  Bradshaw                                                                                                                                                               403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2563         N/A       DX0004 Penwarden, Nicholas; Grant,   Blogpost dated 9/6/2018 titled          Nicholas Penwarden, Andrew Grant, Edward Zobrist,      Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                              Andrew; Zobrist, Edward; Babcock,   "Fortnite on Android Launch              Christopher Babcock, Tim Sweeney, Steve Allison,                                                                              misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                        Christopher               Technical Blog"                                        Matthew Weissinger                                                                                              hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2564         N/A              DX0481 Ko, Thomas             Epic Games, Inc. v. Apple Inc., Case                       Thomas Ko                           Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                  No. C-20-5640 YGR, Reporter's                                                                                                                                          misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                  Transcript of Proceedings (May 6,                                                                                                                                      hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                  2021)                                                                                                                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2565         N/A            DX0537 Kreiner, Joseph          Website article dated 4/28/2021                   Joseph Kreiner, Tim Sweeney                  Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                  titled "Fortnite isn't on Microsoft's                                                                                                                                  misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                  Xbox Cloud Gaming service because                                                                                                                                      hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                  Epic won't allow it"                                                                                                                                                   the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2566         N/A             DX0013 Grant, Andrew           Website article dated 8/11/2018                    Andrew Grant, Tim Sweeney                   Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  titled "Fortnite for Android reminds                                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  users to block installations from                                                                                                                                      the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  unknown sources after install"                                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2567         N/A                                            Undated webpage titled "Health          Sameer Samat, Purnima Kochikar, Michael Marchak,       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  Content and Services" Available at:       Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  https://support.google.com/googlepl                Cunningham, Sebastian Porst                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  ay/android-                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  developer/answer/12261419?visit_id                                                                                                                                                                                                         Foundation/personal knowledge will be established (Rules
                                                                  =638295719990185461-                                                                                                                                                                                                                       201, 602, 901, 902)
                                                                  1510244377&rd=1
  TEMP2568         N/A                                            Undated webpage titled "Preview:        Sameer Samat, Purnima Kochikar, Michael Marchak,       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  Blockchain-based Content"                 Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  Available at:                                      Cunningham, Sebastian Porst                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  https://support.google.com/googlepl                                                                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  ay/android-                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                  developer/answer/13607354                                                                                                                                                                                                                  201, 602, 901, 902)
  TEMP2569         N/A                                            Undated webpage titled "User Data"      Sameer Samat, Purnima Kochikar, Michael Marchak,       Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                  Available at:                             Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                  https://support.google.com/googlepl                Cunningham, Sebastian Porst                                                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                  ay/android-                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                  developer/answer/10144311?visit_id                                                                                                                                                                                                         Foundation/personal knowledge will be established (Rules
                                                                  =638295719992919904-                                                                                                                                                                                                                       201, 602, 901, 902)
                                                                  2025117313&rd=1




                                                                                                                                                                182 of 220
                                                      Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 213 of 250                        JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                              Purpose                      Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2570         N/A                                   Undated webpage titled                   Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         "Permissions and APIs that Access          Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Sensitive Information" Available at:                Cunningham, Sebastian Porst                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                                                                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                         developer/answer/9888170?visit_id=                                                                                                                                                                                                         201, 602, 901, 902)
                                                         638295719992919904-
                                                         2025117313&rd=1
  TEMP2571         N/A                                   Undated webpage titled "Google           Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Play's Target API Level Policy"            Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Available at:                                       Cunningham, Sebastian Porst                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                                                                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                         developer/answer/11917020                                                                                                                                                                                                                  201, 602, 901, 902)
  TEMP2572         N/A                                   Undated webpage titled "Play             Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Console Requirements" Available at:        Hiroshi Lockheimer, David Kliedermacher, Ed                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://support.google.com/googlepl                 Cunningham, Sebastian Porst                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         ay/android-                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         developer/answer/10788890                                                                                                                                                                                                                  Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2573         N/A                                   Undated webpage titled "Google           Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Play Families Policies" Available at:                   Hiroshi Lockheimer                                                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://support.google.com/googlepl                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         ay/android-                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         developer/answer/9893335                                                                                                                                                                                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2574         N/A                                   Undated webpage titled "Families         Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims; Google counterclaims       Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Self-Certified Ads SDK Policy"                          Hiroshi Lockheimer                                                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Available at:                                                                                                                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                                                                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                         developer/answer/12918983                                                                                                                                                                                                                  201, 602, 901, 902)
  TEMP2575         N/A                                   Undated webpage titled "Metadata"        Sameer Samat, Purnima Kochikar, Michael Marchak,      Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Available at:                             Hiroshi Lockheimer, Brandon Barras, Sarah Karam                                                                              403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://support.google.com/googlepl                                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         ay/android-                                                                                                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         developer/answer/9898842                                                                                                                                                                                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2576         N/A                                   Undated webpage titled "About             Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Google" Available at:                         Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://about.google/                     Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                            Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2577         N/A                                   Undated webpage titled "Enabling          Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Opportunity" Available at:                    Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://www.android.com/everyone/e        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         nabling-opportunity/                               Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2578         N/A                                   Undated webpage titled "Switch            Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         from iPhone to Android. It’s easier           Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         than ever." Available at:                 Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://www.android.com/switch-to-                 Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         android/                                                                                                                                                                                                                                   Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2579         N/A                                   Undated webpage titled "What is           Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Android" Available at:                        Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://www.android.com/what-is-          Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         android/                                           Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2580         N/A                                   Webpage dated 5/7/2019 titled "At         Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         I/O '19: Building a more helpful              Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Google for everyone" Available at:        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://blog.google/technology/devel               Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         opers/io19-helpful-google-everyone/                                                                                                                                                                                                        Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2581         N/A          PX 1813 Chris Dury       Website article dated 10/5/2010                              Chris Dury                        Defense to Plaintiffs' claims                             Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                         titled "GetJar to give mobile games                                                                                                                                    misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                         away to millions of users for free"                                                                                                                                    hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2582         N/A         PX2729 Sundar Pichai      Undated document titled "Google           Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims                             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Code of Conduct"                              Edward Cunningham, Sarah Karam, David                                                                                    403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                   Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                            Sebastian Porst, Kirsten Rasanen                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2583         N/A                                   Letter from Alphabet Inc. to United     Hiroshi Lockheimer, Sameer Samat, Sarah Karam, David Defense to Plaintiffs' claims                               Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         States Security and Exchange               Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                                            403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Commission, “Re: Alphabet Inc.,                            Kirsten Rasanen                                                                                             the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         Form 10-Q for the Quarterly Period                                                                                                                                     the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         Ended June 30, 2017, Filed July 25,                                                                                                                                                                                                        Foundation/personal knowledge will be established (Rules
                                                         2017, File No. 001-37580,” August                                                                                                                                                                                                          201, 602, 901, 902)
                                                         25, 2017.




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                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 214 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                               Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                              Purpose   Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2584         N/A                                   Alphabet, Q2 2022 Earnings Call,            Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         July 26, 2022. Available at:              Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://abc.xyz/investor/events/2022-    Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         q2-earnings-call/                                        Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2585         N/A                                   Alphabet, Q3 2022 Earnings Call,            Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         October 25, 2022. Available at:           Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://abc.xyz/investor/events/2022-    Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         q3-earnings-call/                                        Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2586         N/A                                   Alphabet Inc. Form 10-Q for the             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         quarterly period ended September          Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         30, 2022. Available at:                  Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://abc.xyz/assets/06/a6/2ea9850                     Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         a4b4584c07fac2c1b517d/20221025-                                                                                                                                                                                         Foundation/personal knowledge will be established (Rules
                                                         alphabet-10q.pdf                                                                                                                                                                                                        201, 602, 901, 902)
  TEMP2587         N/A                                   Undated webpage titled “About               Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         YouTube,” available at                    Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://about.youtube/, accessed on      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         November 7, 2022.                                        Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2588         N/A                                   Undated webpage titled “Grow with           Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Google Play Pass,” Google,                Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         available at                             Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://play.google.com/console/abo                      Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ut/programs/googleplaypass/,                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                         accessed on November 7, 2022                                                                                                                                                                                            201, 602, 901, 902)
  TEMP2589         N/A                                   Webpage dated 10/4/2016 titled              Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         “Introducing Pixel, our new phone         Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         made by Google,” Google, October         Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         4, 2016, available at                                    Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         https://blog.google/products/pixel/int                                                                                                                                                                                  Foundation/personal knowledge will be established (Rules
                                                         roducing-pixel-our-new-phone-made-                                                                                                                                                                                      201, 602, 901, 902)
                                                         google/, accessed on November 9,
                                                         2022.
  TEMP2590         N/A                                   Webpage dated 9/20/2017 titled              Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         “Say hello to Nest Hello,” available      Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         at                                       Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://blog.google/products/nest/say-                   Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         hello-nest-hello/, accessed on                                                                                                                                                                                          Foundation/personal knowledge will be established (Rules
                                                         November 9, 2022.                                                                                                                                                                                                       201, 602, 901, 902)
  TEMP2591         N/A                                   Undated webpage titled “Subscribe           Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         with Google,” available at                Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://support.google.com/googlepl      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         ay/answer/7668730?hl=en&ref_topi                         Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         c=1689236, accessed on October 7,                                                                                                                                                                                       Foundation/personal knowledge will be established (Rules
                                                         2022.                                                                                                                                                                                                                   201, 602, 901, 902)

  TEMP2592         N/A                                   Webpage dated 2/21/2013 titled              Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         “The Chromebook Pixel, for what’s         Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         next,” available at                      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://chrome.googleblog.com/2013                       Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         /02/the-chromebook-pixel-for-whats-                                                                                                                                                                                     Foundation/personal knowledge will be established (Rules
                                                         next.html, accessed on November 9,                                                                                                                                                                                      201, 602, 901, 902)
                                                         2022.
  TEMP2593         N/A                                   Webpage dated 7/19/2022 titled “An          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Update on Google Play Billing in the      Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         EEA,” available at:                      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://blog.google/around-the-                          Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         globe/google-europe/an-update-on-                                                                                                                                                                                       Foundation/personal knowledge will be established (Rules
                                                         google-play-billing-in-the-eea.                                                                                                                                                                                         201, 602, 901, 902)
  TEMP2594         N/A                                   Undated webpage titled “Changes to          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Google Play’s Billing Requirements        Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         for Developers Service Users in          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         South Korea,” Available at:                              Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         https://support.google.com/googlepl                                                                                                                                                                                     Foundation/personal knowledge will be established (Rules
                                                         ay/android-                                                                                                                                                                                                             201, 602, 901, 902)
                                                         developer/answer/11222040.

  TEMP2595         N/A                                   Undated webpage titled “Changes to          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Google Play's service fee in 2021”,       Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Available at:                            Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                      Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                         developer/answer/10632485.                                                                                                                                                                                              201, 602, 901, 902)
  TEMP2596         N/A                                   Webpage dated 11/10/2022 titled             Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         “Continuing our Commitment to             Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         User Choice Billing,” available at:      Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://android-                                         Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         developers.googleblog.com/2022/11                                                                                                                                                                                       Foundation/personal knowledge will be established (Rules
                                                         /continuing-ourcommitment-                                                                                                                                                                                              201, 602, 901, 902)
                                                           to-user-choice-billing.html.




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                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 215 of 250                       JOINT TRIAL EXHIBIT LIST
                                                                                                                                                DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                            Purpose   Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2597         N/A                                   Undated webpage titled “Earn and          Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         track your Google Play Points,”         Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         available at:                          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                    Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/answer/9077192?hl=en&co=GEN                                                                                                                                                                                        Foundation/personal knowledge will be established (Rules
                                                         IE.CountryCode%3DUS#:~:text=An                                                                                                                                                                                        201, 602, 901, 902)
                                                         y%20points%20you%20earn%20wil
                                                         l,progress%20when%20you%20use
                                                         %20them.
  TEMP2598         N/A                                   Undated webpage titled “Enrolling in      Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         the User Choice Billing Pilot,”         Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         available at:                          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                    Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                         developer/answer/12570971?hl=en.                                                                                                                                                                                      201, 602, 901, 902)

  TEMP2599         N/A                                   Undated webpage titled “Offering an       Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Alternative Billing System for Users    Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         in the European Economic Area          Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         (EEA),” available at:                                  Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         https://support.google.com/googlepl                                                                                                                                                                                   Foundation/personal knowledge will be established (Rules
                                                         ay/android-developer/                                                                                                                                                                                                 201, 602, 901, 902)

                                                         answer/12348241#zippy=%2Cwhic
                                                         h-countries-make-up-the-european-
                                                         economic-area-eea.
  TEMP2600         N/A                                   Undated website titled "Supported         Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         locations for distribution to Google    Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Play users" available at:              Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://support.google.com/googlepl                    Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                         ay/android-                                                                                                                                                                                                           Foundation/personal knowledge will be established (Rules
                                                         developer/answer/10532353?hl=en                                                                                                                                                                                       201, 602, 901, 902)

  TEMP2601         N/A                                   Alphabet 10-K for 2022 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520442300001        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         6/goog-20221231.htm                             Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2602         N/A                                   Alphabet 10-K for 2021 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520442200001        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         9/goog-20211231.htm                             Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2603         N/A                                   Alphabet 10-K for 2020 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520442100001        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         0/goog-20201231.htm                             Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2604         N/A                                   Alphabet 10-K for 2019 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520442000000        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         8/goog10-k2019.htm                              Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2605         N/A                                   Alphabet 10-K for 2018 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520441900000        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         4/goog10-kq42018.htm                            Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2606         N/A                                   Alphabet 10-K for 2017 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520441800000        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         7/goog10-kq42017.htm                            Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                               Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2607         N/A                                   Alphabet 10-K for 2016 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1652044/00016520441700000        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         8/goog10-kq42016.htm                            Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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  TEMP2608         N/A                                   Alphabet 10-K for 2015 available at:   Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00016520441600001        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         2/goog10-k2015.htm                              Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2609         N/A                                   Google 10-K for 2014 available at:     Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,      Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar         Edward Cunningham, Sarah Karam , David                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00012887761500000        Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                           the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         8/goog2014123110-k.htm                          Sebastian Porst, Kirsten Rasanen                                                                  the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 216 of 250                          JOINT TRIAL EXHIBIT LIST
                                                                                                                                                   DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                              Purpose   Objecting Party                 Summary of Objection (w/Authority)                              Summary of Response (w/Authority)
  TEMP2610         N/A                                   Google 10-K for 2013 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00012887761400002           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         0/goog2013123110-k.htm                             Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2611         N/A                                   Google 10-K for 2012 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00011931251302836           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         2/d452134d10k.htm                                  Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2612         N/A                                   Google 10-K for 2011 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00011931251202533           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         6/d260164d10k.htm                                  Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2613         N/A                                   Google 10-K for 2010 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00011931251103293           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         0/d10k.htm                                         Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2614         N/A                                   Google 10-K for 2009 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00011931251003077           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         4/d10k.htm                                         Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2615         N/A                                   Google 10-K for 2008 available at:        Sundar Pichai, Hiroshi Lockheimer, Sameer Samat,     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         https://www.sec.gov/Archives/edgar            Edward Cunningham, Sarah Karam , David                                                                403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         /data/1288776/00011931250902944           Kleidermacher, Purnima Kochikar, Mrinalini Loew,                                                          the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         8/d10k.htm                                         Sebastian Porst, Kirsten Rasanen                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2616         N/A                                   Undated webpage titled "An open          Sundar Pichai, David Kliedermacher, Ed Cunningham     Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         letter to Google" available at:                                                                                                                     403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://privacyinternational.org/advo                                                                                                               the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         cacy/3320/open-letter-google                                                                                                                        the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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  TEMP2617         N/A       DX0012 Sweeney, Timothy     Tweet dated 8/5/2018 from T.                              Timothy Sweeney                      Defense to Plaintiffs' claims          Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                         Sweeney                                                                                                                                             misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                             hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2618         N/A       DX0667 Sweeney, Timothy     Epic Games, Inc. v. Apple Inc., Case                      Timothy Sweeney                      Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         No. C-20-5640 YGR, Reporter's                                                                                                                       confusing the issues and/or misleading to the jury, Rule            admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Transcript of Proceedings (May 3,                                                                                                                   802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                         2021)                                                                                                                                               has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                             is unfairly incomplete, Foundation                                  properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                 knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2619         N/A        DX1360 Smith, Douglas      Document dated 4/4/2022 titled                              Douglas Smith                      Defense to Plaintiffs' claims          Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                         "CIS Google Android Benchmark"                                                                                                                      misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                             hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2620         N/A       DX1133 Douglas Bernheim     Undated document titled "Paid app       Purnima Kochikar; Sameer Samat; Hiroshi Lockheimer     Defense to Plaintiffs' claims          Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or          Balance favors admissibility (Rules 401, 403), Not hearsay
                                                         availability"                                                                                                                                       misleading to the jury, Rule 802—exhibit contains inadmissible      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                             hearsay, Rule 901—proponent has not established authenticity of     804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2621         N/A                                   Undated webpage titled "Supercell       Purnima Kochhikar, Jamie Rosenberg, Michael Marchak, Defense to Plaintiffs' claims            Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Store Help: Checkout & Payment"           Lawrence Koh, Sameer Samat, Hiroshi Lockheimer                                                            403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         Available at:                                                                                                                                       the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                         https://store.supercell.com/help                                                                                                                    the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2622         N/A                                   Undated webpage titled "Supercell       Purnima Kochhikar, Jamie Rosenberg, Michael Marchak, Defense to Plaintiffs' claims            Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Store Help: General" Available at:        Lawrence Koh, Sameer Samat, Hiroshi Lockheimer                                                            403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://store.supercell.com/help                                                                                                                    the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                 201, 602, 901, 902)
  TEMP2623         N/A                                   Undated webpage titled "Supercell       Purnima Kochhikar, Jamie Rosenberg, Michael Marchak, Defense to Plaintiffs' claims            Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Store: About" Available at:               Lawrence Koh, Sameer Samat, Hiroshi Lockheimer                                                            403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                         https://store.supercell.com/about                                                                                                                   the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                             the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
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                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                  Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number             Name / Description                                                                                               Purpose   Objecting Party                 Summary of Objection (w/Authority)                              Summary of Response (w/Authority)
  TEMP2624         N/A                                     Undated webpage titled "Supercell       Purnima Kochhikar, Jamie Rosenberg, Michael Marchak, Defense to Plaintiffs' claims             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           Store: About the supercell store"         Lawrence Koh, Sameer Samat, Hiroshi Lockheimer                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Available at:                                                                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://support.supercell.com/clash-                                                                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           royale/en/articles/what-is-the-                                                                                                                                                                                          Foundation/personal knowledge will be established (Rules
                                                           supercell-store-3.html                                                                                                                                                                                                   201, 602, 901, 902)
  TEMP2625         N/A                                     Undated webpage titled "Supercell       Purnima Kochhikar, Jamie Rosenberg, Michael Marchak, Defense to Plaintiffs' claims             Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           Store (Connecting Game Account)"          Lawrence Koh, Sameer Samat, Hiroshi Lockheimer                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Available at:                                                                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://store.supercell.com/                                                                                                                         the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2626         N/A                                     Undated webpage titled "Android                 David Kleidermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           ecosystem security (Device Safety)"                                                                                                                  403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           available at:                                                                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://transparencyreport.google.co                                                                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           m/android-security/device-platform-                                                                                                                                                                                      Foundation/personal knowledge will be established (Rules
                                                           safety?hl=en                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2627         N/A                                     Undated webpage titled "Android                 David Kleidermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           ecosystem secuity (overview)"                                                                                                                        403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           available                                                                                                                                            the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           at:https://transparencyreport.google.                                                                                                                the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           com/android-                                                                                                                                                                                                             Foundation/personal knowledge will be established (Rules
                                                           security/overview?hl=en                                                                                                                                                                                                  201, 602, 901, 902)
  TEMP2628         N/A                                     Undated webpage titled "Android                 David Kleidermacher, Ed Cunningham              Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           ecosystem security (Play Store                                                                                                                       403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Safety)" available at:                                                                                                                               the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://transparencyreport.google.co                                                                                                                 the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           m/android-security/store-app-                                                                                                                                                                                            Foundation/personal knowledge will be established (Rules
                                                           safety?hl=en                                                                                                                                                                                                             201, 602, 901, 902)
  TEMP2629         N/A                                     Undated webpage titled "Switch               Hiroshi Lockheimer, Sameer Samat, Edward           Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           from iPhone to Android. It's easier        Cunningham, Sarah Karam, David Kleidermacher,                                                             403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           than ever." available at:                 Purnima Kochikar, Mrinalini Loew, Sebastian Porst,                                                         the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://www.android.com/switch-to-                        Kirsten Rasanen                                                                            the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           android/                                                                                                                                                                                                                 Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2630         N/A                                     Undated webpage titled "The apps        Sameer Samat, Purnima Kochikar, Hiroshi Lockheimer, Defense to Plaintiffs' claims              Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           you love. From a place you can                Carson Oliver, Apple custodian of record                                                               403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           trust." available at:                                                                                                                                the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://www.apple.com/app-store/                                                                                                                     the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2631         N/A                                     Undated webpage titled "It's easy to    Sameer Samat, Purnima Kochikar, Hiroshi Lockheimer, Defense to Plaintiffs' claims              Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           switch from Android to iPhone."               Carson Oliver, Apple custodian of record                                                               403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Available at:                                                                                                                                        the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://www.apple.com/iphone/switc                                                                                                                   the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           h/                                                                                                                                                                                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2632         N/A                                     Document dated 10/2021 titled              David Kleidermacher, Ed Cunningham, Hiroshi          Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           "Building a Trusted Ecosystem for        Lockheimer, Carson Oliver Apple custodian of record                                                         403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Millions of Apps" available at:                                                                                                                      the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://www.apple.com/privacy/docs                                                                                                                   the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           /Building_a_Trusted_Ecosystem_for                                                                                                                                                                                        Foundation/personal knowledge will be established (Rules
                                                           _Millions_of_Apps_A_Threat_Anal                                                                                                                                                                                          201, 602, 901, 902)
                                                           ysis_of_Sideloading.pdf
  TEMP2633         N/A                                     Video dated 11/9/2021 titled "Tim         Hiroshi Lockheimer, David Kleidermacher, Sameer       Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           Cook on the Future of the Internet,                            Samat                                                                                 403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           Crypto, Mental Health, and More"                                                                                                                     the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           Available at:                                                                                                                                        the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           https://www.youtube.com/watch?v=                                                                                                                                                                                         Foundation/personal knowledge will be established (Rules
                                                           HM9r6Q_jFCE                                                                                                                                                                                                              201, 602, 901, 902)
  TEMP2634         N/A                                     Video dated 4/22/2018 titled "Apple               Hiroshi Lockheimer, Sameer Samat              Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                           Makes Fun of Android #3" Available                                                                                                                   403—unfairly prejudicial, confusing the issues and/or misleading to (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                           at:                                                                                                                                                  the jury, Rule 901—proponent has not established authenticity of    401, 403), Exhibit will be properly authenticated (Rule
                                                           https://www.youtube.com/watch?v=                                                                                                                     the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                           z1APG3HjO4Q                                                                                                                                                                                                              Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                    201, 602, 901, 902)
  TEMP2635         N/A         DX0111 Allison, Steven      Epic Games, Inc. v. Apple Inc., Case                        Steven Allison                      Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                           No. C-20-5640 YGR, Reporter's                                                                                                                        confusing the issues and/or misleading to the jury, Rule            admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                           Transcript of Proceedings (May 7,                                                                                                                    802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                           2021)                                                                                                                                                has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                is unfairly incomplete, Foundation                                  properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                    knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2636         N/A                                     Epic Games, Inc. v. Apple Inc., Case       Tim Sweeney, Steve Allison, Matthew Weissinger       Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                           No. 4:20-cv-05640-YGR, Dkt. No.                                                                                                                      confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                           777-3, Findings of Fact and                                                                                                                          802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                           Conclusions of Law Proposed by                                                                                                                       has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                           Epic Games, Inc. (May 28, 2021).                                                                                                                     is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                   knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2637         N/A                                     Epic Games, Inc. v. Apple Inc., Case       Tim Sweeney, Steve Allison, Matthew Weissinger       Defense to Plaintiffs' claims          Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                           No. 4:20-cv-05640-YGR, Dkt. No.                                                                                                                      confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                           407, Findings of Fact and                                                                                                                            802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                           Conclusions of Law Proposed by                                                                                                                       has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                           Epic Games, Inc. (April 8, 2021).                                                                                                                    is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                   knowledge will be established (Rules 201, 602, 901, 902)




                                                                                                                                                          187 of 220
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                                                                                                                                                 DISPUTED EXHIBITS




                                                                                                            Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                                             Purpose                              Objecting Party                 Summary of Objection (w/Authority)                              Summary of Response (w/Authority)
  TEMP2638         N/A                                   Twitter profile of Carson Oliver,          Carson Oliver; Apple custodian of record          Defense to Plaintiffs' claims                                      Plaintiff     Rule 403—unfairly prejudicial, confusing the issues and/or         Balance favors admissibility (Rules 401, 403), Not hearsay
                                                         Available at:                                                                                                                                                                 misleading to the jury, Rule 802—exhibit contains inadmissible     (Rule 801) and/or hearsay objection applies (Rules 803,
                                                         https://twitter.com/carsonoliver                                                                                                                                              hearsay, Rule 901—proponent has not established authenticity of    804, 807), Exhibit will be properly authenticated (Rule
                                                                                                                                                                                                                                       the document, Rule 106—exhibit is unfairly incomplete, Foundation 901), Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                                                                                                                          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                                          201, 602, 901, 902)
  TEMP2639         N/A          DX1408 Don Morrill       Webpage dated 3/2/2022 titled                            Don Morill                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial, Exhibit is relevant (Rules 401, 402), Balance favors
                                                         "How to Sideload Apps onto Your                                                                                                                                               confusing the issues and/or misleading to the jury, Rule           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                         Amazon Fire Tablet"                                                                                                                                                           802—exhibit contains inadmissible hearsay, Rule 901—proponent and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                       has not established authenticity of the document, Rule 106—exhibit Exhibit will be properly authenticated (Rule 901), Exhibit is
                                                                                                                                                                                                                                       is unfairly incomplete, Foundation                                 properly complete (Rule 106), Foundation/personal
                                                                                                                                                                                                                                                                                                          knowledge will be established (Rules 201, 602, 901, 902)

  TEMP2640         N/A               DX1148              Screenshot of the payments page for                      Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Foundation          Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Down Dog on iOS App Store                                                                                                                                                                                                                         (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                                                                           be established (Rules 201, 602, 901, 902)

  TEMP2641         N/A               DX1149              Screenshot of the payments page for                      Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Foundation          Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Down Dog on Google Play.                                                                                                                                                                                                                          (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                                                                           be established (Rules 201, 602, 901, 902)

  TEMP2642         N/A               DX1150              Screenshot of the payments page for                      Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Foundation          Not hearsay (Rule 801) and/or hearsay objection applies
                                                         Down Dog on website.                                                                                                                                                                                                                              (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                                                                                                                           be established (Rules 201, 602, 901, 902)

  TEMP2643         N/A               DX1152              Down Dog FAQ                                             Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                       106—exhibit is unfairly incomplete, Foundation                      (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                                                                                                                           106), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                                                                           (Rules 201, 602, 901, 902)
  TEMP2644         N/A               DX1156              Strike a pose_ Yoga apps to find                         Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 802—exhibit           Exhibit is properly complete (Rule 106), Not hearsay (Rule
                                                         your flow - Android Apps on Google                                                                                                                                            contains inadmissible hearsay, Foundation                           801) and/or hearsay objection applies (Rules 803, 804,
                                                         Play.                                                                                                                                                                                                                                             807), Foundation/personal knowledge will be established
                                                                                                                                                                                                                                                                                                           (Rules 201, 602, 901, 902)
  TEMP2645         N/A               DX1162              Down Dog on X_ _Go Epic!                                 Ben Simon                           Defense to Plaintiffs' claims                                      Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Foundation          Not hearsay (Rule 801) and/or hearsay objection applies
                                                         @TimSweeneyEpic is our new hero                                                                                                                                                                                                                   (Rules 803, 804, 807), Foundation/personal knowledge will
                                                         (Aug. 13, 2020)                                                                                                                                                                                                                                   be established (Rules 201, 602, 901, 902)

  TEMP2646         N/A                                   Press release dated 11/18/2020 titled   Sameer Samat, Paul Gennai, Hiroshi Lockheimer,       Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         "Apple announces App Store Small                      Purnima Kochikar                                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                         Business Program" Available at:                                                                                                                                               hearsay, Foundation; Rule 901—proponent has not established         hearsay objection applies (Rules 803, 804, 807), Exhibit
                                                         https://www.apple.com/newsroom/2                                                                                                                                              authenticity of the document                                        will be properly authenticated (Rule 901)
                                                         020/11/apple-announces-app-store-
                                                         small-business-program/

  TEMP2647         N/A                                   Website titled "Layoffs at Epic",                     Timothy Sweeney                        Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,    Exhibit is relevant (Rules 401, 402), Balance favors
                                                         available at:                                                                                counterclaims                                                                    confusing the issues and/or misleading to the jury                  admissibility (Rules 401, 403)
                                                         https://www.epicgames.com/site/en-
                                                         US/news/layoffs-at-epic
  TEMP2648         N/A                                   Website titled "Upcoming Fortnite                     Timothy Sweeney                        Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—unfairly prejudicial,    Exhibit is relevant (Rules 401, 402), Balance favors
                                                         Pricing Alignment in Czech                                                                   counterclaims                                                                    confusing the issues and/or misleading to the jury                  admissibility (Rules 401, 403)
                                                         Republic, Denmark, Eurozone
                                                         Countries, Hungary, Japan, Norway,
                                                         Poland, Romania, Sweden, Turkye,
                                                         and the United States in October
                                                         2023", available at:
                                                         https://www.fortnite.com/news/upco
                                                         ming-fortnite-pricing-alignment-in-
                                                         czech-republic-denmark-eurozone-
                                                         countries-united-states-and-more-in-
                                                         october-2023



  TEMP2649         N/A                                   Motorola Razr V3 mobile phone                            Rich Miner                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                                       needlessly cumulative; Untimely disclosure                          admissibility (Rules 401, 403), Disclosure is timely; no
                                                                                                                                                                                                                                                                                                           prejudice
  TEMP2650         N/A                                   Nokia 3210 mobile phone                                  Rich Miner                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                                       needlessly cumulative; Untimely disclosure                          admissibility (Rules 401, 403), Disclosure is timely; no
                                                                                                                                                                                                                                                                                                           prejudice
  TEMP2651         N/A                                   Nokia N95 mobile phone                                   Rich Miner                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                                       needlessly cumulative, Untimely disclosure                          admissibility (Rules 401, 403), Disclosure is timely; no
                                                                                                                                                                                                                                                                                                           prejudice
  TEMP2652         N/A                                   T-Mobile Blackberry 8700 mobile                          Rich Miner                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or      Exhibit is relevant (Rules 401, 402), Balance favors
                                                         phone                                                                                                                                                                         needlessly cumulative, Untimely disclosure                          admissibility (Rules 401, 403), Disclosure is timely; no
                                                                                                                                                                                                                                                                                                           prejudice
  TEMP2653         N/A                                   Motorola Q mobile phone                                  Rich Miner                          Defense to Plaintiffs' claims                                      Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or      Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                                       needlessly cumulative, Untimely disclosure                          admissibility (Rules 401, 403), Disclosure is timely; no
                                                                                                                                                                                                                                                                                                           prejudice
  TEMP2654         N/A                                   Undated webpage titled "Apple           Sameer Samat, Paul Gennai, Hiroshi Lockheimer,       Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         Video Partner Program" Available                      Purnima Kochikar                                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                         at:                                                                                                                                                                           hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
                                                         https://developer.apple.com/program
                                                         s/video-partner/
  TEMP2655         N/A                                   Undated webpage titled "App Store       Sameer Samat, Paul Gennai, Hiroshi Lockheimer,       Defense to Plaintiffs' claims                                      Plaintiff     Rule 602—exhibit contains statements not based on declarant’s       Foundation/personal knowledge will be established (Rules
                                                         2.0" Available at:                                    Purnima Kochikar                                                                                                        personal knowledge, Rule 802—exhibit contains inadmissible          201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                         https://www.theverge.com/2016/6/8/                                                                                                                                            hearsay                                                             hearsay objection applies (Rules 803, 804, 807)
                                                         11880730/apple-app-store-
                                                         subscription-update-phil-schiller-
                                                         interview




                                                                                                                                                     188 of 220
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                                                                                                                                                     DISPUTED EXHIBITS




                                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number            Name / Description                                                                                                Purpose                               Objecting Party                Summary of Objection (w/Authority)                               Summary of Response (w/Authority)
  TEMP2656         N/A                                    Undated webpage titled "How to               Mrinalini Loew, Paul Feng, Paul Perryman           Defense to Plaintiffs' claims                                       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 802—exhibit           Exhibit is properly complete (Rule 106), Not hearsay (Rule
                                                          sign up for Netflix" Available at:                                                                                                                                                contains inadmissible hearsay                                       801) and/or hearsay objection applies (Rules 803, 804,
                                                          https://help.netflix.com/en/node/112                                                                                                                                                                                                                  807)
                                                          419#:~:text=To%20sign%20up%20f
                                                          rom%20your,browser%20to%20fini
                                                          sh%20signing%20up.
  TEMP2657         N/A         PX2060 Sandra Alzetta      Presentation dated 7/27/2022 titled                        Sandra Alzetta                       Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                          "Spotify Q2 2022 Update"                                                                                                                                                                                                                              (Rules 803, 804, 807)
  TEMP2658         N/A         DX1055 Robert Rowe         Undated document titled "Download                           Robert Rowe                         Defense to Plaintiffs' claims                                       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                          the iHeartRadio App for Music,                                                                                                                                                                                                                        (Rules 803, 804, 807)
                                                          Radio and Podcasts"
  TEMP2659         N/A         DX1367 Richard Watts       Website article dated 10/21/2021                           Richard Watts                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 802—exhibit contains inadmissible hearsay                      Not hearsay (Rule 801) and/or hearsay objection applies
                                                          titled "Google dropping Play Store                                                              counterclaims                                                                                                                                         (Rules 803, 804, 807)
                                                          subscription fee from 30% to 15%
                                                          on day one for all Android devs"
  TEMP2660         N/A         DX1368 Richard Watts       Website article dated 5/11/2022                            Richard Watts                        Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 602—exhibit contains statements not based on declarant’s        Foundation/personal knowledge will be established (Rules
                                                          "Bumble, Inc. (BMBL) Q1 2022                                                                    counterclaims                                                                     personal knowledge, Rule 802—exhibit contains inadmissible           201, 602, 901, 902), Not hearsay (Rule 801) and/or
                                                          Earnings Call Transcript"                                                                                                                                                         hearsay                                                              hearsay objection applies (Rules 803, 804, 807)
  TEMP2661         N/A                                    Screen recording of flow for                   Dave Kleidermacher, Ed Cunningham                Defense to Plaintiffs' claims                                       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          unknown source flow on Samsung                                                                                                                                                    relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          Galaxy phone                                                                                                                                                                      misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                            based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2662         N/A                                    Screen recording of flow for                   Dave Kleidermacher, Ed Cunningham                Defense to Plaintiffs' claims                                       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          unknown source flow on Google                                                                                                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          Pixel phone                                                                                                                                                                       misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                            based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2663         N/A                                    Screen recording of switching                     Paul Gennai; Hiroshi Lockheimer               Defense to Plaintiffs' claims                                       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          process from Android Pixel phone to                                                                                                                                               relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          iPhone                                                                                                                                                                            misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                            based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2664         N/A                                    Screen recording of switching                     Paul Gennai; Hiroshi Lockheimer               Defense to Plaintiffs' claims                                       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          process from iPhone to Android                                                                                                                                                    relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          Pixel phone                                                                                                                                                                       misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                            based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2665         N/A                                    Screen recording of Tinder             Shar Dubey, Peter Foster, Adrian Ong; Brandon Barras; Defense to Plaintiffs' claims; proof of Match's liability for          Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          subscription purchase from website                         Sarah Karam                       counterclaims                                                                        relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          and use of Tinder subscription in                                                                                                                                                 misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                          Android app                                                                                                                                                                       based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2666         N/A                                    Screen recording of V-Bucks                   Mrinalini Loew; Paul Feng; Tim Sweeney            Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          purchase from alternate platform and                                                            counterclaims                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          redemption of V-Bucks in Android                                                                                                                                                  misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                          app                                                                                                                                                                               based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure

  TEMP2667         N/A                                    Screen recording of V-Bucks                   Mrinalini Loew; Paul Feng; Tim Sweeney            Defense to Plaintiffs' claims; proof of Epic's liability for        Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                          purchase from mobile web browser                                                                counterclaims                                                                     relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                          and redemption of V-Bucks in                                                                                                                                                      misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                          Android app                                                                                                                                                                       based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                            contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                            established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                            Foundation
                                                                                                                                                                                                                                            Untimely disclosure




                                                                                                                                                         189 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 220 of 250                         JOINT TRIAL EXHIBIT LIST
                                                                                                                                                  DISPUTED EXHIBITS




                                                                                                             Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number          Name / Description                                                                                               Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2668         N/A                                   Screen recording of V-Buck                  Mrinalini Loew; Paul Feng; Tim Sweeney            Defense to Plaintiffs' claims; proof of Epic's liability for       Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                         purchases in Android app                                                                      counterclaims                                                                    relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                        misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                        based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                        contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                        established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                        Foundation
                                                                                                                                                                                                                                        Untimely disclosure

  TEMP2669         N/A                                   Screenshot showing default home      Shar Dubey, Peter Foster, Adrian Ong, Brandon Barras; Defense to Plaintiffs' claims; proof of Match's liability for         Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                         screen of Samsung smartphone                             Sarah Karam                       counterclaims                                                                       relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                                                                                                                                        misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                        based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                        contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                        established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                        Foundation
                                                                                                                                                                                                                                        Untimely disclosure

  TEMP2670         N/A                                   Screen recording showing access to   Shar Dubey, Peter Foster, Adrian Ong, Brandon Barras; Defense to Plaintiffs' claims; proof of Match's liability for         Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                         Tinder on Samsung Galaxy Store and                       Sarah Karam                       counterclaims                                                                       relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                         in-app purchase flow                                                                                                                                                           misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                        based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                        contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                        established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                        Foundation
                                                                                                                                                                                                                                        Untimely disclosure

  TEMP2671         N/A                                   Screen recording showing Tinder      Shar Dubey, Peter Foster, Adrian Ong, Brandon Barras; Defense to Plaintiffs' claims; proof of Match's liability for         Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 402—exhibit is not Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                         website on Samsung phone web                             Sarah Karam                       counterclaims                                                                       relevant, Rule 403—unfairly prejudicial, confusing the issues and/or (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                         browser                                                                                                                                                                        misleading to the jury, Rule 602—exhibit contains statements not     403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                        based on declarant’s personal knowledge, Rule 802—exhibit            applies (Rules 803, 804, 807), Foundation/personal
                                                                                                                                                                                                                                        contains inadmissible hearsay, Rule 901—proponent has not            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                                                        established authenticity of the document                             Disclosure is timely; no prejudice
                                                                                                                                                                                                                                        Foundation
                                                                                                                                                                                                                                        Untimely disclosure

  TEMP2672         N/A                                   Screen recording showing OkCupid     Shar Dubey, Peter Foster, Adrian Ong, Brandon Barras; Defense to Plaintiffs' claims; proof of Match's liability for         Plaintiff     Rule 106—exhibit is unfairly incomplete, Rule 403—unfairly              Exhibit is properly complete (Rule 106). Exhibit is relevant
                                                         website on Samsung phone web                             Sarah Karam                       counterclaims                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                         browser                                                                                                                                                                        602—exhibit contains statements not based on declarant’s personal       403), Not hearsay (Rule 801) and/or hearsay objection
                                                                                                                                                                                                                                        knowledge, Rule 802—exhibit contains inadmissible hearsay               applies (Rules 803, 804, 807), Disclosure is timely; no
                                                                                                                                                                                                                                        Foundation                                                              prejudice
                                                                                                                                                                                                                                        Untimely disclosure

  TEMP2673                           DX 0004             Fortnite on Android Launch                              Babcock, Chris                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Technical Blog (09/06/2018)                             Grant, Andrew                         unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                                       tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                                       resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                                        it.
  TEMP2674                       PX 0305; PX 1128        Android Market - Now available for                         Chu, Eric                          Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         users - Android Developers Blog                         Mattson, Justin                       unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         (10/22/2008)                                              Rubin, Andy                         tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                                                                                   Sears, Nick                         conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                Barras, Brandon                        resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                  Harrison, Don                        Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial
                                                                                                              Kleidermarcher, Dave                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                               Kochikar, Purnima
                                                                                                                 Koh, Lawrence
                                                                                                                 Kolotouros, Jim
                                                                                                              Lockheimer, Hiroshi
                                                                                                                 Mattson, Justin
                                                                                                                  Pichai, Sundar
                                                                                                                Rosenberg, Jamie
                                                                                                                 Samat, Sameer

  TEMP2675                           PX 0712             Update on Play (06/21/2020)                            Barras, Brandon                        Proof of Defendants’ liability for antitrust violations,          Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                  Harrison, Don                        unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                              Kleidermarcher, Dave                     tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                               Kochikar, Purnima                       conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                 Koh, Lawrence                         resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802).
                                                                                                                 Kolotouros, Jim                       Defendants’ Answers and Counterclaims against Plaintiffs
                                                                                                              Lockheimer, Hiroshi
                                                                                                                 Mattson, Justin
                                                                                                                  Pichai, Sundar
                                                                                                                Rosenberg, Jamie
                                                                                                                 Samat, Sameer




                                                                                                                                                      190 of 220
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                                                                                                                                     DISPUTED EXHIBITS




                                                                                                          Sponsoring Witness(es)
Exhibit Number   Beg Bates       Deposition Exhibit Number                Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2676                   PX 0713; PX 1179; PX 1712; PX 2053   Android Developers Blog, "Listening        Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  to Developer Feedback to Improve             Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  Google Play" (09/28/2020)                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                            Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                              Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                              Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                           Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                              Mattson, Justin
                                                                                                               Pichai, Sundar
                                                                                                             Rosenberg, Jamie
                                                                                                              Samat, Sameer
  TEMP2677                                PX 0714                 Developer Program Policy                   Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  (01/20/2021)                                 Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                           Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                            Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                              Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                              Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                           Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                              Mattson, Justin
                                                                                                               Pichai, Sundar
                                                                                                             Rosenberg, Jamie
                                                                                                              Samat, Sameer
  TEMP2678                                PX 0889                 Presentation titled, "Android               Brady, Patrick              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Anatomy and Physiology" from                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  http://sites.google.com/site/io/anato                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                  my--physiology-of-an-android                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2679                                PX 1177                 Lamda Cube - Twitter                       Porst, Sebastian             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time; Exhibit is
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Incomplete; the                 relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        introduction of any remaining portions ought, in fairness, to be        Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                                          considered contemporaneously (Fed. R .Evid. 106)., Relevance            danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                                          (Fed. R. Evid. 402)., Misleading; undue prejudice; confusion of         the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                                          issues; waste of time (Fed. R. Evid. 403).                              presenting cumulative evidence.
  TEMP2680                                PX 1188                 Compatibility Definition Android 12      Cunningham, Edward             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  (10/04/2021)                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2681                                PX 1692                 Document titled, "Google Play's            Loew, Mrinalini              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Billing System Overview"                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  (09/14/2022)                                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2682                                PX 1695                 Document titled, "Purchase Flow"           Loew, Mrinalini              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  (09/14/2022)                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2683                                PX 1696                 Document titled, "Payments"                Loew, Mrinalini              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  (09/14/2022)                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2684                                PX 1815                 Website titled, "Imperio Remote           Dury, Christopher             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Desktop Earns Gold - With GetJar                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  Gold Program"                                                           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                  www.prweb.comlreleases/2011/9/pr                                        conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                  web8802464.htm 1/                                                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                  (last accessed 09/15/2022)                                              Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2685                                PX 1818                 Website titled, "How to Install           Dury, Christopher             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Android App"                                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  https://www.getjar.com/how-it-                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                  works                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                  (ast accessed 09/15/2022)                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2686                                PX 1823                 Website titled, "GetJar Terms and         Dury, Christopher             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Conditions"                                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  https://www.getjar.com/info/terms                                       tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                  (last accessed 09/16/2022                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).




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                                                        Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 222 of 250       JOINT TRIAL EXHIBIT LIST
                                                                                                                                    DISPUTED EXHIBITS




                                                                                                         Sponsoring Witness(es)
Exhibit Number   Beg Bates       Deposition Exhibit Number                Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2687                                PX 1868                 Webpage titled, "OCV Privacy               Beaty, Robert               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Policy"                                                                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2688                                PX 1869                 Document titled, "OCV Invoice"             Beaty, Robert               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  (06/15/2022)                                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2689                                PX 1870                 Document titled, "An order of the          Beaty, Robert               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Collin County Commissioner Court                                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  Approving the use of Funds"                                            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                  (06/25/2022)                                                           conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2690                   PX 0713; PX 1179; PX 1712; PX 2053   Document titled, "Android                  Perryman, Paul              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Developers Blog: Listening to                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  Developer Feedback to Improve                                          tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                  Google Play" (09/28/2020)                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2691                                PX 2607                 Webpage titled, "Nvidia - Can I Play       Patel, Aashish              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  GeForce NOW Using my Phone's 4G                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  or 5G Connection?" (09/29/2021)                                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                  https://nvidia.custhelp.com/app/answ                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                  ers/detail/a_id/4952/~/can-i-play-                                     resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                  geforce-now-using-my-                                                  Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).
                                                                  phone%E2%80%99s-4g-or-5g-
                                                                  connection%3F

  TEMP2692                                PX 2696                 Document titled, "Project,                Rasanen, Kirsten             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Documents, Notes"                                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                         tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                                         conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                                         resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                                         Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2693                                PX 1347                 Android Market update: support for        Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  priced applications (02/13/2009)            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                          Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                             Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                             Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                          Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                             Mattson, Justin
                                                                                                              Pichai, Sundar
                                                                                                            Rosenberg, Jamie
                                                                                                             Samat, Sameer
  TEMP2694                                PX 2619                 Webpage titled, "Play Stadia on           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Mobile Devices" (09/20/2022)                Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  https://support.google.com/stadia/an    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                  swer/9609786?hl=en#zippy=%2Cwi           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                  red-connection%2Cwireless-                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                  connection                                 Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                          Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                              Pichai, Sundar
                                                                                                            Rosenberg, Jamie
                                                                                                             Samat, Sameer
  TEMP2695                                PX 2621                 Webpage titled, "Bandwidth, Data          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                  Usage, and Stream Quality"                  Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                  (09/22/2022)                            Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                             Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                             Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                          Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                              Pichai, Sundar
                                                                                                            Rosenberg, Jamie
                                                                                                             Samat, Sameer
  TEMP2696                                PX 2654                 Webpage titled, "YouTube Official         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                  Blog - YouTube Music App Now                Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                  Preinstalled on Android 10 Devices"     Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                  (09/27/2019)                             Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                  https://web.archive.org/web/201909         Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                  2721311                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                  5/https://youtube.googleblog.com/20     Lockheimer, Hiroshi                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                                  19/09/youtube-music-app-                    Pichai, Sundar                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                  android10.html                            Rosenberg, Jamie                                                                                             it.
                                                                                                             Samat, Sameer




                                                                                                                                        192 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 223 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2697                           PX 2678             Webpage titled, "Payments"                Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         https://support.google.com/googlepl         Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         ay/android-                             Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         developer/answer/9858738?hl=en           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         (last accessed 11/08/2022)                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2698                           PX 2679             Webpage titled, "Exploring User           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Choice Billing With First Innovation        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         Partner Spotify"                        Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         https://android-                         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         developers.googleblog.com/2022/03          Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         /user-choice-billing.html (last            Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                         accessed 11/02/2022)                    Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2699                           PX 2723             Webpage titled, "Google Public            Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Policy Blog - Browsers Powered by           Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         User Choice" (02/24/2009)               Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         https:/lpublicpolicy.googleblog.com/     Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         2009/02/browsers-powered-by-user-          Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         choice.html                                Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2700                           PX 2743             Webpage titled, "Updates to Android       Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         and Google Play in India"                   Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2701                           PX 2883             Form 10-K, Alphabet Inc., for Fiscal      Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Year Ended 12/31/2021                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2702                           PX 2884             Form 10-K, Alphabet Inc., for Fiscal      Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Year Ended 12/31/2022                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2703                           PX 2892             Webpage titled, "Enrolling in the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         user choice billing pilot - Play            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         Console Help"                           Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2704                           PX 2905             Article titled, "Consumer purchasing      Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         behaviour in the UK                         Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         smartphone market for the               Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         CMA’s Mobile Ecosystems                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         Market Study"                              Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                 Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                     Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                   Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Samat, Sameer                                                                                               it.
  TEMP2705                                               Mayrhofer et al. (December 14,             Mickens, James              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         2020), “The Android Platform                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         Security Model.” ArXiv, e-prints,                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         DOI:                                                                   conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating.
                                                         https://arxiv.org/abs/1904.05572                                       resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                         Last accessed 6/13/2023                                                Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).




                                                                                                                               193 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 224 of 250   JOINT TRIAL EXHIBIT LIST
                                                                                                                            DISPUTED EXHIBITS




                                                                                                 Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2706                                               Lukasz Grzybowski and Ambre               Bernheim, Douglas             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Nicolle, “Estimating Consumer               Rysman, Marc                unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         Inertia in Repeated Choices of               Singer, Hal                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         Smartphones,” The Journal of                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                         Industrial Economics 69, no. 1                                          resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                 objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                 trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                 it.
  TEMP2707                                               "Google Developers: Enabling               Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         alternative billing systems for users        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         in South Korea,” 2021, available         Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         online at,                                Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                         https://developers-                         Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                         kr.googleblog.com/2021/11/enabling-         Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                         alternative-billing-in-korea-en.html     Lockheimer, Hiroshi                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                         (last accessed 6/13/2023)                    Pichai, Sundar                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Rosenberg, Jamie                                                                                             it.
                                                                                                     Samat, Sameer
  TEMP2708                                               “Android Developers Blog:                  Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Continuing our Commitment to User            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         Choice Billing,” November 10,            Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         2022, available                           Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                         online at, https://android-                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                         developers.googleblog.com/2022/11           Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                         /continuing-our-commitment-to-user-      Lockheimer, Hiroshi                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                         choicebilling.                               Pichai, Sundar                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                         html                                       Rosenberg, Jamie                                                                                             it.
                                                         (last accessed 6/13/2023)                   Samat, Sameer
  TEMP2709                                               “Service fees,” Play Console Help,         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         available at                                 Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         https://support.google.com/googlepl      Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         ay/androiddeveloper/answer/112622         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         ?hl=en                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         (last accessed 6/13/2023)                   Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                  Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                      Pichai, Sundar
                                                                                                    Rosenberg, Jamie
                                                                                                     Samat, Sameer
  TEMP2710                                               “Changes to Google Play’s billing          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         requirements for developers serving          Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         users in South Korea,” Play Console      Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         Help, available at                        Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         https://support.google.com/googlepl         Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         ay/android-                                 Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                         developer/answer/11222040 (last          Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                         accessed October 2, 2022).                   Pichai, Sundar
                                                                                                    Rosenberg, Jamie
                                                                                                     Samat, Sameer
  TEMP2711                                               “Understanding Google Play’s               Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Payments policy,” Play Console               Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         Help, available at                       Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         https://support.google.com/googlepl       Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         ay/android-                                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         developer/answer/10281818?hl=en             Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                         (last accessed 6/13/2023)                Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                      Pichai, Sundar
                                                                                                    Rosenberg, Jamie
                                                                                                     Samat, Sameer
  TEMP2712                                               Horizontal Merger Guidelines               Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                      Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                  Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                   Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                     Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                     Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                  Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                      Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                    Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                     Samat, Sameer                                                                                               it.
  TEMP2713                                               Accent, “Consumer purchasing               Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         behaviour in the UK smartphone               Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         market for the CMA’s Mobile              Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         Ecosystems Market Study,” June            Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                         2022                                        Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                     Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                  Lockheimer, Hiroshi                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                                                                      Pichai, Sundar                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Rosenberg, Jamie                                                                                             it.
                                                                                                     Samat, Sameer
  TEMP2714                                               UK CMA report, 2022 (06/10/2022)           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                      Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                  Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                   Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                     Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                     Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                  Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                      Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                    Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                     Samat, Sameer                                                                                               it.




                                                                                                                                194 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 225 of 250    JOINT TRIAL EXHIBIT LIST
                                                                                                                             DISPUTED EXHIBITS




                                                                                                  Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                        Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2715                                               Document titled, "Investigation of          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Competition in Digital Markets -              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         Majority Staff Report and                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         Recommendations / Subcommittee             Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         on Antitrust, Commercial and                 Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                         Administrative Law of the                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                         Committee on the Judiciary", by           Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                         Jerrod Nadler, Chairman, Committee            Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                         on the Judiciary & David N. Cilline,        Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                         Chairman, Subcommittee on                    Samat, Sameer                                                                                               it.
                                                         Antitrust, Commercial and
                                                         Administrative Law

  TEMP2716                                               Document titled: "Competition in the        Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Mobile Application Ecosystem"                 Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         NTIA Report by U.S. Department of         Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         Commerce                                   Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2717                                               European Commission Decision                Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         relating to a proceeding under Article        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         102 of the Treaty on the Functioning      Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         of the European Union (the Treaty)         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         and Article 54 of the EEA                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                         Agreement in Case AT.40099 -                 Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                         Google Android                            Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2718                                               European Commission Opinion of              Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         the Advisory Committee on                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         restrictive practices and dominant        Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         positions at its meeting on 6 July         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         2018 concerning a draft decision in          Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                         Case AT.40099 - Google Android               Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2719                                               European Commission Opinion of              Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         the Advisory Committee on                     Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         restrictive practices and dominant        Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         positions at its meeting on 17 July        Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         2018 concerning a draft decision in          Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                         Case AT.40099 - Google Android               Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2720                                               European Commission Decision                Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         relating to a proceeding under Article        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         102 of the Treaty on the Functioning      Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         of the European Union and Article          Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         54 of the EEA Agreement in Case              Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                         AT.40099 - Google Android                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2721                                               European Commission Google                  Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Android Appeal Judgment                       Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.
  TEMP2722                                               Competition Commission of India,            Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Case No. 39 of 2018                           Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                    Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                      Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                      Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                   Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                       Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                     Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                      Samat, Sameer                                                                                               it.




                                                                                                                                 195 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 226 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2723                                               Competition Commission of India,          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Case No. 07 of 2020, No. 14 of              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         2021, No. 35 of 2021                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                 Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                     Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                   Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Samat, Sameer                                                                                               it.
  TEMP2724                                               South Korea KFTC Decision                 Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         (Translated) available at                   Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         https://www.ftc.go.kr/www/selectRe      Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         portUserView.do?key=1 0&rpttype=         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                         1 &report_ data_no=10005                   Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                 Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                     Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                   Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Samat, Sameer                                                                                               it.
  TEMP2725                                               Document titled, "Competition &           Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Markets Authority: Mobile                   Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         ecosystems - Market study final         Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                         report"                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; Opinion,
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has if any, is rationally based on the author’s perception; is
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Opinion         helpful to clearly understand testimony or determine a fact
                                                                                                 Lockheimer, Hiroshi                                                                                            testimony by Lay Witness (Fed. R. Evid. 701)., Conditional            in issue; and/or is not based on knowledge within the scope
                                                                                                     Pichai, Sundar                                                                                             objection; defendants reserve the right to object to this exhibit at  of Rule 702;
                                                                                                   Rosenberg, Jamie                                                                                             trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                    Samat, Sameer                                                                                               it.
  TEMP2726                                               Document titled Android                   Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Compatability Definition Document           Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                         available at                            Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies;
                                                         https://source.android.com/docs/com      Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         patibility/cdd (last accessed              Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         07/27/2023)                                Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2727                                               Webpage entitled, "Understanding          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Google Play's Payment Policy"               Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         available at                            Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         https://support.google.com/googlepl      Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         ay/android-                                Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         developer/answer/10281818?hl=en            Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                         (last accessed 07/27/2023)              Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2728                                               Webpage entitled                          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         “Android Market: Now available for          Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         users" available at https://android-    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                         developers.googleblog.com/2008/10        Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                         /android-market-now-available-for-         Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                         users.html (last acessed 07/27/2023)       Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2729                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended March 31,            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2023                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2730                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended June 30, 2023        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer




                                                                                                                               196 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 227 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2731                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended March 31,            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2022                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2732                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended June 30, 2022        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2733                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended September            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         30, 2022                                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2734                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2022                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2735                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended March 31,            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2021                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2736                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended June 30, 2021        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2737                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended September            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         30, 2021                                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2738                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2021                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer




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                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 228 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2739                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended March 31,            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                         2020                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2740                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended June 30, 2020        Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                 Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies;
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2741                                               Alphabet Inc. Form 10-Q - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         quarterly period ended September            Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         30, 2020                                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Exhibit is relevant to
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses, Evidence’s
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          probative value not substantially outweighed by danger of
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     undue delay, wasting time, and/or needlessly presenting
                                                                                                     Pichai, Sundar                                                                                                                                                                     cumulative evidence, Exhibit is what the proponent claims
                                                                                                   Rosenberg, Jamie                                                                                                                                                                     it is and/or is self-authenticating
                                                                                                    Samat, Sameer
  TEMP2742                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended Deecmber 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2020                                    Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Exhibit is relevant to
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses, Evidence’s
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          probative value not substantially outweighed by danger of
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     undue delay, wasting time, and/or needlessly presenting
                                                                                                     Pichai, Sundar                                                                                                                                                                     cumulative evidence, Opinion, if any, is rationally based on
                                                                                                   Rosenberg, Jamie                                                                                                                                                                     the author’s perception; is helpful to clearly understand
                                                                                                    Samat, Sameer                                                                                                                                                                       testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                                                        on knowledge within the scope of Rule 702

  TEMP2743                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2019.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Exhibit is relevant to
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses, Evidence’s
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          probative value not substantially outweighed by danger of
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     undue delay, wasting time, and/or needlessly presenting
                                                                                                     Pichai, Sundar                                                                                                                                                                     cumulative evidence, Opinion, if any, is rationally based on
                                                                                                   Rosenberg, Jamie                                                                                                                                                                     the author’s perception; is helpful to clearly understand
                                                                                                    Samat, Sameer                                                                                                                                                                       testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                                                        on knowledge within the scope of Rule 702

  TEMP2744                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2018.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Exhibit is relevant to
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses, Evidence’s
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          probative value not substantially outweighed by danger of
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         unfair prejudice, confusing the issues, misleading the jury,
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     undue delay, wasting time, and/or needlessly presenting
                                                                                                     Pichai, Sundar                                                                                                                                                                     cumulative evidence, Opinion, if any, is rationally based on
                                                                                                   Rosenberg, Jamie                                                                                                                                                                     the author’s perception; is helpful to clearly understand
                                                                                                    Samat, Sameer                                                                                                                                                                       testimony or determine a fact in issue; and/or is not based
                                                                                                                                                                                                                                                                                        on knowledge within the scope of Rule 702

  TEMP2745                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2017.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Opinion, if any, is
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            rationally based on the author’s perception; is helpful to
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          clearly understand testimony or determine a fact in issue;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         and/or is not based on knowledge within the scope of Rule
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     702
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2746                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2016.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer




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                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 229 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                           DISPUTED EXHIBITS




                                                                                                Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                      Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2747                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2015.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2748                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2014.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2749                                               Alphabet Inc. Form 10-K - For the         Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         fiscal year ended December 31,              Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                         2013.                                   Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                                                  Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                    Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                                                    Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                 Lockheimer, Hiroshi                                                                                            depending on the purpose for which plaintiffs seek to introduce it.     cumulative evidence
                                                                                                     Pichai, Sundar
                                                                                                   Rosenberg, Jamie
                                                                                                    Samat, Sameer
  TEMP2750                                               Email re "upcoming features for              Foster, Peter             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        One or more witnesses have foundation to testify
                                                         Archer," sent August 9, 2023 at 2:07                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      concerning the exhibit, Exhibit does not contain hearsay
                                                         PM from G. Galyan to J. Reynolds,                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            and/or a hearsay exception applies, Evidence’s probative
                                                         I. Purves, and P. Foster                                               conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          value not substantially outweighed by danger of unfair
                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Conditional objection;          cumulative evidence
                                                                                                                                                                                                                defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2751                                               Webpage entitled "Preview: Device         Bankhead, Paul               Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        One or more witnesses have foundation to testify
                                                         and Network Abuse" available at           Barras, Brandon              unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      concerning the exhibit, Exhibit does not contain hearsay
                                                         https://support.google.com/googlepl        Harrison, Don               tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            and/or a hearsay exception applies, Evidence’s probative
                                                         ay/android-                             Kleidermacher, Dave            conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          value not substantially outweighed by danger of unfair
                                                         developer/answer/13315670 (last          Kochikar Purnima              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   prejudice, confusing the issues, misleading the jury, undue
                                                         accessed 08/23/2023)                       Koh, Lawrence               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            delay, wasting time, and/or needlessly presenting
                                                                                                   Kolotouros, Jim                                                                                              exception (Fed. R. Evid. 801 and 802).; Conditional objection;          cumulative evidence
                                                                                                 Lockheimer, Hiroshi                                                                                            defendants reserve the right to object to this exhibit at trial
                                                                                                    Pichai, Sundar                                                                                              depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                    Samat, Sameer
                                                                                                  Rosenberg, Jamie
                                                                                                     Rubin, Andy
  TEMP2752                                               Webpage entitled "Epic Games Store         Allison, Steven             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        One or more witnesses have foundation to testify
                                                         Year in Review 2022" (2023.03.09)                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      concerning the exhibit, Exhibit does not contain hearsay
                                                         available at                                                           tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            and/or a hearsay exception applies, Evidence’s probative
                                                         https://store.epicgames.com/en-                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          value not substantially outweighed by danger of unfair
                                                         US/news/epic-games-store-2022-                                         resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   prejudice, confusing the issues, misleading the jury, undue
                                                         year-in-                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            delay, wasting time, and/or needlessly presenting
                                                         review#:~:text=Publishers%20and%                                                                                                                       exception (Fed. R. Evid. 801 and 802).                                  cumulative evidence
                                                         20developers%20brought%20626,u
                                                         p%2018%25%20year%20over%20y
                                                         ear (last accessed 2023.08.24)

  TEMP2753                                               Webpage entitled "Introducing Epic         Allison, Steven             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        One or more witnesses have foundation to testify
                                                         First Run" (2023.08.23) available at                                   unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      concerning the exhibit, Exhibit does not contain hearsay
                                                         https://store.epicgames.com/en-                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            and/or a hearsay exception applies, Evidence’s probative
                                                         US/news/introducing-the-epic-first-                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          value not substantially outweighed by danger of unfair
                                                         run-program (last accessed                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   prejudice, confusing the issues, misleading the jury, undue
                                                         2023.08.24)                                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802).                                  cumulative evidence
  TEMP2754                           PX 1078             LinkedIn Profile for Jon Gold (last          Gold, Jon                 Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        One or more witnesses have foundation to testify
                                                         accessed June 8, 2022)                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          value not substantially outweighed by danger of unfair
                                                                                                                                resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        cumulative evidence
                                                                                                                                                                                                                402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                (Fed. R. Evid. 901).
  TEMP2755                   PX 1140; PX 0676; PX 1762   Plaintiffs' Notice of Deposition of       Porst, Sebastian             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                         Google LLC et al (12/13/2021)                                          unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                                resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).                                  prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                Defendants’ Answers and Counterclaims against Plaintiffs                                                                                                delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                        cumulative evidence




                                                                                                                               199 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 230 of 250   JOINT TRIAL EXHIBIT LIST
                                                                                                                            DISPUTED EXHIBITS




                                                                                                 Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number           Name / Description                                                                       Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                   Summary of Response (w/Authority)
  TEMP2756                           PX 1569             LinkedIn Profile for Anthony              DiVento, Anthony              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         One or more witnesses have foundation to testify
                                                         DiVento                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the    prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay             delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         cumulative evidence
                                                                                                                                                                                                                 402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                 (Fed. R. Evid. 901).
  TEMP2757                           PX 1697             Webpage entitled, "Additional in-app       Loew, Mrinalini              Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         One or more witnesses have foundation to testify
                                                         billing system declaration form"                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       concerning the exhibit, Exhibit does not contain hearsay
                                                         available at                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             and/or a hearsay exception applies, Evidence’s probative
                                                         https://support.google.com/googlepl                                     conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           value not substantially outweighed by danger of unfair
                                                         ay/android-                                                             resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the    prejudice, confusing the issues, misleading the jury, undue
                                                         developer/contact/additional_billing_                                   Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay             delay, wasting time, and/or needlessly presenting
                                                         system                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         cumulative evidence
                                                                                                                                                                                                                 402).
  TEMP2758                   PX 1140; PX 0676; PX 1762   Notice of Deposition served on             Rasanen, Kirsten             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         Google (12/13/2021)                                                     unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).                                prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                                                                                              delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                       cumulative evidence
  TEMP2759                           PX 1763             Preparation notes for 30(b)(6)             Rasanen, Kirsten             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         deposition                                                              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).                                prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                                                                                              delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                       cumulative evidence
  TEMP2760                           PX 1812             LinkedIn Profile for Chris Dury (last     Dury, Christopher             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      One or more witnesses have foundation to testify
                                                         accessed 2022.09.15)                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay          delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      cumulative evidence
                                                                                                                                                                                                                 402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                 (Fed. R. Evid. 901).
  TEMP2761                           PX 1993             30(b)(6) Deposition Notice                  Karam, Sarah;               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         (8/25/2022)                                Rasanen, Kirsten;            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit, Exhibit does not contain hearsay
                                                                                                     Stein, Danielle;            tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies, Evidence’s probative
                                                                                                     Samat, Sameer               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).                                prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                                                                                              delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                       cumulative evidence
  TEMP2762                           PX 1994             Match v.Google Defendants' Answer           Karam, Sarah                Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                         and Counterclaims to Match's                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit, Exhibit does not contain hearsay
                                                         Complaint (7/11/2022)                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;        prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial       delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                 depending on the purpose for which plaintiffs seek to introduce it. cumulative evidence

  TEMP2763                           PX 2691             Article titled "Qualcomm makes             Vogelsang, Brian             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         One or more witnesses have foundation to testify
                                                         BREW mobile platform free to use"                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       concerning the exhibit, Exhibit does not contain hearsay
                                                         available at                                                            tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             and/or a hearsay exception applies, Evidence’s probative
                                                         https://www.pocketgamer.biz/news/                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           value not substantially outweighed by danger of unfair
                                                         17677/qualcomm-makes-brew-                                              resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the    prejudice, confusing the issues, misleading the jury, undue
                                                         mobile-platform-free-to-use/                                            Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay             delay, wasting time, and/or needlessly presenting
                                                         (1/11/201)                                                                                                                                              exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         cumulative evidence
                                                                                                                                                                                                                 402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                 (Fed. R. Evid. 901).
  TEMP2764                           PX 2716             Introducing SoundCloud Go                  Pettinato, Jordan            Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).,       concerning the exhibit, Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the           value not substantially outweighed by danger of unfair
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the    prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay             delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         cumulative evidence
                                                                                                                                                                                                                 402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                 (Fed. R. Evid. 901).
  TEMP2765                                               Website entitled Google Pay: Save          Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         and Pay - Apps on Google Play,               Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         available at                             Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         https://play.google.com/store/apps/d      Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                         etails?                                     Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                         id=com.google.android.apps.nbu.pai          Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        402)., Conditional objection; defendants reserve the right to object     delay, wasting time, and/or needlessly presenting
                                                         sa.user&hl=en_US&gl=US.                  Lockheimer, Hiroshi                                                                                            to this exhibit at trial depending on the purpose for which plaintiffs   cumulative evidence
                                                                                                      Pichai, Sundar                                                                                             seek to introduce it.
                                                                                                    Rosenberg, Jamie
                                                                                                     Samat, Sameer




                                                                                                                                200 of 220
                                                    Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 231 of 250      JOINT TRIAL EXHIBIT LIST
                                                                                                                               DISPUTED EXHIBITS




                                                                                                    Sponsoring Witness(es)
Exhibit Number   Beg Bates   Deposition Exhibit Number            Name / Description                                                                         Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                   Summary of Response (w/Authority)
  TEMP2766                                               Website entitled YouTube TV: Live             Barras, Brandon              Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         TV & more - Apps on Google Play,                Harrison, Don              unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         available at                                Kleidermarcher, Dave           tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         https://play.google.com/store/apps/d         Kochikar, Purnima             conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                         etails?                                        Koh, Lawrence               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                         id=com.google.android.apps.youtube             Kolotouros, Jim             Defendants’ Answers and Counterclaims against Plaintiffs                        402)., Conditional objection; defendants reserve the right to object     delay, wasting time, and/or needlessly presenting
                                                         .unplugged.                                 Lockheimer, Hiroshi                                                                                            to this exhibit at trial depending on the purpose for which plaintiffs   cumulative evidence
                                                                                                         Pichai, Sundar                                                                                             seek to introduce it.
                                                                                                       Rosenberg, Jamie
                                                                                                        Samat, Sameer
  TEMP2767                           PX 2743             Blog post titled "Updates to Android            Pichai, Sundar             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         and Google Play in India" dated Jan.                                       unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         25, 2023                                                                   tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        402)., Opinion testimony by Lay Witness (Fed. R. Evid. 701).             delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                             cumulative evidence
  TEMP2768                           PX 2911             Publication by P. Kotzias et al. titled:        Qian, Zhiyun               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         "How Did That get In My Phone?                                             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         Unwanted App Distribution on                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         Android Devices                                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                                                                                                    resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        402)., Misleading; undue prejudice; confusion of issues; waste of        delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                    time (Fed. R. Evid. 403)., Authentication; exhibit has not been          cumulative evidence
                                                                                                                                                                                                                    properly authenticated (Fed. R. Evid. 901).
  TEMP2769                                               Website titled, "Attorney General              Mangat, Sonny               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         Bonta Announces Settlement with                                            unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         Room Rental App for Purchasing                                             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         Fake Online Reviews and Falsely                                            conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                         Claiming Verified Listings"                                                resulting damages; and/or                                                       exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                         (8/28/2023)                                                                                                                                                402)., Misleading; undue prejudice; confusion of issues; waste of        delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                    time (Fed. R. Evid. 403)., Opinion testimony by Lay Witness (Fed.        cumulative evidence
                                                                                                                                                                                                                    R. Evid. 701).
  TEMP2770                                               Website titled, "Attorney General              Mangat, Sonny               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         Issues Consumer Alert on Staying                                           unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         Safe While Having Fun with                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         Pokémon Go" (7/22/2016)                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                                                                                                    resulting damages; and/or                                                       exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                    402)., Misleading; undue prejudice; confusion of issues; waste of        delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                    time (Fed. R. Evid. 403)., Opinion testimony by Lay Witness (Fed.        cumulative evidence
                                                                                                                                                                                                                    R. Evid. 701).
  TEMP2771                                               Website titled, "Attorney General              Mangat, Sonny               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         Bonta Files Lawsuit Against Google                                         unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         for Anticompetitive Practices                                              tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         Related to Google Play Store"                                              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                         (7/7/2021)                                                                 resulting damages; and/or                                                       exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                    402)., Misleading; undue prejudice; confusion of issues; waste of        delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                    time (Fed. R. Evid. 403)., Opinion testimony by Lay Witness (Fed.        cumulative evidence
                                                                                                                                                                                                                    R. Evid. 701).
  TEMP2772                                               Complaint for Civil Penalties,                 Mangat, Sonny               Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         California v. Delta Airlines                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         (12/6/2012)                                                                tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                                                                                                    resulting damages; and/or                                                       exception (Fed. R. Evid. 801 and 802)., Opinion testimony by Lay         prejudice, confusing the issues, misleading the jury, undue
                                                                                                                                                                                                                    Witness (Fed. R. Evid. 701).                                             delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                             cumulative evidence
  TEMP2773                                               Website entitled App Distribution              Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         Guide, available at                          Dubey, Sharmistha             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         https://developer.samsung.com/galax              Foster, Peter             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         y-store/distribution-guide.html.                Harrison, Don              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                                                                     Kleidermarcher, Dave           resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;           prejudice, confusing the issues, misleading the jury, undue
                                                                                                      Kochikar, Purnima             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial          delay, wasting time, and/or needlessly presenting
                                                                                                        Koh, Lawrence                                                                                               depending on the purpose for which plaintiffs seek to introduce it.      cumulative evidence
                                                                                                        Kolotouros, Jim
                                                                                                     Lockheimer, Hiroshi
                                                                                                         Pichai, Sundar
                                                                                                       Rosenberg, Jamie
                                                                                                        Samat, Sameer
  TEMP2774                                               Website entitled App Distribution              Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,             One or more witnesses have foundation to testify
                                                         Guide, available at                          Dubey, Sharmistha             unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the           concerning the exhibit, Exhibit does not contain hearsay
                                                         https://web.archive.org/web/202003               Foster, Peter             tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the    and/or a hearsay exception applies, Evidence’s probative
                                                         13181634/https:/developer.samsung.              Harrison, Don              conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay             value not substantially outweighed by danger of unfair
                                                         com/galaxy-store/distribution-              Kleidermarcher, Dave           resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Conditional objection;           prejudice, confusing the issues, misleading the jury, undue
                                                         guide.html                                   Kochikar, Purnima             Defendants’ Answers and Counterclaims against Plaintiffs                        defendants reserve the right to object to this exhibit at trial          delay, wasting time, and/or needlessly presenting
                                                                                                        Koh, Lawrence                                                                                               depending on the purpose for which plaintiffs seek to introduce it.      cumulative evidence
                                                                                                        Kolotouros, Jim
                                                                                                     Lockheimer, Hiroshi
                                                                                                         Pichai, Sundar
                                                                                                       Rosenberg, Jamie
                                                                                                        Samat, Sameer




                                                                                                                                   201 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 232 of 250  JOINT TRIAL EXHIBIT LIST
                                                                                                                                     DISPUTED EXHIBITS




                                                                                                          Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number             Name / Description                                                                    Purpose                              Objecting Party                  Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2775                                                         Website entitled Samsung                   Barras, Brandon             Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                   Developers Terms and Conditions,         Dubey, Sharmistha             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit, Exhibit does not contain hearsay
                                                                   available at                                 Foster, Peter             tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies, Evidence’s probative
                                                                   https://developer.samsung.com/tnc?l         Harrison, Don              conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                   ocation=us.                             Kleidermarcher, Dave           resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Conditional objection;          prejudice, confusing the issues, misleading the jury, undue
                                                                                                            Kochikar, Purnima             Defendants’ Answers and Counterclaims against Plaintiffs                         defendants reserve the right to object to this exhibit at trial         delay, wasting time, and/or needlessly presenting
                                                                                                              Koh, Lawrence                                                                                                depending on the purpose for which plaintiffs seek to introduce it.     cumulative evidence
                                                                                                              Kolotouros, Jim
                                                                                                           Lockheimer, Hiroshi
                                                                                                               Pichai, Sundar
                                                                                                             Rosenberg, Jamie
                                                                                                              Samat, Sameer
  TEMP2776                                                         Document titled, "IDC smartphones               IDC                    Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   2021" (01/01/2021)                                                     unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2777                                                         Spreadsheet titled, "data.ai"                 Data.ai                  Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   (09/19/2022)                                                           unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2778                                                         Document titled, "Comscore Mobile            Comscore                  Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Metrix Key Measures Panel"                                             unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2779                                                         Statista re number of apps on Google          Statista                 Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Play (08/11/2022)                                                      unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2780                                                         IDC smartphones 2021                            IDC                    Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                                          unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2781                                                         data.ai                                       Data.ai                  Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                                          unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2782                                                         Comscore Mobile Metrix Key                   Comscore                  Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Measures Panel                                                         unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2783                                                         Statista re number of apps on Google          Statista                 Proof of Defendants’ liability for antitrust violations,         Defendant       Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                   Play                                                                   unreasonable restraints of trade, unfair competition and/or                      Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                          tortious interference; proof of Defendants’ discovery                            witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                        truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                          resulting damages; and/or proof rebutting allegations in                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                         not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                           objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                           trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                           it.
  TEMP2784       MATCHGOOGLE00106377                               Match monthly accounting - Android       Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - April 2022                                                                                                                                   their previously-listed objections to this exhibit at a later date
  TEMP2785       MATCHGOOGLE00106378                               Match monthly accounting - Android       Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - May 2022                                                                                                                                     their previously-listed objections to this exhibit at a later date




                                                                                                                                         202 of 220
                                                              Case 3:21-cv-05227-JD Document 489-1 Filed 10/05/23 Page 233 of 250JOINT TRIAL EXHIBIT LIST
                                                                                                                                   DISPUTED EXHIBITS




                                                                                                        Sponsoring Witness(es)
Exhibit Number         Beg Bates       Deposition Exhibit Number          Name / Description                                                                     Purpose                              Objecting Party                  Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2786       MATCHGOOGLE00106379                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - June 2022                                                                                                                                  their previously-listed objections to this exhibit at a later date
  TEMP2787       MATCHGOOGLE00106380                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - July 2022                                                                                                                                  their previously-listed objections to this exhibit at a later date
  TEMP2788       MATCHGOOGLE00115566                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - August 2022                                                                                                                                their previously-listed objections to this exhibit at a later date
  TEMP2789       MATCHGOOGLE00115567                               Spreadsheet dated 5/2022 titled        Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   "Match Group Portfolio Apps:                                                                                                                          their previously-listed objections to this exhibit at a later date
                                                                   Androic CC Sales (excluding
                                                                   China)"
  TEMP2790       MATCHGOOGLE00115568                               Spreadsheet dated 7/2022 titled        Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   "Match Group Portfolio Apps:                                                                                                                          their previously-listed objections to this exhibit at a later date
                                                                   Androic CC Sales (excluding
                                                                   China)"
  TEMP2791       MATCHGOOGLE00115569                               Spreadsheet dated 6/2022 titled        Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   "Match Group Portfolio Apps:                                                                                                                          their previously-listed objections to this exhibit at a later date
                                                                   Androic CC Sales (excluding
                                                                   China)"
  TEMP2792       MATCHGOOGLE00115570                               Spreadsheet dated 4/2022 titled        Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   "Match Group Portfolio Apps:                                                                                                                          their previously-listed objections to this exhibit at a later date
                                                                   Androic CC Sales (excluding
                                                                   China)"
  TEMP2793       MATCHGOOGLE00119761                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - September 2022                                                                                                                             their previously-listed objections to this exhibit at a later date

  TEMP2794       MATCHGOOGLE00119762                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - October 2022                                                                                                                               their previously-listed objections to this exhibit at a later date
  TEMP2795       MATCHGOOGLE00121522                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - November 2022                                                                                                                              their previously-listed objections to this exhibit at a later date

  TEMP2796       MATCHGOOGLE00121529                               Spreadsheet dated 6/2023 titled        Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   "Match Group Portfolio Apps"                                                                                                                          their previously-listed objections to this exhibit at a later date
  TEMP2797       MATCHGOOGLE00122929                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - April 2023                                                                                                                                 their previously-listed objections to this exhibit at a later date
  TEMP2798       MATCHGOOGLE00122930                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - December 2022                                                                                                                              their previously-listed objections to this exhibit at a later date

  TEMP2799       MATCHGOOGLE00122931                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - January 2023                                                                                                                               their previously-listed objections to this exhibit at a later date
  TEMP2800       MATCHGOOGLE00122932                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - May 2023                                                                                                                                   their previously-listed objections to this exhibit at a later date
  TEMP2801       MATCHGOOGLE00122933                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales -July 2023                                                                                                                                   their previously-listed objections to this exhibit at a later date
  TEMP2802       MATCHGOOGLE00122934                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - February 2023                                                                                                                              their previously-listed objections to this exhibit at a later date
  TEMP2803       MATCHGOOGLE00122935                               Match monthly accounting - Android     Match data (TBD)                                                                            Match Plaintiffs   Per agreement with Defendants, the Match Plaintiffs may offer
                                                                   cc sales - March 2023                                                                                                                                 their previously-listed objections to this exhibit at a later date
  TEMP2804          AB-GOOG-000432                                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant       Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                                         defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                         depending on the purpose for which plaintiffs seek to introduce it.
                                                                                                                                                                                                                         Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                                         Evid. 901).
  TEMP2805          AB-GOOG-000492                                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant       Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Cond; Authentication;
                                                                                                                                                                                                                         exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP2806          AB-GOOG-000516                                                                                                      Defense to Plaintiffs' claims                                     Plaintiff      Rule 802—exhibit contains inadmissible hearsay, Rule               Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                         402—exhibit is not relevant, Rule 602—exhibit contains statements (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                         not based on declarant’s personal knowledge, Rule 901—proponent Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                         has not established authenticity of the document, Rule 106—exhibit 201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                         is unfairly incomplete, Foundation                                 (Rule 901), Exhibit is properly complete (Rule 106),

  TEMP2807         AMZ-GP_00001492                                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant       Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).
  TEMP2808         AMZ-GP_00001497                                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant       Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                                        unreasonable restraints of trade, unfair competition and/or                      fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                                        tortious interference; proof of Defendants’ discovery                            Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                        Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                        resulting damages; and/or proof rebutting allegations in                         witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                         truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                 JOINT TRIAL EXHIBIT LIST
                                                                                                                   DISPUTED EXHIBITS




                                                                                        Sponsoring Witness(es)
Exhibit Number      Beg Bates      Deposition Exhibit Number       Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2809       AMZ-GP_00001721                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2810       AMZ-GP_00001741                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2811       AMZ-GP_00001763                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2812       AMZ-GP_00001793                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2813       AMZ-GP_00001817                                                                                        Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        402—exhibit is not relevant, Rule 403—unfairly prejudicial,           (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                        confusing the issues and/or misleading to the jury, Rule              Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                        602—exhibit contains statements not based on declarant’s personal Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        knowledge, Rule 901—proponent has not established authenticity 201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                        of the document, Foundation                                           (Rule 901),
  TEMP2814       AMZ-GP_00001832                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2815       AMZ-GP_00001833                               D                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2816       AMZ-GP_00001836                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                        objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                        trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                        it.
  TEMP2817       AMZ-GP_00001837                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2818       AMZ-GP_00001840                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).
  TEMP2819       AMZ-GP_00001904                                                                                        Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                        resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                        exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                        not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                             JOINT TRIAL EXHIBIT LIST
                                                                                                               DISPUTED EXHIBITS




                                                                                    Sponsoring Witness(es)
Exhibit Number      Beg Bates      Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2820       AMZ-GP_00001912                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2821       AMZ-GP_00002065                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2822       AMZ-GP_00002249                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2823       AMZ-GP_00002401                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2824       AMZ-GP_00002431                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2825       AMZ-GP_00002471                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2826       AMZ-GP_00002484                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2827       AMZ-GP_00003076                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating;
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has     defenses.
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).; Relevance
                                                                                                                                                                                                    (Fed. R. Evid. 402).
  TEMP2828       AMZ-GP_00003257                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2829       AMZ-GP_00003314                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).
  TEMP2830       AMZ-GP_00003428                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                    unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                    tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                    conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                    resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                    Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                    exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                    not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                               JOINT TRIAL EXHIBIT LIST
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                                                                                      Sponsoring Witness(es)
Exhibit Number       Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2831       AMZ-GP_00003519                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2832       AMZ-GP_00003614                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2833       AMZ-GP_00003864                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2834       AMZ-GP_00005521                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2835       AMZ-GP_00005523                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2836       AMZ-GP_00005705                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                      not been properly authenticated (Fed. R. Evid. 901).
  TEMP2837       AMZ-GP_00005729                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                      tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                      objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                      trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                      it.
  TEMP2838       APL-Goog_00002371                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s        (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                     201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the            Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2839       APL-Goog_00004013                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s        (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                     201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the            Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2840       APL-Goog_00005639                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s        (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                     Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                     201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or            Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                 Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the            Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation




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                                                                                                               JOINT TRIAL EXHIBIT LIST
                                                                                                                 DISPUTED EXHIBITS




                                                                                      Sponsoring Witness(es)
Exhibit Number       Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2841       APL-Goog_00007300                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2842       APL-Goog_00007843                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2843       APL-Goog_00007882                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2844       APL-Goog_00008469                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation
  TEMP2845       APL-GOOG_00010359                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                      unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                      tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                      conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies;
                                                                                                                      resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the
                                                                                                                      Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                      exception (Fed. R. Evid. 801 and 802).; Conditional objection;
                                                                                                                                                                                                      defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                      depending on the purpose for which plaintiffs seek to introduce it.

  TEMP2846       APL-Goog_00051824                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                      Foundation
  TEMP2847       APL-Goog_00052120                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                      Foundation
  TEMP2848       APL-Goog_00149038                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                      Foundation
  TEMP2849       APL-Goog_00361212                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                      personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                       Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                      misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                      document
                                                                                                                                                                                                       Foundation




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                                                                                                               JOINT TRIAL EXHIBIT LIST
                                                                                                                 DISPUTED EXHIBITS




                                                                                      Sponsoring Witness(es)
Exhibit Number       Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose   Objecting Party                Summary of Objection (w/Authority)                            Summary of Response (w/Authority)
  TEMP2850       APL-GOOG_00361317                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                           Foundation
  TEMP2851       APL-GOOG_00364687                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                            Foundation
  TEMP2852       APL-GOOG_00365515                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                            Foundation
  TEMP2853       APL-Goog_00368991                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                            Foundation
  TEMP2854       APL-Goog_00430043                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                           Foundation
  TEMP2855       APL-Goog_00450846                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                           Foundation
  TEMP2856       APL-Goog_00655387                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                           Foundation
  TEMP2857       APL-Goog_00697344                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                           Foundation
  TEMP2858       APL-Goog_00697623                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Rule 901—proponent has not established authenticity of the       Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                           document
                                                                                                                                                                            Foundation
  TEMP2859       APL-GOOG_00898564                                                                                    Defense to Plaintiffs' claims          Plaintiff     Rule 802—exhibit contains inadmissible hearsay                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                            Rule 602—exhibit contains statements not based on declarant’s   (Rules 803, 804, 807)
                                                                                                                                                                           personal knowledge                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                            Rule 402—exhibit is not relevant                                201, 602, 901, 902)
                                                                                                                                                                            Rule 403—unfairly prejudicial, confusing the issues and/or       Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                           misleading to the jury                                            Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                            Foundation




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                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2860       APL-GOOG_00903465                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                       document
                                                                                                                                                                                                        Foundation
  TEMP2861       APL-GOOG_00904632                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                       document
                                                                                                                                                                                                        Foundation
  TEMP2862       APL-GOOG_00904736                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                       Foundation                                                              (Rule 901),
  TEMP2863       APL-GOOG_01150054                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       602—exhibit contains statements not based on declarant’s personal       (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                                                                                                       knowledge, Rule 402—exhibit is not relevant, Rule 403—unfairly          be established (Rules 201, 602, 901, 902), Exhibit is
                                                                                                                                                                                                       prejudicial, confusing the issues and/or misleading to the jury, Rule   relevant (Rules 401, 402), Balance favors admissibility
                                                                                                                                                                                                       901—proponent has not established authenticity of the document,         (Rules 401, 403), Exhibit will be properly authenticated
                                                                                                                                                                                                       Foundation                                                              (Rule 901),
  TEMP2864       APL-Goog_01268576                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                        Foundation
  TEMP2865       APL-Goog_01320727                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                          Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s          (Rules 803, 804, 807)
                                                                                                                                                                                                       personal knowledge                                                       Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                       201, 602, 901, 902)
                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or              Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                       misleading to the jury                                                   Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the              Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                       document
                                                                                                                                                                                                        Foundation
  TEMP2866       APL-GOOG_01320874                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                       needlessly cumulative, Rule 802—exhibit contains inadmissible           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                       hearsay, Rule 901—proponent has not established authenticity of         and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                       the document, Rule 403—unfairly prejudicial, confusing the issues       Exhibit will be properly authenticated (Rule 901),
                                                                                                                                                                                                       and/or misleading to the jury, Rule 602—exhibit contains                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       statements not based on declarant’s personal knowledge,                 201, 602, 901, 902),
                                                                                                                                                                                                       Foundation
  TEMP2867       APL-GOOG_01323287                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                       needlessly cumulative, Rule 802—exhibit contains inadmissible           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                       hearsay, Rule 901—proponent has not established authenticity of         and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                       the document, Rule 403—unfairly prejudicial, confusing the issues       Exhibit will be properly authenticated (Rule 901), Balance
                                                                                                                                                                                                       and/or misleading to the jury, Rule 602—exhibit contains                favors admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                       statements not based on declarant’s personal knowledge, Rule            knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                       106—exhibit is unfairly incomplete, Foundation                          Exhibit is properly complete (Rule 106),

  TEMP2868       APL-Goog_01358094                                                                                     Defense to Plaintiffs' claims                                     Plaintiff     Rule 802—exhibit contains inadmissible hearsay                       Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                        Rule 602—exhibit contains statements not based on declarant’s       (Rules 803, 804, 807)
                                                                                                                                                                                                       personal knowledge                                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                        Rule 402—exhibit is not relevant                                    201, 602, 901, 902)
                                                                                                                                                                                                        Rule 403—unfairly prejudicial, confusing the issues and/or           Exhibit is relevant (Rules 401, 402)
                                                                                                                                                                                                       misleading to the jury                                                Balance favors admissibility (Rules 401, 403)
                                                                                                                                                                                                        Rule 901—proponent has not established authenticity of the           Exhibit will be properly authenticated (Rule 901)
                                                                                                                                                                                                       document
                                                                                                                                                                                                       Foundation
  TEMP2869       ATT-GPLAY-00000692                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                       tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                       resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2870       ATT-GPLAY-00000738                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                       not been properly authenticated (Fed. R. Evid. 901).




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                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates       Deposition Exhibit Number   Name / Description                                                             Purpose                               Objecting Party                 Summary of Objection (w/Authority)                                 Summary of Response (w/Authority)
  TEMP2871       ATT-GPLAY-00011040                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         object to this exhibit at trial depending on the purpose for which
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          plaintiffs seek to introduce it.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2872       ATT-GPLAY-00015813                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).
  TEMP2873       ATT-GPLAY-00024469                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).
  TEMP2874       ATT-GPLAY-00024565                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).
  TEMP2875       ATT-GPLAY-00036698                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         object to this exhibit at trial depending on the purpose for which
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          plaintiffs seek to introduce it.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2876       ATT-GPLAY-00037441                                                                                    Defendant: Defense to Plaintiffs' claims                            Plaintiff     Plaintiff: Rule 802—exhibit contains inadmissible hearsay, Rule       Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                                                                                                                                                         402—exhibit is not relevant, Rule 403—unfairly prejudicial,           objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                       Plaintiff: Proof of Defendants’ liability for antitrust                           confusing the issues and/or misleading to the jury, Rule              (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                       violations, unreasonable restraints of trade, unfair                              602—exhibit contains statements not based on declarant’s personal     403), Foundation/personal knowledge will be established
                                                                                                                       competition and/or tortious interference; proof of                                knowledge, Rule 901—proponent has not established authenticity        (Rules 201, 602, 901, 902), Exhibit will be properly
                                                                                                                       Defendants’ discovery conduct; proof of appropriate                               of the document, Foundation                                           authenticated (Rule 901),
                                                                                                                       injunctive relief; proof of resulting damages; and/or proof
                                                                                                                       rebutting allegations in Defendants’ Answers and                                  Defendant: Incomplete; the introduction of any remaining portions Plaintiff: Contains all parts that in fairness ought to be
                                                                                                                       Counterclaims against Plaintiffs                                                  ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                                                         .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                                                                                         602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                                                                                         the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                         the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).

  TEMP2877       ATT-GPLAY-00042436                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay          Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has defenses.
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).; Relevance
                                                                                                                                                                                                         (Fed. R. Evid. 402).
  TEMP2878       ATT-GPLAY-00042438                                                                                    Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay          Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has defenses.
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).; Relevance
                                                                                                                                                                                                         (Fed. R. Evid. 402).
  TEMP2879        BUMBLE-00000012                                                                                      Defense to Plaintiffs' claims; proof of Match's liability for       Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                       counterclaims                                                                     needlessly cumulative, Rule 802—exhibit contains inadmissible         admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                         hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                         misleading to the jury; Foundation                                    Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                               201, 602, 901, 902)
  TEMP2880        BUMBLE-00000298                                                                                      Proof of Defendants’ liability for antitrust violations,           Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                       fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                             Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                         Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                          witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                          truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                         exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                         not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                     DISPUTED EXHIBITS




                                                                                          Sponsoring Witness(es)
Exhibit Number          Beg Bates        Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2881          BUMBLE-00000300                                                                                       Defendant: Defense to Plaintiffs' claims; proof of Match's        Plaintiff     Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                          liability for counterclaims                                                     ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                          Plaintiffs: Proof of Defendants’ liability for antitrust                        .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                          violations, unreasonable restraints of trade, unfair                            602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                          competition and/or tortious interference; proof of                              the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                          Defendants’ discovery conduct; proof of appropriate                             the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                     exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                          rebutting allegations in Defendants’ Answers and                                not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                          Counterclaims against Plaintiffs
  TEMP2882          BUMBLE-00000619                                                                                       Defendant: Defense to Plaintiffs' claims; proof of Match's       Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                          liability for counterclaims                                                     ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                          Plaintiffs: Proof of Defendants’ liability for antitrust                        .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                          violations, unreasonable restraints of trade, unfair                            602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                          competition and/or tortious interference; proof of                              the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                          Defendants’ discovery conduct; proof of appropriate                             the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                     exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                          rebutting allegations in Defendants’ Answers and                                not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                          Counterclaims against Plaintiffs
  TEMP2883          BUMBLE-00000763                                                                                       Defendant: Defense to Plaintiffs' claims; proof of Match's       Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                          liability for counterclaims                                                     ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                                                                                          .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                          Plaintiffs: Proof of Defendants’ liability for antitrust                        602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                          violations, unreasonable restraints of trade, unfair                            the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                          competition and/or tortious interference; proof of                              the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                          Defendants’ discovery conduct; proof of appropriate                             exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                          injunctive relief; proof of resulting damages; and/or proof                     not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                          rebutting allegations in Defendants’ Answers and
                                                                                                                          Counterclaims against Plaintiffs
  TEMP2884         CYNGN-PLAY-02818                                                                                       Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).
  TEMP2885       DOWNDOG-GOOG_00000107                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).
  TEMP2886       DOWNDOG-GOOG_00000110                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).
  TEMP2887       DOWNDOG-GOOG_00000130                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).
  TEMP2888       DOWNDOG-GOOG_00000156                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).;      the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;            testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).
  TEMP2889       DOWNDOG-GOOG_00000169                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—wasting time and/or needlessly cumulative, Rule              Balance favors admissibility (Rules 401, 403), Exhibit is
                                                                                                                                                                                                          402—exhibit is not relevant, Rule 802—exhibit contains                relevant (Rules 401, 402), Not hearsay (Rule 801) and/or
                                                                                                                                                                                                          inadmissible hearsay, Foundation                                      hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                                                                                Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                                                                                201, 602, 901, 902)
  TEMP2890       DOWNDOG-GOOG_00000177                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                          unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106).; the same time; One or more witnesses have foundation to
                                                                                                                          tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).;          testify concerning the exhibit; Exhibit does not contain
                                                                                                                          conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                          resulting damages; and/or proof rebutting allegations in                        witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                          Defendants’ Answers and Counterclaims against Plaintiffs                        truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                          exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                                                                                          not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                          JOINT TRIAL EXHIBIT LIST
                                                                                                                            DISPUTED EXHIBITS




                                                                                                 Sponsoring Witness(es)
Exhibit Number             Beg Bates            Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                Summary of Response (w/Authority)
  TEMP2891         DOWNDOG-GOOG_00000187                                                                                         Defendants: Defense to Plaintiffs' claims                        Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                                                                 ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                        .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                 violations, unreasonable restraints of trade, unfair                            602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                 competition and/or tortious interference; proof of                              the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                             the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                     exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                 rebutting allegations in Defendants’ Answers and                                not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                                 Counterclaims against Plaintiffs
  TEMP2892         DOWNDOG-GOOG_00000194                                                                                         Defendant: Defense to Plaintiffs' claims                         Defendant      Defendant: Incomplete; the introduction of any remaining portions Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                                                                                                                 ought, in fairness, to be considered contemporaneously (Fed. R        considered at the same time; One or more witnesses have
                                                                                                                                 Plaintiffs: Proof of Defendants’ liability for antitrust                        .Evid. 106).; Personal knowledge; lack of foundation (Fed. R. Evid. foundation to testify concerning the exhibit; Exhibit does
                                                                                                                                 violations, unreasonable restraints of trade, unfair                            602).; Hearsay; the exhibit is a statement made by one other than     not contain hearsay and/or a hearsay exception applies;
                                                                                                                                 competition and/or tortious interference; proof of                              the witness while testifying at trial, offered into evidence to prove Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                 Defendants’ discovery conduct; proof of appropriate                             the truth of the matter asserted, and not subject to any hearsay      authenticating.
                                                                                                                                 injunctive relief; proof of resulting damages; and/or proof                     exception (Fed. R. Evid. 801 and 802).; Authentication; exhibit has
                                                                                                                                 rebutting allegations in Defendants’ Answers and                                not been properly authenticated (Fed. R. Evid. 901).
                                                                                                                                 Counterclaims against Plaintiffs
  TEMP2893                 FS-000236                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time, One or more witnesses have foundation to
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit, Exhibit does not contain
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies, Exhibit is
                                                                                                                                 resulting damages; and/or                                                       witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses,
                                                                                                                                                                                                                 truth of the matter asserted, and not subject to any hearsay          Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                                 exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      authenticating
                                                                                                                                                                                                                 402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                 (Fed. R. Evid. 901).
  TEMP2894           GP MDL-TMO-0001831                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2895           GP MDL-TMO-0002071                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2896           GP MDL-TMO-0029572                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2897           GP MDL-TMO-0029583                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2898           GP MDL-TMO-0132828                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                                 objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                                 trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                                 it.
  TEMP2899       IDAHO-INFO-TECH-SERVS_000009                                                                                    Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                                 needlessly cumulative, Rule 802—exhibit contains inadmissible         admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                                 hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                                 misleading to the jury, Rule 602—exhibit contains statements not      Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                 based on declarant’s personal knowledge                               201, 602, 901, 902)

  TEMP2900            LGEUS-DOJ-0085240                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2901        LGUS-GOOGLEPLAY-00028821                                                                                       Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                                 unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                                 tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                                 conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                                 resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                                 Defendants’ Answers and Counterclaims against Plaintiffs




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                                                                                                                       JOINT TRIAL EXHIBIT LIST
                                                                                                                         DISPUTED EXHIBITS




                                                                                              Sponsoring Witness(es)
Exhibit Number           Beg Bates           Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2902       LITTLEHOOTS-GOOGLE-001565                                                                                    Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                   Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                  402—exhibit is not relevant, Rule 403—wasting time and/or              (Rules 803, 804, 807), Exhibit is relevant (Rules 401, 402),
                                                                                                                                                                                                                  needlessly cumulative, Rule 403—unfairly prejudicial, confusing        Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                                  the issues and/or misleading to the jury, Rule 602—exhibit contains Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                                  statements not based on declarant’s personal knowledge, Rule           201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                  901—proponent has not established authenticity of the document, (Rule 901),
                                                                                                                                                                                                                  Foundation
  TEMP2903          METAEPIC_000000003                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the
                                                                                                                              tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Conditional objection;
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            defendants reserve the right to object to this exhibit at trial
                                                                                                                                                                                                                  depending on the purpose for which plaintiffs seek to introduce it.,
                                                                                                                                                                                                                  Relevance (Fed. R. Evid. 402).
  TEMP2904          METAEPIC_000000005                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies.
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802).
  TEMP2905          METAEPIC_000000518                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                              tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                  subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                  Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                  exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                  introduce it.
  TEMP2906          METAEPIC_000000520                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                              tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,           testify concerning the exhibit; Exhibit does not contain
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the         hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay           Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                                  exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.       authenticating
                                                                                                                                                                                                                  402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                                  (Fed. R. Evid. 901).
  TEMP2907          METAEPIC_000000521                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                              tortious interference; proof of Defendants’ discovery                               made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           into evidence to prove the truth of the matter asserted, and not       and/or a hearsay exception applies; Exhibit is what the
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,         proponent claims it is and/or is self-authenticating;
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                                  Evid. 901)., Conditional objection; defendants reserve the right to
                                                                                                                                                                                                                  object to this exhibit at trial depending on the purpose for which
                                                                                                                                                                                                                  plaintiffs seek to introduce it.

  TEMP2908          METAEPIC_000000524                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                                                                              tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    foundation to testify concerning the exhibit; Exhibit does
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered   not contain hearsay and/or a hearsay exception applies.
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                  subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2909          METAEPIC_000000584                                                                                        Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                              unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                              tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                              conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                              resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                              Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                                  subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                                  Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                                  exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                                  introduce it.
  TEMP2910          METAEPIC_000000685                                                                                        Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 402—exhibit is not relevant, Rule 403—wasting          Defendant: Exhibit is relevant (Rules 401, 402), Balance
                                                                                                                              Plaintiffs: Proof of Defendants’ liability for antitrust                            time and/or needlessly cumulative, Rule 802—exhibit contains            favors admissibility (Rules 401, 403), Not hearsay (Rule
                                                                                                                              violations, unreasonable restraints of trade, unfair                                inadmissible hearsay, Rule 403—unfairly prejudicial, confusing the 801) and/or hearsay objection applies (Rules 803, 804,
                                                                                                                              competition and/or tortious interference; proof of                                  issues and/or misleading to the jury, Rule 901—proponent has not 807), Exhibit will be properly authenticated (Rule 901)
                                                                                                                              Defendants’ discovery conduct; proof of appropriate                                 established authenticity of the document                                Plaintiffs: Contains all parts that in fairness ought to be
                                                                                                                              injunctive relief; proof of resulting damages; and/or proof                         Defendant: Incomplete; the introduction of any remaining portions considered at the same time; Exhibit is relevant to one or
                                                                                                                              rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R          more of Plaintiffs’ claims or defenses; One or more
                                                                                                                              Counterclaims against Plaintiffs                                                    .Evid. 106)., Relevance (Fed. R. Evid. 402)., Personal knowledge; witnesses have foundation to testify concerning the exhibit;
                                                                                                                                                                                                                  lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                                  statement made by one other than the witness while testifying at        applies;
                                                                                                                                                                                                                  trial, offered into evidence to prove the truth of the matter asserted,
                                                                                                                                                                                                                  and not subject to any hearsay exception (Fed. R. Evid. 801 and
                                                                                                                                                                                                                  802)., Conditional objection; defendants reserve the right to object
                                                                                                                                                                                                                  to this exhibit at trial depending on the purpose for which plaintiffs
                                                                                                                                                                                                                  seek to introduce it.




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                                                                                                                JOINT TRIAL EXHIBIT LIST
                                                                                                                  DISPUTED EXHIBITS




                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2911       METAEPIC_000004828                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                           Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                           exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                           introduce it.
  TEMP2912       METAEPIC_000012738                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2913       METAEPIC_000013648                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered   not contain hearsay and/or a hearsay exception applies.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2914       METAEPIC_000013692                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay            Evidence’s probative value not substantially outweighed by
                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                           402)., Misleading; undue prejudice; confusion of issues; waste of       the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                           time (Fed. R. Evid. 403)., Authentication; exhibit has not been         presenting cumulative evidence; Exhibit is what the
                                                                                                                                                                                                           properly authenticated (Fed. R. Evid. 901).                             proponent claims it is and/or is self-authenticating

  TEMP2915       METAEPIC_000013712                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                       tortious interference; proof of Defendants’ discovery                               made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           into evidence to prove the truth of the matter asserted, and not        and/or a hearsay exception applies; Exhibit is what the
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,          proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                           Evid. 901).
  TEMP2916       METAEPIC_000015003                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not        Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,          authenticating.
                                                                                                                                                                                                           Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                           Evid. 901).
  TEMP2917       METAEPIC_000015043                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Exhibit is relevant to one or more of Plaintiffs’ claims or
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement defenses; One or more witnesses have foundation to testify
                                                                                                                       tortious interference; proof of Defendants’ discovery                               made by one other than the witness while testifying at trial, offered concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           into evidence to prove the truth of the matter asserted, and not        and/or a hearsay exception applies; Exhibit is what the
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            subject to any hearsay exception (Fed. R. Evid. 801 and 802).,          proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                           Evid. 901).
  TEMP2918       METAEPIC_000015079                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                           not been properly authenticated (Fed. R. Evid. 901).
  TEMP2919       METAEPIC_000015281                                                                                    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                                                                       Plaintiffs: Proof of Defendants’ liability for antitrust                            402—exhibit is not relevant, Rule 403—wasting time and/or               objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                       violations, unreasonable restraints of trade, unfair                                needlessly cumulative, Rule 403—unfairly prejudicial, confusing         (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                       competition and/or tortious interference; proof of                                  the issues and/or misleading to the jury, Foundation                    403), Foundation/personal knowledge will be established
                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                 Defendant: Relevance (Fed. R. Evid. 402)., Personal knowledge;          (Rules 201, 602, 901, 902)
                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                         lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      Plaintiffs: Exhibit is relevant to one or more of Plaintiffs’
                                                                                                                       rebutting allegations in Defendants’ Answers and                                    statement made by one other than the witness while testifying at        claims or defenses; One or more witnesses have foundation
                                                                                                                       Counterclaims against Plaintiffs                                                    trial, offered into evidence to prove the truth of the matter asserted, to testify concerning the exhibit; Exhibit does not contain
                                                                                                                                                                                                           and not subject to any hearsay exception (Fed. R. Evid. 801 and         hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                                                                                                           802)., Authentication; exhibit has not been properly authenticated      the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                                                           (Fed. R. Evid. 901).
  TEMP2920       METAEPIC_000015621                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                           not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                JOINT TRIAL EXHIBIT LIST
                                                                                                                  DISPUTED EXHIBITS




                                                                                       Sponsoring Witness(es)
Exhibit Number        Beg Bates       Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2921       METAEPIC_000016032                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; One or more witnesses have foundation to
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            testify concerning the exhibit; Exhibit does not contain
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the          hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the   the proponent claims it is and/or is self-authenticating.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay
                                                                                                                                                                                                           exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                                                                                                           not been properly authenticated (Fed. R. Evid. 901).
  TEMP2922       METAEPIC_000016069                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                       tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2923       METAEPIC_000016393                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,
                                                                                                                                                                                                           Conditional objection; defendants reserve the right to object to this
                                                                                                                                                                                                           exhibit at trial depending on the purpose for which plaintiffs seek to
                                                                                                                                                                                                           introduce it.
  TEMP2924       METAEPIC_000018722                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in       Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of            Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2925       METAEPIC_000019855                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106).,      the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement    foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered   not contain hearsay and/or a hearsay exception applies.
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).

  TEMP2926       METAEPIC_000020615                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not        Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,          authenticating.
                                                                                                                                                                                                           Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                           Evid. 901).
  TEMP2927       METAEPIC_000020661                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in        Contains all parts that in fairness ought to be considered at
                                                                                                                       unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; Exhibit is relevant to one or more of
                                                                                                                       tortious interference; proof of Defendants’ discovery                               Relevance (Fed. R. Evid. 402)., Personal knowledge; lack of             Plaintiffs’ claims or defenses; One or more witnesses have
                                                                                                                       conduct; proof of appropriate injunctive relief; proof of                           foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a statement foundation to testify concerning the exhibit; Exhibit does
                                                                                                                       resulting damages; and/or proof rebutting allegations in                            made by one other than the witness while testifying at trial, offered not contain hearsay and/or a hearsay exception applies;
                                                                                                                       Defendants’ Answers and Counterclaims against Plaintiffs                            into evidence to prove the truth of the matter asserted, and not        Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                           subject to any hearsay exception (Fed. R. Evid. 801 and 802).,          authenticating.
                                                                                                                                                                                                           Authentication; exhibit has not been properly authenticated (Fed. R.
                                                                                                                                                                                                           Evid. 901).
  TEMP2928       METAEPIC_000020882                                                                                    Defendant: Defense to Plaintiffs' claims                          Defendant         Defendant: Relevance (Fed. R. Evid. 402)., Personal knowledge;          Plaintiffs: Exhibit is relevant to one or more of Plaintiffs’
                                                                                                                       Plaintiffs:Proof of Defendants’ liability for antitrust                             lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      claims or defenses; One or more witnesses have foundation
                                                                                                                       violations, unreasonable restraints of trade, unfair                                statement made by one other than the witness while testifying at        to testify concerning the exhibit; Exhibit does not contain
                                                                                                                       competition and/or tortious interference; proof of                                  trial, offered into evidence to prove the truth of the matter asserted, hearsay and/or a hearsay exception applies; Exhibit is what
                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                 and not subject to any hearsay exception (Fed. R. Evid. 801 and         the proponent claims it is and/or is self-authenticating.
                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                         802)., Authentication; exhibit has not been properly authenticated
                                                                                                                       rebutting allegations in Defendants’ Answers and                                    (Fed. R. Evid. 901)
                                                                                                                       Counterclaims against Plaintiffs
  TEMP2929       METAEPIC_000021090                                                                                    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay, Rule        Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                                                                       Plaintiffs: Proof of Defendants’ liability for antitrust                            402—exhibit is not relevant, Rule 403—wasting time and/or               objection applies (Rules 803, 804, 807), Exhibit is relevant
                                                                                                                       violations, unreasonable restraints of trade, unfair                                needlessly cumulative, Rule 403—unfairly prejudicial, confusing         (Rules 401, 402), Balance favors admissibility (Rules 401,
                                                                                                                       competition and/or tortious interference; proof of                                  the issues and/or misleading to the jury, Rule 901—proponent has 403), Exhibit will be properly authenticated (Rule 901),
                                                                                                                       Defendants’ discovery conduct; proof of appropriate                                 not established authenticity of the document, Foundation                Foundation/personal knowledge will be established (Rules
                                                                                                                       injunctive relief; proof of resulting damages; and/or proof                         Defendant: Incomplete; the introduction of any remaining portions 201, 602, 901, 902)
                                                                                                                       rebutting allegations in Defendants’ Answers and                                    ought, in fairness, to be considered contemporaneously (Fed. R          Plaintiff: Contains all parts that in fairness ought to be
                                                                                                                       Counterclaims against Plaintiffs                                                    .Evid. 106)., Relevance (Fed. R. Evid. 402)., Personal knowledge; considered at the same time; Exhibit is relevant to one or
                                                                                                                                                                                                           lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      more of Plaintiffs’ claims or defenses; One or more
                                                                                                                                                                                                           statement made by one other than the witness while testifying at        witnesses have foundation to testify concerning the exhibit;
                                                                                                                                                                                                           trial, offered into evidence to prove the truth of the matter asserted, Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                                                                                                           and not subject to any hearsay exception (Fed. R. Evid. 801 and         applies; Exhibit is what the proponent claims it is and/or is
                                                                                                                                                                                                           802)., Authentication; exhibit has not been properly authenticated      self-authenticating.
                                                                                                                                                                                                           (Fed. R. Evid. 901)




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                                                                                                                 JOINT TRIAL EXHIBIT LIST
                                                                                                                   DISPUTED EXHIBITS




                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2930       METAEPIC_000021117                                                                                     Defendant: Defense to Plaintiffs' claims                          Defendant         Defendant: Incomplete; the introduction of any remaining portions Plaintiff: Contains all parts that in fairness ought to be
                                                                                                                        Plaintiffs: Proof of Defendants’ liability for antitrust                            ought, in fairness, to be considered contemporaneously (Fed. R          considered at the same time; Exhibit is relevant to one or
                                                                                                                        violations, unreasonable restraints of trade, unfair                                .Evid. 106)., Relevance (Fed. R. Evid. 402)., Personal knowledge; more of Plaintiffs’ claims or defenses; One or more
                                                                                                                        competition and/or tortious interference; proof of                                  lack of foundation (Fed. R. Evid. 602)., Hearsay; the exhibit is a      witnesses have foundation to testify concerning the exhibit;
                                                                                                                        Defendants’ discovery conduct; proof of appropriate                                 statement made by one other than the witness while testifying at        Exhibit does not contain hearsay and/or a hearsay exception
                                                                                                                        injunctive relief; proof of resulting damages; and/or proof                         trial, offered into evidence to prove the truth of the matter asserted, applies; Exhibit is what the proponent claims it is and/or is
                                                                                                                        rebutting allegations in Defendants’ Answers and                                    and not subject to any hearsay exception (Fed. R. Evid. 801 and         self-authenticating;
                                                                                                                        Counterclaims against Plaintiffs                                                    802)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                            (Fed. R. Evid. 901)., Conditional objection; defendants reserve the
                                                                                                                                                                                                            right to object to this exhibit at trial depending on the purpose for
                                                                                                                                                                                                            which plaintiffs seek to introduce it

  TEMP2931        METAEPIC_00021091                                                                                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2932       MOTO-NDCAL-00000001                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                            trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                            it.
  TEMP2933       MOTO-NDCAL-00000193                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                            objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                            trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                            it.
  TEMP2934       MOTO-NDCAL-00000247                                                                                    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                                                                        Plaintiffs: Proof of Defendants’ liability for antitrust                            Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. objection applies (Rules 803, 804, 807)
                                                                                                                        violations, unreasonable restraints of trade, unfair                                602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                        competition and/or tortious interference; proof of                                  the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        Defendants’ discovery conduct; proof of appropriate                                 the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        injunctive relief; proof of resulting damages; and/or proof                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has proponent claims it is and/or is self-authenticating;
                                                                                                                        rebutting allegations in Defendants’ Answers and                                    not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                        Counterclaims against Plaintiffs                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                            trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                            it.
  TEMP2935       MOTO-NDCAL-00003678                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2936       MOTO-NDCAL-00017398                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2937       MOTO-NDCAL-00031040                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2938       MOTO-NDCAL-00108176                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                        tortious interference; proof of Defendants’ discovery                               Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           object to this exhibit at trial depending on the purpose for which
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            plaintiffs seek to introduce it.
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2939       MOTO-NDCAL-00166129                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2940       MOTO-NDCAL-00207107                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).




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                                                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                                                          DISPUTED EXHIBITS




                                                                                               Sponsoring Witness(es)
Exhibit Number            Beg Bates           Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2941        NETFLIX-GOOGLE-00000002                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Evidence’s probative
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          value not substantially outweighed by danger of unfair
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue             prejudice, confusing the issues, misleading the jury, undue
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403)., delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                               Authentication; exhibit has not been properly authenticated (Fed. R. cumulative evidence; Exhibit is what the proponent claims
                                                                                                                                                                                                               Evid. 901).                                                           it is and/or is self-authenticating.
  TEMP2942        NETFLIX-GOOGLE-00000019                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating; 102
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                               objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                               trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                               it; Incomplete; the introduction of any remaining portions ought, in
                                                                                                                                                                                                               fairness, to be considered contemporaneously (Fed. R .Evid. 106).

  TEMP2943        NETFLIX-GOOGLE-00000020                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2944        NETFLIX-GOOGLE-00000022                                                                                      Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Evidence’s probative
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            value not substantially outweighed by danger of unfair
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Misleading; undue               prejudice, confusing the issues, misleading the jury, undue
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        prejudice; confusion of issues; waste of time (Fed. R. Evid. 403).      delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                                                                                                       cumulative evidence.
  TEMP2945       NVIDIA-EPIC-GOOGLE00001879                                                                                    Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2946             OCV_00000001                                                                                            Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                               needlessly cumulative, Rule 802—exhibit contains inadmissible           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                               hearsay, Rule 602—exhibit contains statements not based on              and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                               declarant’s personal knowledge, Rule 901—proponent has not              Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                               established authenticity of the document                                201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                                                       (Rule 901)
  TEMP2947             OCV_000000416                                                                                           Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time;
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Incomplete; the                 Evidence’s probative value not substantially outweighed by
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        introduction of any remaining portions ought, in fairness, to be        danger of unfair prejudice, confusing the issues, misleading
                                                                                                                                                                                                               considered contemporaneously (Fed. R .Evid. 106)., Misleading;          the jury, undue delay, wasting time, and/or needlessly
                                                                                                                                                                                                               undue prejudice; confusion of issues; waste of time (Fed. R. Evid.      presenting cumulative evidence.
                                                                                                                                                                                                               403).
  TEMP2948             OCV_000000542                                                                                           Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                               needlessly cumulative, Rule 602—exhibit contains statements not         admissibility (Rules 401, 403), Foundation/personal
                                                                                                                                                                                                               based on declarant’s personal knowledge, Rule 802—exhibit               knowledge will be established (Rules 201, 602, 901, 902),
                                                                                                                                                                                                               contains inadmissible hearsay, Rule 106—exhibit is unfairly             Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                               incomplete, Rule 901—proponent has not established authenticity         (Rules 803, 804, 807), Exhibit is properly complete (Rule
                                                                                                                                                                                                               of the document                                                         106), Exhibit will be properly authenticated (Rule 901)

  TEMP2949             OCV_000001229                                                                                           Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or          Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                               needlessly cumulative, Rule 802—exhibit contains inadmissible           admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                               hearsay, Rule 106—exhibit is unfairly incomplete, Rule                  and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                               602—exhibit contains statements not based on declarant’s personal       Exhibit is properly complete (Rule 106),
                                                                                                                                                                                                               knowledge, Rule 901—proponent has not established authenticity          Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                               of the document                                                         201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                                                       (Rule 901)
  TEMP2950            PADDLE00000001                                                                                           Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2951            PADDLE00000020                                                                                           Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                 JOINT TRIAL EXHIBIT LIST
                                                                                                                   DISPUTED EXHIBITS




                                                                                        Sponsoring Witness(es)
Exhibit Number        Beg Bates        Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2952         PADDLE00000026                                                                                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2953         PADDLE00000048                                                                                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is relevant to
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            one or more of Plaintiffs’ claims or defenses; Evidence’s
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.        probative value not substantially outweighed by danger of
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            402)., Misleading; undue prejudice; confusion of issues; waste of       unfair prejudice, confusing the issues, misleading the jury,
                                                                                                                                                                                                            time (Fed. R. Evid. 403)., Authentication; exhibit has not been         undue delay, wasting time, and/or needlessly presenting
                                                                                                                                                                                                            properly authenticated (Fed. R. Evid. 901).                             cumulative evidence; Exhibit is what the proponent claims
                                                                                                                                                                                                                                                                                    it is and/or is self-authenticating.
  TEMP2954         PADDLE00000101                                                                                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2955         PADDLE00000115                                                                                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2956         PADDLE00000118                                                                                       Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2957          PayPal00000766                                                                                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802).
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2958          PayPal00000814                                                                                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Contains all parts that in
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            fairness ought to be considered at the same time.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Incomplete; the
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                            considered contemporaneously (Fed. R .Evid. 106).
  TEMP2959       QCUTAH05227_0000001                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2960        ROBLOX-000000580                                                                                      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                  (Rules 803, 804, 807)
  TEMP2961       SEA_GOOGLE_00000720                                                                                    Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 802—exhibit contains inadmissible hearsay            Defendant: Not hearsay (Rule 801) and/or hearsay
                                                                                                                        Plaintiffs: Proof of Defendants’ liability for antitrust                            Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. objection applies (Rules 803, 804, 807)
                                                                                                                        violations, unreasonable restraints of trade, unfair                                602)., Hearsay; the exhibit is a statement made by one other than     Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                        competition and/or tortious interference; proof of                                  the witness while testifying at trial, offered into evidence to prove concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        Defendants’ discovery conduct; proof of appropriate                                 the truth of the matter asserted, and not subject to any hearsay      and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        injunctive relief; proof of resulting damages; and/or proof                         exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has proponent claims it is and/or is self-authenticating;
                                                                                                                        rebutting allegations in Defendants’ Answers and                                    not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                        Counterclaims against Plaintiffs                                                    objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                            trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                            it.
  TEMP2962       SEA-GOOGLE-00002042                                                                                    Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay                        Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                                                                                                  (Rules 803, 804, 807)
  TEMP2963         SLIDE-PLAY-00023                                                                                     Proof of Defendants’ liability for antitrust violations,          Defendant         Incomplete; the introduction of any remaining portions ought, in      Contains all parts that in fairness ought to be considered at
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         fairness, to be considered contemporaneously (Fed. R .Evid. 106)., the same time; One or more witnesses have foundation to
                                                                                                                        tortious interference; proof of Defendants’ discovery                               Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          testify concerning the exhibit; Exhibit does not contain
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           Hearsay; the exhibit is a statement made by one other than the        hearsay and/or a hearsay exception applies; Exhibit is
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            witness while testifying at trial, offered into evidence to prove the relevant to one or more of Plaintiffs’ claims or defenses;
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            truth of the matter asserted, and not subject to any hearsay          Exhibit is what the proponent claims it is and/or is self-
                                                                                                                                                                                                            exception (Fed. R. Evid. 801 and 802)., Relevance (Fed. R. Evid.      authenticating
                                                                                                                                                                                                            402)., Authentication; exhibit has not been properly authenticated
                                                                                                                                                                                                            (Fed. R. Evid. 901).
  TEMP2964         SLIDE-PLAY-00066                                                                                     Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                        unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                        tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                        conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating.
                                                                                                                        resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                        Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).




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                                                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                                                          DISPUTED EXHIBITS




                                                                                               Sponsoring Witness(es)
Exhibit Number         Beg Bates        Deposition Exhibit Number         Name / Description                                                            Purpose                              Objecting Party                 Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2965       SOUNDCLOUD_000091                                                                                             Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—wasting time and/or needlessly cumulative, Rule                Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                                                                                                                                                               802—exhibit contains inadmissible hearsay                               (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                                                                                                       804, 807)
  TEMP2966       SOUNDCLOUD_000104                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2967       SOUNDCLOUD_000145                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Contains all parts that in
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          fairness ought to be considered at the same time; Exhibit is
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Incomplete; the               what the proponent claims it is and/or is self-authenticating.
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                               considered contemporaneously (Fed. R .Evid. 106)., Authentication;
                                                                                                                                                                                                               exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP2968       SOUNDCLOUD_000171                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the        concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay          proponent claims it is and/or is self-authenticating;
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901)., Conditional
                                                                                                                                                                                                               objection; defendants reserve the right to object to this exhibit at
                                                                                                                                                                                                               trial depending on the purpose for which plaintiffs seek to introduce
                                                                                                                                                                                                               it.
  TEMP2969       SOUNDCLOUD_000180                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,          One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                               tortious interference; proof of Defendants’ discovery                           Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       object to this exhibit at trial depending on the purpose for which
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        plaintiffs seek to introduce it.
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2970       SOUNDCLOUD_000189                                                                                             Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2971       SPOT-GOOGLE-00000005                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs                        not been properly authenticated (Fed. R. Evid. 901).

  TEMP2972       SPOT-GOOGLE-00000014                                                                                          Defendant: Defense to Plaintiffs' claims                         Defendant      Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                               Plaintiffs: Proof of Defendants’ liability for antitrust                        602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               violations, unreasonable restraints of trade, unfair                            the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies; Contains all parts that in
                                                                                                                               competition and/or tortious interference; proof of                              the truth of the matter asserted, and not subject to any hearsay      fairness ought to be considered at the same time; Exhibit is
                                                                                                                               Defendants’ discovery conduct; proof of appropriate                             exception (Fed. R. Evid. 801 and 802)., Incomplete; the               what the proponent claims it is and/or is self-authenticating.
                                                                                                                               injunctive relief; proof of resulting damages; and/or proof                     introduction of any remaining portions ought, in fairness, to be
                                                                                                                               rebutting allegations in Defendants’ Answers and                                considered contemporaneously (Fed. R .Evid. 106)., Authentication;
                                                                                                                               Counterclaims against Plaintiffs                                                exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP2973       SPOT-GOOGLE-00001110                                                                                          Proof of Defendants’ liability for antitrust violations,         Defendant      Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                               unreasonable restraints of trade, unfair competition and/or                     Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                               tortious interference; proof of Defendants’ discovery                           witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies.
                                                                                                                               conduct; proof of appropriate injunctive relief; proof of                       truth of the matter asserted, and not subject to any hearsay
                                                                                                                               resulting damages; and/or proof rebutting allegations in                        exception (Fed. R. Evid. 801 and 802).
                                                                                                                               Defendants’ Answers and Counterclaims against Plaintiffs

  TEMP2974       SPOT-GOOGLE-00001180                                                                                          Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                               needlessly cumulative, Rule 802—exhibit contains inadmissible       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                               hearsay                                                             and/or hearsay objection applies (Rules 803, 804, 807)
  TEMP2975        STATEAGS_0046325         DX1357 Ryan Koppy        Document                        Ryan Koppy                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                               needlessly cumulative, Rule 802—exhibit contains inadmissible       admissibility (Rules 401, 403), Not hearsay (Rule 801)
                                                                                                                                                                                                               hearsay, Rule 403—unfairly prejudicial, confusing the issues and/or and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                               misleading to the jury, Rule 602—exhibit contains statements not    Balance favors admissibility (Rules 401, 403),
                                                                                                                                                                                                               based on declarant’s personal knowledge, Rule 901—proponent has Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                               not established authenticity of the document                        201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                                                   (Rule 901)
  TEMP2976        STATEAGS_0047408         DX1358 Ryan Koppy        Document                        Ryan Koppy                 Defense to Plaintiffs' claims                                     Plaintiff     Rule 403—wasting time and/or needlessly cumulative, Rule            Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                                                                                                                                                               802—exhibit contains inadmissible hearsay, Rule 402—exhibit is      (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                               not relevant                                                        804, 807), Exhibit is relevant (Rules 401, 402)




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                                                                                                            JOINT TRIAL EXHIBIT LIST
                                                                                                              DISPUTED EXHIBITS




                                                                                   Sponsoring Witness(es)
Exhibit Number      Beg Bates     Deposition Exhibit Number   Name / Description                                                            Purpose                              Objecting Party                     Summary of Objection (w/Authority)                                  Summary of Response (w/Authority)
  TEMP2977       TID_UTvG0001                                                                                      Defendant: Defense to Plaintiffs' claims                      Plaintiff/Defendant   Plaintiffs: Rule 403—wasting time and/or needlessly cumulative,       Defendant: Balance favors admissibility (Rules 401, 403),
                                                                                                                   Plaintiffs: Proof of Defendants’ liability for antitrust                            Rule 802—exhibit contains inadmissible hearsay, Rule                  Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                   violations, unreasonable restraints of trade, unfair                                602—exhibit contains statements not based on declarant’s personal (Rules 803, 804, 807), Foundation/personal knowledge will
                                                                                                                   competition and/or tortious interference; proof of                                  knowledge, Rule 901—proponent has not established authenticity be established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                   Defendants’ discovery conduct; proof of appropriate                                 of the document                                                       properly authenticated (Rule 901)
                                                                                                                   injunctive relief; proof of resulting damages; and/or proof                         Defendant: Personal knowledge; lack of foundation (Fed. R. Evid. Plaintiffs: One or more witnesses have foundation to testify
                                                                                                                   rebutting allegations in Defendants’ Answers and                                    602)., Hearsay; the exhibit is a statement made by one other than     concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                   Counterclaims against Plaintiffs                                                    the witness while testifying at trial, offered into evidence to prove and/or a hearsay exception applies; Contains all parts that in
                                                                                                                                                                                                       the truth of the matter asserted, and not subject to any hearsay      fairness ought to be considered at the same time; Exhibit is
                                                                                                                                                                                                       exception (Fed. R. Evid. 801 and 802)., Incomplete; the               what the proponent claims it is and/or is self-authenticating.
                                                                                                                                                                                                       introduction of any remaining portions ought, in fairness, to be
                                                                                                                                                                                                       considered contemporaneously (Fed. R .Evid. 106)., Authentication;
                                                                                                                                                                                                       exhibit has not been properly authenticated (Fed. R. Evid. 901).

  TEMP2978       TID_UTvG0012                                                                                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                   tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2979       TID_UTvG0026                                                                                      Defense to Plaintiffs' claims                                      Plaintiff        Rule 802—exhibit contains inadmissible hearsay, Rule                    Not hearsay (Rule 801) and/or hearsay objection applies
                                                                                                                                                                                                       403—wasting time and/or needlessly cumulative, Rule                     (Rules 803, 804, 807), Balance favors admissibility (Rules
                                                                                                                                                                                                       602—exhibit contains statements not based on declarant’s personal       401, 403), Foundation/personal knowledge will be
                                                                                                                                                                                                       knowledge, Rule 901—proponent has not established authenticity          established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                       of the document                                                         properly authenticated (Rule 901)
  TEMP2980       TID_UTVG0056                                                                                      Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,            One or more witnesses have foundation to testify
                                                                                                                   unreasonable restraints of trade, unfair competition and/or                         Hearsay; the exhibit is a statement made by one other than the          concerning the exhibit; Exhibit does not contain hearsay
                                                                                                                   tortious interference; proof of Defendants’ discovery                               witness while testifying at trial, offered into evidence to prove the   and/or a hearsay exception applies; Exhibit is what the
                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           truth of the matter asserted, and not subject to any hearsay            proponent claims it is and/or is self-authenticating.
                                                                                                                   resulting damages; and/or proof rebutting allegations in                            exception (Fed. R. Evid. 801 and 802)., Authentication; exhibit has
                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs                            not been properly authenticated (Fed. R. Evid. 901).

  TEMP2981          TP000406                                                                                       Defense to Plaintiffs' claims                                      Plaintiff        Rule 403—wasting time and/or needlessly cumulative, Rule             Balance favors admissibility (Rules 401, 403), Not hearsay
                                                                                                                                                                                                       802—exhibit contains inadmissible hearsay, Rule 602—exhibit          (Rule 801) and/or hearsay objection applies (Rules 803,
                                                                                                                                                                                                       contains statements not based on declarant’s personal knowledge,     804, 807), Foundation/personal knowledge will be
                                                                                                                                                                                                       Rule 901—proponent has not established authenticity of the           established (Rules 201, 602, 901, 902), Exhibit will be
                                                                                                                                                                                                       document                                                             properly authenticated (Rule 901)
  TEMP2982       TX-DPW-000003                                                                                     Defense to Plaintiffs' claims                                      Plaintiff        Rule 402—exhibit is not relevant, Rule 403—wasting time and/or Exhibit is relevant (Rules 401, 402), Balance favors
                                                                                                                                                                                                       needlessly cumulative, Rule 701—exhibit contains improper            admissibility (Rules 401, 403), Not an opinion, or proper
                                                                                                                                                                                                       specialized opinion by lay witness, Rule 802—exhibit contains        opinion evidence (Rule 701), Not hearsay (Rule 801)
                                                                                                                                                                                                       inadmissible hearsay, Rule 602—exhibit contains statements not       and/or hearsay objection applies (Rules 803, 804, 807),
                                                                                                                                                                                                       based on declarant’s personal knowledge, Rule 901—proponent has Foundation/personal knowledge will be established (Rules
                                                                                                                                                                                                       not established authenticity of the document                         201, 602, 901, 902), Exhibit will be properly authenticated
                                                                                                                                                                                                                                                                            (Rule 901)
  TEMP2983       UNITY_00001291                                                                                    Proof of Defendants’ liability for antitrust violations,          Defendant         Personal knowledge; lack of foundation (Fed. R. Evid. 602).,         One or more witnesses have foundation to testify
                                                                                                                   unreasonable restraints of trade, unfair competition and/or                         Authentication; exhibit has not been properly authenticated (Fed. R. concerning the exhibit; Exhibit is what the proponent claims
                                                                                                                   tortious interference; proof of Defendants’ discovery                               Evid. 901)., Conditional objection; defendants reserve the right to it is and/or is self-authenticating.
                                                                                                                   conduct; proof of appropriate injunctive relief; proof of                           object to this exhibit at trial depending on the purpose for which
                                                                                                                   resulting damages; and/or proof rebutting allegations in                            plaintiffs seek to introduce it.
                                                                                                                   Defendants’ Answers and Counterclaims against Plaintiffs




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